PLAINTIFFS’ M
PLAINTIFFS'                OPPOSITION TO DEFENDANTS'
              EMORANDUM IN OPPOSITION
            MEMORANDUM                   DEFENDANTS’
 MOTION TO E
 MOTION      XCLUDE E
            EXCLUDE   XPERT T
                    EXPERT    ESTIMONY F
                            TESTIMONY   ROM G.
                                       FROM G. C ALEB
                                               CALEB
                     ALEXANDER
                     ALEXANDER

                     EXHIBIT B
                     EXHIBIT B

G. C
G. CALEB  ALEXANDER D
     ALEB ALEXANDER  EPOSITION T
                    DEPOSITION             (09-18-2020)
                                 RANSCRIPT (09-18-2020)
                               TRANSCRIPT
                                                                   Page 1
                                                                   Page 1

1
1                 IN
                  IN THE
                     THE UNITED STATES DISTRICT
                         UNITED STATES DISTRICT COURT
                                                 COURT
              FOR
              FOR THE  SOUTHERN DISTRICT
                   THE SOUTHERN DISTRICT OF
                                         OF WEST  VIRGINIA
                                            WEST VIRGINIA
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                                                * *
                                                  * *
                                                    *

4
4
        THE CITY OF
        THE CITY OF HUNTINGTON,
                    HUNTINGTON,
5
5
                        Plaintiff,
                        Plaintiff,
6
6
        vs.
        vs.                                              CIVIL
                                                         CIVIL ACTION
                                                               ACTION
7
7                                                      NO.
                                                       NO. 3:17-01362
                                                           3:17-01362
        AMERISOURCEBERGEN DRUG
        AMERISOURCEBERGEN DRUG
 8
 8      CORPORATION,  et al.,
        CORPORATION, et  al.,
 9
 9                Defendants.
                  Defendants.
10
10      ________________________
11
11      CABELL
        CABELL COUNTY
               COUNTY COMMISSION,
                       COMMISSION,
12
12                 Plaintiff,
                   Plaintiff,
13
13      vs.
        vs.                                                   CIVIL ACTION
                                                              CIVIL ACTION
                                                            NO.
                                                            NO. 3:17-01665
                                                                3:17-01665
14
14      AMERISOURCEBERGEN DRUG
        AMERISOURCEBERGEN DRUG
        CORPORATION, et al.,
        CORPORATION, et al.,
15
15
                          Defendants.
                          Defendants.
16
16
        * *
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                                                * * *
17
17
18
18
19
19                      Videotaped and
                        Videotaped and videoconference
                                       videoconference deposition
                                                       deposition
        of DR.
        of DR. G.
               G. CALEB ALEXANDER taken
                  CALEB ALEXANDER taken by the Defendants
                                        by the Defendants
20
20      under  the Federal
        under the           Rules of
                   Federal Rules  of Civil  Procedure in
                                     Civil Procedure   in the
                                                          the
        above-entitled action,
        above-entitled  action, pursuant   to notice,
                                 pursuant to           before
                                              notice, before
21
21      Teresa  S. Evans,
        Teresa S.  Evans, aa Registered
                             Registered Merit
                                         Merit Reporter,
                                               Reporter, all
                                                          all
        parties  located remotely,
        parties located   remotely, on
                                    on the
                                        the 18th day of
                                            18th day  of
22
22      September, 2020.
        September,  2020.
23
23
24
24


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 1
 1                                                 APPEARANCES:
                                                   APPEARANCES:
 2
 2
         APPEARING
         APPEARING          F OR T
                            FOR    H E PLAINTIFFS:
                                 THE   PLAINTIFFS:
 3
 3
                         D avid D
                         David       D.. Burnett,
                                           B u r n e t t , Esquire
                                                             Esquire
 4
 4                       A n n e McGinness
                         Anne      M c G i n n e s s Kearse,
                                                       K e a r s e , Esquire
                                                                     Esquire
                         J a c o b R.
                         Jacob       R . Stout,
                                           S t o u t , Esquire
                                                         Esquire
 5
 5                       A n d r e w Arnold,
                         Andrew        A r n o l d , Esquire
                                                       Esquire
                         M o n i q u e Christenson,
                         Monique         C h r i s t e n s o n , Esquire
                                                                   Esquire
 6
 6                       M O T L E Y RICE
                         MOTLEY        RICE
                         2 8 Bridgeside
                         28    B r i d g e s i d e Boulevard
                                                     Boulevard
 7
 7                       M t . Pleasant,
                         Mt.     P l e a s a n t , SCSC      29464
                                                             29464
 8
 8                       Paul T
                         Paul      T.. F   arrell, J
                                         Farrell,            r . , Esquire
                                                           Jr.,     Esquire
                         F A R R E L L LAW
                         FARRELL         LAW
 9
 9                       422 N
                         422       i n t h Street
                                 Ninth       Street
                         3rd F
                         3rd       loor
                                 Floor
10                       Huntington, W
                         Huntington,             WVV     25714-1180
                                                         25714-1180
11
         APPEARING
         APPEARING          F OR T
                            FOR    HE D
                                 THE    E F E N D A N T CARDINAL
                                      DEFENDANT         C A R D I N A L HEALTH:
                                                                        HEALTH:
1
122
                         S t e v e n R.
                         Steven        R . Ruby,
                                             R u b y , Esquire
                                                         Esquire
1
133                      R a y m o n d S.
                         Raymond         S . Franks,
                                               F r a n k s , II,
                                                               I I , Esquire
                                                                     Esquire
                           C AREY, D
                           CAREY,          O U G L A S , KESSLER
                                         DOUGLAS,          KESSLER &     RUBY
                                                                       & RUBY
1
144                        9 01 C
                           901       h a s e Tower
                                   Chase       Tower
                           707 V
                           707       i r g i n i a Street,
                                   Virginia          S t r e e t , East
                                                                    East
1
155                        C harleston, W
                           Charleston,             WVV     25323
                                                           25323
1
166
         APPEARING
         APPEARING          F OR T
                            FOR    HE D
                                 THE    E F E N D A N T AMERISOURCEBERGEN:
                                      DEFENDANT         AMERISOURCEBERGEN:
1
177
                           M e l i s s a A.
                           Melissa        A. G    e i s t , Esquire
                                                Geist,        Esquire
1
188                        R E E D SMITH
                           REED      SMITH
                           506 C
                           506       arnegie C
                                   Carnegie           e n t e r , Suite
                                                    Center,         S u i t e 300
                                                                                300
1
199                        Princeton, N
                           Princeton,             J , 08540
                                                NJ,     08540
20
20                       K i m M.
                         Kim     M. W   a t t e r s o n , Esquire,
                                       Watterson,           E s q u i r e , Esquire
                                                                              Esquire
                         R E E D SMITH
                         REED      SMITH
21
21                       3 5 5 South
                         355     South G      r a n d Avenue,
                                            Grand       A v e n u e , Suite
                                                                        S u i t e 2900
                                                                                  2900
                         L o s Angeles,
                         Los     Angeles, C         A, 9
                                                  CA,       0071
                                                          90071
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1
1                           APPEARANCES (Contd.):
                            APPEARANCES (Contd.):
2
2
        APPEARING FOR
        APPEARING FOR THE
                      THE DEFENDANT McKESSON CORPORATION:
                          DEFENDANT McKESSON CORPORATION:
3
3
4
4                   David
                    David W. Haller, Esquire
                          W. Haller, Esquire
                    COVINGTON &
                    COVINGTON   BURLING
                              & BURLING
5
5                   The
                    The New
                        New York
                            York Times Building
                                 Times Building
                    620 Eighth
                    620 Eighth Avenue
                               Avenue
6
6                   New York,
                    New York, NY 10018-1405
                              NY 10018-1405
7
7
        ALSO PRESENT:
        ALSO PRESENT:
8
8
                        Justin Ebeling, Videographer
                        Justin Ebeling, Videographer
99                      Justin
                        Justin Taylor, Esquire
                               Taylor, Esquire
                        Jonathan Matthews, Veritext
                        Jonathan Matthews, Veritext Tech
                                                    Tech
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                          EXAMINATION INDEX
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2
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               BY MS. GEIST                                        99
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                                        of Remote             18
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3
3                       Deposition  of Dr.
                        Deposition of  Dr. G.
                                           G. Caleb
                                              Caleb
                        Alexander dated
                        Alexander  dated 9-2-20
                                         9-2-20
4
4
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                        Deposition transcript    of G.
                                                    G.        40
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5                       Caleb  Alexander, USDC,
                        Caleb Alexander,   USDC, Northern
                                                  Northern
                        District  of Ohio,
                        District of   Ohio, MDL
                                            MDL No.   2803
                                                 No. 2803
6
6                       dated  4-26-19
                        dated 4-26-19
7
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8
8                       West  Virginia Overdose
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                                                  Deaths
                        Appear to
                        Appear  to be  Declining" dated
                                   be Declining"   dated
 9
 9                      9-5-19
                        9-5-19
10
10       Exhibit 4
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                        the  Opioid Crisis  in Cabell
                                    Crisis in   Cabell
11
11                      County
                        County and  the City
                                and the       of
                                         City of
                        Huntington,"   Expert Report
                        Huntington," Expert   Report ofof
12
12                      G.
                        G. Caleb  Alexander, MD,
                            Caleb Alexander,  MD, MS
                                                   MS
                        dated  8-3-20
                        dated 8-3-20
13
13
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                        Report:   "From Evidence
                                        Evidence toto
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21
21                    What  Works (and
                      What Works   (and what  does not)
                                         what does  not)
                      in Reducing
                      in Reducing the
                                    the Impact
                                         Impact of
                                                of
22
22                    Substance
                      Substance Use
                                 Use on
                                      on Local
                                          Local
                      Communities"   dated September
                      Communities" dated    September
23
23                    2019  (HUNT_00365846-6015)
                      2019 (HUNT   00365846-6015)
24
24


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                            Caleb Alexander,  MD, MS,
                                                  MS,          158
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3
3                       Expert Witness
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                                Witness Report,  prepared
                        for USDC,
                        for        Northern District
                             USDC, Northern           of
                                             District of
4
4                       Ohio, MDL
                        Ohio,  MDL No.
                                   No. 2803
                                       2803 dated
                                            dated
                        3-24-19
                        3-24-19
5
5
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         Exhibit 33     G.
                        G. Caleb  Alexander, MD,
                           Caleb Alexander,   MD, MS,
                                                  MS,          179
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6
6                       Supplemental Expert
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                                              Report --
                        Update,  April 17,
                        Update, April  17, 2019
                                            2019 (MDL
                                                 (MDL
7
7                       Ohio litigation)
                        Ohio litigation)
8
8        Exhibit 34
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                        G. Caleb  Alexander, MD,
                           Caleb Alexander,   MD, MS,
                                                  MS,          179
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9
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                        Ohio litigation)
10
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                                        taken from
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11
11                      telephonic meetings
                        telephonic meetings with
                                            with people
                                                 people
                        within
                        within Cabell
                               Cabell County/City
                                      County/City of
                                                  of
12
12                      Huntington
                        Huntington
13
13
14
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1
1                       P R O C E E D I N G S
                        PROCEEDINGS

2
2                       VIDEO OPERATOR:
                        VIDEO OPERATOR:        Good
                                               Good morning.
                                                    morning.   We are
                                                               We are

3
3       going
        going on the record
              on the        at 9:32
                     record at      a.m. on
                               9:32 a.m. on September
                                            September 18th,
                                                      18th,

4
4       2020.
        2020.     Please note
                  Please note that
                              that the
                                   the microphones
                                       microphones are
                                                   are

5
5       sensitive and
        sensitive and may
                      may pick
                          pick up
                               up whispering, private
                                  whispering, private

6
6       conversation and
        conversation     cellular interference.
                     and cellular interference.          Please
                                                         Please

7
7       turn off
        turn off all
                 all cell
                     cell phones
                          phones and
                                 and place them away
                                     place them      from
                                                away from

8
8       the microphones,
        the microphones, as
                         as they
                            they can interfere with
                                 can interfere with

9
9       deposition audio.
        deposition audio.

10
10                      Audio and
                        Audio and video
                                  video recording
                                        recording will
                                                  will

11
11      continue unless
        continue        all parties
                 unless all         agree to
                            parties agree to go
                                             go off the
                                                off the

12
12      record.
        record.

13
13                      This is Media
                        This is Media Unit
                                      Unit 1 of the
                                           1 of the video
                                                    video

14
14      recorded deposition of
        recorded deposition of Doctor
                               Doctor G.
                                      G. Caleb Alexander
                                         Caleb Alexander

15
15      taken by
        taken    the Defendant
              by the           in the
                     Defendant in the matter of the
                                      matter of the City of
                                                    City of

16
16      Huntington versus
        Huntington versus AmerisourceBergen
                          AmerisourceBergen Drug
                                            Drug

17
17      Corporation, et al
        Corporation, et al and
                           and Cabell
                               Cabell County
                                      County Commission
                                             Commission

18
18      versus AmerisourceBergen Drug
        versus AmerisourceBergen Drug Corporation, et al,
                                      Corporation, et al,
19
19      filed in
        filed in the
                 the U.S.
                     U.S. District
                          District Court for the
                                   Court for the Southern
                                                 Southern
20
20      District of West
        District of      Virginia, Case
                    West Virginia, Case Nos.
                                        Nos. 3:17-01362 and
                                             3:17-01362 and

21
21      3:17-01665.
        3:17-01665.

22
22                      This
                        This deposition is being
                             deposition is being held
                                                 held remotely
                                                      remotely

23
23      via Zoom conference.
        via Zoom conference.      My name
                                  My      is Justin
                                     name is        Ebeling
                                             Justin Ebeling

24
24      from the
        from the firm
                 firm Veritext.
                      Veritext.        I'm the videographer.
                                       I'm the videographer.      The
                                                                  The



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1
1       court reporter
        court          is Teresa
              reporter is        Evans from
                          Teresa Evans from the
                                            the firm
                                                firm
2
2       Veritext.
        Veritext.

3
3                        I'm
                         I'm not authorized to
                             not authorized to administer an
                                               administer an

4
4       oath; I'm
        oath; I'm not related to
                  not related to the
                                 the parties in this
                                     parties in this
5
5       action; nor
        action;     am I
                nor am   financially interested
                       I financially interested in the
                                                in the

6
6       outcome.
        outcome.

7
7                        Counsel and all
                         Counsel and all present in the
                                         present in the room
                                                        room

8
8       and everyone
        and everyone attending
                     attending remotely
                               remotely will
                                        will now state
                                             now state

9
9       their appearance
        their            and affiliations
              appearance and affiliations for
                                          for the
                                              the record.
                                                  record.

10
10                      MR. BURNETT:
                        MR. BURNETT:       I'll start.
                                           I'll start.   This is
                                                         This is

11
11      David Burnett from
        David Burnett from Motley
                           Motley Rice
                                  Rice on
                                       on behalf
                                          behalf of
                                                 of the
                                                    the
12
12      plaintiffs, and I'm
        plaintiffs, and I'm joined
                            joined by Andrew Arnold
                                   by Andrew Arnold from
                                                    from
13
13      Motley Rice
        Motley Rice for
                    for the
                        the Plaintiffs.
                            Plaintiffs.
14
14                      MS. GEIST:
                        MS. GEIST:      Mel --
                                        Mel --
15
15                      MR. STOUT:
                        MR. STOUT:      Jacob Stout, Motley
                                        Jacob Stout, Motley Rice,
                                                            Rice,
16
16      Plaintiffs.
        Plaintiffs.

17
17                      MS. GEIST:
                        MS. GEIST:      Sorry about
                                        Sorry about that.
                                                    that.    Is that
                                                             Is that

18
18      it for
        it for the
               the plaintiffs
                   plaintiffs today?
                              today?
19
19                      MR. BURNETT:
                        MR. BURNETT:       I see Anne
                                           I see Anne Kearse
                                                      Kearse is
                                                             is
20
20      logged in.
        logged in.      I'm not sure
                        I'm not sure if
                                     if she's
                                        she's --
                                              -- I'm
                                                 I'm not sure
                                                     not sure

21
21      if she's
        if she's there,
                 there, but
                        but someone
                            someone logged
                                    logged in
                                           in for
                                              for her.
                                                  her.

22
22                      MS. GEIST:
                        MS. GEIST:      Okay, great.
                                        Okay, great.
23
23                      MR. FARRELL:
                        MR. FARRELL:       Yeah, Anne Kearse
                                           Yeah, Anne Kearse and
                                                             and
24
24      Paul Farrell.
        Paul Farrell.



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1
1                           MS. GEIST:
                            MS. GEIST:     Good
                                           Good morning.
                                                morning.        Melissa
                                                                Melissa

2
2       Geist from Reed
        Geist from Reed Smith
                        Smith for
                              for the
                                  the Defendant
                                      Defendant

3
3       AmerisourceBergen Drug
        AmerisourceBergen Drug Corporation.
                               Corporation.

4
4                           MR. FRANKS:
                            MR. FRANKS:     I'm Ray
                                            I'm Ray Franks, local
                                                    Franks, local

5
5       counsel in
        counsel in Charleston,
                   Charleston, West Virginia for
                               West Virginia for Cardinal
                                                 Cardinal

6
6       Health with
        Health      the law
               with the law firm
                            firm of
                                 of Carey,
                                    Carey, Douglas, Kessler
                                           Douglas, Kessler

7
7       & Ruby.
        & Ruby.         We expect that
                        We expect that Steve
                                       Steve Ruby
                                             Ruby will
                                                  will be along
                                                       be along

8
8       directly.
        directly.

9
9                           VIDEO OPERATOR:
                            VIDEO OPERATOR:        Any objection
                                                   Any objection to
                                                                 to the
                                                                    the
10
10      reporter administering the
        reporter administering the oath
                                   oath remotely?
                                        remotely?

11
11                          MS. BURNETT:
                            MS. BURNETT:      No objection.
                                              No objection.

12
12                          THE
                            THE DEPONENT:
                                DEPONENT:       No objection.
                                                No objection.
13
13                          VIDEO OPERATOR:
                            VIDEO OPERATOR:        Will the court
                                                   Will the court

14
14      reporter please swear
        reporter please swear the
                              the witness.
                                  witness.

15
15                          (The
                            (The witness
                                 witness was
                                         was sworn.)
                                             sworn.)

16
16                  G.
                    G.     C A L E
                           CALEB      B   A L E X A N
                                          ALEXANDER         D E R
17
17      was called as
        was called as a
                      a witness by the
                        witness by the Defendants, and
                                       Defendants, and

18
18      having been first
        having been first duly
                          duly sworn, testified as
                               sworn, testified    follows:
                                                as follows:

19
19                                   EXAMINATION
                                     EXAMINATION

20
20      BY MS.
        BY MS. GEIST:
               GEIST:

21
21            Q.
              Q.        Good morning, Doctor
                        Good morning,        Alexander.
                                      Doctor Alexander.

22
22            A.
              A.        Good morning.
                        Good morning.

23
23            Q.
              Q.        How are
                        How are you today?
                                you today?

24
24            A.
              A.        Fine, thank you.
                        Fine, thank you.



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1
1             Q.
              Q.        You
                        You get to take
                            get to take your
                                        your mask
                                             mask off.
                                                  off.      Doctor
                                                            Doctor

2
2       Alexander, would
        Alexander, would you just please
                         you just please state
                                         state your full
                                               your full

3
3       name for the
        name for the record?
                     record?

4
4             A.
              A.        George Caleb Alexander.
                        George Caleb Alexander.
5
5             Q.
              Q.        And you
                        And you have been retained
                                have been          by the
                                          retained by the
6
6       Plaintiffs, Cabell
        Plaintiffs, Cabell County and the
                           County and the City of
                                          City of

7
7       Huntington, in
        Huntington, in a
                       a case
                         case pending in West
                              pending in      Virginia; is
                                         West Virginia; is
8
8       that correct?
        that correct?
9
9             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
10
10            Q.
              Q.        And you
                        And     intend to
                            you intend to give expert testimony
                                          give expert testimony if
                                                                if
11
11      this case
        this case proceeds to trial
                  proceeds to trial next
                                    next month,
                                         month, October
                                                October

12
12      2020; is
        2020; is that
                 that correct?
                      correct?
13
13            A.
              A.        It is.
                        It is.
14
14            Q.
              Q.        And do
                        And do you anticipate providing
                               you anticipate providing trial
                                                        trial
15
15      testimony, Doctor,
        testimony,         live or
                   Doctor, live or via some remote
                                   via some        means?
                                            remote means?

16
16            A.
              A.        I've indicated
                        I've indicated to
                                       to the
                                          the plaintiffs
                                              plaintiffs that
                                                         that if
                                                              if
17
17      it's helpful
        it's         for me
             helpful for me to
                            to be there in
                               be there in person that I'm
                                           person that I'm

18
18      willing to do
        willing to do so.
                      so.
19
19            Q.
              Q.        Have you
                        Have you brought any materials
                                 brought any materials with
                                                       with you to
                                                            you to

20
20      your
        your deposition today?
             deposition today?

21
21            A.
              A.        I
                        I have -- yes,
                          have --      ma'am.
                                  yes, ma'am.

22
22            Q.
              Q.        And what
                        And what have
                                 have you
                                      you brought?
                                          brought?

23
23            A.
              A.        I
                        I have copies of
                          have copies    two or
                                      of two    three reports,
                                             or three          as
                                                      reports, as

24
24      well as a
        well as   copy of
                a copy of my own report.
                          my own report.



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1
1             Q.
              Q.        And when
                        And when you say "two
                                 you say "two or
                                              or three
                                                 three reports,"
                                                       reports,"

2
2       are you
        are     talking about
            you talking about other
                              other expert
                                    expert reports that
                                           reports that

3
3       have been submitted
        have been submitted in
                            in this
                               this case?
                                    case?
4
4             A.
              A.        Yes, I
                        Yes,   am.
                             I am.

5
5             Q.
              Q.        Okay.
                        Okay.   And whose
                                And       expert reports
                                    whose expert reports are
                                                         are those?
                                                             those?
6
6             A.
              A.        I
                        I have an expert
                          have an expert report
                                         report from
                                                from George
                                                     George

7
7       Barrett, and
        Barrett, and I
                     I have
                       have an expert report
                            an expert        from Nancy
                                      report from Nancy

8
8       Young.
        Young.

9
9             Q.
              Q.        And you
                        And     said, Doctor
                            you said,        Alexander, you
                                      Doctor Alexander,     also
                                                        you also

10
10      brought a
        brought   copy of
                a copy of your
                          your own expert report?
                               own expert report?

11
11            A.
              A.        Yes.
                        Yes.    Yes,
                                Yes, I
                                     I did.
                                       did.

12
12            Q.
              Q.        Did
                        Did you mark up
                            you mark    that expert
                                     up that expert report or
                                                    report or

13
13      highlight it or
        highlight it or tab
                        tab it
                            it in
                               in any
                                  any way?
                                      way?

14
14            A.
              A.        No, I
                        No, I did
                              did not.
                                  not.

15
15            Q.
              Q.        For the record,
                        For the record, can
                                        can you tell me,
                                            you tell me, please
                                                         please --

16
16      I see a
        I see a grey
                grey background,
                     background, but other than
                                 but other than that,
                                                that, I
                                                      I

17
17      have
        have no idea where
             no idea where you're physically located.
                           you're physically located.
18
18      Would
        Would you
              you please tell me
                  please tell me where
                                 where you
                                       you are today for
                                           are today for
19
19      your
        your deposition?
             deposition?

20
20            A.
              A.        Of course.
                        Of course.    I'm in
                                      I'm in a
                                             a hotel in downtown
                                               hotel in downtown

21
21      Baltimore.
        Baltimore.         I believe it's
                           I believe it's the
                                          the Hyatt
                                              Hyatt Regency.
                                                    Regency.
22
22            Q.
              Q.        And are
                        And are you by yourself
                                you by          in the
                                       yourself in the room?
                                                       room?

23
23            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

24
24            Q.
              Q.        And plaintiffs'
                        And plaintiffs' counsel is with
                                        counsel is with you there
                                                        you there



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1
1       today as
        today as well,
                 well, but
                       but not in same
                           not in same room; is that
                                       room; is that
2
2       correct?
        correct?

3
3             A.
              A.        Yes, that's
                        Yes, that's correct.
                                    correct.          They're -- David
                                                      They're -- David

4
4       Burnett is
        Burnett is in
                   in a
                      a room
                        room directly
                             directly behind
                                      behind me.
                                             me.

5
5             Q.
              Q.        Are there
                        Are there any
                                  any other
                                      other plaintiffs' counsel -
                                            plaintiffs' counsel -
6
6       either from
        either from Motley
                    Motley Rice
                           Rice or
                                or another
                                   another law
                                           law firm
                                               firm -
                                                    - there
                                                      there
7
7       at the
        at the hotel in Baltimore
               hotel in Baltimore today?
                                  today?
8
8             A.
              A.        No.
                        No.   Not that I'm
                              Not that     aware of,
                                       I'm aware of, no.
                                                     no.         I
                                                                 I don't
                                                                   don't

9
9       believe so.
        believe so.
10
10            Q.
              Q.        Doctor Alexander, because
                        Doctor Alexander,         this is
                                          because this is an
                                                          an odd
                                                             odd
11
11      setting necessitated
        setting              due to
                necessitated due to the
                                    the COVID pandemic, I
                                        COVID pandemic, I

12
12      just want
        just      to ask
             want to ask you some specific
                         you some specific questions before
                                           questions before

13
13      we
        we begin.
           begin.        And the
                         And the first
                                 first is:
                                       is:          Do
                                                    Do you
                                                       you have
                                                           have with
                                                                with you
                                                                     you

14
14      a computer
        a computer screen,
                   screen, an
                           an iPad,
                              iPad, a
                                    a laptop
                                      laptop or
                                             or any type of
                                                any type of
15
15      device such as
        device such as an
                       an iPhone
                          iPhone to
                                 to where
                                    where you could access
                                          you could access
16
16      the Internet?
        the Internet?
17
17            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

18
18            Q.
              Q.        Okay.
                        Okay.   And what
                                And what do
                                         do you
                                            you have there with
                                                have there with you?
                                                                you?

19
19            A.
              A.        Well,
                        Well, I
                              I have an iPhone
                                have an iPhone next to me,
                                               next to     although
                                                       me, although

20
20      I've turned it
        I've turned it off
                       off as
                           as I
                              I was requested to
                                was requested to do, and
                                                 do, and

21
21      then I'm
        then     speaking to
             I'm speaking to you through an
                             you through an Apple
                                            Apple MacBook
                                                  MacBook
22
22      Pro that
        Pro that I can use
                 I can     to access
                       use to access the
                                     the Internet.
                                         Internet.
23
23            Q.
              Q.        Can
                        Can you agree with
                            you agree      me that
                                      with me that for
                                                   for purposes of
                                                       purposes of

24
24      this deposition
        this            today, that
             deposition today, that you
                                    you will
                                        will not send or
                                             not send or


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1
1       receive or review
        receive or review any text messages
                          any text          or other
                                   messages or other
2
2       messages on
        messages on your iPhone?
                    your iPhone?

3
3             A.
              A.        Well,
                        Well, pertaining to the
                              pertaining to the case,
                                                case, I
                                                      I presume?
                                                        presume?         I
                                                                         I

4
4       mean, I'm
        mean,     also a
              I'm also a practicing internist, and
                         practicing internist, and actually
                                                   actually
5
5       on call
        on      - although
           call - although I
                           I have coverage for
                             have coverage for most of the
                                               most of the
6
6       day - so
        day -    do you
              so do     mean just
                    you mean just pertaining
                                  pertaining to
                                             to this
                                                this case?
                                                     case?
7
7             Q.
              Q.        I do.
                        I do.   What I'm trying
                                What I'm trying to
                                                to --
                                                   -- and
                                                      and I
                                                          I

8
8       understand,
        understand, Doctor Alexander, you're
                    Doctor Alexander, you're a
                                             a practicing
                                               practicing

9
9       physician, and if
        physician, and if you
                          you need to call
                              need to call back
                                           back a
                                                a patient
                                                  patient

10
10      or there's
        or there's some
                   some type
                        type of
                             of emergency,
                                emergency, I
                                           I can appreciate
                                             can appreciate

11
11      that, and
        that,     of course,
              and of course, we
                             we will accommodate that.
                                will accommodate that.
12
12            A.
              A.        Okay.
                        Okay.

13
13            Q.
              Q.        So can
                        So can you let me
                               you let me know if that
                                          know if that comes
                                                       comes up
                                                             up

14
14      during the deposition?
        during the deposition?
15
15            A.
              A.        Absolutely.
                        Absolutely.

16
16            Q.
              Q.        Okay.
                        Okay.   So let
                                So let me be more
                                       me be more precise in my
                                                  precise in my
17
17      question.
        question.         Can you
                          Can     agree with
                              you agree with me that you
                                             me that you will
                                                         will not
                                                              not

18
18      communicate with
        communicate      counsel for
                    with counsel for the
                                     the plaintiffs
                                         plaintiffs
19
19      regarding this case
        regarding this case via e-mail, text
                            via e-mail, text message,
                                             message,

20
20      instant messenger
        instant messenger or any other
                          or any other form
                                       form of
                                            of
21
21      communication during
        communication during your deposition?
                             your deposition?

22
22                          MR. BURNETT:
                            MR. BURNETT:       Let me just
                                               Let me just interject.
                                                           interject.
23
23      Counsel,
        Counsel, what is the
                 what is the basis
                             basis for
                                   for the
                                       the question?
                                           question?              Is
                                                                  Is

24
24      there a
        there   legal principle
              a legal principle that
                                that you're founding that
                                     you're founding that


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1
1       request on?
        request on?

2
2                           MS. GEIST:
                            MS. GEIST:     Counsel --
                                           Counsel --

3
3                           MR. BURNETT:
                            MR. BURNETT:      Just seems unusual
                                              Just seems         to
                                                         unusual to

4
4       ask that.
        ask that.
5
5                           MS. GEIST:
                            MS. GEIST:     Well,
                                           Well, I've
                                                 I've heard it asked
                                                      heard it asked
6
6       in a
        in a number of different
             number of different depositions.
                                 depositions.               I think it's
                                                            I think it's
7
7       fair to
        fair to ask
                ask that
                    that the
                         the witness agree not
                             witness agree     to
                                           not to

8
8       communicate with
        communicate      counsel during
                    with counsel        the
                                 during the

9
9       question-and-answer
        question-and-answer period of the
                            period of the deposition.
                                          deposition.

10
10                          Communications other than
                            Communications other than objections
                                                      objections
11
11      are prohibited
        are prohibited by the rules,
                       by the        so I'm
                              rules, so     asking if
                                        I'm asking if
12
12      Doctor Alexander will
        Doctor Alexander      agree not
                         will agree not to
                                        to look
                                           look at or send
                                                at or send
13
13      any text
        any text messages,
                 messages, e-mails
                           e-mails or
                                   or other
                                      other communications
                                            communications
14
14      that may
        that may come
                 come between
                      between him and counsel
                              him and         for
                                      counsel for

15
15      plaintiffs.
        plaintiffs.

16
16                          I think that's
                            I think that's fair.
                                           fair.
17
17            Q.
              Q.        Would
                        Would you agree to
                              you agree to do
                                           do that,
                                              that, Doctor
                                                    Doctor

18
18      Alexander?
        Alexander?

19
19            A.
              A.        If that's
                        If that's an
                                  an expectation
                                     expectation of
                                                 of --
                                                    -- of the
                                                       of the

20
20      attorneys, then
        attorneys, then I'm
                        I'm happy to agree
                            happy to agree to
                                           to do
                                              do so,
                                                 so, yes.
                                                     yes.

21
21                          MR. BURNETT:
                            MR. BURNETT:      Yeah, I'm not
                                              Yeah, I'm     aware of
                                                        not aware of

22
22      such a
        such a request in the
               request in the past, so I'm
                              past, so I'm going to reserve
                                           going to reserve

23
23      rights on that
        rights on that issue.
                       issue.            I
                                         I mean, in principle,
                                           mean, in principle, I
                                                               I

24
24      don't
        don't have an objection
              have an objection to
                                to doing that, but
                                   doing that, but I'm just
                                                   I'm just



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1
1       -- I
        --   -- that's
           I -- that's the
                       the first
                           first time
                                 time ever
                                      ever hearing of that
                                           hearing of that
2
2       sort of
        sort of request.
                request.

3
3                           MS. GEIST:
                            MS. GEIST:     Understood.
                                           Understood.      I
                                                            I hear
                                                              hear your
                                                                   your

4
4       position.
        position.

5
5             Q.
              Q.        And similarly,
                        And similarly, Doctor Alexander, while
                                       Doctor Alexander, while your
                                                               your

6
6       deposition is being
        deposition is being conducted, can you
                            conducted, can     agree with
                                           you agree with

7
7       me that
        me that you
                you will
                    will not be looking
                         not be looking for
                                        for information
                                            information or
                                                        or
8
8       responses to questions
        responses to questions by surfing the
                               by surfing the Internet?
                                              Internet?
9
9             A.
              A.        Again, I'm
                        Again, I'm happy to agree
                                   happy to agree to
                                                  to such
                                                     such if
                                                          if that's
                                                             that's
10
10      an expectation
        an expectation of
                       of the
                          the --
                              -- the
                                 the Court's
                                     Court's and these
                                             and these

11
11      proceedings,
        proceedings, yes,
                     yes, I'm
                          I'm happy to agree
                              happy to agree to
                                             to do -- to
                                                do -- to
12
12      avoid doing
        avoid       so.
              doing so.

13
13            Q.
              Q.        Again, like
                        Again, like a
                                    a regular deposition, though,
                                      regular deposition, though,
14
14      we
        we will take breaks.
           will take breaks.          We -- I
                                      We --   expect we
                                            I expect we will be
                                                        will be

15
15      together most
        together most of
                      of today,
                         today, so
                                so it's
                                   it's not a marathon
                                        not a marathon
16
16      session.
        session.         I typically take
                         I typically take a
                                          a break
                                            break every
                                                  every hour.
                                                        hour.         If
                                                                      If

17
17      I fail to
        I fail to do
                  do so and you
                     so and you would like to
                                would like to take
                                              take a
                                                   a break,
                                                     break,
18
18      would
        would you
              you please let me
                  please let me know,
                                know, and
                                      and I'm
                                          I'm happy to
                                              happy to

19
19      accommodate that
        accommodate that at
                         at any
                            any time?
                                time?
20
20            A.
              A.        Absolutely, and
                        Absolutely, and I appreciate your
                                        I appreciate your noting
                                                          noting

21
21      that.
        that.

22
22            Q.
              Q.        Sometimes I
                        Sometimes   tend to
                                  I tend to just
                                            just talk
                                                 talk and
                                                      and talk
                                                          talk and
                                                               and
23
23      talk and
        talk and two
                 two hours
                     hours will
                           will have
                                have gone by, so
                                     gone by, so I
                                                 I will try
                                                   will try

24
24      to take
        to take breaks every hour
                breaks every      or so.
                             hour or so.


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1
1                             Similarly, Doctor
                              Similarly,        Alexander, because
                                         Doctor Alexander, because

2
2       we're
        we're not together in
              not together in the
                              the same
                                  same room,
                                       room, I think it
                                             I think it is
                                                        is
3
3       easier to
        easier to speak
                  speak over
                        over one
                             one another.
                                 another.
4
4                             You are doing
                              You are doing an
                                            an excellent
                                               excellent job
                                                         job right
                                                             right

5
5       now
        now waiting for me
            waiting for me to
                           to ask
                              ask my
                                  my question before you
                                     question before you

6
6       begin responding.
        begin responding.            Can
                                     Can you
                                         you please just have
                                             please just have a
                                                              a

7
7       heightened awareness of
        heightened awareness of the
                                the importance
                                    importance of
                                               of that
                                                  that in
                                                       in
8
8       this Zoom
        this Zoom remote setting?
                  remote setting?

9
9             A.
              A.        Of course.
                        Of course.
10
10            Q.
              Q.        Thank
                        Thank you.
                              you.    Anything at
                                      Anything    all, Doctor
                                               at all, Doctor

11
11      Alexander, that
        Alexander, that would
                        would prevent
                              prevent you from providing
                                      you from providing

12
12      full and
        full and accurate
                 accurate and truthful testimony
                          and truthful testimony today?
                                                 today?
13
13            A.
              A.        No.
                        No.

14
14            Q.
              Q.        And this
                        And this is
                                 is not
                                    not your first deposition,
                                        your first deposition,
15
15      Doctor Alexander.
        Doctor Alexander.            Is that correct?
                                     Is that correct?

16
16            A.
              A.        Yes, that's
                        Yes, that's correct.
                                    correct.
17
17            Q.
              Q.        You
                        You gave
                            gave a
                                 a deposition in a
                                   deposition in a case
                                                   case on
                                                        on behalf
                                                           behalf

18
18      of plaintiffs
        of            that was
           plaintiffs that     in Ohio
                           was in Ohio and
                                       and the
                                           the plaintiffs
                                               plaintiffs

19
19      were
        were Cuyahoga and Summit
             Cuyahoga and Summit Counties.
                                 Counties.                    Do
                                                              Do you
                                                                 you recall
                                                                     recall

20
20      that?
        that?

21
21            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

22
22            Q.
              Q.        Have you
                        Have you given any depositions
                                 given any depositions as an expert
                                                       as an expert
23
23      since that
        since that Ohio,
                   Ohio, Cuyahoga/Summit County deposition?
                         Cuyahoga/Summit County deposition?

24
24            A.
              A.        No, I
                        No, I have
                              have not.
                                   not.



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1
1             Q.
              Q.        And was
                        And     that the
                            was that the only
                                         only expert
                                              expert deposition
                                                     deposition
2
2       that you
        that you have given in
                 have given in the
                               the opioids
                                   opioids litigation
                                           litigation on
                                                      on
3
3       behalf of
        behalf of plaintiffs?
                  plaintiffs?

4
4             A.
              A.        Yes, it
                        Yes, it was.
                                was.

5
5             Q.
              Q.        Now Doctor
                        Now        Alexander, I
                            Doctor Alexander,   asked you
                                              I asked you

6
6       informally before
        informally before we began on
                          we began on the
                                      the record if you
                                          record if you

7
7       have a box
        have a box of
                   of documents
                      documents or
                                or a
                                   a box
                                     box filled
                                         filled with sealed
                                                with sealed

8
8       envelopes there
        envelopes there in
                        in the
                           the room
                               room with
                                    with you, and you
                                         you, and you

9
9       indicated to
        indicated to me that you
                     me that you do?
                                 do?

10
10            A.
              A.        Yes, I
                        Yes,   do.
                             I do.     They're
                                       They're right
                                               right next to me.
                                                     next to me.
11
11            Q.
              Q.        Okay.
                        Okay.   And I
                                And I will
                                      will preface
                                           preface my question by
                                                   my question by

12
12      letting you
        letting you know that I
                    know that I do
                                do not anticipate we're
                                   not anticipate we're

13
13      going to go
        going to go through
                    through every
                            every single
                                  single document.
                                         document.            So I'm
                                                              So I'm

14
14      not sure how
        not sure     large your
                 how large      box looks,
                           your box looks, but
                                           but we
                                               we may
                                                  may not
                                                      not

15
15      go over every
        go over every single
                      single document
                             document in
                                      in there.
                                         there.
16
16                          We're going to
                            We're going to be
                                           be jumping
                                              jumping around
                                                      around a
                                                             a
17
17      little bit,
        little bit, so
                    so I
                       I do apologize in
                         do apologize in advance
                                         advance for
                                                 for that.
                                                     that.
18
18                          Did
                            Did you open any
                                you open any of
                                             of the
                                                the envelopes
                                                    envelopes in
                                                              in
19
19      the box
        the box or
                or look
                   look at
                        at the
                           the documents in the
                               documents in the box
                                                box before
                                                    before

20
20      your
        your deposition?
             deposition?

21
21            A.
              A.        No, I
                        No, I have
                              have not.
                                   not.

22
22            Q.
              Q.        Why
                        Why don't
                            don't you
                                  you go ahead, Doctor
                                      go ahead, Doctor Alexander,
                                                       Alexander,

23
23      and find
        and find what should be
                 what should be an
                                an envelope
                                   envelope marked
                                            marked as
                                                   as
24
24      either Exhibit
        either Exhibit 1 or Tab
                       1 or Tab 1?
                                1?



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1
1                           MR. BURNETT:
                            MR. BURNETT:        It's
                                                It's Tab
                                                     Tab 1.
                                                         1.

2
2                           MS. GEIST:
                            MS. GEIST:       Thank
                                             Thank you.
                                                   you.

3
3             A.
              A.        Okay, I
                        Okay, I have that in
                                have that in my possession.
                                             my possession.

4
4             Q.
              Q.        Great.
                        Great.    Would
                                  Would you
                                        you please open it
                                            please open it for
                                                           for me?
                                                               me?

5
5                   ALEXANDER DEPOSITION
                    ALEXANDER            EXHIBIT NO.
                              DEPOSITION EXHIBIT NO. 1
                                                     1

6
6                           (Amended
                            (Amended Notice of Remote
                                     Notice of Remote Deposition
                                                      Deposition

7
7                           of Dr.
                            of Dr. G.
                                   G. Caleb Alexander dated
                                      Caleb Alexander dated 9-2-20
                                                            9-2-20

8
8                           was marked for
                            was marked for identification
                                           identification purposes
                                                          purposes

9
9                           as Alexander Deposition
                            as Alexander            Exhibit No.
                                         Deposition Exhibit No.
10
10                          1.)
                            1.)

11
11                          VIDEO
                            VIDEO TECH:
                                  TECH:       Tab
                                              Tab 1
                                                  1 has been introduced
                                                    has been introduced
12
12      as Exhibit
        as Exhibit 1 on Exhibit
                   1 on Exhibit Share.
                                Share.
13
13            Q.
              Q.        Okay.
                        Okay.    And hopefully
                                 And           -- and
                                     hopefully -- and good, there it
                                                      good, there it
14
14      is.
        is.    Hopefully Exhibit
               Hopefully Exhibit 1 is the
                                 1 is the Amended
                                          Amended Notice
                                                  Notice of
                                                         of

15
15      your
        your remote
             remote deposition in this
                    deposition in this case
                                       case brought
                                            brought by the
                                                    by the

16
16      City of Huntington
        City of            and Cabell
                Huntington and Cabell County
                                      County Commission.
                                             Commission.

17
17                          And you
                            And you have that in
                                    have that in front
                                                 front of
                                                       of you,
                                                          you,

18
18      Doctor?
        Doctor?

19
19            A.
              A.        Yes, ma'am,
                        Yes, ma'am, I
                                    I do.
                                      do.

20
20            Q.
              Q.        And had
                        And had you seen this
                                you seen this notice before today?
                                              notice before today?
21
21            A.
              A.        I believe a
                        I believe a copy
                                    copy of
                                         of it
                                            it was e-mailed to
                                               was e-mailed to me
                                                               me
22
22      notifying
        notifying me about this
                  me about this --
                                -- this
                                   this event.
                                        event.
23
23            Q.
              Q.        And that
                        And that was e-mailed to
                                 was e-mailed to you,
                                                 you, I
                                                      I presume, by
                                                        presume, by

24
24      plaintiffs' counsel, correct?
        plaintiffs' counsel, correct?


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1
1             A.
              A.        I presume so.
                        I presume so.     I suppose it's
                                          I suppose it's possible it
                                                         possible it

2
2       could have
        could      come from
              have come from the
                             the --
                                 -- that
                                    that seems
                                         seems most likely.
                                               most likely.

3
3       I don't know
        I don't      if it's
                know if it's possible,
                             possible, it
                                       it could
                                          could have come
                                                have come

4
4       from --
        from -- is
                is it
                   it Veritext
                      Veritext or our colleagues
                               or our            that are
                                      colleagues that are
5
5       involved in
        involved in recording and transcribing
                    recording and transcribing this,
                                               this, but
                                                     but it
                                                         it
6
6       may well
        may well have come from
                 have come from plaintiffs,
                                plaintiffs, yes.
                                            yes.

7
7             Q.
              Q.        Okay.
                        Okay.   It doesn't
                                It doesn't really
                                           really matter.
                                                  matter.     Just the
                                                              Just the

8
8       fact that
        fact that you
                  you have seen it
                      have seen it before today.
                                   before today.             And did
                                                             And did

9
9       you take a
        you take a quick
                   quick look
                         look and
                              and review it?
                                  review it?

10
10            A.
              A.        Very briefly.
                        Very briefly.
11
11            Q.
              Q.        Okay.
                        Okay.   One of
                                One of the
                                       the things
                                           things that
                                                  that the
                                                       the notice
                                                           notice

12
12      does besides ask
        does besides ask you to appear
                         you to appear today
                                       today for
                                             for your
                                                 your

13
13      deposition in the
        deposition in the case is ask
                          case is ask you for an
                                      you for an
14
14      itemization of
        itemization of the
                       the hours spent and
                           hours spent and expected
                                           expected to
                                                    to be
                                                       be

15
15      spent, compensation
        spent, compensation paid, in connection
                            paid, in connection for
                                                for your
                                                    your

16
16      expert work
        expert      in this
               work in this case.
                            case.

17
17                          So
                            So Doctor
                               Doctor Alexander,
                                      Alexander, can
                                                 can you -- can
                                                     you -- can
18
18      you let me
        you let me know,
                   know, when
                         when were
                              were you
                                   you retained, first of
                                       retained, first of

19
19      all, by
        all, by plaintiffs'
                plaintiffs' counsel?
                            counsel?

20
20            A.
              A.        I don't know
                        I don't      the date,
                                know the date, the
                                               the exact
                                                   exact date,
                                                         date,

21
21      offhand, but
        offhand, but I
                     I would guess it
                       would guess it was -- regarding
                                      was --           this
                                             regarding this

22
22      particular case, I
        particular case, I would
                           would guess it was
                                 guess it     possibly 12
                                          was possibly 12

23
23      to 18
        to 18 months ago.
              months ago.

24
24            Q.
              Q.        So sometime
                        So sometime in
                                    in early
                                       early to
                                             to middle
                                                middle of 2019; is
                                                       of 2019; is


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1
1       that fair?
        that fair?
2
2             A.
              A.        I mean, that
                        I mean, that --
                                     -- that
                                        that is
                                             is a
                                                a guess.
                                                  guess.        I've been
                                                                I've been

3
3       involved in
        involved in a
                    a lot
                      lot of
                          of different
                             different opioid
                                       opioid litigation
                                              litigation
4
4       cases and
        cases and I
                  I don't
                    don't recall the precise
                          recall the precise date
                                             date when
                                                  when I
                                                       I

5
5       was retained for
        was retained for this
                         this --
                              -- this
                                 this track,
                                      track, but as you
                                             but as you

6
6       know, this is
        know, this is Track 2 of
                      Track 2 of the
                                 the MDL,
                                     MDL, and
                                          and I
                                              I was
                                                was

7
7       involved in
        involved in the
                    the first
                        first case as well,
                              case as       etc.
                                      well, etc.

8
8                           MR. BURNETT:
                            MR. BURNETT:      And Doctor
                                              And        Alexander,
                                                  Doctor Alexander,

9
9       let me
        let me just
               just interject
                    interject here.
                              here.               You should not
                                                  You should     enclose
                                                             not enclose

10
10      any engagements
        any engagements of
                        of yours in any
                           yours in any opioid
                                        opioid litigation
                                               litigation
11
11      except to
        except to the
                  the extent
                      extent you've been disclosed
                             you've been disclosed as
                                                   as a
                                                      a
12
12      witness in that
        witness in that case.
                        case.
13
13                          And if
                            And if you're
                                   you're not sure, because
                                          not sure,         that's
                                                    because that's

14
14      -- if
        -- if you're
              you're not sure, don't
                     not sure,       -- don't
                               don't --       disclose and
                                        don't disclose and

15
15      we
        we can discuss.
           can discuss.

16
16                          THE
                            THE DEPONENT:
                                DEPONENT:       Thank
                                                Thank you.
                                                      you.

17
17            Q.
              Q.        And Doctor
                        And        Alexander, subject
                            Doctor Alexander, subject to
                                                      to your
                                                         your

18
18      counsel's instruction,
        counsel's instruction, my
                               my understanding is that
                                  understanding is that you
                                                        you

19
19      are obviously
        are obviously retained
                      retained and
                               and disclosed
                                   disclosed as
                                             as an expert
                                                an expert

20
20      witness for the
        witness for the plaintiffs
                        plaintiffs in
                                   in this
                                      this case,
                                           case, City of
                                                 City of

21
21      Huntington and
        Huntington and Cabell
                       Cabell County,
                              County, correct?
                                      correct?

22
22            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
23
23            Q.
              Q.        And you
                        And you were also retained
                                were also          and disclosed
                                          retained and           as
                                                       disclosed as

24
24      an expert
        an expert in
                  in what
                     what you
                          you referred to as
                              referred to as the
                                             the MDL
                                                 MDL case,
                                                     case,


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1
1       and that
        and that was
                 was brought by Cuyahoga
                     brought by          and Summit
                                Cuyahoga and Summit
2
2       Counties in Ohio,
        Counties in Ohio, correct?
                          correct?

3
3             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
4
4             Q.
              Q.        And you
                        And you were also retained
                                were also          and disclosed
                                          retained and           in
                                                       disclosed in

5
5       connection with
        connection      a case
                   with a      in Washington
                          case in            State.
                                  Washington State.               Is
                                                                  Is

6
6       that also
        that also correct?
                  correct?
7
7             A.
              A.        I report in
                        I report in my
                                    my report
                                       report where
                                              where I've
                                                    I've been
                                                         been

8
8       retained and disclosed,
        retained and            so I
                     disclosed, so I would
                                     would want to look
                                           want to look
9
9       briefly at
        briefly at my
                   my report
                      report for
                             for that
                                 that information
                                      information --
10
10            Q.
              Q.        Okay.
                        Okay.

11
11            A.
              A.        -- in
                        -- in order
                              order to
                                    to confirm
                                       confirm that.
                                               that.
12
12            Q.
              Q.        And we
                        And    can do
                            we can    that when
                                   do that when we
                                                we get to your
                                                   get to your

13
13      report.
        report.

14
14                          Sitting here
                            Sitting      today, to
                                    here today, to the
                                                   the best of
                                                       best of

15
15      your
        your knowledge,
             knowledge, have
                        have you
                             you been
                                 been disclosed
                                      disclosed as an
                                                as an

16
16      expert witness
        expert         for plaintiffs
               witness for plaintiffs in
                                      in any
                                         any other
                                             other
17
17      opioid-related case?
        opioid-related case?

18
18                          MR. BURNETT:
                            MR. BURNETT:      And again,
                                              And again, Doctor
                                                         Doctor

19
19      Alexander, please
        Alexander, please only
                          only answer "Yes" and
                               answer "Yes" and disclose
                                                disclose

20
20      anything if
        anything if you're sure that
                    you're sure that you
                                     you have been
                                         have been

21
21      disclosed.
        disclosed.

22
22                          THE
                            THE DEPONENT:
                                DEPONENT:       Thank
                                                Thank you.
                                                      you.

23
23            A.
              A.        So I
                        So   -- I
                           I -- I would
                                  would want to look
                                        want to look at
                                                     at my
                                                        my report,
                                                           report,

24
24      which indicates the
        which indicates the cases for which
                            cases for which I've been
                                            I've been



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1
1       retained and disclosed.
        retained and disclosed.

2
2             Q.
              Q.        And that's
                        And that's fine,
                                   fine, and
                                         and we'll
                                             we'll do that in
                                                   do that in a few
                                                              a few

3
3       minutes just
        minutes just so
                     so we
                        we have accuracy.
                           have accuracy.                      Is that fair?
                                                               Is that fair?
4
4             A.
              A.        Sure.
                        Sure.

5
5             Q.
              Q.        When
                        When were
                             were you first retained
                                  you first          by plaintiffs'
                                            retained by plaintiffs'

6
6       counsel in
        counsel in connection
                   connection with expert work
                              with expert      for the
                                          work for the
7
7       opioids litigation?
        opioids litigation?
8
8                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

9
9             A.        I --
10
10                             THE
                               THE DEPONENT:
                                   DEPONENT:       Go ahead, David.
                                                   Go ahead, David.

11
11                             MR. BURNETT:
                               MR. BURNETT:      Go
                                                 Go ahead.
                                                    ahead.

12
12            A.
              A.        I presume you
                        I presume you would be asking
                                      would be asking or
                                                      or I
                                                         I would be
                                                           would be

13
13      replying regarding cases
        replying regarding cases that
                                 that I've
                                      I've been
                                           been retained
                                                retained

14
14      and disclosed,
        and disclosed, and
                       and I believe the
                           I believe the first
                                         first of
                                               of these
                                                  these
15
15      cases was
        cases     the MDL
              was the MDL case in Cuyahoga
                          case in Cuyahoga and Summit
                                           and Summit

16
16      Counties, and again,
        Counties, and again, I
                             I don't
                               don't have a precise
                                     have a precise

17
17      recollection of the
        recollection of the --
                            -- of the month
                               of the       and year
                                      month and      that I
                                                year that I

18
18      was retained, but
        was retained, but my guess would
                          my guess       be that
                                   would be that it
                                                 it was 24
                                                    was 24

19
19      months ago,
        months ago, plus or minus.
                    plus or minus.

20
20                             About two
                               About two years ago.
                                         years ago.            Possibly a
                                                               Possibly   bit
                                                                        a bit

21
21      more.
        more.

22
22            Q.
              Q.        Now, it
                        Now, it --
                                -- specifically
                                   specifically for
                                                for this
                                                    this case, can
                                                         case, can

23
23      you tell me
        you tell me how much total
                    how much total time
                                   time you
                                        you have spent in
                                            have spent in
24
24      connection with
        connection with your expert work
                        your expert      for plaintiffs
                                    work for            in
                                             plaintiffs in



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1
1       this particular
        this            case?
             particular case?

2
2             A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
3
3             Q.
              Q.        And what
                        And      is that?
                            what is that?
4
4             A.
              A.        I believe I've
                        I believe      spent about
                                  I've spent       75 hours
                                             about 75       devoted
                                                      hours devoted

5
5       to this
        to this case, but it's
                case, but it's also important to
                               also important to underscore
                                                 underscore

6
6       that --
        that -- that
                that I
                     I work extensively -
                       work extensively - and
                                          and have
                                              have worked
                                                   worked

7
7       extensively -
        extensively - for
                      for years focusing on
                          years focusing on the
                                            the opioid
                                                opioid

8
8       epidemic, and
        epidemic, and so
                      so while that may
                         while that may represent the
                                        represent the

9
9       number of hours
        number of       that I've
                  hours that I've directly
                                  directly logged,
                                           logged, so
                                                   so to
                                                      to
10
10      speak, working
        speak, working directly on my
                       directly on my report, it rests
                                      report, it rests upon
                                                       upon

11
11      an enormous
        an enormous amount
                    amount --
                           -- an
                              an enormous
                                 enormous number of hours.
                                          number of hours.

12
12                          I
                            I don't
                              don't know if it's,
                                    know if it's, you
                                                  you know,
                                                      know,

13
13      10,000,
        10,000, 15,000.
                15,000.         I don't know
                                I don't know how
                                             how many
                                                 many hours.
                                                      hours.    But
                                                                But

14
14      the point
        the point is
                  is that
                     that there's
                          there's a
                                  a lot
                                    lot of
                                        of additional
                                           additional work
                                                      work

15
15      that I've
        that I've done that I
                  done that I use to --
                              use to -- and
                                        and incorporate
                                            incorporate
16
16      into the
        into the hours that I've
                 hours that I've committed to this
                                 committed to this case.
                                                   case.
17
17            Q.
              Q.        Understood.
                        Understood.   And just
                                      And just by
                                               by way of summary,
                                                  way of summary,
18
18      you
        you have been very
            have been very active
                           active and
                                  and outspoken
                                      outspoken in terms of
                                                in terms of
19
19      researching,
        researching, writing and speaking
                     writing and speaking with
                                          with respect to
                                               respect to

20
20      the opioids
        the opioids abuse
                    abuse epidemic
                          epidemic in
                                   in the
                                      the U.S.
                                          U.S. generally;
                                               generally;

21
21      is that
        is that fair?
                fair?
22
22                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

23
23            A.
              A.        Well,
                        Well, I --
                              I --

24
24            Q.
              Q.        You
                        You can answer.
                            can answer.



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1
1                           MR. BURNETT:
                            MR. BURNETT:      Go
                                              Go ahead.
                                                 ahead.

2
2             A.
              A.        I mean, I
                        I mean,   don't --
                                I don't -- I
                                           I have
                                             have a
                                                  a bit of a
                                                    bit of a

3
3       concern about
        concern about framing
                      framing the
                              the epidemic
                                  epidemic as one of
                                           as one of
4
4       "abuse."
        "abuse."         It's
                         It's really an epidemic
                              really an epidemic of
                                                 of addiction,
                                                    addiction, and
                                                               and
5
5       a lot
        a lot of
              of my
                 my work and work
                    work and      of others
                             work of others has
                                            has

6
6       demonstrated that, so
        demonstrated that, so I'm
                              I'm happy to return
                                  happy to        to that
                                           return to that
7
7       point, but I
        point, but I would
                     would not
                           not characterize the epidemic
                               characterize the epidemic as
                                                         as

8
8       -- as
        -- as an epidemic of
              an epidemic of abuse.
                             abuse.
9
9                           With that being
                            With that       said, it
                                      being said, it is
                                                     is correct
                                                        correct
10
10      that --
        that -- that
                that I've
                     I've spent a lot
                          spent a lot of
                                      of time
                                         time working on
                                              working on

11
11      identifying evidence-based
        identifying evidence-based approaches
                                   approaches to
                                              to abate
                                                 abate
12
12      harms that continue
        harms that continue to
                            to accrue from opioids.
                               accrue from opioids.

13
13                          I
                            I don't think of
                              don't think of myself
                                             myself really
                                                    really as
                                                           as

14
14      outspoken or
        outspoken or --
                     -- or
                        or --
                           -- I
                              I don't
                                don't recall if you
                                      recall if you used
                                                    used

15
15      the word
        the      "activist" or
            word "activist" or something like that.
                               something like that.
16
16                          I
                            I don't really consider
                              don't really consider myself in that
                                                    myself in that
17
17      light, but
        light, but I
                   I certainly
                     certainly have focused a
                               have focused a lot
                                              lot of
                                                  of my
                                                     my
18
18      scholarship as
        scholarship as a
                       a professor of epidemiology
                         professor of epidemiology on
                                                   on
19
19      examining the
        examining the contours
                      contours of the epidemic
                               of the epidemic and
                                               and how
                                                   how we
                                                       we

20
20      can best
        can best prevent
                 prevent additional
                         additional harms from occurring.
                                    harms from occurring.
21
21            Q.
              Q.        And in
                        And in terms
                               terms of
                                     of your
                                        your speaking,
                                             speaking, I
                                                       I didn't
                                                         didn't use
                                                                use

22
22      the term
        the term "activist."
                 "activist."
23
23            A.
              A.        Okay.
                        Okay.

24
24            Q.
              Q.        If I
                        If   did, I
                           I did,   didn't mean
                                  I didn't mean to.
                                                to.         But fair
                                                            But fair to
                                                                     to


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1
1       say, you
        say, you know,
                 know, you
                       you have spoken at
                           have spoken at rallies, on radio
                                          rallies, on radio

2
2       programs, on media
        programs, on       programs.
                     media programs.               Is that fair?
                                                   Is that fair?
3
3             A.
              A.        Yes, I
                        Yes,   certainly --
                             I certainly -- I mean, I
                                            I mean,   -- I
                                                    I --   think
                                                         I think

4
4       that it's
        that it's important
                  important that
                            that --
                                 -- to
                                    to disseminate
                                       disseminate the
                                                   the
5
5       scholarship that
        scholarship that -- that
                            that originates
                                 originates from
                                            from Johns
                                                 Johns

6
6       Hopkins or
        Hopkins or other
                   other academic
                         academic institutions,
                                  institutions, and
                                                and so
                                                    so

7
7       generally when
        generally      asked, I
                  when asked, I have sought opportunities
                                have sought opportunities
8
8       to try
        to try to
               to communicate
                  communicate my
                              my concerns or my
                                 concerns or my beliefs
                                                beliefs

9
9       about where
        about where we
                    we need to go.
                       need to go.

10
10                          And that
                            And that has included infrequently
                                     has included infrequently
11
11      speaking at
        speaking at conferences
                    conferences or
                                or rallies, but I
                                   rallies, but I certainly
                                                  certainly

12
12      have communicated with
        have communicated      the media
                          with the       extensively around
                                   media extensively around
13
13      the opioid
        the opioid epidemic
                   epidemic because
                            because I
                                    I believe that the
                                      believe that the
14
14      media plays
        media       such an
              plays such an important
                            important role in helping
                                      role in         to
                                              helping to

15
15      correct misunderstandings
        correct                   and, frankly,
                misunderstandings and, frankly,
16
16      misconceptions that
        misconceptions that have
                            have been
                                 been propagated about the
                                      propagated about the
17
17      epidemic.
        epidemic.

18
18                          So
                            So I
                               I certainly do look
                                 certainly do look for
                                                   for
19
19      opportunities to
        opportunities to extend
                         extend my
                                my scholarship
                                   scholarship through
                                               through
20
20      those forums.
        those forums.
21
21            Q.
              Q.        And in
                        And in addition
                               addition to
                                        to speaking
                                           speaking with the media
                                                    with the media

22
22      frequently on
        frequently on the
                      the topic,
                          topic, you
                                 you have also published
                                     have also published

23
23      quite
        quite a
              a bit on the
                bit on the opioids
                           opioids epidemic.
                                   epidemic.                Is that
                                                            Is that

24
24      correct?
        correct?



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1
1             A.
              A.        Yes, it
                        Yes, it is.
                                is.
2
2             Q.
              Q.        How much
                        How      of a
                            much of a focus
                                      focus of
                                            of your
                                               your research in the
                                                    research in the
3
3       last, say,
        last,      five years
              say, five years has been devoted
                              has been devoted to
                                               to the
                                                  the
4
4       opioid epidemic?
        opioid epidemic?
5
5             A.
              A.        Huh.
                        Huh.     I
                                 I would
                                   would guess -- I
                                         guess -- I mean, it's an
                                                    mean, it's an
6
6       interesting question.
        interesting question.             I
                                          I would guess 75
                                            would guess 75 percent,
                                                           percent,

7
7       plus or minus.
        plus or minus.

8
8             Q.
              Q.        And is
                        And is that
                               that the
                                    the same
                                        same percentage every year
                                             percentage every year

9
9       for the
        for the last
                last five
                     five years?
                          years?

10
10            A.
              A.        No.
                        No.     I mean, it
                                I mean, it --
                                           -- I'm
                                              I'm sure
                                                  sure it
                                                       it waxes and
                                                          waxes and

11
11      wanes.
        wanes.      And I'm
                    And     not suggesting
                        I'm not suggesting that
                                           that 75
                                                75 percent
                                                   percent of
                                                           of

12
12      my papers
        my        are epidemic-related
           papers are epidemic-related or,
                                       or, you
                                           you know, that
                                               know, that

13
13      there's some
        there's some definitive
                     definitive quantitative
                                quantitative measure of
                                             measure of

14
14      output that's
        output that's opioid-related
                      opioid-related to
                                     to gauge this.
                                        gauge this.

15
15                             It's just a
                               It's just a Gestalt that I
                                           Gestalt that I believe
                                                          believe

16
16      about three-quarters
        about three-quarters of
                             of my
                                my scholarship
                                   scholarship has focused
                                               has focused

17
17      one way
        one     or another
            way or another over
                           over the
                                the past
                                    past five
                                         five years on
                                              years on

18
18      opioid-related matters.
        opioid-related matters.

19
19            Q.
              Q.        Now, you
                        Now,     told me
                             you told    earlier you
                                      me earlier     spent
                                                 you spent

20
20      approximately 75
        approximately 75 hours
                         hours on
                               on your expert work
                                  your expert      in this
                                              work in this
21
21      case.
        case.      Can
                   Can you
                       you break out for
                           break out for me
                                         me how many hours
                                            how many hours you
                                                           you

22
22      spent preparing
        spent preparing your report?
                        your report?

23
23                             MR. BURNETT:
                               MR. BURNETT:      Counsel,
                                                 Counsel, I'm
                                                          I'm going to --
                                                              going to --
24
24      I'm going to
        I'm going to object.
                     object.             You
                                         You know,
                                             know, as
                                                   as you
                                                      you know,
                                                          know, you're
                                                                you're



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1
1       -- parties
        --         are not
           parties are     entitled to
                       not entitled to drafts
                                       drafts of
                                              of reports,
                                                 reports,

2
2       and by
        and by extension,
               extension, I
                          I believe
                            believe you
                                    you don't need to
                                        don't need to know
                                                      know

3
3       anything more
        anything more than
                      than that
                           that about
                                about his
                                      his process of
                                          process of

4
4       preparing
        preparing his report, including,
                  his report, including, you
                                         you know,
                                             know, how
                                                   how much
                                                       much

5
5       time is
        time is spent
                spent.
                            •
6
6                           MS. GEIST:
                            MS. GEIST:     So
                                           So I
                                              I understand the rule
                                                understand the rule
7
7       about drafts,
        about drafts, Counsel,
                      Counsel, and of course,
                               and of course, we're
                                              we're going
                                                    going

8
8       to abide
        to abide by
                 by that
                    that rule.
                         rule.           But I
                                         But I do not think
                                               do not think I'm
                                                            I'm

9
9       prohibited from asking
        prohibited from asking Doctor Alexander how
                               Doctor Alexander how many of
                                                    many of

10
10      his 75 hours
        his 75 hours he spent actually
                     he spent actually preparing
                                       preparing his
                                                 his

11
11      report.
        report.

12
12                          MR. BURNETT:
                            MR. BURNETT:      I'm -- I'm
                                              I'm --     going to
                                                     I'm going to --
13
13      I'm going to
        I'm going to instruct
                     instruct him not to
                              him not to answer
                                         answer that.
                                                that.              And
                                                                   And

14
14      we
        we can circle back
           can circle back to
                           to that.
                              that.
15
15      BY MS.
        BY MS. GEIST:
               GEIST:

16
16            Q.
              Q.        And I
                        And   assume, Doctor
                            I assume,        Alexander, you're
                                      Doctor Alexander, you're

17
17      going to heed
        going to      Mr. Burnett's
                 heed Mr. Burnett's instruction?
                                    instruction?
18
18            A.
              A.        Well,
                        Well, I mean, I
                              I mean,   -- I'm
                                      I -- I'm just
                                               just trying
                                                    trying to
                                                           to help.
                                                              help.

19
19      So you
        So you know,
               know, I
                     I would prefer for
                       would prefer for you to reach
                                        you to reach

20
20      consensus about
        consensus about any
                        any matters
                            matters where there's
                                    where there's

21
21      disagreement, and then
        disagreement, and then I
                               I am
                                 am happy to go
                                    happy to go with the
                                                with the

22
22      flow.
        flow.

23
23            Q.
              Q.        How much
                        How      time have
                            much time have you spent preparing
                                           you spent preparing for
                                                               for
24
24      your
        your deposition in this
             deposition in this case?
                                case?


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1
1             A.
              A.        Probably ten
                        Probably ten hours.
                                     hours.

2
2             Q.
              Q.        And can
                        And can you just explain
                                you just explain to
                                                 to me
                                                    me generally,
                                                       generally,

3
3       what
        what did
             did you
                 you do to prepare
                     do to prepare for
                                   for your
                                       your deposition
                                            deposition

4
4       today?
        today?

5
5             A.
              A.        I reviewed my
                        I reviewed my report
                                      report and the information
                                             and the information
6
6       that I've
        that I've provided to the
                  provided to the courts,
                                  courts, and
                                          and I
                                              I briefly
                                                briefly

7
7       reviewed other materials
        reviewed other           that are
                       materials that are relevant to my
                                          relevant to my

8
8       testimony, and
        testimony, and I spoke with
                       I spoke      counsel --
                               with counsel -- with
                                               with

9
9       plaintiffs' counsel and
        plaintiffs' counsel and colleagues
                                colleagues at Monument
                                           at Monument

10
10      Analytics.
        Analytics.

11
11            Q.
              Q.        And Monument
                        And Monument Analytics,
                                     Analytics, is
                                                is that
                                                   that your
                                                        your

12
12      consulting business,
        consulting business, Doctor?
                             Doctor?

13
13            A.
              A.        Yes, ma'am.
                        Yes, ma'am.   I mean, it's
                                      I mean, it's not -- yes,
                                                   not -- yes,

14
14      ma'am.
        ma'am.

15
15            Q.
              Q.        And in
                        And in terms
                               terms of
                                     of materials
                                        materials relevant to your
                                                  relevant to your

16
16      report, sitting here
        report, sitting      today, can
                        here today, can you tell me
                                        you tell me
17
17      specifically what
        specifically what materials
                          materials you
                                    you reviewed in advance
                                        reviewed in advance
18
18      of your
        of your deposition?
                deposition?

19
19            A.
              A.        Yes, I
                        Yes,   can.
                             I can.

20
20            Q.
              Q.        Will
                        Will you, please?
                             you, please?

21
21            A.
              A.        I reviewed --
                        I reviewed -- briefly
                                      briefly reviewed
                                              reviewed

22
22      Mr. Barrett's
        Mr. Barrett's report
                      report and
                             and Doctor
                                 Doctor Young's
                                        Young's report
                                                report and
                                                       and

23
23      the reports
        the reports from
                    from --
                         -- two
                            two reports from defendants,
                                reports from             in
                                             defendants, in

24
24      particular.
        particular.         Is it a
                            Is it a Mr.
                                    Mr. Rufus
                                        Rufus perhaps?
                                              perhaps?      And
                                                            And



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1
1       Ms. Colson?
        Ms. Colson?

2
2                           And I
                            And I watched the documentary
                                  watched the documentary

3
3       Heroin(e), which
        Heroin(e),       is a
                   which is a Netflix documentary about
                              Netflix documentary about
4
4       Cabell
        Cabell County and the
               County and the City of Huntington.
                              City of Huntington.                       And
                                                                        And

5
5       those are
        those are the
                  the --
                      -- those
                         those are
                               are the
                                   the materials that I
                                       materials that I

6
6       reviewed in
        reviewed in preparing for this
                    preparing for this deposition.
                                       deposition.

7
7             Q.
              Q.        Okay.
                        Okay.    So just
                                 So just to
                                         to make
                                            make sure
                                                 sure I -- and
                                                      I -- and did
                                                               did

8
8       you also meet
        you also meet with counsel, by
                      with counsel,    the way,
                                    by the      either by
                                           way, either by

9
9       phone or in
        phone or in person?
                    person?

10
10            A.
              A.        I did.
                        I did.   I'm sorry,
                                 I'm sorry, I thought that
                                            I thought that I
                                                           I

11
11      included that
        included that in
                      in -- in
                            in my
                               my last
                                  last reply.
                                       reply.                       But yet,
                                                                    But yet, I
                                                                             I

12
12      met and
        met and had conversations with
                had conversations      counsel and
                                  with counsel and with
                                                   with

13
13      colleagues from
        colleagues from Monument
                        Monument Analytics.
                                 Analytics.
14
14            Q.
              Q.        And with
                        And      respect to
                            with respect to counsel,
                                            counsel, who did you
                                                     who did you

15
15      meet with,
        meet       and when
             with, and      did you
                       when did you have the meeting?
                                    have the meeting?

16
16            A.
              A.        David Burnett and
                        David Burnett and Andrew
                                          Andrew Arnold.
                                                 Arnold.                And we
                                                                        And we

17
17      met yesterday.
        met yesterday.

18
18            Q.
              Q.        And in
                        And in terms
                               terms of
                                     of speaking
                                        speaking with
                                                 with your
                                                      your

19
19      colleagues at
        colleagues at Analytics,
                      Analytics, who did you
                                 who did     speak with?
                                         you speak with?

20
20      I'm sorry,
        I'm sorry, Monument
                   Monument Analytics.
                            Analytics.                       Who did you
                                                             Who did you speak
                                                                         speak

21
21      with at Monument
        with at Monument Analytics
                         Analytics in
                                   in advance
                                      advance of
                                              of your
                                                 your

22
22      deposition?
        deposition?

23
23            A.
              A.        Omar Mansour
                        Omar Mansour and
                                     and Katherine
                                         Katherine Ozenberger.
                                                   Ozenberger.
24
24      Mansour is
        Mansour is M,
                   M, like
                      like Mary,
                           Mary, A-N,
                                 A-N, S
                                      S like
                                        like Sam,
                                             Sam, O-U-R;
                                                  O-U-R;


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1
1       and Katherine
        and Katherine Ozenberger.
                      Ozenberger.              I believe her
                                               I believe     last name
                                                         her last name

2
2       is spelled
        is spelled 0O like
                      like Oscar,
                           Oscar, Z like zebra,
                                  Z like        E-N like
                                         zebra, E-N like
3
3       Nancy, B like
        Nancy, B like boy,
                      boy, E
                           E like
                             like Edward,
                                  Edward, R
                                          R like
                                            like Robert,
                                                 Robert, G,
                                                         G,

4
4       E like
        E like Edward,
               Edward, R
                       R like
                         like Robert.
                              Robert.
5
5             Q.
              Q.        When
                        When you
                             you spoke
                                 spoke with Mr. Mansour
                                       with Mr. Mansour and
                                                        and
6
6       Ms. Kozenberger
        Ms. Kozenberger --
                        --
7
7             A.
              A.        Ozenberger.
                        Ozenberger.

8
8             Q.
              Q.        -- I'm
                        --     sorry, Ozenberger.
                           I'm sorry, Ozenberger.            When
                                                             When you spoke
                                                                  you spoke

9
9       with Mr. Mansour
        with Mr. Mansour and
                         and Ms.
                             Ms. Ozenberger,
                                 Ozenberger, did
                                             did you do
                                                 you do

10
10      that in
        that in the
                the presence of plaintiffs'
                    presence of             counsel?
                                plaintiffs' counsel?

11
11            A.
              A.        Yes
                        Yes and
                            and no.
                                no.    In other words,
                                       In other words, I
                                                       I had
                                                         had

12
12      conversations with
        conversations      them when
                      with them when plaintiffs' counsel
                                     plaintiffs' counsel

13
13      weren't
        weren't present, and I
                present, and I had
                               had conversations
                                   conversations with them
                                                 with them

14
14      when
        when plaintiffs' counsel was
             plaintiffs' counsel was present.
                                     present.

15
15            Q.
              Q.        And this
                        And this was in preparation
                                 was in             for your
                                        preparation for your

16
16      deposition; is that
        deposition; is that right?
                            right?

17
17            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
18
18            Q.
              Q.        Okay.
                        Okay.   What
                                What was the substance
                                     was the substance of
                                                       of your
                                                          your

19
19      conversations with
        conversations      them, Ms.
                      with them, Ms. Ozenberger
                                     Ozenberger and
                                                and

20
20      Mr. Mansour,
        Mr. Mansour, in
                     in preparation
                        preparation your deposition where
                                    your deposition where

21
21      counsel was
        counsel was not present?
                    not present?

22
22            A.
              A.        We
                        We discussed the reports
                           discussed the reports from
                                                 from Mr.
                                                      Mr. Rufus
                                                          Rufus and
                                                                and

23
23      Ms. Colson,
        Ms. Colson, is
                    is it,
                       it, and
                           and we discussed those
                               we discussed those reports,
                                                  reports,

24
24      as well
        as well as reviewed my
                as reviewed    -- my
                            my -- my report.
                                     report.



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1
1             Q.
              Q         And how
                        And     long did
                            how long     -- was
                                     did --     that --
                                            was that --
2
2                           MS. GEIST:
                            MS. GEIST:     Strike that.
                                           Strike that.
3
3             Q.
              Q.        Was that one
                        Was that one meeting, or multiple
                                     meeting, or          meetings?
                                                 multiple meetings?

4
4             A.
              A.        I believe it
                        I believe it was two meetings.
                                     was two meetings.

5
5             Q.
              Q.        And do
                        And do you
                               you know
                                   know how long those
                                        how long those meetings
                                                       meetings

6
6       lasted?
        lasted?

7
7             A.
              A.        I believe both
                        I believe both were approximately two
                                       were approximately two
8
8       hours.
        hours.

9
9             Q.
              Q.        Two
                        Two hours each?
                            hours each?

10
10            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
11
11            Q.
              Q.        And did
                        And did you take any
                                you take any notes
                                             notes during those
                                                   during those

12
12      meetings?
        meetings?

13
13            A.
              A.        I did, yes.
                        I did, yes.

14
14            Q.
              Q.        And did
                        And did you bring those
                                you bring those notes
                                                notes with
                                                      with you
                                                           you

15
15      today?
        today?

16
16            A.
              A.        I mean, they're
                        I mean, they're on
                                        on my
                                           my hard drive, but
                                              hard drive, but I
                                                              I

17
17      didn't -- I
        didn't -- I don't
                    don't have
                          have printouts of them.
                               printouts of them.
18
18            Q.
              Q.        And what
                        And what was the purpose
                                 was the purpose of
                                                 of speaking
                                                    speaking with
                                                             with

19
19      Mr. Mansour
        Mr. Mansour and
                    and Ms.
                        Ms. Ozenberger
                            Ozenberger regarding the
                                       regarding the

20
20      reports from Mr.
        reports from Mr. Rufus
                         Rufus and Ms. Colson?
                               and Ms. Colson?

21
21                          MR. BURNETT:
                            MR. BURNETT:      Counsel, let me
                                              Counsel, let    just
                                                           me just

22
22      interject here.
        interject here.         You
                                You know, it --
                                    know, it -- Doctor
                                                Doctor Alexander
                                                       Alexander

23
23      's preparation
        's             for this
           preparation for this deposition,
                                deposition, the
                                            the whole thing
                                                whole thing

24
24      is sort
        is sort of
                of --
                   -- you
                      you know, even if
                          know, even if he
                                        he wasn't
                                           wasn't



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1
1       explicitly talking
        explicitly talking with counsel on
                           with counsel on a
                                           a particular
                                             particular

2
2       conversation, the
        conversation, the whole
                          whole process is suffused
                                process is suffused with
                                                    with

3
3       our, you
        our, you know,
                 know, privilege
                       privilege and
                                 and work
                                     work product
                                          product concerns,
                                                  concerns,

4
4       so I'm
        so     a little
           I'm a little concerned
                        concerned about
                                  about you asking so
                                        you asking so much
                                                      much

5
5       detail about his
        detail about his preparation for this
                         preparation for this deposition,
                                              deposition,
6
6       given that a
        given that a lot
                     lot of
                         of it
                            it did involve counsel.
                               did involve counsel.

7
7                       MS. GEIST:
                        MS. GEIST:     So Mr. Burnett,
                                       So Mr. Burnett, I think
                                                       I think

8
8       that Doctor
        that        Alexander was
             Doctor Alexander     very clear.
                              was very clear.           He indicated
                                                        He indicated

9
9       that some
        that some of
                  of his
                     his preparation involved discussions
                         preparation involved discussions
10
10      with counsel; some
        with counsel; some of
                           of his preparation involved
                              his preparation involved
11
11      discussions
        discussions with two individuals
                    with two individuals from
                                         from Monument
                                              Monument
12
12      Analytics that
        Analytics that were
                       were with
                            with counsel present; and
                                 counsel present;     there
                                                  and there

13
13      were also discussions
        were also discussions with the individuals
                              with the individuals at
                                                   at
14
14      Monument Analytics
        Monument Analytics where
                           where counsel
                                 counsel was
                                         was not
                                             not present.
                                                 present.

15
15                      So I'm entitled
                        So I'm entitled to
                                        to explore
                                           explore the
                                                   the
16
16      substance and
        substance and discussions
                      discussions that
                                  that occurred
                                       occurred during
                                                during

17
17      those meetings.
        those meetings.

18
18                      MR. BURNETT:
                        MR. BURNETT:      I
                                          I understand that.
                                            understand that.    I'm
                                                                I'm

19
19      just saying
        just saying that
                    that there
                         there may
                               may be
                                   be an argument that
                                      an argument that even
                                                       even
20
20      for those
        for those conversations,
                  conversations, there's
                                 there's still
                                         still some
                                               some
21
21      implication of
        implication of --
                       -- of
                          of work product or
                             work product or privileged
                                             privileged

22
22      information.
        information.

23
23                      MS. GEIST:
                        MS. GEIST:     Well --
                                       Well --

24
24                      MR. BURNETT:
                        MR. BURNETT:      So I'm
                                          So     just preserving
                                             I'm just preserving



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1
1       an objection
        an objection on
                     on that
                        that --
                             -- on
                                on that
                                   that basis.
                                        basis.

2
2                           MS. GEIST:
                            MS. GEIST:     You're
                                           You're not instructing him
                                                  not instructing him

3
3       not to answer?
        not to answer?         Is that
                               Is that correct?
                                       correct?
4
4                           MR. BURNETT:
                            MR. BURNETT:      I
                                              I would
                                                would have to hear
                                                      have to      the
                                                              hear the

5
5       question again.
        question again.

6
6                           MS. GEIST:
                            MS. GEIST:     Okay.
                                           Okay.

7
7             Q.
              Q.        So the
                        So the question
                               question is:
                                        is:        You
                                                   You met
                                                       met with
                                                           with

8
8       Mr. Mansour
        Mr. Mansour and
                    and Ms.
                        Ms. Ozenberger
                            Ozenberger to
                                       to discuss the
                                          discuss the

9
9       reports that have
        reports that have been
                          been submitted on behalf
                               submitted on behalf of
                                                   of the
                                                      the
10
10      defendants, Mr. Rufus
        defendants, Mr. Rufus and
                              and Ms.
                                  Ms. Colson
                                      Colson without
                                             without

11
11      counsel present.
        counsel present.

12
12                          Is that correct,
                            Is that correct, Doctor Alexander?
                                             Doctor Alexander?

13
13            A.
              A.        Yes, it
                        Yes, it is.
                                is.
14
14            Q.
              Q.        And why
                        And why did
                                did you
                                    you do that?
                                        do that?

15
15            A.
              A.        For the same
                        For the same reason that I
                                     reason that   met with
                                                 I met      counsel
                                                       with counsel

16
16      yesterday,
        yesterday, which is --
                   which is -- I'm sorry.
                               I'm sorry.

17
17                         -- which
                           --       is to
                              which is to ensure
                                          ensure that
                                                 that --
                                                      --
18
18                          MR. BURNETT:
                            MR. BURNETT:      Again --
                                              Again -- sorry,
                                                       sorry, let
                                                              let me
                                                                  me

19
19      just interject.
        just interject.         With
                                With regard to the
                                     regard to the conversation
                                                   conversation
20
20      that you
        that you had
                 had with
                     with me and counsel
                          me and counsel yesterday,
                                         yesterday, don't
                                                    don't

21
21      -- you
        --     should not
           you should not disclose the content
                          disclose the content of
                                               of that
                                                  that
22
22      discussion.
        discussion.

23
23                          THE
                            THE DEPONENT:
                                DEPONENT:       Okay.
                                                Okay.

24
24      BY MS.
        BY MS. GEIST:
               GEIST:



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1
1             Q.
              Q.        Doctor Alexander, just
                        Doctor Alexander, just so
                                               so you're
                                                  you're clear,
                                                         clear, I
                                                                I

2
2       do
        do not
           not want to know
               want to know what
                            what you
                                 you discussed
                                     discussed with
                                               with

3
3       plaintiffs' counsel, whether
        plaintiffs' counsel,         that's Mr.
                             whether that's Mr. Burnett
                                                Burnett or
                                                        or
4
4       anybody else
        anybody else from
                     from Motley
                          Motley Rice
                                 Rice or the other
                                      or the other law
                                                   law
5
5       firms representing
        firms              the plaintiffs.
              representing the plaintiffs.                  I'm
                                                            I'm not
                                                                not

6
6       entitled to
        entitled to know about that
                    know about that and
                                    and I'm
                                        I'm not
                                            not asking
                                                asking you
                                                       you

7
7       about that.
        about that.
8
8                           I am asking
                            I am asking you about discussions
                                        you about             that
                                                  discussions that

9
9       you
        you had
            had with
                with your
                     your colleagues at Monument
                          colleagues at Monument Analytics
                                                 Analytics
10
10      why
        why you
            you had those discussions
                had those discussions without counsel to
                                      without counsel to
11
11      prepare for your
        prepare for your deposition, and what
                         deposition, and      did you
                                         what did     talk
                                                  you talk

12
12      about?
        about?

13
13            A.
              A.        Yeah, they
                        Yeah, they --
                                   -- I'm sorry, I'm
                                      I'm sorry,     being
                                                 I'm being

14
14      interrupted.
        interrupted.         Just one minute.
                             Just one minute.

15
15                          They
                            They were the same
                                 were the same conversations,
                                               conversations,

16
16      essentially.
        essentially.         In other words,
                             In other        they were
                                      words, they were all focused
                                                       all focused

17
17      on the
        on the same
               same stuff,
                    stuff, so
                           so I
                              I will look to
                                will look to you,
                                             you, again,
                                                  again,

18
18      through a
        through a process of consensus,
                  process of consensus, to
                                        to instruct
                                           instruct me
                                                    me how
                                                       how

19
19      I should proceed.
        I should proceed.
20
20                         But there
                           But there was
                                     was no
                                         no strong
                                            strong material
                                                   material

21
21      difference between the
        difference between the types
                               types of
                                     of conversations or
                                        conversations or

22
22      the types
        the types of
                  of content in the
                     content in the conversations
                                    conversations that
                                                  that I
                                                       I

23
23      had
        had with my colleagues
            with my colleagues from
                               from Monument
                                    Monument Analytics
                                             Analytics and
                                                       and

24
24      the content
        the content and
                    and conversations
                        conversations of
                                      of the
                                         the conversations
                                             conversations



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1
1       that I
        that I had
               had yesterday.
                   yesterday.

2
2                           They
                            They were
                                 were part and parcel
                                      part and        --
                                               parcel --

3
3                           MR. BURNETT:
                            MR. BURNETT:      So --
                                              So --
4
4             A.
              A.        -- you
                        -- you know, the same
                               know, the same content.
                                              content.
5
5                           MR. BURNETT:
                            MR. BURNETT:      So Doctor
                                              So        Alexander --
                                                 Doctor Alexander --
6
6                           MS. GEIST:
                            MS. GEIST:     Just
                                           Just hold on, Mr.
                                                hold on, Mr. Burnett.
                                                             Burnett.
7
7       I'm not going
        I'm not       to go
                going to go down this road.
                            down this road.                 If the witness
                                                            If the witness

8
8       is telling
        is telling me
                   me essentially
                      essentially that
                                  that these
                                       these are the same
                                             are the same
9
9       conversations, I'm
        conversations,     going to
                       I'm going to reserve
                                    reserve my
                                            my right for
                                               right for

10
10      the record
        the record to
                   to request
                      request his notes from
                              his notes from these
                                             these meetings
                                                   meetings
11
11      that he
        that    indicated were
             he indicated were on
                               on his
                                  his hard
                                      hard drive,
                                           drive, meetings
                                                  meetings

12
12      with individuals at
        with individuals at Monument
                            Monument Analytics
                                     Analytics to
                                               to prepare
                                                  prepare

13
13      for the
        for the deposition.
                deposition.

14
14                          And again,
                            And again, I'm limiting our
                                       I'm limiting our right to
                                                        right to

15
15      ask for
        ask for those
                those notes
                      notes that
                            that reflect meetings where
                                 reflect meetings where

16
16      counsel was
        counsel was not present.
                    not present.

17
17                          MR. BURNETT:
                            MR. BURNETT:      Right, and
                                              Right, and I
                                                         I -- given
                                                              given
18
18      that Doctor
        that        Alexander has
             Doctor Alexander     said he
                              has said    can't
                                       he can't

19
19      differentiate the subject
        differentiate the         matter of
                          subject matter of those
                                            those meetings
                                                  meetings

20
20      between counsel
        between         and not
                counsel and     counsel, I
                            not counsel, I will instruct
                                           will instruct

21
21      him not to
        him not to answer
                   answer further
                          further and
                                  and I think we
                                      I think    should all
                                              we should all
22
22      move on.
        move on.
23
23                          MS. GEIST:
                            MS. GEIST:     Yeah,
                                           Yeah, well, that's why
                                                 well, that's why I
                                                                  I

24
24      said to
        said to you, "I'm not
                you, "I'm not going down this
                              going down this road."
                                              road."


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1
1                           I
                            I know the rules.
                              know the rules.

2
2       BY MS.
        BY MS. GEIST:
               GEIST:

3
3             Q.
              Q.        So Doctor
                        So        Alexander, you
                           Doctor Alexander,     also indicated
                                             you also indicated to
                                                                to
4
4       me that
        me that you
                you watched the Netflix
                    watched the Netflix documentary
                                        documentary

5
5       Heroin(e); is
        Heroin(e); is that
                      that correct?
                           correct?
6
6             A.
              A.        Yes, but
                        Yes, but may
                                 may I make one
                                     I make one comment
                                                comment prior,
                                                        prior,

7
7       please?
        please?         Which is the
                        Which is the notes that I
                                     notes that I have is a
                                                  have is a single
                                                            single
8
8       document.
        document.         I
                          I don't
                            don't have two sets
                                  have two sets of
                                                of notes.
                                                   notes.        I
                                                                 I have
                                                                   have

9
9       a one
        a one to
              to two-page
                 two-page document that reflects,
                          document that reflects, again,
                                                  again,

10
10      the conversations
        the conversations that
                          that I've
                               I've had
                                    had with
                                        with counsel and
                                             counsel and

11
11      the like.
        the like.
12
12                          So
                            So I just want
                               I just      to be
                                      want to be clear for the
                                                 clear for the
13
13      record that I
        record that   don't have
                    I don't      two parallel
                            have two          sets --
                                     parallel sets

14
14                          MR. BURNETT:
                            MR. BURNETT:      Okay.
                                              Okay.

15
15            A.
              A.        -- sets
                        -- sets of
                                of notes.
                                   notes.

16
16                          MR. BURNETT:
                            MR. BURNETT:      So Doctor
                                              So        Alexander, we
                                                 Doctor Alexander, we

17
17      can get
        can get into
                into the
                     the notes later.
                         notes later.

18
18                          THE
                            THE DEPONENT:
                                DEPONENT:       Okay, that's
                                                Okay, that's fine.
                                                             fine.
19
19                          MR. BURNETT:
                            MR. BURNETT:      We're moving on.
                                              We're moving on.

20
20                          THE
                            THE DEPONENT:
                                DEPONENT:       Fair enough.
                                                Fair enough.

21
21            Q.
              Q.        I'm going
                        I'm       to ask
                            going to ask one
                                         one follow-up
                                             follow-up question.
                                                       question.            I
                                                                            I

22
22      just need
        just      to be
             need to    clear.
                     be clear.           Doctor Alexander, do
                                         Doctor Alexander, do you
                                                              you

23
23      have
        have notes that reflect
             notes that reflect your meetings with
                                your meetings with

24
24      individuals at
        individuals at Monument
                       Monument Analytics
                                Analytics where
                                          where counsel
                                                counsel was
                                                        was



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1
1       not present?
        not present?

2
2             A.
              A.        Again, I
                        Again, I have
                                 have one
                                      one -- I'm
                                             I'm not quite sure
                                                 not quite sure how
                                                                how

3
3       to answer
        to answer because
                  because I
                          I have one --
                            have one -- you
                                        you know,
                                            know, I
                                                  I have
                                                    have

4
4       one document
        one document that
                     that reflects the --
                          reflects the -- the
                                          the aggregate
                                              aggregate of
                                                        of
5
5       my meetings
        my          and conversations
           meetings and conversations with
                                      with counsel and with
                                           counsel and with

6
6       colleagues, and
        colleagues, and so
                        so in
                           in my
                              my mind, it's -- it's
                                 mind, it's    it's one
                                                    one
7
7       document.
        document.

8
8             Q.
              Q.        Understood.
                        Understood.   And again,
                                      And again, we can revisit
                                                 we can         this
                                                        revisit this

9
9       after the
        after the deposition,
                  deposition, we
                              we reserve our right
                                 reserve our       to
                                             right to

10
10      request those notes,
        request those notes, and
                             and I
                                 I understand counsel's
                                   understand counsel's

11
11      objection.
        objection.

12
12                          But we
                            But we can
                                   can deal
                                       deal with it after
                                            with it after the
                                                          the
13
13      deposition.
        deposition.

14
14                          That -- my
                            That -- my question to you,
                                       question to you, I think,
                                                        I think,

15
15      that was
        that     not answered
             was not answered yet
                              yet was:
                                  was:                 Why
                                                       Why did
                                                           did you
                                                               you watch
                                                                   watch

16
16      the Netflix
        the Netflix documentary
                    documentary Heroin(e)?
                                Heroin(e)?
17
17            A.
              A.        Well,
                        Well, I
                              I rewatched it, and
                                rewatched it, and I
                                                  I did so because
                                                    did so because

18
18      it is
        it is --
              -- because
                 because I
                         I recalled from the
                           recalled from the first
                                             first time
                                                   time
19
19      that I
        that I watched it that
               watched it that it's
                               it's a
                                    a --
                                      -- you
                                         you know, it's a
                                             know, it's a
20
20      -- it's
        -- it's one
                one compelling
                    compelling window through which
                               window through       to
                                              which to

21
21      understand the way
        understand the     that the
                       way that the opioid
                                    opioid epidemic
                                           epidemic has
                                                    has --

22
22      has ripped this
        has ripped this rural
                        rural Appalachian
                              Appalachian community
                                          community apart,
                                                    apart,
23
23      and so
        and so I felt that
               I felt that it
                           it would be helpful
                              would be         to have
                                       helpful to      that
                                                  have that

24
24      top of
        top of mind
               mind as
                    as I -- as
                       I -- as I
                               I have
                                 have conversation and --
                                      conversation and --


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1
1       with
        with you.
             you.

2
2             Q.
              Q.        Doctor Alexander, I
                        Doctor Alexander,   think you
                                          I think     indicated
                                                  you indicated

3
3       earlier you
        earlier     spent 75
                you spent 75 hours total for
                             hours total for your time on
                                             your time on

4
4       this particular
        this            case.
             particular case.          Is
                                       Is your -- is
                                          your -- is your
                                                     your billing
                                                          billing

5
5       rate $900 an
        rate $900 an hour?
                     hour?

6
6             A.
              A.        Yes, it
                        Yes, it is.
                                is.
7
7             Q.
              Q.        So you
                        So     expect to
                           you expect to be
                                         be paid - if
                                            paid - if you
                                                      you haven't
                                                          haven't

8
8       been compensated
        been compensated yet - 900
                         yet -     times 75?
                               900 times 75?                Is that
                                                            Is that

9
9       right?
        right?

10
10            A.
              A.        Well,
                        Well, I'm
                              I'm not -- I'm
                                  not -- I'm not
                                             not paid -- I
                                                 paid -- I mean,
                                                           mean,

11
11      that payment
        that payment goes to Monument
                     goes to Monument Analytics.
                                      Analytics.               That
                                                               That

12
12      payment
        payment doesn't come directly
                doesn't come directly to
                                      to me.
                                         me.
13
13            Q.
              Q.        Understood.
                        Understood.   In terms of
                                      In terms of additional
                                                  additional work,
                                                             work,

14
14      sitting here
        sitting      today, do
                here today, do you
                               you plan on doing
                                   plan on       any
                                           doing any

15
15      additional work
        additional      in this
                   work in this case
                                case in
                                     in preparation for
                                        preparation for

16
16      trial?
        trial?

17
17            A.
              A.        I mean, I
                        I mean, I will
                                  will do
                                       do whatever
                                          whatever I'm
                                                   I'm asked to do
                                                       asked to do

18
18      by plaintiffs
        by            that is
           plaintiffs that is consistent
                              consistent with
                                         with what
                                              what I can do
                                                   I can do

19
19      and what
        and what I can offer.
                 I can offer.          So I'm sorry
                                       So I'm       that I
                                              sorry that   don't
                                                         I don't

20
20      have a direct
        have a direct answer
                      answer for
                             for you,
                                 you, but the bottom
                                      but the bottom line
                                                     line
21
21      is:
        is:    I'm
               I'm here to serve
                   here to serve the
                                 the courts and to
                                     courts and to serve
                                                   serve the
                                                         the
22
22      community and
        community and if
                      if I'm asked to
                         I'm asked to do more work,
                                      do more       if it
                                              work, if it
23
23      fits in
        fits in with
                with my family and
                     my family and my
                                   my professional
                                      professional needs
                                                   needs

24
24      and my
        and my work/life balance, I'm
               work/life balance, I'm happy to take
                                      happy to take that
                                                    that


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1
1       on.
        on.

2
2             Q.
              Q.        I
                        I guess -- let
                          guess -- let me
                                       me ask
                                          ask my question
                                              my question

3
3       differently.
        differently.         As of
                             As of this
                                   this day, this point
                                        day, this       in time,
                                                  point in time,
4
4       do
        do you
           you have any additional
               have any additional work on your
                                   work on your plate
                                                plate now,
                                                      now,

5
5       any action
        any action items
                   items that
                         that you need to
                              you need to address
                                          address before
                                                  before
6
6       trial?
        trial?

7
7                          MR. BURNETT:
                           MR. BURNETT:            And Doctor
                                                   And        Alexander,
                                                       Doctor Alexander,

8
8       when
        when you answer, you
             you answer, you know, answer only
                             know, answer only to
                                               to the
                                                  the
9
9       extent that
        extent that would not disclose,
                    would not disclose, you
                                        you know,
                                            know,

10
10      communications with
        communications with counsel or trial
                            counsel or trial strategy
                                             strategy or
                                                      or
11
11      anything like
        anything like that.
                      that.
12
12            A.
              A.        I
                        I do
                          do not.
                             not.     The answer to
                                      The answer to your
                                                    your question,
                                                         question,

13
13      Ms. Geist,
        Ms.        is that
            Geist, is that I do not.
                           I do not.

14
14            Q.
              Q.        Thank
                        Thank you.
                              you.      And you
                                        And     can put
                                            you can     Exhibit 1
                                                    put Exhibit   to
                                                                1 to

15
15      the side
        the      for now,
            side for now, Doctor Alexander.
                          Doctor Alexander.                    Thank
                                                               Thank you.
                                                                     you.

16
16            A.
              A.        Will
                        Will -- may
                                may I ask, just
                                    I ask, just a
                                                a point of order,
                                                  point of order,
17
17      will these be
        will these be shredded
                      shredded or
                               or should
                                  should I organize them
                                         I organize them
18
18      sort of
        sort of neatly in some
                neatly in some fashion?
                               fashion?
19
19            Q.
              Q.        You can --
                        You can -- you can toss
                                   you can toss it
                                                it on the floor.
                                                   on the floor.
20
20      Or you
        Or     could put
           you could put them
                         them in
                              in a
                                 a neat
                                   neat pile for --
                                        pile for -- for
                                                    for
21
21      Mr. Burnett.
        Mr. Burnett.         I think we
                             I think we have an official
                                        have an official copy
                                                         copy
22
22      given the
        given the Zoom
                  Zoom deposition,
                       deposition, which
                                   which makes things
                                         makes things

23
23      actually kind
        actually      of easy.
                 kind of easy.
24
24                         MR. BURNETT:
                           MR. BURNETT:            Although, I
                                                   Although, I would say
                                                               would say



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1
1       it's possible
        it's          that we'll
             possible that we'll go back to
                                 go back to exhibits,
                                            exhibits, so
                                                      so
2
2       you probably want
        you probably      to leave
                     want to leave them
                                   them in
                                        in a
                                           a stacked pile
                                             stacked pile

3
3       so that
        so that you can refer
                you can refer back
                              back during the deposition
                                   during the deposition as
                                                         as

4
4       needed.
        needed.

5
5                           THE
                            THE DEPONENT:
                                DEPONENT:       Okay, thank
                                                Okay, thank you.
                                                            you.

6
6             Q.
              Q.        Did
                        Did you
                            you review
                                review your
                                       your prior
                                            prior deposition
                                                  deposition

7
7       transcript to
        transcript to prepare
                      prepare for
                              for today?
                                  today?                    And when
                                                            And when I say
                                                                     I say

8
8       "prior deposition
        "prior deposition transcript,"
                          transcript," I'm talking about
                                       I'm talking about
9
9       the only
        the only other
                 other time
                       time you
                            you provided expert testimony
                                provided expert testimony
10
10      on behalf
        on        of plaintiffs
           behalf of            in the
                     plaintiffs in the opioids
                                       opioids litigation
                                               litigation
11
11      in the
        in the MDL
               MDL Ohio
                   Ohio case?
                        case?
12
12            A.
              A.        No, I
                        No, I did
                              did not.
                                  not.

13
13            Q.
              Q.        Doctor Alexander, you
                        Doctor Alexander,     can go
                                          you can    ahead and
                                                  go ahead and open
                                                               open
14
14      up
        up what
           what we
                we have marked as
                   have marked as Tab 2 or
                                  Tab 2 or Exhibit
                                           Exhibit 2,
                                                   2, and
                                                      and
15
15      this will
        this will be Exhibit 2
                  be Exhibit 2 to
                               to your deposition.
                                  your deposition.

16
16                          VIDEO
                            VIDEO TECH:
                                  TECH:     Exhibit 2
                                            Exhibit 2 has
                                                      has been
                                                          been

17
17      introduced on
        introduced on Exhibit
                      Exhibit Share.
                              Share.
18
18                  ALEXANDER DEPOSITION
                    ALEXANDER            EXHIBIT NO.
                              DEPOSITION EXHIBIT     2
                                                 NO. 2

19
19                          (Deposition transcript of
                            (Deposition transcript of G.
                                                      G. Caleb
                                                         Caleb

20
20                          Alexander, USDC,
                            Alexander, USDC, Northern
                                             Northern District of
                                                      District of

21
21                          Ohio, MDL
                            Ohio, MDL No. 2803 dated
                                      No. 2803       4-26-19 was
                                               dated 4-26-19 was

22
22                          marked for identification
                            marked for identification purposes as
                                                      purposes as

23
23                          Alexander Deposition
                            Alexander            Exhibit No.
                                      Deposition Exhibit     2.)
                                                         No. 2.)

24
24            A.
              A.        Okay, I
                        Okay, I have it in
                                have it in front
                                           front of
                                                 of me.
                                                    me.



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1
1             Q.
              Q.        Great.
                        Great.    And just
                                  And just for
                                           for the
                                               the record,
                                                   record, Doctor
                                                           Doctor

2
2       Alexander, this
        Alexander, this is
                        is the
                           the transcript
                               transcript from
                                          from the
                                               the
3
3       deposition that you
        deposition that you provided in the
                            provided in the In
                                            In

4
4       Re:
        Re:    National Prescription Opiate
               National Prescription Opiate Litigation
                                            Litigation

5
5       pending in the
        pending in the Northern
                       Northern District of Ohio,
                                District of Ohio, and that
                                                  and that

6
6       deposition
        deposition was
                   was provided on April
                       provided on April 26,
                                         26, 2019.
                                             2019.
7
7                           Is this familiar
                            Is this familiar to
                                             to you,
                                                you, Doctor
                                                     Doctor

8
8       Alexander, this
        Alexander, this document,
                        document, this
                                  this transcript?
                                       transcript?
9
9             A.
              A.        I've --
                        I've -- yes,
                                yes, I've seen it
                                     I've seen it before.
                                                  before.     Again, I
                                                              Again, I

10
10      did not look
        did not look at
                     at it
                        it recently, so it's
                           recently, so it's been,
                                             been, you
                                                   you

11
11      know,
        know, six
              six months,
                  months, nine
                          nine months, twelve months
                               months, twelve months since
                                                     since
12
12      I've looked at
        I've looked at it.
                       it.
13
13                          But yes,
                            But yes, I
                                     I do -- I
                                       do -- I have
                                               have seen this
                                                    seen this

14
14      before.
        before.

15
15            Q.
              Q.        Okay.
                        Okay.    And during
                                 And        this deposition,
                                     during this deposition, were
                                                             were you
                                                                  you

16
16      under
        under oath and you
              oath and     swore to
                       you swore to tell
                                    tell the
                                         the truth?
                                             truth?
17
17            A.
              A.        Of course,
                        Of course, yes.
                                   yes.

18
18            Q.
              Q.        And I
                        And   assume you
                            I assume     did that?
                                     you did that?
19
19            A.
              A.        Of course,
                        Of course, yes.
                                   yes.

20
20            Q.
              Q.        Now, did
                        Now, did you
                                 you have an opportunity
                                     have an opportunity to
                                                         to review
                                                            review
21
21      - what
        - what we call a
               we call a read and sign
                         read and sign -
                                       - of
                                         of your
                                            your deposition
                                                 deposition

22
22      transcript after
        transcript after the
                         the deposition
                             deposition was concluded?
                                        was concluded?

23
23            A.
              A.        Yes, I
                        Yes,   did.
                             I did.

24
24            Q.
              Q.        Okay.
                        Okay.    So you
                                 So     looked through
                                    you looked through it,
                                                       it, you
                                                           you made
                                                               made



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1
1       sure it
        sure it was free from
                was free from error
                              error and
                                    and then
                                        then you signed off
                                             you signed off
2
2       on it.
        on it.      Is that a
                    Is that a fair
                              fair summary?
                                   summary?

3
3             A.
              A.        Yes.
                        Yes.

4
4             Q.
              Q.        Okay.
                        Okay.     This is not
                                  This is     relevant really
                                          not relevant        to you,
                                                       really to you,

5
5       Doctor Alexander, but
        Doctor Alexander,     the parties
                          but the parties in
                                          in the
                                             the case
                                                 case
6
6       received instruction from
        received instruction from the
                                  the Court
                                      Court who is
                                            who is

7
7       presiding over the
        presiding over the West Virginia matter
                           West Virginia matter brought by
                                                brought by

8
8       Cabell
        Cabell County/City of Huntington
               County/City of Huntington that
                                         that we are not
                                              we are not to
                                                         to
9
9       engage in
        engage in what
                  what would be considered
                       would be considered duplicative
                                           duplicative

10
10      testimony.
        testimony.

11
11                             So in other
                               So in other words,
                                           words, we
                                                  we have
                                                     have received
                                                          received

12
12      instruction from
        instruction from the
                         the Court
                             Court that
                                   that we
                                        we are
                                           are not to,
                                               not to,

13
13      essentially, ask
        essentially, ask you the same
                         you the same questions that have
                                      questions that have

14
14      been asked
        been asked in
                   in the
                      the past.
                          past.

15
15                             So my question
                               So my question to
                                              to you is:
                                                 you is:       May
                                                               May I
                                                                   I rely
                                                                     rely

16
16      on your
        on your -- your responses and
                   your responses and answers in this
                                      answers in this
17
17      deposition transcript that
        deposition transcript that we've marked as
                                   we've marked    Exhibit
                                                as Exhibit

18
18      2 as
        2 as truthful
             truthful and
                      and accurate to the
                          accurate to the best
                                          best of
                                               of your
                                                  your

19
19      ability in
        ability in the
                   the case?
                       case?

20
20            A.
              A.        Well, only --
                        Well, only -- only at that
                                      only at that time.
                                                   time.         I mean,
                                                                 I mean,

21
21      this --
        this -- the
                the deposition,
                    deposition, it
                                it takes
                                   takes place
                                         place at
                                               at a
                                                  a moment
                                                    moment

22
22      in time,
        in time, and
                 and I -- in
                     I -- in my
                             my report,
                                report, I
                                        I make it clear
                                          make it clear

23
23      that I
        that I reserve
               reserve my
                       my right to update
                          right to update my opinions based
                                          my opinions based
24
24      on new
        on     information that
           new information that I may have.
                                I may have.



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1
1                           So it could
                            So it could well
                                        well be the case
                                             be the      that
                                                    case that

2
2       there are
        there are questions that I
                  questions that I was asked then
                                   was asked then that
                                                  that I
                                                       I

3
3       answered one
        answered one way that if
                     way that if asked
                                 asked again,
                                       again, I
                                              I would
                                                would

4
4       answer another.
        answer another.
5
5                           But in
                            But in all
                                   all cases,
                                       cases, I'll answer to
                                              I'll answer to the
                                                             the
6
6       best of
        best of my ability and
                my ability and I'll answer truthfully
                               I'll answer truthfully and
                                                      and
7
7       I'll answer as
        I'll answer as a
                       a practicing internist and
                         practicing internist and
8
8       epidemiologist and
        epidemiologist and public
                           public health expert.
                                  health expert.

9
9             Q.
              Q.        Now, this
                        Now, this deposition
                                  deposition that
                                             that you
                                                  you provided in
                                                      provided in

10
10      the Ohio
        the Ohio case
                 case was
                      was about a year
                          about a      and a
                                  year and a half
                                             half ago,
                                                  ago,

11
11      April 26,
        April     2019.
              26, 2019.         Is that right?
                                Is that right?

12
12            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
13
13            Q.
              Q.        And if
                        And if you look with
                               you look with me,
                                             me, Doctor Alexander,
                                                 Doctor Alexander,

14
14      at some
        at some of
                of what
                   what I
                        I will
                          will call general questions
                               call general           -- I
                                            questions -- I

15
15      just want
        just      to give
             want to give you a sense
                          you a sense of
                                      of what I'm referring
                                         what I'm referring

16
16      to.
        to.    Starting on
               Starting on page 24 and
                           page 24 and going through really
                                       going through really

17
17      page
        page 36, these appear
             36, these appear to
                              to me to be
                                 me to be general
                                          general questions
                                                  questions

18
18      relating to your
        relating to your views
                         views as a physician
                               as a physician regarding
                                              regarding the
                                                        the
19
19      treatment of
        treatment of chronic pain with
                     chronic pain      opioids and
                                  with opioids and the
                                                   the
20
20      obligations of
        obligations of a
                       a physician
                         physician with
                                   with respect to
                                        respect to

21
21      prescription
        prescription medications.
                     medications.

22
22                          Do
                            Do you
                               you want to just
                                   want to just flip
                                                flip through
                                                     through pages
                                                             pages

23
23      24 to
        24 to 36 for me
              36 for    briefly and
                     me briefly and just
                                    just let
                                         let me
                                             me know if I
                                                know if I

24
24      can rely
        can rely on
                 on the
                    the testimony
                        testimony that
                                  that you
                                       you provided about a
                                           provided about a


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1
1       year and a
        year and a half ago in
                   half ago in the
                               the MDL
                                   MDL case?
                                       case?
2
2             A.
              A.        Well,
                        Well, I'm -- I'm
                              I'm -- I'm happy to look
                                         happy to look at the
                                                       at the

3
3       pages, but unless
        pages, but unless I spend a
                          I spend a --
                                    -- so
                                       so I'm
                                          I'm happy to do
                                              happy to do

4
4       so, but
        so, but unless
                unless I spend a
                       I spend   significant amount
                               a significant amount of
                                                    of time
                                                       time
5
5       -- I
        --   mean, I
           I mean,   -- I
                   I -- I will
                          will want to look
                               want to look carefully
                                            carefully at
                                                      at
6
6       each question
        each          if indeed
             question if indeed we're trying to
                                we're trying to confirm
                                                confirm

7
7       that my
        that my views on any
                views on any given
                             given question
                                   question haven't
                                            haven't

8
8       changed.
        changed.

9
9                           But let
                            But let me
                                    me --
                                       -- just
                                          just give
                                               give me
                                                    me a
                                                       a minute,
                                                         minute,

10
10      please, and let
        please, and let me
                        me see
                           see whether
                               whether I can give
                                       I can give you some
                                                  you some

11
11      sort of
        sort of global sense that
                global sense that my
                                  my feelings
                                     feelings are
                                              are the
                                                  the same
                                                      same
12
12      and my
        and my answers
               answers would be the
                       would be the same.
                                    same.
13
13                          So --
                            So --

14
14            Q.
              Q.        Let me
                        Let    -- Doctor
                            me --        Alexander, let
                                  Doctor Alexander, let me
                                                        me
15
15      interrupt you
        interrupt     for one
                  you for one minute.
                              minute.                   I don't want
                                                        I don't      to
                                                                want to

16
16      waste time, because
        waste time, because we
                            we have a lot
                               have a lot to
                                          to get through
                                             get through

17
17      today.
        today.

18
18            A.
              A.        Okay.
                        Okay.

19
19            Q.
              Q.        So let
                        So let me
                               me ask
                                  ask it
                                      it this
                                         this way --
                                              way --

20
20            A.
              A.        Okay.
                        Okay.

21
21            Q.
              Q.        -- on
                        -- on April
                              April 26,
                                    26, 2019
                                        2019 when
                                             when you
                                                  you provided this
                                                      provided this

22
22      deposition,
        deposition, you did so
                    you did    truthfully and
                            so truthfully and you
                                              you were
                                                  were

23
23      under oath, and
        under oath, and at
                        at that
                           that moment
                                moment in
                                       in time,
                                          time, you
                                                you were
                                                    were

24
24      providing answers accurately,
        providing answers             truthfully to
                          accurately, truthfully to the
                                                    the


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1
1       best of
        best of your ability on
                your ability on that
                                that date.
                                     date.                   Correct?
                                                             Correct?

2
2             A.
              A.        Absolutely.
                        Absolutely.

3
3             Q.
              Q.        Okay.
                        Okay.   So I
                                So   am going
                                   I am       to set
                                        going to set this
                                                     this aside,
                                                          aside,

4
4       because I
        because   am cognizant
                I am cognizant of the judge's
                               of the judge's ruling,
                                              ruling, so
                                                      so I
                                                         I

5
5       don't
        don't want to go
              want to go through
                         through the
                                 the same
                                     same questions
                                          questions with
                                                    with

6
6       you again today,
        you again today, because
                         because I think that's
                                 I think that's contrary to
                                                contrary to

7
7       the --
        the -- to
               to the
                  the order.
                      order.
8
8             A.
              A.        Okay.
                        Okay.

9
9                           MR. BURNETT:
                            MR. BURNETT:       Counsel, let me
                                               Counsel, let    just
                                                            me just

10
10      interject also
        interject also that
                       that you asked him
                            you asked     to look
                                      him to look at
                                                  at

11
11      questions starting at
        questions starting at page 24.
                              page 24.                  24, line
                                                        24, line 10 to 12,
                                                                 10 to 12,

12
12      makes exclusive
        makes exclusive reference
                        reference to
                                  to some
                                     some accounting
                                          accounting in
                                                     in
13
13      Cuyahoga County, so
        Cuyahoga County, so that's
                            that's consistent
                                   consistent with
                                              with what
                                                   what he
                                                        he

14
14      said, which
        said,       is that,
              which is that, you
                             you know, it would
                                 know, it would depend
                                                depend on
                                                       on

15
15      that point
        that       in time
             point in time and
                           and it
                               it would
                                  would depend on the
                                        depend on the
16
16      content.
        content.

17
17                          So
                            So you
                               you can't ask him
                                   can't ask him whether
                                                 whether questions
                                                         questions

18
18      that were
        that      about Ohio
             were about Ohio would apply equally
                             would apply equally to
                                                 to West
                                                    West

19
19      Virginia.
        Virginia.

20
20                          MS. GEIST:
                            MS. GEIST:      Well, all right.
                                            Well, all right.

21
21            Q.
              Q.        So with
                        So      that instruction,
                           with that instruction, Counsel -- Doctor
                                                  Counsel -- Doctor

22
22      Alexander, let's
        Alexander, let's take
                         take a
                              a look
                                look at
                                     at this
                                        this transcript.
                                             transcript.
23
23            A.
              A.        Okay.
                        Okay.

24
24            Q.
              Q.        Beginning on
                        Beginning on twenty
                                     twenty --
                                            -- page 24, there's
                                               page 24, there's


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1
1       some general
        some general questions
                     questions relating to your
                               relating to your agreement
                                                agreement

2
2       that chronic
        that chronic pain is a
                     pain is a serious medical condition.
                               serious medical condition.

3
3       That's the first
        That's the first question.
                         question.               And then
                                                 And then there
                                                          there are
                                                                are some
                                                                    some

4
4       questions that are
        questions that are general
                           general and
                                   and then
                                       then there
                                            there are some
                                                  are some

5
5       questions that are
        questions that are specific
                           specific to
                                    to Summit
                                       Summit County/
                                              County/

6
6       Cuyahoga County, Ohio.
        Cuyahoga County, Ohio.            So --
                                          So --
7
7             A.
              A.        I'm sorry
                        I'm sorry to
                                  to interrupt.
                                     interrupt.              One question.
                                                             One question.   So
                                                                             So

8
8       I see four
        I see four small
                   small pages
                         pages on the piece
                               on the       of paper,
                                      piece of        but
                                               paper, but

9
9       then the
        then the piece
                 piece of
                       of paper
                          paper has a separate
                                has a separate page.
                                               page.

10
10                          So
                            So when
                               when you say "page
                                    you say "page 24,"
                                                  24," are
                                                       are you
                                                           you

11
11      referring to at
        referring to at the
                        the bottom of the
                            bottom of the document,
                                          document, page
                                                    page

12
12      24, or
        24, or are
               are you
                   you referring to one
                       referring to one of
                                        of those
                                           those four
                                                 four
13
13      quadrants
        quadrants where there's four
                  where there's four pages
                                     pages on a given
                                           on a given piece
                                                      piece

14
14      of paper?
        of paper?

15
15            Q.
              Q.        One of
                        One of the
                               the four
                                   four quadrants.
                                        quadrants.

16
16            A.
              A.        Okay.
                        Okay.   So page
                                So      24 begins
                                   page 24        - just
                                           begins - just to
                                                         to be
                                                            be

17
17      clear; perhaps
        clear; perhaps it
                       it could be displayed
                          could be           - with
                                   displayed -      "Yes, I
                                               with "Yes, I

18
18      am."
        am."       Is that correct?
                   Is that correct?       "So let's
                                          "So let's see
                                                    see if
                                                        if there
                                                           there are
                                                                 are

19
19      some things
        some things we
                    we can actually agree
                       can actually agree on."
                                          on."
20
20            Q.
              Q.        That is correct.
                        That is correct.       This is what
                                               This is what we call a
                                                            we call a
21
21      mini script
        mini script --
                    --
22
22            A.
              A.        Okay.
                        Okay.

23
23            Q.
              Q.        -- it's
                        -- it's more
                                more green and environmentally
                                     green and environmentally
24
24      better --
        better



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1
1             A.
              A.        Gotcha.
                        Gotcha.

2
2             Q.
              Q.        -- to
                        -- to not
                              not have so many
                                  have so many pages.
                                               pages.          So
                                                               So page 24,
                                                                  page 24,

3
3       Doctor Alexander, on
        Doctor Alexander,    April 26,
                          on April 26, 2019,
                                       2019, you
                                             you were
                                                 were

4
4       asked, "Do
        asked, "Do you agree that
                   you agree that chronic
                                  chronic pain affects
                                          pain affects

5
5       people in Summit
        people in Summit County, Ohio and
                         County, Ohio and Cuyahoga
                                          Cuyahoga County,
                                                   County,

6
6       Ohio" at
        Ohio"    Line 10
              at Line    through 12,
                      10 through     and you
                                 12, and     answered, "I
                                         you answered, "I
7
7       do."
        do."

8
8                           Do
                            Do you
                               you see that?
                                   see that?

9
9             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

10
10            Q.
              Q.        Okay.
                        Okay.     Do
                                  Do you
                                     you agree that chronic
                                         agree that chronic pain
                                                            pain

11
11      affects people
        affects        in Cabell
                people in Cabell County and in
                                 County and in the
                                               the City of
                                                   City of

12
12      Huntington?
        Huntington?

13
13            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

14
14            Q.
              Q.        For
                        For now,
                            now, you
                                 you can put the
                                     can put the transcript
                                                 transcript aside,
                                                            aside,
15
15      Doctor Alexander.
        Doctor Alexander.            We
                                     We might
                                        might have to go
                                              have to go back to it.
                                                         back to it.
16
16            A.
              A.        Of course,
                        Of course, of
                                   of course.
                                      course.

17
17            Q.
              Q.        So if
                        So if you could just
                              you could just put it aside.
                                             put it aside.         Thank
                                                                   Thank

18
18      you.
        you.

19
19            A.
              A.        Yeah.
                        Yeah.

20
20            Q.
              Q.        Why
                        Why don't
                            don't we
                                  we now,
                                     now, Doctor Alexander, take
                                          Doctor Alexander, take a
                                                                 a
21
21      look at
        look at your expert report
                your expert        and some
                            report and some of
                                            of the
                                               the
22
22      accompanying attachments
        accompanying attachments that
                                 that you
                                      you provided
                                          provided with
                                                   with

23
23      your
        your report?
             report?

24
24                          So
                            So you
                               you can open up
                                   can open    Envelope 4.
                                            up Envelope 4.


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1
1             A.
              A.        Okay.
                        Okay.

2
2             Q.
              Q.        And then
                        And then I
                                 I might go ahead
                                   might go ahead --
                                                  -- while
                                                     while you're
                                                           you're

3
3       getting that envelope
        getting that envelope out
                              out of
                                  of the
                                     the box,
                                         box, Doctor
                                              Doctor

4
4       Alexander, and
        Alexander, and take
                       take out
                            out 5,
                                5, Tab 5 or
                                   Tab 5 or Exhibit
                                            Exhibit 5,
                                                    5, and
                                                       and

5
5       then Tab
        then     7 or
             Tab 7 or Exhibit
                      Exhibit 7.
                              7.

6
6                           MR. BURNETT:
                            MR. BURNETT:      They're
                                              They're all tabs, not
                                                      all tabs, not
7
7       exhibits.
        exhibits.

8
8                           MS. GEIST:
                            MS. GEIST:     Yeah,
                                           Yeah, well, sorry.
                                                 well, sorry.

9
9       They're
        They're going to be
                going to be marked as exhibits
                            marked as exhibits according
                                               according to
                                                         to
10
10      the tab
        the tab numbers.
                numbers.

11
11                          MR. BURNETT:
                            MR. BURNETT:      Oh, okay.
                                              Oh, okay.
12
12                          VIDEO
                            VIDEO TECH:
                                  TECH:     Exhibits --
                                            Exhibits -- Tabs 4, 5
                                                        Tabs 4, 5 and
                                                                  and
13
13      7 have
        7      been marked
          have been marked as
                           as Exhibits
                              Exhibits 4,
                                       4, 5
                                          5 and
                                            and 7?
                                                7?

14
14                          MS. GEIST:
                            MS. GEIST:     Thank
                                           Thank you,
                                                 you, John.
                                                      John.

15
15          ALEXANDER DEPOSITION
            ALEXANDER            EXHIBIT NOS.
                      DEPOSITION EXHIBIT NOS. 4, 5 and
                                              4, 5 and 7
                                                       7

16
16                          ("Abatement Plan for
                            ("Abatement Plan for Addressing
                                                 Addressing the
                                                            the
17
17                          Opioid Crisis
                            Opioid        in Cabell
                                   Crisis in Cabell County and the
                                                    County and the
18
18                          City of Huntington,"
                            City of Huntington," Expert
                                                 Expert Report
                                                        Report of
                                                               of
19
19                          G. Caleb Alexander,
                            G. Caleb Alexander, MD,
                                                MD, MS
                                                    MS dated
                                                       dated

20
20                          8-3-20; Expert Witness
                            8-3-20; Expert         Report of
                                           Witness Report of G.
                                                             G.

21
21                          Caleb Alexander, MD,
                            Caleb Alexander, MD, MS,
                                                 MS, Appendix
                                                     Appendix A
                                                              A -

22
22                          Johns Hopkins Report:
                            Johns Hopkins Report:           "From Evidence
                                                            "From Evidence
23
23                          to Impact"
                            to Impact" and
                                       and Expert
                                           Expert Witness Report
                                                  Witness Report

24
24                          of G.
                            of G. Caleb Alexander, MD,
                                  Caleb Alexander, MD, MS,
                                                       MS,



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1
1                           Appendix C
                            Appendix   - List
                                     C - List of
                                              of sources
                                                 sources that
                                                         that were
                                                              were

2
2                           consulted
                            consulted was
                                      was marked for
                                          marked for

3
3                           identification purposes
                            identification purposes as
                                                    as Alexander
                                                       Alexander

4
4                           Deposition Exhibit Nos.
                            Deposition Exhibit Nos. 4,-- 5 and
                                                    4,-- 5 and 7.)
                                                               7.)
5
5             A.
              A.        Okay, I
                        Okay, I have those available.
                                have those available.
6
6             Q.
              Q.        Okay.
                        Okay.   Great.
                                Great.    Let's go
                                          Let's    ahead, Doctor
                                                go ahead, Doctor

7
7       Alexander, and
        Alexander, and take
                       take a look at
                            a look at Exhibit
                                      Exhibit 4,
                                              4, which is
                                                 which is

8
8       entitled "Abatement
        entitled "Abatement Plan
                            Plan for
                                 for Addressing
                                     Addressing the
                                                the Opioid
                                                    Opioid
9
9       Crisis in Cabell
        Crisis in Cabell County and the
                         County and the City of Huntington"
                                        City of Huntington"

10
10      dated August 3rd,
        dated August 3rd, 2020, for the
                          2020, for the record.
                                        record.

11
11                          And can
                            And can you just identify
                                    you just identify this,
                                                      this, Doctor
                                                            Doctor

12
12      Alexander, as
        Alexander, as your expert report
                      your expert report in
                                         in the
                                            the case?
                                                case?

13
13            A.
              A.        Yes, it
                        Yes, it is
                                is my expert report.
                                   my expert report.

14
14            Q.
              Q.        Okay.
                        Okay.   And do
                                And do you
                                       you need to make
                                           need to make any
                                                        any changes,
                                                            changes,

15
15      revisions or updates
        revisions or         to this
                     updates to this expert
                                     expert report?
                                            report?

16
16            A.
              A.        No, but
                        No,     thank you
                            but thank     for the
                                      you for the question -- or
                                                  question -- or

17
17      opportunity.
        opportunity.        But I
                            But I do
                                  do not.
                                     not.

18
18            Q.
              Q.        And does
                        And      this expert
                            does this expert report
                                             report provide a
                                                    provide a

19
19      complete list
        complete list of
                      of all
                         all of
                             of the
                                the opinions
                                    opinions you intend to
                                             you intend to
20
20      offer on
        offer    behalf of
              on behalf of plaintiffs
                           plaintiffs in
                                      in this
                                         this case?
                                              case?
21
21            A.
              A.        Yes, it
                        Yes, it does.
                                does.     I mean, barring
                                          I mean, barring something
                                                          something

22
22      that there
        that there was agreement --
                   was agreement -- again,
                                    again, I
                                           I will follow
                                             will follow

23
23      the instructions
        the instructions of
                         of the
                            the judge
                                judge and of the
                                      and of the Court.
                                                 Court.                So
                                                                       So

24
24      if I
        if I were asked to
             were asked to do
                           do something
                              something by the judge,
                                        by the judge, I'm
                                                      I'm



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1
1       happy to try
        happy to try to
                     to be
                        be of
                           of service
                              service any
                                      any way that I
                                          way that   can.
                                                   I can.

2
2                           But --
                            But -- but this report
                                   but this        is otherwise
                                            report is otherwise
3
3       complete.
        complete.

4
4                           MR. BURNETT:
                            MR. BURNETT:      And I
                                              And I will note that
                                                    will note that the
                                                                   the
5
5       report contains a
        report contains a number of appendices
                          number of appendices and
                                               and
6
6       materials considered,
        materials considered, which
                              which were served on
                                    were served    counsel
                                                on counsel

7
7       that are
        that are not
                 not included
                     included within this 125
                              within this     page
                                          125 page

8
8       document.
        document.

9
9                           MS. GEIST:
                            MS. GEIST:     Yep.
                                           Yep.      No,
                                                     No, I'm
                                                         I'm going to get
                                                             going to get

10
10      to that.
        to that.         Thank
                         Thank you.
                               you.

11
11            Q.
              Q.        But in
                        But in other
                               other words,
                                     words, Doctor Alexander, if
                                            Doctor Alexander, if
12
12      counsel for
        counsel for the
                    the defendants
                        defendants in
                                   in this
                                      this case
                                           case would like
                                                would like

13
13      to know,
        to know, what is Doctor
                 what is        Alexander going
                         Doctor Alexander       to testify
                                          going to testify
14
14      about, what
        about,      opinions are
               what opinions are you
                                 you going to offer
                                     going to offer in
                                                    in the
                                                       the
15
15      case, we
        case, we will be able
                 will be able to
                              to find
                                 find them
                                      them here
                                           here in this
                                                in this

16
16      report and in
        report and in the
                      the attachments to the
                          attachments to the report.
                                             report.                Is
                                                                    Is

17
17      that fair?
        that fair?
18
18            A.
              A.        Yes, it
                        Yes, it is.
                                is.   Again, reserving
                                      Again,           any requests
                                             reserving any requests

19
19      that the
        that the judge
                 judge may make of
                       may make of me
                                   me or that parties
                                      or that parties may
                                                      may

20
20      agree to
        agree to otherwise,
                 otherwise, this
                            this report and the
                                 report and the materials
                                                materials

21
21      that Mr.
        that Mr. Burnett
                 Burnett mentioned
                         mentioned that
                                   that accompany
                                        accompany it
                                                  it
22
22      represent the totality
        represent the totality of my opinions
                               of my opinions in
                                              in the
                                                 the case.
                                                     case.
23
23            Q.
              Q.        Now, I
                        Now,   noticed, Doctor
                             I noticed,        Alexander, if
                                        Doctor Alexander, if you
                                                             you

24
24      look at
        look at page
                page 3 of your
                     3 of your report, the first
                               report, the first paragraph,
                                                 paragraph,



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1
1       sort of
        sort of in
                in the
                   the middle of that
                       middle of that paragraph,
                                      paragraph, you
                                                 you write,
                                                     write,

2
2       "I have
        "I have been asked to
                been asked to discuss
                              discuss ways to abate
                                      ways to abate or
                                                    or
3
3       reduce the harms
        reduce the       caused by
                   harms caused by the
                                   the oversupply
                                       oversupply of
                                                  of
4
4       opioids into
        opioids into the
                     the Community," and "the
                         Community," and "the Community"
                                              Community"

5
5       refers to Cabell
        refers to Cabell County/City of Huntington;
                         County/City of             is that
                                        Huntington; is that
6
6       correct?
        correct?

7
7             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
8
8             Q.
              Q.        Do
                        Do you intend to
                           you intend to offer
                                         offer any
                                               any opinions
                                                   opinions in
                                                            in this
                                                               this
9
9       case regarding
        case regarding causation?
                       causation?             In other words,
                                              In other words, who
                                                              who or
                                                                  or

10
10      what caused or
        what caused or contributed to the
                       contributed to the opioid
                                          opioid epidemic
                                                 epidemic
11
11      in Cabell
        in Cabell County/Huntington.
                  County/Huntington.

12
12            A.
              A.        I
                        I was
                          was not asked to
                              not asked to focus
                                           focus on
                                                 on lines
                                                    lines of
                                                          of
13
13      causation, no.
        causation, no.
14
14                          I
                            I was asked to
                              was asked to focus
                                           focus on
                                                 on evidence-based
                                                    evidence-based
15
15      solutions to
        solutions to abate
                     abate the
                           the opioid epidemic.
                               opioid epidemic.

16
16            Q.
              Q.        So you
                        So     don't have
                           you don't      any opinions
                                     have any opinions in the case,
                                                       in the case,

17
17      and at
        and at trial
               trial you
                     you don't intend to
                         don't intend to say
                                         say to
                                             to the
                                                the judge,
                                                    judge,
18
18      "Well, in
        "Well, in my opinion, I
                  my opinion,   think that
                              I think that there
                                           there were
                                                 were

19
19      certain parties
        certain parties who
                        who caused or contributed"
                            caused or              and list
                                      contributed" and list
20
20      them out.
        them out.         You will
                          You will not
                                   not do that, correct?
                                       do that, correct?
21
21                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

22
22            A.
              A.        Well,
                        Well, I mean, indirectly,
                              I mean, indirectly, I suppose.
                                                  I suppose.      I
                                                                  I

23
23      mean, if
        mean, if you
                 you consider a community
                     consider a community that
                                          that had,
                                               had, I
                                                    I

24
24      believe -
        believe - what - 40
                  what - 40 million prescriptions for
                            million prescriptions for


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1
1       opioids in
        opioids in a
                   a given
                     given year that were
                           year that      enough to
                                     were enough to supply
                                                    supply
2
2       every adult
        every adult with
                    with 400 tablets, I
                         400 tablets, I mean, implicitly,
                                        mean, implicitly,

3
3       when
        when I design an
             I design an abatement
                         abatement program, there is
                                   program, there is
4
4       implicitly some
        implicitly some notion
                        notion about
                               about what caused the
                                     what caused the
5
5       epidemic.
        epidemic.

6
6                           Otherwise, I
                            Otherwise, I wouldn't
                                         wouldn't have, as part
                                                  have, as      of
                                                           part of

7
7       my abatement
        my abatement plan, interventions targeting
                     plan, interventions targeting the
                                                   the
8
8       oversupply of
        oversupply of opioids,
                      opioids, for
                               for example.
                                   example.
9
9                           So
                            So I
                               I suppose that --
                                 suppose that -- that,
                                                 that, again,
                                                       again,

10
10      implicitly there's
        implicitly there's some
                           some discussion
                                discussion about cause, and
                                           about cause, and
11
11      I
        I would also say
          would also say that
                         that if
                              if the
                                 the judge
                                     judge asks
                                           asks me a
                                                me a

12
12      question, I'm
        question,     not going
                  I'm not       to decline
                          going to         to answer
                                   decline to answer it.
                                                     it.
13
13                          But with
                            But      that being
                                with that       said, my
                                          being said, my report is
                                                         report is

14
14      not about how
        not about how we
                      we got
                         got here; it's about
                             here; it's about where
                                              where we
                                                    we go
                                                       go

15
15      going forward.
        going forward.

16
16            Q.
              Q.        And that
                        And that is
                                 is how
                                    how I
                                        I read
                                          read your
                                               your report
                                                    report as
                                                           as well.
                                                              well.

17
17      So I'm
        So     going to
           I'm going to ask
                        ask you a follow-up
                            you a follow-up question or
                                            question or

18
18      two.
        two.       You
                   You do
                       do not
                          not have a sentence
                              have a sentence in
                                              in your
                                                 your report
                                                      report

19
19      that identifies
        that identifies who or what
                        who or      contributed or
                               what contributed    caused
                                                or caused

20
20      what
        what you refer to
             you refer to as an oversupply
                          as an oversupply of opioids into
                                           of opioids into
21
21      the Cabell
        the Cabell County/Huntington
                   County/Huntington community.
                                     community.
22
22                          MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, I'm
                                                       I'm going to
                                                           going to

23
23      object on
        object on two
                  two grounds.
                      grounds.           First of all,
                                         First of all, his
                                                       his report
                                                           report

24
24      does
        does refer to oversupply,
             refer to oversupply, not
                                  not just
                                      just in
                                           in Paragraph
                                              Paragraph 1.
                                                        1.



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1
1                           And number
                            And        2, it's
                                number 2, it's not fair to
                                               not fair to ask
                                                           ask him
                                                               him

2
2       in a
        in a 125 page line
             125 page line document
                           document if
                                    if he
                                       he refers to a
                                          refers to a

3
3       specific point
        specific point in
                       in a specific sentence.
                          a specific sentence.
4
4                           You
                            You know,
                                know, we can review
                                      we can        the whole
                                             review the       tran
                                                        whole tran

5
5       -- the
        -- the whole
               whole report if we
                     report if    need to
                               we need to to
                                          to confirm that,
                                             confirm that,

6
6       but I
        but   object.
            I object.

7
7       BY MS.
        BY MS. GEIST:
               GEIST:

8
8             Q.
              Q.        Can
                        Can you answer my
                            you answer my question,
                                          question, Doctor
                                                    Doctor

9
9       Alexander?
        Alexander?

10
10            A.
              A.        Well actually, my
                        Well actually, my reply
                                          reply was
                                                was going to be
                                                    going to be not
                                                                not

11
11      dissimilar from Mr.
        dissimilar from Mr. Burnett's
                            Burnett's second
                                      second point,
                                             point, which
                                                    which

12
12      is that
        is that this
                this is
                     is a
                        a long
                          long report
                               report and it discusses
                                      and it discusses

13
13      many, many
        many,      different matters,
              many different matters, and so if
                                      and so if you ask
                                                you ask

14
14      your
        your question again, I'll
             question again, I'll try.
                                  try.
15
15                         But if
                           But if the
                                  the question is about
                                      question is about whether
                                                        whether

16
16      my report
        my report has other --
                  has other -- whether elsewhere in
                               whether elsewhere in my
                                                    my

17
17      report
        report I discuss the
               I discuss the genesis
                             genesis of
                                     of the
                                        the opioid
                                            opioid
18
18      epidemic, the
        epidemic, the answer
                      answer is,
                             is, I
                                 I believe that I
                                   believe that I do in
                                                  do in

19
19      many places,
        many places, and
                     and I'd be happy
                         I'd be       to review
                                happy to review those
                                                those
20
20      statements with
        statements with you and we
                        you and we could discuss them
                                   could discuss them and
                                                      and
21
21      the evidentiary
        the evidentiary basis
                        basis for
                              for them
                                  them if
                                       if that's
                                          that's helpful to
                                                 helpful to

22
22      do so.
        do so.

23
23            Q.
              Q.        Let me
                        Let    ask it
                            me ask it --
                                      -- ask
                                         ask it
                                             it this
                                                this way:
                                                     way:    In
                                                             In your
                                                                your

24
24      deposition in the
        deposition in the MDL
                          MDL in
                              in Ohio,
                                 Ohio, you
                                       you were
                                           were asked
                                                asked



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1
1       whether
        whether you
                you were
                    were going to provide
                         going to provide opinions,
                                          opinions, expert
                                                    expert
2
2       opinions, to
        opinions, to a
                     a reasonable degree of
                       reasonable degree of medical
                                            medical
3
3       professional
        professional certainty
                     certainty as to causation,
                               as to causation, meaning
                                                meaning who
                                                        who

4
4       caused or
        caused or contributed
                  contributed to
                              to the
                                 the oversupply
                                     oversupply of opioids
                                                of opioids

5
5       from your
        from your perspective.
                  perspective.

6
6                           And your
                            And      answer there
                                your answer there was
                                                  was you
                                                      you were
                                                          were not
                                                               not

7
7       going to do
        going to do that.
                    that.         Do
                                  Do you recall that?
                                     you recall that?
8
8             A.
              A.        Well,
                        Well, I
                              I don't
                                don't recall
                                      recall my specific answer,
                                             my specific answer,

9
9       but I
        but I wouldn't
              wouldn't be
                       be surprised if I
                          surprised if   said "No,"
                                       I said "No,"
10
10      although I
        although   may well
                 I may      also have
                       well also have said - and
                                      said - and I'm sure
                                                 I'm sure

11
11      that I
        that   said somewhere
             I said somewhere in
                              in my deposition -
                                 my deposition - that
                                                 that I
                                                      I

12
12      will speak to
        will speak to whatever
                      whatever matters
                               matters I am requested
                                       I am           to
                                            requested to

13
13      speak to
        speak to where there's agreement
                 where there's           that I
                               agreement that I should
                                                should do
                                                       do

14
14      so or
        so or where the judge
              where the judge requests it.
                              requests it.

15
15                          So
                            So I
                               I certainly
                                 certainly kind of caveat
                                           kind of caveat out
                                                          out that
                                                              that
16
16      I'm
        I'm here to serve
            here to serve and that I'm
                          and that I'm here to provide
                                       here to provide my
                                                       my

17
17      best expertise
        best expertise as
                       as a
                          a practicing internist and
                            practicing internist and as
                                                     as an
                                                        an
18
18      epidemiologist.
        epidemiologist.

19
19                          And again,
                            And again, you
                                       you know,
                                           know, my
                                                 my report isn't
                                                    report isn't

20
20      focused on
        focused on looking
                   looking backwards;
                           backwards; it's
                                      it's focused
                                           focused on
                                                   on
21
21      looking forwards.
        looking forwards.        But I
                                 But   think you
                                     I think you have to have
                                                 have to have

22
22      some sense
        some sense of
                   of where
                      where we've been if
                            we've been if you are designing
                                          you are designing

23
23      a plan
        a plan for
               for where
                   where we
                         we want to go.
                            want to go.
24
24            Q.
              Q.        And I
                        And I understand that, Doctor.
                              understand that, Doctor.      But some
                                                            But some


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1
1       sense of
        sense of where
                 where we've been is
                       we've been is not the same
                                     not the same as
                                                  as

2
2       offering an
        offering an opinion
                    opinion as
                            as an expert to
                               an expert to a
                                            a reasonable
                                              reasonable
3
3       degree of medical
        degree of medical or professional certainty
                          or professional certainty as to
                                                    as to

4
4       the causes
        the causes or
                   or contributing
                      contributing factors
                                   factors to
                                           to the
                                              the opioids
                                                  opioids
5
5       epidemic in
        epidemic in Cabell
                    Cabell County/Huntington.
                           County/Huntington.

6
6                           Do
                            Do you
                               you understand that?
                                   understand that?

7
7             A.
              A.        I mean, I
                        I mean,   do.
                                I do.    But I
                                         But   think there's
                                             I think there's a bit of
                                                             a bit of
8
8       nuance as well.
        nuance as well.        My report
                               My        is not
                                  report is     focused --
                                            not focused -- I'm
                                                           I'm
9
9       sorry if
        sorry if I
                 I was speaking too
                   was speaking too quickly.
                                    quickly.
10
10                          I
                            I do
                              do understand that.
                                 understand that.           I do think
                                                            I do think
11
11      there's a
        there's   bit of
                a bit of nuance
                         nuance here.
                                here.                But my
                                                     But    report does
                                                         my report does
12
12      not focus on
        not focus on causation, and it's
                     causation, and it's not
                                         not where
                                             where I spend
                                                   I spend

13
13      my time.
        my time.
14
14                         But again,
                           But again, there
                                      there are
                                            are many
                                                many places in my
                                                     places in my

15
15      report
        report where
               where I
                     I discuss evidence or
                       discuss evidence or discuss
                                           discuss

16
16      solutions that
        solutions that inherently
                       inherently are
                                  are informed
                                      informed by
                                               by an
                                                  an

17
17      understanding of the
        understanding of the nature
                             nature of
                                    of the
                                       the problem.
                                           problem.

18
18                          So for example,
                            So for example, stigma.
                                            stigma.           You
                                                              You know,
                                                                  know, I
                                                                        I

19
19      don't
        don't discuss - and
              discuss - and sort
                            sort of
                                 of try
                                    try to
                                        to quantify - the
                                           quantify - the
20
20      role that stigma
        role that stigma has played.
                         has played.               But if
                                                   But if you're
                                                          you're going
                                                                 going

21
21      to design
        to        a successful
           design a successful abatement program, you
                               abatement program, you have
                                                      have

22
22      to consider
        to          the role
           consider the role that
                             that stigma
                                  stigma has
                                         has played.
                                             played.

23
23                          And so
                            And so I think of
                                   I think of something
                                              something like
                                                        like
24
24      opioid oversupply
        opioid oversupply in
                          in that
                             that instance,
                                  instance, or
                                            or in
                                               in that
                                                  that


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1
1       sense.
        sense.      Cabell
                    Cabell County and the
                           County and the City
                                          City of Huntington
                                               of Huntington

2
2       have been off
        have been off the
                      the charts
                          charts with
                                 with respect to the
                                      respect to the volume
                                                     volume
3
3       of opioids
        of opioids that
                   that were -- flooded
                        were -- flooded the
                                        the community.
                                            community.
4
4                           And they
                            And they still,
                                     still, frankly,
                                            frankly, are
                                                     are high
                                                         high

5
5       above the
        above the national average.
                  national average.               And I
                                                  And   think any
                                                      I think any
6
6       sensible abatement
        sensible abatement plan
                           plan has to be
                                has to be informed
                                          informed by
                                                   by
7
7       knowledge about opioid
        knowledge about opioid oversupply and the
                               oversupply and the way that
                                                  way that

8
8       that has
        that     driven and
             has driven and fed
                            fed the
                                the epidemic.
                                    epidemic.
9
9             Q.
              Q.        So let
                        So let me
                               me --
                                  -- let
                                     let me
                                         me ask
                                            ask it
                                                it again,
                                                   again, Doctor
                                                          Doctor

10
10      Alexander, because
        Alexander, because this
                           this might
                                might change
                                      change how much time
                                             how much time
11
11      we spend here
        we spend      together.
                 here together.

12
12            A.
              A.        Okay.
                        Okay.

13
13            Q.
              Q.        In the MDL,
                        In the MDL, in
                                    in Ohio,
                                       Ohio, your testimony was,
                                             your testimony was,

14
14      well,
        well, all of this
              all of this underlies
                          underlies your research -- your
                                    your research    your

15
15      expert report
        expert        is focused
               report is focused on
                                 on --
                                    -- is
                                       is focused
                                          focused on
                                                  on

16
16      forward-looking interventions
        forward-looking interventions and
                                      and programs.
                                          programs.                 Do
                                                                    Do you
                                                                       you

17
17      recall that?
        recall that?

18
18            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

19
19            Q.
              Q.        And you
                        And     are not
                            you are not going to be
                                        going to be offering
                                                    offering expert
                                                             expert
20
20      opinions to
        opinions to a
                    a reasonable
                      reasonable degree of medical
                                 degree of medical

21
21      professional
        professional certainty
                     certainty as to cause
                               as to cause or causes with
                                           or causes with

22
22      respect to the
        respect to the opioid
                       opioid epidemic.
                              epidemic.                 Do
                                                        Do you
                                                           you recall that
                                                               recall that

23
23      testimony?
        testimony?

24
24            A.
              A.        Again, I
                        Again, I don't
                                 don't recall my precise
                                       recall my precise responses
                                                         responses



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1
1       in deposition,
        in deposition, but it sounds
                       but it sounds consistent
                                     consistent with
                                                with what
                                                     what I
                                                          I

2
2       understood at the
        understood at the time
                          time my
                               my role to be.
                                  role to be.
3
3             Q.
              Q.        Okay.
                        Okay.

4
4                           MR. BURNETT:
                            MR. BURNETT:      And Counsel,
                                              And          let me
                                                  Counsel, let    just
                                                               me just

5
5       interject here.
        interject here.         You're talking about
                                You're talking about a
                                                     a deposition
                                                       deposition

6
6       that occurred,
        that occurred, you
                       you know,
                           know, 15 months ago.
                                 15 months ago.                We
                                                               We have
                                                                  have

7
7       not reviewed the
        not reviewed the transcript;
                         transcript; you're
                                     you're not
                                            not referring
                                                referring

8
8       to any
        to any specific
               specific page
                        page of
                             of the
                                the transcript;
                                    transcript; and
                                                and he
                                                    he said
                                                       said

9
9       that he
        that he has
                has not reviewed it
                    not reviewed it in
                                    in six
                                       six to
                                           to twelve
                                              twelve
10
10      months.
        months.

11
11                          So
                            So I
                               I don't think it's
                                 don't think it's fair
                                                  fair to
                                                       to ask
                                                          ask him
                                                              him

12
12      his answers to
        his answers to specific
                       specific questions in the
                                questions in the 2019
                                                 2019
13
13      deposition.
        deposition.

14
14                          MS. GEIST:
                            MS. GEIST:     So can we
                                           So can we keep
                                                     keep our
                                                          our

15
15      objections to
        objections to form,
                      form, Counsel?
                            Counsel?               Because you
                                                   Because you know
                                                               know

16
16      that's the
        that's the rule
                   rule and
                        and not the speaking
                            not the speaking objections
                                             objections
17
17      that you're
        that you're doing
                    doing now.
                          now.

18
18            Q.
              Q.        So Doctor
                        So        Alexander, in
                           Doctor Alexander, in --
                                                -- you just spoke
                                                   you just spoke
19
19      about your
        about      role in
              your role in that
                           that case.
                                case.                Do
                                                     Do you see your
                                                        you see your role
                                                                     role

20
20      in this
        in this case
                case as an expert
                     as an expert witness for the
                                  witness for the
21
21      plaintiffs in Cabell
        plaintiffs in        County/City of
                      Cabell County/City of Huntington
                                            Huntington to
                                                       to
22
22      be any
        be any different
               different than
                         than your
                              your role in the
                                   role in the Ohio
                                               Ohio case?
                                                    case?

23
23                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

24
24            A.
              A.        I believe my
                        I believe my general
                                     general role is very
                                             role is very --
                                                          -- is
                                                             is --
                                                                --


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1
1       is similar.
        is similar.         I
                            I believe
                              believe my general role
                                      my general      is similar,
                                                 role is similar,

2
2       which is to
        which is to advise
                    advise the
                           the courts
                               courts and the communities
                                      and the communities
3
3       regarding evidence-based approaches
        regarding evidence-based approaches that
                                            that can
                                                 can be
                                                     be
4
4       used to prevent
        used to         further harm
                prevent further      from occurring.
                                harm from occurring.
5
5             Q.
              Q.        And if
                        And if we look at
                               we look at the
                                          the first
                                              first paragraph
                                                    paragraph here
                                                              here

6
6       in your
        in your report,
                report, you outline what
                        you outline what you
                                         you have
                                             have been
                                                  been

7
7       asked to
        asked to do
                 do in
                    in this
                       this case.
                            case.               Is that right?
                                                Is that right?

8
8             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
9
9             Q.
              Q.        Okay.
                        Okay.   And just
                                And just to
                                         to recap,
                                            recap, would
                                                   would you agree
                                                         you agree

10
10      with me that
        with me that what
                     what you've
                          you've been
                                 been asked to do
                                      asked to do as an
                                                  as an

11
11      expert witness
        expert         on behalf
               witness on        of the
                          behalf of the plaintiffs in this
                                        plaintiffs in this
12
12      case is
        case is to,
                to, one,
                    one, "discuss
                         "discuss ways to abate"
                                  ways to abate" -
                                                 - using
                                                   using

13
13      your
        your word - "or
             word - "or reduce
                        reduce the
                               the harms caused by
                                   harms caused    the
                                                by the

14
14      oversupply of
        oversupply of opioids
                      opioids into
                              into the
                                   the Community;" two,
                                       Community;" two,

15
15      "estimate the
        "estimate the size
                      size of
                           of specific
                              specific populations
                                       populations that
                                                   that may
                                                        may
16
16      require interventions" "over
        require interventions" "over a
                                     a 15-year time
                                       15-year time

17
17      period;" and then
        period;" and then three,
                          three, "provide
                                 "provide recommended cost
                                          recommended cost

18
18      estimates for
        estimates for certain
                      certain interventions."
                              interventions."
19
19                          Does that appropriately
                            Does that               outline what
                                      appropriately outline what

20
20      you
        you have been asked
            have been asked to
                            to do
                               do here on behalf
                                  here on behalf of
                                                 of
21
21      plaintiffs?
        plaintiffs?

22
22            A.
              A.        It does.
                        It does.   And in
                                   And in doing
                                          doing so,
                                                so, I
                                                    I have
                                                      have reviewed
                                                           reviewed

23
23      an enormous
        an enormous volume of evidence,
                    volume of evidence, and
                                        and --
                                            -- and
                                               and
24
24      undertaking these goals
        undertaking these goals requires consideration of
                                requires consideration of



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1
1       many other
        many other --
                   -- many
                      many other
                           other factors
                                 factors and
                                         and facets.
                                             facets.              So we
                                                                  So we

2
2       can sort
        can sort of
                 of peel back layers
                    peel back layers of
                                     of the
                                        the onion
                                            onion together.
                                                  together.
3
3       But at
        But at the
               the highest level, yes,
                   highest level, yes, I think that
                                       I think that this
                                                    this
4
4       paragraph summarizes well
        paragraph summarizes well what
                                  what I
                                       I was asked to
                                         was asked to do
                                                      do by
                                                         by

5
5       plaintiffs.
        plaintiffs.

6
6             Q.
              Q.        Okay.
                        Okay.   And you
                                And you have
                                        have not been asked
                                             not been asked by
                                                            by

7
7       plaintiffs to provide
        plaintiffs to provide expert
                              expert testimony
                                     testimony to
                                               to a
                                                  a

8
8       reasonable degree of
        reasonable degree of medical
                             medical certainty
                                     certainty or
                                               or
9
9       probability as to
        probability as to the
                          the causes
                              causes of
                                     of what
                                        what you say was
                                             you say was an
                                                         an

10
10      oversupply of
        oversupply of opioids
                      opioids into
                              into Cabell
                                   Cabell County/
                                          County/

11
11      Huntington.
        Huntington.

12
12                          That
                            That was
                                 was not part of
                                     not part of what
                                                 what you
                                                      you were
                                                          were

13
13      asked to
        asked to do;
                 do; is
                     is that
                        that correct?
                             correct?
14
14                          MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
15
15      answered.
        answered.

16
16            A.
              A.        Yeah, I
                        Yeah,   think we've
                              I think we've discussed that before,
                                            discussed that before,

17
17      you
        you know, the focus
            know, the focus of
                            of my
                               my work is looking
                                  work is looking forwards;
                                                  forwards;
18
18      but again,
        but again, I think that
                   I think that in
                                in order
                                   order to
                                         to design an
                                            design an

19
19      evidence-based abatement
        evidence-based abatement program, one has
                                 program, one     to
                                              has to

20
20      understand the nature
        understand the        of the
                       nature of the problem.
                                     problem.

21
21                          And so
                            And so that
                                   that requires some evaluation
                                        requires some evaluation
22
22      of the
        of the historical
               historical context and the
                          context and the foundation
                                          foundation that
                                                     that
23
23      -- that
        -- that --
                -- that
                   that the
                        the current situation rests
                            current situation rests upon.
                                                    upon.

24
24            Q.
              Q.        So again,
                        So again, I feel like
                                  I feel like we're
                                              we're going around
                                                    going around



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1
1       and around
        and around and
                   and around,
                       around, Doctor Alexander, so
                               Doctor Alexander, so I'm
                                                    I'm

2
2       going to try
        going to try it
                     it one
                        one more time.
                            more time.                 At the
                                                       At the trial
                                                              trial in
                                                                    in
3
3       this case,
        this case, do
                   do you intend to
                      you intend to go
                                    go beyond
                                       beyond opinions
                                              opinions that
                                                       that
4
4       you
        you have stated here:
            have stated here:          Opinions
                                       Opinions relating to ways
                                                relating to      to
                                                            ways to

5
5       abate or
        abate    reduce the
              or reduce the harms,
                            harms, how to estimate
                                   how to estimate the
                                                   the size
                                                       size

6
6       of the
        of the populations
               populations that
                           that may
                                may require
                                    require interventions
                                            interventions
7
7       and what
        and what would
                 would be the cost
                       be the cost estimates
                                   estimates for
                                             for some
                                                 some of
                                                      of
8
8       those interventions?
        those interventions?
9
9                           Are you
                            Are     telling me
                                you telling me you're
                                               you're going to go
                                                      going to go

10
10      beyond some
        beyond some of
                    of those
                       those opinions
                             opinions at the trial?
                                      at the trial?
11
11                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

12
12            A.
              A.        I
                        I wouldn't
                          wouldn't go
                                   go beyond them unless
                                      beyond them        the judge
                                                  unless the judge
13
13      asked, but
        asked, but in
                   in addressing
                      addressing or
                                 or staying
                                    staying within bounds
                                            within bounds

14
14      of these
        of these opinions,
                 opinions, invariably
                           invariably there
                                      there are
                                            are --
                                                -- there
                                                   there
15
15      are elements
        are elements of
                     of this
                        this that
                             that require
                                  require understanding the
                                          understanding the

16
16      nature of the
        nature of the problem.
                      problem.
17
17                          So briefly, if
                            So briefly, if you
                                           you consider an
                                               consider an

18
18      intervention such
        intervention such as physician or
                          as physician or prescriber
                                          prescriber

19
19      education or
        education or education
                     education of the general
                               of the         public or
                                      general public or
20
20      interventions to,
        interventions to, you
                          you know, distribute naloxone,
                              know, distribute naloxone,

21
21      any of
        any of these
               these is
                     is predicated
                        predicated upon some understanding
                                   upon some understanding

22
22      of the
        of the nature of the
               nature of the problem.
                             problem.
23
23                          And as
                            And as an epidemiologist, that's
                                   an epidemiologist, that's what
                                                             what

24
24      I'm trained to
        I'm trained to do.
                       do.         So I
                                   So   think it's
                                      I think it's fair
                                                   fair to
                                                        to say
                                                           say


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1
1       that at
        that at the
                the highest level, that
                    highest level, that I
                                        I was asked to
                                          was asked to
2
2       focus on
        focus    these areas
              on these areas and
                             and that's
                                 that's where
                                        where I
                                              I plan to
                                                plan to

3
3       offer opinions.
        offer opinions.
4
4                         But if
                          But if a judge asked
                                 a judge asked me or if
                                               me or if counsel
                                                        counsel
5
5       agrees and
        agrees and I'm
                   I'm asked
                       asked a
                             a question
                               question such as, "Well,
                                        such as, "Well, why
                                                        why

6
6       do
        do you think naloxone
           you think          is important"
                     naloxone is important" or
                                            or "Why
                                               "Why do
                                                    do you
                                                       you

7
7       think that
        think that --
                   -- you
                      you know,
                          know, why do you
                                why do you plan
                                           plan -- why
                                                   why does
                                                       does

8
8       your
        your plan include services
             plan include          for children
                          services for children in foster
                                                in foster

9
9       care whose
        care       parents have
             whose parents have died of overdoses,"
                                died of overdoses," then
                                                    then I
                                                         I

10
10      will -- I
        will -- I will
                  will discuss that.
                       discuss that.

11
11                         And that
                           And that may require, you
                                    may require, you know, moving
                                                     know, moving

12
12      to root
        to root causes.
                causes.        Consider something like
                               Consider something like take-back
                                                       take-back
13
13      programs.
        programs.       You know,
                        You       if I
                            know, if I was
                                       was asked, "Well, Doctor
                                           asked, "Well, Doctor

14
14      Alexander, what's
        Alexander,        the role
                   what's the      of a
                              role of   take-back program,"
                                      a take-back program,"

15
15      it would
        it       require my
           would require my discussing the fact
                            discussing the fact that
                                                that there
                                                     there
16
16      are, you
        are, you know, tons of
                 know, tons of opioids sitting on
                               opioids sitting on
17
17      individuals' bedroom
        individuals'         nightstands and
                     bedroom nightstands and in
                                             in their
                                                their
18
18      bathroom cabinets
        bathroom cabinets and that these
                          and that these should
                                         should be disposed
                                                be disposed

19
19      of.
        of.

20
20                         So -- so
                           So -- so I -- I
                                    I -- I hope that that's
                                           hope that that's
21
21      helpful.
        helpful.        I'm trying to
                        I'm trying to be
                                      be helpful
                                         helpful and to address
                                                 and to address

22
22      your
        your question and your
             question and your needs,
                               needs, but also want
                                      but also      to just
                                               want to just
23
23      emphasize my
        emphasize my report includes, you
                     report includes, you know,
                                          know, 650
                                                650

24
24      references or something
        references or something and
                                and there's
                                    there's a
                                            a lot
                                              lot of
                                                  of


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1
1       science there
        science there that
                      that --
                           -- and
                              and some
                                  some of
                                       of it
                                          it touches
                                             touches upon
                                                     upon

2
2       causation and
        causation and serves
                      serves as
                             as the
                                the foundation
                                    foundation for
                                               for what
                                                   what I
                                                        I

3
3       propose for abatement.
        propose for abatement.
4
4             Q.
              Q.        Sure.
                        Sure.   And I
                                And I understand that some
                                      understand that some of
                                                           of your
                                                              your

5
5       references touch on
        references touch on causation, and I
                            causation, and I understand
                                             understand

6
6       your statement that
        your statement that your opinions are
                            your opinions are --
                                              -- are
                                                 are
7
7       predicated - to
        predicated - to use
                        use your
                            your words - on
                                 words - on a
                                            a --
                                              -- on
                                                 on the
                                                    the
8
8       underlying nature and
        underlying nature and understanding of the
                              understanding of the problem.
                                                   problem.
9
9                          But my
                           But my issue
                                  issue here,
                                        here, Doctor Alexander,
                                              Doctor Alexander,

10
10      is:
        is:    This is the
               This is the only
                           only chance
                                chance we
                                       we get to depose
                                          get to depose you.
                                                        you.

11
11      We
        We get to explore
           get to explore the
                          the opinions
                              opinions you intend to
                                       you intend to offer
                                                     offer
12
12      at trial,
        at trial, and
                  and this
                      this report is supposed
                           report is supposed to
                                              to provide
                                                 provide us
                                                         us

13
13      with
        with notice:
             notice:        What are you
                            What are you going to say
                                         going to say at trial?
                                                      at trial?

14
14                         And so
                           And so I
                                  I don't see any
                                    don't see any section
                                                  section in
                                                          in your
                                                             your

15
15      report -- and
        report -- and I
                      I would
                        would note it's a
                              note it's a very long report.
                                          very long report.

16
16      But I
        But I don't see any
              don't see any section
                            section in
                                    in your
                                       your report
                                            report where
                                                   where

17
17      you say, "As
        you say, "As an epidemiologist" or
                     an epidemiologist" or "As
                                           "As a
                                               a health
                                                 health

18
18      care provider,
        care provider, I
                       I have
                         have done extensive review
                              done extensive        into
                                             review into

19
19      the cause
        the cause or
                  or causes or contributions
                     causes or               to the
                               contributions to the opioid
                                                    opioid
20
20      epidemic and
        epidemic and I
                     I have
                       have considered all of
                            considered all    the following
                                           of the following
21
21      and I
        and I have reached the
              have reached the conclusion that this
                               conclusion that this or
                                                    or
22
22      these --
        these -- for
                 for these
                     these particular
                           particular people or individuals
                                      people or individuals
23
23      or groups
        or        are causes
           groups are causes of
                             of the
                                the epidemic."
                                    epidemic."
24
24                          That is not
                            That is not anywhere
                                        anywhere in
                                                 in your
                                                    your report,
                                                         report,



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1
1       correct?
        correct?

2
2                          MR. BURNETT:
                           MR. BURNETT:         Counsel,
                                                Counsel, I'm going to
                                                         I'm going to
3
3       object again.
        object again.         That's a
                              That's a --
                                       -- that's
                                          that's an
                                                 an unfair
                                                    unfair

4
4       question.
        question.        Again, you're
                         Again,        asking him
                                you're asking     the question
                                              him the question
5
5       about the
        about the entirety
                  entirety of
                           of his report.
                              his report.                   If
                                                            If you
                                                               you want to
                                                                   want to

6
6       go off the
        go off the record,
                   record, we
                           we can talk about
                              can talk       this further,
                                       about this further,
7
7       but you're
        but        asking him
            you're asking him whether the entirety
                              whether the entirety of
                                                   of his
                                                      his

8
8       opinions are
        opinions are contained
                     contained in
                               in the
                                  the first
                                      first paragraph of
                                            paragraph of

9
9       what is 125-page-long
        what is 125-page-long report.
                              report.

10
10                         MS. GEIST:
                           MS. GEIST:       So --
                                            So --
11
11                         MR. BURNETT:
                           MR. BURNETT:         I think the
                                                I think the report
                                                            report

12
12      speaks for
        speaks for itself.
                   itself.
13
13      BY MS.
        BY MS. GEIST:
               GEIST:

14
14            Q.
              Q.        Can
                        Can you -- can
                            you -- can you
                                       you direct
                                           direct me,
                                                  me, Doctor
                                                      Doctor

15
15      Alexander, to
        Alexander, to any
                      any place
                          place in
                                in your
                                   your report - and
                                        report - and you
                                                     you

16
16      can take
        can take all
                 all the
                     the time
                         time you
                              you want - where
                                  want - where you
                                               you go
                                                   go

17
17      through the
        through the analysis
                    analysis and
                             and you discuss and
                                 you discuss and reach
                                                 reach

18
18      conclusions about
        conclusions about the
                          the causes
                              causes or
                                     or the
                                        the contributing
                                            contributing

19
19      factors to
        factors to the
                   the opioid
                       opioid --
                              -- to
                                 to the
                                    the oversupply
                                        oversupply of
                                                   of
20
20      opioids into
        opioids into the
                     the community, to use
                         community, to use your
                                           your words?
                                                words?

21
21                         MR. BURNETT:
                           MR. BURNETT:         Objection.
                                                Objection.

22
22            A.
              A.        Yeah, there's --
                        Yeah, there's -- I think I've
                                         I think I've answered
                                                      answered

23
23      this.
        this.      But there
                   But there are
                             are many
                                 many statements
                                      statements in
                                                 in my
                                                    my report
                                                       report

24
24      that --
        that -- that
                that have some --
                     have some -- that
                                  that have to do
                                       have to do with
                                                  with



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1
1       understanding the nature
        understanding the        of the
                          nature of the problem, and
                                        problem, and

2
2       inherently, that
        inherently, that --
                         -- that's
                            that's partly an effort
                                   partly an effort at
                                                    at
3
3       understanding
        understanding what caused the
                      what caused the problem.
                                      problem.               That's the
                                                             That's the

4
4       nature of epidemiology,
        nature of epidemiology, and
                                and pharmacoepidemiology.
                                    pharmacoepidemiology.
5
5                          But you
                           But     also asked
                               you also asked another
                                              another question,
                                                      question,

6
6       and I
        and I would say that
              would say that although
                             although I
                                      I know Mr. Burnett
                                        know Mr. Burnett
7
7       objected --
        objected -- but
                    but there's
                        there's no -- there's
                                no -- there's no
                                              no specific
                                                 specific
8
8       section of
        section of my
                   my report
                      report that
                             that is
                                  is focused
                                     focused exclusively
                                             exclusively on
                                                         on
9
9       arguing lines
        arguing lines of
                      of causation,
                         causation, if
                                    if that
                                       that helps to
                                            helps to

10
10      address your
        address your query about whether
                     query about         there's a
                                 whether there's a section
                                                   section
11
11      of my
        of my report that's devoted
              report that's         exclusively to
                            devoted exclusively to trying
                                                   trying
12
12      to apportion
        to apportion responsibility across different
                     responsibility across           groups
                                           different groups

13
13      or drivers
        or         or what
           drivers or what have
                           have you.
                                you.

14
14                          There's no section
                            There's no section like
                                               like that
                                                    that in
                                                         in my
                                                            my
15
15      report.
        report.

16
16            Q.
              Q.        Okay.
                        Okay.   And you
                                And     said to
                                    you said to me
                                                me you
                                                   you needed to
                                                       needed to

17
17      understand the nature
        understand the        of the
                       nature of the problem
                                     problem and
                                             and understand
                                                 understand

18
18      the cause.
        the cause.        But would
                          But would you agree with
                                    you agree with me that
                                                   me that

19
19      understanding cause or
        understanding cause or the
                               the nature of the
                                   nature of the problem -
                                                 problem -

20
20      using
        using your
              your words - is
                   words - is different from being
                              different from       asked to
                                             being asked to
21
21      offer an
        offer    expert opinion
              an expert opinion to
                                to a
                                   a reasonable
                                     reasonable degree
                                                degree of
                                                       of

22
22      medical or
        medical or scientific
                   scientific certainty
                              certainty as to the
                                        as to the causes of
                                                  causes of

23
23      the oversupply
        the oversupply of
                       of opioids
                          opioids into
                                  into Cabell
                                       Cabell County/
                                              County/

24
24      Huntington, to
        Huntington, to use
                       use your
                           your words?
                                words?



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1
1                          MR. BURNETT:
                           MR. BURNETT:       Objection, asked
                                              Objection, asked and
                                                               and
2
2       answered.
        answered.

3
3                          Again, his
                           Again,     opinions are
                                  his opinions are contained in
                                                   contained in

4
4       the report.
        the report.
5
5                          MS. GEIST:
                           MS. GEIST:      Those are two
                                           Those are two different
                                                         different

6
6       things we're
        things       talking about.
               we're talking about.
7
7             Q.
              Q.        Is that
                        Is that fair,
                                fair, Doctor Alexander?
                                      Doctor Alexander?

8
8       Understanding the nature
        Understanding the        of a
                          nature of a problem and
                                      problem and

9
9       understanding the causes
        understanding the        is different
                          causes is different than
                                              than being
                                                   being
10
10      asked to
        asked to provide
                 provide an
                         an expert
                            expert opinion.
                                   opinion.                 Do
                                                            Do you
                                                               you

11
11      understand that?
        understand that?

12
12            A.
              A.        Well, it --
                        Well, it -- it
                                    it sounds
                                       sounds to
                                              to me like the
                                                 me like the first
                                                             first
13
13      is sort
        is sort of
                of a
                   a scientific
                     scientific or
                                or epidemiologic
                                   epidemiologic exercise,
                                                 exercise,
14
14      and the
        and the second
                second is
                       is rendering some legal
                          rendering some legal opinion
                                               opinion or
                                                       or

15
15      judgment, and
        judgment, and I
                      I would
                        would prefer to let
                              prefer to let counsel
                                            counsel work
                                                    work

16
16      this out.
        this out.
17
17                          I
                            I mean, I've tried
                              mean, I've tried to
                                               to be
                                                  be helpful in
                                                     helpful in

18
18      identifying where
        identifying where I
                          I go.
                            go.            I
                                           I was
                                             was not
                                                 not asked, first and
                                                     asked, first and
19
19      foremost, to
        foremost, to argue
                     argue or
                           or delineate lines of
                              delineate lines of causation.
                                                 causation.
20
20      It's -- again,
        It's -- again, my focus is
                       my focus is looking
                                   looking forward.
                                           forward.
21
21                         But I
                           But   think in
                               I think in order
                                          order to
                                                to look
                                                   look forward,
                                                        forward,
22
22      you
        you have to understand
            have to understand what's
                               what's behind
                                      behind you,
                                             you, and
                                                  and I
                                                      I

23
23      gave some examples
        gave some examples where
                           where I think it's
                                 I think it's very
                                              very
24
24      important to
        important to understand the nature
                     understand the nature of the epidemic,
                                           of the epidemic,


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1
1       and in
        and in particular,
               particular, we could talk
                           we could talk about
                                         about the
                                               the
2
2       oversupply of
        oversupply of prescription opioids when
                      prescription opioids      designing
                                           when designing

3
3       abatement solutions.
        abatement solutions.
4
4             Q.
              Q.        Understood.
                        Understood.       And again,
                                          And again, just
                                                     just following
                                                          following up
                                                                    up

5
5       on what
        on what you just said,
                you just said, you
                               you were
                                   were not asked to
                                        not asked to look
                                                     look
6
6       at lines
        at lines of
                 of causation.
                    causation.               You
                                             You were asked to
                                                 were asked to design
                                                               design
7
7       programs and interventions
        programs and interventions looking
                                   looking forward.
                                           forward.
8
8       Correct?
        Correct?

9
9             A.
              A.        Yes.
                        Yes.    And in
                                And in order
                                       order to
                                             to do so, one
                                                do so, one has to
                                                           has to

10
10      understand the genesis
        understand the genesis of
                               of the
                                  the epidemic.
                                      epidemic.
11
11            Q.
              Q.        Understood.
                        Understood.       Okay.
                                          Okay.

12
12                          MR. BURNETT:
                            MR. BURNETT:           Counsel,
                                                   Counsel, we've been
                                                            we've been

13
13      going an
        going an hour and a
                 hour and a quarter.
                            quarter.                    Just
                                                        Just putting it out
                                                             putting it out
14
14      there.
        there.

15
15                          MS. GEIST:
                            MS. GEIST:         Yeah,
                                               Yeah, we can --
                                                     we can -- we
                                                               we can
                                                                  can

16
16      take a
        take a break.
               break.
17
17            Q.
              Q.        Would
                        Would you like to
                              you like to take
                                          take a
                                               a break,
                                                 break, Doctor
                                                        Doctor

18
18      Alexander?
        Alexander?

19
19            A.
              A.        Sure.
                        Sure.    Shall we
                                 Shall we reconvene at, say,
                                          reconvene at,      five
                                                        say, five

20
20      minutes to
        minutes to the
                   the hour?
                       hour?              That
                                          That would
                                               would be about ten
                                                     be about ten
21
21      minutes.
        minutes.

22
22                             VIDEO OPERATOR:
                               VIDEO OPERATOR:          The time is
                                                        The time is 10:46.
                                                                    10:46.
23
23      We are now
        We are now going off the
                   going off the record.
                                 record.

24
24                             (A recess
                               (A recess was taken after
                                         was taken after which the
                                                         which the



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1
1                              proceedings
                               proceedings continued
                                           continued as follows:)
                                                     as follows:)

2
2                              VIDEO OPERATOR:
                               VIDEO OPERATOR:        The time is
                                                      The time is 10:57.
                                                                  10:57.

3
3       We are now
        We are     back on
               now back on the
                           the record.
                               record.

4
4       BY MS.
        BY MS. GEIST:
               GEIST:

5
5             Q.
              Q.        Doctor Alexander, again
                        Doctor Alexander, again do
                                                do you
                                                   you have
                                                       have your
                                                            your

6
6       report in front
        report in front of
                        of you?
                           you?

7
7             A.
              A.        Yes, ma'am,
                        Yes, ma'am, I
                                    I do.
                                      do.

8
8             Q.
              Q.        On page
                        On page 8 of your
                                8 of your 125-page
                                          125-page report, at
                                                   report, at

9
9       Paragraph 17,
        Paragraph     if you
                  17, if     could go
                         you could    there with
                                   go there      me,
                                            with me,

10
10      please.
        please.

11
11            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
12
12            Q.
              Q.        Here you
                        Here you state that "I
                                 state that "I conclude an opioid
                                               conclude an opioid
13
13      epidemic currently
        epidemic currently exists
                           exists within the Community."
                                  within the Community."

14
14      And again,
        And again, for
                   for the
                       the record, every time
                           record, every time we
                                              we refer to
                                                 refer to

15
15      "the community"
        "the community" in
                        in this
                           this deposition
                                deposition or in your
                                           or in your

16
16      report, that refers
        report, that        to Cabell
                     refers to Cabell County/City of
                                      County/City of

17
17      Huntington, correct?
        Huntington, correct?
18
18            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
19
19            Q.
              Q.        Okay.
                        Okay.    So you
                                 So you have concluded that
                                        have concluded that an
                                                            an opioid
                                                               opioid
20
20      epidemic currently
        epidemic currently exists
                           exists within Cabell County/
                                  within Cabell County/

21
21      Huntington?
        Huntington?

22
22            A.
              A.        Yes.
                        Yes.

23
23            Q.
              Q.        You
                        You are aware, though,
                            are aware, though, that
                                               that a
                                                    a recent study
                                                      recent study

24
24      has shown a
        has shown a nearly 40 percent
                    nearly 40 percent decrease in the
                                      decrease in the


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1
1       overall opioid
        overall opioid prescription rates and
                       prescription rates and a
                                              a 60 percent
                                                60 percent

2
2       decrease in the
        decrease in the quantity
                        quantity of
                                 of opioids
                                    opioids prescribed
                                            prescribed per
                                                       per

3
3       visit to a
        visit to a physician
                   physician and
                             and a
                                 a reduction in the
                                   reduction in the
4
4       strength of
        strength of opioids
                    opioids prescribed following a
                            prescribed following a public
                                                   public
5
5       and provider
        and provider education
                     education campaign.
                               campaign.

6
6                           You're aware of
                            You're aware of all
                                            all that?
                                                that?
7
7                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

8
8             A.
              A.        I'm aware
                        I'm aware that
                                  that there
                                       there have
                                             have been
                                                  been reductions
                                                       reductions

9
9       in opioid
        in opioid prescribing,
                  prescribing, yes, but I'm
                               yes, but I'm not -- I
                                            not --   can't
                                                   I can't

10
10      confirm the
        confirm the precise
                    precise data
                            data points
                                 points without
                                        without reviewing
                                                reviewing

11
11      the sources
        the sources of
                    of information.
                       information.
12
12                         But yes,
                           But yes, I am aware
                                    I am aware that
                                               that there
                                                    there have
                                                          have

13
13      been reductions
        been            in --
             reductions in -- fortunately,
                              fortunately, that
                                           that there
                                                there have
                                                      have

14
14      been some
        been some reductions in the
                  reductions in the volume
                                    volume of opioids into
                                           of opioids into
15
15      the community
        the community over
                      over the
                           the past few years.
                               past few years.

16
16            Q.
              Q.        In connection with
                        In connection with your research and
                                           your research and review
                                                             review

17
17      of the
        of the materials
               materials in
                         in this
                            this case, did you
                                 case, did     look at
                                           you look at the
                                                       the
18
18      latest data
        latest data from
                    from the
                         the Department of Health
                             Department of Health and Human
                                                  and Human

19
19      Services in
        Services in West Virginia providing
                    West Virginia providing preliminary
                                            preliminary

20
20      data on 2018
        data on 2018 drug overdoses?
                     drug overdoses?

21
21                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

22
22            A.
              A.        Yeah, I
                        Yeah, I would
                                would want to look
                                      want to look at
                                                   at any
                                                      any given
                                                          given
23
23      document again.
        document again.

24
24                          Again, there
                            Again, there were,
                                         were, I believe, more
                                               I believe, more


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1
1       than 650
        than     references in
             650 references in my report, and
                               my report, and that
                                              that doesn't
                                                   doesn't
2
2       include all
        include all of
                    of the
                       the additional
                           additional materials that are
                                      materials that are
3
3       sourced elsewhere
        sourced elsewhere either
                          either in
                                 in the
                                    the redress
                                        redress models
                                                models or
                                                       or

4
4       materials that
        materials that I
                       I reviewed and considered
                         reviewed and            and didn't
                                      considered and didn't
5
5       ultimately cite.
        ultimately cite.

6
6                           So I'm not
                            So I'm     able to
                                   not able to confirm
                                               confirm having
                                                       having seen
                                                              seen

7
7       or incorporated
        or incorporated a
                        a given
                          given document
                                document without
                                         without reviewing
                                                 reviewing

8
8       that with
        that with you at this
                  you at this time.
                              time.
9
9             Q.
              Q.        Now, you
                        Now, you do cite in
                                 do cite in your own report,
                                            your own report,
10
10      though, that
        though, that study
                     study that
                           that I just referred
                                I just referred you to.
                                                you to.

11
11      That's at page
        That's at page 16 of your
                       16 of      report, if
                             your report, if you
                                             you want to go
                                                 want to go

12
12      ahead there
        ahead there and
                    and look.
                        look.
13
13            A.
              A.        And which
                        And which reference are you
                                  reference are you referring to?
                                                    referring to?

14
14            Q.
              Q.        At Paragraph
                        At Paragraph 38,
                                     38, Doctor.
                                         Doctor.

15
15            A.
              A.        Okay.
                        Okay.   And where
                                And       in the
                                    where in the paragraph?
                                                 paragraph?
16
16            Q.
              Q.        It's --
                        It's -- it's
                                it's about
                                     about four
                                           four or
                                                or five
                                                   five lines
                                                        lines down.
                                                              down.

17
17      Here you
        Here     note a
             you note a recent
                        recent quality improvement study
                               quality improvement study
18
18      looking at
        looking at the
                   the overall
                       overall decrease in opioid
                               decrease in opioid

19
19      prescription
        prescription rate
                     rate and the decrease
                          and the decrease in
                                           in quantity
                                              quantity of
                                                       of

20
20      opioids prescribed
        opioids prescribed per
                           per visit?
                               visit?

21
21            A.
              A.        That's at a
                        That's at a regional
                                    regional health
                                             health system in
                                                    system in

22
22      Maryland?
        Maryland?

23
23            Q.
              Q.        Is that
                        Is that reflective of the
                                reflective of the national
                                                  national decrease
                                                           decrease

24
24      in opioid
        in opioid prescription
                  prescription and the national
                               and the national decrease in
                                                decrease in



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1
1       the quantity
        the quantity of
                     of opioids
                        opioids prescribed
                                prescribed per
                                           per visit by
                                               visit by

2
2       physicians?
        physicians?

3
3             A.
              A.        Well, this is
                        Well, this is a
                                      a reference to a
                                        reference to a single
                                                       single

4
4       quality improvement
        quality improvement study.
                            study.               So I
                                                 So   -- I
                                                    I --   think it
                                                         I think it
5
5       would -- it
        would -- it would
                    would require some caution
                          require some caution in
                                               in inferring
                                                  inferring
6
6       something about
        something about national
                        national trends
                                 trends in
                                        in opioid
                                           opioid

7
7       prescribing based on
        prescribing based    a single
                          on a single study of a
                                      study of a regional
                                                 regional

8
8       health system in
        health system in Maryland.
                         Maryland.
9
9             Q.
              Q.        Well, let's just
                        Well, let's just --
                                         -- let's
                                            let's focus
                                                  focus on
                                                        on Cabell
                                                           Cabell

10
10      County/Huntington's since that
        County/Huntington's since that is
                                       is the
                                          the case
                                              case that
                                                   that
11
11      we're talking about
        we're talking about today.
                            today.
12
12            A.
              A.        Okay.
                        Okay.

13
13            Q.
              Q.        Are you
                        Are     aware based
                            you aware       on the
                                      based on the West Virginia
                                                   West Virginia

14
14      Department of Health
        Department of Health and
                             and Human Services data
                                 Human Services      that
                                                data that

15
15      specifically in
        specifically in Cabell
                        Cabell County, there has
                               County, there     been an
                                             has been an
16
16      overall decline
        overall         of 22
                decline of 22 to
                              to 26 percent in
                                 26 percent in opioid-
                                               opioid-
17
17      related overdeaths {sic}
        related overdeaths {sic} from
                                 from 2017 to 2018?
                                      2017 to 2018?
18
18                          Are you
                            Are     aware of
                                you aware of that?
                                             that?
19
19                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

20
20            A.
              A.        Again --
                        Again -- I'm sorry, can
                                 I'm sorry, can you
                                                you ask the
                                                    ask the

21
21      question again, please?
        question again, please?
22
22            Q.
              Q.        Sure.
                        Sure.   Are you
                                Are     aware of
                                    you aware of the
                                                 the data from the
                                                     data from the
23
23      West Virginia Department
        West Virginia            of Health
                      Department of Health and
                                           and Human
                                               Human

24
24      Resources reporting
        Resources           specifically -
                  reporting specifically - based on
                                           based on



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1
1       preliminary
        preliminary data - that
                    data - that there
                                there has been a
                                      has been a 22
                                                 22 to
                                                    to 26
                                                       26

2
2       percent overall decline
        percent overall decline in
                                in opioid-related
                                   opioid-related deaths
                                                  deaths

3
3       from 2017
        from 2017 to
                  to 2018?
                     2018?
4
4                          MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

5
5             A.
              A.        Yeah, so
                        Yeah, so I
                                 I believe this is
                                   believe this is a
                                                   a year-over-year
                                                     year-over-year

6
6       analysis of
        analysis of preliminary
                    preliminary data,
                                data, and
                                      and I believe there
                                          I believe there
7
7       have been declines
        have been declines noted.
                           noted.             And that's
                                              And that's quite
                                                         quite
8
8       fortunate, because
        fortunate, because as
                           as you
                              you know -- you
                                  know -- you know, the
                                              know, the

9
9       rates of overdose
        rates of overdose and other opioid-related
                          and other opioid-related
10
10      morbidity and
        morbidity and mortality
                      mortality in
                                in Cabell
                                   Cabell County and the
                                          County and the
11
11      City of Huntington
        City of Huntington have been off
                           have been off the
                                         the charts.
                                             charts.

12
12                          And, I
                            And, I mean, it's not
                                   mean, it's not by accident that
                                                  by accident that
13
13      it's been
        it's been dubbed the overdose
                  dubbed the overdose capital of the
                                      capital of the world.
                                                     world.

14
14                          So I'm aware
                            So I'm aware of
                                         of some
                                            some modest
                                                 modest gains, and
                                                        gains, and

15
15      I think these
        I think these are
                      are most important, and
                          most important, and most
                                              most
16
16      important for
        important for the
                      the community itself and
                          community itself     to put
                                           and to     some
                                                  put some

17
17      wind in the
        wind in the sails,
                    sails, but
                           but I think we
                               I think we have an
                                          have an

18
18      enormously long
        enormously long way to go,
                        way to     and
                               go, and                 I
                                                       I would
                                                         would have grave
                                                               have grave

19
19      concern about,
        concern about, you
                       you know, overinterpreting some
                           know, overinterpreting some --

20
20      some --
        some -- some
                some glimmers of hope
                     glimmers of hope as evidence that
                                      as evidence that
21
21      somehow there's
        somehow there's no
                        no longer
                           longer an
                                  an opioid
                                     opioid epidemic
                                            epidemic within
                                                     within

22
22      the community.
        the community.
23
23                          I think nothing
                            I think nothing could
                                            could be further from
                                                  be further from
24
24      the truth.
        the truth.


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1
1             Q.
              Q.        Oh, when
                        Oh, when you say "opioid
                                 you say "opioid epidemic,"
                                                 epidemic," would
                                                            would

2
2       you agree where
        you agree       me that
                  where me that at
                                at least
                                   least as
                                         as reported by the
                                            reported by the
3
3       West Virginia Department
        West Virginia            of Health
                      Department of Health and
                                           and Human
                                               Human

4
4       Services, the
        Services, the current
                      current opioid
                              opioid epidemic,
                                     epidemic, if
                                               if there
                                                  there is
                                                        is
5
5       one, relates
        one,         to illicit
             relates to illicit opioids
                                opioids such
                                        such as fentanyl,
                                             as fentanyl,

6
6       heroin,
        heroin, carfentanil?
                carfentanil?

7
7                           Do
                            Do you agree with
                               you agree      me on
                                         with me on that?
                                                    that?
8
8                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

9
9             A.
              A.        No, I
                        No,   -- I
                            I -- I mean, the --
                                   mean, the -- and
                                                and any
                                                    any --
                                                        -- the
                                                           the
10
10      situation on
        situation on the
                     the ground at any
                         ground at any given
                                       given point in time
                                             point in time
11
11      is a
        is a reflection of exposure
             reflection of exposure that's
                                    that's happened over
                                           happened over

12
12      years, and we
        years, and we know that --
                      know that -- that,
                                   that, you
                                         you know,
                                             know, using
                                                   using a
                                                         a

13
13      measure like
        measure like the
                     the volume of opioids
                         volume of opioids prescribed at
                                           prescribed at

14
14      one point
        one point in
                  in time
                     time to
                          to understand
                             understand whether
                                        whether or
                                                or not the
                                                   not the

15
15      house is on
        house is on fire
                    fire is
                         is simply
                            simply not a --
                                   not a -- not
                                            not a
                                                a good
                                                  good

16
16      move.
        move.

17
17                          In other words,
                            In other        the --
                                     words, the -- the
                                                   the
18
18      manifestations of
        manifestations of overprescribing
                          overprescribing that
                                          that happened in
                                               happened in

19
19      -- at
        -- at Time A can
              Time A     manifest for
                     can manifest for years,
                                      years, and indeed
                                             and indeed

20
20      generations.
        generations.

21
21                          So
                            So while
                               while I think that
                                     I think that the
                                                  the measures of
                                                      measures of

22
22      opioid volume
        opioid volume that
                      that you
                           you describe, reductions in
                               describe, reductions in
23
23      opioid volume,
        opioid volume, are
                       are welcome,
                           welcome, I
                                    I believe that West
                                      believe that West

24
24      Virginia is
        Virginia is still
                    still much, much higher
                          much, much        than national
                                     higher than national



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1
1       averages.
        averages.

2
2                          I
                           I believe
                             believe many people are
                                     many people     still
                                                 are still

3
3       receiving opioids that
        receiving opioids that would
                               would do
                                     do better
                                        better with
                                               with

4
4       alternative treatments,
        alternative treatments, and
                                and you
                                    you know, it's --
                                        know, it's -- it's,
                                                      it's,
5
5       in part
        in      -- a
           part -- a lot
                     lot of
                         of the
                            the morbidity
                                morbidity is
                                          is driven
                                             driven by
                                                    by

6
6       addiction and
        addiction and opioid
                      opioid use
                             use disorder,
                                 disorder, and that's a
                                           and that's a
7
7       chronic disease.
        chronic disease.        It's
                                It's a lifelong disease.
                                     a lifelong disease.

8
8                          You
                           You know,
                               know, people
                                     people can be treated
                                            can be treated and
                                                           and
9
9       many people
        many        live happy,
             people live        successful lives
                         happy, successful lives in
                                                 in
10
10      recovery, so it's
        recovery, so it's highly treatable, but
                          highly treatable, but it's
                                                it's a
                                                     a
11
11      chronic disease,
        chronic          and so
                disease, and so I just have
                                I just      a little
                                       have a little bit
                                                     bit of
                                                         of
12
12      concern about
        concern about using,
                      using, you
                             you know, day-to-day or
                                 know, day-to-day    sort
                                                  or sort

13
13      of year-to-year
        of              fluctuations in
           year-to-year fluctuations in opioid
                                        opioid prescribing
                                               prescribing

14
14      as some
        as some global
                global measure
                       measure of
                               of whether or not
                                  whether or     an
                                             not an

15
15      epidemic is
        epidemic is taking
                    taking place.
                           place.
16
16            Q.
              Q.        You
                        You do disagree with
                            do disagree      the data
                                        with the      from the
                                                 data from the West
                                                               West

17
17      Virginia Department
        Virginia            of Health
                 Department of Health and Human Services
                                      and Human Services

18
18      that indicates
        that indicates that
                       that in
                            in 2018, 82 percent
                               2018, 82 percent of overdose
                                                of overdose

19
19      deaths
        deaths were attributed to
               were attributed to illicit
                                  illicit opioids,
                                          opioids, not
                                                   not

20
20      prescription opioids?
        prescription opioids?

21
21                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.    Is there a
                                                            Is there a
22
22      specific document
        specific document you
                          you would like to
                              would like to refer the
                                            refer the

23
23      witness to?
        witness to?

24
24                         MS. GEIST:
                           MS. GEIST:      I'm
                                           I'm going to ask
                                               going to ask him the
                                                            him the



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1
1       question first.
        question first.

2
2             A.
              A.        I
                        I would like to
                          would like to see --
                                        see --

3
3             Q.
              Q.        That is --
                        That is -- that's
                                   that's the
                                          the data
                                              data from
                                                   from the
                                                        the
4
4       Department of Health
        Department of Health and
                             and Human Services in
                                 Human Services in West
                                                   West

5
5       Virginia --
        Virginia

6
6             A.
              A.        Right.
                        Right.

7
7             Q.
              Q.        -- would
                        -- would you
                                 you have any reason
                                     have any        to disagree
                                              reason to disagree

8
8       with that?
        with that?

9
9             A.
              A.        Well,
                        Well, I --
                              I --

10
10                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

11
11            A.
              A.        I
                        I would like to
                          would like to review any document
                                        review any          that's
                                                   document that's

12
12      being referred
        being          to, but
              referred to, but I
                               I didn't
                                 didn't mean to suggest
                                        mean to suggest

13
13      that I
        that   disagree with
             I disagree      a data
                        with a      point that's
                               data point that's been
                                                 been put
                                                      put

14
14      out by
        out by the
               the West Virginia Department
                   West Virginia            of --
                                 Department of -- of
                                                  of Public
                                                     Public
15
15      Health, or
        Health, or frankly,
                   frankly, you
                            you know -- but
                                know -- but I
                                            I would like to
                                              would like to
16
16      see the
        see the document.
                document.

17
17                          But what
                            But what I
                                     I was registering some
                                       was registering some

18
18      concern about
        concern about was
                      was a
                          a notion that this
                            notion that this is
                                             is an epidemic
                                                an epidemic

19
19      -- that
        -- that there's
                there's a
                        a fentanyl
                          fentanyl epidemic.
                                   epidemic.
20
20                          I
                            I would characterize it
                              would characterize it as
                                                    as an opioid
                                                       an opioid

21
21      epidemic.
        epidemic.         Just as I
                          Just as I have concern about
                                    have concern about
22
22      characterizing this
        characterizing this as
                            as an epidemic of
                               an epidemic    abuse, I
                                           of abuse, I

23
23      would
        would characterize it as
              characterize it as an epidemic of
                                 an epidemic of addiction.
                                                addiction.

24
24                          So
                            So you
                               you know,
                                   know, we can discuss
                                         we can discuss sort
                                                        sort of
                                                             of


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1
1       the relative
        the relative contributions of different
                     contributions of           --
                                      different --

2
2       different substances or
        different substances or different
                                different opioids,
                                          opioids, but
                                                   but my
                                                       my

3
3       concern would
        concern       be I
                would be I wouldn't
                           wouldn't want to overlook
                                    want to overlook the
                                                     the
4
4       important role
        important      that prescription
                  role that              opioids have
                            prescription opioids      and
                                                 have and

5
5       continue to
        continue to play in driving
                    play in         opioid-related
                            driving opioid-related

6
6       morbidity and
        morbidity and mortality.
                      mortality.
7
7             Q.
              Q.        And do
                        And do you
                               you know from your
                                   know from your research and
                                                  research and

8
8       analysis how
        analysis     -- what
                 how --      percentage of
                        what percentage of the
                                           the 2018
                                               2018
9
9       overdose deaths
        overdose deaths related
                        related to
                                to prescription
                                   prescription opioids
                                                opioids

10
10      only?
        only?

11
11                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

12
12            A.
              A.        Yeah, I
                        Yeah, I wasn't asked to
                                wasn't asked to --
                                                -- I
                                                   I wasn't asked
                                                     wasn't asked

13
13      to focus
        to focus on
                 on that
                    that in
                         in my
                            my report.
                               report.

14
14            Q.
              Q.        So you're
                        So you're not
                                  not aware of --
                                      aware of -- when
                                                  when we're
                                                       we're

15
15      talking about
        talking about overdose
                      overdose deaths
                               deaths relating to opioids,
                                      relating to opioids,
16
16      sitting here
        sitting      today, you're
                here today, you're not aware of
                                   not aware of the
                                                the latest
                                                    latest
17
17      data and trends
        data and trends in
                        in West Virginia and
                           West Virginia and Cabell
                                             Cabell County
                                                    County

18
18      specifically about
        specifically about what substances are
                           what substances are driving
                                               driving

19
19      overdose deaths?
        overdose deaths?
20
20                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

21
21            Q.
              Q.        Is that
                        Is that --
                                -- is
                                   is that
                                      that correct,
                                           correct, Doctor
                                                    Doctor

22
22      Alexander?
        Alexander?

23
23            A.
              A.        No, it's
                        No, it's not correct.
                                 not correct.          I carefully reviewed
                                                       I carefully reviewed

24
24      all of
        all of the
               the materials
                   materials that
                             that were provided to
                                  were provided to me
                                                   me and
                                                      and


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1
1       that I
        that I had access to,
               had access to, and
                              and that
                                  that included
                                       included up-to-date
                                                up-to-date

2
2       recent data from
        recent data from local,
                         local, State
                                State and
                                      and Federal
                                          Federal sources.
                                                  sources.

3
3                           So
                            So I
                               I would
                                 would not -- I
                                       not -- I would
                                                would not
                                                      not want to
                                                          want to

4
4       characterize otherwise.
        characterize otherwise.
5
5             Q.
              Q.        Now, you
                        Now, you said -- you
                                 said -- you brought
                                             brought with
                                                     with you today
                                                          you today

6
6       a copy
        a copy of
               of your
                  your report,
                       report, correct?
                               correct?

7
7             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
8
8             Q.
              Q.        And you
                        And you have footnotes, of
                                have footnotes, of course,
                                                   course,
9
9       citations to
        citations to authorities
                     authorities and
                                 and references
                                     references in that
                                                in that

10
10      report.
        report.         True?
                        True?

11
11            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
12
12            Q.
              Q.        Okay.
                        Okay.   The
                                The data that I'm
                                    data that I'm referring to,
                                                  referring to,

13
13      Doctor Alexander, if
        Doctor Alexander, if you look at
                             you look    page 11
                                      at page    of your
                                              11 of your

14
14      report,
        report, you
                you write - as
                    write - as I -- as
                               I -- as I stated earlier
                                       I stated earlier -
                                                        -
15
15      that "there
        that "there are
                    are glimmers
                        glimmers of
                                 of hope,
                                    hope, with
                                          with preliminary
                                               preliminary

16
16      data suggesting a
        data suggesting a 22"
                          22" to
                              to "26%
                                 "26% decline in
                                      decline in

17
17      opioid-overdose deaths
        opioid-overdose deaths between 2017 and
                               between 2017 and 2018 in
                                                2018 in

18
18      Cabell
        Cabell County."
               County."

19
19                          MR. BURNETT:
                            MR. BURNETT:       Counsel,
                                               Counsel, what
                                                        what paragraph
                                                             paragraph

20
20      is that?
        is that?         I'm not seeing
                         I'm not        that.
                                 seeing that.

21
21                          MS. GEIST:
                            MS. GEIST:      That is page
                                            That is page 11,
                                                         11, Paragraph
                                                             Paragraph
22
22      29.
        29.

23
23            Q.
              Q.        And your
                        And your citation for that,
                                 citation for that, Doctor
                                                    Doctor

24
24      Alexander, is
        Alexander, is the
                      the data
                          data released
                               released by the West
                                        by the West



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1
1       Virginia Department
        Virginia            of Health
                 Department of Health and Human Services
                                      and Human          on
                                                Services on

2
2       September 5th,
        September 5th, 2019.
                       2019.             So you
                                         So you -- you
                                                   you reviewed that
                                                       reviewed that

3
3       data,
        data, correct?
              correct?

4
4             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
5
5             Q.
              Q.        You acknowledge that
                        You acknowledge that in
                                             in your report.
                                                your report.         True?
                                                                     True?

6
6             A.
              A.        Yes.
                        Yes.

7
7             Q.
              Q.        And --
                        And --
8
8                              MR. BURNETT:
                               MR. BURNETT:      Doctor Alexander, if
                                                 Doctor Alexander, if you
                                                                      you

9
9       need -- if
        need -- if you
                   you need time to
                       need time to look
                                    look at
                                         at the
                                            the footnote,
                                                footnote,
10
10      don't -- don't
        don't -- don't be
                       be rushed in confirming
                          rushed in confirming what she's
                                               what she's

11
11      asking you
        asking     to confirm.
               you to confirm.
12
12                             THE
                               THE DEPONENT:
                                   DEPONENT:       Thank
                                                   Thank you.
                                                         you.

13
13            Q.
              Q.        You
                        You cited
                            cited -- you cited the
                                     you cited the data from the
                                                   data from the
14
14      West Virginia Department
        West Virginia            of Health
                      Department of Health and
                                           and Human
                                               Human

15
15      Services in
        Services in your
                    your report as we're
                         report as       looking at.
                                   we're looking at.
16
16      Correct,
        Correct, Doctor?
                 Doctor?

17
17            A.
              A.        Yes, that's
                        Yes, that's right.
                                    right.
18
18            Q.
              Q.        Okay.
                        Okay.     Do
                                  Do you
                                     you recall -- I
                                         recall -- I mean, this is
                                                     mean, this is
19
19      significant.
        significant.            We're talking about
                                We're talking about trends
                                                    trends in
                                                           in opioid
                                                              opioid
20
20      and nonopioid
        and nonopioid drug
                      drug overdoses
                           overdoses in
                                     in West
                                        West Virginia.
                                             Virginia.

21
21      This is a
        This is   significant report
                a significant        from the
                              report from the Department of
                                              Department of

22
22      Health and
        Health and Human
                   Human Services.
                         Services.
23
23                             Would
                               Would you
                                     you agree
                                         agree with
                                               with me on that,
                                                    me on that, this
                                                                this
24
24      type of
        type of report is significant
                report is             to the
                          significant to the case?
                                             case?



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1
1                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

2
2             A.
              A.        There are --
                        There are -- there
                                     there are
                                           are dozens of reports
                                               dozens of reports

3
3       and publications
        and publications that
                         that are
                              are significant
                                  significant to
                                              to the
                                                 the case.
                                                     case.
4
4       And I
        And I guess
              guess I
                    I would just highlight
                      would just           that as
                                 highlight that as I note
                                                   I note

5
5       here, just two
        here, just two sentences
                       sentences later,
                                 later, "for
                                        "for every
                                             every glimmer
                                                   glimmer
6
6       of hope,
        of       there are
           hope, there are other
                           other signs that the
                                 signs that the epidemic
                                                epidemic is
                                                         is
7
7       as active
        as active as
                  as ever."
                     ever."            You know
                                       You      --
                                           know --

8
8             Q.
              Q.        All right.
                        All right.     So let
                                       So let me
                                              me --
                                                 -- let
                                                    let me
                                                        me ask
                                                           ask you
                                                               you

9
9       about that.
        about that.
10
10                             MR. BURNETT:
                               MR. BURNETT:      Counsel -- Counsel,
                                                 Counsel -- Counsel, I
                                                                     I

11
11      don't
        don't believe
              believe Doctor Alexander was
                      Doctor Alexander     finished with
                                       was finished with

12
12      his answer.
        his answer.

13
13            Q.
              Q.        I didn't mean
                        I didn't      to cut
                                 mean to cut you off, Doctor
                                             you off, Doctor

14
14      Alexander.
        Alexander.         Would
                           Would you like to
                                 you like to say something else?
                                             say something else?
15
15            A.
              A.        Yes.
                        Yes.     Thank
                                 Thank you.
                                       you.      So my
                                                 So    point is
                                                    my point is that
                                                                that --
                                                                     --
16
16      that as
        that as I
                I note just a
                  note just   few sentences
                            a few sentences later,
                                            later, "For
                                                   "For
17
17      every glimmer
        every         of hope,
              glimmer of       there are
                         hope, there are other
                                         other signs
                                               signs that
                                                     that
18
18      the epidemic
        the epidemic is
                     is as
                        as active
                           active as
                                  as ever,
                                     ever, many
                                           many barriers
                                                barriers

19
19      persist."
        persist."

20
20                             I
                               I cite information that
                                 cite information that "Cabell
                                                       "Cabell County
                                                               County
21
21      EMS reported
        EMS reported that
                     that the
                          the number of overdoses
                              number of overdoses that
                                                  that they
                                                       they
22
22      responded to in
        responded to in May
                        May of
                            of 2020
                               2020 was two to
                                    was two to three
                                               three times
                                                     times
23
23      higher than the
        higher than the prior"
                        prior" --
24
24            Q.
              Q.        Can
                        Can I stop you
                            I stop     there --
                                   you there -- can
                                                can I stop you
                                                    I stop you



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1
1       there?
        there?      I
                    I don't
                      don't want to interrupt
                            want to interrupt --
                                              -- but
                                                 but whether
                                                     whether

2
2       you just --
        you just --
3
3                           MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, Counsel,
                                                       Counsel,

4
4       really,
        really, you
                you have to let
                    have to let him finish his
                                him finish     answer.
                                           his answer.

5
5                           MS. GEIST:
                            MS. GEIST:     Well, this is
                                           Well, this is going to be
                                                         going to be
6
6       a long
        a long deposition
               deposition if
                          if Doctor Alexander is
                             Doctor Alexander is going to
                                                 going to

7
7       read to me
        read to    paragraphs from
                me paragraphs from his
                                   his report.
                                       report.

8
8                           MR. BURNETT:
                            MR. BURNETT:      You're asking him
                                              You're asking     to
                                                            him to

9
9       read from his
        read from     report also.
                  his report also.              You can't
                                                You       interrupt him
                                                    can't interrupt him

10
10      to --
        to -- to
              to interrupt
                 interrupt him to ask
                           him to ask if
                                      if you
                                         you can interrupt
                                             can interrupt

11
11      him.
        him.

12
12            A.
              A.        I
                        I won't
                          won't read a lot
                                read a lot from
                                           from my
                                                my report, and I
                                                   report, and I

13
13      certainly am
        certainly am all
                     all for
                         for trying
                             trying to
                                    to provide
                                       provide you the
                                               you the

14
14      information you
        information     need in
                    you need in as
                                as efficient
                                   efficient a
                                             a means as
                                               means as

15
15      possible.
        possible.

16
16                          But my
                            But my point
                                   point here is that
                                         here is that I
                                                      I relied
                                                        relied

17
17      upon
        upon dozens of important
             dozens of important references and sources
                                 references and         of
                                                sources of

18
18      information for
        information for the
                        the information
                            information that
                                        that I've
                                             I've provided,
                                                  provided,

19
19      and that
        and that for
                 for every
                     every glimmer
                           glimmer of
                                   of hope, there are
                                      hope, there     other
                                                  are other

20
20      signs that
        signs that the
                   the epidemic
                       epidemic is
                                is as
                                   as active
                                      active as ever within
                                             as ever within

21
21      the community.
        the community.
22
22            Q.
              Q.        And one
                        And one of
                                of the
                                   the signs
                                       signs of
                                             of the
                                                the epidemic
                                                    epidemic --
                                                             -- and
                                                                and

23
23      a few
        a few times
              times you've
                    you've referred addiction, correct?
                           referred addiction, correct?

24
24      The issue here
        The issue      of what
                  here of what we're
                               we're really talking about
                                     really talking about


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1
1       relates to addiction,
        relates to addiction, correct?
                              correct?
2
2             A.
              A.        Well,
                        Well, I
                              I note addiction in
                                note addiction in contrast to the
                                                  contrast to the
3
3       term "abuse"
        term "abuse" which
                     which I
                           I have concerns about
                             have concerns       because of
                                           about because of
4
4       the ways
        the      that I
            ways that   think the
                      I think the epidemic
                                  epidemic has
                                           has been
                                               been

5
5       misconstrued as
        misconstrued    an epidemic
                     as an epidemic of
                                    of abuse,
                                       abuse, and
                                              and I
                                                  I don't
                                                    don't

6
6       believe that
        believe that that's
                     that's the
                            the case.
                                case.                I think it's
                                                     I think it's an
                                                                  an

7
7       epidemic of
        epidemic of addiction.
                    addiction.
8
8                           Addiction isn't
                            Addiction isn't the
                                            the only
                                                only thing
                                                     thing that's
                                                           that's
9
9       important here.
        important here.         There
                                There are
                                      are many
                                          many people
                                               people without
                                                      without

10
10      opioid use
        opioid     disorder that
               use disorder that still
                                 still have a --
                                       have a -- that
                                                 that
11
11      engage in
        engage in nonmedical
                  nonmedical use or have
                             use or      otherwise been
                                    have otherwise been
12
12      impacted by
        impacted by the
                    the epidemic.
                        epidemic.
13
13                          I
                            I mean, consider --
                              mean, consider -- consider
                                                consider children
                                                         children

14
14      who
        who have been orphaned.
            have been orphaned.            So
                                           So I
                                              I don't
                                                don't want to suggest
                                                      want to suggest
15
15      it's addiction
        it's addiction kind of front,
                       kind of front, center, 24/7, 365.
                                      center, 24/7, 365.

16
16      But I
        But I also think that
              also think that addiction
                              addiction is
                                        is a
                                           a better frame,
                                             better frame,

17
17      a better
        a better lens
                 lens through
                      through which to view
                              which to view the
                                            the epidemic
                                                epidemic
18
18      than is
        than is the
                the term
                    term "abuse."
                         "abuse."
19
19                          Because abuse
                            Because abuse is
                                          is a
                                             a behavior and
                                               behavior and

20
20      addiction is
        addiction is a
                     a disease.
                       disease.            And they
                                           And they require
                                                    require very,
                                                            very,

21
21      very
        very different interventions.
             different interventions.

22
22            Q.
              Q.        And addiction
                        And addiction being a disease,
                                      being a disease, you
                                                       you have
                                                           have

23
23      some familiarity
        some familiarity and
                         and awareness
                             awareness of
                                       of addiction
                                          addiction even
                                                    even
24
24      though you're
        though        not an
               you're not    addiction medical
                          an addiction medical specialist.
                                               specialist.


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1
1       Correct?
        Correct?

2
2                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

3
3             A.
              A.        I -- as
                        I -- as a
                                a practicing
                                  practicing internist,
                                             internist, I treat
                                                        I treat

4
4       patients that have
        patients that      addiction to
                      have addiction to opioids
                                        opioids and alcohol
                                                and alcohol

5
5       and tobacco
        and tobacco and
                    and other
                        other substances,
                              substances, and
                                          and so
                                              so yes,
                                                 yes, I
                                                      I

6
6       have -- insofar
        have -- insofar as
                        as it's
                           it's relevant to my
                                relevant to my report and
                                               report and

7
7       my opinions
        my opinions that
                    that I've offered, I
                         I've offered,   do have
                                       I do      an
                                            have an

8
8       understanding of addiction.
        understanding of addiction.
9
9             Q.
              Q.        Now -- and
                        Now    and so then, you're
                                   so then,        aware, Doctor
                                            you're aware, Doctor

10
10      Alexander, I
        Alexander,   assume, from
                   I assume, from your citation to
                                  your citation to the
                                                   the
11
11      Department of Health
        Department of Health and
                             and Human Services -- I'm
                                 Human Services    I'm

12
12      sorry, Department
        sorry,            of Health
               Department of Health and
                                    and Human Resources
                                        Human Resources

13
13      data, that right
        data, that right now,
                         now, people
                              people with addiction are
                                     with addiction are
14
14      looking to
        looking to move
                   move to
                        to methamphetamine
                           methamphetamine as part of
                                           as part of their
                                                      their
15
15      addiction.
        addiction.         Is that right?
                           Is that right?

16
16            A.
              A.        Are you
                        Are     --
                            you --

17
17                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    Again, if
                                                            Again, if
18
18      there's a
        there's a cite to a
                  cite to   specific document,
                          a specific document, I
                                               I would
                                                 would

19
19      suggest we
        suggest    refer to
                we refer to the
                            the document.
                                document.

20
20                          MS. GEIST:
                            MS. GEIST:     Well,
                                           Well, I
                                                 I will pull it
                                                   will pull it out,
                                                                out,
21
21      but I'm
        but I'm referring to Doctor
                referring to        Alexander's citation
                             Doctor Alexander's citation

22
22      that we're
        that       looking at
             we're looking at right
                              right here on the
                                    here on the screen in
                                                screen in

23
23      Paragraph 29
        Paragraph 29 of
                     of Footnote
                        Footnote 105,
                                 105, which is the
                                      which is the West
                                                   West

24
24      Virginia Department
        Virginia            of Health
                 Department of Health and Human Resources
                                      and Human Resources



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1
1       data from overdose
        data from overdose incidents
                           incidents in
                                     in 2018.
                                        2018.
2
2             Q.
              Q.        I'm just
                        I'm just asking
                                 asking you
                                        you generally,
                                            generally, Doctor
                                                       Doctor

3
3       Alexander:
        Alexander:         You're
                           You're not
                                  not disagreeing that there
                                      disagreeing that there has
                                                             has

4
4       been a
        been a significant
               significant increase
                           increase in
                                    in overdose
                                       overdose deaths
                                                deaths

5
5       relating to methamphetamine
        relating to methamphetamine in
                                    in Cabell
                                       Cabell County/
                                              County/

6
6       Huntington from
        Huntington from 2014
                        2014 to
                             to 2018?
                                2018?                That's
                                                     That's what the data
                                                            what the data

7
7       tells us,
        tells     correct?
              us, correct?

8
8                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.         I'm
                                                                 I'm not
                                                                     not

9
9       seeing that
        seeing that in
                    in Paragraph
                       Paragraph 29.
                                 29.
10
10                          MS. GEIST:
                            MS. GEIST:     I'm
                                           I'm not referring to
                                               not referring to
11
11      Paragraph 29.
        Paragraph 29.
12
12            Q.
              Q.        Can
                        Can you answer my
                            you answer my question,
                                          question, Doctor
                                                    Doctor

13
13      Alexander?
        Alexander?         Would
                           Would you agree with
                                 you agree      me that
                                           with me that from
                                                        from 2014
                                                             2014
14
14      to 2018,
        to 2018, that
                 that there
                      there has been a
                            has been a significant
                                       significant increase
                                                   increase
15
15      in overdose
        in overdose deaths involving methamphetamine?
                    deaths involving methamphetamine?
16
16                          MR. BURNETT:
                            MR. BURNETT:      Same objection.
                                              Same objection.
17
17            A.
              A.        It would
                        It would be
                                 be helpful to review
                                    helpful to        any
                                               review any

18
18      particular reference together,
        particular reference together, but
                                       but I
                                           I believe that
                                             believe that

19
19      it is
        it is the
              the case that --
                  case that -- that
                               that overdoses
                                    overdoses of
                                              of
20
20      methamphetamine have
        methamphetamine      increased over
                        have increased over the
                                            the time
                                                time frame
                                                     frame
21
21      that you
        that     inquire about.
             you inquire about.
22
22            Q.
              Q.        A significant
                        A significant increase.
                                      increase.             Agree with
                                                            Agree      me on
                                                                  with me on
23
23      that?
        that?

24
24                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.



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1
1             Q.
              Q.        The
                        The percentages in the
                            percentages in the document that you
                                               document that you

2
2       cite in
        cite in your
                your report
                     report go from 3
                            go from 3 percent of overdose
                                      percent of overdose
3
3       deaths involving meth
        deaths involving meth in
                              in 2014 to 36
                                 2014 to 36 percent of
                                            percent of

4
4       overdose deaths
        overdose deaths involving
                        involving meth
                                  meth in
                                       in 2018.
                                          2018.
5
5                           You
                            You know that to
                                know that to be the case,
                                             be the       don't
                                                    case, don't

6
6       you,
        you, Doctor?
             Doctor?

7
7                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.    Again,
                                                             Again,

8
8       Counsel, the numbers
        Counsel, the         that you're
                     numbers that        referring are
                                  you're referring are not
                                                       not

9
9       on the
        on the face
               face of
                    of the
                       the report.
                           report.               If we
                                                 If we want to look
                                                       want to look at
                                                                    at

10
10      the exhibit,
        the exhibit, I suggest we
                     I suggest    do that.
                               we do that.
11
11                          It's
                            It's not fair to
                                 not fair to ask
                                             ask him to confirm
                                                 him to confirm
12
12      specific numbers
        specific numbers in
                         in a
                            a document that he
                              document that he doesn't
                                               doesn't have
                                                       have

13
13      in front
        in front of
                 of him.
                    him.

14
14            Q.
              Q.        You
                        You cite that report
                            cite that        from the
                                      report from the Department of
                                                      Department of

15
15      Health and
        Health and Human
                   Human Resources
                         Resources in
                                   in your expert report,
                                      your expert report,

16
16      do
        do you
           you not,
               not, Doctor Alexander?
                    Doctor Alexander?

17
17            A.
              A.        Along with
                        Along with 650 some others,
                                   650 some others, yes,
                                                    yes, I
                                                         I do.
                                                           do.

18
18            Q.
              Q.        Okay.
                        Okay.   And --
                                And -- but in general,
                                       but in general, I assume in
                                                       I assume in
19
19      your
        your research and work
             research and      in the
                          work in the case,
                                      case, you
                                            you are
                                                are well
                                                    well

20
20      aware of
        aware of the
                 the significant
                     significant increase
                                 increase of
                                          of
21
21      methamphetamine-related overdose
        methamphetamine-related overdose deaths
                                         deaths in
                                                in Cabell
                                                   Cabell

22
22      County/Huntington.
        County/Huntington.

23
23                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

24
24            Q.
              Q         Is that
                        Is that fair?
                                fair?


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1
1                           MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
2
2       answered.
        answered.

3
3             A.
              A.        I believe there
                        I believe there have
                                        have been increases in
                                             been increases in
4
4       overdoses from
        overdoses from methamphetamine in this
                       methamphetamine in this community
                                               community

5
5       and in
        and in other
               other communities around the
                     communities around the country,
                                            country, yes.
                                                     yes.

6
6             Q.
              Q.        Now, you
                        Now, you mentioned earlier that
                                 mentioned earlier that you
                                                        you had
                                                            had

7
7       reviewed the Netflix
        reviewed the         Heroin(e) documentary.
                     Netflix Heroin(e) documentary.
8
8       Remember that?
        Remember that?
9
9             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
10
10            Q.
              Q.        Okay.
                        Okay.   And one
                                And one of
                                        of the
                                           the --
                                               -- one
                                                  one of
                                                      of the
                                                         the women
                                                             women

11
11      highlighted in that
        highlighted in that documentary is Jan
                            documentary is     Rader.
                                           Jan Rader.                 Do
                                                                      Do

12
12      you recall that?
        you recall that?
13
13            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

14
14            Q.
              Q.        Okay.
                        Okay.   And do
                                And do you -- did
                                       you -- did you
                                                  you read the
                                                      read the

15
15      deposition that she
        deposition that she provided in connection
                            provided in connection with
                                                   with

16
16      this case?
        this case?
17
17            A.
              A.        I don't recall
                        I don't recall having done so,
                                       having done so, no.
                                                       no.

18
18            Q.
              Q.        Okay.
                        Okay.   If I
                                If   represented to
                                   I represented to you that Jan
                                                    you that Jan

19
19      Rader testified
        Rader testified that
                        that crystal
                             crystal meth
                                     meth is
                                          is making
                                             making a
                                                    a

20
20      comeback in
        comeback in Cabell
                    Cabell County/Huntington
                           County/Huntington and that there
                                             and that there
21
21      are --
        are -- the
               the current
                   current trends
                           trends that
                                  that are
                                       are concerning the
                                           concerning the

22
22      community involve
        community involve the
                          the influx
                              influx of
                                     of crystal
                                        crystal meth and
                                                meth and

23
23      that is
        that is eclipsing
                eclipsing heroin
                          heroin and fentanyl, any
                                 and fentanyl, any reason
                                                   reason

24
24      to disagree
        to disagree with
                    with her perspective?
                         her perspective?



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1
1                          MR. BURNETT:
                           MR. BURNETT:        Objection.
                                               Objection.       We
                                                                We don't
                                                                   don't

2
2       have the transcript
        have the transcript in
                            in front
                               front of
                                     of us.
                                        us.

3
3             Q.
              Q.        We can take
                        We can take a
                                    a look
                                      look at
                                           at it,
                                              it, Doctor Alexander.
                                                  Doctor Alexander.

4
4       We'll
        We'll pull it later.
              pull it later.           But if
                                       But if that's
                                              that's what
                                                     what Jan Rader
                                                          Jan Rader

5
5       said, I
        said,   assume you
              I assume you would agree with
                           would agree with her
                                            her

6
6       perspective,
        perspective, given that she's
                     given that she's on the ground
                                      on the        in
                                             ground in

7
7       Cabell
        Cabell County/Huntington.
               County/Huntington.

8
8             A.
              A.        It would
                        It would be
                                 be helpful
                                    helpful -- if
                                               if I'm asked about
                                                  I'm asked about
9
9       it and
        it and if
               if we're going to
                  we're going to look
                                 look at the transcript,
                                      at the transcript, it
                                                         it
10
10      would
        would be
              be helpful to look
                 helpful to look while
                                 while I'm
                                       I'm answering --
                                           answering --

11
11      before I
        before   answer.
               I answer.          I
                                  I don't
                                    don't know the context
                                          know the         of the
                                                   context of the
12
12      questions that were
        questions that      asked.
                       were asked.               But I
                                                 But   think in
                                                     I think    general
                                                             in general

13
13      -- I
        --   think, you
           I think, you know,
                        know, my
                              my report focuses on
                                 report focuses    opioids
                                                on opioids

14
14      and abating
        and abating opioid
                    opioid related
                           related harms.
                                   harms.                    So --
                                                             So --

15
15                         But I'd
                           But     be happy
                               I'd be       to look
                                      happy to look at
                                                    at her
                                                       her -- her
                                                              her

16
16      deposition and her
        deposition and     testimony if
                       her testimony if that's
                                        that's helpful to
                                               helpful to

17
17      do so.
        do so.

18
18            Q.
              Q.        I assume though,
                        I assume though, I mean, Doctor
                                         I mean,        Alexander,
                                                 Doctor Alexander,

19
19      you don't reside
        you don't        and live
                  reside and live in
                                  in the
                                     the Cabell
                                         Cabell County/
                                                County/

20
20      Huntington community;
        Huntington community; is
                              is that
                                 that true?
                                      true?
21
21            A.
              A.        That is true.
                        That is true.     I live in
                                          I live in Baltimore,
                                                    Baltimore,
22
22      Maryland.
        Maryland.

23
23            Q.
              Q.        Okay.
                        Okay.   So -- and
                                So    and somebody
                                          somebody like
                                                   like Jan Rader
                                                        Jan Rader

24
24      who lives in
        who lives in the
                     the community,
                         community, if
                                    if from
                                       from her
                                            her perspective
                                                perspective



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1
1       the current
        the current issue
                    issue relates to an
                          relates to an uptick in crystal
                                        uptick in crystal

2
2       meth, I
        meth,   assume you
              I assume you would
                           would defer to her
                                 defer to     as somebody
                                          her as somebody
3
3       living there
        living there as to what
                     as to      the current
                           what the current issues
                                            issues are
                                                   are
4
4       facing the
        facing the community.
                   community.
5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             Q.
              Q         Is that
                        Is that fair?
                                fair?
7
7                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    He
                                                            He said that
                                                               said that

8
8       he
        he can't speak to
           can't speak to what
                          what she testified to
                               she testified to without
                                                without

9
9       looking at
        looking at it.
                   it.
10
10                          MS. GEIST:
                            MS. GEIST:     I
                                           I understood that.
                                             understood that.

11
11            Q.
              Q.        But if
                        But if that's
                               that's what she said,
                                      what she said, I
                                                     I assume that
                                                       assume that

12
12      you
        you would
            would not -- you
                  not -- you would
                             would not think that
                                   not think that you
                                                  you have
                                                      have

13
13      more information
        more information than
                         than somebody
                              somebody living
                                       living in
                                              in the
                                                 the
14
14      community.
        community.         Is that right,
                           Is that right, Doctor?
                                          Doctor?

15
15                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

16
16            A.
              A.        I mean, this
                        I mean, this feels
                                     feels to
                                           to me
                                              me a
                                                 a bit
                                                   bit of a false
                                                       of a false
17
17      dichotomy.
        dichotomy.         I don't --
                           I don't -- I
                                      I don't -- I
                                        don't -- I wouldn't be
                                                   wouldn't be

18
18      surprised to
        surprised to know that there
                     know that there are
                                     are individuals
                                         individuals that
                                                     that
19
19      are using
        are using methamphetamine and that
                  methamphetamine and that the
                                           the community is
                                               community is

20
20      -- is
           is being impacted by
              being impacted by that.
                                that.
21
21                          But I
                            But   don't think
                                I don't think --
                                              -- you
                                                 you know,
                                                     know, I think
                                                           I think

22
22      if I
        if I heard correctly, you
             heard correctly,     said something
                              you said something to
                                                 to the
                                                    the
23
23      effect of
        effect of "The
                  "The issue
                       issue is
                             is X
                                X rather than Y"
                                  rather than Y" and
                                                 and I --
                                                     I --

24
24      it feels
        it feels to
                 to me
                    me like
                       like a false dichotomy.
                            a false dichotomy.


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1
1                           I
                            I don't
                              don't know that anybody
                                    know that anybody --
                                                      -- it
                                                         it would
                                                            would

2
2       -- it
        -- it would -- in
              would -- in my professional experience
                          my professional experience -
                                                     - and
                                                       and

3
3       based on
        based    my training
              on my training as
                             as an
                                an epidemiologist
                                   epidemiologist and as a
                                                  and as a

4
4       professor of epidemiology,
        professor of epidemiology, having
                                   having worked on the
                                          worked on the
5
5       opioid epidemic
        opioid epidemic for
                        for many
                            many years in many
                                 years in many different
                                               different

6
6       facets of
        facets of the
                  the epidemic,
                      epidemic, I don't have
                                I don't      any hesitation
                                        have any hesitation

7
7       in -- in
        in    in arguing
                 arguing that
                         that there's
                              there's an opioid epidemic
                                      an opioid epidemic
8
8       taking place
        taking place within
                     within Cabell
                            Cabell County and the
                                   County and the City
                                                  City of
                                                       of

9
9       Huntington.
        Huntington.

10
10                          So it's not
                            So it's not clear to me
                                        clear to    that --
                                                 me that -- that
                                                            that
11
11      -- there
        -- there may
                 may be individuals that
                     be individuals that use alcohol; there
                                         use alcohol; there
12
12      may be
        may be individuals
               individuals that
                           that smoke;
                                smoke; there
                                       there may be
                                             may be

13
13      individuals that
        individuals that use cocaine.
                         use cocaine.                I
                                                     I wasn't focused on
                                                       wasn't focused on
14
14      that.
        that.      I
                   I was focused on
                     was focused on --
                                    -- on
                                       on opioids.
                                          opioids.
15
15                          But I
                            But   think that
                                I think that polysubstance
                                             polysubstance use is
                                                           use is

16
16      a serious
        a serious issue,
                  issue, and
                         and I
                             I discuss in my
                               discuss in my report -- I
                                             report -- I

17
17      discuss that in
        discuss that in my
                        my report, and -- and
                           report, and    and call
                                              call that
                                                   that
18
18      out.
        out.

19
19                          So again, if
                            So again, if you'd like --
                                         you'd like

20
20            Q.
              Q.        I'm sorry,
                        I'm sorry, go
                                   go ahead.
                                      ahead.

21
21            A.
              A.        Again, if
                        Again, if you
                                  you would like to
                                      would like to review
                                                    review Jan
                                                           Jan

22
22      Rader's transcript
        Rader's transcript together
                           together or
                                    or a
                                       a specific
                                         specific data
                                                  data

23
23      point
        point on trends in
              on trends in methamphetamine
                           methamphetamine use,
                                           use, I'm
                                                I'm happy
                                                    happy

24
24      to do
        to do so.
              so.        But I
                         But I don't think it
                               don't think it diminishes from the
                                              diminishes from the


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1
1       incredible toll
        incredible toll that
                        that the
                             the community
                                 community has taken and
                                           has taken and
2
2       continues to
        continues to take
                     take from
                          from opioids.
                               opioids.

3
3             Q.
              Q.        And you
                        And you did not read
                                did not read Jan Rader's deposition
                                             Jan Rader's deposition

4
4       transcript in
        transcript in connection
                      connection with forming your
                                 with forming      opinions
                                              your opinions

5
5       in the
        in the case
               case or
                    or in
                       in preparation for your
                          preparation for your deposition.
                                               deposition.

6
6       Is that correct?
        Is that correct?

7
7             A.
              A.        That's correct.
                        That's correct.       I didn't read
                                              I didn't read her
                                                            her

8
8       transcript.
        transcript.           But I
                              But   certainly have
                                  I certainly      -- I'm
                                              have --     familiar
                                                      I'm familiar

9
9       with
        with who she is,
             who she is, and
                         and I
                             I have reviewed other
                               have reviewed other
10
10      materials in
        materials in the
                     the case
                         case that
                              that I think are
                                   I think     informed by
                                           are informed by
11
11      her expertise and
        her expertise and her
                          her value to the
                              value to the community as a
                                           community as a
12
12      -- as
           as a
              a community
                community member.
                          member.

13
13            Q.
              Q.        And in
                        And in terms
                               terms of
                                     of what
                                        what drugs the -- or
                                             drugs the    or
14
14      illicit substances
        illicit substances that
                           that the
                                the community
                                    community is
                                              is currently
                                                 currently
15
15      dealing
        dealing with,
                with, you
                      you would
                          would defer - in
                                defer - in your
                                           your own
                                                own words -
                                                    words -

16
16      to her
        to     expertise.
           her expertise.           Is that correct?
                                    Is that correct?

17
17                            MR. BURNETT:
                              MR. BURNETT:      Objection.
                                                Objection.

18
18            A.
              A.        No.
                        No.    I'm sorry,
                               I'm sorry, I -- did
                                          I -- did I say that
                                                   I say that I
                                                              I would
                                                                would

19
19      defer to her?
        defer to her?           I
                                I don't -- I
                                  don't --   mean, I
                                           I mean,   don't think
                                                   I don't think
20
20      that this
        that this is
                  is a
                     a matter of deference.
                       matter of deference.                   I think --
                                                              I think -- I
                                                                         I

21
21      mean, what
        mean,      -- can
              what -- can you ask the
                          you ask the question again,
                                      question again,

22
22      please?
        please?

23
23            Q.
              Q.        No, I'm
                        No, I'm going to move
                                going to move on
                                              on to
                                                 to something else.
                                                    something else.

24
24                            In terms of
                              In terms of --
                                          -- you've
                                             you've mentioned a few
                                                    mentioned a few


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1
1       times the
        times the opioid
                  opioid epidemic.
                         epidemic.              Would
                                                Would you agree with
                                                      you agree with me
                                                                     me

2
2       that there
        that there --
                   -- if
                      if there
                         there is
                               is an
                                  an opioid
                                     opioid epidemic
                                            epidemic
3
3       currently in
        currently in Cabell
                     Cabell County/Huntington, it is
                            County/Huntington, it is not
                                                     not a
                                                         a

4
4       prescription opioid epidemic?
        prescription opioid epidemic?                Can
                                                     Can we agree on
                                                         we agree on --
                                                                     --
5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
6
6       answered.
        answered.

7
7                           MS. GEIST:
                            MS. GEIST:     No,
                                           No, I didn't answer
                                               I didn't answer --
                                                               -- I
                                                                  I

8
8       didn't ask that
        didn't ask that question
                        question before.
                                 before.

9
9             Q.
              Q.        Can
                        Can we agree on
                            we agree on that,
                                        that, Doctor Alexander,
                                              Doctor Alexander,

10
10      that to
        that to the
                the extent
                    extent there
                           there is
                                 is a
                                    a current opioid
                                      current opioid

11
11      epidemic today
        epidemic today in
                       in Cabell
                          Cabell County/Huntington,
                                 County/Huntington, can
                                                    can we
                                                        we

12
12      agree it
        agree it is
                 is not a prescription
                    not a              opioid epidemic?
                          prescription opioid epidemic?
13
13                          MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
14
14      answered.
        answered.

15
15            A.
              A.        Yeah, I
                        Yeah, I don't -- I
                                don't -- I wouldn't -- I
                                           wouldn't --   think
                                                       I think

16
16      we've
        we've discussed this, and
              discussed this, and in
                                  in considering,
                                     considering, for
                                                  for
17
17      example, whether
        example,         there is
                 whether there is a
                                  a fentanyl
                                    fentanyl epidemic,
                                             epidemic, I
                                                       I

18
18      believe earlier
        believe earlier in
                        in our
                           our conversation
                               conversation we
                                            we discussed
                                               discussed

19
19      whether or not
        whether or not there
                       there was
                             was a
                                 a current fentanyl
                                   current fentanyl

20
20      epidemic or
        epidemic or something
                    something to
                              to that
                                 that effect.
                                      effect.
21
21                          And the
                            And the bottom
                                    bottom line
                                           line is
                                                is that
                                                   that --
                                                        -- that
                                                           that
22
22      prescription opioids have
        prescription opioids      played a
                             have played a very important
                                           very important

23
23      role in the
        role in the genesis of the
                    genesis of the epidemic
                                   epidemic and
                                            and that
                                                that many
                                                     many
24
24      people
        people who use intravenous
               who use intravenous opioids
                                   opioids initiated
                                           initiated with
                                                     with



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1
1       prescription opioids, and
        prescription opioids, and my
                                  my report doesn't require
                                     report doesn't require

2
2       disaggregating the relative
        disaggregating the          contributions of
                           relative contributions of
3
3       different types of
        different types of opioids
                           opioids to
                                   to overall
                                      overall
4
4       opioid-related morbidity
        opioid-related morbidity and mortality.
                                 and mortality.

5
5                          If
                           If you look at
                              you look at the
                                          the molecular
                                              molecular structure
                                                        structure

6
6       of OxyContin
        of OxyContin and compare it
                     and compare it with the molecular
                                    with the molecular

7
7       structure of
        structure of heroin, they're virtually
                     heroin, they're virtually

8
8       indistinguishable and
        indistinguishable     their effects
                          and their effects on
                                            on the
                                               the brain
                                                   brain
9
9       and the
        and the body
                body are
                     are virtually indistinguishable, and
                         virtually indistinguishable, and
10
10      so it
        so it should
              should come
                     come as no surprise
                          as no surprise when
                                         when you
                                              you have the
                                                  have the

11
11      volume of opioids,
        volume of opioids, prescription
                           prescription opioids,
                                        opioids, coming
                                                 coming
12
12      into the
        into the market
                 market as
                        as has
                           has occurred in Cabell
                               occurred in Cabell County
                                                  County

13
13      and the
        and the City of Huntington
                City of Huntington that
                                   that --
                                        -- that
                                           that many
                                                many

14
14      adverse outcomes
        adverse outcomes are
                         are going
                             going to
                                   to ensue,
                                      ensue, and that's
                                             and that's

15
15      exactly what
        exactly what has taken place.
                     has taken place.

16
16                         So certainly there
                           So certainly there are
                                              are people that use
                                                  people that use

17
17      heroin and certainly
        heroin and certainly there
                             there are
                                   are people that use
                                       people that use

18
18      fentanyl, and
        fentanyl, and there
                      there are
                            are plenty of people
                                plenty of        that use
                                          people that use

19
19      prescription opioids nonmedically
        prescription opioids nonmedically or
                                          or have
                                             have addiction
                                                  addiction

20
20      to them.
        to them.        So I
                        So   -- I
                           I -- I prefer
                                  prefer not to frame
                                         not to frame the
                                                      the opioid
                                                          opioid
21
21      epidemic as
        epidemic as one
                    one of
                        of a
                           a particular
                             particular substance.
                                        substance.
22
22                         I think fortunately,
                           I think fortunately, perhaps, there
                                                perhaps, there

23
23      are evidence-based
        are evidence-based treatments
                           treatments that
                                      that work
                                           work very,
                                                very, very
                                                      very

24
24      well
        well whether or not
             whether or not one
                            one is
                                is using
                                   using heroin
                                         heroin or that
                                                or that



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1
1       started with
        started with prescription opioids or
                     prescription opioids or whether one is
                                             whether one is
2
2       using
        using prescription opioids alone.
              prescription opioids alone.                     We
                                                              We have
                                                                 have

3
3       evidence-based treatments,
        evidence-based treatments, and
                                   and we
                                       we have
                                          have many other
                                               many other

4
4       abatement interventions
        abatement interventions that
                                that have a terrific
                                     have a terrific body
                                                     body
5
5       of evidence
        of evidence to
                    to support
                       support them.
                               them.
6
6                           So -- so
                            So -- so I'm not sure
                                     I'm not      that it
                                             sure that it is
                                                          is
7
7       necessary, nor was
        necessary, nor was I asked to
                           I asked to disaggregate or
                                      disaggregate or

8
8       design one abatement
        design one abatement plan
                             plan for
                                  for people that were
                                      people that were

9
9       still using
        still using prescription opioids nonmedically
                    prescription opioids nonmedically or
                                                      or
10
10      addicted to
        addicted to them
                    them and
                         and a
                             a second
                               second abatement
                                      abatement plan for
                                                plan for

11
11      people
        people using
               using heroin or illicit
                     heroin or illicit fentanyl.
                                       fentanyl.
12
12            Q.
              Q.        Right.
                        Right.   Just to be
                                 Just to    clear, your
                                         be clear, your abatement
                                                        abatement

13
13      plan, the interventions
        plan, the interventions and
                                and the
                                    the programs that
                                        programs that

14
14      you're proposing here
        you're proposing      for the
                         here for the individuals
                                      individuals living
                                                  living in
                                                         in
15
15      Cabell
        Cabell County/Huntington, those apply
               County/Huntington, those apply to
                                              to all
                                                 all
16
16      individuals who
        individuals     may have
                    who may      opioid use
                            have opioid use disorder or
                                            disorder or

17
17      haven't -- or
        haven't -- or have
                      have not
                           not met the diagnostic
                               met the diagnostic criteria
                                                  criteria

18
18      for opioid
        for opioid use
                   use disorder.
                       disorder.

19
19                          Your
                            Your programs apply to
                                 programs apply to all
                                                   all of those
                                                       of those

20
20      people
        people whether or not
               whether or     they are
                          not they are users of illicit
                                       users of illicit
21
21      opioids or
        opioids or prescription
                   prescription opioids.
                                opioids.                     Is that correct?
                                                             Is that correct?

22
22                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

23
23            A.
              A.        Well,
                        Well, my
                              my abatement plan includes
                                 abatement plan includes
24
24      interventions to
        interventions to conduct
                         conduct public education campaigns
                                 public education campaigns



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1
1       about pain
        about      management; it
              pain management; it includes
                                  includes workforce
                                           workforce

2
2       preparation; it includes
        preparation; it includes community
                                 community resiliency; it
                                           resiliency; it

3
3       includes care
        includes care for
                      for families,
                          families, grief
                                    grief support.
                                          support.               It
                                                                 It

4
4       includes many
        includes many things.
                      things.
5
5                           My point
                            My point is,
                                     is, it
                                         it includes
                                            includes --
                                                     -- my
                                                        my point
                                                           point

6
6       is, it
        is, it includes
               includes many
                        many things
                             things beyond
                                    beyond treatment
                                           treatment for
                                                     for
7
7       addiction.
        addiction.        But --
                          But -- but
                                 but those
                                     those parts
                                           parts of my report
                                                 of my report

8
8       that are
        that are focused
                 focused on
                         on treatment
                            treatment provide treatment for
                                      provide treatment for
9
9       the community
        the community of
                      of individuals
                         individuals with opioid use
                                     with opioid use

10
10      disorder, and
        disorder, and they
                      they do
                           do not disaggregate whether
                              not disaggregate whether or
                                                       or

11
11      not the opioid
        not the opioid use disorder arises
                       use disorder arises from
                                           from
12
12      prescription opioids or
        prescription opioids or heroin that began
                                heroin that began with
                                                  with

13
13      prescription opioids, etc.
        prescription opioids, etc.
14
14            Q.
              Q.        Okay.
                        Okay.   So is
                                So is that
                                      that a
                                           a long-winded
                                             long-winded way of
                                                         way of

15
15      saying, yes,
        saying, yes, I'm correct, your
                     I'm correct,      proposed abatement,
                                  your proposed abatement,

16
16      intervention and
        intervention and programs do not
                         programs do     depend on
                                     not depend    any
                                                on any

17
17      individual having
        individual having used
                          used prescription opioids at
                               prescription opioids at any
                                                       any

18
18      point in time?
        point in time?          Is that
                                Is that fair?
                                        fair?
19
19                          MR. BURNETT:
                            MR. BURNETT:       I object to
                                               I object to the
                                                           the
20
20      characterization of
        characterization of the
                            the witness' testimony as
                                witness' testimony as
21
21      long-winded.
        long-winded.

22
22            A.
              A.        And that
                        And that --
                                 --
23
23            Q.
              Q.        I feel like
                        I feel like we're
                                    we're going to have
                                          going to      a long
                                                   have a long day
                                                               day

24
24      here,
        here, Doctor Alexander, so
              Doctor Alexander, so I'm trying to
                                   I'm trying to cut
                                                 cut


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1
1       through some
        through      information.
                some information.             If
                                              If you
                                                 you could focus on
                                                     could focus on my
                                                                    my

2
2       question
        question without
                 without providing any narrative,
                         providing any narrative, I
                                                  I would
                                                    would

3
3       appreciate it.
        appreciate it.
4
4                           MR. BURNETT:
                            MR. BURNETT:      And I
                                              And I would say, Doctor
                                                    would say, Doctor

5
5       Alexander, answer
        Alexander, answer as
                          as you
                             you see fit.
                                 see fit.                   If
                                                            If you feel like
                                                               you feel like
6
6       her question is
        her question is not
                        not fair
                            fair or
                                 or that
                                    that you
                                         you need to add
                                             need to add
7
7       context, please
        context, please do
                        do so.
                           so.
8
8             Q.
              Q.        Again, Doctor
                        Again, Doctor Alexander,
                                      Alexander, my
                                                 my question is --
                                                    question is

9
9       and we
        and we will
               will get to the
                    get to the --
                               -- to
                                  to the
                                     the plan
                                         plan that
                                              that you
                                                   you have
                                                       have

10
10      in place
        in       in this
           place in this case
                         case and
                              and the
                                  the interventions
                                      interventions and
                                                    and
11
11      programs that you
        programs that you are
                          are proposing.
                              proposing.

12
12                          But with
                            But with respect to the
                                     respect to the individuals
                                                    individuals
13
13      who may benefit
        who may         from such
                benefit from such a
                                  a plan,
                                    plan, from
                                          from your
                                               your

14
14      perspective, those individuals
        perspective, those individuals are
                                       are anyone
                                           anyone with
                                                  with

15
15      opioid use
        opioid     disorder and
               use disorder and it
                                it doesn't
                                   doesn't matter
                                           matter whether
                                                  whether

16
16      or not
        or     they ever
           not they ever used a prescription
                         used a              opioid.
                                prescription opioid.                   Is
                                                                       Is

17
17      that correct?
        that correct?
18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19                          Wait, did we
                            Wait, did    lose the
                                      we lose the witness
                                                  witness --

20
20                          VIDEO OPERATOR:
                            VIDEO OPERATOR:        Yeah,
                                                   Yeah, we lost the
                                                         we lost the
21
21      witness.
        witness.         Let's go off
                         Let's go off the
                                      the record
                                          record real
                                                 real quick.
                                                      quick.

22
22                          MR. BURNETT:
                            MR. BURNETT:      Okay.
                                              Okay.

23
23                          VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 11:30.
                                                               11:30.

24
24      We are now
        We are     off the
               now off the record.
                           record.



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1
1                           (A discussion was
                            (A discussion was had
                                              had off the record
                                                  off the record

2
2                           after which
                            after       the proceedings
                                  which the             continued
                                            proceedings continued

3
3                           as follows:)
                            as follows:)

4
4                           VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 11:33,
                                                               11:33, we
                                                                      we

5
5       are now
        are now back on the
                back on the record.
                            record.

6
6       BY MS.
        BY MS. GEIST:
               GEIST:

7
7             A.
              A.        I apologize, Ms.
                        I apologize, Ms. Geist.
                                         Geist.             I apparently was
                                                            I apparently was

8
8       booted from
        booted from the
                    the wi-fi
                        wi-fi network, but I'm
                              network, but I'm back.
                                               back.

9
9                          And I
                           And   believe where
                               I believe where we left off,
                                               we left off, I
                                                            I

10
10      wanted to apologize,
        wanted to apologize, you
                             you know, for anything
                                 know, for          that's
                                           anything that's

11
11      long-winded and
        long-winded and do
                        do want to try
                           want to try to
                                       to provide
                                          provide you
                                                  you with
                                                      with

12
12      the information
        the information that
                        that you
                             you need.
                                 need.

13
13                          If there's any
                            If there's any further
                                           further question that
                                                   question that

14
14      you'd like to
        you'd like to ask
                      ask me about where
                          me about where we left off,
                                         we left off, I'm
                                                      I'm

15
15      happy to try
        happy to try to
                     to answer.
                        answer.
16
16            Q.
              Q.        Well, and I
                        Well, and I -- I appreciate that,
                                       I appreciate that, Doctor,
                                                          Doctor,

17
17      very much.
        very much.        So thank
                          So thank you for that.
                                   you for that.
18
18                          I think I'm
                            I think I'm asking
                                        asking what
                                               what I
                                                    I hope is a
                                                      hope is a

19
19      pretty simple question,
        pretty simple question, but
                                but let
                                    let me try it
                                        me try it again.
                                                  again.

20
20                          In
                            In your proposed abatement
                               your proposed abatement plan that
                                                       plan that

21
21      you're putting forward
        you're putting forward on behalf of
                               on behalf of plaintiffs in
                                            plaintiffs in

22
22      this case,
        this case, in
                   in terms
                      terms of
                            of treatment,
                               treatment, the
                                          the treatment
                                              treatment
23
23      aspects of
        aspects of the
                   the program, it does
                       program, it does not matter whether
                                        not matter whether

24
24      or not
        or     an individual
           not an individual with opioid use
                             with opioid use disorder ever
                                             disorder ever



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1
1       used a prescription
        used a prescription opioid.
                            opioid.               Isn't that true?
                                                  Isn't that true?
2
2             A.
              A.        Yes, that
                        Yes, that is
                                  is true.
                                     true.
3
3             Q.
              Q.        Okay, thank
                        Okay, thank you.
                                    you.      And I
                                              And   assume you
                                                  I assume you will
                                                               will

4
4       agree with
        agree      me that
              with me that there
                           there are likely individuals
                                 are likely individuals in
                                                        in
5
5       Cabell
        Cabell County/Huntington
               County/Huntington who
                                 who have opioid use
                                     have opioid use

6
6       disorder
        disorder who
                 who have
                     have never
                          never used a prescription
                                used a prescription opioid.
                                                    opioid.
7
7       Do
        Do you agree with
           you agree with me on that?
                          me on that?
8
8                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

9
9             A.
              A.        Yes, I
                        Yes,   believe that's
                             I believe that's likely.
                                              likely.         Although the
                                                              Although the

10
10      -- the
        -- the oversupply
               oversupply of
                          of prescription
                             prescription opioids
                                          opioids has
                                                  has

11
11      changed --
        changed -- it
                   it affects
                      affects local
                              local markets
                                    markets for
                                            for other
                                                other

12
12      products, including heroin,
        products, including         so you
                            heroin, so you know,
                                           know, we
                                                 we had a
                                                    had a

13
13      long discussion
        long            around causation,
             discussion around            and I'm
                               causation, and I'm --
                                                  -- I
                                                     I

14
14      don't
        don't want to, you
              want to, you know,
                           know, have that discussion
                                 have that            all
                                           discussion all

15
15      over again
        over again unless
                   unless it's
                          it's helpful for you,
                               helpful for you, but
                                                but I
                                                    I guess
                                                      guess

16
16      my point
        my       is that
           point is that even
                         even somebody
                              somebody who
                                       who uses
                                           uses heroin
                                                heroin de
                                                       de

17
17      novo could potentially
        novo could potentially be
                               be using it because
                                  using it         of local
                                           because of local
18
18      heroin markets that
        heroin markets that have flourished because
                            have flourished because of
                                                    of the
                                                       the
19
19      number of individuals
        number of individuals who
                              who have developed opioid
                                  have developed opioid use
                                                        use

20
20      disorder from the
        disorder from the oversupply
                          oversupply of
                                     of prescription
                                        prescription

21
21      opioids.
        opioids.

22
22            Q.
              Q.        Under -- understood.
                        Under -- understood.         But you
                                                     But     agree with
                                                         you agree with

23
23      me, I
        me, I assume, that there's
              assume, that there's certainly
                                   certainly people in
                                             people in

24
24      Cabell
        Cabell County/Huntington
               County/Huntington who
                                 who would
                                     would be beneficiaries
                                           be beneficiaries



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1
1       of your
        of your proposed
                proposed plan should --
                         plan should -- should
                                        should any
                                               any aspect
                                                   aspect
2
2       of it
        of it be ordered by
              be ordered by the
                            the Court, there are
                                Court, there are

3
3       individuals who
        individuals     are heroin
                    who are heroin users
                                   users who
                                         who have
                                             have never
                                                  never

4
4       touched a
        touched a prescription
                  prescription opioid.
                               opioid.                 Correct?
                                                       Correct?

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        There
                        There may be such
                              may be such individuals,
                                          individuals, but
                                                       but I think
                                                           I think

7
7       it's harder
        it's        to know,
             harder to       for example,
                       know, for example, whether they
                                          whether they

8
8       would
        would not
              not have
                  have developed
                       developed heroin
                                 heroin use or heroin
                                        use or heroin use
                                                      use

9
9       disorder but for
        disorder but for the
                         the oversupply
                             oversupply of
                                        of prescription
                                           prescription

10
10      opioids into
        opioids into the
                     the community.
                         community.
11
11            Q.
              Q.        But again,
                        But again, just
                                   just so I'm sure
                                        so I'm sure I
                                                    I have
                                                      have an
                                                           an

12
12      understanding of your
        understanding of      answer, there
                         your answer, there could
                                            could be
                                                  be

13
13      individuals in
        individuals in Cabell
                       Cabell County/Huntington
                              County/Huntington who
                                                who would
                                                    would

14
14      be beneficiaries
        be               of your
           beneficiaries of your plan, should that
                                 plan, should that plan
                                                   plan go
                                                        go

15
15      forward, who
        forward, who have
                     have never
                          never used a prescription
                                used a prescription opioid
                                                    opioid
16
16      ever?
        ever?

17
17                          You agree with
                            You agree      me on
                                      with me on that?
                                                 that?
18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
19
19      answered.
        answered.

20
20            Q.
              Q.        Same --
                        Same -- so
                                so those
                                   those are
                                         are with
                                             with respect to heroin
                                                  respect to heroin

21
21      users.
        users.      I assume that
                    I assume that you
                                  you will agree with
                                      will agree with me that
                                                      me that

22
22      there could
        there       be fentanyl
              could be fentanyl or
                                or carfentanil
                                   carfentanil users
                                               users who
                                                     who

23
23      would
        would be beneficiaries of
              be beneficiaries of your
                                  your plan should that
                                       plan should that go
                                                        go

24
24      forward who
        forward who had never, in
                    had never, in the
                                  the past,
                                      past, used a
                                            used a



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1
1       prescription opioid?
        prescription opioid?

2
2                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

3
3             Q.
              Q.        You agree with
                        You agree      me on
                                  with me on that?
                                             that?
4
4             A.
              A.        My abatement
                        My abatement plan is to
                                     plan is to address
                                                address the
                                                        the opioid
                                                            opioid
5
5       epidemic and
        epidemic and I
                     I don't think it's
                       don't think it's good
                                        good science or
                                             science or

6
6       good
        good public
             public health to --
                    health to -- to
                                 to try
                                    try to
                                        to compartmentalize
                                           compartmentalize

7
7       interventions.
        interventions.

8
8                           Heroin and prescription
                            Heroin and              opioids are
                                       prescription opioids are
9
9       much more
        much more similar
                  similar than
                          than they
                               they are
                                    are different in many
                                        different in many
10
10      important ways,
        important       as we've
                  ways, as we've discussed, and I
                                 discussed, and I also --
                                                  also --

11
11      it's also
        it's also the
                  the case
                      case that
                           that --
                                -- that
                                   that the
                                        the oversupply
                                            oversupply of
                                                       of

12
12      prescription opioids has
        prescription opioids     impacted the
                             has impacted the heroin market
                                              heroin market

13
13      and the
        and the local
                local markets
                      markets for
                              for other
                                  other substances.
                                        substances.
14
14                          But yes,
                            But      it's certainly
                                yes, it's           the case
                                          certainly the case that
                                                             that
15
15      there may
        there may be
                  be recipients of, say,
                     recipients of, say, improved
                                         improved treatment
                                                  treatment
16
16      access or
        access or recipients of naloxone
                  recipients of          after an
                                naloxone after an overdose
                                                  overdose
17
17      that receive
        that         interventions who
             receive interventions who have
                                       have not
                                            not used
                                                used

18
18      prescription opioids themselves
        prescription opioids themselves before initiating
                                        before initiating

19
19      heroin
        heroin use.
               use.

20
20            Q.
              Q.        And following
                        And following along that line,
                                      along that line, there
                                                       there may be
                                                             may be

21
21      individuals who
        individuals     are users
                    who are       of heroin,
                            users of         fentanyl or
                                     heroin, fentanyl or
22
22      carfentanil, all
        carfentanil, all illicit
                         illicit opioids,
                                 opioids, who
                                          who used
                                              used

23
23      prescription opioids in
        prescription opioids in the
                                the past
                                    past but
                                         but in
                                             in a
                                                a

24
24      nonmedical
        nonmedical way and not
                   way and not under the care
                               under the care and
                                              and treatment
                                                  treatment


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1
1       of a
        of a physician.
             physician.

2
2                           Do
                            Do you agree with
                               you agree      me that
                                         with me that these
                                                      these
3
3       individuals would
        individuals would also
                          also be beneficiaries of
                               be beneficiaries of your
                                                   your

4
4       plan?
        plan?

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        I mean, I
                        I mean,   -- we
                                I --    -- we
                                     we --    could discuss
                                           we could         -- and
                                                    discuss -- and
7
7       there is
        there is helpful information on
                 helpful information on the
                                        the ways that
                                            ways that

8
8       opioids are
        opioids are used medically and
                    used medically and nonmedically and the
                                       nonmedically and the
9
9       sources of
        sources of nonmedical
                   nonmedical use, and it
                              use, and it turns
                                          turns out - as
                                                out - as
10
10      you may be
        you may    aware -
                be aware - that
                           that many
                                many individuals
                                     individuals that
                                                 that use
                                                      use

11
11      opioids nonmedically
        opioids              get them
                nonmedically get them from
                                      from friends
                                           friends or
                                                   or
12
12      family that,
        family that, in
                     in turn,
                        turn, get them from
                              get them from licensed
                                            licensed
13
13      prescribers.
        prescribers.

14
14                          So
                            So I think that's
                               I think that's an
                                              an important
                                                 important sort
                                                           sort of
                                                                of
15
15      conversation to
        conversation to have, but yes,
                        have, but      there are
                                  yes, there are

16
16      individuals that
        individuals that could
                         could receive services or
                               receive services or

17
17      treatment that
        treatment that I suggest that
                       I suggest that may
                                      may use
                                          use heroin or
                                              heroin or

18
18      fentanyl or
        fentanyl or carfentanil
                    carfentanil that
                                that was preceded by
                                     was preceded by

19
19      nonmedical prescription opioid
        nonmedical prescription opioid use, that didn't
                                       use, that didn't

20
20      arise directly
        arise          from a
              directly from   licensed prescriber.
                            a licensed prescriber.
21
21            Q.
              Q.        And because
                        And because you've mentioned it
                                    you've mentioned it a
                                                        a couple
                                                          couple
22
22      times, Doctor
        times,        Alexander, and
               Doctor Alexander, and you're a medical
                                     you're a medical
23
23      doctor, I
        doctor,   assume you
                I assume     agree with
                         you agree with me that the
                                        me that the
24
24      molecular structure
        molecular structure of
                            of methamphetamine is not
                               methamphetamine is     a
                                                  not a



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1
1       close chemical
        close chemical analog
                       analog to
                              to opioids.
                                 opioids.
2
2                           Is that correct?
                            Is that correct?
3
3                           MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

4
4             A.
              A.        I
                        I mean,
                          mean, I've
                                I've not looked at
                                     not looked at the
                                                   the molecular
                                                       molecular
5
5       structure and
        structure and compared
                      compared it.
                               it.               The information about
                                                 The information about
6
6       OxyContin and
        OxyContin and heroin came from
                      heroin came from the
                                       the Nora Volkow and
                                           Nora Volkow and

7
7       the national
        the          directors of
            national directors of health, and there's
                                  health, and there's a
                                                      a
8
8       very compelling
        very compelling graphic
                        graphic that
                                that --
                                     -- that
                                        that --
                                             -- in
                                                in which
                                                   which

9
9       she lines
        she lines these
                  these up and shows
                        up and shows that
                                     that you essentially
                                          you essentially

10
10      are just
        are just like
                 like flipping
                      flipping one
                               one carbon
                                   carbon molecule
                                          molecule and
                                                   and
11
11      moving a
        moving a hydroxyl group over
                 hydroxyl group over or
                                     or something
                                        something like
                                                  like
12
12      that.
        that.

13
13                          So I've
                            So      not compared
                               I've not          the organic
                                        compared the organic
14
14      chemical structure
        chemical structure of
                           of methamphetamine and opioids
                              methamphetamine and opioids
15
15      in order
        in order to
                 to be able to
                    be able to address
                               address your
                                       your question.
                                            question.

16
16            Q.
              Q.        So let
                        So let me
                               me just
                                  just make
                                       make sure
                                            sure I
                                                 I understand.
                                                   understand.            I
                                                                          I

17
17      understand
        understand you
                   you haven't done a
                       haven't done   thorough analysis,
                                    a thorough analysis,

18
18      but it's
        but it's pretty
                 pretty well
                        well known, isn't it,
                             known, isn't it, that
                                              that
19
19      methamphetamine is
        methamphetamine is not a close
                           not a close chemical analog to
                                       chemical analog to
20
20      opioids?
        opioids?

21
21                          I mean, we
                            I mean,    can agree
                                    we can agree --
                                                 --
22
22                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

23
23            Q.
              Q         -- on
                        --    that, can't
                           on that, can't we?
                                          we?

24
24                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.   This is
                                                             This is



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1
1       outside the
        outside the scope
                    scope of
                          of his
                             his report.
                                 report.                       He said
                                                               He      that he's
                                                                  said that he's

2
2       not testifying as
        not testifying as to
                          to methamphetamine.
                             methamphetamine.
3
3             Q.
              Q.        Meth is
                        Meth is --
                                -- methamphetamine is chemically
                                   methamphetamine is chemically

4
4       different from opioids.
        different from opioids.               Can
                                              Can we agree on
                                                  we agree on that?
                                                              that?
5
5             A.
              A.        Yes, it
                        Yes, it is.
                                is.
6
6             Q.
              Q.        Okay.
                        Okay.     Thank
                                  Thank you.
                                        you.       Doctor
                                                   Doctor Alexander,
                                                          Alexander, going
                                                                     going

7
7       back to
        back to my earlier questions
                my earlier questions about
                                     about people in the
                                           people in the
8
8       community who
        community who have OUD and
                      have OUD and never
                                   never used a
                                         used a

9
9       prescription opioid, do
        prescription opioid, do you also agree
                                you also agree that
                                               that there
                                                    there
10
10      are individuals
        are individuals in
                        in Cabell
                           Cabell County/Huntington
                                  County/Huntington who
                                                    who

11
11      have HIV and
        have HIV and have
                     have never
                          never used a prescription
                                used a prescription opioid?
                                                    opioid?
12
12            A.
              A.        Yes.
                        Yes.

13
13            Q.
              Q.        Are there
                        Are there also
                                  also individuals
                                       individuals in
                                                   in Cabell
                                                      Cabell

14
14      County/Huntington
        County/Huntington who
                          who have
                              have Hepatitis or Hep
                                   Hepatitis or Hep C and
                                                    C and

15
15      have
        have never used a
             never used a prescription opioid?
                          prescription opioid?

16
16            A.
              A.        I'd like
                        I'd like to
                                 to qualify
                                    qualify my
                                            my last
                                               last answer.
                                                    answer.                I
                                                                           I

17
17      would
        would believe so.
              believe so.

18
18                             And that's
                               And that's how
                                          how I
                                              I would
                                                would respond to this
                                                      respond to this
19
19      query
        query about Hepatitis C
              about Hepatitis   also.
                              C also.                   Keep in
                                                        Keep in mind that an
                                                                mind that an

20
20      incredibly large
        incredibly large number of individuals
                         number of individuals receive
                                               receive

21
21      opioids at
        opioids at some
                   some point
                        point in
                              in time.
                                 time.
22
22                             So many, many
                               So many,      individuals receive
                                        many individuals         -- I
                                                         receive -- I

23
23      mean, a
        mean, a remarkably
                remarkably high
                           high number of individuals
                                number of individuals
24
24      receive
        receive a
                a prescription for opioids
                  prescription for opioids at some point
                                           at some point in
                                                         in


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1
1       time.
        time.      So I
                   So I would
                        would have to carefully
                              have to carefully look
                                                look at
                                                     at the
                                                        the
2
2       evidence base
        evidence base in
                      in order
                         order to
                               to --
                                  -- in
                                     in order
                                        order to
                                              to more
                                                 more
3
3       definitively answer your
        definitively answer your question.
                                 question.

4
4                          But yes,
                           But      that's --
                               yes, that's -- that's
                                              that's my
                                                     my reply.
                                                        reply.

5
5             Q.
              Q.        Doctor,
                        Doctor, do
                                do you agree with
                                   you agree with me that there
                                                  me that there are
                                                                are

6
6       likely individuals
        likely individuals in
                           in Cabell
                              Cabell County/Huntington
                                     County/Huntington who
                                                       who

7
7       have infectious endocarditis
        have infectious endocarditis and
                                     and have never used
                                         have never used a
                                                         a

8
8       prescription opioid?
        prescription opioid?

9
9             A.
              A.        Yes, I
                        Yes,   believe that's
                             I believe that's probably
                                              probably the
                                                       the case.
                                                           case.

10
10            Q.
              Q.        In terms of
                        In terms of individuals
                                    individuals in
                                                in Cabell
                                                   Cabell

11
11      County/Huntington
        County/Huntington who are intravenous
                          who are intravenous drug
                                              drug users
                                                   users

12
12      who
        who have acquired HIV,
            have acquired HIV, Hepatitis
                               Hepatitis C
                                         C or infectious
                                           or infectious

13
13      endocarditis, can
        endocarditis, can you agree with
                          you agree      me that
                                    with me that those
                                                 those
14
14      intravenous drug
        intravenous drug users
                         users are
                               are using illicit opioids,
                                   using illicit opioids,
15
15      either heroin,
        either         fentanyl or
               heroin, fentanyl or carfentanil?
                                   carfentanil?

16
16            A.
              A.        Well, if --
                        Well, if --
17
17                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

18
18            A.
              A.        If they're
                        If they're intravenous
                                   intravenous drug
                                               drug users and
                                                    users and

19
19      they're using
        they're       opioids, then
                using opioids, then they're
                                    they're either
                                            either crushing
                                                   crushing
20
20      and injecting
        and injecting prescription
                      prescription opioids
                                   opioids or they're
                                           or they're

21
21      injecting nonprescription
        injecting                 opioids.
                  nonprescription opioids.

22
22            Q.
              Q.        Okay.
                        Okay.   These are not
                                These are not individuals
                                              individuals who are
                                                          who are

23
23      users of opioids
        users of opioids prescribed and under
                         prescribed and       the care
                                        under the care of a
                                                       of a

24
24      physician for treatment.
        physician for treatment.             Correct?
                                             Correct?



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1
1                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

2
2       Mischaracterizes the
        Mischaracterizes the testimony.
                             testimony.
3
3             A.
              A.        They may be
                        They may be --

4
4             Q.
              Q.        Let me
                        Let    ask --
                            me ask -- go ahead.
                                      go ahead.             I'm sorry.
                                                            I'm sorry.   Go
                                                                         Go

5
5       ahead.
        ahead.

6
6             A.
              A.        I
                        I was
                          was going to say,
                              going to say, they
                                            they may be; and
                                                 may be;     they
                                                         and they

7
7       may not
        may not be.
                be.         I
                            I mean,
                              mean, I
                                    I don't think that
                                      don't think that one
                                                       one can
                                                           can

8
8       conclude that
        conclude that just
                      just because
                           because someone
                                   someone is
                                           is using
                                              using

9
9       intravenous opioids
        intravenous opioids that
                            that they're
                                 they're not
                                         not simultaneously
                                             simultaneously
10
10      using
        using prescription opioids.
              prescription opioids.

11
11                          And the
                            And the source
                                    source of
                                           of those
                                              those prescription
                                                    prescription

12
12      opioids may
        opioids     be individual
                may be individual prescribers
                                  prescribers with direct
                                              with direct

13
13      engagement with
        engagement      those prescribers,
                   with those prescribers, or it may
                                           or it may be
                                                     be
14
14      through friends
        through friends or
                        or family
                           family or
                                  or through
                                     through dealers.
                                             dealers.                     You
                                                                          You

15
15      know, there are
        know, there are many
                        many different
                             different potential
                                       potential sources
                                                 sources of
                                                         of
16
16      those opioids.
        those opioids.
17
17            Q.
              Q.        But I
                        But   assume you
                            I assume you would agree with
                                         would agree      me that
                                                     with me that
18
18      all intravenous
        all intravenous drug
                        drug users in Cabell
                             users in Cabell

19
19      County/Huntington, if they
        County/Huntington, if they are
                                   are using opioids,
                                       using opioids,

20
20      they're using
        they're       it in
                using it in a legal or
                            a legal or illicit
                                       illicit way.
                                               way.

21
21                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

22
22            A.
              A.        It may
                        It may not
                               not be the only
                                   be the only source
                                               source of
                                                      of opioids
                                                         opioids
23
23      that they're
        that they're using,
                     using, but if they
                            but if they are
                                        are injecting
                                            injecting --
                                                      -- if
                                                         if
24
24      you are asking
        you are asking whether injecting opioids
                       whether injecting opioids is
                                                 is


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1
1       illegal, the
        illegal, the answer
                     answer is
                            is yes.
                               yes.

2
2                       I
                        I mean,
                          mean, unless it's done
                                unless it's done under the
                                                 under the

3
3       care of
        care of a licensed health
                a licensed        care provider.
                           health care provider.            But --
                                                            But --
4
4       but generally
        but generally and
                      and typically
                          typically here,
                                    here, we're talking
                                          we're talking

5
5       about individuals
        about individuals that
                          that are -- that
                               are -- that are injecting
                                           are injecting

6
6       opioids because
        opioids         they're addicted,
                because they're addicted, and
                                          and because,
                                              because, you
                                                       you

7
7       know, opioid addiction
        know, opioid addiction is,
                               is, you
                                   you know,
                                       know, characterized
                                             characterized

8
8       by powerful
        by          compulsions to
           powerful compulsions to use
                                   use with incredible
                                       with incredible

9
9       dysphoria
        dysphoria when one undergoes
                  when one undergoes withdrawal.
                                     withdrawal.

10
10                      And this
                        And this is
                                 is why -- this
                                    why -- this is
                                                is one
                                                   one reason
                                                       reason

11
11      why the epidemic
        why the epidemic has been so
                         has been so devastating.
                                     devastating.

12
12                      MS. GEIST:
                        MS. GEIST:     Let me ask
                                       Let me ask our
                                                  our litigation
                                                      litigation
13
13      technology expert
        technology expert if
                          if he
                             he has the document
                                has the document I
                                                 I had
                                                   had sent
                                                       sent

14
14      that we
        that we can
                can publish
                    publish as
                            as an exhibit, Exhibit
                               an exhibit, Exhibit 2?
                                                   2?
15
15                      John, do you
                        John, do you have that and
                                     have that and are able to
                                                   are able to
16
16      publish it to
        publish it to the
                      the witness,
                          witness, please?
                                   please?

17
17                      MR. BURNETT:
                        MR. BURNETT:      Exhibit 2
                                          Exhibit   -- Exhibit
                                                  2 -- Exhibit 2
                                                               2
18
18      was
        was his
            his deposition transcript.
                deposition transcript.

19
19                      MS. GEIST:
                        MS. GEIST:     Exhibit 3.
                                       Exhibit 3.       Sorry, my
                                                        Sorry, my bad.
                                                                  bad.

20
20      Exhibit 3.
        Exhibit 3.

21
21                      MR. BURNETT:
                        MR. BURNETT:      Do
                                          Do you
                                             you want
                                                 want us to open
                                                      us to open
22
22      the tab,
        the tab, the
                 the envelope?
                     envelope?
23
23                      MS. GEIST:
                        MS. GEIST:     No,
                                       No, Counsel, just for
                                           Counsel, just for the
                                                             the
24
24      record,
        record, Doctor Alexander expressed
                Doctor Alexander expressed a
                                           a number of
                                             number of



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1
1       times wanting
        times         to look
              wanting to look at
                              at the
                                 the document that he
                                     document that he cited
                                                      cited

2
2       in his
        in his report from the
               report from the West Virginia Department
                               West Virginia            of
                                             Department of

3
3       Human Resources,
        Human Resources, so
                         so I
                            I would like to
                              would like to show
                                            show that
                                                 that to
                                                      to
4
4       him since it
        him since it is
                     is cited
                        cited in
                              in his
                                 his report and we
                                     report and    talked
                                                we talked

5
5       about it
        about it quite
                 quite a
                       a bit
                         bit if
                             if that
                                that is
                                     is agreeable.
                                        agreeable.
6
6                          MR. BURNETT:
                           MR. BURNETT:       Subject to
                                              Subject to Doctor
                                                         Doctor

7
7       Alexander confirming,
        Alexander confirming, if
                              if he can, that
                                 he can, that it's
                                              it's the
                                                   the same
                                                       same

8
8       document that he
        document that    cites.
                      he cites.

9
9                          MS. GEIST:
                           MS. GEIST:      Sure.
                                           Sure.

10
10                          VIDEO
                            VIDEO TECH:
                                  TECH:     I'm currently
                                            I'm currently pulling
                                                          pulling

11
11      down that document
        down that document now.
                           now.            This is John
                                           This is      Matthews,
                                                   John Matthews,

12
12      your tech support.
        your tech support.         I
                                   I need a few
                                     need a few moments
                                                moments to
                                                        to pull it
                                                           pull it

13
13      up on the
        up on the screen.
                  screen.
14
14                         MS. GEIST:
                           MS. GEIST:      Thank
                                           Thank you.
                                                 you.

15
15                         MR. BURNETT:
                           MR. BURNETT:       Counsel, are you
                                              Counsel, are you getting
                                                               getting

16
16      that document
        that          from the
             document from the materials
                               materials we
                                         we provided by
                                            provided by

17
17      Sharefile or
        Sharefile or from
                     from the
                          the Internet or --
                              Internet or --
18
18                         MS. GEIST:
                           MS. GEIST:      Yes.
                                           Yes. So --
                                                So --

19
19      BY MS.
        BY MS. GEIST:
               GEIST:

20
20            Q.
              Q.        Just for the
                        Just for the record,
                                     record, Doctor Alexander, I
                                             Doctor Alexander,   am
                                                               I am

21
21      referring to the
        referring to the document that you
                         document that you refer to on
                                           refer to on page
                                                       page

22
22      11 of your
        11 of      report at
              your report at Footnote
                             Footnote 105,
                                      105, and this is
                                           and this is the
                                                       the
23
23      West Virginia Department
        West Virginia            of Health
                      Department of Health and
                                           and Human
                                               Human

24
24      Resources report
        Resources        on overdose
                  report on overdose deaths appear to
                                     deaths appear to be
                                                      be


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1
1       declining" dated
        declining" dated September
                         September 5th,
                                   5th, 2019.
                                        2019.
2
2                           MR. BURNETT:
                            MR. BURNETT:      Same question.
                                              Same question.      Are you
                                                                  Are you

3
3       getting that here
        getting that      from the
                     here from the Internet link here
                                   Internet link      in
                                                 here in

4
4       the footnote,
        the footnote, or
                      or are
                         are you
                             you getting that from
                                 getting that from the
                                                   the
5
5       materials we
        materials we provided?
                     provided?

6
6                           MS. GEIST:
                            MS. GEIST:     Does it make
                                           Does it make a
                                                        a difference?
                                                          difference?

7
7                           MR. BURNETT:
                            MR. BURNETT:      It
                                              It may in terms
                                                 may in terms of
                                                              of his
                                                                 his

8
8       ability to
        ability to confirm
                   confirm that
                           that that
                                that is
                                     is the
                                        the same
                                            same document
                                                 document

9
9       that he
        that he used.
                used.

10
10                          MS. GEIST:
                            MS. GEIST:     Okay.
                                           Okay.       Well, can we
                                                       Well, can    -- can
                                                                 we -- can
11
11      we
        we put it up
           put it    on the
                  up on the screen
                            screen and
                                   and see
                                       see what
                                           what Doctor
                                                Doctor

12
12      Alexander has
        Alexander     to say?
                  has to say?
13
13            A.
              A.        Is this
                        Is this related to Tab
                                related to Tab 3,
                                               3, or
                                                  or unrelated to
                                                     unrelated to

14
14      Tab
        Tab 3?
            3?

15
15            Q.
              Q.        Unrelated to Tab
                        Unrelated to Tab 3.
                                         3.

16
16            A.
              A.        Okay.
                        Okay.

17
17                  ALEXANDER DEPOSITION
                    ALEXANDER            EXHIBIT NO.
                              DEPOSITION EXHIBIT NO. 3
                                                     3

18
18                          (WV
                            (WV DHHR
                                DHHR publication, "Gov. Justice
                                     publication, "Gov.         -
                                                        Justice -

19
19                          DHHR
                            DHHR Data
                                 Data Suggests
                                      Suggests West
                                               West Virginia
                                                    Virginia

20
20                          Overdose Deaths
                            Overdose        Appear to
                                     Deaths Appear to be
                                                      be

21
21                          Declining"
                            Declining" dated
                                       dated 9-5-19
                                             9-5-19 was marked for
                                                    was marked for
22
22                          identification purposes
                            identification purposes as
                                                    as Alexander
                                                       Alexander

23
23                          Deposition Exhibit No.
                            Deposition Exhibit No. 3.)
                                                   3.)

24
24            Q.
              Q         Here we
                        Here we go.
                                go.   So Doctor
                                      So        Alexander, I
                                         Doctor Alexander,   asked
                                                           I asked



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1
1       you some questions
        you some questions earlier
                           earlier about
                                   about whether
                                         whether you
                                                 you had
                                                     had

2
2       reviewed the data
        reviewed the      from the
                     data from the West
                                   West Virginia
                                        Virginia Department
                                                 Department

3
3       of Health
        of        and Human
           Health and Human Resources
                            Resources that
                                      that was
                                           was reporting on
                                               reporting on

4
4       preliminary anticipated final
        preliminary anticipated final data from 2018
                                      data from      fatal
                                                2018 fatal

5
5       drug overdoses.
        drug overdoses.          Do
                                 Do you
                                    you remember those questions?
                                        remember those questions?

6
6             A.
              A.        I'm sorry,
                        I'm sorry, can
                                   can you please ask
                                       you please ask me that
                                                      me that

7
7       again?
        again?

8
8             Q.
              Q.        Sure.
                        Sure.   Earlier in
                                Earlier in your
                                           your deposition,
                                                deposition, we
                                                            we were
                                                               were

9
9       looking at
        looking at page
                   page 11
                        11 of
                           of your expert report,
                              your expert         Paragraph
                                          report, Paragraph

10
10      29, and
        29, and you say in
                you say in your
                           your report that there
                                report that there are
                                                  are

11
11      "glimmers of
        "glimmers of hope
                     hope with
                          with preliminary
                               preliminary data
                                           data suggesting
                                                suggesting

12
12      a 22
        a 22 to
             to 26
                26 percent
                   percent decline
                           decline in
                                   in opioid
                                      opioid overdose
                                             overdose
13
13      deaths between 2017
        deaths between 2017 and
                            and 2018
                                2018 in
                                     in Cabell
                                        Cabell County
                                               County

14
14      specifically."
        specifically."

15
15                          Do
                            Do you
                               you remember that discussion?
                                   remember that discussion?

16
16            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

17
17            Q.
              Q.        You
                        You have
                            have a
                                 a citation there for
                                   citation there for this
                                                      this
18
18      discussion, and I
        discussion, and I did
                          did not show it
                              not show it to
                                          to you at the
                                             you at the
19
19      time, so
        time, so I
                 I would like to
                   would like to do that now,
                                 do that now, because
                                              because I
                                                      I

20
20      think you
        think     asked me
              you asked me if
                           if you could see
                              you could     the underlying
                                        see the underlying

21
21      document, given
        document, given how
                        how many
                            many citations there were
                                 citations there      in
                                                 were in

22
22      your
        your report.
             report.

23
23                          And if
                            And if --
                                   --
24
24                         MS. GEIST:
                           MS. GEIST:       Can
                                            Can we just go
                                                we just    to the
                                                        go to the


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1
1       second page,
        second page, please, so I
                     please, so   can direct
                                I can direct Doctor
                                             Doctor

2
2       Alexander to
        Alexander to where
                     where his --
                           his --

3
3                           MR. BURNETT:
                            MR. BURNETT:       First of all,
                                               First of all, I
                                                             I would
                                                               would

4
4       suggest confirming
        suggest            that this
                confirming that this is
                                     is the
                                        the same
                                            same document
                                                 document

5
5       that's cited
        that's cited in
                     in his
                        his report.
                            report.

6
6                           MS. GEIST:
                            MS. GEIST:      Can
                                            Can we
                                                we go to the
                                                   go to the third
                                                             third
7
7       page,
        page, John,
              John, please?
                    please?          Maybe pop
                                     Maybe     out the
                                           pop out the first
                                                       first couple
                                                             couple
8
8       bullets?
        bullets?

9
9             Q.
              Q.        Doctor Alexander, this
                        Doctor Alexander, this is
                                               is what
                                                  what I
                                                       I was
                                                         was

10
10      referring to earlier
        referring to earlier in
                             in your
                                your deposition
                                     deposition where
                                                where you
                                                      you

11
11      wrote in your
        wrote in      report citing
                 your report citing to
                                    to this
                                       this report from
                                            report from

12
12      West Virginia Department
        West Virginia            of Health
                      Department of Health and
                                           and Human
                                               Human

13
13      Resources that
        Resources that "Cabell
                       "Cabell will see between
                               will see between a 22" "and
                                                a 22" "and
14
14      26% decline
        26% decline in
                    in overdose
                       overdose deaths."
                                deaths."
15
15                          Do
                            Do you
                               you see that?
                                   see that?

16
16            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

17
17            Q.
              Q.        Okay.
                        Okay.   Do
                                Do you
                                   you remember this --
                                       remember this -- this
                                                        this data
                                                             data
18
18      that was
        that     reported from
             was reported from the
                               the Department of Health
                                   Department of Health and
                                                        and
19
19      Human Resources
        Human Resources last
                        last year?
                             year?

20
20                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

21
21            A.
              A.        Yes, I
                        Yes,   believe I
                             I believe   do.
                                       I do.          Yes.
                                                      Yes.

22
22            Q.
              Q.        Okay.
                        Okay.   I
                                I mean, is this
                                  mean, is this familiar
                                                familiar to
                                                         to you?
                                                            you?

23
23      I'm not trying
        I'm not trying to
                       to trick
                          trick you.
                                you.                This is cited
                                                    This is cited in
                                                                  in your
                                                                     your

24
24      -- in
        -- in your footnote in
              your footnote in your report.
                               your report.                  So
                                                             So I -- I
                                                                I --   just
                                                                     I just



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1
1       want to make
        want to make sure that this
                     sure that this document
                                    document is
                                             is familiar
                                                familiar to
                                                         to
2
2       you.
        you.

3
3             A.
              A.        Yeah, yeah.
                        Yeah, yeah.     I mean, if
                                        I mean, if you
                                                   you could go to
                                                       could go to the
                                                                   the
4
4       first page,
        first page, I guess I'd
                    I guess     like to
                            I'd like to just
                                        just see the --
                                             see the -- see
                                                        see
5
5       the first
        the first page again.
                  page again.

6
6             Q.
              Q.        Sure.
                        Sure.

7
7             A.
              A.        And then
                        And then --
                                 --
8
8             Q.
              Q.        So --
                        So --
9
9             A.
              A.        Yeah.
                        Yeah.

10
10            Q.
              Q.        Yeah, so
                        Yeah,    for the
                              so for the --
                                         -- for
                                            for the
                                                the record, the
                                                    record, the

11
11      document, you
        document, you know,
                      know, describes the release
                            describes the         of
                                          release of

12
12      information from
        information from the
                         the West Virginia Department
                             West Virginia            of
                                           Department of

13
13      Health and
        Health and Human
                   Human Resources
                         Resources on
                                   on "preliminary
                                      "preliminary data
                                                   data on
                                                        on
14
14      2018 fatal
        2018 fatal drug
                   drug overdoses
                        overdoses that
                                  that suggests
                                       suggests a leveling
                                                a leveling

15
15      off or
        off or decrease
               decrease in
                        in overall
                           overall deaths."
                                   deaths."

16
16                          And then
                            And then if
                                     if we look further
                                        we look further down the
                                                        down the

17
17      document, there
        document, there is
                        is a
                           a specific
                             specific data
                                      data point
                                           point reflecting
                                                 reflecting

18
18      the decrease,
        the decrease, and
                      and then
                          then here,
                               here, Doctor Alexander, this
                                     Doctor Alexander, this
19
19      is where
        is       the Department
           where the            of Health
                     Department of        and Human
                                   Health and Human
20
20      Resources has
        Resources     an analysis,
                  has an analysis, graphically shown, of
                                   graphically shown, of
21
21      preliminary
        preliminary data and what
                    data and      they anticipate
                             what they anticipate will
                                                  will be
                                                       be

22
22      the final
        the final data.
                  data.

23
23                          And it
                            And it does
                                   does show
                                        show a
                                             a decrease of
                                               decrease of

24
24      overdoses in
        overdoses in 2018.
                     2018.            Is that right?
                                      Is that right?


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1
1                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

2
2             A.
              A.        Yeah, it
                        Yeah, it appears that while
                                 appears that while preliminary
                                                    preliminary and
                                                                and

3
3       while estimate -- while
        while estimate    while underestimating the total
                                underestimating the total
4
4       overdose deaths
        overdose deaths --
                        -- I'm
                           I'm reading the footnote
                               reading the footnote here
                                                    here

5
5       that calls
        that calls out
                   out --
                       -- so the data
                          so the      is preliminary
                                 data is preliminary and
                                                     and it
                                                         it
6
6       underestimates the total
        underestimates the total overdose
                                 overdose deaths.
                                          deaths.

7
7             Q.
              Q.        Right.
                        Right.     They are anticipating
                                   They are anticipating or
                                                         or estimating
                                                            estimating
8
8       that the
        that the final
                 final overdose
                       overdose --
                                -- overdose
                                   overdose deaths
                                            deaths will be
                                                   will be

9
9       approximately 952,
        approximately 952, which is still
                           which is still a
                                          a comparative
                                            comparative
10
10      decrease from the
        decrease from the prior
                          prior year.
                                year.                   Correct?
                                                        Correct?

11
11                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

12
12            Q.
              Q.        Is that
                        Is that yes?
                                yes?

13
13            A.
              A.        Yes.
                        Yes.     Yes, it is.
                                 Yes, it is.
14
14            Q.
              Q.        And then
                        And then if
                                 if we look underneath
                                    we look            the graphic
                                            underneath the graphic

15
15      chart here,
        chart       there's a
              here, there's a discussion about Shifts
                              discussion about Shifts in
                                                      in
16
16      Drug
        Drug Use.
             Use.         Do
                          Do you
                             you see that?
                                 see that?

17
17            A.
              A.        I do.
                        I do.     I
                                  I do.
                                    do.   I
                                          I mean,
                                            mean, I think an
                                                  I think an important
                                                             important
18
18      point to keep
        point to      in mind
                 keep in mind about
                              about numbers
                                    numbers year over year
                                            year over year

19
19      is that
        is that they're
                they're --
                        -- I mean, there
                           I mean, there are
                                         are a lot of
                                             a lot of
20
20      different
        different data
                  data points that one
                       points that one uses as an
                                       uses as an
21
21      epidemiologist in
        epidemiologist in order
                          order to
                                to understand the nature
                                   understand the        of
                                                  nature of

22
22      a problem
        a problem as
                  as complex and multi-faceted
                     complex and               as the
                                 multi-faceted as the
23
23      opioid epidemic.
        opioid epidemic.
24
24                             So
                               So I
                                  I don't -- I
                                    don't --   -- so
                                             I -- so I
                                                     I don't disagree
                                                       don't disagree



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1
1       that the
        that the preliminary
                 preliminary 2018
                             2018 data
                                  data on
                                       on --
                                          -- on
                                             on overdose
                                                overdose

2
2       deaths suggests, you
        deaths suggests, you know,
                             know, declines.
                                   declines.

3
3                           And I
                            And   think those
                                I think those are
                                              are welcome.
                                                  welcome.    But I
                                                              But I

4
4       wouldn't
        wouldn't want to, you
                 want to, you know, infer from
                              know, infer from that
                                               that some
                                                    some
5
5       broader more
        broader more general conclusion about
                     general conclusion about sort
                                              sort of
                                                   of the
                                                      the
6
6       nature of the
        nature of the --
                      -- of
                         of the
                            the problem that's faced
                                problem that's faced within
                                                     within

7
7       the community.
        the community.
8
8             Q.
              Q.        You're not
                        You're not aware
                                   aware of
                                         of any
                                            any data
                                                data that
                                                     that shows
                                                          shows any
                                                                any
9
9       preliminary or final
        preliminary or final analysis
                             analysis that
                                      that indicates
                                           indicates that
                                                     that
10
10      there is
        there is not
                 not continued
                     continued decrease in overdose
                               decrease in overdose deaths
                                                    deaths

11
11      in West
        in West Virginia in 2019
                Virginia in 2019 and 2020, are
                                 and 2020, are you?
                                               you?

12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

13
13            A.
              A.        I'm sorry,
                        I'm sorry, that
                                   that was a --
                                        was a -- a
                                                 a --
                                                   -- I
                                                      I didn't
                                                        didn't -- I
                                                                  I

14
14      mean, the
        mean, the question
                  question was
                           was --

15
15            Q.
              Q.        If my
                        If my question's bad, I'll
                              question's bad, I'll rephrase.
                                                   rephrase.

16
16            A.
              A.        Yeah.
                        Yeah.

17
17            Q.
              Q.        Are you
                        Are     aware of
                            you aware    any data
                                      of any      that indicates
                                             data that indicates
18
18      anything other
        anything other than
                       than a continued decrease
                            a continued          in
                                        decrease in

19
19      overdose deaths
        overdose deaths in
                        in West Virginia in
                           West Virginia in 2019
                                            2019 and
                                                 and 2020?
                                                     2020?
20
20                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

21
21            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

22
22            Q.
              Q.        And what
                        And      is that?
                            what is that?
23
23            A.
              A.        Well,
                        Well, I think we
                              I think    already discussed
                                      we already           one
                                                 discussed one

24
24      source of
        source of data,
                  data, which is EMS
                        which is EMS calls,
                                     calls, which
                                            which I
                                                  I believe
                                                    believe



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1
1       have increased.
        have increased.

2
2                           So Cabell County
                            So Cabell        EMS reported
                                      County EMS          that the
                                                 reported that the
3
3       number of overdoses
        number of overdoses that
                            that they
                                 they responded
                                      responded in May 2020
                                                in May 2020

4
4       were two to
        were two to three
                    three times
                          times higher than in
                                higher than in the
                                               the prior
                                                   prior
5
5       nine months.
        nine months.

6
6                           But we
                            But    also know
                                we also      that the
                                        know that the --
                                                      -- the
                                                         the COVID
                                                             COVID

7
7       pandemic
        pandemic has significantly threatened
                 has significantly threatened gains
                                              gains that
                                                    that
8
8       have been made
        have been      in reversing
                  made in           opioid-related
                          reversing opioid-related

9
9       morbidity and
        morbidity and mortality
                      mortality and
                                and many,
                                    many, many
                                          many communities
                                               communities

10
10      have
        have reported strong upticks
             reported strong         in overdose
                             upticks in overdose deaths
                                                 deaths

11
11      from opioids
        from opioids during the pandemic.
                     during the pandemic.

12
12                          So
                            So I think there
                               I think there is
                                             is a
                                                a number of --
                                                  number of --
13
13      well,
        well, as
              as I said in
                 I said in my
                           my report - which
                              report - which I
                                             I would stand
                                               would stand

14
14      by -
        by - for
             for every
                 every glimmer
                       glimmer of
                               of hope, there are
                                  hope, there are also
                                                  also

15
15      signs of
        signs of significant
                 significant work and a
                             work and   long road
                                      a long      that lies
                                             road that lies
16
16      ahead.
        ahead.

17
17            Q.
              Q.        So a
                        So a few
                             few follow-ups
                                 follow-ups to
                                            to what
                                               what you just said.
                                                    you just said.
18
18      So in
        So in terms
              terms of
                    of the
                       the recent reports and
                           recent reports and calls
                                              calls --
                                                    -- I
                                                       I

19
19      think you
        think you were
                  were referring to Cabell
                       referring to Cabell County emergency
                                           County emergency

20
20      department visits; is
        department visits; is that
                              that right?
                                   right?

21
21            A.
              A.        EMS calls.
                        EMS calls.

22
22            Q.
              Q.        EMS calls.
                        EMS calls.   You're not
                                     You're not aware
                                                aware of
                                                      of any
                                                         any annual
                                                             annual
23
23      analysis of
        analysis of data from 2019
                    data from 2019 indicating
                                   indicating an
                                              an overall
                                                 overall
24
24      increase.
        increase.         Is that
                          Is that correct?
                                  correct?


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1
1                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

2
2       Mischaracterizes the
        Mischaracterizes the testimony.
                             testimony.
3
3             A.
              A.        I don't believe
                        I don't believe that
                                        that data is available,
                                             data is available, but
                                                                but

4
4       should it
        should it become
                  become so
                         so or
                            or should it be
                               should it be available,
                                            available, I
                                                       I

5
5       would
        would be
              be happy to advise
                 happy to        the courts
                          advise the courts regarding
                                            regarding my
                                                      my

6
6       take on
        take on it.
                it.
7
7             Q.
              Q.        And the
                        And the same
                                same with 2020, there's
                                     with 2020, there's no
                                                        no data
                                                           data

8
8       available to
        available to show
                     show an overall --
                          an overall -- indicating
                                        indicating an
                                                   an
9
9       overall increase
        overall increase in
                         in overdose
                            overdose deaths in West
                                     deaths in West

10
10      Virginia or
        Virginia or Cabell
                    Cabell County in the
                           County in the calendar
                                         calendar year
                                                  year of
                                                       of

11
11      2020?
        2020?      You're not aware
                   You're not       that that
                              aware that that data exists.
                                              data exists.

12
12      Isn't that true,
        Isn't that true, Doctor --
                         Doctor --

13
13                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

14
14            Q.
              Q         --
                        -- Doctor Alexander?
                           Doctor Alexander?

15
15                          MR. BURNETT:
                            MR. BURNETT:      Objection, calls
                                              Objection, calls for
                                                               for
16
16      speculation.
        speculation.

17
17            A.
              A.        These -- you
                        These -- you know,
                                     know, we don't rely
                                           we don't rely upon
                                                         upon a
                                                              a

18
18      single source
        single source of
                      of data in the
                         data in the work that I
                                     work that I do.
                                                 do.                  And
                                                                      And

19
19      annual data,
        annual data, while valuable, can
                     while valuable, can lag.
                                         lag.               So data
                                                            So data

20
20      points such as
        points such as the
                       the one
                           one that
                               that I
                                    I cited can be
                                      cited can    quite
                                                be quite

21
21      valuable even if
        valuable even if it's
                         it's not annual or
                              not annual or finalized.
                                            finalized.                  One
                                                                        One

22
22      --
23
23            Q.
              Q.        I under --
                        I under -- I
                                   I understand
                                     understand what
                                                what you're saying.
                                                     you're saying.

24
24      My question
        My          simply was:
           question simply was:            We don't have
                                           We don't      annual data
                                                    have annual data



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1
1       from 2019,
        from 2019, or
                   or even
                      even preliminary
                           preliminary data,
                                       data, looking
                                             looking at
                                                     at
2
2       annual rates
        annual       of overdoses
               rates of overdoses in
                                  in 2020?
                                     2020?
3
3                           MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, I
                                                       I would
                                                         would remind
                                                               remind

4
4       you to please
        you to        not interrupt
               please not interrupt the
                                    the witness.
                                        witness.             I
                                                             I don't
                                                               don't

5
5       believe he
        believe he was finished with
                   was finished with his answer.
                                     his answer.

6
6             Q.
              Q.        That's all I'm
                        That's all     asking, Doctor
                                   I'm asking,        Alexander.
                                               Doctor Alexander.

7
7       Can
        Can we agree on
            we agree on that,
                        that, that
                              that data
                                   data does
                                        does not exist?
                                             not exist?

8
8             A.
              A.        I'm not
                        I'm     aware of
                            not aware    those sources
                                      of those sources of data, but
                                                       of data, but

9
9       I think there
        I think there are
                      are plenty of reasons
                          plenty of reasons for
                                            for significant
                                                significant

10
10      concern about
        concern about the
                      the state of the
                          state of the county
                                       county and
                                              and city
                                                  city with
                                                       with

11
11      respect to the
        respect to the ongoing
                       ongoing opioid epidemic.
                               opioid epidemic.

12
12            Q.
              Q.        Now, you
                        Now, you had -- I'm
                                 had --     looking at
                                        I'm looking at the
                                                       the top
                                                           top of
                                                               of
13
13      page
        page 11 of your
             11 of      report.
                   your report.

14
14                          MS. GEIST:
                            MS. GEIST:     I
                                           I do -- I
                                             do -- I do
                                                     do want to keep
                                                        want to keep

15
15      this document
        this document up
                      up yet,
                         yet, John, thank you.
                              John, thank you.

16
16            Q.
              Q.        But Doctor
                        But        Alexander, if
                            Doctor Alexander, if you could go
                                                 you could    to
                                                           go to

17
17      the top
        the top of
                of page
                   page 11
                        11 of
                           of your
                              your report, is this
                                   report, is this what
                                                   what you
                                                        you

18
18      were
        were referring
             referring me to when
                       me to when you
                                  you said that there
                                      said that there had
                                                      had

19
19      been overdose
        been overdose visits
                      visits specifically
                             specifically in
                                          in Cabell
                                             Cabell County
                                                    County

20
20      between January
        between         2019 and
                January 2019 and March
                                 March 2020?
                                       2020?
21
21            A.
              A.        Where -- where
                        Where --       -- can
                                 where -- can you
                                              you show
                                                  show where in my
                                                       where in my

22
22      report,
        report, what
                what paragraph
                     paragraph and line you're
                               and line you're referring
                                               referring

23
23      to?
        to?

24
24            Q.
              Q         Yeah, I'm
                        Yeah,     on the
                              I'm on the top
                                         top of
                                             of page
                                                page 11 of your
                                                     11 of your



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1
1       report, and it's
        report, and it's the
                         the end
                             end of
                                 of Paragraph
                                    Paragraph 25.
                                              25.
2
2             A.
              A.        No, the
                        No, the --
                                -- the
                                   the --
                                       -- if
                                          if you're asking about
                                             you're asking about my
                                                                 my
3
3       recent point about
        recent point about EMS
                           EMS calls, it's --
                               calls, it's -- it's
                                              it's at
                                                   at the
                                                      the
4
4       top of
        top of page
               page 12, and it's
                    12, and it's sort of almost
                                 sort of almost all the way
                                                all the way

5
5       through Paragraph
        through Paragraph --
                          -- I'm
                             I'm sorry,
                                 sorry, it's
                                        it's the
                                             the last
                                                 last
6
6       sentence of
        sentence of Paragraph
                    Paragraph 29.
                              29.
7
7             Q.
              Q.        I see.
                        I see.   Okay.
                                 Okay.    Well, let me
                                          Well, let me ask
                                                       ask you a
                                                           you a

8
8       couple questions.
        couple questions.          First, beginning on
                                   First, beginning on your
                                                       your data
                                                            data

9
9       point
        point at the top
              at the top of
                         of page, end of
                            page, end of Paragraph
                                         Paragraph 25,
                                                   25, here
                                                       here

10
10      you
        you write, "Between January
            write, "Between         2019 and
                            January 2019 and March
                                             March 2020,
                                                   2020,
11
11      there were
        there      122 overdose-related
              were 122 overdose-related visits to Cabell
                                        visits to Cabell

12
12      County" Emergency Departments
        County" Emergency             "for youth
                          Departments "for       aged 19
                                           youth aged 19

13
13      years
        years and
              and younger."
                  younger."

14
14                           Do
                             Do you see that?
                                you see that?
15
15            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
16
16            Q.
              Q.        Do
                        Do we
                           we know
                              know what
                                   what percentage or how
                                        percentage or     many of
                                                      how many of
17
17      those overdose-related
        those overdose-related visits
                               visits were
                                      were due to the
                                           due to the use
                                                      use

18
18      of opioids
        of opioids as
                   as opposed
                      opposed to
                              to other
                                 other illegal
                                       illegal substances,
                                               substances,
19
19      other drugs?
        other drugs?

20
20                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

21
21            A.
              A.        I
                        I would --
                          would --

22
22                          MR. BURNETT:
                            MR. BURNETT:       And again,
                                               And again, Doctor
                                                          Doctor

23
23      Alexander, if
        Alexander, if you
                      you need to look
                          need to look at
                                       at the
                                          the document
                                              document to
                                                       to
24
24      answer the
        answer the question,
                   question, please
                             please do
                                    do so.
                                       so.


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1
1             A.
              A.        Yeah, I
                        Yeah, I would
                                would want to look
                                      want to look --
                                                   -- if
                                                      if you're
                                                         you're

2
2       asking what
        asking      the source
               what the source of the overdose
                               of the overdose was for
                                               was for

3
3       these 122
        these 122 visits among youth
                  visits among       aged 19
                               youth aged 19 years or
                                             years or

4
4       younger, it would
        younger, it would be
                          be helpful to review
                             helpful to        Reference 94
                                        review Reference 94

5
5       together.
        together.

6
6             Q.
              Q.        But --
                        But -- and
                               and maybe
                                   maybe we'll
                                         we'll do that.
                                               do that.             But for
                                                                    But for
7
7       now,
        now, I mean, this
             I mean, this is
                          is your report.
                             your report.                    That is your
                                                             That is your

8
8       statement in
        statement in your
                     your report, correct?
                          report, correct?

9
9             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
10
10            Q.
              Q.        And sitting
                        And sitting here today, you
                                    here today, you can't tell me
                                                    can't tell me
11
11      that --
        that -- that
                that even
                     even a single one
                          a single one of
                                       of those
                                          those
12
12      overdose-related visits
        overdose-related        to the
                         visits to the emergency
                                       emergency department
                                                 department

13
13      related to opioids.
        related to opioids.           True?
                                      True?

14
14                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

15
15            A.
              A.        Well --
                        Well --

16
16                          MR. BURNETT:
                            MR. BURNETT:       Mischaracterizes the
                                               Mischaracterizes the
17
17      testimony.
        testimony.

18
18            A.
              A.        I think it
                        I think it would be highly
                                   would be highly unlikely that
                                                   unlikely that

19
19      that's the
        that's the case.
                   case.          I
                                  I reviewed all of
                                    reviewed all of the
                                                    the materials
                                                        materials

20
20      that are
        that are included
                 included in
                          in my
                             my report, and I
                                report, and   don't think
                                            I don't think
21
21      that I
        that I would
               would have -- while
                     have -- while I
                                   I haven't
                                     haven't had the
                                             had the

22
22      opportunity to
        opportunity to review Reference 94
                       review Reference 94 with
                                           with you,
                                                you, I
                                                     I

23
23      think it's
        think it's unlikely
                   unlikely that
                            that I
                                 I would
                                   would have included the
                                         have included the
24
24      reference if, having
        reference if,        reviewed it
                      having reviewed it --
                                         -- if
                                            if in
                                               in fact
                                                  fact it
                                                       it


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1
1       wasn't
        wasn't relevant to the
               relevant to the point that I'm
                               point that     making in
                                          I'm making in
2
2       this paragraph.
        this paragraph.

3
3                           And the
                            And the point
                                    point that
                                          that I'm trying to
                                               I'm trying to make
                                                             make

4
4       is that
        is that children and adolescents
                children and adolescents haven't been
                                         haven't been

5
5       immune from
        immune from the
                    the opioid
                        opioid epidemic
                               epidemic in
                                        in Cabell
                                           Cabell County
                                                  County

6
6       and the
        and the City of Huntington.
                City of Huntington.
7
7             Q.
              Q.        Do
                        Do you
                           you know
                               know whether any of
                                    whether any of those
                                                   those
8
8       overdose-related visits
        overdose-related        to the
                         visits to the Cabell
                                       Cabell County
                                              County

9
9       emergency department
        emergency            related to
                  department related to nonopioid
                                        nonopioid drugs
                                                  drugs

10
10      such as
        such as methamphetamine or cocaine?
                methamphetamine or cocaine?

11
11                          MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
12
12      answered.
        answered.

13
13            A.
              A.        It would
                        It would be
                                 be helpful to review
                                    helpful to        the report
                                               review the report

14
14      together --
        together -- the
                    the reference
                        reference together
                                  together if
                                           if --
                                              -- if
                                                 if you
                                                    you

15
15      have further questions
        have further questions about it.
                               about it.

16
16            Q.
              Q.        You -- Doctor,
                        You --         just to
                               Doctor, just to be
                                               be -- you
                                                     you can't
                                                         can't

17
17      answer my
        answer my questions
                  questions without looking at
                            without looking at the
                                               the
18
18      reference?
        reference?

19
19            A.
              A.        Ask me
                        Ask    the question
                            me the          again, please.
                                   question again, please.

20
20            Q.
              Q.        Sure.
                        Sure.   You can't
                                You       answer my
                                    can't answer my question
                                                    question without
                                                             without

21
21      looking at
        looking at the
                   the reference?
                       reference?              Is that what
                                               Is that what you're
                                                            you're

22
22      telling me?
        telling me?

23
23            A.
              A.        Can
                        Can you --
                            you --

24
24                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.



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1
1             A.
              A.        -- give
                        --      me the
                           give me the preceding
                                       preceding question again,
                                                 question again,

2
2       please?
        please?

3
3             Q.
              Q.        Sure, sure.
                        Sure, sure.   I think the
                                      I think the question
                                                  question was,
                                                           was,

4
4       sitting here
        sitting      today, this
                here today, this statement is in
                                 statement is in your
                                                 your

5
5       report, and what
        report, and what I
                         I would like to
                           would like to know is if
                                         know is if you can
                                                    you can

6
6       tell me
        tell me if
                if any
                   any of
                       of those
                          those overdose-related
                                overdose-related visits to
                                                 visits to

7
7       the Cabell
        the Cabell County
                   County emergency
                          emergency department
                                    department related to
                                               related to

8
8       the use
        the     of methamphetamine
            use of methamphetamine or
                                   or cocaine?
                                      cocaine?

9
9                           MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
10
10      answered.
        answered.

11
11            A.
              A.        So I
                        So   think it's
                           I think it's likely
                                        likely that
                                               that some
                                                    some did.
                                                         did.        I
                                                                     I

12
12      mean, either
        mean, either I should have
                     I should have clarified that these
                                   clarified that these
13
13      were opioid overdoses
        were opioid overdoses alone,
                              alone, but
                                     but without the
                                         without the

14
14      opportunity to
        opportunity to review the reference,
                       review the reference, I
                                             I can't tell
                                               can't tell

15
15      you
        you whether or not
            whether or     that was,
                       not that was, you
                                     you know, an oversight
                                         know, an oversight
16
16      on my
        on my part.
              part.

17
17                          But unless
                            But        that's the
                                unless that's the case -- if
                                                  case -- if you
                                                             you

18
18      told me
        told me that
                that 122 children age
                     122 children age 19
                                      19 years and younger
                                         years and younger

19
19      visited the emergency
        visited the emergency department for overdose
                              department for overdose in
                                                      in
20
20      this community,
        this community, I
                        I would expect that
                          would expect that some
                                            some of
                                                 of them
                                                    them
21
21      visited the --
        visited the -- visited the emergency
                       visited the emergency department for
                                             department for

22
22      nonopioid-related overdoses, yes.
        nonopioid-related overdoses, yes.

23
23            Q.
              Q.        And do
                        And do we
                               we know if any
                                  know if any of
                                              of them
                                                 them visited the
                                                      visited the

24
24      emergency department
        emergency            in Cabell
                  department in Cabell County based on
                                       County based on the
                                                       the


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1
1       use of prescription
        use of prescription opioids
                            opioids as
                                    as prescribed
                                       prescribed by a
                                                  by a

2
2       doctor?
        doctor?

3
3                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.     Counsel, the
                                                             Counsel, the

4
4       witness
        witness has told you
                has told     many times
                         you many times now
                                        now he
                                            he would need
                                               would need

5
5       to see
        to see the
               the document
                   document to
                            to answer these sorts
                               answer these sorts of
                                                  of
6
6       questions.
        questions.

7
7                           THE
                            THE DEPONENT:
                                DEPONENT:       Thank
                                                Thank you.
                                                      you.

8
8             A.
              A.        Yeah, I
                        Yeah,   feel --
                              I feel -- I'm
                                        I'm happy to sort
                                            happy to sort of
                                                          of -
                                                             - at
                                                               at
9
9       the highest
        the         level -
            highest level - try
                            try to
                                to be
                                   be helpful and provide
                                      helpful and provide

10
10      you
        you with my take,
            with my take, but
                          but really, if you're
                              really, if you're asking
                                                asking

11
11      detailed questions about
        detailed questions about how these 122
                                 how these     individuals
                                           122 individuals

12
12      came to
        came to overdose,
                overdose, it
                          it would
                             would be
                                   be helpful to review
                                      helpful to review

13
13      this specific
        this specific reference,
                      reference, keeping in mind
                                 keeping in mind that
                                                 that there
                                                      there
14
14      are more
        are more than
                 than 650
                      650 references
                          references within this report
                                     within this        and
                                                 report and

15
15      -- and
        -- and that
               that I
                    I relied
                      relied upon all of
                             upon all of these
                                         these in
                                               in order
                                                  order to
                                                        to
16
16      reach
        reach my conclusions.
              my conclusions.

17
17            Q.
              Q.        Now, if
                        Now, if you'd turn to
                                you'd turn to the
                                              the next
                                                  next page of your
                                                       page of your

18
18      report,
        report, Doctor --
                Doctor --

19
19                          MS. GEIST:
                            MS. GEIST:     And John,
                                           And       leave this
                                               John, leave this up on
                                                                up on

20
20      the screen,
        the screen, because
                    because I'm
                            I'm going to get
                                going to get back to it.
                                             back to it.
21
21            Q.
              Q.        But if
                        But if you turn to
                               you turn to the
                                           the next
                                               next page
                                                    page on
                                                         on your
                                                            your

22
22      expert report,
        expert report, Doctor, the top
                       Doctor, the top of
                                       of page
                                          page 12,
                                               12, you
                                                   you had
                                                       had

23
23      referred me to
        referred me to that
                       that data
                            data point, in terms
                                 point, in terms of
                                                 of the
                                                    the
24
24      number of calls
        number of       from EMS
                  calls from EMS and
                                 and Cabell
                                     Cabell County?
                                            County?



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1
1             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
2
2             Q.
              Q.        And do
                        And do you attribute that
                               you attribute that to
                                                  to the
                                                     the COVID
                                                         COVID

3
3       pandemic and the
        pandemic and the related
                         related need for isolation
                                 need for isolation and
                                                    and
4
4       stay-at-home orders
        stay-at-home orders and
                            and things
                                things of
                                       of that
                                          that nature?
                                               nature?

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        I -- I
                        I --   am not
                             I am not sure
                                      sure without much more
                                           without much more review
                                                             review

7
7       and analysis
        and analysis of
                     of precise
                        precise attribution.
                                attribution.                I think
                                                            I think

8
8       what's
        what's noteworthy is that
               noteworthy is that this
                                  this data
                                       data point
                                            point suggests
                                                  suggests

9
9       that --
        that -- that
                that --
                     -- it's
                        it's one
                             one of
                                 of many
                                    many data
                                         data points
                                              points that
                                                     that
10
10      suggests that
        suggests that there's
                      there's still
                              still significant
                                    significant concern
                                                concern

11
11      about the
        about the potential for opioid-related
                  potential for opioid-related morbidity
                                               morbidity

12
12      and mortality
        and mortality within Cabell County
                      within Cabell County and the City
                                           and the      of
                                                   City of

13
13      Huntington.
        Huntington.

14
14            Q.
              Q.        Is -- are
                        Is    are you
                                  you aware if any
                                      aware if any of
                                                   of those
                                                      those EMS
                                                            EMS
15
15      calls were
        calls      responding to
              were responding to any
                                 any increase
                                     increase in
                                              in overdoses
                                                 overdoses
16
16      from the
        from the use of prescription
                 use of prescription opioids?
                                     opioids?
17
17            A.
              A.        Again, as
                        Again, as with all --
                                  with all --
18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19            A.
              A.        I mean, as
                        I mean, as with all of
                                   with all of these
                                               these questions
                                                     questions
20
20      about statements
        about            in my
              statements in my report, it's always
                               report, it's always helpful
                                                   helpful

21
21      in order
        in order --
                 -- it's
                    it's always
                         always helpful to be
                                helpful to    able to
                                           be able to
22
22      review the report
        review the report itself
                          itself and the references
                                 and the references with
                                                    with

23
23      you.
        you.

24
24                          So if this
                            So if this is
                                       is a
                                          a reference and a
                                            reference and a data
                                                            data


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1
1       point that's of
        point that's of particular
                        particular interest,
                                   interest, I'm
                                             I'm happy to
                                                 happy to

2
2       review it with
        review it with you.
                       you.

3
3             Q.
              Q.        Okay.
                        Okay.   So sitting
                                So sitting -- but sitting here
                                              but sitting      today
                                                          here today

4
4       - without
        -         looking at
          without looking    the data
                          at the data source - you
                                      source -     can't
                                               you can't

5
5       answer my
        answer my question as to
                  question as to whether any of
                                 whether any of those
                                                those calls
                                                      calls

6
6       that EMS
        that EMS had to respond
                 had to respond to
                                to related in any
                                   related in any way to
                                                  way to

7
7       the use
        the     of a
            use of a prescription opioid?
                     prescription opioid?

8
8                           MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

9
9             A.
              A.        Correct, I
                        Correct, I don't -- I
                                   don't --   don't have
                                            I don't have

10
10      information top
        information top of
                        of mind
                           mind about
                                about how the higher
                                      how the        rates
                                              higher rates

11
11      of calls
        of       recently break
           calls recently break down across different
                                down across different types
                                                      types
12
12      of opioid
        of opioid products, for example.
                  products, for example.
13
13            Q.
              Q.        Okay.
                        Okay.   Let's go
                                Let's go back to what
                                         back to what we're still
                                                      we're still

14
14      looking at
        looking at on
                   on the
                      the screen,
                          screen, which
                                  which we
                                        we have
                                           have now
                                                now marked
                                                    marked

15
15      as Exhibit
        as Exhibit 3.
                   3.           And then
                                And then again
                                         again following
                                               following on Exhibit
                                                         on Exhibit

16
16      3,
        3, Doctor Alexander, the
           Doctor Alexander, the Department of Health
                                 Department of        and
                                               Health and

17
17      Human Resources
        Human Resources discusses
                        discusses also
                                  also in
                                       in this
                                          this report
                                               report what
                                                      what

18
18      they call
        they call "shifts
                  "shifts in
                          in drug
                             drug use."
                                  use."                   Do
                                                          Do you
                                                             you see that?
                                                                 see that?

19
19            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

20
20            Q.
              Q.        And the
                        And the first
                                first line
                                      line indicates
                                           indicates that
                                                     that most
                                                          most
21
21      individuals who
        individuals     die of
                    who die of an overdose, most
                               an overdose, most of
                                                 of the
                                                    the
22
22      individuals are
        individuals are using
                        using more than one
                              more than one drug in the
                                            drug in the
23
23      overdose.
        overdose.         In other
                          In other words, this is
                                   words, this is referred to as
                                                  referred to as

24
24      poly
        poly pharmacy or poly
             pharmacy or poly drug
                              drug use; is that
                                   use; is that right?
                                                right?



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1
1                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

2
2       Mischaracterizes the
        Mischaracterizes the document.
                             document.
3
3             A.
              A.        I do see
                        I do see that
                                 that --
                                      -- that
                                         that --
                                              -- that
                                                 that the
                                                      the document
                                                          document
4
4       reports that "For
        reports that "For most" "who die,
                          most" "who die, more than one
                                          more than one
5
5       drug is detected,"
        drug is            and I
                detected," and I see it calls
                                 see it       out that
                                        calls out that
6
6       "Opioids" "are
        "Opioids" "are still
                       still the
                             the most
                                 most common type of
                                      common type of drug
                                                     drug
7
7       seen," "with
        seen," "with over"
                     over" 80
                           80 percent of opioids
                              percent of opioids involved
                                                 involved
8
8       in "overdose
        in "overdose deaths in 2018."
                     deaths in 2018."

9
9             Q.
              Q.        So let's
                        So let's --
                                 -- let's
                                    let's talk
                                          talk about
                                               about that.
                                                     that.        I
                                                                  I was
                                                                    was

10
10      going to ask
        going to ask you anyway.
                     you anyway.               So you
                                               So     read my
                                                  you read my mind.
                                                              mind.
11
11                             In terms of
                               In terms of the
                                           the over
                                               over --
                                                    -- of
                                                       of the
                                                          the "82%
                                                              "82% of
                                                                   of
12
12      overdose deaths
        overdose deaths in
                        in 2018"
                           2018" relating to opioids,
                                 relating to opioids,
13
13      there's some
        there's      specific data
                some specific data right below that
                                   right below that about
                                                    about
14
14      that sentence,
        that sentence, correct?
                       correct?

15
15            A.
              A.        Yes.
                        Yes.

16
16            Q.
              Q.        In other words,
                        In other words, 82 percent of
                                        82 percent of the
                                                      the overdose
                                                          overdose
17
17      deaths in 2018,
        deaths in 2018, according
                        according to
                                  to this
                                     this data, that
                                          data, that

18
18      related to opioids
        related to opioids involved
                           involved only
                                    only illicit
                                         illicit or
                                                 or illegal
                                                    illegal
19
19      opioids, specifically
        opioids, specifically fentanyl
                              fentanyl and
                                       and heroin.
                                           heroin.

20
20                             Correct?
                               Correct?

21
21            A.
              A.        Where -- where
                        Where --       are you
                                 where are you pointing
                                               pointing where it
                                                        where it

22
22      says that
        says that they
                  they involved
                       involved only
                                only fentanyl
                                     fentanyl or
                                              or heroin?
                                                 heroin?

23
23            Q.
              Q.        So if
                        So if you look -- what's
                              you look    what's highlighted
                                                 highlighted here
                                                             here

24
24      is what
        is what you said, is
                you said, is that
                             that "Opioids
                                  "Opioids were involved in
                                           were involved in


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1
1       82% of
        82% of overdose
               overdose deaths
                        deaths in
                               in 2018,"
                                  2018," and
                                         and then
                                             then under --
                                                  under --

2
2       "this is
        "this is a
                 a decline
                   decline from
                           from 2017."
                                2017."                 And underneath
                                                       And underneath

3
3       that, it
        that, it states,
                 states, "Fentanyl
                         "Fentanyl and
                                   and heroin
                                       heroin remain the
                                              remain the

4
4       most common
        most common opiates
                    opiates seen
                            seen in
                                 in overdoes
                                    overdoes deaths
                                             deaths (59%
                                                    (59%

5
5       and 23%
        and 23% of
                of deaths
                   deaths involved
                          involved these
                                   these substances
                                         substances
6
6       respectively in 2018)."
        respectively in 2018)."
7
7                           Do
                            Do you
                               you see
                                   see where
                                       where I --
                                             I --

8
8                           MR. BURNETT:
                            MR. BURNETT:      So I
                                              So   object to
                                                 I object to the
                                                             the
9
9       characterization of
        characterization of the
                            the document.
                                document.                   It does not
                                                            It does not

10
10      refer to the
        refer to the word "only."
                     word "only."

11
11            Q.
              Q.        Do
                        Do you see where
                           you see where I am?
                                         I am?

12
12            A.
              A.        I do see
                        I do see where
                                 where you are, but
                                       you are, but I
                                                    I was going to
                                                      was going to
13
13      make the
        make the same
                 same point,
                      point, that
                             that I'm
                                  I'm not sure I
                                      not sure   can
                                               I can

14
14      conclude from
        conclude from this
                      this that
                           that fentanyl
                                fentanyl or
                                         or heroin -- and
                                            heroin -- and
15
15      heroin are the
        heroin are the only
                       only products.
                            products.                But I
                                                     But   think the
                                                         I think the
16
16      larger point
        larger point is
                     is that
                        that --
                             -- although
                                although so
                                         so I -- so
                                            I -- so I
                                                    I do
                                                      do

17
17      see what
        see what you're saying here.
                 you're saying here.

18
18            Q.
              Q.        Yeah, okay.
                        Yeah, okay.   So whether
                                      So         or not
                                         whether or     the data
                                                    not the data

19
19      tells us
        tells    that fentanyl
              us that fentanyl and
                               and heroin
                                   heroin were the only
                                          were the only
20
20      products,
        products, we
                  we know that fentanyl
                     know that fentanyl and
                                        and heroin
                                            heroin were
                                                   were

21
21      indeed involved
        indeed involved in
                        in 82
                           82 percent of overdose
                              percent of overdose deaths in
                                                  deaths in

22
22      2018.
        2018.      Is that fair?
                   Is that fair?
23
23            A.
              A.        No, I
                        No, I don't think that's
                              don't think that's --
24
24                          MR. BURNETT:
                            MR. BURNETT:      Yeah.
                                              Yeah.



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1
1             A.
              A.        -- the
                        -- the case.
                               case.
2
2                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

3
3       Mischaracterizes the
        Mischaracterizes the document.
                             document.
4
4             Q.
              Q.        You
                        You don't agree with
                            don't agree with me,
                                             me, Doctor Alexander?
                                                 Doctor Alexander?

5
5             A.
              A.        Correct, I
                        Correct, I do
                                   do not.
                                      not.

6
6             Q.
              Q.        Why
                        Why not?
                            not?

7
7             A.
              A.        Because I
                        Because   believe you
                                I believe     said that
                                          you said that the
                                                        the
8
8       document suggests that
        document suggests that fentanyl
                               fentanyl and
                                        and heroin
                                            heroin were
                                                   were

9
9       involved in
        involved in 82
                    82 percent
                       percent of overdose deaths
                               of overdose        in 2018,
                                           deaths in 2018,
10
10      and I
        and I don't see that
              don't see that the
                             the document says that.
                                 document says that.
11
11                             What
                               What I
                                    I read it as
                                      read it as saying
                                                 saying is
                                                        is that
                                                           that
12
12      "Opioids were
        "Opioids      involved in
                 were involved in 82
                                  82 percent of overdose
                                     percent of overdose

13
13      deaths in 2018."
        deaths in 2018."
14
14            Q.
              Q.        And then
                        And then just
                                 just -- just
                                         just to
                                              to clarify
                                                 clarify for
                                                         for the
                                                             the
15
15      record,
        record, below that, it
                below that, it says that "59%
                               says that "59% and
                                              and 23% of
                                                  23% of

16
16      deaths involved" either
        deaths involved" either fentanyl
                                fentanyl or
                                         or heroin "in
                                            heroin "in

17
17      2018."
        2018."      Is that correct?
                    Is that correct?
18
18            A.
              A.        Yes.
                        Yes.

19
19            Q.
              Q.        All right.
                        All right.     So we
                                       So we know from that
                                             know from that that
                                                            that 82
                                                                 82

20
20      percent of the
        percent of the overdose
                       overdose deaths in 2018
                                deaths in 2018 involved
                                               involved
21
21      illegal or
        illegal or illicit
                   illicit opioid
                           opioid substances.
                                  substances.                  True?
                                                               True?

22
22                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

23
23      Mischaracterizes the
        Mischaracterizes the document.
                             document.
24
24            Q.
              Q.        Well, fentanyl and
                        Well, fentanyl and heroin, as indicated
                                           heroin, as indicated


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1
1       here,
        here, are
              are not legal substances.
                  not legal substances.                    True?
                                                           True?

2
2             A.
              A.        Yes, that's
                        Yes, that's true.
                                    true.          But it's
                                                   But it's not clear to
                                                            not clear to me
                                                                         me
3
3       that this
        that this is
                  is either/or;
                     either/or; in
                                in other
                                   other words, that these
                                         words, that these
4
4       categories are
        categories are mutually exclusive.
                       mutually exclusive.                     So it
                                                               So it may
                                                                     may well
                                                                         well

5
5       be that
        be that someone
                someone has
                        has discernible in their
                            discernible in their blood
                                                 blood
6
6       system both
        system both heroin and fentanyl,
                    heroin and fentanyl, and
                                         and so if that
                                             so if that 59
                                                        59
7
7       percent and 23
        percent and 23 percent
                       percent aren't
                               aren't mutually exclusive,
                                      mutually exclusive,

8
8       but overlap,
        but overlap, then
                     then I
                          I don't think one
                            don't think one would
                                            would reach the
                                                  reach the

9
9       conclusion that
        conclusion that 82
                        82 percent
                           percent of
                                   of overdose
                                      overdose deaths
                                               deaths

10
10      involved --
        involved -- of
                    of opioid
                       opioid overdose
                              overdose deaths,
                                       deaths, involved
                                               involved
11
11      fentanyl and
        fentanyl and heroin.
                     heroin.

12
12            Q.
              Q.        Now, above
                        Now, above these
                                   these two
                                         two bullets that we've
                                             bullets that we've

13
13      been looking
        been looking at,
                     at, there's
                         there's a
                                 a discussion about
                                   discussion about

14
14      methamphetamine.
        methamphetamine.            Correct?
                                    Correct?

15
15            A.
              A.        Yes.
                        Yes.

16
16            Q.
              Q.        And the
                        And the West Virginia Department
                                West Virginia            of Health
                                              Department of Health
17
17      and Human
        and Human Resources
                  Resources reports that "The
                            reports that "The percentage"
                                              percentage"
18
18      of over
        of over --
                -- "of
                   "of overdose
                       overdose deaths involving
                                deaths involving

19
19      methamphetamine" continues
        methamphetamine" continues "to
                                   "to increase,"
                                       increase," and
                                                  and now
                                                      now

20
20      in 2018,
        in 2018, "More
                 "More than
                       than one-third,"
                            one-third," or
                                        or "36%,"
                                           "36%," "of
                                                  "of drug
                                                      drug

21
21      overdose deaths,"
        overdose deaths," "involved
                          "involved methamphetamine."
                                    methamphetamine."
22
22                             Is that correct
                               Is that correct as
                                               as I
                                                  I read it?
                                                    read it?

23
23            A.
              A.        Yes.
                        Yes.     In
                                 In West
                                    West Virginia,
                                         Virginia, yes,
                                                   yes, I
                                                        I believe so.
                                                          believe so.

24
24            Q.
              Q.        And that
                        And that this
                                 this continues to be
                                      continues to be a
                                                      a significant
                                                        significant


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1
1       -- or
        -- or rather --
              rather --

2
2                           MS. GEIST:
                            MS. GEIST:     Strike that.
                                           Strike that.
3
3             Q.
              Q.        "This continues
                        "This continues a significant and
                                        a significant and rapidly
                                                          rapidly

4
4       rising trend seen
        rising trend      in recent
                     seen in recent years"
                                    years" and then it
                                           and then it
5
5       shows some
        shows      statistics from
              some statistics from 2014
                                   2014 to
                                        to 2018, a 33
                                           2018, a 33

6
6       percent increase over
        percent increase over those
                              those five
                                    five --
                                         -- five
                                            five calendar
                                                 calendar
7
7       years.
        years.

8
8                           Is that accurate?
                            Is that accurate?
9
9                           MR. BURNETT:
                            MR. BURNETT:      Objection,
                                              Objection,

10
10      mischaracterizes the
        mischaracterizes the document.
                             document.
11
11            A.
              A.        I mean, it
                        I mean, it notes that --
                                   notes that -- it
                                                 it does
                                                    does note
                                                         note an
                                                              an

12
12      increase in
        increase in methamphetamine-related
                    methamphetamine-related overdose
                                            overdose
13
13      deaths, and
        deaths, and also
                    also notes that more
                         notes that more than
                                         than half of these
                                              half of these
14
14      involved fentanyl.
        involved fentanyl.
15
15                          I think it's
                            I think it's important
                                         important to
                                                   to keep in
                                                      keep in

16
16      mind, this
        mind, this is
                   is at
                      at the
                         the State
                             State level,
                                   level, so
                                          so it
                                             it may or may
                                                may or may

17
17      not be that
        not be that the
                    the data
                        data applies
                             applies similarly
                                     similarly to
                                               to Cabell
                                                  Cabell

18
18      County and the
        County and the City of Huntington,
                       City of Huntington, although
                                           although I
                                                    I

19
19      wouldn't be surprised
        wouldn't be surprised to
                              to know that there
                                 know that there are
                                                 are
20
20      similar increases.
        similar increases.
21
21                          They
                            They may
                                 may not be identical,
                                     not be identical, but similar
                                                       but similar

22
22      increases.
        increases.         Or important
                           Or important increases
                                        increases like
                                                  like this
                                                       this within
                                                            within

23
23      the community
        the community that
                      that --
                           -- that
                              that we're really focused
                                   we're really focused on.
                                                        on.
24
24                          But I
                            But   -- again,
                                I -- again, you
                                            you know,
                                                know, we
                                                      we discussed
                                                         discussed



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1
1       earlier my
        earlier    sense that
                my sense that there
                              there was
                                    was a bit of
                                        a bit of a
                                                 a
2
2       potential
        potential perception for a
                  perception for   false dichotomy.
                                 a false dichotomy.                   You
                                                                      You

3
3       know, is this
        know, is this a
                      a methamphetamine
                        methamphetamine problem
                                        problem or is this
                                                or is this
4
4       a fentanyl
        a fentanyl problem
                   problem or
                           or is
                              is this
                                 this a opioid problem
                                      a opioid problem or
                                                       or

5
5       is this
        is this a
                a nonopioid
                  nonopioid problem?
                            problem?

6
6                          And you
                           And you know,
                                   know, what
                                         what I
                                              I was asked to
                                                was asked to
7
7       evaluate is
        evaluate is the
                    the extent
                        extent of an opioid
                               of an opioid epidemic
                                            epidemic within
                                                     within

8
8       Cabell
        Cabell County and the
               County and the City of Huntington
                              City of            and to
                                      Huntington and to
9
9       design an evidence-based
        design an evidence-based longitudinal
                                 longitudinal and
                                              and
10
10      comprehensive abatement
        comprehensive abatement plan to address
                                plan to address it.
                                                it.
11
11                          So
                            So I
                               I don't
                                 don't view -- I
                                       view --   think that
                                               I think that these
                                                            these
12
12      trends are
        trends are important
                   important and
                             and that
                                 that any abatement plan
                                      any abatement plan

13
13      that's going
        that's going to
                     to be
                        be successful
                           successful has to be
                                      has to be conducted
                                                conducted

14
14      mindful of
        mindful of the
                   the --
                       -- of
                          of the
                             the local
                                 local context
                                       context in
                                               in which
                                                  which

15
15      opioids are
        opioids are being
                    being used, but I
                          used, but   -- but
                                    I -- but I
                                             I don't view
                                               don't view

16
16      these data
        these      points as
              data points    sort of
                          as sort of diminishing the
                                     diminishing the

17
17      importance of
        importance of the
                      the plan that I've
                          plan that I've proposed.
                                         proposed.
18
18            Q.
              Q.        I understand your
                        I understand your point.
                                          point.            My question
                                                            My question is:
                                                                        is:
19
19      In terms of
        In terms of the
                    the increase
                        increase in
                                 in methamphetamine
                                    methamphetamine in
                                                    in West
                                                       West

20
20      Virginia, from
        Virginia, from 2014
                       2014 to
                            to 2018, there's a
                               2018, there's a 33
                                               33 percent
                                                  percent

21
21      increase in
        increase in methamphetamine.
                    methamphetamine.               Correct?
                                                   Correct?      In overdose
                                                                 In overdose

22
22      deaths, I
        deaths,   should say.
                I should say.
23
23                         MR. BURNETT:
                           MR. BURNETT:       Objection,
                                              Objection,

24
24      mischaracterizes the
        mischaracterizes the document.
                             document.


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1
1             A.
              A.        So I
                        So I read this as
                             read this as based on preliminary
                                          based on preliminary drug
                                                               drug

2
2       overdose data
        overdose data from
                      from 888
                           888 individuals
                               individuals at a state
                                           at a       level
                                                state level

3
3       at one
        at one year, one point
               year, one       in time,
                         point in time, there
                                        there was
                                              was noted,
                                                  noted,

4
4       you
        you know, about a
            know, about a third
                          third of
                                of overdoses
                                   overdoses involved
                                             involved
5
5       methamphetamine.
        methamphetamine.

6
6             Q.
              Q.        Is that
                        Is that -- does that indicate
                                   does that indicate that
                                                      that there
                                                           there is
                                                                 is
7
7       a methamphetamine-related
        a methamphetamine-related epidemic
                                  epidemic in
                                           in West
                                              West

8
8       Virginia --
        Virginia

9
9             A.
              A.        Well,
                        Well, I --
                              I --

10
10            Q.
              Q.        -- if
                        -- if these
                              these --
                                    --
11
11            A.
              A.        I
                        I wasn't
                          wasn't asked to opine
                                 asked to opine about
                                                about a
                                                      a
12
12      methamphetamine epidemic
        methamphetamine epidemic and so I
                                 and so I wasn't -- that's
                                          wasn't -- that's
13
13      not
        not what
            what I
                 I was asked to
                   was asked to do.
                                do.

14
14            Q.
              Q.        Do
                        Do you think it
                           you think it is
                                        is a
                                           a significant increase
                                             significant increase

15
15      to go
        to    from 3
           go from 3 percent overdose deaths
                     percent overdose        involving meth
                                      deaths involving meth

16
16      in 2014
        in 2014 all
                all the
                    the way to 36
                        way to    percent in
                               36 percent in 2018?
                                             2018?
17
17                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

18
18            A.
              A.        Without a doubt.
                        Without a doubt.      Without
                                              Without a
                                                      a doubt.
                                                        doubt.   I think
                                                                 I think

19
19      that's significant.
        that's significant.          And one
                                     And one of
                                             of my
                                                my concerns is that
                                                   concerns is that
20
20      many of
        many of these
                these individuals
                      individuals may
                                  may have
                                      have opioid
                                           opioid use
                                                  use

21
21      disorder, and
        disorder, and that
                      that with inadequate funding
                           with inadequate funding and
                                                   and
22
22      support to
        support to expand
                   expand and
                          and deploy and scale
                              deploy and scale up
                                               up

23
23      evidence-based treatment
        evidence-based treatment programs for opioid
                                 programs for opioid use
                                                     use

24
24      disorder, individuals
        disorder, individuals are
                              are --
                                  -- you
                                     you know,
                                         know, we're paying
                                               we're paying



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1
1       the price,
        the price, and
                   and this
                       this may
                            may well be --
                                well be -- although
                                           although not the
                                                    not the

2
2       focus of
        focus of my
                 my report,
                    report, I certainly have
                            I certainly have concern
                                             concern

3
3       insofar as
        insofar    individuals may
                as individuals may be engaging in,
                                   be engaging in, you
                                                   you

4
4       know,
        know, methamphetamine
              methamphetamine use or other
                              use or other substance
                                           substance use
                                                     use

5
5       who
        who have
            have untreated opioid use
                 untreated opioid use disorder.
                                      disorder.

6
6             Q.
              Q.        But we
                        But    don't know,
                            we don't know, Doctor,
                                           Doctor, do
                                                   do we, that in
                                                      we, that in
7
7       looking at
        looking at this
                   this data
                        data that
                             that these
                                  these individuals
                                        individuals have
                                                    have

8
8       opioid use
        opioid     disorder, do
               use disorder, do we?
                                we?

9
9             A.
              A.        Well --
                        Well --

10
10                             MR. BURNETT:
                               MR. BURNETT:       Objection.
                                                  Objection.

11
11            A.
              A.        No, these
                        No, these data
                                  data are
                                       are overdose
                                           overdose data, so you
                                                    data, so you

12
12      can't use
        can't     overdose data
              use overdose data to
                                to identify
                                   identify whether or not
                                            whether or not

13
13      someone has
        someone     addiction.
                has addiction.              No.
                                            No.

14
14            Q.
              Q.        And if
                        And if --
                               -- if
                                  if you look further
                                     you look further down, there
                                                      down, there

15
15      is a
        is a discussion regarding "the
             discussion regarding "the presence
                                       presence of
                                                of

16
16      prescription
        prescription medications" in the
                     medications" in the 2018
                                         2018 overdose
                                              overdose
17
17      death
        death analysis.
              analysis.            Do
                                   Do you see where
                                      you see where I am?
                                                    I am?      It starts
                                                               It starts

18
18      "In general"?
        "In general"?
19
19            A.
              A.        Yes.
                        Yes.     I
                                 I do.
                                   do.

20
20            Q.
              Q.        And it
                        And it indicates
                               indicates that
                                         that "the
                                              "the presence of
                                                   presence of

21
21      prescription opioids in
        prescription opioids in those
                                those dying of overdose
                                      dying of overdose
22
22      continues to
        continues to decline."
                     decline."              Did
                                            Did I
                                                I read that correctly?
                                                  read that correctly?

23
23                             MR. BURNETT:
                               MR. BURNETT:       Objection.
                                                  Objection.

24
24            A.
              A.        Yes.
                        Yes.



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1
1             Q.
              Q.        And then
                        And then "The
                                 "The most common medications
                                      most common medications seen
                                                              seen

2
2       in overdose
        in overdose deaths"
                    deaths" in
                            in 2018 relate to
                               2018 relate to Oxycodone,
                                              Oxycodone, 10
                                                         10

3
3       percent,
        percent, which is a
                 which is   significant decrease
                          a significant          from 2014.
                                        decrease from 2014.
4
4       Is that right?
        Is that right?

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        Yes, I
                        Yes,   read it
                             I read it as
                                       as "Oxycodone
                                          "Oxycodone (10% in 2018,
                                                     (10% in 2018,
7
7       down from 32
        down from 32 percent in 2014").
                     percent in 2014").
8
8             Q.
              Q.        And there's
                        And there's no
                                    no indication
                                       indication here that the
                                                  here that the
9
9       presence of oxycodone
        presence of oxycodone -
                              - based
                                based on,
                                      on, I
                                          I would
                                            would presume,
                                                  presume,

10
10      a toxicology
        a toxicology report - was
                     report -     there from
                              was there from a
                                             a

11
11      prescribed --
        prescribed --

12
12                          MS. GEIST:
                            MS. GEIST:     Strike that.
                                           Strike that.
13
13            Q.
              Q.        There's
                        There's no indication from
                                no indication from this
                                                   this data that
                                                        data that

14
14      the presence
        the presence of
                     of oxycodone
                        oxycodone was
                                  was medication that was
                                      medication that was

15
15      prescribed by a
        prescribed by a physician
                        physician as
                                  as opposed
                                     opposed to
                                             to oxycodone
                                                oxycodone

16
16      bought off
        bought off the
                   the street
                       street or
                              or stolen or taken
                                 stolen or taken out
                                                 out of
                                                     of a
                                                        a
17
17      medicine cabinet.
        medicine cabinet.         True?
                                  True?

18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19            A.
              A.        I don't think
                        I don't think one
                                      one can tell from
                                          can tell from toxicology
                                                        toxicology
20
20      data such as
        data such as this
                     this what the source
                          what the source of
                                          of --
                                             -- of opioids
                                                of opioids

21
21      were,
        were, but again, as
              but again, as I think we've
                            I think we've discussed
                                          discussed

22
22      previously, the --
        previously, the -- there's
                           there's a
                                   a lag
                                     lag between
                                         between when,
                                                 when, at a
                                                       at a

23
23      population level --
        population level -- there
                            there are
                                  are --
                                      -- there
                                         there are
                                               are
24
24      immediate effects
        immediate effects of
                          of the
                             the oversupply
                                 oversupply of
                                            of prescription
                                               prescription



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1
1       opioids, but
        opioids, but there
                     there are
                           are also lag effects.
                               also lag effects.
2
2                           Just
                            Just as if --
                                 as if -- as
                                          as if
                                             if you take a
                                                you take a

3
3       community and
        community and 60
                      60 percent of the
                         percent of the people in the
                                        people in the
4
4       community start
        community start smoking
                        smoking cigarettes,
                                cigarettes, they're
                                            they're not
                                                    not

5
5       going to drop
        going to drop dead
                      dead tomorrow.
                           tomorrow.               It takes a
                                                   It takes a while --
                                                              while --

6
6       it takes
        it takes years to see
                 years to     the manifestations
                          see the manifestations in
                                                 in the
                                                    the
7
7       case of
        case of tobacco,
                tobacco, lung
                         lung cancer,
                              cancer, heart disease,
                                      heart disease,

8
8       stroke, emphysema
        stroke, emphysema and the like.
                          and the like.
9
9                           And so
                            And so there
                                   there are
                                         are similar lag effects
                                             similar lag effects
10
10      that take
        that take place
                  place with an oversupply
                        with an oversupply of prescription
                                           of prescription

11
11      opioids.
        opioids.        And so
                        And so I
                               I wouldn't necessarily expect
                                 wouldn't necessarily expect to
                                                             to
12
12      see the
        see the effects
                effects of
                        of an
                           an oversupply
                              oversupply of
                                         of opioids.
                                            opioids.              All
                                                                  All

13
13      of the
        of the effects
               effects aren't
                       aren't going to manifest
                              going to manifest in the
                                                in the

14
14      first 24
        first 24 hours or the
                 hours or the first
                              first week or the
                                    week or the first
                                                first
15
15      month.
        month.

16
16                          So my point
                            So my point is
                                        is that
                                           that while
                                                while I think
                                                      I think

17
17      these trends
        these trends are
                     are heartening in some
                         heartening in some sense
                                            sense insofar
                                                  insofar
18
18      as they
        as they may suggest declines
                may suggest          in the
                            declines in the presence of
                                            presence of

19
19      prescription opioids and
        prescription opioids and in
                                 in these
                                    these unfortunate
                                          unfortunate

20
20      individuals who
        individuals who have died, by
                        have died, by no means would
                                      no means would I
                                                     I use
                                                       use

21
21      this single
        this single data
                    data point to draw
                         point to draw some
                                       some conclusion
                                            conclusion
22
22      regarding the nature
        regarding the nature of
                             of the
                                the opioid
                                    opioid epidemic
                                           epidemic in
                                                    in
23
23      Cabell
        Cabell County and the
               County and the City of Huntington.
                              City of Huntington.

24
24            Q.
              Q.        Doctor Alexander, I'm
                        Doctor Alexander,     going to
                                          I'm going to turn
                                                       turn now
                                                            now to
                                                                to


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1
1       the specific
        the specific components of your
                     components of your proposed abatement
                                        proposed abatement

2
2       plan, to use
        plan, to use your
                     your words.
                          words.

3
3             A.
              A.        Okay.
                        Okay.

4
4             Q.
              Q.        Okay?
                        Okay?   So let
                                So let me mark --
                                       me mark -- before
                                                  before we
                                                         we get
                                                            get

5
5       there, let
        there, let me
                   me make
                      make sure
                           sure I
                                I have all of
                                  have all    the aspects
                                           of the aspects

6
6       of your
        of      expert report
           your expert        sort of
                       report sort of marked for the
                                      marked for the
7
7       record.
        record.         So --
                        So -- and
                              and let
                                  let you
                                      you have all of
                                          have all of those
                                                      those
8
8       materials in
        materials in front
                     front of
                           of you
                              you when
                                  when I ask you
                                       I ask you questions.
                                                 questions.

9
9                           So if we
                            So if    look at
                                  we look at your expert report
                                             your expert        -
                                                         report -

10
10      which
        which again is Exhibit
              again is Exhibit 4 - I
                               4 - I guess it's the
                                     guess it's the second
                                                    second
11
11      page of that
        page of that report,
                     report, you list a
                             you list a number of documents
                                        number of documents

12
12      that you
        that     included as
             you included    Appendix A,
                          as Appendix A, B,
                                         B, C and D
                                            C and D as in
                                                    as in

13
13      dog.
        dog.

14
14                          Do
                            Do you
                               you see that?
                                   see that?

15
15            A.
              A.        I do.
                        I do.

16
16            Q.
              Q.        Okay.
                        Okay.   So I
                                So   think Appendix
                                   I think Appendix A,
                                                    A, we
                                                       we have
                                                          have

17
17      separately included
        separately included in
                            in the
                               the envelope
                                   envelope that
                                            that was marked
                                                 was marked

18
18      either Tab
        either     5 or
               Tab 5 or Exhibit
                        Exhibit 5.
                                5.               Do
                                                 Do you
                                                    you have that in
                                                        have that in
19
19      front of
        front of you,
                 you, Doctor?
                      Doctor?

20
20            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
21
21            Q.
              Q.        Okay.
                        Okay.   And then
                                And then your
                                         your curriculum
                                              curriculum vitae is
                                                         vitae is

22
22      included as
        included as part of your
                    part of your report.
                                 report.                     I just wanted
                                                             I just        to
                                                                    wanted to

23
23      ask you,
        ask you, Doctor,
                 Doctor, quickly on your
                         quickly on      CV, do
                                    your CV, do you
                                                you need to
                                                    need to

24
24      make any
        make any changes
                 changes or
                         or update it in
                            update it in any
                                         any way?
                                             way?



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1
1             A.
              A.        Well,
                        Well, I've
                              I've had -- I'm
                                   had --     sure that
                                          I'm sure that I've
                                                        I've had
                                                             had

2
2       some papers
        some        accepted for
             papers accepted for publication or published
                                 publication or published

3
3       since the
        since the last
                  last time
                       time that
                            that it
                                 it was submitted, so
                                    was submitted, so I
                                                      I

4
4       don't -- I
        don't -- I will follow your
                   will follow      lead and
                               your lead and that
                                             that of
                                                  of the
                                                     the
5
5       plaintiffs' counsel as
        plaintiffs' counsel    to whether
                            as to         those are
                                  whether those are

6
6       important changes
        important         to make.
                  changes to make.
7
7                           I
                            I don't believe that
                              don't believe that I
                                                 I have -- I
                                                   have -- I mean,
                                                             mean,

8
8       I've accepted invitations
        I've accepted invitations to
                                  to speak
                                     speak at one or
                                           at one    two
                                                  or two

9
9       national conferences, so
        national conferences, so there
                                 there are
                                       are --
                                           -- probably
                                              probably
10
10      week-to-week, there are
        week-to-week, there are very modest changes
                                very modest changes that
                                                    that I
                                                         I

11
11      could make.
        could make.         But I
                            But   think overall
                                I think overall this
                                                this represents
                                                     represents
12
12      fairly well
        fairly      the totality
               well the totality of
                                 of my
                                    my professional
                                       professional
13
13      activities.
        activities.

14
14            Q.
              Q.        Thank
                        Thank you, that's fine.
                              you, that's fine.             And we'll
                                                            And       just
                                                                we'll just

15
15      make a
        make a request for an
               request for an updated
                              updated CV at some
                                      CV at some point
                                                 point

16
16      prior to trial.
        prior to trial.
17
17            A.
              A.        Of course.
                        Of course.
18
18            Q.
              Q.        Appendix C,
                        Appendix    that is
                                 C, that is the
                                            the list
                                                list of
                                                     of sources
                                                        sources
19
19      that were
        that      consulted in
             were consulted in connection
                               connection with
                                          with your
                                               your

20
20      opinions formed
        opinions formed in
                        in the
                           the case.
                               case.               And that
                                                   And that is
                                                            is Exhibit
                                                               Exhibit
21
21      7, along
        7, along with -- or
                 with -- or Tab 7, along
                            Tab 7, along with Appendix D,
                                         with Appendix D,

22
22      which is your
        which is      redress model.
                 your redress model.

23
23                          And Doctor
                            And        Alexander, would
                                Doctor Alexander, would you mind,
                                                        you mind,

24
24      if you
        if you have those two
               have those two envelopes
                              envelopes in
                                        in front
                                           front of
                                                 of you?
                                                    you?                       I
                                                                               I



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1
1       just want
        just      to make
             want to make sure that Tab
                          sure that     A is
                                    Tab A is --
                                             -- is
                                                is Exhibit
                                                   Exhibit
2
2       5, which
        5,       is your
           which is your John Hopkins report;
                         John Hopkins         and then
                                      report; and then Tab
                                                       Tab

3
3       7 is
        7 is the
             the list
                 list of
                      of sources
                         sources that
                                 that were
                                      were consulted in
                                           consulted in

4
4       your
        your redress
             redress model.
                     model.

5
5             A.
              A.        Yeah, so
                        Yeah, so I opened --
                                 I opened -- and by the
                                             and by the way,
                                                        way, I
                                                             I

6
6       would
        would appreciate maybe within
              appreciate maybe        ten or
                               within ten or fifteen
                                             fifteen
7
7       minutes a
        minutes   brief break,
                a brief break, would be great
                               would be       --
                                        great --

8
8                           MR. BURNETT:
                            MR. BURNETT:      Yeah, Counsel, I
                                              Yeah, Counsel, I was
                                                               was

9
9       going to suggest
        going to suggest not a brief
                         not a       break, but
                               brief break, but why
                                                why don't
                                                    don't

10
10      we
        we break for lunch
           break for lunch before
                           before we
                                  we get into these
                                     get into these other
                                                    other
11
11      documents?
        documents?        Since we've
                          Since       been going
                                we've been going about an hour
                                                 about an hour

12
12      and a
        and a half, and it's
              half, and it's 12:20.
                             12:20.
13
13                          MS. GEIST:
                            MS. GEIST:     Yeah, absolutely, Counsel.
                                           Yeah, absolutely, Counsel.

14
14      What
        What I'm doing right
             I'm doing       now is
                       right now is I'm
                                    I'm just
                                        just trying
                                             trying to
                                                    to get
                                                       get

15
15      ready -- because
        ready -- because I'm looking at
                         I'm looking at the
                                        the clock
                                            clock too,
                                                  too, and
                                                       and

16
16      I
        I know
          know we're
               we're going to want
                     going to      a lunch
                              want a lunch break.
                                           break.

17
17                          I
                            I want to get
                              want to     into Doctor
                                      get into        Alexander 's
                                               Doctor Alexander 's
18
18      opinions in
        opinions in the
                    the report.
                        report.            So I'm trying
                                           So I'm trying to
                                                         to make
                                                            make sure
                                                                 sure

19
19      we're -- we're
        we're -- we're ready to do
                       ready to    that.
                                do that.

20
20                          So
                            So I
                               I want
                                 want him to have
                                      him to      in front
                                             have in front of
                                                           of him
                                                              him

21
21      his list of
        his list of sources
                    sources that
                            that he consulted and
                                 he consulted and his
                                                  his Johns
                                                      Johns

22
22      Hopkins report
        Hopkins        that was
                report that     Appendix A,
                            was Appendix A, and
                                            and his
                                                his redress
                                                    redress

23
23      model.
        model.      Together
                    Together with
                             with his report.
                                  his report.               That's
                                                            That's what
                                                                   what I'm
                                                                        I'm

24
24      trying to
        trying to do
                  do now.
                     now.



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1
1             A.
              A.        Yeah, so
                        Yeah, so I
                                 I had -- I
                                   had --   think I
                                          I think I was asked to
                                                    was asked to
2
2       open Tabs
        open Tabs 4, 5 and
                  4, 5 and 7.
                           7.            And
                                         And so those are
                                             so those are --
                                                          -- I
                                                             I have
                                                               have

3
3       opened in
        opened in front
                  front of
                        of me.
                           me.             So Tab
                                           So Tab 4 is --
                                                  4 is -- is
                                                          is that
                                                             that
4
4       what's being displayed?
        what's being displayed?

5
5             Q.
              Q.        No.
                        No.   Tab
                              Tab 4,
                                  4, Doctor Alexander, should
                                     Doctor Alexander, should be
                                                              be
6
6       what
        what we've marked as
             we've marked    Exhibit 4.
                          as Exhibit 4.                   That should be
                                                          That should be
7
7       your expert report.
        your expert report.

8
8             A.
              A.        Okay.
                        Okay.    And may
                                 And may I put that
                                         I put that away?
                                                    away?           Or shall I
                                                                    Or shall I

9
9       keep that handy?
        keep that handy?

10
10            Q.
              Q.        I
                        I would
                          would keep that handy,
                                keep that handy, please.
                                                 please.             Thank
                                                                     Thank

11
11      you.
        you.

12
12            A.
              A.        Okay.
                        Okay.    So that
                                 So that is
                                         is Tab 4.
                                            Tab 4.            And then Tab
                                                              And then     5 --
                                                                       Tab 5 --
13
13            Q.
              Q.        Tab 5 should
                        Tab 5 should be
                                     be your "Johns Hopkins
                                        your "Johns         Report:
                                                    Hopkins Report:

14
14      'From Evidence
        'From Evidence to
                       to Impact',"
                          Impact'," which is Appendix
                                    which is Appendix A
                                                      A to
                                                        to
15
15      your
        your report.
             report.

16
16            A.
              A.        Okay, so
                        Okay, so I
                                 I have that available.
                                   have that available.

17
17            Q.
              Q.        And then
                        And then Tab
                                 Tab 7?
                                     7?       And that
                                              And that should
                                                       should be
                                                              be your
                                                                 your

18
18      list of
        list of sources
                sources that
                        that were consulted and
                             were consulted and your
                                                your

19
19      redress
        redress model.
                model.

20
20            A.
              A.        Right.
                        Right.    And so
                                  And so that's
                                         that's a
                                                a one-page
                                                  one-page --
                                                           -- that's
                                                              that's
21
21      a one-page
        a one-page document,
                   document, and
                             and I see it
                                 I see it --
                                          -- on
                                             on one side,
                                                one side,

22
22      it says,
        it says, "Expert
                 "Expert Witness Report of
                         Witness Report of G.
                                           G. Caleb
                                              Caleb

23
23      Alexander, Appendix
        Alexander, Appendix C,
                            C, List of Sources
                               List of Sources That
                                               That Were
                                                    Were

24
24      Consulted," and on
        Consulted," and on the
                           the other side of
                               other side of the
                                             the page,
                                                 page, I
                                                       I



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1
1       see "Materials
        see "Materials Considered" and it
                       Considered" and it lists
                                          lists three
                                                three --
                                                      --
2
2       there's three
        there's three numbers
                      numbers essentially.
                              essentially.
3
3             Q.
              Q.        Okay.
                        Okay.   We before --
                                We before -- before
                                             before we take a
                                                    we take   break
                                                            a break

4
4       for lunch,
        for lunch, Doctor Alexander -
                   Doctor Alexander - because
                                      because I
                                              I do think
                                                do think

5
5       it's a
        it's a good
               good time
                    time to
                         to break - in
                            break - in terms
                                       terms of
                                             of your
                                                your

6
6       Appendix C
        Appendix   to your
                 C to your report,
                           report, can
                                   can you just please
                                       you just please

7
7       represent to us
        represent to    that all
                     us that all of
                                 of the
                                    the materials that you
                                        materials that you

8
8       reviewed and relied
        reviewed and relied upon in forming
                            upon in forming your opinions
                                            your opinions

9
9       that are
        that are contained
                 contained in
                           in your expert report
                              your expert        are either
                                          report are either
10
10      cited in
        cited in the
                 the report itself or
                     report itself or they're
                                      they're in
                                              in your list
                                                 your list

11
11      of sources
        of sources that
                   that were consulted?
                        were consulted?

12
12                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

13
13            A.
              A.        They could also
                        They could also be included in
                                        be included in the
                                                       the redress
                                                           redress

14
14      models.
        models.         So if
                        So if you're -- when
                              you're -- when you say my
                                             you say my report, if
                                                        report, if

15
15      you mean both
        you mean both my
                      my narrative
                         narrative 125-page
                                   125-page report as well
                                            report as well

16
16      as the
        as the redress
               redress models that I've
                       models that I've provided,
                                        provided, yes,
                                                  yes, I
                                                       I

17
17      can confirm
        can confirm that
                    that all
                         all of
                             of the
                                the materials
                                    materials that
                                              that I
                                                   I used
                                                     used

18
18      are either
        are either referenced
                   referenced or
                              or cited in my
                                 cited in my narrative
                                             narrative

19
19      report, the 125-page
        report, the          report, or
                    125-page report, or the
                                        the redress
                                            redress models,
                                                    models,

20
20      Appendix D
        Appendix   on what's
                 D on        being displayed
                      what's being displayed currently, or
                                             currently, or

21
21      the list
        the list of
                 of sources
                    sources that
                            that were
                                 were consulted, Appendix
                                      consulted, Appendix

22
22      C.
        C.

23
23            Q.
              Q.        Thank
                        Thank you very much
                              you very much for
                                            for that.
                                                that.        The only --
                                                             The only --
24
24      the only
        the only other
                 other question
                       question I
                                I have before we
                                  have before    take a
                                              we take a


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1
1       break is:
        break is:         There
                          There were some notes
                                were some       that were
                                          notes that      provided
                                                     were provided

2
2       to us
        to us at our request,
              at our          and these
                     request, and these notes are referred
                                        notes are referred

3
3       to in
        to in your report, notes
              your report,       of meetings
                           notes of meetings or
                                             or interviews
                                                interviews
4
4       that you
        that     or your
             you or      team members
                    your team         from Monument
                              members from Monument
5
5       Analytics had
        Analytics     done.
                  had done.

6
6                           You
                            You had met with
                                had met      individuals in
                                        with individuals in Cabell
                                                            Cabell
7
7       County/Huntington.
        County/Huntington.            I think you
                                      I think you referred to them
                                                  referred to them as
                                                                   as

8
8       local stakeholders.
        local stakeholders.            Is that
                                       Is that correct?
                                               correct?
9
9             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
10
10                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

11
11            Q.
              Q.        And you
                        And you have
                                have -- you and/or your
                                        you and/or      colleagues
                                                   your colleagues

12
12      put together some
        put together some notes from at
                          notes from at least
                                        least some
                                              some of
                                                   of those
                                                      those
13
13      meetings.
        meetings.         Is that
                          Is that right?
                                  right?

14
14                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

15
15            A.
              A.        Yes, it
                        Yes, it is.
                                is.
16
16            Q.
              Q.        Okay.
                        Okay.    We
                                 We have separately marked
                                    have separately        those as
                                                    marked those as
17
17      exhibit --
        exhibit -- or
                   or Tab 52.
                      Tab 52.            We might as
                                         We might as well just take
                                                     well just take
18
18      that out
        that out so
                 so we're
                    we're ready to review
                          ready to        that when
                                   review that when we
                                                    we come
                                                       come

19
19      back from
        back from lunch.
                  lunch.
20
20            A.
              A.        Okay.
                        Okay.    So I
                                 So I have
                                      have Tabs
                                           Tabs 4 -- excuse
                                                4 -- excuse me.
                                                            me.     4,
                                                                    4,

21
21      5, 7
        5,   and 52
           7 and 52 available
                    available and
                              and handy.
                                  handy.

22
22            Q.
              Q.        Great.
                        Great.    It
                                  It probably
                                     probably would
                                              would have
                                                    have made better
                                                         made better

23
23      sense to
        sense to just
                 just make
                      make it
                           it all
                              all one
                                  one document,
                                      document, but
                                                but we
                                                    we

24
24      didn't.
        didn't.         So I
                        So   apologize.
                           I apologize.       And if
                                              And if we
                                                     we were in person,
                                                        were in person,



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1
1       I
        I would just hand
          would just      it all
                     hand it all over
                                 over to
                                      to you.
                                         you.                 But this
                                                              But this is
                                                                       is
2
2       the nature
        the        of the
            nature of the --
                          -- the
                             the Zoom situation that
                                 Zoom situation that we're
                                                     we're

3
3       in.
        in.

4
4                          So why
                           So why don't
                                  don't we take a
                                        we take a break for
                                                  break for

5
5       lunch.
        lunch.      How much
                    How      time would
                        much time would you like for
                                        you like for lunch?
                                                     lunch?
6
6             A.
              A.        Say --
                        Say -- what
                               what would
                                    would you
                                          you suggest?
                                              suggest?             I'm open.
                                                                   I'm open.

7
7                          MR. BURNETT:
                           MR. BURNETT:         How about
                                                How       1:00 o'clock?
                                                    about 1:00 o'clock?
8
8                          MS. GEIST:
                           MS. GEIST:       I
                                            I don't
                                              don't know if you're
                                                    know if you're

9
9       able to
        able to get
                get lunch
                    lunch quickly
                          quickly at
                                  at the
                                     the hotel
                                         hotel where
                                               where you
                                                     you

10
10      are, you
        are, you know, 1:00 o'clock
                 know, 1:00 o'clock --
                                    -- we could try
                                       we could try for
                                                    for
11
11      1:00.
        1:00.      You want
                   You      to say
                       want to say 1:15?
                                   1:15?             I don't know
                                                     I don't      if
                                                             know if

12
12      you're going down
        you're going down to
                          to a
                             a restaurant.
                               restaurant.
13
13                          THE
                            THE DEPONENT:
                                DEPONENT:        No,
                                                 No, 1:00 p.m. is
                                                     1:00 p.m. is fine
                                                                  fine.
14
14      Even ten
        Even ten to
                 to 1:00
                    1:00 would be fine,
                         would be fine, but
                                        but 1:00
                                            1:00 would
                                                 would be
                                                       be

15
15      fine with
        fine      me.
             with me.

16
16                         MS. GEIST:
                           MS. GEIST:       Okay.
                                            Okay.       1:00 o'clock.
                                                        1:00 o'clock.

17
17                         MR. BURNETT:
                           MR. BURNETT:         Why
                                                Why don't
                                                    don't we say 1:00?
                                                          we say 1:00?

18
18                         MS. GEIST:
                           MS. GEIST:       1:00 o'clock.
                                            1:00 o'clock.

19
19                          THE
                            THE DEPONENT:
                                DEPONENT:        Great.
                                                 Great.

20
20                         MS. GEIST:
                           MS. GEIST:       Very
                                            Very good.
                                                 good.       Thank
                                                             Thank you.
                                                                   you.

21
21                          THE
                            THE DEPONENT:
                                DEPONENT:        Thank
                                                 Thank you.
                                                       you.

22
22                          VIDEO OPERATOR:
                            VIDEO OPERATOR:          The time is
                                                     The time is
23
23      12:27 p.m.
        12:27 p.m.         We are going
                           We are       off the
                                  going off the record.
                                                record.

24
24                          (A recess
                            (A recess was taken for
                                      was taken for lunch
                                                    lunch after
                                                          after


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1
1                           which the proceedings
                            which the proceedings continued as
                                                  continued as

2
2                          follows:)
                           follows:)

3
3                           VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 1:01,
                                                               1:01, we
                                                                     we

4
4       are now
        are now back on the
                back on the record.
                            record.

5
5       BY MS.
        BY MS. GEIST:
               GEIST:

6
6             Q.
              Q.        Okay, welcome
                        Okay, welcome back,
                                      back, Doctor Alexander.
                                            Doctor Alexander.         I
                                                                      I

7
7       hope
        hope you
             you had
                 had a
                     a nice lunch.
                       nice lunch.

8
8             A.
              A.        Thank
                        Thank you.
                              you.    Yes, you
                                      Yes,     too.
                                           you too.

9
9             Q.
              Q.        Thank
                        Thank you.
                              you.    Quick but
                                      Quick     fine.
                                            but fine.       If you
                                                            If     could
                                                               you could

10
10      go ahead, Doctor
        go ahead,        Alexander, and
                  Doctor Alexander, and put Exhibit 5
                                        put Exhibit 5 in
                                                      in
11
11      front of
        front of you.
                 you.         And just
                              And just for
                                       for the
                                           the record,
                                               record, you've
                                                       you've

12
12      included this
        included this as
                      as an
                         an attachment
                            attachment to
                                       to your expert
                                          your expert

13
13      report in this
        report in this case, and this
                       case, and this is
                                      is a
                                         a 2017
                                           2017 report
                                                report

14
14      entitled "THE
        entitled "THE OPIOID
                      OPIOID EPIDEMIC,
                             EPIDEMIC, From Evidence to
                                       From Evidence to
15
15      Impact," from Johns
        Impact," from Johns Hopkins Bloomberg School
                            Hopkins Bloomberg School of
                                                     of
16
16      Public Health.
        Public Health.         Is that
                               Is that correct?
                                       correct?
17
17            A.
              A.        Yes, it
                        Yes, it is.
                                is.
18
18            Q.
              Q.        And could
                        And could you just explain
                                  you just explain to
                                                   to me
                                                      me briefly,
                                                         briefly,

19
19      why did you
        why did     attach the
                you attach the 2017
                               2017 Johns Hopkins report
                                    Johns Hopkins        to
                                                  report to

20
20      the expert
        the expert report
                   report in
                          in this
                             this case?
                                  case?
21
21            A.
              A.        Well, this was
                        Well, this was work that was
                                       work that was undertaken in
                                                     undertaken in

22
22      concert with
        concert      the Clinton
                with the Clinton Foundation,
                                 Foundation, and the focus
                                             and the focus
23
23      of this
        of this undertaking
                undertaking was to disseminate
                            was to             evidence-
                                   disseminate evidence-

24
24      based and
        based     evidence-informed approaches
              and evidence-informed approaches to
                                               to abate the
                                                  abate the



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1
1       opioid epidemic,
        opioid epidemic, and
                         and I thought it
                             I thought it was relevant for
                                          was relevant for
2
2       this purposes
        this          because it
             purposes because it --
                                 -- for
                                    for a few reasons.
                                        a few reasons.
3
3                           I
                            I guess the biggest
                              guess the         two were
                                        biggest two      that it
                                                    were that it
4
4       demonstrates
        demonstrates some of my
                     some of my activity
                                activity in
                                         in this
                                            this area,
                                                 area, as
                                                       as I
                                                          I

5
5       was one of
        was one of three
                   three faculty
                         faculty that
                                 that led
                                      led this
                                          this initiative
                                               initiative.
6
6                          And also
                           And also as
                                    as I
                                       I highlight in my
                                         highlight in    expert
                                                      my expert

7
7       report for this
        report for this case,
                        case, there
                              there is
                                    is remarkable
                                       remarkable alignment
                                                  alignment

8
8       between the
        between the types
                    types of
                          of abatement
                             abatement interventions
                                       interventions that
                                                     that
9
9       are --
        are -- that
               that are
                    are described
                        described in
                                  in Appendix
                                     Appendix A
                                              A and the
                                                and the

10
10      expert recommendations
        expert recommendations of many other
                               of many other parties,
                                             parties,

11
11      including, you
        including, you know, Surgeon General's
                       know, Surgeon General's reports
                                               reports and
                                                       and

12
12      a report
        a report from
                 from the
                      the current administration in
                          current administration in
13
13      Washington,
        Washington, D.C. focused on
                    D.C. focused on abating
                                    abating opioid-related
                                            opioid-related
14
14      harms
        harms and the like.
              and the like.
15
15                         And so
                           And so that's
                                  that's why
                                         why I included it.
                                             I included it.
16
16            Q.
              Q.        Okay.
                        Okay.   Thank
                                Thank you.
                                      you.       And I
                                                 And I was asking you
                                                       was asking you

17
17      that question,
        that question, because
                       because I
                               I did see a
                                 did see a number of
                                           number of

18
18      consistencies between
        consistencies between the
                              the Johns
                                  Johns Hopkins
                                        Hopkins report
                                                report and
                                                       and

19
19      your abatement plan
        your abatement      submitted in
                       plan submitted in this
                                         this case
                                              case and
                                                   and your
                                                       your

20
20      abatement plan
        abatement      submitted in
                  plan submitted in the
                                    the Ohio
                                        Ohio MDL
                                             MDL case.
                                                 case.                  So
                                                                        So

21
21      that was
        that     part of
             was part of the
                         the reason
                             reason why
                                    why I asked you.
                                        I asked you.

22
22                          Did the Johns
                            Did the Johns Hopkins
                                          Hopkins report, Appendix
                                                  report, Appendix

23
23      A, at
        A, at least
              least loosely
                    loosely form
                            form the
                                 the outline
                                     outline or
                                             or the
                                                the
24
24      thinking for
        thinking for what
                     what ultimately became your
                          ultimately became      first
                                            your first



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1
1       abatement report
        abatement        in this
                  report in this litigation?
                                 litigation?
2
2                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

3
3             A.
              A.        The
                        The report is --
                            report is -- the
                                         the Johns Hopkins report,
                                             Johns Hopkins report,

4
4       "From Evidence
        "From Evidence to
                       to Impact," is relevant
                          Impact," is          for the
                                      relevant for the
5
5       reasons that I
        reasons that I mentioned, but each
                       mentioned, but each of my --
                                           of my -- this
                                                    this
6
6       was a general
        was a         report, "From
              general report, "From Evidence
                                    Evidence to
                                             to Impact,"
                                                Impact,"

7
7       that wasn't
        that        focused on
             wasn't focused on a
                               a particular community, and
                                 particular community, and

8
8       in contrast,
        in           the report
           contrast, the        that I've
                         report that I've provided for the
                                          provided for the
9
9       county of
        county of --
                  -- for
                     for Cabell
                         Cabell County and the
                                County and the City of
                                               City of

10
10      Huntington is
        Huntington is based
                      based on
                            on and
                               and motivated
                                   motivated by
                                             by and
                                                and

11
11      informed by
        informed by many
                    many of
                         of the
                            the what
                                what I
                                     I would
                                       would call
                                             call

12
12      contextual dimensions
        contextual dimensions of
                              of the
                                 the epidemic
                                     epidemic or
                                              or the
                                                 the fabric
                                                     fabric
13
13      of the
        of the epidemic
               epidemic as
                        as it's
                           it's played out in
                                played out in Cabell County
                                              Cabell County

14
14      and the
        and the City of Huntington.
                City of Huntington.
15
15            Q.
              Q.        So let's
                        So let's take
                                 take a look just
                                      a look just quickly at page
                                                  quickly at      5
                                                             page 5

16
16      of the
        of the Johns
               Johns Hopkins report.
                     Hopkins report.                And by
                                                    And by the
                                                           the way,
                                                               way, while
                                                                    while

17
17      we're
        we're doing that, Doctor,
              doing that,         this is
                          Doctor, this is not the first
                                          not the first
18
18      iteration of
        iteration of the
                     the Johns
                         Johns Hopkins
                               Hopkins report, "From
                                       report, "From

19
19      Evidence to
        Evidence to Impact;" is that
                    Impact;" is that correct?
                                     correct?
20
20            A.
              A.        When
                        When you
                             you say "first iteration,"
                                 say "first iteration," I mean,
                                                        I mean,

21
21      this represents,
        this represents, I believe, the
                         I believe, the report that has
                                        report that has

22
22      been produced
        been          as the
             produced as the final
                             final report that was
                                   report that was

23
23      disseminated in, I
        disseminated in,   believe it
                         I believe it was,
                                      was, October of 2017.
                                           October of 2017.
24
24            Q.
              Q.        Sure.
                        Sure.   My question
                                My question --
                                            -- maybe
                                               maybe my
                                                     my question
                                                        question



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1
1       wasn't clear.
        wasn't clear.           There
                                There was at least
                                      was at least an
                                                   an earlier
                                                      earlier
2
2       version of this
        version of this Johns Hopkins report,
                        Johns Hopkins         "From
                                      report, "From

3
3       Evidence to
        Evidence to Impact"
                    Impact" back in 2015.
                            back in 2015.                     Is that correct?
                                                              Is that correct?
4
4             A.
              A.        No, I
                        No, I believe --
                              believe --

5
5                               (Deponent
                                (Deponent had an interruption
                                          had an interruption at
                                                              at his
                                                                 his

6
6       location.)
        location.)

7
7                           THE
                            THE DEPONENT:
                                DEPONENT:         Sorry for
                                                  Sorry for the
                                                            the
8
8       interruption.
        interruption.           That's fine.
                                That's fine.        Thank
                                                    Thank you
                                                          you very
                                                              very much.
                                                                   much.

9
9       I'm good.
        I'm good.         Thank
                          Thank you very much,
                                you very much, sir.
                                               sir.
10
10            A.
              A.        The 2015 report
                        The 2015 report was a separate
                                        was a separate report.
                                                       report                I
                                                                             I

11
11      wouldn't characterize it
        wouldn't characterize it as an earlier
                                 as an earlier version
                                               version of
                                                       of

12
12      this report.
        this report.         It was
                             It     a separate
                                was a separate report.
                                               report.

13
13            Q.
              Q.        Okay.
                        Okay.   But both
                                But      of these
                                    both of these reports
                                                  reports are
                                                          are

14
14      referenced in the
        referenced in the expert
                          expert report
                                 report you've
                                        you've provided on
                                               provided on

15
15      behalf of
        behalf of plaintiffs
                  plaintiffs here,
                             here, correct?
                                   correct?

16
16            A.
              A.        That may be.
                        That may be.     I
                                         I mean, there were,
                                           mean, there       again,
                                                       were, again,

17
17      650 or more
        650 or more references, and so
                    references, and so I
                                       I would
                                         would want to look
                                               want to look
18
18      carefully with
        carefully with you.
                       you.

19
19                          But it
                            But it may
                                   may well be the
                                       well be the case
                                                   case that
                                                        that I
                                                             I

20
20      referenced both the
        referenced both the 2015
                            2015 report and this
                                 report and this 2017
                                                 2017
21
21      report that we're
        report that       looking at
                    we're looking at here.
                                     here.

22
22            Q.
              Q.        So you
                        So     can quickly
                           you can         go to
                                   quickly go to page
                                                 page 4 of your
                                                      4 of      own
                                                           your own

23
23      expert report,
        expert report, Doctor, just so
                       Doctor, just so we
                                       we can clarify this,
                                          can clarify this,
24
24      because in
        because in each
                   each of
                        of your three abatement
                           your three abatement plans that
                                                plans that



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1
1       I
        I have seen -
          have seen - the
                      the one
                          one here, the one
                              here, the one in
                                            in Washington
                                               Washington

2
2       and the
        and the one
                one in
                    in Ohio
                       Ohio from
                            from the
                                 the MDL
                                     MDL case
                                         case -
                                              - both of the
                                                both of the
3
3       Johns
        Johns Hopkins reports or
              Hopkins reports or monographs issued in
                                 monographs issued in
4
4       October of
        October of 2015
                   2015 and
                        and October
                            October of
                                    of 2017
                                       2017 are
                                            are --
                                                -- are
                                                   are
5
5       referenced specifically in
        referenced specifically in those
                                   those reports.
                                         reports.
6
6                           There's even a
                            There's even a picture,
                                           picture, if
                                                    if you look at
                                                       you look at
7
7       page
        page 4 of your
             4 of      expert report
                  your expert        in this
                              report in this case.
                                             case.

8
8             A.
              A.        I'm quite
                        I'm       sure and
                            quite sure and recall
                                           recall having
                                                  having referenced
                                                         referenced

9
9       the 2017
        the 2017 report,
                 report, and
                         and actually
                             actually in
                                      in the
                                         the --
                                             -- in the page
                                                in the page

10
10      that's being
        that's being projected,
                     projected, I see that
                                I see that we report that
                                           we report that
11
11      this 2017
        this 2017 report
                  report reflects an updated
                         reflects an updated and expanded
                                             and expanded

12
12      revision of a
        revision of a prior
                      prior monograph,
                            monograph, which is referencing
                                       which is referencing

13
13      the 2015
        the 2015 version.
                 version.
14
14                          I
                            I guess the point
                              guess the       that I
                                        point that I was
                                                     was

15
15      requesting an opportunity
        requesting an opportunity to
                                  to confirm
                                     confirm with
                                             with you
                                                  you was
                                                      was

16
16      whether or not
        whether or not the
                       the 2015
                           2015 report
                                report was
                                       was specifically
                                           specifically

17
17      called out
        called out as
                   as a
                      a reference
                        reference in
                                  in my
                                     my expert
                                        expert report.
                                               report.                     But
                                                                           But

18
18      it may
        it may well
               well have been.
                    have been.            I think that
                                          I think that --
                                                       -- that
                                                          that --
                                                               --
19
19      that would
        that       -- that
             would -- that may
                           may well be the
                               well be the case.
                                           case.

20
20            Q.
              Q.        Okay.
                        Okay.   I
                                I mean, it's on
                                  mean, it's on page
                                                page 4 of your
                                                     4 of your

21
21      report.
        report.         I don't want
                        I don't      to quibble
                                want to quibble with
                                                with you
                                                     you or make
                                                         or make

22
22      you think I'm
        you think     trying to
                  I'm trying to trick
                                trick you.
                                      you.                   I'm
                                                             I'm --

23
23            A.
              A.        Well,
                        Well, where
                              where -- where
                                       where on page 4
                                             on page   is there
                                                     4 is there a
                                                                a

24
24      reference -- I
        reference -- I mean,
                       mean, I
                             I see that I
                               see that   allude to
                                        I allude to it.
                                                    it.                      I
                                                                             I



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1
1       -- there's
        -- there's a
                   a sentence that reads,
                     sentence that        "These monographs
                                   reads, "These monographs
2
2       were issued in
        were issued in October
                       October 2015 and October
                               2015 and October 2017,"
                                                2017," and
                                                       and

3
3       then I
        then   say, "The
             I say, "The latter
                         latter report is provided
                                report is          as
                                          provided as

4
4       Appendix A."
        Appendix A."         Thank
                             Thank you.
                                   you.

5
5                           But what
                            But what I'm questioning is:
                                     I'm questioning is:               I guess
                                                                       I guess

6
6       I thought you
        I thought you were asking whether
                      were asking         or not
                                  whether or     one of
                                             not one of the
                                                        the
7
7       650 odd references
        650 odd            is --
                references is -- I thought you
                                 I thought you were asking
                                               were asking

8
8       whether one of
        whether one of the
                       the 659
                           659 references is to
                               references is to the
                                                the 2015
                                                    2015
9
9       report, and that's
        report, and that's where
                           where I
                                 I was
                                   was raising
                                       raising question as
                                               question as

10
10      to whether
        to         or not
           whether or not that's
                          that's the
                                 the case.
                                     case.
11
11                          Because I
                            Because I don't believe it's
                                      don't believe it's the
                                                         the case,
                                                             case,
12
12      but it
        but it may
               may have been, as
                   have been, as I said.
                                 I said.

13
13            Q.
              Q.        No, it's
                        No, it's just
                                 just referenced -- you
                                      referenced -- you know,
                                                        know,

14
14      frankly, I
        frankly,   didn't cross-check
                 I didn't             it.
                          cross-check it.                     But it
                                                              But it is
                                                                     is here
                                                                        here

15
15      referenced as you
        referenced as you noted on page
                          noted on      --
                                   page --

16
16            A.
              A.        No, I
                        No,   --
                            I --

17
17            Q.
              Q.        -- page
                        -- page 4 of your
                                4 of your report.
                                          report.             Right?
                                                              Right?

18
18            A.
              A.        Yes, it
                        Yes, it is.
                                is.
19
19            Q.
              Q.        Okay. Thank
                        Okay. Thank you.
                                    you.        Now,
                                                Now, going back to
                                                     going back to the
                                                                   the
20
20      Johns
        Johns Hopkins "From Evidence
              Hopkins "From Evidence to
                                     to Impact"
                                        Impact" report that
                                                report that

21
21      you attached specifically
        you attached specifically at
                                  at Appendix
                                     Appendix A,
                                              A, and
                                                 and that
                                                     that
22
22      was the October
        was the October of
                        of 2017
                           2017 report, if you
                                report, if     look at
                                           you look at page
                                                       page

23
23      5, that
        5, that sort
                sort of
                     of outlines,
                        outlines, if
                                  if you
                                     you will,
                                         will, you
                                               you know,
                                                   know, a
                                                         a

24
24      "commitment to
        "commitment to three
                       three principles":
                             principles": Informing Action
                                          Informing Action



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1
1       with Evidence; "Intervening
        with Evidence; "Intervening Comprehensively;"
                                    Comprehensively;" and
                                                      and
2
2       "Promoting Appropriate
        "Promoting Appropriate and Safe Use
                               and Safe     of Prescription
                                        Use of Prescription
3
3       Opioids."
        Opioids."

4
4                              Do
                               Do you
                                  you see
                                      see where
                                          where I am?
                                                I am?

5
5             A.
              A.        Yes.
                        Yes.     Yes,
                                 Yes, ma'am.
                                      ma'am.

6
6             Q.
              Q.        And then
                        And then it
                                 it indicates
                                    indicates that
                                              that "Those
                                                   "Those
7
7       principles led to
        principles led to the
                          the delineation of 10
                              delineation of    topic areas
                                             10 topic areas
8
8       across the
        across the spectrum
                   spectrum of
                            of the
                               the problem
                                   problem ranging from
                                           ranging from

9
9       how"
        how" physicians "treat pain
             physicians "treat      to treatment
                               pain to treatment for
                                                 for opioid
                                                     opioid
10
10      use disorders to
        use disorders to harm
                         harm reduction strategies."
                              reduction strategies."               And
                                                                   And

11
11      then "The
        then "The findings
                  findings of
                           of the
                              the report
                                  report are
                                         are comprised
                                             comprised of
                                                       of

12
12      evidence from
        evidence from these
                      these topic
                            topic areas."
                                  areas."
13
13                             Did
                               Did I
                                   I read all of
                                     read all of that
                                                 that correctly?
                                                      correctly?
14
14            A.
              A.        Yes.
                        Yes.

15
15                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

16
16            Q.
              Q.        And obviously
                        And obviously you
                                      you were
                                          were part of the
                                               part of the research
                                                           research

17
17      team at
        team at Johns Hopkins that
                Johns Hopkins that did the research
                                   did the          and put
                                           research and put

18
18      together this
        together this report?
                      report?
19
19            A.
              A.        Yes, I
                        Yes, I was one of
                               was one of three
                                          three faculty
                                                faculty that
                                                        that led
                                                             led
20
20      this initiative.
        this initiative.
21
21            Q.
              Q.        Okay.
                        Okay.    And if
                                 And if you look with
                                        you look with me
                                                      me at the --
                                                         at the --
22
22      the outline
        the outline of
                    of the
                       the report, the ten
                           report, the ten topic
                                           topic areas,
                                                 areas, the
                                                        the
23
23      first half
        first      is entitled
              half is entitled "Improving
                               "Improving the
                                          the Safe
                                              Safe Use
                                                   Use of
                                                       of

24
24      Prescription Opioids"
        Prescription Opioids" and
                              and that
                                  that addresses
                                       addresses five
                                                 five


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1
1       topics, and
        topics, and then
                    then "The
                         "The second
                              second half" includes
                                     half" includes

2
2       additional topics
        additional topics focusing
                          focusing "on
                                   "on addressing,"
                                       addressing,"
3
3       "Identifying and
        "Identifying and Treating People with
                         Treating People      Opioid-Use
                                         with Opioid-Use

4
4       Disorders."
        Disorders."

5
5                           Do
                            Do you
                               you see
                                   see where
                                       where I am, Doctor?
                                             I am, Doctor?

6
6             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

7
7             Q.
              Q.        Okay.
                        Okay.   And would
                                And would you
                                          you agree
                                              agree with me that
                                                    with me that
8
8       this loosely
        this loosely follows
                     follows some
                             some of
                                  of the
                                     the topics
                                         topics that
                                                that you
                                                     you

9
9       have in your
        have in      expert report?
                your expert report?

10
10            A.
              A.        Well, there are
                        Well, there are some overlap.
                                        some overlap.        I'm --
                                                             I'm --

11
11                          THE
                            THE DEPONENT:
                                DEPONENT:        I'm sorry,
                                                 I'm sorry, David.
                                                            David.     Did
                                                                       Did

12
12      you
        you wish to say
            wish to say something?
                        something?
13
13                          MR. BURNETT:
                            MR. BURNETT:       I just said
                                               I just said "Objection."
                                                           "Objection."
14
14                          You can answer.
                            You can answer.
15
15            A.
              A.        There
                        There was some overlap,
                              was some overlap, and
                                                and there
                                                    there are
                                                          are --
16
16      then there
        then there are
                   are areas
                       areas where there's not
                             where there's     so much
                                           not so much

17
17      overlap.
        overlap.         And you
                         And you know,
                                 know, keep in mind,
                                       keep in       this was
                                               mind, this was a
                                                              a

18
18      report that was
        report that     generated in
                    was generated in 2017
                                     2017 and
                                          and was focused
                                              was focused

19
19      on a
        on a national epidemic.
             national epidemic.

20
20                          My report
                            My report for
                                      for this
                                          this case
                                               case was
                                                    was generated
                                                        generated

21
21      earlier this
        earlier this year, and over
                     year, and      the course
                               over the        of perhaps
                                        course of         a
                                                  perhaps a

22
22      year,
        year, and is focused
              and is focused on
                             on Cabell
                                Cabell County and the
                                       County and the City
                                                      City

23
23      of Huntington.
        of Huntington.          So there
                                So there was certainly some
                                         was certainly some
24
24      dimensions of the
        dimensions of the epidemic
                          epidemic that
                                   that are
                                        are highly
                                            highly



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1
1       consistent in
        consistent in terms
                      terms of
                            of abatement between this
                               abatement between this
2
2       report and my
        report and my report
                      report in
                             in this
                                this case.
                                     case.
3
3                           But --
                            But -- but there's not
                                   but there's not perfect
                                                   perfect

4
4       alignment either,
        alignment either, nor
                          nor would
                              would I expect there
                                    I expect there to
                                                   to be.
                                                      be.
5
5             Q.
              Q.        And nor
                        And nor did
                                did I
                                    I suggest it.
                                      suggest it.           My question
                                                            My question

6
6       really
        really was:
               was:         Were
                            Were you -- was
                                 you --     this essentially
                                        was this essentially the
                                                             the
7
7       starting point
        starting point for
                       for the
                           the abatement report you
                               abatement report you put in
                                                    put in

8
8       in the
        in the Ohio
               Ohio case
                    case involving
                         involving Cuyahoga
                                   Cuyahoga County and
                                            County and

9
9       Summit County?
        Summit County?

10
10                          MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
11
11      answered.
        answered.

12
12            A.
              A.        I
                        I would say it's
                          would say it's not.
                                         not.
13
13            Q.
              Q.        This didn't form
                        This didn't form at
                                         at all
                                            all any
                                                any of
                                                    of the
                                                       the bases
                                                           bases

14
14      for your
        for      opinions in
            your opinions in that
                             that initial
                                  initial case that you
                                          case that you put
                                                        put

15
15      the abatement
        the abatement report
                      report in
                             in in
                                in March
                                   March 2019
                                         2019 in
                                              in Ohio?
                                                 Ohio?
16
16                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

17
17            A.
              A.        I disagree with
                        I disagree      that statement.
                                   with that statement.           It did.
                                                                  It did.

18
18      It
        It did inform it.
           did inform it.        But you
                                 But     asked if
                                     you asked if it
                                                  it was the
                                                     was the

19
19      starting point,
        starting point, and
                        and I
                            I would not characterize
                              would not              it as
                                        characterize it as
20
20      the starting
        the starting point.
                     point.

21
21                          I
                            I mean,
                              mean, keep in mind
                                    keep in mind that
                                                 that my
                                                      my report
                                                         report

22
22      and my
        and my recommendations
               recommendations are
                               are based on a
                                   based on a huge volume
                                              huge volume

23
23      of literature
        of literature and
                      and an enormous scientific
                          an enormous            evidence
                                      scientific evidence

24
24      base.
        base.



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1
1                           So it's only
                            So it's only natural,
                                         natural, for
                                                  for example,
                                                      example, if
                                                               if
2
2       I'm talking about
        I'm talking about treatment
                          treatment for
                                    for opioid
                                        opioid use
                                               use

3
3       disorder, some
        disorder, some of
                       of that
                          that literature
                               literature that
                                          that I
                                               I would
                                                 would cite
                                                       cite

4
4       in this
        in this 2017
                2017 report is bound
                     report is       to be
                               bound to    the same
                                        be the same as
                                                    as

5
5       literature that
        literature that I
                        I would cite in
                          would cite in my
                                        my report for
                                           report for

6
6       Cuyahoga County and
        Cuyahoga County and Summit
                            Summit County.
                                   County.

7
7                           But I
                            But I wouldn't -- I
                                  wouldn't -- I would
                                                would not
                                                      not

8
8       characterize this
        characterize this as the starting
                          as the starting point for my
                                          point for my

9
9       report in Cuyahoga
        report in          and Summit
                  Cuyahoga and Summit County.
                                      County.

10
10                          When
                            When I'm asked to
                                 I'm asked to develop
                                              develop an
                                                      an abatement
                                                         abatement

11
11      plan for a
        plan for a community,
                   community, the
                              the starting
                                  starting point is to
                                           point is to
12
12      learn more
        learn      about the
              more about the community
                             community and
                                       and understand the
                                           understand the

13
13      scope and
        scope     the nature
              and the nature of
                             of the
                                the epidemic
                                    epidemic within the
                                             within the

14
14      community that's
        community that's been
                         been affected.
                              affected.
15
15                          So the starting
                            So the starting point is not
                                            point is not
16
16      scientific evidence.
        scientific evidence.             The start --
                                         The start --
17
17            Q.
              Q.        I apologize.
                        I apologize.      That
                                          That was
                                               was my
                                                   my phone.
                                                      phone.

18
18            A.
              A.        Oh, okay.
                        Oh, okay.
19
19                          The starting point
                            The starting point is
                                               is not scientific
                                                  not scientific

20
20      evidence; the
        evidence; the starting
                      starting point is understanding
                               point is               the
                                        understanding the

21
21      community.
        community.

22
22            Q.
              Q.        Would
                        Would you agree with
                              you agree with me,
                                             me, Doctor Alexander,
                                                 Doctor Alexander,

23
23      that some
        that some of
                  of these
                     these topics,
                           topics, these
                                   these headings that
                                         headings that

24
24      we're looking at
        we're looking at here together on
                         here together on the
                                          the screen,
                                              screen, 1
                                                      1



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1
1       through 10,
        through     some of
                10, some of them
                            them are identical or
                                 are identical or virtually
                                                  virtually

2
2       identical to
        identical to the
                     the headings that appear
                         headings that appear in
                                              in your
                                                 your

3
3       report?
        report?

4
4             A.
              A.        Absolutely.
                        Absolutely.

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        There are --
                        There are -- absolutely.
                                     absolutely.            There are some
                                                            There are some
7
7       broad headings
        broad          and broad
              headings and broad domains that run
                                 domains that run

8
8       throughout any
        throughout any --
                       -- any
                          any reasonable and comprehensive
                              reasonable and comprehensive

9
9       abatement plan,
        abatement       things --
                  plan, things --
10
10            Q.
              Q.        I understand.
                        I understand.

11
11            A.
              A.        -- reading
                        --         --
                           reading --

12
12            Q.
              Q.        Your answer
                        Your answer was, "Absolutely," I'm
                                    was, "Absolutely," I'm correct?
                                                           correct?

13
13                          MR. BURNETT:
                            MR. BURNETT:      No, again, I
                                              No, again, I believe
                                                           believe you
                                                                   you

14
14      interrupted the
        interrupted the witness
                        witness while
                                while he
                                      he was answering the
                                         was answering the
15
15      question.
        question.

16
16                          MS. GEIST:
                            MS. GEIST:     I just --
                                           I just -- I'm
                                                     I'm going to
                                                         going to

17
17      move to
        move to strike
                strike after
                       after "Absolutely."
                             "Absolutely."                  Because, you
                                                            Because, you

18
18      know,
        know, I feel like
              I feel like there's
                          there's a
                                  a fair
                                    fair bit
                                         bit of
                                             of
19
19      narrative --
        narrative --

20
20                          MR. ARNOLD:
                            MR. ARNOLD:     Counsel,
                                            Counsel, you
                                                     you can't --
                                                         can't --

21
21      this is
        this is Edward
                Edward Arnold
                       Arnold for
                              for the
                                  the plaintiffs.
                                      plaintiffs.                   You
                                                                    You

22
22      cannot move
        cannot move to
                    to strike.
                       strike.           There is no
                                         There is no move
                                                     move to
                                                          to strike
                                                             strike
23
23      here --
        here --

24
24                          MS. GEIST:
                            MS. GEIST:     I'm
                                           I'm going to move
                                               going to move to
                                                             to


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1
1       strike --
        strike -- I can move
                  I can move to
                             to strike
                                strike after
                                       after "Absolutely."
                                             "Absolutely."
2
2                          MR. ARNOLD:
                           MR. ARNOLD:      There's
                                            There's no
                                                    no such thing.
                                                       such thing.

3
3                          MS. GEIST:
                           MS. GEIST:      My seven
                                           My seven hours is being
                                                    hours is being
4
4       impact by
        impact by all
                  all of
                      of the
                         the long,
                             long, narrative
                                   narrative responses
                                             responses

5
5       given
        given by
              by Doctor --
                 Doctor --

6
6                          MR. ARNOLD:
                           MR. ARNOLD:      You
                                            You are
                                                are giving long
                                                    giving long

7
7       narrative
        narrative questions --
                  questions --

8
8                          MS. GEIST:
                           MS. GEIST:      I --
                                           I --

9
9                          MR. ARNOLD:
                           MR. ARNOLD:      -- so
                                            -- so make
                                                  make briefer
                                                       briefer

10
10      questions if you
        questions if you want to use
                         want to use your time.
                                     your time.

11
11                         MS. GEIST:
                           MS. GEIST:      The
                                           The question
                                               question was:
                                                        was:     "Are
                                                                 "Are

12
12      these identical
        these identical or
                        or near identical to
                           near identical to what's in your
                                             what's in your

13
13      report?"
        report?"         That is not
                         That is     a long
                                 not a long narrative of question.
                                            narrative of question.

14
14                          I've
                            I've gotten
                                 gotten paragraphs of answers
                                        paragraphs of answers in
                                                              in
15
15      the response.
        the response.         I'm
                              I'm noting for the
                                  noting for the record that the
                                                 record that the
16
16      seven hours
        seven       is being
              hours is       taken up
                       being taken    in large
                                   up in large part
                                               part by
                                                    by

17
17      Doctor Alexander expanding
        Doctor Alexander expanding well
                                   well beyond the question
                                        beyond the question
18
18      posed.
        posed.

19
19                          So let's move
                            So let's      on.
                                     move on.

20
20      BY MS.
        BY MS. GEIST:
               GEIST:

21
21            Q.
              Q.        Doctor Alexander, I
                        Doctor Alexander, I want
                                            want you to go
                                                 you to    to the
                                                        go to the
22
22      first page
        first      of the
              page of the Johns Hopkins "From
                          Johns Hopkins "From Evidence
                                              Evidence to
                                                       to
23
23      Impact" document
        Impact"          that we're
                document that       looking at
                              we're looking at here.
                                               here.

24
24                         MR. BURNETT:
                           MR. BURNETT:       Counsel, let me
                                              Counsel, let me



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1
1       interject as
        interject as well.
                     well.           I'm
                                     I'm going to object
                                         going to object to
                                                         to
2
2       questions that require
        questions that         longer answers
                       require longer         because your
                                      answers because your

3
3       questions are unfair
        questions are        or misleading,
                      unfair or misleading, and
                                            and the
                                                the witness
                                                    witness

4
4       is entitled
        is entitled to
                    to answer
                       answer as
                              as he sees fit,
                                 he sees fit, so
                                              so I
                                                 I would
                                                   would

5
5       suggest you
        suggest     ask different
                you ask different questions
                                  questions if
                                            if you're
                                               you're not
                                                      not

6
6       happy
        happy with
              with his answers.
                   his answers.

7
7                           You're -- you
                            You're -- you know, the witness
                                          know, the         is
                                                    witness is

8
8       entitled to
        entitled to answer
                    answer the
                           the question
                               question you
                                        you present in the
                                            present in the
9
9       best way
        best     that he
             way that    thinks possible
                      he thinks          to best
                                possible to best represent
                                                 represent

10
10      his views on
        his views on the
                     the question.
                         question.

11
11            Q.
              Q.        I'll go
                        I'll go back
                                back one
                                     one page.
                                         page.
12
12                         MS. GEIST:
                           MS. GEIST:       John,
                                            John, please
                                                  please -- sorry,
                                                            sorry, I'm
                                                                   I'm

13
13      looking for
        looking for the
                    the --
                        -- it's
                           it's the
                                the first
                                    first or
                                          or second
                                             second page.
                                                    page.

14
14      It
        It has "The Clinton
           has "The Clinton Foundation" at the
                            Foundation" at the top.
                                               top.                  There
                                                                     There

15
15      we
        we go.
           go.      Thank
                    Thank you.
                          you.

16
16            Q.
              Q.        Doctor Alexander, I
                        Doctor Alexander,   assume you're
                                          I assume        familiar
                                                   you're familiar

17
17      with this page
        with this      in the
                  page in the Johns Hopkins report?
                              Johns Hopkins report?

18
18            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

19
19            Q.
              Q.        Okay.
                        Okay.   And do
                                And do you agree with
                                       you agree      the statement,
                                                 with the statement,

20
20      it appears
        it appears to
                   to be,
                      be, by the Clinton
                          by the Clinton Foundation and
                                         Foundation and

21
21      signed off
        signed off by
                   by Former President Bill
                      Former President Bill Clinton in the
                                            Clinton in the
22
22      second paragraph
        second paragraph which indicates that
                         which indicates that "There's
                                              "There's no
                                                       no

23
23      single solution
        single solution to
                        to this
                           this grave
                                grave public
                                      public health threat,
                                             health threat,

24
24      but we
        but we know
               know where to start.
                    where to start.                First
                                                   First we must
                                                         we must



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1
1       acknowledge that
        acknowledge that opioid
                         opioid addiction
                                addiction is
                                          is a
                                             a disease that
                                               disease that

2
2       requires comprehensive treatment."
        requires comprehensive treatment."
3
3                           I assume you
                            I assume     agree with
                                     you agree      that.
                                               with that.

4
4             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

5
5             Q.
              Q.        "Closing the
                        "Closing the path to addiction
                                     path to addiction means
                                                       means

6
6       addressing the
        addressing the overprescription
                       overprescription of
                                        of legal
                                           legal opioids."
                                                 opioids."
7
7       Do
        Do you agree with
           you agree      that?
                     with that?

8
8             A.
              A.        I mean --
                        I mean -- "Closing
                                  "Closing the
                                           the path" --
                                               path" --

9
9             Q.
              Q.        Well, let's read
                        Well, let's read the
                                         the whole sentence.
                                             whole sentence.

10
10      "Closing the
        "Closing the path to addiction
                     path to addiction means
                                       means addressing
                                             addressing the
                                                        the
11
11      overprescription of
        overprescription of legal
                            legal opioids
                                  opioids and
                                          and the
                                              the
12
12      proliferation of illicit
        proliferation of illicit opioids
                                 opioids such
                                         such as
                                              as heroin and
                                                 heroin and

13
13      drugs laced with
        drugs laced      fentanyl."
                    with fentanyl."

14
14                          Do
                            Do you agree with
                               you agree      that sentence?
                                         with that sentence?
15
15            A.
              A.        And am
                        And am I -- I
                               I -- I discuss in great
                                      discuss in great detail in my
                                                       detail in my
16
16      report
        report what
               what I think it's
                    I think it's going to take
                                 going to take to
                                               to reverse
                                                  reverse

17
17      opioid-related harms
        opioid-related       in Cabell
                       harms in Cabell County and the
                                       County and the City
                                                      City

18
18      of Huntington,
        of             and so
           Huntington, and so rather than weighing
                              rather than          in on
                                          weighing in on
19
19      the former
        the former president's
                   president's words,
                               words, I
                                      I would
                                        would rather refer
                                              rather refer

20
20      to the
        to the four
               four corners
                    corners of
                            of my report, which
                               my report, which I think
                                                I think

21
21      very
        very well characterize what
             well characterize what I think it
                                    I think it will take to
                                               will take to
22
22      reverse opioid-related harms.
        reverse opioid-related harms.

23
23            Q.
              Q.        But the
                        But the question
                                question was:
                                         was:          Do
                                                       Do you agree or
                                                          you agree or
24
24      disagree
        disagree with the sentence
                 with the          that I
                          sentence that   just read?
                                        I just read?



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1
1       "Closing the
        "Closing the path to addiction
                     path to addiction means
                                       means addressing
                                             addressing the
                                                        the
2
2       overprescription of
        overprescription of legal
                            legal opioids
                                  opioids and
                                          and the
                                              the
3
3       proliferation of illicit
        proliferation of illicit opioids
                                 opioids such
                                         such as
                                              as heroin and
                                                 heroin and

4
4       drugs laced with
        drugs laced      fentanyl."
                    with fentanyl."

5
5                          MR. BURNETT:
                           MR. BURNETT:       Objection, asked
                                              Objection, asked and
                                                               and
6
6       answered.
        answered.

7
7             Q.
              Q.        Do
                        Do you agree or
                           you agree or disagree?
                                        disagree?

8
8             A.
              A.        I think that
                        I think that there
                                     there are
                                           are many
                                               many different
                                                    different

9
9       interventions that
        interventions that have
                           have very
                                very good evidence to
                                     good evidence to
10
10      support them
        support them that
                     that can be used
                          can be      to address
                                 used to address the
                                                 the
11
11      thousands of
        thousands of people
                     people within the county
                            within the county that
                                              that have
                                                   have

12
12      opioid use
        opioid     disorder, and
               use disorder, and I'm
                                 I'm hesitant to --
                                     hesitant to -- to
                                                    to
13
13      simplify what
        simplify      is a
                 what is a complex
                           complex phenomenon.
                                   phenomenon.                 I think
                                                               I think

14
14      that --
        that --
15
15            Q.
              Q.        Doctor Alexander, I
                        Doctor Alexander, I don't
                                            don't want to interrupt
                                                  want to interrupt
16
16      you,
        you, I
             I really don't.
               really don't.          But it
                                      But it was a question
                                             was a          that
                                                   question that

17
17      was really clear
        was really clear and
                         and really
                             really simple.
                                    simple.                 There's a
                                                            There's a

18
18      sentence in
        sentence in the
                    the Johns Hopkins report
                        Johns Hopkins        that -- you
                                      report that    you

19
19      were a part
        were a part of
                    of that
                       that report.
                            report.               You chose to
                                                  You chose to include
                                                               include
20
20      it as
        it as a
              a reference
                reference material in your
                          material in      expert report
                                      your expert report

21
21      here.
        here.

22
22                          There is a
                            There is a statement
                                       statement I just read
                                                 I just      to
                                                        read to

23
23      you, and my
        you, and my only
                    only question, sir, is:
                         question, sir, is:                 Do
                                                            Do you agree
                                                               you agree

24
24      or disagree?
        or disagree?         Can
                             Can you answer that
                                 you answer that question?
                                                 question?



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1
1                           MR. BURNETT:
                            MR. BURNETT:      Counsel.
                                              Counsel.         Counsel,
                                                               Counsel,

2
2       number one, you're,
        number one,         again, interrupting
                    you're, again, interrupting him.
                                                him.                      I'm
                                                                          I'm

3
3       -- it's
        -- it's too
                too bad
                    bad you're
                        you're not
                               not happy
                                   happy with
                                         with his
                                              his answer,
                                                  answer,

4
4       but he's
        but      entitled to
            he's entitled to answer
                             answer as
                                    as he sees fit.
                                       he sees fit.                    If it
                                                                       If it
5
5       doesn't lend
        doesn't lend itself
                     itself to
                            to a
                               a yes or no
                                 yes or no answer,
                                           answer, he's
                                                   he's

6
6       entitled to
        entitled to say
                    say that.
                        that.            It's
                                         It's his testimony.
                                              his testimony.

7
7             Q.
              Q.        Not yes
                        Not     or no.
                            yes or no.     Do
                                           Do you agree or
                                              you agree or disagree?
                                                           disagree?

8
8       That's the only
        That's the only question.
                        question.             If
                                              If you
                                                 you disagree,
                                                     disagree, you can
                                                               you can

9
9       tell me
        tell me and
                and you can tell
                    you can tell me
                                 me why.
                                    why.                    If
                                                            If you agree, you
                                                               you agree, you

10
10      can tell
        can tell me
                 me that
                    that too.
                         too.
11
11                          MR. BURNETT:
                            MR. BURNETT:      Same objection.
                                              Same objection.         He's
                                                                      He's

12
12      answered as
        answered as he
                    he saw fit.
                       saw fit.            You've
                                           You've now answered the
                                                  now answered the
13
13      question three times.
        question three times.
14
14                          MS. GEIST:
                            MS. GEIST:     He
                                           He hasn't
                                              hasn't answered.
                                                     answered.

15
15            A.
              A.        Let me
                        Let    try again.
                            me try again.       These are the
                                                These are the former
                                                              former
16
16      president's
        president's words.
                    words.         They're not my
                                   They're not my own.
                                                  own.             I think
                                                                   I think

17
17      that addiction
        that addiction is
                       is a
                          a complex phenomenon and
                            complex phenomenon and in
                                                   in the
                                                      the
18
18      case of
        case of Cabell
                Cabell County and the
                       County and the City
                                      City of Huntington, I
                                           of Huntington, I

19
19      think it's
        think it's been
                   been driven,
                        driven, in
                                in part, by the
                                   part, by the large
                                                large
20
20      oversupply of
        oversupply of prescription
                      prescription opioids,
                                   opioids, so
                                            so if
                                               if you're
                                                  you're

21
21      asking whether
        asking whether I think that
                       I think that we
                                    we need to do
                                       need to do a
                                                  a better
                                                    better

22
22      job of
        job of reducing the oversupply
               reducing the oversupply of
                                       of prescription
                                          prescription

23
23      opioids in
        opioids in order
                   order to
                         to help
                            help reduce the number
                                 reduce the        of new
                                            number of new

24
24      individuals developing
        individuals developing opioid
                               opioid use
                                      use disorder,
                                          disorder, I
                                                    I would
                                                      would



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1
1       say absolutely.
        say absolutely.
2
2                       But addiction
                        But addiction is
                                      is a life-long disease,
                                         a life-long disease,

3
3       and people
        and people have opioid use
                   have opioid use disorder their whole
                                   disorder their whole

4
4       lives.
        lives.      That
                    That doesn't mean that
                         doesn't mean that they're
                                           they're living
                                                   living in
                                                          in
5
5       active addiction.
        active addiction.     But I
                              But   just am
                                  I just    -- am
                                         am -- am hesitant to
                                                  hesitant to

6
6       oversimplify and
        oversimplify     say that
                     and say that --
                                  -- that
                                     that closing
                                          closing or that
                                                  or that

7
7       reducing the path
        reducing the      to addiction
                     path to addiction is
                                       is this
                                          this single
                                               single
8
8       thing.
        thing.

9
9                        We need to
                         We need to educate
                                    educate prescribers.
                                            prescribers.            We
                                                                    We

10
10      need to educate
        need to educate the
                        the general public.
                            general public.                We
                                                           We need to
                                                              need to

11
11      reduce the oversupply
        reduce the oversupply of
                              of opioids.
                                 opioids.                We need to
                                                         We need to do
                                                                    do a
                                                                       a

12
12      better job
        better job of
                   of using alternative treatments
                      using alternative treatments to
                                                   to treat
                                                      treat
13
13      and manage
        and manage pain.
                   pain.      We need to
                              We need to do
                                         do a better job
                                            a better job of
                                                         of
14
14      linking people
        linking        to care
                people to care so that if
                               so that if people show up
                                          people show    in
                                                      up in

15
15      an emergency
        an emergency department
                     department with an overdose,
                                with an overdose, they're
                                                  they're
16
16      not simply given
        not simply given a
                         a dose
                           dose of
                                of naloxone and sent
                                   naloxone and sent home.
                                                     home.

17
17                       We need to
                         We need to screen
                                    screen adolescents
                                           adolescents and
                                                       and
18
18      teenagers in
        teenagers in order
                     order to
                           to identify
                              identify individuals
                                       individuals that
                                                   that may
                                                        may
19
19      be using
        be       opioids nonmedically.
           using opioids nonmedically.              So I
                                                    So   apologize that
                                                       I apologize that
20
20      I'm not willing
        I'm not         to just
                willing to just say,
                                say, "Yes,
                                     "Yes, I agree with
                                           I agree      the
                                                   with the

21
21      president" or "No,
        president" or "No, I disagree with
                           I disagree      the president,"
                                      with the president,"

22
22      but it's
        but it's a
                 a complex
                   complex process
                           process and
                                   and a
                                       a complex
                                         complex set
                                                 set of
                                                     of
23
23      solutions, and
        solutions, and that's
                       that's what
                              what I've articulated in
                                   I've articulated in my
                                                       my

24
24      report.
        report.



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1
1             Q.
              Q.        Does anywhere in
                        Does anywhere in this
                                         this sentence
                                              sentence that
                                                       that I've
                                                            I've
2
2       just read
        just      to you
             read to you now two or
                         now two or three
                                    three times
                                          times -- is
                                                   is the
                                                      the
3
3       word "oversupply" anywhere
        word "oversupply"          in this
                          anywhere in this sentence?
                                           sentence?

4
4                          MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

5
5             A.
              A.        I mean, we've
                        I mean,       -- we've
                                we've -- we've discussed --
                                               discussed --

6
6             Q.
              Q.        Doctor Alexander, it's
                        Doctor Alexander, it's a
                                               a yes or no.
                                                 yes or no.           The
                                                                      The

7
7       sentence I
        sentence   just read
                 I just read to
                             to you two or
                                you two or three
                                           three times,
                                                 times, is
                                                        is
8
8       the word
        the      "oversupply" in
            word "oversupply" in that
                                 that sentence?
                                      sentence?

9
9                          MR. BURNETT:
                           MR. BURNETT:       Counsel,
                                              Counsel, he
                                                       he was in the
                                                          was in the
10
10      process of answering
        process of answering you.
                             you.             That's about the
                                              That's about the seventh
                                                               seventh
11
11      time you've
        time        interrupted him.
             you've interrupted him.               Please do
                                                   Please do not
                                                             not do
                                                                 do

12
12      that.
        that.

13
13                         MS. GEIST:
                           MS. GEIST:      No,
                                           No, Doctor Alexander was
                                               Doctor Alexander was

14
14      going off on
        going off on another
                     another multi-paragraph
                             multi-paragraph answer,
                                             answer, and
                                                     and
15
15      you,
        you, Counsel, directed me
             Counsel, directed    to be
                               me to be specific.
                                        specific.               I cannot
                                                                I cannot

16
16      be more
        be      specific than
           more specific than I am being.
                              I am being.

17
17            Q.
              Q.        The
                        The question is:
                            question is:      Is the word
                                              Is the      "oversupply"
                                                     word "oversupply"

18
18      in this
        in this sentence
                sentence that
                         that we're looking at?
                              we're looking at?
19
19                         MR. BURNETT:
                           MR. BURNETT:       Counsel,
                                              Counsel, what
                                                       what I'm
                                                            I'm

20
20      objecting to
        objecting to is
                     is he started to
                        he started to answer
                                      answer your
                                             your question
                                                  question

21
21      and then
        and then you interrupted.
                 you interrupted.             He's entitled to
                                              He's entitled to answer
                                                               answer
22
22      as he
        as he sees fit.
              sees fit.         If
                                If you
                                   you don't like the
                                       don't like the answer,
                                                      answer, you
                                                              you

23
23      can ask
        can ask a follow-up question.
                a follow-up question.

24
24                         MS. GEIST:
                           MS. GEIST:      He's
                                           He's not entitled to
                                                not entitled to


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1
1       engage --
        engage --
2
2                       MR. BURNETT:
                        MR. BURNETT:       You are not
                                           You are     entitled to
                                                   not entitled to
3
3       interrupt him.
        interrupt him.

4
4                       MS. GEIST:
                        MS. GEIST:      I'm
                                        I'm not entitled to
                                            not entitled to have
                                                            have

5
5       my seven
        my seven hours taken up
                 hours taken    by paragraph
                             up by           after
                                   paragraph after

6
6       paragraph answer --
        paragraph answer --
7
7                       MR. BURNETT:
                        MR. BURNETT:       Counsel, that is
                                           Counsel, that is his
                                                            his

8
8       testimony.
        testimony.      Whether or not
                        Whether or not you like it
                                       you like it or
                                                   or not,
                                                      not, he
                                                           he

9
9       is -- all
        is        -- everything
              all -- everything that
                                that he's saying is
                                     he's saying is on
                                                    on
10
10      topic.
        topic.      So it's
                    So it's all
                            all his testimony.
                                his testimony.

11
11                      MS. GEIST:
                        MS. GEIST:      You
                                        You know
                                            know what,
                                                 what, Counsel,
                                                       Counsel,

12
12      I'm reserving my
        I'm reserving my right to extend,
                         right to extend, move the Court,
                                          move the Court,

13
13      for an
        for an additional
               additional day of deposition
                          day of            from Doctor
                                 deposition from Doctor

14
14      Alexander if
        Alexander if this
                     this keeps
                          keeps up.
                                up.            I'm
                                               I'm warning
                                                   warning you and
                                                           you and

15
15      I'm providing notice
        I'm providing notice to
                             to the
                                the witness.
                                    witness.

16
16                       I
                         I mean,
                           mean, I
                                 I have seven hours.
                                   have seven hours.        So
                                                            So we
                                                               we

17
17      will move the
        will move the Court for relief
                      Court for        and get
                                relief and     additional
                                           get additional

18
18      time in
        time in this
                this case if Doctor
                     case if        Alexander will
                             Doctor Alexander will not
                                                   not

19
19      simply answer
        simply answer my
                      my questions.
                         questions.

20
20                      MR. BURNETT:
                        MR. BURNETT:       And Counsel,
                                           And Counsel, I think the
                                                        I think the
21
21      record
        record will clearly show
               will clearly      that he's
                            show that      trying to
                                      he's trying to answer
                                                     answer
22
22      your
        your questions.
             questions.      Your
                             Your questions are bad
                                  questions are bad questions
                                                    questions

23
23      and do
        and do not lend themselves
               not lend themselves to
                                   to easy
                                      easy answers.
                                           answers.

24
24                       So
                         So you
                            you know,
                                know, you're on notice
                                      you're on        that you
                                                notice that you



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1
1       could be
        could    asking better
              be asking better questions that elicit,
                               questions that elicit, you
                                                      you

2
2       know,
        know, more fair responses.
              more fair responses.
3
3       BY MS.
        BY MS. GEIST:
               GEIST:

4
4             Q.
              Q.        So Doctor
                        So        Alexander, let's
                           Doctor Alexander, let's try
                                                   try it
                                                       it again.
                                                          again.
5
5       We've
        We've read this sentence
              read this sentence now two or
                                 now two or three
                                            three times.
                                                  times.                     I
                                                                             I

6
6       assume your
        assume      answer is
               your answer is the
                              the same,
                                  same, but
                                        but I'll try it
                                            I'll try it
7
7       again.
        again.

8
8                           Can
                            Can you agree or
                                you agree or disagree
                                             disagree with this
                                                      with this

9
9       sentence:
        sentence:        "Closing the
                         "Closing the path to addiction
                                      path to addiction means
                                                        means

10
10      addressing the
        addressing the overprescription
                       overprescription of
                                        of legal
                                           legal opioids
                                                 opioids
11
11      and the
        and the proliferation of illicit
                proliferation of illicit opioids
                                         opioids such
                                                 such as
                                                      as
12
12      heroin and drugs
        heroin and drugs laced
                         laced with fentanyl."
                               with fentanyl."

13
13                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    Asked and
                                                            Asked and
14
14      answered.
        answered.

15
15            Q.
              Q.        Agree or
                        Agree or disagree?
                                 disagree?

16
16            A.
              A.        Well,
                        Well, I think we
                              I think    did discuss
                                      we did         this
                                             discuss this

17
17      previously, and what
        previously, and what I
                             I would say is
                               would say is that
                                            that I
                                                 I would
                                                   would

18
18      prefer to look
        prefer to look to
                       to my report which
                          my report which discusses in
                                          discusses in

19
19      detail my recommendations
        detail my                 and my
                  recommendations and    beliefs about
                                      my beliefs about what
                                                       what

20
20      needs to be
        needs to be done in Cabell
                    done in Cabell County and the
                                   County and the City
                                                  City of
                                                       of

21
21      Huntington.
        Huntington.

22
22            Q.
              Q.        So you're
                        So you're not
                                  not going to answer
                                      going to answer my
                                                      my question,
                                                         question,

23
23      whether
        whether you can agree
                you can agree or
                              or disagree,
                                 disagree, correct?
                                           correct?

24
24                          MR. BURNETT:
                            MR. BURNETT:      Objection, Counsel.
                                              Objection, Counsel.       He
                                                                        He



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1
1       has answered your
        has answered your question.
                          question.               The fact that
                                                  The fact that he
                                                                he

2
2       doesn't answer
        doesn't answer it
                       it the
                          the way
                              way you like is
                                  you like is irrelevant.
                                              irrelevant.
3
3       He answered
        He answered your
                    your question several times.
                         question several times.
4
4                          MS. GEIST:
                           MS. GEIST:      No,
                                           No, he
                                               he has
                                                  has not.
                                                      not.     But we're
                                                               But we're

5
5       going to -- we're
        going to    we're going to move
                          going to      on, because
                                   move on, because I'm
                                                    I'm not
                                                        not

6
6       going to waste
        going to       any more
                 waste any more of
                                of my time.
                                   my time.

7
7                          And again,
                           And again, you're on notice
                                      you're on        that we
                                                notice that we

8
8       will seek relief
        will seek        from this
                  relief from this deposition.
                                   deposition.

9
9       BY MS.
        BY MS. GEIST:
               GEIST:

10
10            Q.
              Q.        Now, Doctor
                        Now,        Alexander, your
                             Doctor Alexander,      first report
                                               your first report

11
11      was in the
        was in the Ohio
                   Ohio case,
                        case, as
                              as we discussed before.
                                 we discussed before.                 So
                                                                      So

12
12      let's take
        let's take a
                   a quick look at
                     quick look at that,
                                   that, please.
                                         please.               That is
                                                               That is

13
13      Tab 32 or
        Tab 32 or Exhibit
                  Exhibit 32, if you
                          32, if you want to open
                                     want to open up that
                                                  up that

14
14      envelope.
        envelope.

15
15                 ALEXANDER DEPOSITION
                   ALEXANDER            EXHIBIT NO.
                             DEPOSITION EXHIBIT NO. 32
                                                    32

16
16                          (G.
                            (G. Caleb
                                Caleb Alexander, MD, MS,
                                      Alexander, MD, MS, Expert
                                                         Expert
17
17                          Witness Report, prepared
                            Witness Report,          for USDC,
                                            prepared for USDC,

18
18                          Northern
                            Northern District of Ohio,
                                     District of Ohio, MDL
                                                       MDL No.
                                                           No.

19
19                         2803 dated
                           2803 dated 3-24-19
                                      3-24-19 was marked for
                                              was marked for
20
20                         identification purposes
                           identification purposes as
                                                   as Alexander
                                                      Alexander

21
21                          Deposition Exhibit No.
                            Deposition Exhibit No. 32.)
                                                   32.)

22
22                          VIDEO
                            VIDEO TECH:
                                  TECH:     Tab
                                            Tab 32
                                                32 has
                                                   has been
                                                       been marked
                                                            marked as
                                                                   as

23
23      Exhibit 32.
        Exhibit 32.

24
24                         MS. GEIST:
                           MS. GEIST:      Thank
                                           Thank you,
                                                 you, John.
                                                      John.



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1
1             A.
              A.        Just -- I'm
                        Just --     concerned I
                                I'm concerned   don't want
                                              I don't      to get
                                                      want to get

2
2       other tabs
        other tabs out
                   out of
                       of place.
                          place.              So it
                                              So it was
                                                    was Tab 5, this
                                                        Tab 5, this
3
3       report that we've
        report that       just been
                    we've just      considering, "From
                               been considering, "From
4
4       Evidence to
        Evidence to Impact"?
                    Impact"?

5
5             Q.
              Q.        I think you
                        I think     are correct.
                                you are correct.              Yes.
                                                              Yes.   Yes, it is.
                                                                     Yes, it is.
6
6             A.
              A.        Okay.
                        Okay.    And Tab
                                 And Tab 4 is my
                                         4 is my overall
                                                 overall report for
                                                         report for

7
7       this case,
        this case, I
                   I presume?
                     presume?

8
8             Q.
              Q.        Yes, it
                        Yes, it is.
                                is.
9
9             A.
              A.        Okay.
                        Okay.

10
10            Q.
              Q.        And again
                        And       just for
                            again just for the
                                           the record,
                                               record, anytime it
                                                       anytime it

11
11      is a
        is a tab,
             tab, Tab
                  Tab 4 is Exhibit
                      4 is Exhibit 4,
                                   4, we've marked it
                                      we've marked it as
                                                      as
12
12      Exhibit 4.
        Exhibit 4.         And your
                           And your Johns
                                    Johns Hopkins "Evidence to
                                          Hopkins "Evidence to
13
13      Impact" report
        Impact" report referenced in your
                       referenced in      expert report
                                     your expert        is
                                                 report is

14
14      marked as
        marked as Exhibit
                  Exhibit 5.
                          5.
15
15            A.
              A.        Okay.
                        Okay.    I've now
                                 I've now opened
                                          opened Tab
                                                 Tab 32.
                                                     32.

16
16            Q.
              Q.        Great.
                        Great.    Do
                                  Do you
                                     you have that in
                                         have that in front
                                                      front of
                                                            of you,
                                                               you,

17
17      Doctor?
        Doctor?

18
18            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

19
19            Q.
              Q.        Okay.
                        Okay.    I lost you,
                                 I lost      so I
                                        you, so   assume you're
                                                I assume you're

20
20      coming back.
        coming back.
21
21            A.
              A.        Sorry.
                        Sorry.    Yes,
                                  Yes, I
                                       I do.
                                         do.

22
22            Q.
              Q.        That's okay.
                        That's okay.     Okay.
                                         Okay.       So can you
                                                     So can     just
                                                            you just

23
23      identify for
        identify for the
                     the record,
                         record, please,
                                 please, what Exhibit 32
                                         what Exhibit 32

24
24      is?
        is?



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1
1             A.
              A.        It looks
                        It looks to
                                 to be
                                    be an
                                       an expert
                                          expert witness
                                                 witness report
                                                         report

2
2       that I
        that   produced.
             I produced.

3
3             Q.
              Q.        And you
                        And you produced that in
                                produced that in the
                                                 the Ohio
                                                     Ohio
4
4       litigation?
        litigation?         That
                            That was
                                 was your first expert
                                     your first expert report
                                                       report

5
5       provided on behalf
        provided on behalf of
                           of plaintiffs in the
                              plaintiffs in the opioids
                                                opioids

6
6       litigation; is
        litigation; is that
                       that correct?
                            correct?

7
7             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
8
8             Q.
              Q.        And that
                        And that was in March
                                 was in March 2019?
                                              2019?
9
9             A.
              A.        I
                        I would
                          would want to look
                                want to look at the dates,
                                             at the dates, but
                                                           but I
                                                               I

10
10      don't
        don't have reason to
              have reason to believe
                             believe otherwise.
                                     otherwise.
11
11            Q.
              Q.        Okay.
                        Okay.   And in
                                And in this
                                       this first
                                            first expert
                                                  expert report,
                                                         report, you
                                                                 you

12
12      - as
        - as you are doing
             you are doing here - you
                           here - you are
                                      are putting forward a
                                          putting forward a
13
13      plan to address
        plan to address -
                        - or in your
                          or in your words - abate
                                     words - abate the
                                                   the
14
14      opioid --
        opioid -- the
                  the opioid
                      opioid epidemic,
                             epidemic, and
                                       and you are
                                           you are

15
15      addressing the
        addressing the opioid
                       opioid epidemic
                              epidemic in
                                       in the
                                          the two
                                              two counties
                                                  counties

16
16      in Ohio,
        in Ohio, Cuyahoga
                 Cuyahoga and Summit Counties.
                          and Summit Counties.               Is that
                                                             Is that

17
17      correct?
        correct?

18
18            A.
              A.        Yes, it
                        Yes, it is.
                                is.
19
19            Q.
              Q.        Okay.
                        Okay.   And I
                                And   assume that
                                    I assume that you -- you
                                                  you -- you

20
20      endeavored to
        endeavored to set
                      set forth
                          forth a
                                a complete
                                  complete and
                                           and comprehens
                                               comprehens

21
21      -- comprehensive
        -- comprehensive plan that would
                         plan that       be implemented
                                   would be implemented as
                                                        as
22
22      appropriate by
        appropriate by the
                       the specific
                           specific community
                                    community there
                                              there in
                                                    in
23
23      Cuyahoga and Summit
        Cuyahoga and Summit Counties?
                            Counties?

24
24            A.
              A.        Yes, I
                        Yes,   did.
                             I did.



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1
1             Q.
              Q.        Okay.
                        Okay.   Now, if
                                Now, if you look at
                                        you look at your
                                                    your report
                                                         report here
                                                                here

2
2       from last
        from last year in the
                  year in the two
                              two counties
                                  counties in
                                           in Ohio,
                                              Ohio, it
                                                    it
3
3       contains sort
        contains sort of
                      of an
                         an outline
                            outline of
                                    of your
                                       your -- your
                                               your

4
4       categories of
        categories of remedies that, from
                      remedies that, from your
                                          your perspective,
                                               perspective,

5
5       need to be
        need to    undertaken to
                be undertaken to address
                                 address the
                                         the epidemic.
                                             epidemic.
6
6                           If
                            If you look on
                               you look on page
                                           page 13
                                                13 to
                                                   to 14,
                                                      14, Doctor
                                                          Doctor

7
7       Alexander --
        Alexander --
8
8             A.
              A.        Okay.
                        Okay.

9
9                          MR. BURNETT:
                           MR. BURNETT:        Counsel, let me
                                               Counsel, let    just
                                                            me just

10
10      note
        note here, as you
             here, as you noted before we
                          noted before    started -
                                       we started - or
                                                    or at
                                                       at

11
11      the start
        the start -
                  - the
                    the parties
                        parties are
                                are on
                                    on notice from the
                                       notice from the
12
12      Court that the
        Court that the questions in this
                       questions in this deposition
                                         deposition for
                                                    for
13
13      this case
        this case need to be
                  need to    focused on
                          be focused on this
                                        this case, so
                                             case, so

14
14      you're
        you're now asking him
               now asking him his -- his
                              his --     -- you're
                                     his --        asking
                                            you're asking

15
15      questions about his
        questions about his report in his
                            report in his prior
                                          prior case.
                                                case.

16
16                         So, you
                           So, you know,
                                   know, I
                                         I don't
                                           don't know
                                                 know how
                                                      how many
                                                          many

17
17      questions
        questions you're
                  you're planning to ask
                         planning to ask on
                                         on this,
                                            this, but
                                                  but you
                                                      you

18
18      know, just be
        know, just be mindful
                      mindful about
                              about that
                                    that direction
                                         direction about
                                                   about
19
19      duplicative testimony.
        duplicative testimony.

20
20                         MS. GEIST:
                           MS. GEIST:       I think you
                                            I think you know
                                                        know I'm
                                                             I'm very
                                                                 very

21
21      mindful of
        mindful of it.
                   it.          I
                                I was the one
                                  was the one that
                                              that raised
                                                   raised at the
                                                          at the

22
22      beginning, and
        beginning, and I'm
                       I'm not
                           not asking
                               asking him any substantive
                                      him any substantive
23
23      questions about the
        questions about the different
                            different aspects of the
                                      aspects of the
24
24      program
        program he suggested or
                he suggested or the
                                the programs
                                    programs and
                                             and



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1
1       interventions he
        interventions    suggested last
                      he suggested last year in the
                                        year in the two
                                                    two
2
2       counties in
        counties in Ohio.
                    Ohio.
3
3             Q.
              Q.        Doctor Alexander, you're
                        Doctor Alexander, you're with
                                                 with me
                                                      me on page 13
                                                         on page 13
4
4       to 14
        to    of this
           14 of this expert
                      expert report
                             report from
                                    from March
                                         March 2019?
                                               2019?
5
5             A.
              A.        Yes, I
                        Yes,   am.
                             I am.

6
6             Q.
              Q.        Okay.
                        Okay.   And if
                                And if you look on
                                       you look on page
                                                   page 13,
                                                        13, as
                                                            as you
                                                               you

7
7       indicated to
        indicated to me today, you
                     me today, you note that you
                                   note that you were
                                                 were

8
8       including a
        including a comprehensive
                    comprehensive set
                                  set of
                                      of abatement
                                         abatement remedies
                                                   remedies

9
9       and that
        and that you "leave the
                 you "leave the task
                                task of
                                     of defining the
                                        defining the

10
10      specific application
        specific application of
                             of these
                                these programs for Cuyahoga
                                      programs for Cuyahoga

11
11      and Summit
        and Summit Counties."
                   Counties."            You leave that
                                         You leave that to
                                                        to the
                                                           the
12
12      communities themselves.
        communities themselves.
13
13                          Is that a
                            Is that a fair
                                      fair characterization
                                           characterization of
                                                            of
14
14      what
        what you did?
             you did?

15
15            A.
              A.        Yes, it
                        Yes, it is.
                                is.
16
16            Q.
              Q.        Okay.
                        Okay.   And if
                                And if you look at
                                       you look at page
                                                   page 14,
                                                        14, here
                                                            here we
                                                                 we

17
17      see --
        see --
18
18                          MS. GEIST:
                            MS. GEIST:      If
                                            If we could get
                                               we could     to that
                                                        get to that
19
19      page,
        page, John,
              John, please.
                    please.

20
20            Q.
              Q.        -- here
                        -- here we
                                we see
                                   see your categories of
                                       your categories of remedies
                                                          remedies

21
21      or interventions
        or interventions or
                         or programs that from
                            programs that from your
                                               your

22
22      perspective
        perspective need to be
                    need to    employed to
                            be employed to abate or address
                                           abate or address
23
23      the opioid
        the opioid crisis.
                   crisis.            Is that correct?
                                      Is that correct?
24
24            A.
              A.        Well, it seems
                        Well, it       to me
                                 seems to    that you're
                                          me that you're asking
                                                         asking



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1
1       about the
        about the substance
                  substance of
                            of my abatement plan
                               my abatement      for
                                            plan for

2
2       Cuyahoga and Summit
        Cuyahoga and Summit Counties,
                            Counties, but
                                      but with that being
                                          with that being

3
3       said, yes,
        said,      these were
              yes, these      the categories
                         were the categories that
                                             that I felt
                                                  I felt

4
4       were -- this
        were -- this was the way
                     was the     that I
                             way that I proposed to
                                        proposed to

5
5       structure the
        structure the abatement
                      abatement plan for those
                                plan for those communities.
                                               communities

6
6             Q.
              Q.        Okay.
                        Okay.   And you,
                                And      in this
                                    you, in this case,
                                                 case, have
                                                       have a
                                                            a

7
7       similar list
        similar list of
                     of categories
                        categories and
                                   and subcategories
                                       subcategories in
                                                     in
8
8       terms of
        terms of outlining
                 outlining your
                           your proposed abatement programs
                                proposed abatement programs

9
9       and interventions.
        and interventions.          True?
                                    True?

10
10                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

11
11            A.
              A.        I'm --
                        I'm -- I
                               I have
                                 have a -- I
                                      a -- I provide a list
                                             provide a list --
                                                            -- I
                                                               I

12
12      mean, I
        mean, I provide a structure
                provide a           for what
                          structure for what I think the
                                             I think the
13
13      community should
        community should consider,
                         consider, and
                                   and so
                                       so the
                                          the way that I
                                              way that I

14
14      have
        have done so, we
             done so,    could review
                      we could review my report, but
                                      my report, but I
                                                     I do
                                                       do

15
15      provide
        provide an overarching framework.
                an overarching framework.
16
16                          I think without
                            I think         that, you
                                    without that, you know, it
                                                      know, it

17
17      would just be
        would just be kind of mumbo-jumbo,
                      kind of mumbo-jumbo, so
                                           so I
                                              I do provide
                                                do provide

18
18      a framework,
        a framework, yes.
                     yes.

19
19            Q.
              Q.        Yeah.
                        Yeah.   Well,
                                Well, why don't you
                                      why don't you put
                                                    put side by
                                                        side by

20
20      side, if
        side, if you
                 you wouldn't
                     wouldn't mind, the report
                              mind, the        in this
                                        report in this case
                                                       case

21
21      and then
        and then the
                 the report in Cuyahoga/Summit
                     report in                 so we
                               Cuyahoga/Summit so    can
                                                  we can

22
22      take a
        take a look
               look at
                    at the
                       the categories.
                           categories.
23
23                          And the
                            And the categories
                                    categories in
                                               in this
                                                  this case are on
                                                       case are on
24
24      page
        page 15 of your
             15 of      expert report.
                   your expert report.



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1
1             A.
              A.        Okay.
                        Okay.

2
2             Q.
              Q.        Do
                        Do you
                           you have those two
                               have those two reports in front
                                              reports in front of
                                                               of
3
3       you,
        you, Doctor Alexander?
             Doctor Alexander?

4
4             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

5
5             Q.
              Q.        Okay.
                        Okay.   If you
                                If     look with
                                   you look      me here
                                            with me here under
                                                         under

6
6       Category
        Category 1 in the
                 1 in the report that you've
                          report that you've put in in
                                             put in in this
                                                       this
7
7       case, Cabell
        case, Cabell County/Huntington, there's a
                     County/Huntington, there's a section
                                                  section

8
8       entitled "Community
        entitled "Community Prevention
                            Prevention and
                                       and Resiliency."
                                           Resiliency."              Do
                                                                     Do

9
9       you see that?
        you see that?
10
10            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

11
11            Q.
              Q.        That's a new
                        That's a     category that
                                 new category that you
                                                   you didn't
                                                       didn't have
                                                              have

12
12      in the
        in the Ohio
               Ohio county
                    county report, true?
                           report, true?

13
13            A.
              A.        Well,
                        Well, I'm
                              I'm not
                                  not sure that I
                                      sure that I didn't
                                                  didn't speak to
                                                         speak to

14
14      it.
        it.    Again, I
               Again,   feel that
                      I feel that we're talking about
                                  we're talking about that
                                                      that
15
15      we're talking about
        we're talking about the
                            the substance
                                substance of
                                          of my earlier
                                             my earlier

16
16      report,
        report, but
                but you
                    you know, it's an
                        know, it's an important
                                      important matter to
                                                matter to

17
17      -- I
        --   mean, the
           I mean, the --
                       -- ultimately,
                          ultimately, communities
                                      communities are --
                                                  are --

18
18      are getting
        are getting the
                    the brunt
                        brunt of
                              of this.
                                 this.
19
19                          So it's true
                            So it's true that
                                         that there's
                                              there's not a
                                                      not a

20
20      specific call-out
        specific call-out for
                          for it
                              it in
                                 in my
                                    my Cuyahoga
                                       Cuyahoga and Summit
                                                and Summit

21
21      report,
        report, but
                but I'm not sure
                    I'm not sure that
                                 that it's
                                      it's not,
                                           not,

22
22      nevertheless, featured within
        nevertheless, featured        the report.
                               within the report.

23
23            Q.
              Q.        Similarly, under
                        Similarly, under Category
                                         Category 2,
                                                  2, Treatment, if
                                                     Treatment, if

24
24      you look at
        you look at your
                    your report
                         report here, "Connecting
                                here, "Connecting



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1
1       Individuals to Care,"
        Individuals to        that is
                       Care," that is not an aspect
                                      not an aspect of
                                                    of your
                                                       your

2
2       abatement or
        abatement or intervention
                     intervention plans
                                  plans for
                                        for the
                                            the two
                                                two
3
3       counties in
        counties in Ohio.
                    Ohio.     True?
                              True?

4
4                       MR. BURNETT:
                        MR. BURNETT:      Objection.
                                          Objection.

5
5                       And again,
                        And again, as
                                   as --
                                      -- as the witness
                                         as the witness has
                                                        has

6
6       said himself,
        said          these questions
             himself, these questions go to the
                                      go to the substance
                                                substance

7
7       of his
        of his prior
               prior report.
                     report.        I
                                    I would
                                      would suggest that you
                                            suggest that you

8
8       focus on
        focus on his
                 his current report, because
                     current report, because you
                                             you had the
                                                 had the

9
9       opportunity to
        opportunity to look
                       look at
                            at his
                               his prior report last
                                   prior report last year.
                                                     year.

10
10                      MS. GEIST:
                        MS. GEIST:     Well,
                                       Well, we
                                             we didn't
                                                didn't have this
                                                       have this

11
11      report last year
        report last year when
                         when we asked him
                              we asked him about
                                           about his prior
                                                 his prior

12
12      report last year,
        report last year, so
                          so we're
                             we're doing a comparison
                                   doing a comparison --

13
13                      MR. BURNETT:
                        MR. BURNETT:      But Counsel,
                                          But Counsel, your
                                                       your

14
14      question
        question was asking him
                 was asking     in the
                            him in the content
                                       content of
                                               of his last
                                                  his last

15
15      year's
        year's prior if a
               prior if a certain topic was
                          certain topic     covered.
                                        was covered.           That
                                                               That

16
16      would
        would require
              require him to look
                      him to look through
                                  through his prior report
                                          his prior report

17
17      and, you
        and, you know, and disprove
                 know, and disprove a
                                    a negative.
                                      negative.

18
18                      MR. RUBY:
                        MR. RUBY:     Counsel, this is
                                      Counsel, this is Steve
                                                       Steve
19
19      Ruby.
        Ruby.     I
                  I was on the
                    was on the phone
                               phone with
                                     with Judge
                                          Judge Wilkes
                                                Wilkes when
                                                       when he
                                                            he

20
20      made the
        made the ruling
                 ruling that
                        that we've
                             we've been
                                   been referring to
                                        referring to

21
21      earlier this
        earlier this week, and he
                     week, and he was
                                  was very
                                      very clear that prior
                                           clear that prior

22
22      reports and the
        reports and the like
                        like are
                             are the
                                 the proper subject of
                                     proper subject of
23
23      foundation questions
        foundation questions to
                             to do things exactly
                                do things exactly like
                                                  like
24
24      this, to
        this, to compare
                 compare the
                         the content
                             content of
                                     of those
                                        those and
                                              and ask
                                                  ask



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1
1       questions that are
        questions that are specific
                           specific of
                                    of this
                                       this litigation.
                                            litigation.
2
2                       So I'm --
                        So I'm -- I'm entirely comfortable
                                  I'm entirely comfortable
3
3       that that's
        that that's the
                    the ruling
                        ruling that
                               that he'd make today.
                                    he'd make today.               But
                                                                   But

4
4       if we
        if we need to call
              need to call him,
                           him, we
                                we can.
                                   can.

5
5                       MR. BURNETT:
                        MR. BURNETT:      No,
                                          No, I don't think
                                              I don't think we
                                                            we

6
6       need to call
        need to call him.
                     him.     I read the
                              I read the transcript.
                                         transcript.          I
                                                              I wasn't
                                                                wasn't

7
7       on the
        on the call.
               call.     I read the
                         I read the transcript.
                                    transcript.          I
                                                         I don't
                                                           don't

8
8       recall
        recall him making that
               him making that specific
                               specific point that you're
                                        point that you're

9
9       saying.
        saying.

10
10                      I
                        I don't disagree that
                          don't disagree that some
                                              some questions
                                                   questions

11
11      to compare
        to         to the
           compare to the current report could
                          current report could be okay, but
                                               be okay, but
12
12      you
        you know, the questions
            know, the questions that
                                that you're asking,
                                     you're asking,

13
13      Counsel, are --
        Counsel, are -- require
                        require substantive
                                substantive discussion
                                            discussion of
                                                       of

14
14      the past
        the past report.
                 report.
15
15                      MS. GEIST:
                        MS. GEIST:     So --
                                       So --

16
16                      MR. FARRELL:
                        MR. FARRELL:      This is Paul
                                          This is Paul Farrell.
                                                       Farrell.

17
17      As co-lead
        As         of the
           co-lead of the MDL
                          MDL and
                              and lead
                                  lead trial
                                       trial counsel in
                                             counsel in

18
18      CT-2,
        CT-2, I'm
              I'm recommending,
                  recommending, David, that what
                                David, that what you do is
                                                 you do is
19
19      you contact Judge
        you contact Judge Wilkes
                          Wilkes and ask him
                                 and ask     to referee
                                         him to         the
                                                referee the

20
20      next
        next hour or so
             hour or    of this
                     so of this deposition.
                                deposition.             That
                                                        That way
                                                             way we
                                                                 we

21
21      can get
        can get some
                some rulings.
                     rulings.

22
22                      I think it's
                        I think it's probably
                                     probably best - both
                                              best -      from
                                                     both from

23
23      the defense
        the defense standpoint
                    standpoint and the plaintiffs'
                               and the plaintiffs'
24
24      standpoint -
        standpoint - that
                     that we get more
                          we get more substantive
                                      substantive questions
                                                  questions



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1
1       and answers
        and answers than
                    than objections
                         objections and
                                    and argument
                                        argument from
                                                 from both
                                                      both
2
2       sides, and
        sides, and so
                   so while
                      while I tend to
                            I tend to disagree
                                      disagree with
                                               with

3
3       Mr. Ruby,
        Mr. Ruby, but
                  but I'm
                      I'm not interested in
                          not interested in wasting any
                                            wasting any

4
4       more time
        more time with this.
                  with this.

5
5                        Doctor Alexander is
                         Doctor Alexander is an
                                             an important
                                                important and
                                                          and
6
6       fundamental witness
        fundamental         in this
                    witness in this case,
                                    case, and
                                          and this
                                              this is
                                                   is an
                                                      an
7
7       opportunity for
        opportunity for you to discover
                        you to discover what
                                        what he
                                             he has to say,
                                                has to say,

8
8       and it
        and it seems
               seems like
                     like we're
                          we're drifting afield into
                                drifting afield into
9
9       impeachment and
        impeachment and cross
                        cross examination
                              examination as
                                          as if
                                             if this
                                                this was at
                                                     was at

10
10      trial.
        trial.

11
11                       So
                         So David,
                            David, why
                                   why don't
                                       don't we take a
                                             we take a
12
12      five-minute break.
        five-minute break.      If Ms. Geist
                                If Ms. Geist will agree, we'll
                                             will agree, we'll

13
13      get special master
        get special master on
                           on the
                              the phone,
                                  phone, and
                                         and he
                                             he can
                                                can call
                                                    call

14
14      balls and
        balls     strikes.
              and strikes.

15
15                      MS. GEIST:
                        MS. GEIST:      I
                                        I have -- I
                                          have -- I have
                                                    have

16
16      absolutely no
        absolutely no problem
                      problem getting the special
                              getting the special master on
                                                  master on

17
17      the phone.
        the phone.      I reviewed the
                        I reviewed the transcript
                                       transcript myself.
                                                  myself.      I
                                                               I

18
18      think exploring
        think exploring what is different
                        what is different here in the
                                          here in the
19
19      abatement plan
        abatement      for Cabell
                  plan for Cabell County/Huntington that
                                  County/Huntington that

20
20      was not included
        was not included in
                         in an
                            an abatement plan put
                               abatement plan put in
                                                  in in
                                                     in a
                                                        a
21
21      different jurisdiction, but
        different jurisdiction, but a
                                    a two-counties
                                      two-counties
22
22      jurisdiction last
        jurisdiction last year, is quite
                          year, is       an appropriate
                                   quite an appropriate
23
23      line of
        line of questioning.
                questioning.

24
24                      And so
                        And so I'm
                               I'm not getting into
                                   not getting into questions
                                                    questions



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1
1       that were
        that      asked of
             were asked of Doctor Alexander whatsoever
                           Doctor Alexander            in
                                            whatsoever in

2
2       his prior deposition.
        his prior deposition.         I
                                      I have
                                        have -- I
                                                I have
                                                  have absolutely
                                                       absolutely

3
3       complied with
        complied      the direction
                 with the           from Judge
                          direction from Judge Wilkes as to
                                               Wilkes as to
4
4       that point.
        that point.

5
5                        So these questions
                         So these questions have
                                            have nothing to do
                                                 nothing to do

6
6       with
        with questions
             questions he
                       he was asked about
                          was asked about before,
                                          before, and it
                                                  and it

7
7       would
        would be impossible, because
              be impossible, because there
                                     there was
                                           was no
                                               no Cabell
                                                  Cabell

8
8       County/Huntington
        County/Huntington report
                          report when
                                 when he
                                      he was asked
                                         was asked

9
9       questions in the
        questions in the Ohio
                         Ohio case.
                              case.
10
10                       MR. BURNETT:
                         MR. BURNETT:      So Counsel,
                                           So          if you
                                              Counsel, if you don't
                                                              don't

11
11      object, I
        object,   suggest we
                I suggest    do what
                          we do      Mr. Farrell
                                what Mr.         suggested
                                         Farrell suggested

12
12      and get
        and get the
                the Court
                    Court on the phone.
                          on the phone.

13
13                       I suppose the
                         I suppose the only
                                       only alternative
                                            alternative would
                                                        would

14
14      be if
        be if we can just
              we can just focus
                          focus on
                                on his current report,
                                   his current report,

15
15      perhaps that would
        perhaps that       be acceptable
                     would be acceptable to
                                         to everyone.
                                            everyone.
16
16                       MS. GEIST:
                         MS. GEIST:     So
                                        So I
                                           I am trying to
                                             am trying to focus
                                                          focus on
                                                                on
17
17      his current report,
        his current report, Counsel.
                            Counsel.            That's exactly what
                                                That's exactly what

18
18      I'm doing.
        I'm doing.      And my
                        And my questions
                               questions are,
                                         are, I think, pretty
                                              I think, pretty
19
19      obviously tied
        obviously tied to
                       to the
                          the current
                              current report.
                                      report.

20
20                       I am asking
                         I am asking Doctor Alexander if
                                     Doctor Alexander if he
                                                         he had
                                                            had

21
21      - as
        - as he testified -
             he testified - put in a
                            put in a comprehensive
                                     comprehensive plan for
                                                   plan for

22
22      abatement last
        abatement last year,
                       year, why
                             why does
                                 does he
                                      he have additional
                                         have additional

23
23      categories for
        categories for abatement
                       abatement here
                                 here a
                                      a year later in
                                        year later in the
                                                      the
24
24      Cabell
        Cabell County/Huntington jurisdiction.
               County/Huntington jurisdiction.



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1
1                          MR. BURNETT:
                           MR. BURNETT:       Right, I
                                              Right, I understand
                                                       understand your
                                                                  your

2
2       position.
        position.        I'm just
                         I'm just saying
                                  saying that
                                         that the
                                              the only
                                                  only way to
                                                       way to

3
3       possibly resolve this
        possibly resolve this without the Court's
                              without the Court's

4
4       intervention would
        intervention       be if
                     would be if you -- if,
                                 you -- if, you
                                            you know,
                                                know, we
                                                      we

5
5       set aside
        set aside the
                  the past
                      past report entirely and
                           report entirely     just asked
                                           and just asked
6
6       about the
        about the current
                  current report.
                          report.

7
7                           If not, I
                            If not,   think there's
                                    I think there's enough
                                                    enough of
                                                           of a
                                                              a

8
8       dispute
        dispute here that, as
                here that, as Mr.
                              Mr. Farrell said, we
                                  Farrell said,    should
                                                we should

9
9       get the Court
        get the       on the
                Court on the phone.
                             phone.
10
10                         MS. GEIST:
                           MS. GEIST:      Well, first of
                                           Well, first of all, I'm
                                                          all, I'm

11
11      going to ask
        going to ask my questions about
                     my questions about why there were
                                        why there were

12
12      categories of
        categories of programs
                      programs and interventions here
                               and interventions      in
                                                 here in

13
13      this report
        this        that were
             report that were not included in
                              not included in Track
                                              Track 1, in
                                                    1, in

14
14      Cuyahoga/Summit.
        Cuyahoga/Summit.

15
15                          So
                            So we've -- we
                               we've --    can take
                                        we can take down the other
                                                    down the other
16
16      report.
        report.         I've already
                        I've already marked it as
                                     marked it as an exhibit.
                                                  an exhibit.             And
                                                                          And

17
17      if Doctor
        if        Alexander wants
           Doctor Alexander       to just
                            wants to just answer
                                          answer my
                                                 my
18
18      questions and the
        questions and the only
                          only report
                               report we
                                      we have on the
                                         have on the screen
                                                     screen
19
19      in this
        in this report in this
                report in this case, then I'm
                               case, then     perfectly
                                          I'm perfectly

20
20      fine too.
        fine too.        But I
                         But   am not
                             I am not going to agree
                                      going to agree to
                                                     to not ask
                                                        not ask

21
21      these questions.
        these questions.

22
22                         MR. BURNETT:
                           MR. BURNETT:       Right.
                                              Right.        Okay.
                                                            Okay.   In that
                                                                    In that

23
23      case, I
        case,   think we
              I think    should try
                      we should try to
                                    to get
                                       get the
                                           the Court on the
                                               Court on the
24
24      phone.
        phone.      So as
                    So as Mr.
                          Mr. Farrell suggests, why
                              Farrell suggests, why don't
                                                    don't we
                                                          we go
                                                             go



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1
1       off the
        off the record and we
                record and we can set up.
                              can set up.

2
2                           VIDEO OPERATOR:
                            VIDEO OPERATOR:           Time is 1:37,
                                                      Time is 1:37, we
                                                                    we are
                                                                       are

3
3       off the
        off the record.
                record.

4
4                           (A recess was
                            (A recess     taken after
                                      was taken after which the
                                                      which the

5
5                           proceedings
                            proceedings continued
                                        continued as follows:)
                                                  as follows:)

6
6                           VIDEO OPERATOR:
                            VIDEO OPERATOR:           The time is
                                                      The time is 1:55,
                                                                  1:55, we
                                                                        we

7
7       are now
        are now back on the
                back on the record.
                            record.

8
8                          MR. BURNETT:
                           MR. BURNETT:          So Doctor
                                                 So        Alexander,
                                                    Doctor Alexander,

9
9       while
        while you
              you were off, we
                  were off, we had a discussion
                               had a discussion among
                                                among

10
10      counsel, and
        counsel, and the
                     the take-away
                         take-away is
                                   is that
                                      that in
                                           in order
                                              order to
                                                    to
11
11      hopefully avoid having
        hopefully avoid        to get
                        having to get Judge
                                      Judge Wilkes on the
                                            Wilkes on the
12
12      phone,
        phone, we
               we will endeavor to
                  will endeavor to keep things moving,
                                   keep things moving, and
                                                       and

13
13      your
        your role in that
             role in that -
                          - to
                            to the
                               the extent
                                   extent you're able -
                                          you're able - is
                                                        is
14
14      to try
        to try and
               and answer
                   answer the
                          the question before you
                              question before you

15
15      succinctly, if
        succinctly, if possible;
                       possible; and if it
                                 and if it requires
                                           requires a
                                                    a

16
16      longer answer,
        longer answer, you
                       you know, answer as
                           know, answer as you see fit,
                                           you see fit, but
                                                        but
17
17      with that recommendation.
        with that recommendation.

18
18                          THE
                            THE DEPONENT:
                                DEPONENT:          Of course.
                                                   Of course.   Thank
                                                                Thank you.
                                                                      you.

19
19      Thank
        Thank you.
              you.

20
20                         MS. GEIST:
                           MS. GEIST:         Okay.
                                              Okay.

21
21      BY MS.
        BY MS. GEIST:
               GEIST:

22
22            Q.
              Q.        Okay.
                        Okay.   So Doctor
                                So        Alexander, do
                                   Doctor Alexander, do you
                                                        you have
                                                            have

23
23      your two reports
        your two reports still
                         still in
                               in front
                                  front of
                                        of you
                                           you --

24
24            A.
              A.        Yes, I
                        Yes,   --
                             I --



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1
1             Q.
              Q.        -- Exhibit
                        -- Exhibit 32,
                                   32, which is the
                                       which is the Ohio
                                                    Ohio report,
                                                         report,

2
2       and Exhibit
        and Exhibit 4,
                    4, which is your
                       which is your report in this
                                     report in this case?
                                                    case?

3
3             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

4
4             Q.
              Q.        Okay.
                        Okay.   Before we
                                Before we went off the
                                          went off the record to
                                                       record to

5
5       have a discussion,
        have a discussion, I
                           I was asking you
                             was asking     about Category
                                        you about Category

6
6       1, Prevention, in
        1, Prevention, in your
                          your report in this
                               report in this case,
                                              case, and
                                                    and I
                                                        I

7
7       asked you
        asked     --
              you --

8
8                           MS. GEIST:
                            MS. GEIST:      Strike that.
                                            Strike that.
9
9             Q.
              Q.        Under
                        Under Category
                              Category 1:
                                       1:        Prevention, 1D,
                                                 Prevention,     it's
                                                             1D, it's

10
10      entitled "Community
        entitled "Community Prevention
                            Prevention and
                                       and Resiliency."
                                           Resiliency."                 Do
                                                                        Do

11
11      you see that?
        you see that?
12
12            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

13
13            Q.
              Q.        And that
                        And that is
                                 is a
                                    a new
                                      new category
                                          category here that you
                                                   here that you

14
14      did not have
        did not      in the
                have in the Ohio
                            Ohio report; is that
                                 report; is that correct?
                                                 correct?
15
15            A.
              A.        Well, it may
                        Well, it     be --
                                 may be -- yes, it's correct
                                           yes, it's correct that
                                                             that
16
16      it's a
        it's a new category, but
               new category, but I'm
                                 I'm not but it's
                                     not but it's not a new
                                                  not a new

17
17      concept.
        concept.         In other words,
                         In other        my guess
                                  words, my       is that
                                            guess is that in
                                                          in the
                                                             the
18
18      Ohio case,
        Ohio case, I
                   I consider this concept
                     consider this concept because it's an
                                           because it's an
19
19      important general
        important general concept in recovery.
                          concept in recovery.

20
20            Q.
              Q.        Do
                        Do you
                           you know
                               know whether
                                    whether you considered it
                                            you considered it in
                                                              in
21
21      Ohio but
        Ohio but didn't
                 didn't feel
                        feel that
                             that it
                                  it rose to the
                                     rose to the level
                                                 level of
                                                       of

22
22      having its own
        having its own subheader?
                       subheader?
23
23            A.
              A.        Well, apparently I
                        Well, apparently   did not
                                         I did     feel --
                                               not feel --
24
24      apparently I
        apparently I did
                     did not feel that
                         not feel that it
                                       it rose to that
                                          rose to that


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1
1       level or
        level    that I
              or that   needed to
                      I needed to call
                                  call it
                                       it out
                                          out to
                                              to the
                                                 the same
                                                     same
2
2       degree in the
        degree in the Ohio
                      Ohio report.
                           report.

3
3                           But I'm
                            But     reporting that
                                I'm reporting that solely
                                                   solely based
                                                          based on
                                                                on
4
4       seeing the
        seeing the Ohio
                   Ohio report
                        report and seeing that
                               and seeing that I
                                               I didn't
                                                 didn't do
                                                        do

5
5       so.
        SO.


6
6             Q.
              Q.        Under
                        Under Category 2, Treatment,
                              Category 2, Treatment, you
                                                     you have
                                                         have a
                                                              a

7
7       number of subcategories
        number of subcategories under that category
                                under that          of
                                           category of

8
8       intervention or
        intervention or programming
                        programming that
                                    that you're
                                         you're suggesting.
                                                suggesting.

9
9       Correct?
        Correct?

10
10            A.
              A.        Yes.
                        Yes.

11
11            Q.
              Q.        And your
                        And      first category,
                            your first category, "Connecting
                                                 "Connecting
12
12      Individuals to Care,"
        Individuals to Care," do
                              do you see that?
                                 you see that?
13
13            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

14
14            Q.
              Q.        Is that
                        Is that new to this
                                new to this report that was
                                            report that     not in
                                                        was not in
15
15      the Ohio
        the Ohio report?
                 report?
16
16            A.
              A.        No, it
                        No, it is
                               is not.
                                  not.     Again, it's
                                           Again, it's a
                                                       a vital concept
                                                         vital concept

17
17      and it's
        and it's one
                 one that's
                     that's reflected in the
                            reflected in the Ohio
                                             Ohio report
                                                  report as
                                                         as

18
18      well.
        well.      Just
                   Just not at the
                        not at the level
                                   level of
                                         of a category itself.
                                            a category itself.
19
19            Q.
              Q.        So it
                        So it --
                              -- it's
                                 it's --
                                      -- you're telling me
                                         you're telling me now it's
                                                           now it's

20
20      a vital
        a vital concept, but it
                concept, but it didn't
                                didn't have its own
                                       have its own

21
21      subheader or
        subheader or separate
                     separate discussion in the
                              discussion in the Ohio plan.
                                                Ohio plan.

22
22      Is that accurate?
        Is that accurate?
23
23            A.
              A.        Again, without
                        Again, without having the Ohio
                                       having the Ohio plan in
                                                       plan in

24
24      front of
        front of me
                 me and
                    and the
                        the opportunity
                            opportunity to
                                        to review it
                                           review it



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1
1       carefully, I
        carefully, I cannot answer that
                     cannot answer that question.
                                        question.

2
2             Q.
              Q.        You
                        You do
                            do have the Ohio
                               have the Ohio plan in front
                                             plan in front of
                                                           of you,
                                                              you,

3
3       Doctor;
        Doctor; we've marked it.
                we've marked it.             And you're
                                             And        free to
                                                 you're free to --
                                                                --
4
4       that's Exhibit
        that's Exhibit 32.
                       32.

5
5             A.
              A.        Okay.
                        Okay.   I
                                I guess
                                  guess what
                                        what I meant was
                                             I meant     that I
                                                     was that I

6
6       haven't asked for
        haven't asked for you to provide
                          you to         me the
                                 provide me the time
                                                time to
                                                     to
7
7       review it.
        review it.         But I
                           But I am confident that
                                 am confident that if
                                                   if we
                                                      we review it
                                                         review it

8
8       together, there
        together, there will be many
                        will be many instances
                                     instances where
                                               where I
                                                     I

9
9       discuss the importance
        discuss the importance of connecting individuals
                               of connecting individuals to
                                                         to
10
10      care.
        care.

11
11            Q.
              Q.        But it
                        But it didn't
                               didn't rise to its
                                      rise to its own separate
                                                  own separate

12
12      category or
        category or subheading.
                    subheading.             We can agree
                                            We can agree on
                                                         on that,
                                                            that,
13
13      correct?
        correct?

14
14            A.
              A.        Yes, that's
                        Yes, that's --
                                    --
15
15                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

16
16            Q.
              Q.        Did
                        Did you say "Yes"?
                            you say "Yes"?
17
17            A.
              A.        Yes, that's
                        Yes, that's true.
                                    true.
18
18            Q.
              Q.        Now, under
                        Now,       the same
                             under the same Category 2, Treatment,
                                            Category 2, Treatment,

19
19      there is
        there is a
                 a section
                   section here in your
                           here in your Cabell
                                        Cabell County/
                                               County/

20
20      Huntington report
        Huntington report entitled
                          entitled "Workforce
                                   "Workforce Expansion
                                              Expansion and
                                                        and
21
21      Resiliency."
        Resiliency."         Do
                             Do you see that?
                                you see that?
22
22            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

23
23            Q.
              Q.        And then
                        And then that
                                 that was a new
                                      was a     category of
                                            new category of
24
24      intervention or
        intervention or programs
                        programs here that was
                                 here that was not included
                                               not included



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1
1       in the
        in the Ohio
               Ohio report.
                    report.         Is that
                                    Is that true?
                                            true?
2
2             A.
              A.        Again, in
                        Again, in each
                                  each of
                                       of these
                                          these instances,
                                                instances, it
                                                           it is
                                                              is
3
3       the case
        the case that
                 that these
                      these were
                            were not called out
                                 not called out as separate
                                                as separate

4
4       categories, but
        categories, but I
                        I wouldn't
                          wouldn't want to suggest
                                   want to         that
                                           suggest that                  --




                                                                         -
                                                                             -
5
5       that they're
        that they're not
                     not potentially important concepts
                         potentially important concepts

6
6       that are
        that are also
                 also incorporated
                      incorporated into
                                   into the
                                        the earlier
                                            earlier plan.
                                                    plan.

7
7             Q.
              Q.        And do
                        And do you
                               you remember if you
                                   remember if     also used
                                               you also used your
                                                             your

8
8       redress
        redress models
                models document in the
                       document in the Ohio
                                       Ohio plan?
                                            plan?

9
9             A.
              A.        Well, it wasn't
                        Well, it        -- it's
                                 wasn't -- it's not
                                                not one
                                                    one document,
                                                        document,

10
10      but I
        but I believe that we
              believe that we did provide for
                              did provide for --
                                              -- again,
                                                 again, it
                                                        it
11
11      would
        would be
              be helpful to have
                 helpful to      the opportunity
                            have the opportunity to
                                                 to review
                                                    review

12
12      the Ohio
        the Ohio plan
                 plan if
                      if we're
                         we're going to focus
                               going to focus on
                                              on it,
                                                 it,
13
13      because it's
        because it's been
                     been a
                          a while.
                            while.

14
14                          But I
                            But   believe that
                                I believe that I
                                               I did provide some
                                                 did provide some
15
15      similar epidemiologic
        similar epidemiologic estimates
                              estimates of
                                        of populations in
                                           populations in

16
16      that plan.
        that plan.

17
17            Q.
              Q.        And do
                        And do you
                               you recall sitting here
                                   recall sitting      today if
                                                  here today if you
                                                                you

18
18      provided a separate
        provided a separate estimate
                            estimate of
                                     of the
                                        the population that
                                            population that

19
19      would
        would be able to
              be able to use
                         use workplace -- workforce
                             workplace -- workforce

20
20      expansion and
        expansion and resiliency,
                      resiliency, that
                                  that program,
                                       program, in Ohio?
                                                in Ohio?

21
21            A.
              A.        I do not
                        I do not recall, but my
                                 recall, but    plan generally
                                             my plan generally is
                                                               is
22
22      structured around
        structured around these
                          these categories.
                                categories.                 So
                                                            So I -- my
                                                               I -- my
23
23      estimates are
        estimates are conservative
                      conservative in
                                   in many
                                      many ways, and this
                                           ways, and this
24
24      may reflect
        may reflect one
                    one of
                        of them.
                           them.


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1
1                           In other words,
                            In other        it may
                                     words, it may have been in
                                                   have been in
2
2       Ohio that
        Ohio that my estimates were
                  my estimates      conservative because
                               were conservative because I
                                                         I

3
3       didn't incorporate some
        didn't incorporate some of
                                of these
                                   these additional
                                         additional costs
                                                    costs

4
4       that we're
        that       considering --
             we're considering -- considering
                                  considering now.
                                              now.
5
5             Q.
              Q.        Now, under
                        Now, under Category
                                   Category 3, Recovery, do
                                            3, Recovery, do you
                                                            you see
                                                                see

6
6       where
        where I am?
              I am?

7
7             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

8
8             Q.
              Q.        There
                        There under 3C, there's
                              under 3C, there's a
                                                a section entitled
                                                  section entitled

9
9       "Vocational Training
        "Vocational          and Job
                    Training and     Placement."
                                 Job Placement."            Now, that
                                                            Now, that

10
10      is a
        is a new category in
             new category in Cabell
                             Cabell County/Huntington,
                                    County/Huntington,
11
11      correct?
        correct?

12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

13
13            A.
              A.        Again, as
                        Again, as --
                                  -- again,
                                     again, as
                                            as with
                                               with my
                                                    my previous
                                                       previous

14
14      answers on
        answers on this
                   this matter,
                        matter, it
                                it may
                                   may represent -- it
                                       represent -- it does
                                                       does

15
15      represent a new
        represent a     category, but
                    new category, but I
                                      I don't think it
                                        don't think it
16
16      represents a new
        represents a     concept.
                     new concept.

17
17                          And one
                            And one of
                                    of the
                                       the reasons
                                           reasons that
                                                   that this
                                                        this --
                                                             --
18
18      that there's
        that there's not -- and
                     not -- and there
                                there are few reasons
                                      are few reasons that
                                                      that
19
19      the categories
        the categories don't exactly align
                       don't exactly align between the last
                                           between the last
20
20      report and this
        report and this report.
                        report.            One of
                                           One of them
                                                  them is
                                                       is that
                                                          that we're
                                                               we're

21
21      a year
        a      or two
          year or two or
                      or three
                         three later;
                               later; and another is
                                      and another is that
                                                     that
22
22      we're in an
        we're in an entirely
                    entirely different
                             different part
                                       part of
                                            of the
                                               the country
                                                   country
23
23      and that
        and that there
                 there are
                       are --
                           -- that
                              that the
                                   the epidemic
                                       epidemic has
                                                has played
                                                    played

24
24      out differently
        out differently in
                        in different
                           different parts
                                     parts of the country.
                                           of the country.



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1
1                           So -- so
                            So -- so we
                                     we can explore this
                                        can explore this if
                                                         if it's
                                                            it's
2
2       helpful in more
        helpful in more detail,
                        detail, but
                                but I just want
                                    I just      to help
                                           want to help you
                                                        you

3
3       to understand
        to understand why there's not
                      why there's not sort
                                      sort of a one-to-one,
                                           of a one-to-one,

4
4       you
        you know,
            know, well,
                  well, you
                        you have
                            have 1, B and
                                 1, B and C
                                          C here;
                                            here; why
                                                  why don't
                                                      don't

5
5       you
        you have 1A, B
            have 1A, B and
                       and C there?
                           C there?

6
6             Q.
              Q.        Under
                        Under Category
                              Category 3, Recovery, 3D,
                                       3, Recovery,     that's
                                                    3D, that's

7
7       "Reengineering the
        "Reengineering the Workplace."
                           Workplace."                 Do
                                                       Do you see that?
                                                          you see that?
8
8             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

9
9             Q.
              Q.        And that
                        And that too
                                 too is
                                     is a separate category
                                        a separate category for
                                                            for
10
10      Cabell
        Cabell County/Huntington.
               County/Huntington.             That
                                              That was
                                                   was not
                                                       not in the Ohio
                                                           in the Ohio

11
11      report, fair?
        report, fair?

12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

13
13            A.
              A.        As a
                        As a category,
                             category, it
                                       it wasn't called out
                                          wasn't called out in
                                                            in the
                                                               the
14
14      Ohio report,
        Ohio report, but the references
                     but the references or
                                        or the
                                           the --
                                               -- the
                                                  the --
                                                      --
15
15      but I'm
        but I'm not suggesting that
                not suggesting that the
                                    the Ohio
                                        Ohio report
                                             report

16
16      entirely neglects
        entirely neglects or overlooks the
                          or overlooks the importance
                                           importance of
                                                      of
17
17      the workplace,
        the            and I
            workplace, and I would
                             would want to review
                                   want to        the
                                           review the

18
18      report more carefully
        report more carefully with
                              with you in order
                                   you in order to,
                                                to, you
                                                    you

19
19      know,
        know, reach firmer conclusions
              reach firmer conclusions about
                                       about that.
                                             that.
20
20            Q.
              Q.        Under this same
                        Under this same Category
                                        Category 3, Recovery, 3E
                                                 3, Recovery,    is
                                                              3E is

21
21      "Mental Health
        "Mental Health Counseling and Grief
                       Counseling and       Support."
                                      Grief Support."                 Do
                                                                      Do

22
22      you see where
        you see where I am?
                      I am?

23
23            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

24
24            Q.
              Q.        And that,
                        And that, too,
                                  too, is
                                       is a
                                          a new category here
                                            new category      for
                                                         here for



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1
1       Cabell
        Cabell County/Huntington?
               County/Huntington?

2
2                           MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

3
3             A.
              A.        As with
                        As      the previous
                           with the previous queries, it may
                                             queries, it may

4
4       represent a different
        represent a different category,
                              category, but it's not
                                        but it's     a
                                                 not a

5
5       concept that's
        concept that's foreign
                       foreign to
                               to any
                                  any abatement
                                      abatement plan,
                                                plan,

6
6       because there's
        because there's --
                        -- because
                           because this
                                   this is
                                        is an important,
                                           an important,

7
7       you
        you know, component of
            know, component of abating the epidemic.
                               abating the epidemic.
8
8             Q.
              Q.        And then
                        And then finally,
                                 finally, your last category,
                                          your last category, 4,
                                                              4,

9
9       here in Cabell
        here in Cabell County/Huntington,
                       County/Huntington, under
                                          under 4D, there's
                                                4D, there's

10
10      a subcategory,
        a subcategory, "Homeless
                       "Homeless and Housing Insecure
                                 and Housing Insecure

11
11      Individuals."
        Individuals."           Do
                                Do you see that?
                                   you see that?
12
12            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

13
13            Q.
              Q.        Okay.
                        Okay.   And that
                                And that is
                                         is also
                                            also a
                                                 a new
                                                   new category that
                                                       category that

14
14      was not in
        was not in the
                   the Ohio
                       Ohio report, correct?
                            report, correct?

15
15                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

16
16            A.
              A.        It may
                        It may be
                               be a
                                  a new
                                    new category,
                                        category, but again, I
                                                  but again, I do
                                                               do

17
17      not believe it's
        not believe it's an
                         an entirely
                            entirely new concept.
                                     new concept.

18
18            Q.
              Q.        Now, you've
                        Now,        said that
                             you've said that to
                                              to me
                                                 me a few times,
                                                    a few times,
19
19      Doctor Alexander.
        Doctor Alexander.          So let
                                   So let me
                                          me ask
                                             ask you
                                                 you a
                                                     a couple
                                                       couple

20
20      questions about that.
        questions about that.            In this report,
                                         In this report, what
                                                         what you
                                                              you did
                                                                  did

21
21      - as
        - as you explained to
             you explained to us earlier -
                              us earlier - is
                                           is you
                                              you have
                                                  have

22
22      proposed certain programs
        proposed certain          or interventions
                         programs or interventions that
                                                   that you
                                                        you

23
23      believe should
        believe should be
                       be put in place
                          put in       in Cabell
                                 place in Cabell County/
                                                 County/

24
24      City of Huntington,
        City of Huntington, correct?
                            correct?



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1
1             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
2
2             Q.
              Q.        And then
                        And then you took steps
                                 you took steps through
                                                through your
                                                        your

3
3       redress
        redress model to provide
                model to provide population estimates and
                                 population estimates and
4
4       also cost
        also cost estimates
                  estimates for
                            for some
                                some of
                                     of the
                                        the programs or
                                            programs or

5
5       interventions that
        interventions that you
                           you are suggesting.
                               are suggesting.                    Correct?
                                                                  Correct?

6
6             A.
              A.        Yes.
                        Yes.

7
7             Q.
              Q.        Okay.
                        Okay.    And do
                                 And do you
                                        you recall -- for
                                            recall -- for each
                                                          each of
                                                               of
8
8       your
        your programs and interventions
             programs and interventions proposed in Ohio,
                                        proposed in Ohio,
9
9       do
        do you
           you recall providing a
               recall providing a similar
                                  similar analysis?
                                          analysis?                    You
                                                                       You

10
10      recommended the programs
        recommended the programs and the interventions,
                                 and the interventions, and
                                                        and
11
11      then through
        then through your
                     your redress model, you
                          redress model, you went through
                                             went through

12
12      each category,
        each category, identified
                       identified the
                                  the population and
                                      population and

13
13      provided cost estimates
        provided cost estimates for
                                for what
                                    what you
                                         you were
                                             were really
                                                  really

14
14      talking about
        talking about in
                      in terms
                         terms of
                               of your abatement plan.
                                  your abatement plan.

15
15                             Fair?
                               Fair?

16
16                             MR. BURNETT:
                               MR. BURNETT:         Objection.
                                                    Objection.

17
17            A.
              A.        I don't believe
                        I don't believe that
                                        that my role was
                                             my role     exactly
                                                     was exactly

18
18      the same
        the same in
                 in the
                    the Ohio
                        Ohio litigation
                             litigation and
                                        and this
                                            this
19
19      litigation.
        litigation.

20
20            Q.
              Q.        Okay.
                        Okay.     Can you
                                  Can you -- can
                                             can you
                                                 you open
                                                     open up the
                                                          up the

21
21      folders or
        folders or the
                   the envelopes
                       envelopes for
                                 for Tabs
                                     Tabs 33
                                          33 and
                                             and 34,
                                                 34,

22
22      please?
        please?

23
23                             MR. BURNETT:
                               MR. BURNETT:         Are we
                                                    Are    setting these
                                                        we setting these
24
24      aside, these
        aside, these documents?
                     documents?



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1
1           ALEXANDER DEPOSITION
            ALEXANDER            EXHIBIT NOS.
                      DEPOSITION EXHIBIT NOS. 33
                                              33 AND
                                                 AND 34
                                                     34

2
2                           (G.
                            (G. Caleb
                                Caleb Alexander, MD, MS,
                                      Alexander, MD, MS,
3
3                           Supplemental Expert
                            Supplemental Expert Report
                                                Report -
                                                       - Update,
                                                         Update,

4
4                           April 17,
                            April 17, 2019 (MDL Ohio
                                      2019 (MDL Ohio litigation)
                                                     litigation)
5
5                           and
                            and G.
                                G. Caleb Alexander, MD,
                                   Caleb Alexander, MD, MS,
                                                        MS,
6
6                           Supplemental Expert
                            Supplemental Expert Report
                                                Report Update.
                                                       Update.

7
7                           October 8,
                            October 8, 2019
                                       2019 (MDL Ohio litigation)
                                            (MDL Ohio litigation)
8
8                           was marked for
                            was marked for identification
                                           identification purposes
                                                          purposes

9
9                           as Alexander Deposition
                            as Alexander            Exhibit Nos.
                                         Deposition Exhibit Nos.
10
10                          33 and 34.)
                            33 and 34.)

11
11                          VIDEO
                            VIDEO TECH:
                                  TECH:      My apologies,
                                             My apologies, Melissa.
                                                           Melissa.

12
12      Did
        Did you say Tabs
            you say Tabs 34 and 35?
                         34 and 35?

13
13                         MS. GEIST:
                           MS. GEIST:       33 and 34.
                                            33 and 34.

14
14                          VIDEO
                            VIDEO TECH:
                                  TECH:      Okay.
                                             Okay.       Marking Tabs
                                                         Marking Tabs 33
                                                                      33

15
15      and 34
        and    as Exhibits
            34 as Exhibits 33 and 34.
                           33 and 34.

16
16            A.
              A.        I
                        I have those open.
                          have those open.
17
17            Q.
              Q.        Do
                        Do you
                           you have those, Doctor
                               have those, Doctor Alexander?
                                                  Alexander?

18
18            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
19
19            Q.
              Q.        Okay.
                        Okay.   And do
                                And do you
                                       you recognize these?
                                           recognize these?         They
                                                                    They

20
20      appear, for
        appear, for the
                    the record,
                        record, to
                                to be
                                   be supplements to your
                                      supplements to your

21
21      expert report
        expert        in Ohio.
               report in Ohio.            Exhibit 33
                                          Exhibit    is dated
                                                  33 is dated April
                                                              April
22
22      17th,
        17th, 2019; and Exhibit
              2019; and Exhibit 34 is dated
                                34 is       October 8th,
                                      dated October 8th,

23
23      2019.
        2019.      Do
                   Do you see that?
                      you see that?
24
24            A.
              A.        Yes, ma'am.
                        Yes, ma'am.


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1
1             Q.
              Q.        Okay.
                        Okay.    And do
                                 And do you see with
                                        you see with respect to each
                                                     respect to each
2
2       of your
        of your 15 categories for
                15 categories for abatement
                                  abatement plan -- plans
                                            plan -- plans

3
3       or interventions,
        or interventions, you
                          you have
                              have here
                                   here as
                                        as part
                                           part of
                                                of your
                                                   your

4
4       redress
        redress model the population
                model the            estimate and
                          population estimate and the
                                                  the cost
                                                      cost
5
5       estimate for
        estimate for each
                     each of
                          of these.
                             these.                  Do
                                                     Do you see that?
                                                        you see that?
6
6             A.
              A.        Yes.
                        Yes.    But I
                                But   believe that
                                    I believe that Professor
                                                   Professor Jeffrey
                                                             Jeffrey

7
7       Liebman provided
        Liebman provided what
                         what I call -
                              I call - for
                                       for lack
                                           lack of a better
                                                of a better
8
8       word - micro
        word - micro estimates.
                     estimates.               In other words,
                                              In other        that
                                                       words, that

9
9       Professor Liebman
        Professor         took the
                  Liebman took the sorts
                                   sorts of
                                         of population
                                            population

10
10      numbers that we
        numbers that    developed and
                     we developed and then
                                      then --
                                           -- and
                                              and then
                                                  then
11
11      developed economic estimates
        developed economic estimates based
                                     based on that in
                                           on that in a
                                                      a
12
12      manner not
        manner     dissimilar to
               not dissimilar to what
                                 what George Barrett has
                                      George Barrett has

13
13      done.
        done.

14
14                             I
                               I believe
                                 believe what
                                         what we did in
                                              we did in this
                                                        this instance
                                                             instance
15
15      - and
        - and please
              please keep in mind
                     keep in mind it's
                                  it's been
                                       been a
                                            a while since
                                              while since

16
16      I've looked at
        I've looked at these
                       these materials
                             materials -
                                       - is
                                         is that
                                            that we
                                                 we used
                                                    used

17
17      national numbers and
        national numbers and then
                             then scaled
                                  scaled down
                                         down projected
                                              projected
18
18      costs locally
        costs locally based
                      based on
                            on the
                               the relative
                                   relative rates of
                                            rates of

19
19      overdose in
        overdose in Cuyahoga County and
                    Cuyahoga County and Summit
                                        Summit County
                                               County

20
20      relative to national
        relative to          levels.
                    national levels.

21
21                             So the process
                               So the process was
                                              was a bit different,
                                                  a bit different,
22
22      but in
        but in both
               both instances,
                    instances, our effort was
                               our effort     to take
                                          was to take a
                                                      a
23
23      population and derive
        population and        some estimate
                       derive some estimate of
                                            of the
                                               the costs
                                                   costs of
                                                         of
24
24      abatement.
        abatement.



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1
1             Q.
              Q.        Sure.
                        Sure.   And thank
                                And thank you for that
                                          you for that explanation.
                                                       explanation.
2
2       But you
        But you can see here
                can see      in the
                        here in the redress
                                    redress model,
                                            model, there
                                                   there is
                                                         is
3
3       the an
        the an itemization
               itemization of
                           of the
                              the population
                                  population and there's
                                             and there's

4
4       information relating
        information          to costs
                    relating to costs for
                                      for each
                                          each intervention
                                               intervention
5
5       or proposed
        or proposed program, and the
                    program, and the categories
                                     categories of
                                                of

6
6       abatement or
        abatement or interventions
                     interventions that
                                   that you're
                                        you're proposing
                                               proposing

7
7       here in Cabell
        here in Cabell County/Huntington are not
                       County/Huntington are not reflected
                                                 reflected

8
8       in the
        in the Ohio
               Ohio redress
                    redress model,
                            model, meaning there is
                                   meaning there is no
                                                    no

9
9       section of
        section of the
                   the redress
                       redress model talking about
                               model talking about the
                                                   the
10
10      population or the
        population or the cost that would
                          cost that       be estimated
                                    would be estimated for
                                                       for
11
11      the following
        the following programs
                      programs and interventions that
                               and interventions that
12
12      you're proposing here.
        you're proposing here.

13
13                          So there's nothing
                            So there's         indicating that
                                       nothing indicating that you
                                                               you

14
14      considered as
        considered as part
                      part of
                           of the
                              the abatement
                                  abatement plan in Ohio
                                            plan in Ohio
15
15      Community Prevention and
        Community Prevention and Resiliency,
                                 Resiliency, Workforce
                                             Workforce

16
16      Expansion and
        Expansion and Resiliency,
                      Resiliency, Vocational
                                  Vocational Training and
                                             Training and

17
17      Job Replacement, Reengineering
        Job Replacement, Reengineering the
                                       the Workforce,
                                           Workforce,

18
18      Mental Health
        Mental Health Counseling
                      Counseling and
                                 and Grief
                                     Grief Support,
                                           Support,

19
19      Homeless and
        Homeless and Housing Insecure Individuals.
                     Housing Insecure Individuals.

20
20                         All those
                           All those categories
                                     categories here
                                                here which
                                                     which you --
                                                           you --

21
21      as we
        as we went through them,
              went through them, they're
                                 they're not
                                         not highlighted
                                             highlighted as
                                                         as

22
22      subparts of
        subparts of your abatement plan
                    your abatement      in Ohio
                                   plan in Ohio in any way.
                                                in any way.

23
23      And we
        And    agreed to
            we agreed to that,
                         that, correct?
                               correct?

24
24                         MR. BURNETT:
                           MR. BURNETT:        Counsel,
                                               Counsel, I'm
                                                        I'm going to
                                                            going to



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1
1       object.
        object.         You're not
                        You're not asking
                                   asking a
                                          a question.
                                            question.        You just
                                                             You just

2
2       spoke your
        spoke      own paragraph
              your own           or two
                       paragraph or two testifying,
                                        testifying,
3
3       effectively, number
        effectively,        one.
                     number one.             And number
                                             And        two, the
                                                 number two, the
4
4       documents
        documents you're asking him
                  you're asking     to look
                                him to look at
                                            at is
                                               is not the
                                                  not the

5
5       redress
        redress report.
                report.          One of
                                 One of them
                                        them is
                                             is a supplemental
                                                a supplemental

6
6       expert report
        expert        and another
               report and         is a
                          another is a supplemental
                                       supplemental expert
                                                    expert
7
7       report,
        report, so
                so you
                   you need to clarify
                       need to         the terminology.
                               clarify the terminology.
8
8             Q.
              Q.        Let's look
                        Let's look at
                                   at Exhibit
                                      Exhibit 33,
                                              33, because it's
                                                  because it's

9
9       important to
        important to be precise here,
                     be precise here, I agree.
                                      I agree.               So Exhibit
                                                             So Exhibit

10
10      33
        33 has a table
           has a table on
                       on it,
                          it, does it not?
                              does it not?

11
11            A.
              A.        Yes, it
                        Yes, it does.
                                does.

12
12            Q.
              Q.        And it
                        And it says,
                               says, "Table
                                     "Table 1
                                            1 represents
                                              represents changes to
                                                         changes to

13
13      the redress
        the redress models
                    models used to develop
                           used to develop preliminary
                                           preliminary

14
14      estimates of
        estimates of the
                     the national abatement costs
                         national abatement costs to
                                                  to
15
15      address the
        address the opioid
                    opioid epidemic."
                           epidemic."
16
16                          And then
                            And then it
                                     it refers the reader
                                        refers the        to your
                                                   reader to your

17
17      report to address
        report to address the
                          the additional
                              additional details.
                                         details.              So the
                                                               So the
18
18      redress
        redress categories -- while
                categories --       the entire
                              while the entire redress
                                               redress

19
19      model is
        model is not
                 not here in Exhibit
                     here in Exhibit 33, each category
                                     33, each category is
                                                       is
20
20      set forth
        set forth here in Table
                  here in Table 1 and then
                                1 and then again at Table
                                           again at       2
                                                    Table 2

21
21      and it
        and it gets
               gets into
                    into costs.
                         costs.
22
22                          Do
                            Do you
                               you see that?
                                   see that?

23
23            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

24
24            Q.
              Q.        Okay.
                        Okay.   And in
                                And in Cabell
                                       Cabell County, Ohio {sic},
                                              County, Ohio {sic},


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1
1       part of your
        part of your proposed
                     proposed plan for abatement
                              plan for abatement includes
                                                 includes
2
2       Community Prevention and
        Community Prevention and Resiliency,
                                 Resiliency, and that is
                                             and that is
3
3       not a subcategory
        not a subcategory as part of
                          as part of the
                                     the plan
                                         plan in
                                              in Ohio
                                                 Ohio and
                                                      and
4
4       that is
        that is also
                also not
                     not here in any
                         here in any --
                                     -- either
                                        either of
                                               of the
                                                  the
5
5       tables listing
        tables listing the
                       the redress
                           redress categories.
                                   categories.                 Correct?
                                                               Correct?

6
6                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

7
7             A.
              A.        We -- it
                        We -- it --
                                 -- we
                                    we did not --
                                       did not -- I
                                                  I did
                                                    did not call it
                                                        not call it
8
8       out separately
        out separately to
                       to the
                          the best
                              best my
                                   my knowledge, and based
                                      knowledge, and based
9
9       on our
        on our brief
               brief review, as a
                     review, as a separate
                                  separate category.
                                           category.                 But
                                                                     But

10
10      again, I'm
        again,     not suggesting
               I'm not suggesting that
                                  that it's
                                       it's not
                                            not potentially
                                                potentially

11
11      important and
        important and that
                      that it's
                           it's not covered elsewhere
                                not covered elsewhere in
                                                      in my
                                                         my

12
12      Ohio report.
        Ohio report.

13
13                          So
                            So I
                               I really
                                 really want to underscore
                                        want to            that
                                                underscore that

14
14      just because
        just because something like linking
                     something like linking people to care
                                            people to care

15
15      isn't necessarily
        isn't necessarily called out with
                          called out      a banner
                                     with a banner heading
                                                   heading

16
16      doesn't mean
        doesn't      that it's
                mean that it's not
                               not reflected in the
                                   reflected in the content
                                                    content

17
17      and the
        and the substance
                substance of
                          of my
                             my report.
                                report.

18
18            Q.
              Q.        It's not
                        It's not --
                                 --
19
19            A.
              A.        You
                        You are --
                            are --

20
20            Q.
              Q.        It's not
                        It's not --
                                 -- I'm
                                    I'm sorry.
                                        sorry.          Were
                                                        Were you finished?
                                                             you finished?

21
21            A.
              A.        No, I
                        No, I was
                              was not.
                                  not.

22
22            Q.
              Q.        Please continue.
                        Please continue.
23
23            A.
              A.        You
                        You are correct that
                            are correct that I
                                             I did
                                               did not
                                                   not separately
                                                       separately

24
24      itemize the
        itemize the costs
                    costs for
                          for some
                              some categories in the
                                   categories in the Ohio
                                                     Ohio


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1
1       report that I
        report that   do separately
                    I do separately itemize
                                    itemize the
                                            the costs for
                                                costs for

2
2       in Cabell
        in Cabell County and the
                  County and the City of Huntington.
                                 City of Huntington.           And
                                                               And

3
3       if you'd
        if       like to
           you'd like to discuss that, I'm
                         discuss that, I'm happy to help
                                           happy to help

4
4       you
        you understand
            understand why
                       why I did not
                           I did not do
                                     do so in one
                                        so in one instance,
                                                  instance,
5
5       but I
        but I did so in
              did so in another.
                        another.
6
6             Q.
              Q.        So on
                        So on that
                              that point,
                                   point, you did not
                                          you did     separately
                                                  not separately

7
7       categorize and
        categorize and put a cost
                       put a cost to
                                  to Community Prevention
                                     Community Prevention

8
8       and Resiliency
        and Resiliency in
                       in Ohio
                          Ohio as
                               as you
                                  you did in West
                                      did in West Virginia,
                                                  Virginia,

9
9       Cabell
        Cabell County/Huntington, correct?
               County/Huntington, correct?

10
10                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

11
11            A.
              A.        That's correct.
                        That's correct.     But I'd
                                            But     like to
                                                I'd like to also just
                                                            also just

12
12      point out, these
        point out, these are
                         are national
                             national estimates,
                                      estimates, okay?
                                                 okay?            So
                                                                  So

13
13      if you
        if     look at
           you look at page
                       page 3 of --
                            3 of -- I
                                    I believe the Exhibit
                                      believe the Exhibit
14
14      33,
        33, Tab
            Tab 33, if you
                33, if     look at
                       you look at Table -- yeah,
                                   Table -- yeah, Table
                                                  Table --

15
15      I'm sorry, Table
        I'm sorry,       2.
                   Table 2.         It's being
                                    It's being projected.
                                               projected.

16
16                          So these are
                            So these are --
                                         -- these
                                            these are
                                                  are national
                                                      national

17
17      estimates, and
        estimates, and Professor
                       Professor Liebman,
                                 Liebman, Jeffrey
                                          Jeffrey Liebman,
                                                  Liebman,

18
18      performed an entirely
        performed an entirely different -- produced
                              different -- produced a
                                                    a

19
19      separate report
        separate report and
                        and used
                            used micro estimates, and
                                 micro estimates, and he
                                                      he

20
20      may or
        may or may
               may not
                   not have included community-based
                       have included community-based
21
21      programs.
        programs.

22
22                          But it
                            But it is
                                   is the
                                      the case that in
                                          case that in these
                                                       these
23
23      preliminary estimates of
        preliminary estimates of abatement
                                 abatement costs,
                                           costs,

24
24      nationally that I
        nationally that I produced for Cuyahoga
                          produced for Cuyahoga and Summit
                                                and Summit



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1
1       Counties 18 or
        Counties 18 or 24
                       24 months
                          months ago that I
                                 ago that I did
                                            did not
                                                not have
                                                    have a
                                                         a

2
2       separate call-out
        separate call-out category for community
                          category for community resilience
                                                 resilience

3
3       and community
        and community prevention
                      prevention programs.
                                 programs.

4
4             Q.
              Q.        And similarly,
                        And similarly, the
                                       the same
                                           same answer
                                                answer would be for
                                                       would be for
5
5       connecting individuals
        connecting individuals to
                               to care.
                                  care.                  That is a
                                                         That is a separate
                                                                   separate
6
6       part of your
        part of      abatement plan
                your abatement plan here in Cabell
                                    here in Cabell County/
                                                   County/

7
7       Huntington and
        Huntington and there's
                       there's not a separate
                               not a separate line
                                              line item
                                                   item or
                                                        or
8
8       discussion or cost
        discussion or cost estimate
                           estimate relating
                                    relating to
                                             to connecting
                                                connecting

9
9       individuals to
        individuals to care.
                       care.           Would
                                       Would you agree with
                                             you agree      me on
                                                       with me on
10
10      that?
        that?

11
11            A.
              A.        I
                        I would --
                          would --

12
12                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

13
13            A.
              A.        -- although
                        -- although it
                                    it may
                                       may be
                                           be subsumed
                                              subsumed within
                                                       within some
                                                              some

14
14      of these
        of these abatement
                 abatement categories
                           categories in
                                      in the
                                         the Ohio
                                             Ohio report.
                                                  report.

15
15      So for
        So for example,
               example, some
                        some of
                             of the
                                the linkages
                                    linkages that
                                             that happened
                                                  happened

16
16      in connecting
        in            people to
           connecting people to care
                                care happened through
                                     happened through

17
17      emergency departments,
        emergency departments, and this report
                               and this        in Ohio
                                        report in Ohio does
                                                       does

18
18      include interventions
        include interventions to
                              to help improve quality
                                 help improve quality of
                                                      of
19
19      care for
        care for people
                 people that
                        that are
                             are seen in emergency
                                 seen in emergency
20
20      departments.
        departments.

21
21                          And --
                            And --
22
22            Q.
              Q.        Sure.
                        Sure.   And so
                                And so does the report
                                       does the        in Cabell
                                                report in Cabell

23
23      County/Huntington,
        County/Huntington, right?
                           right?

24
24                          MR. BURNETT:
                            MR. BURNETT:       Hold on, Counsel.
                                               Hold on, Counsel.      He
                                                                      He



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1
1       wasn't finished.
        wasn't finished.         You interrupted him
                                 You interrupted     again.
                                                 him again.

2
2             A.
              A.        Well,
                        Well, my
                              my point is that
                                 point is that I
                                               I could
                                                 could give other
                                                       give other

3
3       examples of
        examples of where
                    where some
                          some of the concepts
                               of the          that are
                                      concepts that are
4
4       called out
        called out and
                   and elevated
                       elevated to
                                to the
                                   the level
                                       level of
                                             of a
                                                a subheader
                                                  subheader

5
5       in West
        in West Virginia may --
                Virginia may -- are
                                are nevertheless
                                    nevertheless present
                                                 present

6
6       and embedded
        and embedded in
                     in different
                        different abatement
                                  abatement categories
                                            categories in
                                                       in
7
7       Ohio.
        Ohio.

8
8                           And so
                            And so while it may
                                   while it may be
                                                be that
                                                   that they're
                                                        they're
9
9       not elevated and
        not elevated     called out
                     and called out at
                                    at the
                                       the --
                                           -- at
                                              at the
                                                 the level
                                                     level
10
10      of a
        of a header, they are,
             header, they are, nevertheless,
                               nevertheless, may be
                                             may be

11
11      subsumed within
        subsumed        some of
                 within some of these
                                these 15 categories that
                                      15 categories that
12
12      we're looking at
        we're looking at in
                         in Table 2.
                            Table 2.

13
13            Q.
              Q.        There's also not
                        There's also     a separate
                                     not a separate cost estimate
                                                    cost estimate

14
14      for Community
        for Community Prevention
                      Prevention and Resiliency in
                                 and Resiliency    Ohio as
                                                in Ohio as
15
15      there is
        there is in
                 in Cabell
                    Cabell County/Huntington, true?
                           County/Huntington, true?

16
16                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

17
17            A.
              A.        I believe that's
                        I believe that's the
                                         the case.
                                             case.

18
18            Q.
              Q.        I'm sorry,
                        I'm sorry, Doctor Alexander?
                                   Doctor Alexander?

19
19            A.
              A.        I believe that's
                        I believe that's true.
                                         true.
20
20            Q.
              Q.        And same
                        And      thing for
                            same thing for Connecting
                                           Connecting Individuals
                                                      Individuals

21
21      to Care?
        to Care?         That's a separate
                         That's a separate header
                                           header and a separate
                                                  and a separate
22
22      cost estimate
        cost estimate for
                      for Cabell
                          Cabell County/Huntington and that
                                 County/Huntington and that
23
23      is not
        is     the case
           not the case for
                        for your Ohio report,
                            your Ohio         correct?
                                      report, correct?

24
24                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.



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1
1             A.
              A.        Yes, it's
                        Yes, it's not
                                  not a
                                      a separate
                                        separate header,
                                                 header, but these
                                                         but these

2
2       reports are not
        reports are not -- they're
                           they're not identical reports.
                                   not identical reports.

3
3       I mean, they're
        I mean, they're two
                        two different
                            different communities
                                      communities and the
                                                  and the

4
4       reports take place
        reports take       at two
                     place at two different
                                  different points in time,
                                            points in time,
5
5       and whether
        and         or not
            whether or     something is
                       not something is a
                                        a header or not
                                          header or not

6
6       doesn't mean
        doesn't      that it's
                mean that it's not
                               not considered or
                                   considered or

7
7       incorporated into
        incorporated into the
                          the --
                              -- the
                                 the concepts
                                     concepts and
                                              and the
                                                  the plan
                                                      plan

8
8       as I
        as I have
             have put forth.
                  put forth.

9
9                           So it's hard
                            So it's      to talk
                                    hard to talk about
                                                 about an
                                                       an

10
10      abstract, but
        abstract, but I
                      I hope that that
                        hope that that point
                                       point is
                                             is clear.
                                                clear.

11
11            Q.
              Q.        Connecting Individuals
                        Connecting             to Care
                                   Individuals to      is on
                                                  Care is on a
                                                             a
12
12      separate cost
        separate cost item
                      item in
                           in Ohio,
                              Ohio, as
                                    as it
                                       it is
                                          is here in Cabell
                                             here in Cabell
13
13      County/Huntington, correct?
        County/Huntington, correct?

14
14                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

15
15            A.
              A.        Correct.
                        Correct.   It's
                                   It's not a separate
                                        not a          line item,
                                              separate line item,
16
16      but it
        but it may
               may be
                   be subsumed
                      subsumed in
                               in some
                                  some of
                                       of these
                                          these other
                                                other

17
17      categories.
        categories.

18
18            Q.
              Q.        Workforce Expansion and
                        Workforce Expansion and Resiliency,
                                                Resiliency, again,
                                                            again,
19
19      that is
        that is not a separate
                not a separate cost estimate in
                               cost estimate in Ohio as it
                                                Ohio as it
20
20      is here
        is      in Cabell
           here in Cabell County/Huntington.
                          County/Huntington.                  True?
                                                              True?

21
21                          MR. BURNETT:
                            MR. BURNETT:        Objection.
                                                Objection.

22
22            A.
              A.        Again, it
                        Again, it hasn't been broken
                                  hasn't been broken out
                                                     out as a
                                                         as a

23
23      separate category,
        separate category, but
                           but it
                               it may
                                  may be subsumed to
                                      be subsumed to some
                                                     some
24
24      degree in some
        degree in some of
                       of these
                          these categories
                                categories that
                                           that are
                                                are



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1
1       depicted.
        depicted.

2
2             Q.
              Q.        Same question
                        Same question with respect to
                                      with respect to Vocational
                                                      Vocational

3
3       Training and Job
        Training and     Placement.
                     Job Placement.               That is not
                                                  That is     a separate
                                                          not a separate
4
4       cost estimate
        cost estimate here in Cabell
                      here in Cabell County/Huntington --
                                     County/Huntington --

5
5                           MS. GEIST:
                            MS. GEIST:     I'm sorry, strike
                                           I'm sorry, strike that.
                                                             that.
6
6             Q.
              Q.        Same question
                        Same question with respect to
                                      with respect to Vocational
                                                      Vocational

7
7       Training and Job
        Training and     Placement.
                     Job Placement.               That is not
                                                  That is     a separate
                                                          not a separate
8
8       cost estimate
        cost estimate in
                      in the
                         the Ohio
                             Ohio report,
                                  report, but
                                          but it
                                              it is
                                                 is a
                                                    a

9
9       separate cost
        separate cost estimate
                      estimate in
                               in Cabell County/Ohio, true?
                                  Cabell County/Ohio, true?
10
10                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

11
11            A.
              A.        Yes, it
                        Yes, it may
                                may be
                                    be subsumed
                                       subsumed within
                                                within some of the
                                                       some of the
12
12      other categories
        other            and interventions
              categories and interventions in
                                           in the
                                              the Ohio
                                                  Ohio

13
13      setting, but
        setting, but it
                     it was
                        was not called out
                            not called out as a separate
                                           as a separate

14
14      line item.
        line item.
15
15            Q.
              Q.        Same question
                        Same question with respect to
                                      with respect to Reengineering
                                                      Reengineering
16
16      the Workplace.
        the Workplace.         Reengineering the
                               Reengineering the Workplace is a
                                                 Workplace is a

17
17      separate cost
        separate cost estimate
                      estimate here in Cabell
                               here in Cabell County/
                                              County/

18
18      Huntington and
        Huntington and was
                       was not
                           not a
                               a separate cost estimate
                                 separate cost estimate in
                                                        in
19
19      your Ohio abatement
        your Ohio abatement report.
                            report.               True?
                                                  True?

20
20                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

21
21            A.
              A.        Again, it
                        Again, it may
                                  may be subsumed to
                                      be subsumed to some
                                                     some degree
                                                          degree in
                                                                 in
22
22      some of
        some of the
                the other
                    other categories,
                          categories, but
                                      but you're correct
                                          you're correct

23
23      that it's
        that it's not a separate
                  not a separate called-out category.
                                 called-out category.

24
24            Q.
              Q.        Same question
                        Same question with respect to
                                      with respect to Mental
                                                      Mental Health
                                                             Health


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1
1       Counseling and Grief
        Counseling and       Support.
                       Grief Support.                Again, that
                                                     Again, that is
                                                                 is a
                                                                    a
2
2       separate subheader
        separate subheader in
                           in your abatement plan
                              your abatement plan here in
                                                  here in

3
3       Cabell
        Cabell County/Huntington; it is
               County/Huntington; it is a separate cost
                                        a separate cost
4
4       estimate, a
        estimate, a separate
                    separate line
                             line item,
                                  item, and
                                        and that
                                            that was not
                                                 was not

5
5       included in
        included in your Ohio report?
                    your Ohio report?

6
6                           There's no separate
                            There's no separate cost
                                                cost estimate
                                                     estimate for
                                                              for
7
7       Mental Health
        Mental Health Counseling
                      Counseling and
                                 and Grief
                                     Grief Support.
                                           Support.

8
8       Correct?
        Correct?

9
9                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

10
10            A.
              A.        I mean, the
                        I mean, the reports
                                    reports are
                                            are not
                                                not identical,
                                                    identical, and
                                                               and
11
11      there are
        there     concepts that
              are concepts that --
                                -- there
                                   there are
                                         are many, many
                                             many, many

12
12      shared elements
        shared elements and
                        and shared
                            shared concepts,
                                   concepts, and it's also
                                             and it's also
13
13      worth
        worth noting that my
              noting that my understanding from looking
                             understanding from looking at
                                                        at
14
14      the economic
        the economic estimates
                     estimates -
                               - although
                                 although it's
                                          it's not
                                               not what
                                                   what I
                                                        I

15
15      focused on
        focused on -
                   - is
                     is that
                        that the
                             the vast
                                 vast majority of costs
                                      majority of       are
                                                  costs are

16
16      treatment, and
        treatment, and that's
                       that's sort
                              sort of
                                   of staring -- staring
                                      staring -- staring us
                                                         us

17
17      right -- you
        right -- you know, front and
                     know, front     center.
                                 and center.

18
18                          But --
                            But -- but the reports
                                   but the reports are
                                                   are not -- so
                                                       not -- so I
                                                                 I

19
19      guess
        guess my point is
              my point is that
                          that the
                               the underlying concepts,
                                   underlying concepts,

20
20      that there's
        that there's a lot that's
                     a lot that's shared,
                                  shared, but
                                          but the
                                              the --
                                                  -- the
                                                     the
21
21      called-out categories
        called-out categories are
                              are not
                                  not identical
                                      identical between the
                                                between the

22
22      reports.
        reports.

23
23            Q.
              Q.        So the
                        So the answer
                               answer to
                                      to my
                                         my question is that
                                            question is that I am
                                                             I am

24
24      correct, there
        correct, there is
                       is not a separate
                          not a separate cost
                                         cost estimate
                                              estimate or
                                                       or



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1
1       line item
        line item for
                  for Mental
                      Mental Health
                             Health Counseling
                                    Counseling and
                                               and Grief
                                                   Grief

2
2       Support in
        Support in the
                   the Ohio
                       Ohio report like there
                            report like there is
                                              is here in
                                                 here in

3
3       Cabell
        Cabell County/Huntington.
               County/Huntington.             Am I
                                              Am I correct
                                                   correct about that?
                                                           about that?

4
4                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

5
5             A.
              A.        It is
                        It is -- it
                                 it is
                                    is true
                                       true that
                                            that there's
                                                 there's not a
                                                         not a

6
6       separate line
        separate line item.
                      item.         But some
                                    But      of those
                                        some of those services
                                                      services and
                                                               and
7
7       some of
        some of those
                those costs
                      costs may be subsumed
                            may be subsumed in
                                            in other
                                               other
8
8       categories that
        categories that are
                        are represented in Table
                            represented in       2 that's
                                           Table 2 that's
9
9       depicted on the
        depicted on the left
                        left of
                             of the
                                the screen
                                    screen currently.
                                           currently.

10
10            Q.
              Q.        Same question
                        Same question with respect to
                                      with respect to Homeless and
                                                      Homeless and

11
11      Housing Insecure
        Housing Insecure Individuals.
                         Individuals.                That is a
                                                     That is a separate
                                                               separate
12
12      component of
        component of the
                     the abatement
                         abatement plan
                                   plan here for Cabell
                                        here for Cabell

13
13      County/Huntington; it has
        County/Huntington; it     a separate
                              has a separate cost estimate
                                             cost estimate

14
14      associated with
        associated      that.
                   with that.

15
15                          And that
                            And that is
                                     is not a separate
                                        not a separate part of the
                                                       part of the
16
16      plan and does
        plan and does not
                      not have
                          have a
                               a separate
                                 separate dollar figure or
                                          dollar figure or
17
17      cost estimate
        cost estimate associated
                      associated with it in
                                 with it in Ohio.
                                            Ohio.                True?
                                                                 True?

18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19            A.
              A.        I mean, this
                        I mean, this is
                                     is an important matter,
                                        an important matter, as
                                                             as
20
20      many of
        many of the
                the others
                    others are
                           are that
                               that we've
                                    we've discussed,
                                          discussed, when
                                                     when

21
21      thinking about
        thinking about abatement.
                       abatement.             I
                                              I haven't
                                                haven't had the chance
                                                        had the chance
22
22      to review
        to review my Ohio report
                  my Ohio        in detail
                          report in detail in
                                           in preparation
                                              preparation
23
23      for this
        for this deposition.
                 deposition.          I
                                      I wasn't anticipating that
                                        wasn't anticipating that we
                                                                 we

24
24      would
        would be examining it
              be examining it in
                              in --
                                 -- in
                                    in this
                                       this level
                                            level of
                                                  of


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1
1       detail.
        detail.

2
2                          But I
                           But I would
                                 would be surprised if
                                       be surprised if there's
                                                       there's
3
3       not a consideration
        not a consideration within the report
                            within the        of
                                       report of

4
4       homelessness
        homelessness and
                     and housing insecurity and
                         housing insecurity and the
                                                the
5
5       important role
        important      that that
                  role that that plays for some
                                 plays for      individuals
                                           some individuals

6
6       with opioid use
        with opioid     disorder in
                    use disorder in preventing
                                    preventing their
                                               their --
                                                     --
7
7       their treatment
        their treatment and
                        and recovery.
                            recovery.

8
8             Q.
              Q.        Would
                        Would you agree with
                              you agree with me that there
                                             me that there is
                                                           is not a
                                                              not a

9
9       separate cost
        separate cost estimate
                      estimate or line item
                               or line item in
                                            in your
                                               your

10
10      abatement plan
        abatement      for Ohio
                  plan for Ohio for
                                for Homeless
                                    Homeless and Housing
                                             and Housing

11
11      Insecure Individuals as
        Insecure Individuals as there
                                there is
                                      is here in Cabell
                                         here in Cabell

12
12      County/Huntington?
        County/Huntington?

13
13                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

14
14            A.
              A.        I'm just
                        I'm just looking
                                 looking at
                                         at Exhibit
                                            Exhibit --
                                                    -- Tab
                                                       Tab 4,
                                                           4, and
                                                              and

15
15      I'd just like
        I'd just like to
                      to see,
                         see, again,
                              again, the
                                     the --
                                         -- the
                                            the categories.
                                                categories.

16
16                          So
                            So yes, Housing and
                               yes, Housing and Homeless
                                                Homeless
17
17      Insecurity as a
        Insecurity as a concept
                        concept is
                                is an
                                   an important
                                      important one, and my
                                                one, and my

18
18      guess is that
        guess is that it
                      it is
                         is included
                            included or
                                     or noted in my
                                        noted in my Ohio
                                                    Ohio
19
19      report but may
        report but may not be called
                       not be called out
                                     out -
                                         - or is not
                                           or is     called
                                                 not called

20
20      out -
        out - as a separate
              as a separate line
                            line item.
                                 item.
21
21            Q.
              Q.        Now, Doctor
                        Now,        Alexander, in
                             Doctor Alexander, in the
                                                  the Cabell
                                                      Cabell

22
22      County/Huntington
        County/Huntington abatement plan that
                          abatement plan that you
                                              you have
                                                  have

23
23      suggested for
        suggested for the
                      the county
                          county and the city
                                 and the city within the
                                              within the

24
24      county, your
        county,      abatement plan
                your abatement      stretches through
                               plan stretches through 15
                                                      15



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1
1       years.
        years.      Is that accurate?
                    Is that accurate?
2
2             A.
              A.        Yes, it
                        Yes, it is.
                                is.
3
3             Q.
              Q.        And I
                        And I believe
                              believe you state in
                                      you state in your
                                                   your report that
                                                        report that

4
4       some abatement
        some abatement approaches
                       approaches may
                                  may be framed in
                                      be framed    the
                                                in the

5
5       context of
        context of looking
                   looking forward
                           forward 10
                                   10 or 15 years,
                                      or 15        and you
                                            years, and you

6
6       are opining
        are opining that
                    that your
                         your plan should extend
                              plan should extend out
                                                 out all
                                                     all
7
7       the way
        the     to 15
            way to 15 years, the high
                      years, the      end of
                                 high end of that
                                             that estimate.
                                                  estimate.
8
8       Is that correct?
        Is that correct?

9
9             A.
              A.        I do propose
                        I do propose a
                                     a 15-year
                                       15-year plan, but I
                                               plan, but   -- there
                                                         I -- there
10
10      are --
        are -- the
               the legacy
                   legacy of
                          of the
                             the opioid
                                 opioid epidemic
                                        epidemic is
                                                 is going
                                                    going

11
11      to be
        to be with Cabell County
              with Cabell County and the City
                                 and the City of
                                              of Huntington
                                                 Huntington
12
12      far longer
        far longer than
                   than that.
                        that.
13
13            Q.
              Q.        You
                        You proposed that the
                            proposed that the abatement
                                              abatement plan to be
                                                        plan to be

14
14      put forward in
        put forward in Ohio,
                       Ohio, if
                             if that
                                that were to be
                                     were to be ordered,
                                                ordered,

15
15      would only go
        would only go out
                      out ten
                          ten years.
                              years.               So five years
                                                   So five       less
                                                           years less

16
16      than what
        than what you're
                  you're proposing
                         proposing here in Cabell
                                   here in Cabell

17
17      County/Huntington.
        County/Huntington.            Is that correct?
                                      Is that correct?
18
18            A.
              A.        I
                        I would
                          would have to --
                                have to -- I
                                           I mean, the --
                                             mean, the -- the
                                                          the
19
19      materials that
        materials that I'm seeing in
                       I'm seeing in front
                                     front of me say
                                           of me say "10
                                                     "10
20
20      years,"
        years," but
                but I
                    I would
                      would want to review
                            want to review the
                                           the report
                                               report more
                                                      more

21
21      carefully to
        carefully to be sure if
                     be sure if there
                                there was any consideration
                                      was any consideration
22
22      of 15
        of 15 versus
              versus 10
                     10 years.
                        years.

23
23            Q.
              Q.        Well,
                        Well, you
                              you have
                                  have your
                                       your report from Ohio
                                            report from Ohio in
                                                             in
24
24      front of
        front of you, and again,
                 you, and again, I'm mindful of
                                 I'm mindful of the
                                                the ruling.
                                                    ruling.



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1
1       I'm not asking
        I'm not asking you substantive questions
                       you substantive questions about
                                                 about it,
                                                       it,
2
2       but I
        but I am asking you
              am asking     to confirm
                        you to         for us
                               confirm for    today that
                                           us today that
3
3       your
        your proposed abatement plan
             proposed abatement      in Ohio
                                plan in Ohio is
                                             is for
                                                for
4
4       interventions and
        interventions and programs that would
                          programs that       occur or
                                        would occur or be
                                                       be

5
5       implemented over
        implemented over a
                         a 10-year-period.
                           10-year-period.                     And of
                                                               And    course,
                                                                   of course,

6
6       there's a
        there's   cost associated
                a cost associated with that, correct?
                                  with that, correct?

7
7             A.
              A.        Yes.
                        Yes.

8
8             Q.
              Q.        Okay.
                        Okay.    And here,
                                 And       in Cabell
                                     here, in Cabell County/
                                                     County/

9
9       Huntington, you
        Huntington,     are suggest
                    you are suggest that
                                    that the
                                         the abatement
                                             abatement plan
                                                       plan

10
10      that you
        that     are proposing
             you are proposing be implemented here
                               be implemented      stretch
                                              here stretch

11
11      out an
        out an additional
               additional five
                          five years.
                               years.                   Not
                                                        Not 10
                                                            10 years, but
                                                               years, but

12
12      15.
        15.    Is that correct?
               Is that correct?

13
13                             MR. BURNETT:
                               MR. BURNETT:      Hold on, Counsel.
                                                 Hold on, Counsel.      Your
                                                                        Your

14
14      prior
        prior question
              question was two questions
                       was two           in one
                               questions in one and it's
                                                and it's

15
15      not clear which
        not clear       question the
                  which question the witness
                                     witness was answering.
                                             was answering.

16
16                             MS. GEIST:
                               MS. GEIST:     Do
                                              Do you
                                                 you have
                                                     have an
                                                          an objection
                                                             objection

17
17      to form?
        to form?
18
18                             MR. BURNETT:
                               MR. BURNETT:      I
                                                 I do.
                                                   do.

19
19            Q.
              Q.        Can
                        Can you answer my
                            you answer my question,
                                          question, Doctor
                                                    Doctor

20
20      Alexander?
        Alexander?

21
21            A.
              A.        What specifically was
                        What specifically     the question?
                                          was the question?

22
22            Q.
              Q.        All right.
                        All right.     Here's the
                                       Here's the question
                                                  question really
                                                           really

23
23      simple:
        simple:         When
                        When you
                             you did
                                 did your Ohio report,
                                     your Ohio report, you
                                                       you put in
                                                           put in

24
24      an abatement
        an abatement report, correct?
                     report, correct?



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1
1             A.
              A.        Yes.
                        Yes.

2
2             Q.
              Q.        You
                        You suggested
                            suggested programs and interventions
                                      programs and interventions
3
3       for certain
        for certain categories
                    categories and for certain
                               and for certain population,
                                               population,

4
4       true?
        true?

5
5             A.
              A.        Yes.
                        Yes.

6
6             Q.
              Q.        And you
                        And you put cost estimates
                                put cost estimates or
                                                   or dollar
                                                      dollar

7
7       figures associated
        figures associated with the implementation
                           with the implementation of
                                                   of those
                                                      those
8
8       programs.
        programs.         Correct?
                          Correct?

9
9             A.
              A.        Yes.
                        Yes.

10
10            Q.
              Q.        Okay.
                        Okay.    And your
                                 And your plan
                                          plan called for those
                                               called for those
11
11      programs to go,
        programs to     be implemented
                    go, be implemented for
                                       for 10
                                           10 years.
                                              years.              True?
                                                                  True?

12
12            A.
              A.        Well, the documents
                        Well, the documents in
                                            in front
                                               front of
                                                     of me
                                                        me -
                                                           - which
                                                             which

13
13      represent two addendum
        represent two addendum to
                               to probably
                                  probably a
                                           a 100-page
                                             100-page

14
14      report - both
        report - both suggest
                      suggest economic
                              economic estimates
                                       estimates of
                                                 of 10
                                                    10

15
15      years, but I
        years, but I guess
                     guess I
                           I would like to
                             would like to see the report
                                           see the report

16
16      if we're
        if       dis --
           we're dis -- if
                        if we are exploring
                           we are exploring how
                                            how I
                                                I reasoned
                                                  reasoned

17
17      through the
        through the length
                    length of
                           of abatement.
                              abatement.
18
18                             And my
                               And my guess is there
                                      guess is there is
                                                     is commentary
                                                        commentary
19
19      within the report
        within the report putting some context
                          putting some context and
                                               and meat
                                                   meat on
                                                        on
20
20      the bone
        the bone around
                 around that
                        that specific
                             specific target
                                      target of
                                             of 10
                                                10 years.
                                                   years.

21
21      So I
        So   just have
           I just      a little
                  have a little bit
                                bit of
                                    of concern
                                       concern about
                                               about
22
22      oversimplifying, you
        oversimplifying, you know,
                             know, my opinions in
                                   my opinions in the
                                                  the last
                                                      last
23
23      case regarding
        case regarding how long I
                       how long   think abatement
                                I think abatement will take
                                                  will take

24
24      or how
        or     long an
           how long an abatement
                       abatement plan is necessary
                                 plan is necessary for.
                                                   for.


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1
1             Q.
              Q.        So looking
                        So looking here at these
                                   here at these documents
                                                 documents we
                                                           we have
                                                              have

2
2       on the
        on the screen,
               screen, these
                       these are
                             are supplements to your
                                 supplements to      Ohio
                                                your Ohio

3
3       report, Exhibits 33
        report, Exhibits    and 34.
                         33 and 34.                  Correct?
                                                     Correct?

4
4             A.
              A.        Yes.
                        Yes.

5
5             Q.
              Q.        And they
                        And they talk
                                 talk about a 10-year
                                      about a 10-year cost.
                                                      cost.           You
                                                                      You

6
6       see that
        see that on
                 on both
                    both of
                         of these
                            these pages
                                  pages that
                                        that we're looking
                                             we're looking

7
7       at together?
        at together?
8
8             A.
              A.        Yes, I
                        Yes,   do.
                             I do.

9
9             Q.
              Q.        Okay.
                        Okay.    But you
                                 But you want to take
                                         want to take a look at
                                                      a look at your
                                                                your

10
10      report and see
        report and see whether
                       whether you talked about
                               you talked about a
                                                a different
                                                  different

11
11      time frame
        time frame for
                   for your abatement plan
                       your abatement      in Ohio?
                                      plan in Ohio?
12
12                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

13
13            A.
              A.        No, I
                        No, I would like to
                              would like to see
                                            see --
                                                -- if
                                                   if it's
                                                      it's
14
14      important --
        important -- if
                     if this
                        this matter
                             matter is
                                    is important,
                                       important, I
                                                  I would
                                                    would

15
15      like to
        like to see my Ohio
                see my Ohio report
                            report so that I
                                   so that I can
                                             can review the
                                                 review the

16
16      section of
        section of the
                   the report
                       report where
                              where I
                                    I discussed
                                      discussed how long I
                                                how long I

17
17      think abatement
        think abatement will be required
                        will be          for.
                                required for.

18
18                          Because my
                            Because my --
                                       -- because there's --
                                          because there's --
19
19      there's nuance
        there's        there, and
                nuance there, and I just would
                                  I just       like to
                                         would like to see
                                                       see

20
20      my words
        my       if we're
           words if       -- if
                    we're -- if we're focusing on
                                we're focusing on what
                                                  what my
                                                       my

21
21      words
        words were at one
              were at one point in time,
                          point in time, I'd
                                         I'd like
                                             like to
                                                  to see
                                                     see
22
22      those words.
        those words.

23
23            Q.
              Q.        So sure,
                        So sure, and
                                 and I'm
                                     I'm happy to have
                                         happy to have you
                                                       you do that.
                                                           do that.

24
24      We
        We marked
           marked your Ohio report
                  your Ohio        as Exhibit
                            report as Exhibit 32.
                                              32.               The
                                                                The



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1
1       supplements that
        supplements that you provided in
                         you provided in that
                                         that case
                                              case have
                                                   have

2
2       been marked
        been marked as
                    as Exhibits
                       Exhibits 33 and 34.
                                33 and 34.                  And in
                                                            And in your
                                                                   your

3
3       Ohio report,
        Ohio report, you
                     you reference some abatement
                         reference some abatement
4
4       approaches may
        approaches may be framed in
                       be framed in the
                                    the context
                                        context of looking
                                                of looking

5
5       forward five
        forward five or
                     or ten
                        ten years, and you
                            years, and you chose the higher
                                           chose the higher

6
6       end, the
        end, the 10-year
                 10-year plan, for Ohio.
                         plan, for Ohio.
7
7                          And if
                           And if you
                                  you want to look
                                      want to look at
                                                   at your report
                                                      your report

8
8       and confirm
        and confirm that
                    that for
                         for me,
                             me, I'm
                                 I'm happy for you
                                     happy for     to do
                                               you to do

9
9       that.
        that.

10
10            A.
              A.        Thank
                        Thank you.
                              you.

11
11                         MR. BURNETT:
                           MR. BURNETT:       Counsel, this does
                                              Counsel, this does go
                                                                 go

12
12      into the
        into the issue
                 issue of
                       of duplicative testimony.
                          duplicative testimony.                  This is
                                                                  This is

13
13      -- his
        -- his reasoning for why
               reasoning for why he may have
                                 he may      included ten
                                        have included ten
14
14      years in the
        years in the prior
                     prior report could have
                           report could have been
                                             been covered
                                                  covered

15
15      in the
        in the prior
               prior deposition.
                     deposition.

16
16                          I
                            I really think this
                              really think this gets
                                                gets into
                                                     into the
                                                          the
17
17      issue we
        issue we were talking about
                 were talking about where
                                    where you really need
                                          you really need
18
18      to focus
        to focus on
                 on this
                    this report,
                         report, and
                                 and you
                                     you know,
                                         know, right now,
                                               right now,

19
19      you're asking him
        you're asking     to review
                      him to review the
                                    the substance
                                        substance of
                                                  of his
                                                     his

20
20      prior
        prior report.
              report.

21
21                         MS. GEIST:
                           MS. GEIST:      All I
                                           All I really
                                                 really want,
                                                        want, Counsel
                                                              Counsel

22
22      - as
        - as you
             you know;
                 know; which should be
                       which should be clear
                                       clear from
                                             from my
                                                  my

23
23      questions - is
        questions - is just
                       just a confirmation that
                            a confirmation that the
                                                the
24
24      abatement plan
        abatement      in Ohio
                  plan in      for the
                          Ohio for the two
                                       two counties there,
                                           counties there,



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1
1       that the
        that the plan
                 plan proposed
                      proposed by
                               by Doctor Alexander in
                                  Doctor Alexander in that
                                                      that
2
2       jurisdiction was
        jurisdiction     a 10-year
                     was a 10-year plan.
                                   plan.                    That's it.
                                                            That's it.

3
3                          MR. BURNETT:
                           MR. BURNETT:       And Counsel,
                                              And Counsel, he answered
                                                           he answered

4
4       that with
        that with regard to 33
                  regard to 33 and
                               and 34
                                   34 and the excerpts
                                      and the excerpts that
                                                       that
5
5       we just had
        we just had highlighted
                    highlighted here.
                                here.                So I
                                                     So   think he's
                                                        I think he's

6
6       answered that,
        answered that, and
                       and I think we
                           I think we should just move
                                      should just move on.
                                                       on.

7
7                          MS. GEIST:
                           MS. GEIST:      Well,
                                           Well, what
                                                 what I
                                                      I heard from
                                                        heard from

8
8       the witness
        the witness was
                    was he
                        he was
                           was not
                               not 100 percent comfortable
                                   100 percent comfortable

9
9       in agreeing
        in agreeing that
                    that he
                         he had a 10-year
                            had a 10-year plan in Ohio
                                          plan in Ohio and
                                                       and

10
10      he
        he would like to
           would like to look
                         look at
                              at his
                                 his report.
                                     report.

11
11                          So I'm offering
                            So I'm offering him the opportunity
                                            him the opportunity to
                                                                to
12
12      look at
        look at his
                his report and confirm
                    report and         that the
                               confirm that the plan
                                                plan

13
13      proposed in Ohio,
        proposed in Ohio, the
                          the abatement
                              abatement plan there for
                                        plan there for the
                                                       the
14
14      two counties,
        two counties, was
                      was a
                          a 10-year plan.
                            10-year plan.

15
15            A.
              A.        Yeah, thank
                        Yeah, thank you for that.
                                    you for that.            And I
                                                             And I did
                                                                   did read
                                                                       read

16
16      Paragraph 30
        Paragraph    from my
                  30 from    Ohio report,
                          my Ohio report, and
                                          and it's
                                              it's very
                                                   very
17
17      helpful, and I
        helpful, and   think it
                     I think it --
                                -- I think it
                                   I think it illustrates
                                              illustrates
18
18      some of
        some of this
                this nuance that I
                     nuance that I referred to.
                                   referred to.                   So I
                                                                  So I won't
                                                                       won't

19
19      read it or
        read it or call
                   call it
                        it out
                           out further,
                               further, but
                                        but I just want
                                            I just      to
                                                   want to

20
20      underscore that I
        underscore that   think it
                        I think it provides some of
                                   provides some of the
                                                    the
21
21      context.
        context.

22
22                           I am comfortable
                             I am comfortable now
                                              now confirming that
                                                  confirming that

23
23      this --
        this -- that
                that the
                     the economic
                         economic or
                                  or epidemiologic
                                     epidemiologic
24
24      estimates that
        estimates that I
                       I provided in Ohio
                         provided in Ohio were for ten
                                          were for ten


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1
1       years.
        years.

2
2             Q.
              Q.        Thank
                        Thank you.
                              you.    And here
                                      And      in Cabell
                                          here in Cabell County/
                                                         County/

3
3       Huntington, your
        Huntington, your proposal for your
                         proposal for your abatement plan
                                           abatement plan

4
4       -- should
           should the
                  the plan
                      plan or
                           or any
                              any aspect
                                  aspect of
                                         of the
                                            the plan be
                                                plan be

5
5       ordered by
        ordered    the Court,
                by the        is for
                       Court, is for 15
                                     15 years, for the
                                        years, for the
6
6       county --
        county -- Cabell
                  Cabell County, excuse me,
                         County, excuse     and the
                                        me, and the City of
                                                    City of

7
7       Huntington.
        Huntington.         I'm correct about
                            I'm correct about that?
                                              that?
8
8             A.
              A.        Sorry.
                        Sorry.    Can
                                  Can you
                                      you please
                                          please repeat the question?
                                                 repeat the question?
9
9             Q.
              Q.        Sure.
                        Sure.    Here in
                                 Here in Cabell
                                         Cabell County/Huntington-
                                                County/Huntington- we
                                                                   we

10
10      have one county
        have one county and
                        and the
                            the city
                                city within the county
                                     within the        -
                                                county -

11
11      your abatement plan
        your abatement      that you're
                       plan that you're proposing,
                                        proposing, you
                                                   you are
                                                       are

12
12      proposing a 15-year
        proposing a         abatement plan.
                    15-year abatement plan.                      Correct?
                                                                 Correct?

13
13            A.
              A.        Yes, I
                        Yes,   mean, that's
                             I mean, that's --
                                            -- yes.
                                               yes.               Yes.
                                                                  Yes.

14
14                          MS. GEIST:
                            MS. GEIST:       Okay.
                                             Okay.       Is it a
                                                         Is it a good time
                                                                 good time

15
15      now to take
        now to take a
                    a break?
                      break?
16
16                          MR. BURNETT:
                            MR. BURNETT:        Sure.
                                                Sure.         Ten minutes.
                                                              Ten minutes.

17
17                          VIDEO OPERATOR:
                            VIDEO OPERATOR:          The time is
                                                     The time is 2:29,
                                                                 2:29, we
                                                                       we

18
18      are now
        are now going off the
                going off the record.
                              record.

19
19                          (A recess was
                            (A recess     taken after
                                      was taken after which the
                                                      which the

20
20                          proceedings
                            proceedings continued
                                        continued as follows:)
                                                  as follows:)

21
21                          VIDEO OPERATOR:
                            VIDEO OPERATOR:          The time is
                                                     The time is 2:42.
                                                                 2:42.           We
                                                                                 We

22
22      are now
        are now back on the
                back on the record.
                            record.

23
23      BY MS.
        BY MS. GEIST:
               GEIST:

24
24            Q.
              Q.        Doctor Alexander, you
                        Doctor Alexander,     engaged in
                                          you engaged in some
                                                         some



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1
1       meetings or
        meetings or interviews
                    interviews or phone calls
                               or phone calls with
                                              with

2
2       individuals who
        individuals     are part
                    who are      of the
                            part of the Cabell
                                        Cabell

3
3       County/Huntington
        County/Huntington community; is that
                          community; is that right?
                                             right?

4
4                           I think you're
                            I think        on mute.
                                    you're on mute.
5
5                           MR. BURNETT:
                            MR. BURNETT:        You're
                                                You're muted.
                                                       muted.

6
6             A.
              A.        Thank
                        Thank you,
                              you, I apologize.
                                   I apologize.               Yes,
                                                              Yes, I
                                                                   I did.
                                                                     did.

7
7             Q.
              Q.        And if
                        And if we look at
                               we look at page
                                          page 6 of your
                                               6 of your report,
                                                         report,

8
8       you reference that
        you reference that either
                           either you
                                  you or some of
                                      or some of your "team
                                                 your "team

9
9       members" "have
        members" "have spoken
                       spoken with
                              with many local stakeholders"
                                   many local stakeholders"
10
10      And when
        And when you say "team
                 you say "team members," are you
                               members," are you referring
                                                 referring

11
11      to individuals
        to individuals at
                       at Monument
                          Monument Analytics?
                                   Analytics?
12
12            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

13
13            Q.
              Q.        Okay.
                        Okay.   And are
                                And are those
                                        those individuals
                                              individuals other
                                                          other than
                                                                than
14
14      the two
        the two individuals
                individuals you mentioned to
                            you mentioned to me earlier in
                                             me earlier in
15
15      this deposition?
        this deposition?

16
16            A.
              A.        They
                        They would
                             would --

17
17            Q.
              Q.        I confess I
                        I confess   forget their
                                  I forget their names.
                                                 names.               I
                                                                      I

18
18      apologize.
        apologize.

19
19            A.
              A.        No, no,
                        No,     that's fine.
                            no, that's fine.           Mr. Mansour
                                                       Mr. Mansour and
                                                                   and
20
20      Ms. Ozenberger,
        Ms. Ozenberger, and
                        and they
                            they would
                                 would represent
                                       represent -- it's
                                                    it's
21
21      possible that another
        possible that another team
                              team member, Elena Fernandez,
                                   member, Elena Fernandez,

22
22      E-L-E-N-A, Fernandez,
        E-L-E-N-A, Fernandez, may
                              may have participated in
                                  have participated in one
                                                       one

23
23      or two
        or two calls.
               calls.           But Mr.
                                But Mr. Mansour
                                        Mansour and
                                                and Ms.
                                                    Ms. Ozenberger
                                                        Ozenberger
24
24      were the primary
        were the primary Monument
                         Monument Analytics
                                  Analytics team
                                            team members
                                                 members


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1
1       that would
        that would have participated in
                   have participated in these
                                        these calls.
                                              calls.
2
2             Q.
              Q.        And looking
                        And looking at
                                    at the
                                       the list
                                           list of
                                                of individuals
                                                   individuals that
                                                               that
3
3       appear on
        appear on page
                  page 6 of your
                       6 of your report, is this
                                 report, is this a
                                                 a complete
                                                   complete
4
4       list of
        list of individuals
                individuals that
                            that either
                                 either you or your
                                        you or      team
                                               your team

5
5       members spoke
        members spoke with in connection
                      with in connection with forming your
                                         with forming your

6
6       opinions in
        opinions in the
                    the case?
                        case?
7
7             A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
8
8             Q.
              Q.        And were
                        And      these all
                            were these all individual
                                           individual telephone
                                                      telephone
9
9       calls?
        calls?

10
10            A.
              A.        As opposed
                        As opposed to?
                                   to?      What
                                            What would be the
                                                 would be the
11
11      alternative?
        alternative?

12
12            Q.
              Q.        Did
                        Did you
                            you have any in-person
                                have any in-person meetings?
                                                   meetings?
13
13            A.
              A.        No, I
                        No, I did
                              did not.
                                  not.      I
                                            I had
                                              had wanted to visit
                                                  wanted to visit

14
14      Cabell
        Cabell County and the
               County and the City of Huntington
                              City of            and
                                      Huntington and

15
15      unfortunately,
        unfortunately, because
                       because of the pandemic,
                               of the pandemic, I
                                                I did
                                                  did not
                                                      not

16
16      do so.
        do so.      I
                    I had gone as
                      had gone as far
                                  far as
                                      as having
                                         having dates
                                                dates picked
                                                      picked

17
17      out when
        out when I
                 I was to visit,
                   was to visit, and that visit
                                 and that visit was
                                                was called
                                                    called

18
18      off.
        off.

19
19            Q.
              Q.        Okay.
                        Okay.   So all
                                So all of the --
                                       of the -- whether it was
                                                 whether it was you
                                                                you

20
20      or somebody
        or somebody at
                    at Monument
                       Monument Analytics,
                                Analytics, all of the
                                           all of the
21
21      individuals on
        individuals on page
                       page 6,
                            6, you spoke with
                               you spoke      by phone,
                                         with by phone,

22
22      correct?
        correct?

23
23            A.
              A.        I believe Mr.
                        I believe Mr. Mansour
                                      Mansour traveled
                                              traveled to
                                                       to Cabell
                                                          Cabell

24
24      County and the
        County and the City - in
                       City - in fact,
                                 fact, I'm
                                       I'm sure that he
                                           sure that he did
                                                        did



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1
1       - and
        - and so
              so he
                 he was present for
                    was present for several
                                    several face-to-face
                                            face-to-face
2
2       meetings, but
        meetings, but I
                      I was
                        was not.
                            not.

3
3             Q.
              Q.        And do
                        And do you
                               you know
                                   know who Mr. Mansour
                                        who Mr. Mansour met
                                                        met with
                                                            with

4
4       face to
        face to face
                face from
                     from this
                          this list?
                               list?
5
5             A.
              A.        I do not
                        I do not know for sure.
                                 know for sure.             I
                                                            I know that he
                                                              know that he was
                                                                           was

6
6       present for a
        present for a day
                      day or two days
                          or two      of meetings
                                 days of meetings and
                                                  and he
                                                      he

7
7       related that he
        related that    met with
                     he met with a
                                 a comprehensive,
                                   comprehensive, you
                                                  you know,
                                                      know,

8
8       set of
        set of individuals,
               individuals, so
                            so my sense is
                               my sense is that
                                           that he
                                                he had
                                                   had an
                                                       an

9
9       opportunity to
        opportunity to meet
                       meet broadly
                            broadly with many, many
                                    with many, many

10
10      affected stakeholders.
        affected stakeholders.
11
11            Q.
              Q.        Did anybody else
                        Did anybody else other
                                         other than
                                               than Mr.
                                                    Mr. Mansour
                                                        Mansour
12
12      meet with
        meet      individuals in
             with individuals in Cabell
                                 Cabell County in person?
                                        County in person?

13
13            A.
              A.        No one
                        No one else
                               else from
                                    from Monument
                                         Monument Analytics,
                                                  Analytics, no.
                                                             no.

14
14            Q.
              Q.        And do
                        And do you
                               you know
                                   know when Mr. Mansour
                                        when Mr. Mansour went to
                                                         went to

15
15      Cabell
        Cabell County to have
               County to      these meetings?
                         have these meetings?
16
16            A.
              A.        I do not,
                        I do not, but
                                  but those
                                      those --
                                            -- there
                                               there were
                                                     were

17
17      plaintiffs that were
        plaintiffs that      present, and
                        were present, and I'm sure that
                                          I'm sure that
18
18      that information
        that information could
                         could be provided were
                               be provided      it to
                                           were it to be
                                                      be
19
19      important and
        important and helpful.
                      helpful.

20
20            Q.
              Q.        When
                        When you
                             you say there were
                                 say there      plaintiffs present,
                                           were plaintiffs present,

21
21      are you
        are you referring to the
                referring to the plaintiffs'
                                 plaintiffs' counsel at
                                             counsel at

22
22      these meetings?
        these meetings?

23
23            A.
              A.        I am sorry,
                        I am sorry, I'm
                                    I'm revealing
                                        revealing my lack of
                                                  my lack of
24
24      familiarity with
        familiarity      the --
                    with the -- with the field.
                                with the field.                    So yes,
                                                                   So yes,



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1
1       there were
        there      plaintiffs' counsel
              were plaintiffs'         present.
                               counsel present.

2
2             Q.
              Q.        I see.
                        I see.    Okay.
                                  Okay.    Now,
                                           Now, did
                                                did you
                                                    you personally
                                                        personally have
                                                                   have

3
3       phone
        phone conversations
              conversations with any of
                            with any of the
                                        the individuals
                                            individuals
4
4       listed on
        listed on page
                  page 6?
                       6?

5
5             A.
              A.        Yes, I
                        Yes,   did.
                             I did.

6
6             Q.
              Q.        Okay.
                        Okay.    And can
                                 And can you identify for
                                         you identify for me
                                                          me which
                                                             which

7
7       individuals you
        individuals you had
                        had a
                            a phone call or
                              phone call or calls
                                            calls with?
                                                  with?

8
8             A.
              A.        I cannot do
                        I cannot    so with
                                 do so      full confidence.
                                       with full confidence.      I
                                                                  I can
                                                                    can

9
9       tell you
        tell     that I
             you that I had one call
                        had one call that
                                     that was
                                          was with a number
                                              with a number
10
10      of people
        of        involved in
           people involved in the
                              the educational
                                  educational system.
                                              system.
11
11                          I
                            I had a second
                              had a second call
                                           call with
                                                with Doctor
                                                     Doctor

12
12      Kilkenny and
        Kilkenny and colleagues,
                     colleagues, so individuals
                                 so individuals

13
13      representing
        representing public
                     public health officers, among
                            health officers, among others.
                                                   others.
14
14                          I
                            I was on another
                              was on another call
                                             call and
                                                  and had another
                                                      had another

15
15      call that
        call that included,
                  included, I believe, perhaps
                            I believe, perhaps some
                                               some of
                                                    of
16
16      those same
        those      individuals, but
              same individuals, but also
                                    also law
                                         law enforcement
                                             enforcement
17
17      representatives.
        representatives.

18
18                          But I
                            But   cannot --
                                I cannot -- other
                                            other than
                                                  than the
                                                       the notes
                                                           notes

19
19      that I've
        that I've provided - that
                  provided - that I
                                  I understand that you
                                    understand that you

20
20      have - I
        have -   don't have
               I don't have a
                            a precise
                              precise record of the
                                      record of the
21
21      participants in any
        participants in any particular call.
                            particular call.

22
22            Q.
              Q.        And did
                        And did you
                                you have calls where
                                    have calls       it was
                                               where it     more
                                                        was more

23
23      than just
        than just you and one
                  you and one of
                              of these
                                 these individuals
                                       individuals from
                                                   from
24
24      Cabell
        Cabell County?
               County?           In other
                                 In other words,
                                          words, was it a
                                                 was it a conference
                                                          conference


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1
1       call with
        call      a number
             with a        of people
                    number of        on the
                              people on the phone?
                                            phone?

2
2             A.
              A.        In all cases,
                        In all cases, yes.
                                      yes.

3
3             Q.
              Q.        Okay.
                        Okay.   And was
                                And was plaintiffs' counsel,
                                        plaintiffs' counsel,

4
4       plaintiffs' lawyers representing
        plaintiffs' lawyers              Cabell County/City
                            representing Cabell County/City

5
5       of Huntington,
        of Huntington, were they also
                       were they also on these phone
                                      on these       calls?
                                               phone calls?

6
6             A.
              A.        I -- it
                        I -- it would
                                would be
                                      be hard for me
                                         hard for    to imagine
                                                  me to imagine
7
7       that they
        that they weren't, so I
                  weren't, so   believe that
                              I believe that they
                                             they would
                                                  would

8
8       always have
        always      been present,
               have been present, yes.
                                  yes.

9
9             Q.
              Q.        Now, if
                        Now, if you'd take a
                                you'd take a look
                                             look at Exhibit 52
                                                  at Exhibit 52 --
10
10      do
        do you
           you have that in
               have that in front
                            front of
                                  of you,
                                     you, Doctor?
                                          Doctor?

11
11            A.
              A.        One minute,
                        One         please.
                            minute, please.

12
12            Q.
              Q.        Uh-huh.
                        Uh-huh.

13
13                 ALEXANDER DEPOSITION
                   ALEXANDER            EXHIBIT NO.
                             DEPOSITION EXHIBIT     52
                                                NO. 52

14
14                          (Alexander
                            (Alexander notes taken from
                                       notes taken from telephonic
                                                        telephonic
15
15                          meetings
                            meetings with
                                     with people
                                          people within
                                                 within Cabell
                                                        Cabell

16
16                          County/City of Huntington
                            County/City of Huntington was marked
                                                      was marked

17
17                         for identification
                           for identification purposes as
                                              purposes as

18
18                          Alexander Deposition
                            Alexander            Exhibit No.
                                      Deposition Exhibit     52.)
                                                         No. 52.)

19
19            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

20
20            Q.
              Q.        Okay.
                        Okay.   And Exhibit
                                And Exhibit 52
                                            52 was
                                               was provided to us
                                                   provided to    by
                                                               us by

21
21      plaintiffs' counsel.
        plaintiffs' counsel.           Can
                                       Can you identify them
                                           you identify them for
                                                             for --
22
22      for me
        for me and
               and for
                   for the
                       the record,
                           record, please?
                                   please?

23
23            A.
              A.        Identify them?
                        Identify them?
24
24            Q.
              Q.        Yeah.
                        Yeah.   So tell
                                So tell me,
                                        me, what is Exhibit
                                            what is Exhibit 52?
                                                            52?     I'm
                                                                    I'm



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1
1       looking at
        looking at it.
                   it.
2
2             A.
              A.        Oh, I
                        Oh,   see.
                            I see.    I thought you
                                      I thought you were -- I
                                                    were --   --
                                                            I --

3
3       sorry.
        sorry.      I thought you
                    I thought you were asking me
                                  were asking    to identify
                                              me to identify
4
4       people.
        people.

5
5                          Exhibit 2
                           Exhibit 2 {sic}
                                     {sic} represents
                                           represents notes that
                                                      notes that

6
6       I took based
        I took based on,
                     on, I believe, two
                         I believe, two different
                                        different

7
7       conversations that
        conversations that I
                           I had.
                             had.

8
8             Q.
              Q.        Okay.
                        Okay.   So these
                                So these are -- these
                                         are -- these are
                                                      are your
                                                          your own
                                                               own

9
9       personal notes that
        personal notes that we've marked as
                            we've marked as Exhibit
                                            Exhibit 52;
                                                    52; is
                                                        is
10
10      that right?
        that right?

11
11            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
12
12            Q.
              Q.        And do
                        And do you
                               you know
                                   know why there are
                                        why there are blackouts or
                                                      blackouts or

13
13      redactions made in
        redactions made in these
                           these notes?
                                 notes?

14
14            A.
              A.        I believe information
                        I believe information was
                                              was redacted
                                                  redacted because
                                                           because

15
15      it was
        it     felt to
           was felt to be
                       be privileged.
                          privileged.                 But you
                                                      But you would
                                                              would have
                                                                    have

16
16      to ask
        to ask the
               the counsel
                   counsel to
                           to be
                              be sure.
                                 sure.                  It
                                                        It was
                                                           was not
                                                               not

17
17      something that
        something that I blacked out
                       I blacked out myself.
                                     myself.
18
18            Q.
              Q.        Okay.
                        Okay.

19
19                          MS. GEIST:
                            MS. GEIST:      And I'll
                                            And      just make
                                                I'll just make a
                                                               a

20
20      request at this
        request at this time
                        time to
                             to counsel
                                counsel to
                                        to identify
                                           identify whether
                                                    whether

21
21      the redactions
        the redactions were
                       were made from counsel
                            made from         representing
                                      counsel representing

22
22      Cabell
        Cabell County or Huntington
               County or Huntington and
                                    and the
                                        the reason for the
                                            reason for the
23
23      redactions.
        redactions.

24
24                          MR. BURNETT:
                            MR. BURNETT:       Yes --
                                               Yes --



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1
1                           MS. GEIST:
                            MS. GEIST:     Obviously we
                                           Obviously    can take
                                                     we can take care
                                                                 care

2
2       of this
        of this after
                after the
                      the deposition,
                          deposition, but
                                      but I think we
                                          I think we had
                                                     had a
                                                         a

3
3       request in regarding
        request in regarding these
                             these redactions, and I'm
                                   redactions, and I'm not
                                                       not

4
4       aware of
        aware of a
                 a response.
                   response.          So are
                                      So     these redacted
                                         are these          for
                                                   redacted for

5
5       privilege or can
        privilege or can you tell me
                         you tell me why they were
                                     why they were redacted
                                                   redacted

6
6       now?
        now?

7
7                           MR. BURNETT:
                            MR. BURNETT:      They
                                              They were
                                                   were redacted for,
                                                        redacted for,

8
8       you
        you know, for privilege
            know, for privilege and/or
                                and/or work
                                       work product and/or
                                            product and/or

9
9       any other
        any other protection.
                  protection.

10
10                          I
                            I do
                              do recall that there
                                 recall that there was
                                                   was a
                                                       a request
                                                         request

11
11      for information
        for information about
                        about that
                              that and
                                   and I -- I'm
                                       I -- I'm not sure
                                                not sure

12
12      whether there was
        whether there was a
                          a response or not.
                            response or not.

13
13                          MS. GEIST:
                            MS. GEIST:     I'm
                                           I'm not aware of
                                               not aware of a
                                                            a

14
14      response, so I'll
        response, so      just note
                     I'll just      for the
                               note for the record
                                            record we're
                                                   we're

15
15      still looking
        still looking for
                      for a
                          a response,
                            response, whether that's a
                                      whether that's a
16
16      privilege log or
        privilege log or some
                         some letter
                              letter or
                                     or some
                                        some communication
                                             communication

17
17      from counsel
        from counsel as to the
                     as to the reason for the
                               reason for the redactions,
                                              redactions,
18
18      would
        would be great.
              be great.

19
19                          Thank
                            Thank you.
                                  you.

20
20      BY MS.
        BY MS. GEIST:
               GEIST:

21
21            Q.
              Q.        Now, Doctor
                        Now,        Alexander, did
                             Doctor Alexander, did your colleagues
                                                   your colleagues

22
22      from Monument
        from Monument Analytics
                      Analytics also
                                also take
                                     take notes
                                          notes when they
                                                when they

23
23      met with
        met      -- met
            with -- met with in person
                        with in        or spoke
                                person or spoke with the
                                                with the

24
24      individuals listed
        individuals listed on
                           on page
                              page 6 of your
                                   6 of your report?
                                             report?



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1
1             A.
              A.        I don't know.
                        I don't know.

2
2             Q.
              Q.        And that
                        And that was Mr. Mansour,
                                 was Mr. Mansour, Ms.
                                                  Ms. Ozenberger
                                                      Ozenberger
3
3       and Elana
        and Elana -- I'm sorry, Elana
                     I'm sorry, Elana --
4
4             A.
              A.        Fernandez,
                        Fernandez, Fernandez.
                                   Fernandez.

5
5             Q.
              Q.        Okay.
                        Okay.

6
6                           MS. GEIST:
                            MS. GEIST:     I'll just put
                                           I'll just     a formal
                                                     put a formal
7
7       request on the
        request on the record that any
                       record that any notes taken by
                                       notes taken by these
                                                      these
8
8       three individuals
        three individuals from
                          from Monument
                               Monument Analytics
                                        Analytics during
                                                  during

9
9       their in-person
        their in-person or
                        or telephone
                           telephone meetings
                                     meetings with
                                              with

10
10      individuals at
        individuals at Cabell
                       Cabell County be produced
                              County be          to us,
                                        produced to us,

11
11      please.
        please.

12
12                          MR. BURNETT:
                            MR. BURNETT:      I
                                              I note the request.
                                                note the request.
13
13            Q.
              Q.        Now, did
                        Now, did the
                                 the --
                                     -- did the interviews
                                        did the interviews and
                                                           and
14
14      meetings that
        meetings that you
                      you had
                          had with individuals from
                              with individuals from Cabell
                                                    Cabell

15
15      County/Huntington,
        County/Huntington, Doctor Alexander, inform
                           Doctor Alexander, inform your
                                                    your

16
16      opinions in
        opinions in this
                    this case
                         case in
                              in any
                                 any way?
                                     way?

17
17            A.
              A.        Definitely.
                        Definitely.

18
18            Q.
              Q.        And when
                        And when did
                                 did you conduct these
                                     you conduct these phone
                                                       phone

19
19      conferences that
        conferences that you
                         you had?
                             had?             Do
                                              Do you
                                                 you remember
                                                     remember how
                                                              how soon
                                                                  soon

20
20      before your
        before      expert report
               your expert report was
                                  was served in this
                                      served in this case?
                                                     case?
21
21            A.
              A.        I apologize, but
                        I apologize, but I do not.
                                         I do not.          I
                                                            I do
                                                              do not.
                                                                 not.     I
                                                                          I

22
22      mean, I
        mean,   think that
              I think that they
                           they took
                                took place
                                     place over the course
                                           over the course

23
23      of six
        of six to
               to nine
                  nine months,
                       months, and
                               and I
                                   I don't
                                     don't know the precise
                                           know the precise

24
24      dates.
        dates.      But they
                    But they weren't
                             weren't within the last,
                                     within the last, you
                                                      you know,
                                                          know,



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1
1       two weeks
        two       before I
            weeks before   submitted the
                         I submitted the report;
                                         report; and
                                                 and they
                                                     they
2
2       weren't two years
        weren't two years ago.
                          ago.

3
3                           So
                            So I
                               I can
                                 can give
                                     give you a window,
                                          you a         but I'm
                                                window, but I'm
4
4       sorry that
        sorry that I
                   I don't
                     don't have more precise
                           have more precise dates.
                                             dates.

5
5             Q.
              Q.        Okay.
                        Okay.   You can
                                You     set those
                                    can set those --
                                                  -- you can set
                                                     you can set
6
6       Exhibit 52
        Exhibit 52 aside
                   aside for
                         for now.
                             now.
7
7                           Doctor Alexander, I'm
                            Doctor Alexander, I'm going to turn
                                                  going to turn in
                                                                in
8
8       a minute
        a minute to
                 to the
                    the actual
                        actual programs and interventions
                               programs and interventions
9
9       that you've
        that you've proposed in your
                    proposed in your plan.
                                     plan.                   Hopefully we
                                                             Hopefully we

10
10      can get
        can get through
                through those
                        those quickly
                              quickly since time is
                                      since time is running
                                                    running

11
11      out.
        out.     But before
                 But before we
                            we get to that,
                               get to that, you
                                            you reference
                                                reference The
                                                          The

12
12      City of Solutions
        City of Solutions document in your
                          document in      expert report.
                                      your expert report.

13
13      Do
        Do you
           you recall that document?
               recall that document?
14
14            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

15
15            Q.
              Q.        Okay.
                        Okay.   Do
                                Do you
                                   you want to go
                                       want to go ahead
                                                  ahead and open up
                                                        and open up

16
16      Envelope or
        Envelope or Tab 8, please?
                    Tab 8, please?
17
17                          VIDEO
                            VIDEO TECH:
                                  TECH:      Tab
                                             Tab 8
                                                 8 has been marked
                                                   has been marked as
                                                                   as
18
18      Exhibit 8.
        Exhibit 8.

19
19                  ALEXANDER DEPOSITION
                    ALEXANDER            EXHIBIT NO.
                              DEPOSITION EXHIBIT NO. 8
                                                     8

20
20                          ("The
                            ("The City of Solutions
                                  City of Solutions Huntington,
                                                    Huntington, WV
                                                                WV

21
21                         - A
                           - A Guide to What
                               Guide to What Works
                                             Works (and
                                                   (and what
                                                        what does
                                                             does

22
22                          not) in Reducing
                            not) in Reducing the
                                             the Impact of
                                                 Impact of

23
23                         Substance Use
                           Substance     on Local
                                     Use on Local Communities"
                                                  Communities"

24
24                          dated September 2019
                            dated September 2019


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1
1                           (HUNT_00365846-6015)
                            (HUNT 00365846-6015) was marked for
                                                 was marked for
2
2                           identification purposes
                            identification purposes as
                                                    as Alexander
                                                       Alexander

3
3                           Deposition Exhibit No.
                            Deposition Exhibit     8.)
                                               No. 8.)

4
4             A.
              A.        Okay, I
                        Okay, I have it open.
                                have it open.
5
5             Q.
              Q.        Great.
                        Great.   Now, looking at
                                 Now, looking    Exhibit 8,
                                              at Exhibit 8, would
                                                            would

6
6       you agree with
        you agree with me that this
                       me that this is
                                    is a
                                       a very
                                         very comprehensive
                                              comprehensive
7
7       and extensive
        and extensive plan
                      plan that
                           that was put in
                                was put in place by the
                                           place by the
8
8       City of Huntington?
        City of Huntington?          It's entitled
                                     It's entitled "A
                                                   "A Guide to What
                                                      Guide to What

9
9       Works
        Works (and
              (and what does not)
                   what does not) in
                                  in Reducing
                                     Reducing the
                                              the Impact of
                                                  Impact of

10
10      Substance Use
        Substance     on Local
                  Use on Local Communities"
                               Communities" dated September
                                            dated September

11
11      2019.
        2019.

12
12            A.
              A.        I mean, I
                        I mean, I would -- I
                                  would --   think it's
                                           I think it's a
                                                        a helpful
                                                          helpful

13
13      plan that sets
        plan that sets forth
                       forth many
                             many very
                                  very evidence-based
                                       evidence-based and
                                                      and
14
14      reasonable abatement measures.
        reasonable abatement measures.
15
15            Q.
              Q.        Now, when
                        Now, when you
                                  you go through the
                                      go through the plan
                                                     plan --
                                                          --
16
16                          MS. GEIST:
                            MS. GEIST:      Actually, strike
                                            Actually,        that.
                                                      strike that.

17
17            Q.
              Q.        When
                        When you look at
                             you look    "The City
                                      at "The      of Solutions:
                                              City of Solutions:           A
                                                                           A

18
18      Guide to What
        Guide to What Works
                      Works (and
                            (and what
                                 what does
                                      does not)," it sets
                                           not)," it sets
19
19      forth in
        forth in various
                 various categories
                         categories what the community
                                    what the community has
                                                       has

20
20      done,
        done, what they have
              what they      now, where
                        have now,       they are
                                  where they are going, and
                                                 going, and

21
21      a little
        a little bit
                 bit of
                     of the
                        the history of substance
                            history of substance use
                                                 use

22
22      disorder and drug
        disorder and drug problems in the
                          problems in the region.
                                          region.                Is that
                                                                 Is that

23
23      fair?
        fair?

24
24            A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.         It's been a
                                                   It's been a while
                                                               while since
                                                                     since



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1
1       I looked carefully
        I looked carefully at
                           at the
                              the plan,
                                  plan, but
                                        but I think that
                                            I think that --
                                                         --
2
2       but I
        but I believe that's the
              believe that's the case.
                                 case.

3
3             Q.
              Q.        Okay.
                        Okay.   Do
                                Do you
                                   you know
                                       know when Cabell County/City
                                            when Cabell County/City

4
4       of Huntington
        of            put in
           Huntington put in place
                             place their
                                   their plan
                                         plan to
                                              to address
                                                 address
5
5       substance use
        substance     disorder and
                  use disorder     opioid use
                               and opioid     disorder in
                                          use disorder in
6
6       the community?
        the community?
7
7             A.
              A.        Well,
                        Well, I think --
                              I think -- I mean, there
                                         I mean, there is
                                                       is this
                                                          this
8
8       document, but
        document, but there
                      there is
                            is a large number
                               a large        of activities
                                       number of activities
9
9       that have
        that      taken place
             have taken place over
                              over many
                                   many years, so it's
                                        years, so it's hard
                                                       hard

10
10      to identify
        to identify one
                    one specific
                        specific point.
                                 point.

11
11                          Are you
                            Are     asking if
                                you asking if I
                                              I know
                                                know when this
                                                     when this

12
12      plan
        plan was issued?
             was issued?

13
13            Q.
              Q.        Well, let me
                        Well, let me ask
                                     ask it
                                         it a
                                            a different
                                              different way.
                                                        way.     Did
                                                                 Did

14
14      you review the
        you review the Strategic
                       Strategic Plans
                                 Plans that
                                       that were
                                            were put in
                                                 put in

15
15      place
        place by the Mayor
              by the Mayor of
                           of Huntington
                              Huntington Office
                                         Office of
                                                of Drug
                                                   Drug

16
16      Control Policy beginning
        Control Policy           in 2015?
                       beginning in 2015?
17
17            A.
              A.        Yes, I
                        Yes,   did, among
                             I did, among --
                                          -- among
                                             among dozens or a
                                                   dozens or a
18
18      hundred or more
        hundred or more other
                        other produced materials about
                              produced materials about the
                                                       the
19
19      community.
        community.         Yes,
                           Yes, I did.
                                I did.

20
20            Q.
              Q.        Sure.
                        Sure.   But you
                                But you would
                                        would agree
                                              agree with me that
                                                    with me that
21
21      this area
        this area of
                  of the
                     the country,
                         country, Cabell County/City of
                                  Cabell County/City of
22
22      Huntington has
        Huntington has been addressing --
                       been addressing -- implementing
                                          implementing and
                                                       and

23
23      developing programs since
        developing programs since at
                                  at least
                                     least as early as
                                           as early as

24
24      2015.
        2015.      Is that fair?
                   Is that fair?


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1
1                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

2
2             A.
              A.        Yes, I
                        Yes,   believe that's
                             I believe that's fair.
                                              fair.
3
3             Q.
              Q.        Do
                        Do you think that
                           you think that some
                                          some of
                                               of the
                                                  the programs to
                                                      programs to

4
4       address opioid
        address opioid use disorder and
                       use disorder and substance
                                        substance use
                                                  use

5
5       disorder put in
        disorder put in place
                        place in
                              in this
                                 this community
                                      community could be
                                                could be

6
6       useful models for
        useful models for other
                          other communities
                                communities in
                                            in the
                                               the United
                                                   United

7
7       States dealing
        States dealing with substance use
                       with substance use disorder?
                                          disorder?

8
8             A.
              A.        Sure.
                        Sure.   I
                                I mean,
                                  mean, I think we
                                        I think we can all learn
                                                   can all learn
9
9       from each
        from each other.
                  other.          This is --
                                  This is -- we're
                                             we're not alone here.
                                                   not alone here.

10
10      There's
        There's no community that
                no community that hasn't been touched
                                  hasn't been touched one
                                                      one
11
11      way or another,
        way or another, so
                        so I think there's
                           I think there's a lot to
                                           a lot to learn
                                                    learn
12
12      from other
        from other communities.
                   communities.             Yes.
                                            Yes.

13
13            Q.
              Q.        Now, this
                        Now, this is
                                  is a
                                     a fairly
                                       fairly long,
                                              long, comprehensive
                                                    comprehensive

14
14      document that we're
        document that       looking at
                      we're looking at together
                                       together now.
                                                now.

15
15      Correct?
        Correct?

16
16            A.
              A.        Well,
                        Well, I mean, I
                              I mean, I would agree that
                                        would agree that it's
                                                         it's long.
                                                              long.
17
17      I think comprehensive
        I think               is --
                comprehensive is -- are
                                    are your
                                        your words, and I
                                             words, and I

18
18      guess
        guess I
              I would -- I
                would --   think it's
                         I think it's a
                                      a helpful -- you
                                        helpful -- you

19
19      know,
        know, I think it's
              I think it's a
                           a helpful -- it's
                             helpful -- it's a
                                             a helpful
                                               helpful plan
                                                       plan

20
20      that describes
        that describes many evidence-based and
                       many evidence-based     evidence-
                                           and evidence-

21
21      informed abatement
        informed abatement measures.
                           measures.
22
22            Q.
              Q.        You
                        You consider
                            consider yourself to be
                                     yourself to be an expert, I
                                                    an expert, I

23
23      assume, on
        assume, on plans
                   plans to
                         to address
                            address substance
                                    substance use
                                              use disorder,
                                                  disorder,

24
24      opioid use
        opioid     disorder, across
               use disorder, across the
                                    the United States.
                                        United States.             Is
                                                                   Is



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1
1       that correct?
        that correct?
2
2             A.
              A.        Well,
                        Well, my expertise is
                              my expertise is --
                                              -- is
                                                 is --
                                                    -- as an
                                                       as an

3
3       epidemiologist, has
        epidemiologist,     focused extensively
                        has focused extensively on
                                                on

4
4       identifying and
        identifying and assessing
                        assessing evidence-based
                                  evidence-based methods
                                                 methods to
                                                         to
5
5       reverse overdoses and
        reverse overdoses     other opioid-related
                          and other opioid-related harms,
                                                   harms,

6
6       yes.
        yes.

7
7             Q.
              Q.        Has Cabell
                        Has Cabell County/City of Huntington
                                   County/City of Huntington done
                                                             done

8
8       an excellent
        an excellent job
                     job in
                         in addressing
                            addressing the
                                       the opioid
                                           opioid use
                                                  use

9
9       disorder or substance
        disorder or substance use disorder crisis
                              use disorder        in the
                                           crisis in the
10
10      community?
        community?

11
11                          MR. BURNETT:
                            MR. BURNETT:      Objection, outside
                                              Objection, outside the
                                                                 the
12
12      scope.
        scope.

13
13            A.
              A.        I
                        I wasn't
                          wasn't asked to --
                                 asked to -- and
                                             and I think that
                                                 I think that from
                                                              from
14
14      my experience,
        my experience, speaking
                       speaking with local stakeholders
                                with local              and
                                           stakeholders and

15
15      reviewing the materials
        reviewing the materials that
                                that I've
                                     I've reviewed,
                                          reviewed, what
                                                    what

16
16      I've seen is
        I've seen is a
                     a community that's been
                       community that's been ravaged and
                                             ravaged and

17
17      torn apart,
        torn apart, and
                    and I think been
                        I think been individuals
                                     individuals have shown
                                                 have shown

18
18      remarkable leadership and
        remarkable leadership and remarkable
                                  remarkable resilience.
                                             resilience.

19
19                          You
                            You know,
                                know, am
                                      am I able to
                                         I able to identify
                                                   identify areas
                                                            areas
20
20      where - resources
        where - resources notwithstanding - they
                          notwithstanding - they might
                                                 might have
                                                       have

21
21      done better?
        done better?         I suppose so.
                             I suppose so.       But I
                                                 But I don't think that
                                                       don't think that
22
22      -- I
        --   mean, I
           I mean,   looked carefully
                   I looked           in my
                            carefully in my plan at the
                                            plan at the --
23
23      what's been done
        what's been      to date,
                    done to       but I
                            date, but I did -- was
                                        did -- was not
                                                   not

24
24      asked -
        asked - nor
                nor do
                    do I feel that
                       I feel that it's
                                   it's my
                                        my position - to
                                           position - to


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1
1       sort of
        sort of give them a
                give them a grade on how
                            grade on     they've done
                                     how they've      over
                                                 done over

2
2       the past
        the past few
                 few years.
                     years.

3
3             Q.
              Q.        You
                        You don't
                            don't have -- sitting
                                  have -- sitting here today, you
                                                  here today, you

4
4       don't
        don't have any opinions
              have any opinions that
                                that they
                                     they have
                                          have been
                                               been

5
5       deficient in any
        deficient in any way in terms
                         way in terms of
                                      of the
                                         the
6
6       implementations they
        implementations they have done to
                             have done to date.
                                          date.             Is that
                                                            Is that

7
7       true?
        true?

8
8                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

9
9             A.
              A.        Do
                        Do you mean in
                           you mean in a
                                       a legal
                                         legal sense
                                               sense do
                                                     do I
                                                        I have
                                                          have

10
10      opinions, or
        opinions, or just
                     just in
                          in an
                             an informal
                                informal colloquial
                                         colloquial sense?
                                                    sense?
11
11            Q.
              Q.        No, I
                        No, I mean like, do
                              mean like, do you
                                            you have any criticisms
                                                have any criticisms

12
12      of the
        of the implementations
               implementations and the programs
                               and the          that Cabell
                                       programs that Cabell
13
13      County/City of Huntington
        County/City of Huntington have put in
                                  have put in place
                                              place since
                                                    since
14
14      2015?
        2015?

15
15            A.
              A.        Well,
                        Well, I --
                              I --

16
16                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

17
17            A.
              A.        Yeah, I
                        Yeah, I was asked to
                                was asked to look
                                             look forward,
                                                  forward, not look
                                                           not look

18
18      backwards, and
        backwards, and I
                       I did not conduct
                         did not         any comprehensive
                                 conduct any comprehensive

19
19      sort of
        sort of program evaluation of
                program evaluation of the
                                      the performance of
                                          performance of

20
20      the interventions
        the interventions to
                          to date.
                             date.
21
21                          I think many
                            I think many have been quite
                                         have been       laudable,
                                                   quite laudable,

22
22      such as
        such as Project
                Project Engage,
                        Engage, which
                                which has sought to
                                      has sought to better
                                                    better

23
23      link people
        link        seen in
             people seen in clinical settings with
                            clinical settings      opioid
                                              with opioid

24
24      use disorder with
        use disorder      treatment; programs
                     with treatment;          such as
                                     programs such as


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1
1       Lily's Place
        Lily's Place or
                     or the
                        the MARC
                            MARC and the MOMS
                                 and the MOMS program
                                              program for
                                                      for
2
2       women that have
        women that      addiction and
                   have addiction and are
                                      are pregnant,
                                          pregnant, so
                                                    so

3
3       they're --
        they're --
4
4                           The syringe services
                            The syringe services program,
                                                 program, which
                                                          which I
                                                                I

5
5       believe is
        believe is one
                   one of
                       of the
                          the first
                              first in
                                    in the
                                       the state and has
                                           state and has

6
6       really stood apart
        really stood apart from
                           from many
                                many others
                                     others in
                                            in terms
                                               terms of
                                                     of
7
7       their ability
        their         to conduct
              ability to conduct outreach.
                                 outreach.
8
8                           So
                            So I think that
                               I think that there
                                            there are
                                                  are many
                                                      many

9
9       laudable undertakings
        laudable              that the
                 undertakings that the community
                                       community has
                                                 has --

10
10      performed, but certainly
        performed, but certainly I
                                 I can identify some
                                   can identify      areas
                                                some areas

11
11      where
        where I think that
              I think that -
                           - with resources notwithstanding
                             with resources notwithstanding

12
12      - that
        - that they
               they might
                    might have
                          have done more, yes.
                               done more, yes.

13
13            Q.
              Q.        Now, you
                        Now, you note in your
                                 note in your report on page
                                              report on page 11
                                                             11

14
14      that "the
        that "the Community
                  Community has" "mobilized in
                            has" "mobilized in many
                                               many ways to
                                                    ways to

15
15      address the
        address the challenges
                    challenges head-on," and you
                               head-on," and you had list
                                                 had list

16
16      some of
        some of the
                the programs that you
                    programs that     just mentioned
                                  you just           to me
                                           mentioned to me
17
17      just now,
        just      such as
             now, such as Project
                          Project Engage,
                                  Engage, PROACT,
                                          PROACT, etc.
                                                  etc.
18
18                          And then
                            And then you also talk
                                     you also talk in
                                                   in terms
                                                      terms of
                                                            of the
                                                               the
19
19      "remarkable transformation
        "remarkable transformation in
                                   in the
                                      the Community's
                                          Community's

20
20      system of
        system of care to manage
                  care to        OUD among
                          manage OUD among expectant
                                           expectant
21
21      mothers and
        mothers and their
                    their offspring."
                          offspring."
22
22                         MR. BURNETT:
                           MR. BURNETT:       Counsel,
                                              Counsel, where -- where
                                                       where -- where

23
23      on page
        on page 11 are you
                11 are     quoting from?
                       you quoting from?
24
24                         MS. GEIST:
                           MS. GEIST:      I'm in the
                                           I'm in the middle
                                                      middle of
                                                             of page
                                                                page



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1
1       11.
        11.

2
2                           MR. BURNETT:
                            MR. BURNETT:        What
                                                What paragraph?
                                                     paragraph?

3
3                           MS. GEIST:
                            MS. GEIST:       26 and 27.
                                             26 and 27.
4
4              Q.
               Q.       And you
                        And     also agree,
                            you also agree, don't
                                            don't you,
                                                  you, Doctor
                                                       Doctor

5
5       Alexander, that
        Alexander, that Cabell
                        Cabell County/Huntington engaged in
                               County/Huntington engaged in
6
6       very early initiatives
        very early initiatives through
                               through Mayor
                                       Mayor Williams'
                                             Williams'

7
7       Office of
        Office of Drug
                  Drug Control Policy to
                       Control Policy to timely
                                         timely and
                                                and

8
8       comprehensively recognize
        comprehensively recognize the
                                  the need for data
                                      need for      for
                                               data for

9
9       early intervention?
        early intervention?           You agree
                                      You agree with that, don't
                                                with that, don't

10
10      you?
        you?

11
11                          MR. BURNETT:
                            MR. BURNETT:        Where is that?
                                                Where is that?
12
12             A.
               A.       Are those
                        Are those my
                                  my words, or not?
                                     words, or not?

13
13             Q.
               Q.       I'm not
                        I'm     making them
                            not making them up.
                                            up.               These
                                                              These are
                                                                    are your
                                                                        your

14
14      words from your
        words from      report.
                   your report.

15
15             A.
               A.       But where
                        But       --
                            where --

16
16                          MR. BURNETT:
                            MR. BURNETT:        Counsel, if you're
                                                Counsel, if you're

17
17      asking him
        asking     about specific
               him about specific language,
                                  language, please point us
                                            please point us

18
18      to it.
        to it.
19
19             Q.
               Q.       I'm asking
                        I'm asking you if you
                                   you if     -- if
                                          you -- if you agree with
                                                    you agree with

20
20      what
        what I just said.
             I just said.          Do
                                   Do you agree --
                                      you agree

21
21             A.
               A.       But I
                        But   --
                            I --

22
22             Q.
               Q.       -- that
                        -- that Cabell
                                Cabell County -- Cabell
                                       County -- Cabell County/
                                                        County/

23
23      Huntington, through
        Huntington, through early
                            early initiatives
                                  initiatives of
                                              of Mayor
                                                 Mayor
24
24      Williams' Office of
        Williams' Office of Drug
                            Drug Control Policy timely
                                 Control Policy timely


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1
1       recognized the need
        recognized the      for comprehensive
                       need for comprehensive data
                                              data for
                                                   for
2
2       early intervention?
        early intervention?
3
3                           MR. BURNETT:
                            MR. BURNETT:      Counsel, same request.
                                              Counsel, same request.

4
4       Where
        Where are
              are you quoting this
                  you quoting this from?
                                   from?
5
5                           MS. GEIST:
                            MS. GEIST:     I'm asking him
                                           I'm asking     the
                                                      him the

6
6       question.
        question.

7
7             A.
              A.        But I
                        But I don't see in
                              don't see in Paragraph
                                           Paragraph 27
                                                     27 or
                                                        or 28
                                                           28 any
                                                              any

8
8       mention of
        mention of Mayor
                   Mayor Williams.
                         Williams.              I
                                                I may be missing
                                                  may be         it,
                                                         missing it,

9
9       but if
        but if you could just
               you could just point out to
                              point out to me
                                           me where
                                              where I
                                                    I

10
10      mention Mayor
        mention Mayor Williams.
                      Williams.

11
11            Q.
              Q.        You
                        You can't agree with
                            can't agree with my -- my
                                             my -- my question
                                                      question

12
12      without
        without me showing you
                me showing     the exact
                           you the exact --
13
13                          MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, you're -- now
                                                       you're -- now

14
14      you're asking him
        you're asking him a
                          a memory test.
                            memory test.                    You are quoting
                                                            You are quoting

15
15      from his
        from     report, clearly,
             his report, clearly, but
                                  but you're
                                      you're not telling us
                                             not telling us

16
16      where
        where you're
              you're quoting from.
                     quoting from.              That's
                                                That's not fair.
                                                       not fair.

17
17                          MS. GEIST:
                            MS. GEIST:     I'm asking him
                                           I'm asking     if he
                                                      him if he

18
18      agrees.
        agrees.

19
19                          MR. BURNETT:
                            MR. BURNETT:      You're asking him
                                              You're asking     if he
                                                            him if he

20
20      agrees on
        agrees on specific
                  specific language
                           language that
                                    that you
                                         you are
                                             are reading
                                                 reading

21
21      without telling us
        without telling us what
                           what you are reading.
                                you are reading.

22
22                          MS. GEIST:
                            MS  GEIST:     I'm
                                           I'm reading from my
                                               reading from    own
                                                            my own

23
23      notes.
        notes.      I'm
                    I'm not reading from
                        not reading from the
                                         the report.
                                             report.                I'll
                                                                    I'll ask
                                                                         ask

24
24      it this
        it this way:
                way:



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1
1             Q.
              Q.        Do
                        Do you agree that
                           you agree that this
                                          this community, through
                                               community, through

2
2       the Mayor's
        the Mayor's Office
                    Office of
                           of Drug
                              Drug Control Policy, engaged
                                   Control Policy, engaged
3
3       in early
        in early initiatives
                 initiatives to
                             to address
                                address the
                                        the opioid
                                            opioid use
                                                   use

4
4       disorder
        disorder -- to
                    to address
                       address opioid
                               opioid use
                                      use disorder or
                                          disorder or

5
5       substance use
        substance     disorder in
                  use disorder in the
                                  the community?
                                      community?                  Do
                                                                  Do you
                                                                     you

6
6       agree with
        agree      that?
              with that?

7
7             A.
              A.        Would it be
                        Would it    possible to
                                 be possible to show
                                                show Tab
                                                     Tab 4 and to
                                                         4 and to
8
8       show where
        show where you're
                   you're reading from in
                          reading from in my
                                          my report?
                                             report?

9
9             Q.
              Q.        So I'm
                        So     not reading
                           I'm not         from your
                                   reading from      report.
                                                your report.

10
10            A.
              A.        Okay.
                        Okay.

11
11            Q.
              Q.        Do
                        Do you
                           you have
                               have your report in
                                    your report in front
                                                   front of
                                                         of you?
                                                            you?

12
12            A.
              A.        I do.
                        I do.   I'm sorry
                                I'm sorry if
                                          if I misunderstood.
                                             I misunderstood.          I
                                                                       I

13
13      thought that
        thought that you
                     you read a sentence
                         read a sentence and
                                         and it
                                             it referred to
                                                referred to

14
14      Mayor Williams
        Mayor          and early
              Williams and early initiatives
                                 initiatives and that you
                                             and that you

15
15      had suggested that
        had suggested that it
                           it was either in
                              was either in Paragraph
                                            Paragraph 27
                                                      27 or
                                                         or
16
16      28 of
        28 of my report, and
              my report, and I just am
                             I just am not
                                       not seeing
                                           seeing any
                                                  any

17
17      mention or
        mention or callout
                   callout of
                           of Mayor
                              Mayor Williams in those
                                    Williams in those
18
18      paragraphs.
        paragraphs.

19
19                          And the
                            And the language
                                    language sounded a little
                                             sounded a little bit
                                                              bit

20
20      foreign to
        foreign to me.
                   me.          I'm not
                                I'm     suggesting that
                                    not suggesting that I
                                                        I disagree
                                                          disagree

21
21      with the sentence
        with the sentence or the claim.
                          or the claim.                  It's just
                                                         It's just I
                                                                   I want
                                                                     want

22
22      to be
        to be clear, is it
              clear, is it --
                           -- is
                              is it
                                 it your
                                    your words or is
                                         words or is it
                                                     it my
                                                        my
23
23      words?
        words?      And if
                    And if it
                           it is
                              is indeed
                                 indeed in
                                        in my
                                           my report,
                                              report, I just am
                                                      I just am

24
24      asking to
        asking to see
                  see where
                      where I called out
                            I called out Mayor
                                         Mayor Williams in
                                               Williams in



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1
1       my report
        my        by name.
           report by name.

2
2             Q.
              Q.        All I'm
                        All     asking is
                            I'm asking is if
                                          if you agree with
                                             you agree      this
                                                       with this

3
3       sentence --
        sentence -- but
                    but if
                        if you
                           you can't answer me
                               can't answer me "yes"
                                               "yes" or
                                                     or
4
4       "no," let's
        "no," let's just
                    just move
                         move on.
                              on.
5
5             A.
              A.        No, no,
                        No, no, I'm sorry --
                                I'm sorry --
6
6                           MR. BURNETT:
                            MR. BURNETT:      Counsel --
                                              Counsel --

7
7             Q.
              Q.        No, I'm
                        No,     just going
                            I'm just       to move
                                     going to move on.
                                                   on.      This is
                                                            This is

8
8       wasting
        wasting my time.
                my time.         I'm just going
                                 I'm just       to move
                                          going to move on.
                                                        on.
9
9             A.
              A.        Okay.
                        Okay.

10
10            Q.
              Q.        Now, back
                        Now, back to
                                  to The
                                     The City of Solutions
                                         City of Solutions
11
11      document --
        document --

12
12            A.
              A.        Yeah.
                        Yeah.

13
13            Q.
              Q.        -- do
                        -- do you agree with
                              you agree with me,
                                             me, Doctor Alexander,
                                                 Doctor Alexander,

14
14      that in
        that in terms
                terms of
                      of the
                         the programs
                             programs that
                                      that are listed in
                                           are listed in
15
15      the document,
        the document, that
                      that this
                           this is
                                is only
                                   only a
                                        a partial list of
                                          partial list of

16
16      the programs
        the programs available
                     available to
                               to Cabell/Huntington --
                                  Cabell/Huntington --

17
17      Cabell
        Cabell County/Huntington
               County/Huntington now?
                                 now?

18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19            A.
              A.        I
                        I would
                          would guess that that
                                guess that that is
                                                is the
                                                   the case, but I
                                                       case, but I

20
20      would
        would want to examine
              want to examine further,
                              further, but
                                       but if
                                           if this
                                              this is
                                                   is a
                                                      a
21
21      document that was
        document that was on the ground,
                          on the ground, you
                                         you know, two or
                                             know, two or

22
22      three years
        three       ago, then
              years ago, then I
                              I would think it's
                                would think it's all
                                                 all but
                                                     but
23
23      certain that
        certain that newer
                     newer programs
                           programs have originated and
                                    have originated and
24
24      spawned, if
        spawned, if you
                    you will, since this
                        will, since this report
                                         report was issued.
                                                was issued.



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1
1             Q.
              Q.        So let's
                        So let's take
                                 take a look at
                                      a look    page 15
                                             at page 15 of
                                                        of The
                                                           The City
                                                               City

2
2       of Solutions
        of Solutions guidebook.
                     guidebook.             Are you
                                            Are     there with
                                                you there with me,
                                                               me,

3
3       Doctor Alexander?
        Doctor Alexander?

4
4             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
5
5             Q.
              Q.        Okay.
                        Okay.   And this
                                And this section of the
                                         section of the guidebook is
                                                        guidebook is

6
6       titled "Prevention
        titled "Prevention and
                           and Early
                               Early Intervention."
                                     Intervention."                 Do
                                                                    Do you
                                                                       you

7
7       see that?
        see that?
8
8             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
9
9             Q.
              Q.        Okay.
                        Okay.   And this
                                And this begins
                                         begins a
                                                a discussion of the
                                                  discussion of the
10
10      interventions and
        interventions and programs that have
                          programs that have been
                                             been put in
                                                  put in

11
11      place
        place by the community
              by the           to address
                     community to address the
                                          the opioid
                                              opioid use
                                                     use

12
12      disorder or opioid
        disorder or opioid epidemic
                           epidemic in
                                    in the
                                       the area.
                                           area.                 Do
                                                                 Do you
                                                                    you

13
13      see that?
        see that?
14
14            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

15
15            Q.
              Q.        Okay.
                        Okay.   And so
                                And so your Category 1
                                       your Category   of your
                                                     1 of your

16
16      abatement plan
        abatement      is entitled,
                  plan is entitled, as
                                    as we
                                       we know, "PREVENTION
                                          know, "PREVENTION

17
17      - REDUCING
        - REDUCING OPIOID
                   OPIOID OVERSUPPLY AND IMPROVING
                          OVERSUPPLY AND IMPROVING SAFE
                                                   SAFE
18
18      OPIOID USE"
        OPIOID      and it
               USE" and it talks
                           talks about
                                 about early
                                       early intervention.
                                             intervention.
19
19      And that's
        And that's what
                   what we
                        we have as well
                           have as well here in The
                                        here in The City of
                                                    City of

20
20      Solutions guidebook.
        Solutions guidebook.           Is that fair?
                                       Is that fair?
21
21            A.
              A.        I don't know,
                        I don't know, and
                                      and I
                                          I would
                                            would be very surprised
                                                  be very surprised
22
22      if the
        if the content
               content is
                       is perfectly aligned.
                          perfectly aligned.                 But I
                                                             But   -- if
                                                                 I -- if
23
23      you're asking whether
        you're asking         both The
                      whether both The City of Solutions,
                                       City of Solutions,
24
24      this section
        this section of
                     of it,
                        it, and
                            and my
                                my Category
                                   Category 1 are focused
                                            1 are focused


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1
1       on prevention,
        on             the answer
           prevention, the answer is
                                  is yes.
                                     yes.

2
2             Q.
              Q.        Oh, let
                        Oh, let me
                                me -- let
                                      let me
                                          me be real simple
                                             be real simple about
                                                            about
3
3       it, Doctor
        it,        Alexander.
            Doctor Alexander.           You say the
                                        You say the first
                                                    first thing
                                                          thing you
                                                                you

4
4       need to do
        need to    is focus
                do is focus on
                            on prevention,
                               prevention, right?
                                           right?                    That's
                                                                     That's

5
5       your
        your Category 1.
             Category 1.          That is the
                                  That is the header, correct?
                                              header, correct?

6
6                           MR. BURNETT:
                            MR. BURNETT:       Objection,
                                               Objection,

7
7       mischaracterizes.
        mischaracterizes.

8
8             A.
              A.        Yeah, it's
                        Yeah, it's the
                                   the first
                                       first category.
                                             category.             I'm not
                                                                   I'm not

9
9       saying that
        saying that it's
                    it's the
                         the first
                             first thing.
                                   thing.                    I
                                                             I mean,
                                                               mean, we
                                                                     we need
                                                                        need

10
10      to do
        to do a
              a bunch of stuff
                bunch of stuff simultaneously.
                               simultaneously.                    It's not --
                                                                  It's not --
11
11      this isn't
        this isn't a
                   a linear
                     linear process.
                            process.

12
12            Q.
              Q.        I understand --
                        I understand --
13
13            A.
              A.        But it
                        But it is
                               is Category 1.
                                  Category 1.

14
14            Q.
              Q.        I understand.
                        I understand.     It is Category
                                          It is Category 1 of your
                                                         1 of your

15
15      plan,
        plan, correct?
              correct?

16
16            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
17
17            Q.
              Q.        Okay.
                        Okay.   And has
                                And has Cabell
                                        Cabell County/Huntington
                                               County/Huntington

18
18      also engaged
        also engaged in
                     in a
                        a number of programs
                          number of programs under their
                                             under their

19
19      title "Prevention
        title "Prevention and Early Intervention?"
                          and Early Intervention?"
20
20            A.
              A.        I believe they
                        I believe they have.
                                       have.

21
21            Q.
              Q.        Okay.
                        Okay.   And if
                                And if we look through
                                       we look through The
                                                       The City of
                                                           City of

22
22      Solutions guide,
        Solutions        over the
                  guide, over the next
                                  next through
                                       through pages,
                                               pages, does
                                                      does

23
23      it outline
        it outline a
                   a number of these
                     number of these programs?
                                     programs?

24
24            A.
              A.        Yes, it
                        Yes, it does.
                                does.



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1
1             Q.
              Q.        Okay.
                        Okay.   And some
                                And some of
                                         of these
                                            these programs that have
                                                  programs that have

2
2       -- have
        --      already been
           have already been in
                             in place
                                place and are in
                                      and are in place in
                                                 place in

3
3       the community
        the community are
                      are Project
                          Project Engage,
                                  Engage, correct?
                                          correct?
4
4             A.
              A.        Yes.
                        Yes.

5
5             Q.
              Q.        And you're
                        And        familiar with
                            you're familiar      Project Engage?
                                            with Project Engage?
6
6             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
7
7             Q.
              Q.        And what
                        And what does Project Engage
                                 does Project Engage seek
                                                     seek to
                                                          to do?
                                                             do?

8
8             A.
              A.        It seeks
                        It seeks to
                                 to better
                                    better link
                                           link individuals
                                                individuals in
                                                            in
9
9       clinical settings
        clinical settings with treatment for
                          with treatment for substance
                                             substance use
                                                       use

10
10      disorders.
        disorders.

11
11            Q.
              Q.        So when
                        So when you say "clinical
                                you say "clinical settings," are we
                                                  settings," are we

12
12      talking about
        talking about individuals
                      individuals who end up
                                  who end    in the
                                          up in the
13
13      emergency department,
        emergency             for example,
                  department, for example, and there's
                                           and there's

14
14      somebody there
        somebody there -
                       - a
                         a peer
                           peer recovery coach -
                                recovery coach - to
                                                 to provide
                                                    provide

15
15      them with
        them      information and
             with information and access
                                  access to
                                         to treatment
                                            treatment
16
16      should they
        should they choose
                    choose to
                           to engage
                              engage in
                                     in treatment?
                                        treatment?                   True?
                                                                     True?

17
17            A.
              A.        Yes.
                        Yes.    Yes, for example.
                                Yes, for example.
18
18            Q.
              Q.        Okay.
                        Okay.   And this
                                And this is
                                         is something
                                            something that
                                                      that Cabell
                                                           Cabell

19
19      County/Huntington
        County/Huntington has
                          has had in place
                              had in place and
                                           and does
                                               does have in
                                                    have in

20
20      place
        place now, correct?
              now, correct?

21
21            A.
              A.        Yes.
                        Yes.    But I
                                But   -- I
                                    I --   mean, programs
                                         I mean,          aren't --
                                                 programs aren't --
22
22      yeah,
        yeah, I
              I mean, it may
                mean, it may not
                             not be adequately resourced;
                                 be adequately resourced;

23
23      it may
        it may not be optimally
               not be optimally funded.
                                funded.                   It may
                                                          It may not
                                                                 not be
                                                                     be

24
24      optimally staffed.
        optimally staffed.


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1
1                           So just because
                            So just because there
                                            there is
                                                  is a
                                                     a program in
                                                       program in

2
2       place,
        place, I'm not disparaging
               I'm not             the program,
                       disparaging the program, and in
                                                and in

3
3       fact, I
        fact,   think, you
              I think, you know, it plays
                           know, it plays a
                                          a very important
                                            very important

4
4       role.
        role.      But I
                   But I wouldn't
                         wouldn't want to misconstrue
                                  want to             the
                                          misconstrue the

5
5       presence of a
        presence of a program
                      program or
                              or equate
                                 equate that
                                        that with its
                                             with its

6
6       adequate deployment,
        adequate deployment, support,
                             support, funding
                                      funding and
                                              and long-term
                                                  long-term
7
7       viability.
        viability.

8
8             Q.
              Q.        And is
                        And is Project
                               Project Engage
                                       Engage part
                                              part of
                                                   of a
                                                      a
9
9       collaboration effort
        collaboration effort with any of
                             with any of the
                                         the health
                                             health care
                                                    care

10
10      facilities in
        facilities in the
                      the area?
                          area?

11
11            A.
              A.        Well,
                        Well, I think it
                              I think it would
                                         would have to be.
                                               have to be.    I
                                                              I don't
                                                                don't

12
12      know
        know details about that,
             details about that, although
                                 although I
                                          I do see and
                                            do see and --
                                                       --
13
13      that Christiana
        that            Healthcare as
             Christiana Healthcare as a
                                      a reference, although
                                        reference, although

14
14      that's in
        that's in Delaware
                  Delaware -- and
                              and Marshall
                                  Marshall University and
                                           University and

15
15      the health
        the        system that
            health system that I
                               I believe is related
                                 believe is         to that
                                            related to that
16
16      corporately or
        corporately or structurally,
                       structurally, may
                                     may well be an
                                         well be an
17
17      important part
        important      of that.
                  part of that.
18
18                          But I
                            But   don't know
                                I don't      the details
                                        know the         of the
                                                 details of the
19
19      health care systems
        health care systems that
                            that may
                                 may have formally signed
                                     have formally signed
20
20      on.
        on.

21
21            Q.
              Q.        Are you
                        Are     -- are
                            you -- are you not aware
                                       you not aware that
                                                     that St.
                                                          St. Marys
                                                              Marys
22
22      Medical Center
        Medical        and Cabell-Huntington
                Center and Cabell-Huntington Hospital
                                             Hospital have
                                                      have

23
23      worked together to
        worked together to pioneer
                           pioneer the
                                   the Project
                                       Project Engage
                                               Engage
24
24      effort since
        effort since 2017?
                     2017?


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1
1             A.
              A.        I am --
                        I am --
2
2                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

3
3             A.
              A.        I'm sorry.
                        I'm sorry.   I
                                     I am aware of
                                       am aware of St. Mary's; I'm
                                                   St. Mary's; I'm

4
4       not -- you
        not -- you know,
                   know, I don't know
                         I don't      the formal
                                 know the formal sort
                                                 sort of
                                                      of
5
5       corporate relationship
        corporate relationship or flow of
                               or flow of money
                                          money or
                                                or

6
6       resources between this
        resources between this project and St.
                               project and     Mary's or
                                           St. Mary's or
7
7       the corporation
        the corporation that
                        that it
                             it represents.
                                represents.

8
8             Q.
              Q.        And you're
                        And you're not aware or
                                   not aware    offering any
                                             or offering any

9
9       opinion that
        opinion that the
                     the City or the
                         City or the County
                                     County needs to spend
                                            needs to spend
10
10      any funds,
        any funds, spend
                   spend any
                         any money,
                             money, relating
                                    relating to
                                             to Project
                                                Project
11
11      Engage.
        Engage.         Is that
                        Is that correct?
                                correct?
12
12            A.
              A.        I
                        I wasn't
                          wasn't asked to identify
                                 asked to identify who
                                                   who pays the
                                                       pays the

13
13      bills.
        bills.      I
                    I was -- I
                      was -- I was
                               was simply
                                   simply asked to identify
                                          asked to identify
14
14      what
        what I thought would
             I thought       be an
                       would be an evidence-based
                                   evidence-based abatement
                                                  abatement

15
15      program for this
        program for this community.
                         community.
16
16            Q.
              Q.        And in
                        And in terms
                               terms of
                                     of what
                                        what you just said,
                                             you just said, Doctor
                                                            Doctor

17
17      Alexander, so
        Alexander, so just
                      just to
                           to confirm,
                              confirm, you
                                       you don't
                                           don't have any
                                                 have any

18
18      opinion in
        opinion in this
                   this case
                        case that
                             that the
                                  the City
                                      City of Huntington or
                                           of Huntington or
19
19      Cabell
        Cabell County generally has
               County generally     been responsible
                                has been responsible for
                                                     for
20
20      funding any
        funding any of
                    of the
                       the programs that they
                           programs that they have
                                              have had in
                                                   had in

21
21      place to date.
        place to date.         Is that
                               Is that correct?
                                       correct?
22
22            A.
              A.        And here
                        And here you --
                                 you --

23
23                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

24
24            A.
              A.        Here you
                        Here you mean
                                 mean beliefs or legal
                                      beliefs or legal opinions?
                                                       opinions?



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1
1             Q.
              Q.        You're not
                        You're not offering
                                   offering opinions
                                            opinions in
                                                     in the
                                                        the case,
                                                            case,
2
2       as an
        as an expert,
              expert, that
                      that Cabell
                           Cabell County or the
                                  County or the City of
                                                City of

3
3       Huntington has
        Huntington has had to fund
                       had to fund any
                                   any of
                                       of the
                                          the programs
                                              programs that
                                                       that
4
4       they have
        they have decided to put
                  decided to put in
                                 in place
                                    place to
                                          to address
                                             address the
                                                     the
5
5       opioid epidemic.
        opioid epidemic.
6
6                             MR. BURNETT:
                              MR. BURNETT:      Objection.
                                                Objection.

7
7             A.
              A.        No.
                        No.    No,
                               No, I'm
                                   I'm not.
                                       not.

8
8             Q.
              Q.        Okay.
                        Okay.   And in
                                And in terms
                                       terms of
                                             of future
                                                future payments,
                                                       payments,

9
9       you're
        you're not offering any
               not offering any opinions
                                opinions that
                                         that should
                                              should your
                                                     your

10
10      plan for abatement
        plan for abatement be
                           be put in place
                              put in       in Cabell
                                     place in Cabell

11
11      County/Huntington that any
        County/Huntington that     aspect of
                               any aspect of the
                                             the plan
                                                 plan would
                                                      would

12
12      need to be
        need to    paid for
                be paid for or
                            or funded
                               funded by the City
                                      by the City or
                                                  or

13
13      County.
        County.         You're not
                        You're not offering
                                   offering opinions
                                            opinions as
                                                     as to
                                                        to that;
                                                           that;
14
14      is that
        is that correct?
                correct?

15
15            A.
              A.        Yeah, that's
                        Yeah, that's for
                                     for the
                                         the judge
                                             judge to
                                                   to decide,
                                                      decide,

16
16      you're correct.
        you're correct.

17
17            Q.
              Q.        Okay.
                        Okay.

18
18            A.
              A.        Or somebody
                        Or somebody --
                                    -- it's
                                       it's not for me
                                            not for    to decide,
                                                    me to decide,
19
19      let me
        let me put
               put it
                   it that
                      that way.
                           way.

20
20            Q.
              Q.        Not for
                        Not for you to decide
                                you to decide who
                                              who pays, correct?
                                                  pays, correct?

21
21            A.
              A.        Correct.
                        Correct.

22
22            Q.
              Q.        You
                        You have
                            have a
                                 a plan in place,
                                   plan in place, hopefully a very
                                                  hopefully a very

23
23      comprehensive plan
        comprehensive plan -
                           - hopefully
                             hopefully we'll
                                       we'll get through
                                             get through

24
24      that -
        that - but
               but you
                   you don't
                       don't have any opinions
                             have any opinions as
                                               as to
                                                  to the
                                                     the


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1
1       allocation of
        allocation of funds:
                      funds:           Who
                                       Who will pay, who
                                           will pay, who should
                                                         should pay,
                                                                pay,

2
2       how it's divvied
        how it's divvied up; is that
                         up; is that fair?
                                     fair?
3
3             A.
              A.        Yes, that's
                        Yes, that's fair.
                                    fair.
4
4             Q.
              Q.        Okay.
                        Okay.   Now, back
                                Now, back to
                                          to what the community
                                             what the community has
                                                                has

5
5       done in terms
        done in terms of
                      of prevention and early
                         prevention and early intervention,
                                              intervention,
6
6       I assume you
        I assume you are
                     are very familiar with
                         very familiar      the Quick
                                       with the Quick

7
7       Response Team?
        Response Team?

8
8             A.
              A.        Yes, I
                        Yes,   am.
                             I am.

9
9             Q.
              Q.        And if
                        And if you look at
                               you look at The
                                           The City of Solutions
                                               City of Solutions

10
10      guidebook,
        guidebook, you
                   you can
                       can read about the
                           read about the Quick
                                          Quick Response
                                                Response

11
11      Team on page
        Team on page 18 and the
                     18 and the pages following after.
                                pages following after.                   And
                                                                         And

12
12      who makes up
        who makes    the Quick
                  up the Quick Response
                               Response Team,
                                        Team, Doctor
                                              Doctor

13
13      Alexander?
        Alexander?

14
14            A.
              A.        Well,
                        Well, generally this is
                              generally this is a
                                                a team
                                                  team --
                                                       -- I mean,
                                                          I mean,

15
15      it varies
        it varies place to place
                  place to place and community to
                                 and community to
16
16      community, but
        community, but in
                       in general, this includes
                          general, this includes some
                                                 some sort
                                                      sort
17
17      of health
        of health care
                  care professional or addiction
                       professional or addiction expert,
                                                 expert,
18
18      often a
        often   -- at
              a -- at times,
                      times, it
                             it can
                                can include
                                    include a
                                            a faith-based
                                              faith-based
19
19      leader or
        leader or someone
                  someone from
                          from a faith community.
                               a faith community.
20
20                          It can have
                            It can have a
                                        a peer
                                          peer recovery coach, can
                                               recovery coach, can
21
21      sometimes participate
        sometimes             in these
                  participate in these teams.
                                       teams.                The teams
                                                             The teams

22
22      may or
        may or may
               may not
                   not include
                       include a law enforcement
                               a law enforcement officer.
                                                 officer.
23
23      At times,
        At times, there's
                  there's concern that that
                          concern that that may,
                                            may, you
                                                 you know,
                                                     know,

24
24      scare people
        scare        off, for
              people off, for lack
                              lack of
                                   of a
                                      a better
                                        better word.
                                               word.



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1
1                           But those
                            But those are the types
                                      are the types of
                                                    of people that
                                                       people that

2
2       participate in these
        participate in these teams.
                             teams.
3
3             Q.
              Q.        Okay.
                        Okay.   Well, let's just
                                Well, let's just talk
                                                 talk about
                                                      about Cabell
                                                            Cabell

4
4       County/Huntington.
        County/Huntington.          Who makes up
                                    Who makes    the Quick
                                              up the Quick Response
                                                           Response
5
5       Team in Cabell
        Team in Cabell County/Huntington?
                       County/Huntington?

6
6             A.
              A.        I think that's
                        I think that's depicted
                                       depicted here in this
                                                here in this
7
7       exhibit, which
        exhibit,       indicates "a
                 which indicates "a paramedic"
                                    paramedic" or
                                               or "EMT,"
                                                  "EMT,"
8
8       "law enforcement
        "law enforcement officer,"
                         officer," "peer
                                   "peer recovery
                                         recovery coach" or
                                                  coach" or

9
9       "clinician" and
        "clinician" and a
                        a "spiritual
                          "spiritual or
                                     or faith
                                        faith leader."
                                              leader."
10
10            Q.
              Q.        And what
                        And      types of
                            what types of services
                                          services does the Quick
                                                   does the Quick
11
11      Response Team
        Response      provide?
                 Team provide?

12
12            A.
              A.        Well, this is
                        Well, this is a
                                      a good example where
                                        good example where I
                                                           I

13
13      believe that
        believe that this
                     this is
                          is covered
                             covered in
                                     in my
                                        my Ohio
                                           Ohio report --
                                                report --

14
14      not to open,
        not to open, you
                     you know -- not
                         know --     to go
                                 not to go back too far
                                           back too far
15
15      there.
        there.      But this
                    But this is
                             is a
                                a good example where
                                  good example where I believe
                                                     I believe

16
16      even though
        even though linkages
                    linkages as
                             as to
                                to care
                                   care may
                                        may not
                                            not have been
                                                have been

17
17      called out
        called out as
                   as a
                      a separate
                        separate category in my
                                 category in my Ohio
                                                Ohio

18
18      report,
        report, nevertheless, the QRT
                nevertheless, the QRT or Quick Response
                                      or Quick Response
19
19      Team is exactly
        Team is exactly --
                        -- does
                           does exactly
                                exactly this.
                                        this.
20
20                          I
                            I mean, they can
                              mean, they can provide a very
                                             provide a very

21
21      important role
        important      in linking
                  role in linking people
                                  people to
                                         to care
                                            care that
                                                 that
22
22      otherwise would
        otherwise       fall through
                  would fall through the
                                     the cracks.
                                         cracks.
23
23                          I
                            I mean,
                              mean, you
                                    you have
                                        have a
                                             a narrow -- you
                                               narrow -- you have
                                                             have

24
24      a narrow
        a narrow window of opportunity
                 window of opportunity when someone
                                       when someone



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1
1       overdoses, and
        overdoses, and it's
                       it's a -- it's
                            a -- it's an opportunity, in
                                      an opportunity, in
2
2       many cases,
        many cases, to
                    to help
                       help people
                            people get into treatment.
                                   get into treatment.
3
3                           And part
                            And      of the
                                part of the benefit
                                            benefit of
                                                    of a
                                                       a Quick
                                                         Quick

4
4       Response Team
        Response      is that
                 Team is that well-designed and well-
                              well-designed and well-

5
5       deployed, they
        deployed, they can serve an
                       can serve    important role
                                 an important      in
                                              role in

6
6       helping to bridge
        helping to bridge people to care.
                          people to care.
7
7             Q.
              Q.        And this
                        And this Quick Response Team
                                 Quick Response      in Cabell
                                                Team in Cabell

8
8       County/Huntington, it has
        County/Huntington, it     a project
                              has a project director and a
                                            director and a

9
9       coordinator?
        coordinator?

10
10            A.
              A.        I -- it
                        I -- it --
                                -- I
                                   I mean, it appears
                                     mean, it appears at
                                                      at the
                                                         the time
                                                             time
11
11      that this
        that this report
                  report was
                         was written that it
                             written that it did.
                                             did.                 I can't
                                                                  I can't

12
12      speak to
        speak to whether or not
                 whether or     it's currently
                            not it's currently staffed
                                               staffed at
                                                       at

13
13      those levels
        those levels or
                     or not.
                        not.
14
14            Q.
              Q.        And you
                        And you note that the
                                note that the team
                                              team works "a
                                                   works "a

15
15      40-hour-per-week schedule."
        40-hour-per-week schedule."               Do
                                                  Do you see that?
                                                     you see that?
16
16            A.
              A.        Well, this isn't
                        Well, this isn't my
                                         my --
                                            -- what
                                               what we're looking
                                                    we're looking

17
17      at here
        at      is if
           here is if --
                      -- I mean, you
                         I mean,     said "you
                                 you said "you note."
                                               note."

18
18            Q.
              Q.        It's in
                        It's in the
                                the document.
                                    document.          I
                                                       I mean,
                                                         mean, you've
                                                               you've read
                                                                      read

19
19      this document
        this document --

20
20            A.
              A.        I've reviewed
                        I've reviewed it
                                      it and
                                         and I'm familiar with
                                             I'm familiar with The
                                                               The

21
21      City of Solutions,
        City of Solutions, yes.
                           yes.            But I'm
                                           But     sorry, I
                                               I'm sorry, I was
                                                            was

22
22      confused when
        confused when you
                      you said "you note."
                          said "you note."                  But they
                                                            But they may
                                                                     may
23
23      well
        well work a 40-hour
             work a 40-hour week.
                            week.             That
                                              That may
                                                   may well be the
                                                       well be the
24
24      case.
        case.



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1
1             Q.
              Q.        And do
                        And do you
                               you know
                                   know how they came
                                        how they      about getting
                                                 came about getting
2
2       the vehicle
        the vehicle that
                    that the
                         the Quick
                             Quick Response
                                   Response Team
                                            Team uses?
                                                 uses?

3
3             A.
              A.        I think that's
                        I think that's an
                                       an interesting
                                          interesting question.
                                                      question.              I
                                                                             I

4
4       think it
        think it may
                 may have
                     have been
                          been donated but I
                               donated but I don't
                                             don't recall
                                                   recall

5
5       the details
        the details of
                    of where they came
                       where they came by
                                       by the
                                          the vehicle.
                                              vehicle.
6
6             Q.
              Q.        It's in
                        It's in the
                                the document.
                                    document.           I actually says
                                                        I actually says it
                                                                        it
7
7       was donated.
        was donated.         You
                             You are correct.
                                 are correct.

8
8             A.
              A.        Okay.
                        Okay.

9
9             Q.
              Q.        Now, in
                        Now, in terms
                                terms of other Harm
                                      of other      Reduction, that
                                               Harm Reduction, that
10
10      starts on
        starts on page 20 of
                  page 20 of The
                             The City of Solutions
                                 City of Solutions
11
11      guidebook, correct?
        guidebook, correct?

12
12            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
13
13            Q.
              Q.        Okay.
                        Okay.   And you
                                And     said to
                                    you said to me earlier, I
                                                me earlier,   think,
                                                            I think,

14
14      that that
        that that was a very
                  was a very important
                             important initiative
                                       initiative that
                                                  that the
                                                       the
15
15      community had
        community     taken to
                  had taken to get ahead of
                               get ahead of Harm
                                            Harm Reduction;
                                                 Reduction;
16
16      is that
        is that right?
                right?

17
17            A.
              A.        I mean, they're
                        I mean, they're all
                                        all --
                                            -- they're
                                               they're all
                                                       all

18
18      important.
        important.         I'm sorry, but
                           I'm sorry, but I -- I
                                          I --   -- I
                                               I -- I mean,
                                                      mean,

19
19      they're all
        they're all important
                    important interventions.
                              interventions.                 But I
                                                             But I do just
                                                                   do just

20
20      want to call
        want to      out and
                call out and remind
                             remind you, this was
                                    you, this was a
                                                  a

21
21      document that was
        document that was written at one
                          written at one point
                                         point in
                                               in time
                                                  time and
                                                       and

22
22      so --
        so -- but
              but yes,
                  yes, Harm Reduction is
                       Harm Reduction is important
                                         important and
                                                   and it's
                                                       it's
23
23      my understanding
        my               that the
           understanding that the County and the
                                  County and the City
                                                 City have
                                                      have

24
24      done -- have
        done -- have provided some leadership
                     provided some leadership in
                                              in developing
                                                 developing



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1
1       a syringe
        a syringe service
                  service program.
                          program.

2
2                           And I
                            And   do think
                                I do think it's
                                           it's an
                                                an important
                                                   important
3
3       component, yes.
        component, yes.

4
4             Q.
              Q.        And if
                        And if you look with
                               you look with me at the
                                             me at the -- at
                                                          at the
                                                             the
5
5       document, other
        document, other than
                        than the
                             the syringe services program,
                                 syringe services program,

6
6       what other types
        what other types of
                         of programs and interventions
                            programs and interventions has
                                                       has

7
7       the community
        the community been
                      been able
                           able to
                                to implement
                                   implement to
                                             to further
                                                further the
                                                        the
8
8       goal of Harm
        goal of      Reduction?
                Harm Reduction?

9
9             A.
              A.        Well, some people
                        Well, some people consider
                                          consider naloxone a means
                                                   naloxone a means

10
10      of harm
        of harm reduction.
                reduction.         I suppose it's
                                   I suppose it's --
                                                  -- it
                                                     it depends
                                                        depends

11
11      who
        who you ask whether
            you ask whether you characterize that
                            you characterize that as
                                                  as harm
                                                     harm

12
12      reduction, but as
        reduction, but as has been stated
                          has been stated by
                                          by community
                                             community

13
13      leaders and
        leaders and in
                    in the
                       the community
                           community itself,
                                     itself, you
                                             you know,
                                                 know,

14
14      naloxone alone isn't
        naloxone alone isn't gonna
                             gonna get
                                   get you out of
                                       you out of this
                                                  this
15
15      mess, and
        mess, and you can't just
                  you can't just resuscitate
                                 resuscitate someone from
                                             someone from

16
16      an overdose
        an overdose and
                    and then
                        then expect
                             expect them
                                    them to,
                                         to, you
                                             you know,
                                                 know,

17
17      magically appear
        magically appear in
                         in treatment.
                            treatment.
18
18                          So naloxone is
                            So naloxone is one.
                                           one.             Fentanyl testing
                                                            Fentanyl testing

19
19      is another
        is another approach
                   approach that
                            that is
                                 is sometimes
                                    sometimes used to see
                                              used to see
20
20      whether there's evidence
        whether there's evidence of
                                 of fentanyl
                                    fentanyl in
                                             in -- in
                                                   in what
                                                      what

21
21      may be
        may be counterfeit
               counterfeit prescription
                           prescription opioids
                                        opioids that
                                                that are
                                                     are
22
22      circulated, or
        circulated, or in
                       in heroin.
                          heroin.

23
23                          And then,
                            And then, you
                                      you know,
                                          know, I just want
                                                I just      to
                                                       want to

24
24      note that harm
        note that harm reduction
                       reduction services
                                 services don't -- it's
                                          don't -- it's not
                                                        not



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1
1       just about
        just about giving
                   giving people syringes, it's
                          people syringes, it's about --
                                                about --

2
2       again, we're
        again, we're back to linkages
                     back to linkages to
                                      to care.
                                         care.                You
                                                              You know,
                                                                  know, I
                                                                        I

3
3       have -- there's
        have -- there's a
                        a saying that "The
                          saying that "The road to recovery
                                           road to recovery

4
4       is paved
        is paved with relationships," and
                 with relationships,"     so Harm
                                      and so      Reduction
                                             Harm Reduction

5
5       outreach allows
        outreach allows for
                        for one
                            one to
                                to develop
                                   develop relationships
                                           relationships

6
6       and also
        and also provide
                 provide primary
                         primary care to these
                                 care to these people,
                                               people, not
                                                       not

7
7       just give
        just      them syringes.
             give them syringes.
8
8                           Screen them
                            Screen them for
                                        for HIV,
                                            HIV, hepatitis and the
                                                 hepatitis and the
9
9       like.
        like.      So I
                   So I hope that helps
                        hope that       give you
                                  helps give you a sense.
                                                 a sense.

10
10            Q.
              Q.        And are
                        And are you familiar with
                                you familiar      the Great
                                             with the       Rivers
                                                      Great Rivers

11
11      Regional System
        Regional System for
                        for Addiction
                            Addiction Care?
                                      Care?                 If
                                                            If we look at
                                                               we look at
12
12      page 26?
        page 26?         Are you
                         Are     familiar with
                             you familiar      that program?
                                          with that program?

13
13            A.
              A.        Only -- not
                        Only        -- not
                                not --     -- you
                                       not -- you know,
                                                  know, I
                                                        I reviewed
                                                          reviewed

14
14      this and
        this and I reviewed that
                 I reviewed that program, but I'm
                                 program, but I'm not as
                                                  not as

15
15      familiar with
        familiar      that as
                 with that as some
                              some of
                                   of the
                                      the other
                                          other programs
                                                programs

16
16      we've
        we've considered.
              considered.

17
17            Q.
              Q.        Did
                        Did you
                            you do any independent
                                do any independent research?
                                                   research?          Did
                                                                      Did

18
18      you go on
        you go on the
                  the website and read
                      website and      about Great
                                  read about       Rivers
                                             Great Rivers

19
19      Regional System
        Regional System for
                        for Addiction
                            Addiction Care,
                                      Care, read about what
                                            read about what

20
20      they do,
        they     read about
             do, read about who they treat?
                            who they treat?
21
21            A.
              A.        Well,
                        Well, I certainly read
                              I certainly      about PROACT,
                                          read about PROACT, and
                                                             and I
                                                                 I

22
22      see here
        see      PROACT is
            here PROACT is called
                           called out
                                  out as a means
                                      as a       -- as
                                           means -- as a
                                                       a

23
23      means to
        means to --
                 -- you
                    you know, as one
                        know, as one component
                                     component of
                                               of this
                                                  this
24
24      system of
        system of addiction
                  addiction care.
                            care.



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1
1                           And again,
                            And again, I reviewed an
                                       I reviewed    enormous
                                                  an enormous

2
2       number of materials
        number of           and spoke
                  materials and spoke with
                                      with a large number
                                           a large number

3
3       of people
        of        on the
           people on the ground about the
                         ground about the state
                                          state of
                                                of

4
4       addiction care
        addiction      in the
                  care in the county
                              county and
                                     and the
                                         the city.
                                             city.

5
5             Q.
              Q.        Well,
                        Well, my
                              my question
                                 question was:
                                          was:          Did
                                                        Did you
                                                            you do any
                                                                do any

6
6       reading or research
        reading or research about
                            about the
                                  the expansive
                                      expansive programs
                                                programs

7
7       offered through
        offered through Great Rivers Regional
                        Great Rivers Regional System
                                              System for
                                                     for
8
8       Addiction Care?
        Addiction Care?

9
9             A.
              A.        I did do
                        I did do some -- I
                                 some --   did review
                                         I did review publicly-
                                                      publicly-

10
10      available information.
        available information.           I don't recall
                                         I don't recall having
                                                        having

11
11      reviewed in depth
        reviewed in       this particular
                    depth this            system.
                               particular system.

12
12            Q.
              Q.        Can
                        Can you tell me
                            you tell me who
                                        who runs the program,
                                            runs the program, which
                                                              which

13
13      health facility, health
        health facility,        care facility,
                         health care facility, runs
                                               runs Great
                                                    Great

14
14      Rivers Regional
        Rivers Regional System
                        System for
                               for Addiction
                                   Addiction Care?
                                             Care?

15
15                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

16
16            A.
              A.        I mean, we've
                        I mean,       talked about
                                we've talked       -- I
                                             about -- I would
                                                        would want
                                                              want

17
17      to review
        to        this -- this
           review this    this document further.
                               document further.                But we've
                                                                But we've

18
18      talked about
        talked about some of the
                     some of the --
                                 -- you
                                    you know, the important
                                        know, the important
19
19      health systems within
        health systems        the community.
                       within the community.                I
                                                            I know that
                                                              know that

20
20      St. Mary's
        St. Mary's and
                   and Marshall
                       Marshall University
                                University have
                                           have played
                                                played

21
21      important roles,
        important        but I
                  roles, but   --
                             I --

22
22                          If
                            If you're
                               you're asking
                                      asking about
                                             about what the source
                                                   what the source
23
23      of funding
        of funding is
                   is for
                      for this
                          this regional system, my
                               regional system,    guess is
                                                my guess is
24
24      it subsists
        it subsists on
                    on a
                       a variety of funding
                         variety of funding and
                                            and that
                                                that some
                                                     some


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1
1       of it
        of it may
              may come from a
                  come from   state or
                            a state or county
                                       county budgets.
                                              budgets.
2
2             Q.
              Q.        You're not
                        You're not aware
                                   aware that
                                         that the
                                              the Great Rivers
                                                  Great Rivers

3
3       Regional System
        Regional System for
                        for Addiction
                            Addiction Care is through
                                      Care is through
4
4       Marshall Health?
        Marshall Health?
5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        I'm familiar
                        I'm familiar with -- I'm
                                     with --     familiar with
                                             I'm familiar      the
                                                          with the

7
7       important role
        important      that Marshall
                  role that Marshall Health
                                     Health plays in Cabell
                                            plays in Cabell
8
8       County and the
        County and the City of Huntington
                       City of            in addressing
                               Huntington in addressing
9
9       many dimensions
        many            of the
             dimensions of the opioid epidemic, and
                               opioid epidemic, and I'm
                                                    I'm

10
10      familiar with
        familiar      the investments
                 with the investments that
                                      that Marshall
                                           Marshall has
                                                    has

11
11      made in
        made in helping to expand
                helping to expand the
                                  the availability of
                                      availability of

12
12      treatment for
        treatment for people
                      people with opioid use
                             with opioid use disorder.
                                             disorder.

13
13                          So
                            So yes, I'm familiar
                               yes, I'm familiar with the
                                                 with the

14
14      important role
        important      that the
                  role that the University
                                University and the health
                                           and the health

15
15      system has
        system     played.
               has played.

16
16            Q.
              Q.        Did
                        Did you
                            you do any research
                                do any          to inform
                                       research to inform yourself
                                                          yourself

17
17      as to
        as to the
              the significant
                  significant number of West
                              number of West Virginia
                                             Virginia

18
18      residents struggling with
        residents struggling      mental health
                             with mental health disorders
                                                disorders

19
19      and poor
        and poor quality
                 quality of
                         of life
                            life generally?
                                 generally?

20
20            A.
              A.        Yes, that
                        Yes, that was
                                  was part of the
                                      part of the materials that --
                                                  materials that --
21
21      I mean, that
        I mean, that --
                     -- the
                        the issue
                            issue of
                                  of mental
                                     mental health and many
                                            health and many

22
22      other --
        other -- many
                 many other
                      other sort
                            sort of
                                 of contacts
                                    contacts that
                                             that help
                                                  help

23
23      create the
        create the fabric
                   fabric of
                          of this
                             this Appalachian
                                  Appalachian community
                                              community are
                                                        are
24
24      ones that
        ones that I
                  I reviewed and explored
                    reviewed and explored in
                                          in understanding
                                             understanding



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1
1       how
        how we got to
            we got to where
                      where we're at in
                            we're at in Cabell
                                        Cabell County and
                                               County and

2
2       the City
        the City of
                 of Huntington.
                    Huntington.
3
3             Q.
              Q.        Well,
                        Well, do
                              do you agree with
                                 you agree with what is written
                                                what is written

4
4       here, from your
        here, from      research, that
                   your research, that many
                                       many West Virginia
                                            West Virginia

5
5       residents contend with
        residents contend with complicating
                               complicating risk factors --
                                            risk factors --
6
6       and this
        and this is
                 is risk factors for
                    risk factors for addiction;
                                     addiction; is
                                                is that
                                                   that
7
7       right?
        right?

8
8                          MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.    Are you
                                                            Are you

9
9       reading from a
        reading from a document?
                       document?

10
10                         MS. GEIST:
                           MS. GEIST:      I'm
                                           I'm reading
                                               reading right from the
                                                       right from the
11
11      screen.
        screen.

12
12            A.
              A.        Can
                        Can you
                            you point out --
                                point out --
13
13            Q.
              Q.        Can
                        Can you agree with
                            you agree with what is written
                                           what is written here
                                                           here by
                                                                by

14
14      the community
        the community itself,
                      itself, that
                              that "Many
                                   "Many WV
                                         WV residents
                                            residents

15
15      contend with
        contend with complicating
                     complicating risk factors" "such
                                  risk factors" "such as
                                                      as
16
16      trauma, intimate
        trauma, intimate partner
                         partner violence,
                                 violence, and other
                                           and other

17
17      chronic diseases."
        chronic diseases."           And that
                                     And that "These
                                              "These issues
                                                     issues are
                                                            are
18
18      influenced by
        influenced by poor
                      poor access
                           access to
                                  to health care, low
                                     health care, low
19
19      health literacy levels,
        health literacy levels, low
                                low levels
                                    levels of educational
                                           of educational

20
20      attainment, and
        attainment, and high numbers of
                        high numbers of unemployment?"
                                        unemployment?"

21
21                          Do
                            Do you -- are
                               you -- are you aware of
                                          you aware of all that,
                                                       all that,

22
22      Doctor Alexander, from
        Doctor Alexander, from your own research
                               your own          and
                                        research and

23
23      review, of the
        review, of the challenges faced by
                       challenges faced    this community?
                                        by this community?

24
24            A.
              A.        Yes, I
                        Yes,   am.
                             I am.   And if
                                     And if I
                                            I could just ask
                                              could just ask if
                                                             if you
                                                                you



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1
1       could please
        could        enlarge the
              please enlarge the screen size a
                                 screen size   little bit?
                                             a little bit?
2
2             Q.
              Q.        I
                        I wish
                          wish I
                               I could,
                                 could, but
                                        but I can't.
                                            I can't.

3
3                           MS. GEIST:
                            MS. GEIST:     But perhaps
                                           But perhaps my friend John
                                                       my friend John

4
4       can do
        can do that
               that so
                    so we
                       we can
                          can pop out the
                              pop out the bottom
                                          bottom paragraph.
                                                 paragraph.

5
5             A.
              A.        Yeah, that's
                        Yeah, that's fine.
                                     fine.        Just
                                                  Just going forward, my
                                                       going forward, my

6
6       vision isn't quite
        vision isn't quite what
                           what I
                                I wish it were.
                                  wish it were.               I do agree
                                                              I do agree
7
7       with the --
        with the -- with the question,
                    with the question, which
                                       which was about the
                                             was about the
8
8       -- you
        -- you know, the fact
               know, the fact that
                              that many
                                   many West
                                        West Virginia
                                             Virginia

9
9       residents
        residents have,
                  have, you
                        you know, other potential
                            know, other potential risk
                                                  risk

10
10      factors or
        factors or -
                   - as this puts
                     as this puts it
                                  it -
                                     - "complicating
                                       "complicating risk
                                                     risk
11
11      factors," right.
        factors," right

12
12                          So in some
                            So in some cases,
                                       cases, these
                                              these may
                                                    may predispose
                                                        predispose

13
13      to developing
        to            addiction; and
           developing addiction;     in other
                                 and in other cases,
                                              cases, they
                                                     they
14
14      certainly don't
        certainly       make recovery
                  don't make recovery from
                                      from addiction
                                           addiction

15
15      easier.
        easier.

16
16            Q.
              Q.        Would
                        Would you agree with
                              you agree with me -- and
                                             me -- and this
                                                       this is
                                                            is all
                                                               all
17
17      true of
        true of the
                the residents of Cabell
                    residents of Cabell County/Huntington,
                                        County/Huntington,

18
18      correct?
        correct?

19
19            A.
              A.        Yes, in
                        Yes, in broad
                                broad --
                                      -- in
                                         in broad
                                            broad form.
                                                  form.        I
                                                               I mean,
                                                                 mean,

20
20      the rates
        the rates of
                  of specific
                     specific things
                              things like
                                     like posttraumatic
                                          posttraumatic

21
21      stress or
        stress or intimate
                  intimate partner
                           partner violence may vary
                                   violence may      county
                                                vary county

22
22      to county
        to        but yes,
           county but yes, I think this
                           I think this is
                                        is true
                                           true at both a
                                                at both a
23
23      state and
        state     county level.
              and county level.
24
24            Q.
              Q.        Would
                        Would you agree with
                              you agree with me that both
                                             me that both the
                                                          the


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1
1       problems and challenges
        problems and            in this
                     challenges in this area
                                        area of
                                             of the
                                                the country
                                                    country

2
2       - rural
        - rural Appalachia
                Appalachia -
                           - go
                             go way beyond opioid
                                way beyond opioid use
                                                  use

3
3       disorder or even
        disorder or even substance
                         substance use disorder?
                                   use disorder?

4
4             A.
              A.        Without a doubt.
                        Without a doubt.
5
5             Q.
              Q.        And if
                        And if we look at
                               we look at The
                                          The City of Solutions
                                              City of Solutions
6
6       document that we've
        document that we've been
                            been working through together
                                 working through together
7
7       now, if you
        now, if you go all the
                    go all the way to page
                               way to page 93 of that
                                           93 of that
8
8       document -- have
        document -- have you read before
                         you read before this
                                         this section,
                                              section,
9
9       Doctor Alexander?
        Doctor Alexander?          It's --
                                   It's --

10
10            A.
              A.        As with
                        As      any of
                           with any of the
                                       the hundreds of documents
                                           hundreds of documents

11
11      that I've
        that I've reviewed and relied
                  reviewed and relied upon for my
                                      upon for my report,
                                                  report, I
                                                          I

12
12      can't ascertain
        can't           that I've
              ascertain that I've read every word
                                  read every      of every
                                             word of every
13
13      document, but
        document, but I'm
                      I'm certainly familiar with
                          certainly familiar      this --
                                             with this --
14
14      this important
        this important document,
                       document, and
                                 and I did review
                                     I did        it
                                           review it

15
15      carefully in
        carefully in the
                     the course
                         course of
                                of developing my report.
                                   developing my report.

16
16            Q.
              Q.        Okay.
                        Okay.   And then
                                And then --
                                         -- so
                                            so you
                                               you read
                                                   read here the
                                                        here the

17
17      community's own
        community's own description
                        description that
                                    that while there's
                                         while there's

18
18      strategies described
        strategies described in
                             in their
                                their own
                                      own plan -- "will
                                          plan -- "will
19
19      help
        help reduce both the
             reduce both the supply
                             supply of
                                    of and
                                       and demand for drugs
                                           demand for drugs

20
20      in the
        in the Huntington
               Huntington area, they may
                          area, they may not
                                         not be
                                             be sufficient
                                                sufficient

21
21      for addressing
        for addressing the
                       the opioid
                           opioid crisis
                                  crisis in
                                         in the
                                            the long
                                                long run.
                                                     run.
22
22                          The area's epidemic
                            The area's epidemic emerged
                                                emerged with the
                                                        with the

23
23      statewide decline
        statewide         in the
                  decline in the manufacturing,
                                 manufacturing, coal mining
                                                coal mining

24
24      and construction
        and construction industries."
                         industries."


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1
1                           Are you
                            Are     aware of
                                you aware of all of that?
                                             all of that?
2
2                          MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

3
3             A.
              A.        I am --
                        I am -- I am aware.
                                I am aware.        I
                                                   I mean, there are
                                                     mean, there are very
                                                                     very

4
4       important contextual
        important contextual factors
                             factors that
                                     that have
                                          have helped fuel
                                               helped fuel

5
5       the epidemic
        the epidemic in
                     in Cabell
                        Cabell County
                               County and the City
                                      and the      of
                                              City of

6
6       Huntington, but
        Huntington, but to
                        to make
                           make an
                                an epidemic,
                                   epidemic, it
                                             it doesn't
                                                doesn't

7
7       just take
        just take biology
                  biology and environment; it
                          and environment; it also
                                              also takes
                                                   takes
8
8       supply and
        supply and access.
                   access.
9
9                           And so
                            And so I think these
                                   I think these factors
                                                 factors are
                                                         are very
                                                             very

10
10      important, and
        important, and my
                       my abatement plan is
                          abatement plan is designed to
                                            designed to

11
11      help address them.
        help address them.         I consider things
                                   I consider things like
                                                     like mental
                                                          mental
12
12      illness and
        illness and vocational training and
                    vocational training and homelessness --
                                            homelessness --

13
13      in fact,
        in fact, many
                 many of
                      of the
                         the categories
                             categories that
                                        that you are asking
                                             you are asking
14
14      about and
        about     sort of
              and sort of querying and contrasting
                          querying and contrasting between
                                                   between
15
15      my Ohio
        my Ohio report and my
                report and my West
                              West Virginia
                                   Virginia report, are
                                            report, are

16
16      specifically categories
        specifically            intended to
                     categories intended to address
                                            address these
                                                    these
17
17      very
        very problems.
             problems.

18
18                          So I'm aware
                            So I'm aware of
                                         of these
                                            these problems, and I
                                                  problems, and I

19
19      think that
        think that they're
                   they're important,
                           important, and
                                      and my abatement plan
                                          my abatement plan

20
20      has to be
        has to be informed
                  informed by
                           by them,
                              them, and
                                    and it
                                        it is.
                                           is.
21
21            Q.
              Q.        Now, do
                        Now, do you agree with
                                you agree with me then that
                                               me then that if
                                                            if your
                                                               your

22
22      abatement plan
        abatement plan were to be
                       were to    implemented -
                               be implemented - either
                                                either in
                                                       in
23
23      whole
        whole or in part
              or in      - by
                    part - by the
                              the Court in this
                                  Court in this case, it
                                                case, it

24
24      would
        would not
              not cure or eliminate
                  cure or eliminate opioid
                                    opioid use
                                           use disorder or
                                               disorder or



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1
1       substance use
        substance     disorder generally
                  use disorder           in Cabell
                               generally in Cabell County/
                                                   County/

2
2       Huntington?
        Huntington?

3
3             A.
              A.        Well,
                        Well, I
                              I propose that it
                                propose that it will decrease -- I
                                                will decrease    I

4
4       believe I
        believe I make scientific estimates
                  make scientific estimates based
                                            based on my
                                                  on my

5
5       professional experience that
        professional experience that I think we
                                     I think we can
                                                can

6
6       decrease the number
        decrease the        of people
                     number of people with
                                      with opioid
                                           opioid use
                                                  use

7
7       disorder and with
        disorder and      overdose by
                     with overdose    50 percent
                                   by 50 percent over
                                                 over 15
                                                      15

8
8       years.
        years.

9
9             Q.
              Q.        Understood.
                        Understood.   But my
                                      But my question
                                             question was
                                                      was a little
                                                          a little

10
10      different, so let
        different, so let me try it
                          me try it again.
                                    again.                  Do
                                                            Do you agree
                                                               you agree

11
11      with me that
        with me that even
                     even --
                          -- let's
                             let's assume
                                   assume your
                                          your plan is
                                               plan is

12
12      implemented in
        implemented in full,
                       full, every
                             every aspect
                                   aspect of
                                          of your
                                             your plan is
                                                  plan is

13
13      implemented by
        implemented by the
                       the Court, do you
                           Court, do     agree with
                                     you agree with me that
                                                    me that

14
14      that is
        that is not
                not going to cure
                    going to cure or
                                  or eliminate
                                     eliminate opioid
                                               opioid use
                                                      use

15
15      disorder or substance
        disorder or substance use disorder in
                              use disorder in Cabell
                                              Cabell

16
16      County/Huntington?
        County/Huntington?

17
17            A.
              A.        Yes, I
                        Yes,   agree that
                             I agree that it
                                          it won't
                                             won't 100
                                                   100 percent
                                                       percent

18
18      eliminate all
        eliminate all opioid
                      opioid use
                             use disorder,
                                 disorder, yes.
                                           yes.

19
19            Q.
              Q.        And you
                        And     agree with
                            you agree      me that
                                      with me that there
                                                   there is
                                                         is always
                                                            always
20
20      going to be
        going to be some
                    some level
                         level of opioid use
                               of opioid use disorder or
                                             disorder or

21
21      substance use
        substance     disorder in
                  use disorder in West Virginia and
                                  West Virginia     in
                                                and in

22
22      Cabell
        Cabell County -- at
               County -- at --
                            -- in
                               in part,
                                  part, at
                                        at least,
                                           least, due to
                                                  due to

23
23      the issues
        the issues reflected
                   reflected here in this
                             here in this document
                                          document relating
                                                   relating

24
24      to mental
        to mental health,
                  health, manual employment jobs
                          manual employment jobs and
                                                 and


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1
1       basically poverty
        basically poverty and the loss
                          and the loss of
                                       of industry.
                                          industry.
2
2                           All of
                            All of that
                                   that will impact the
                                        will impact the future
                                                        future of
                                                               of
3
3       this region
        this        of the
             region of the country.
                           country.                True?
                                                   True?

4
4                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.    Outside the
                                                             Outside the
5
5       scope.
        scope.

6
6             A.
              A.        Well, it felt
                        Well, it felt to
                                      to me
                                         me a
                                            a little
                                              little bit
                                                     bit like
                                                         like two
                                                              two
7
7       different
        different questions, but what
                  questions, but what I
                                      I can say is
                                        can say is that
                                                   that I
                                                        I

8
8       think that
        think that poverty,
                   poverty, unemployment, the loss
                            unemployment, the loss of
                                                   of
9
9       manufacturing, the
        manufacturing, the loss
                           loss of
                                of economic
                                   economic opportunity,
                                            opportunity,
10
10      posttraumatic stress, intimate
        posttraumatic stress, intimate partner
                                       partner violence,
                                               violence,

11
11      you
        you know, these are
            know, these are all
                            all important
                                important contextual
                                          contextual
12
12      factors, and
        factors, and my abatement plan
                     my abatement plan was
                                       was not
                                           not designed -
                                               designed -

13
13      nor
        nor was
            was I asked to
                I asked to design
                           design an
                                  an abatement
                                     abatement plan - to
                                               plan - to
14
14      eliminate all
        eliminate all of
                      of these
                         these entirely.
                               entirely.
15
15            Q.
              Q.        Right.
                        Right.   And you
                                 And     agree that
                                     you agree that no abatement
                                                    no abatement

16
16      plan could eliminate
        plan could eliminate all
                             all of
                                 of these
                                    these structural
                                          structural issues
                                                     issues
17
17      in this
        in this --
                -- in
                   in this
                      this area
                           area of
                                of the
                                   the country.
                                       country.                Agree?
                                                               Agree?

18
18            A.
              A.        Or --
                        Or -- or
                              or anywhere.
                                 anywhere.         I mean, you're
                                                   I mean, you're not
                                                                  not

19
19      gonna eliminate them.
        gonna eliminate them.           The idea is
                                        The idea is --
                                                    -- the
                                                       the idea
                                                           idea is
                                                                is
20
20      not to eliminate
        not to eliminate them;
                         them; the
                               the idea
                                   idea is
                                        is to
                                           to mitigate
                                              mitigate the
                                                       the
21
21      impact of
        impact of these
                  these on
                        on --
                           -- on
                              on --
                                 -- on
                                    on the
                                       the population as it
                                           population as it
22
22      manifests through
        manifests through addiction and through
                          addiction and through overdose.
                                                overdose.

23
23                          And again,
                            And again, that's
                                       that's why there are
                                              why there are so
                                                            so
24
24      many strategies
        many strategies that
                        that are
                             are needed, and they
                                 needed, and they need to
                                                  need to



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1
1       be deployed
        be          simultaneously and
           deployed simultaneously and with a lot
                                       with a lot of
                                                  of
2
2       resources behind them.
        resources behind them.
3
3             Q.
              Q.        And due
                        And     to either
                            due to either the
                                          the mental
                                              mental health issues
                                                     health issues

4
4       in the
        in the region or the
               region or the poverty
                             poverty or
                                     or their
                                        their loss
                                              loss of
                                                   of jobs,
                                                      jobs,
5
5       some individuals
        some individuals in
                         in Cabell
                            Cabell County/Huntington
                                   County/Huntington will
                                                     will

6
6       always turn
        always turn to
                    to drug
                       drug use for a
                            use for a variety of reasons.
                                      variety of reasons.

7
7       Is that correct?
        Is that correct?

8
8             A.
              A.        Well, these --
                        Well, these -- I mean, these
                                       I mean, these are
                                                     are --
                                                         -- there
                                                            there
9
9       are complex
        are complex determinants of addiction,
                    determinants of addiction, as
                                               as I think
                                                  I think

10
10      other experts
        other experts have opined, and
                      have opined, and as
                                       as I
                                          I would
                                            would submit.
                                                  submit.

11
11      And so
        And so --
               -- people
                  people don't
                         don't develop addiction because
                               develop addiction because of
                                                         of
12
12      X.
        X.    There are complex
              There are complex determinants.
                                determinants.

13
13                          But I
                            But   think most
                                I think most broadly,
                                             broadly, I find it
                                                      I find it
14
14      helpful to think
        helpful to think about
                         about the
                               the biologic or genetic
                                   biologic or genetic

15
15      determinants, the social,
        determinants, the         economic, psychological
                          social, economic, psychological

16
16      determinants
        determinants and then the
                     and then the issue
                                  issue of
                                        of supply
                                           supply and
                                                  and

17
17      access.
        access.

18
18                          And so
                            And so that's
                                   that's --
                                          -- that's,
                                             that's, I
                                                     I guess, the
                                                       guess, the

19
19      framework that
        framework that I
                       I use.
                         use.

20
20            Q.
              Q.        And because
                        And         of all
                            because of all of
                                           of these
                                              these complex
                                                    complex

21
21      determinants that we've
        determinants that       been discussing,
                          we've been discussing, do
                                                 do you
                                                    you

22
22      agree with
        agree      me that
              with me that there
                           there are individuals who,
                                 are individuals who,

23
23      today, do
        today, do not
                  not have opioid use
                      have opioid use disorder or even
                                      disorder or even
24
24      substance use
        substance     disorder, but
                  use disorder, but will develop opioid
                                    will develop opioid use
                                                        use



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1
1       disorder or substance
        disorder or substance use disorder at
                              use disorder    some time
                                           at some time in
                                                        in
2
2       the future?
        the future?
3
3             A.
              A.        Yes, I
                        Yes, I hope far fewer
                               hope far fewer than
                                              than --
                                                   -- I
                                                      I hope
                                                        hope with
                                                             with

4
4       an abatement
        an abatement plan, and I
                     plan, and   think with
                               I think      an abatement
                                       with an abatement
5
5       plan, far fewer
        plan, far fewer than
                        than would otherwise.
                             would otherwise.

6
6                          But yes,
                           But yes, I think there
                                    I think there will be some
                                                  will be some
7
7       individuals that
        individuals that develop opioid use
                         develop opioid use disorder or
                                            disorder or

8
8       other substance
        other substance use
                        use disorders
                            disorders down the road
                                      down the road

9
9       regardless.
        regardless.

10
10            Q.
              Q.        Okay.
                        Okay.   And certainly
                                And           this will
                                    certainly this will occur
                                                        occur within
                                                              within

11
11      the next
        the next 15
                 15 years,
                    years, which is the
                           which is the time
                                        time frame
                                             frame that
                                                   that
12
12      you're proposing for
        you're proposing for the
                             the implementation
                                 implementation of
                                                of your
                                                   your

13
13      abatement plan.
        abatement plan.          Correct?
                                 Correct?

14
14                          In other words,
                            In other        there will
                                     words, there will be
                                                       be

15
15      individuals who,
        individuals      today, do
                    who, today, do not
                                   not have opioid use
                                       have opioid use

16
16      disorder, do
        disorder, do not
                     not have substance use
                         have substance     disorder, but
                                        use disorder, but
17
17      they will
        they will develop either one
                  develop either one or
                                     or the
                                        the other
                                            other within
                                                  within

18
18      the next
        the next 15
                 15 years,
                    years, which is the
                           which is the time
                                        time frame
                                             frame for
                                                   for your
                                                       your

19
19      abatement plan.
        abatement plan.          True?
                                 True?

20
20            A.
              A.        Yeah, I
                        Yeah,   mean, there
                              I mean, there are
                                            are --
                                                -- there
                                                   there are
                                                         are many
                                                             many

21
21      people that are
        people that are taking
                        taking opioids chronically right
                               opioids chronically right

22
22      now in Cabell
        now in Cabell County and the
                      County and the City of Huntington.
                                     City of Huntington.                I
                                                                        I

23
23      mean, there
        mean, there are
                    are still
                        still an
                              an enormous
                                 enormous volume of opioids
                                          volume of opioids
24
24      that are
        that are prescribed
                 prescribed by licensed prescribers,
                            by licensed              and
                                        prescribers, and



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1
1       some of
        some of these
                these individuals
                      individuals may
                                  may develop addiction in
                                      develop addiction in
2
2       a month
        a month or
                or a
                   a year.
                     year.

3
3                           So absolutely, I
                            So absolutely,   think that
                                           I think that there
                                                        there are
                                                              are

4
4       some individuals
        some individuals that
                         that don't
                              don't have addiction today
                                    have addiction today
5
5       that may
        that may develop
                 develop addiction
                         addiction down the road,
                                   down the       even if
                                            road, even if
6
6       the abatement
        the abatement plan
                      plan is
                           is deployed.
                              deployed.

7
7             Q.
              Q.        And do
                        And do you also agree
                               you also agree with me that
                                              with me that some
                                                           some of
                                                                of
8
8       the individuals
        the individuals in
                        in Cabell
                           Cabell County/Huntington
                                  County/Huntington who are
                                                    who are

9
9       being prescribed
        being            opioids under
              prescribed opioids       the care
                                 under the care and
                                                and

10
10      treatment of
        treatment of a
                     a physician
                       physician and are using
                                 and are       them as
                                         using them as

11
11      prescribed
        prescribed will not develop
                   will not         opioid use
                            develop opioid use disorder.
                                               disorder.

12
12      True?
        True?

13
13            A.
              A.        Yes, I
                        Yes,   believe that's
                             I believe that's the
                                              the case
                                                  case also.
                                                       also.         Not
                                                                     Not

14
14      everybody develops
        everybody          addiction.
                  develops addiction.                Although I
                                                     Although I would say
                                                                would say

15
15      that there's
        that there's still many, many
                     still many, many people that are
                                      people that     on
                                                  are on

16
16      prescription opioids chronically
        prescription opioids chronically that
                                         that shouldn't
                                              shouldn't be
                                                        be
17
17      on them.
        on them.
18
18                          So it's not
                            So it's not just
                                        just like,
                                             like, "Well,
                                                   "Well, if
                                                          if you
                                                             you

19
19      don't
        don't develop addiction, then
              develop addiction, then there's
                                      there's no
                                              no sweat
                                                 sweat with
                                                       with

20
20      being on
        being    them."
              on them."         They're actually not
                                They're actually     only pretty
                                                 not only pretty
21
21      unsafe - or
        unsafe - or very
                    very unsafe in many
                         unsafe in      settings -
                                   many settings - they're
                                                   they're
22
22      not that effective
        not that effective for
                           for the
                               the treatment
                                   treatment of
                                             of chronic
                                                chronic

23
23      pain.
        pain.

24
24                          So -- but
                            So -- but yes,
                                      yes, I
                                           I agree
                                             agree with
                                                   with your --
                                                        your --



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1
1       your
        your point.
             point.

2
2             Q.
              Q.        Do
                        Do you also agree
                           you also agree with
                                          with me that there's
                                               me that there's
3
3       individuals today
        individuals today who are not
                          who are not using
                                      using prescription
                                            prescription

4
4       opioids but
        opioids but who may develop
                    who may         opioid use
                            develop opioid use disorder or
                                               disorder or

5
5       substance use
        substance     disorder generally
                  use disorder generally within the next
                                         within the next 15
                                                         15

6
6       years in Cabell
        years in Cabell County/Huntington?
                        County/Huntington?
7
7             A.
              A.        I do, yes.
                        I do, yes.

8
8             Q.
              Q.        Okay.
                        Okay.   So there
                                So there is
                                         is -- we
                                               we know and expect
                                                  know and expect -
9
9       just from
        just from the
                  the nature
                      nature of
                             of addiction
                                addiction and
                                          and the
                                              the
10
10      conditions in
        conditions in Cabell County/Huntington -
                      Cabell County/Huntington - that
                                                 that
11
11      within the next
        within the next 15
                        15 years, there will
                           years, there will be
                                             be new addicts
                                                new addicts

12
12      who are not
        who are not yet
                    yet using any type
                        using any type of
                                       of opioid
                                          opioid today.
                                                 today.
13
13      True?
        True?

14
14            A.
              A.        Well,
                        Well, I mean, I
                              I mean,   -- I
                                      I --   try to
                                           I try to avoid
                                                    avoid the
                                                          the term
                                                              term
15
15      "addicts" because
        "addicts" because I think it's
                          I think it's a
                                       a bit
                                         bit stigmatizing,
                                             stigmatizing,
16
16      but the
        but the bottom line is
                bottom line is I think there
                               I think there will
                                             will be new
                                                  be new

17
17      people
        people who develop addiction,
               who develop addiction, yes.
                                      yes.

18
18            Q.
              Q.        Okay.
                        Okay.   Including opioid
                                Including opioid use
                                                 use disorder
                                                     disorder who
                                                              who

19
19      are not
        are not using currently, correct?
                using currently, correct?

20
20            A.
              A.        Yes.
                        Yes.    Yes.
                                Yes.

21
21            Q.
              Q.        And those
                        And those individuals
                                  individuals --
                                              -- looking
                                                 looking forward,
                                                         forward,
22
22      these individuals,
        these individuals, in
                           in the
                              the next
                                  next 15
                                       15 years,
                                          years, would
                                                 would be
                                                       be

23
23      beneficiaries if
        beneficiaries if your abatement plan
                         your abatement      is put
                                        plan is     in
                                                put in

24
24      place in whole
        place in       or in
                 whole or in part,
                             part, correct?
                                   correct?



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1
1             A.
              A.        Well,
                        Well, I mean, I
                              I mean,   think we
                                      I think we discussed this a
                                                 discussed this a

2
2       little bit
        little bit in
                   in different
                      different contexts.
                                contexts.                   But I
                                                            But I guess
                                                                  guess I'd
                                                                        I'd

3
3       like to
        like to make two points.
                make two points.            One is
                                            One is that
                                                   that we talked a
                                                        we talked a
4
4       little bit
        little bit already
                   already about
                           about how the prescription
                                 how the prescription
5
5       opioid market
        opioid market affects
                      affects heroin markets, so
                              heroin markets, so I'm not --
                                                 I'm not

6
6       while
        while I
              I wasn't asked to
                wasn't asked to focus
                                focus on this in
                                      on this in my
                                                 my report,
                                                    report,

7
7       I think it's
        I think it's worth
                     worth noting that --
                           noting that -- that
                                          that --
                                               -- that
                                                  that
8
8       heroin markets are
        heroin markets are impacted
                           impacted by
                                    by demand
                                       demand for
                                              for opioids,
                                                  opioids,
9
9       even among
        even among individuals
                   individuals that
                               that may
                                    may have
                                        have an
                                             an opioid
                                                opioid use
                                                       use

10
10      disorder that originated
        disorder that originated from
                                 from prescription drugs.
                                      prescription drugs.

11
11                         But --
                           But -- but
                                  but with
                                      with respect to whether
                                           respect to whether

12
12      they'll be
        they'll    beneficiaries that,
                be beneficiaries that, you
                                       you know, of my
                                           know, of my plan
                                                       plan

13
13      that didn't
        that didn't develop opioid addiction
                    develop opioid addiction because of
                                             because of

14
14      prescription opioids, I
        prescription opioids,   think that
                              I think that too
                                           too we
                                               we discussed
                                                  discussed

15
15      previously, and I
        previously, and   think my
                        I think my --
                                   -- my response is
                                      my response is that
                                                     that
16
16      my plan
        my      is --
           plan is -- was
                      was not focused --
                          not focused -- I
                                         I didn't try to
                                           didn't try to
17
17      disaggregate
        disaggregate my plan based
                     my plan based on
                                   on whether or not
                                      whether or not

18
18      someone was
        someone     currently using
                was currently       prescription opioids
                              using prescription opioids or
                                                         or
19
19      heroin or fentanyl.
        heroin or fentanyl.
20
20                          It's just not
                            It's just     the way
                                      not the     - from
                                              way - from a
                                                         a public
                                                           public

21
21      health perspective -
        health perspective - that
                             that one
                                  one tackles
                                      tackles this
                                              this type
                                                   type of
                                                        of
22
22      problem in a
        problem in a community.
                     community.            We
                                           We would
                                              would never turn
                                                    never turn

23
23      someone away
        someone away from
                     from an emergency department
                          an emergency department and say,
                                                  and say,

24
24      "Well, you
        "Well, you know,
                   know, you're a heroin
                         you're a heroin user.
                                         user.                   If it was
                                                                 If it was



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1
1       prescription opioids, I've
        prescription opioids, I've got a phone
                                   got a phone number for
                                               number for

2
2       you, but since
        you, but since it's
                       it's heroin,
                            heroin, we're
                                    we're not gonna offer
                                          not gonna offer
3
3       it."
        it."

4
4                           And frankly,
                            And frankly, many
                                         many people that use
                                              people that use

5
5       heroin and fentanyl
        heroin and fentanyl illicitly,
                            illicitly, they
                                       they started
                                            started with
                                                    with

6
6       prescription opioids, the
        prescription opioids, the majority.
                                  majority.                  So -- so
                                                             So -- so I
                                                                      I

7
7       didn't disaggregate those
        didn't disaggregate those components
                                  components in
                                             in my plan.
                                                my plan.

8
8             Q.
              Q.        Okay.
                        Okay.   I just wanted
                                I just        to make
                                       wanted to make sure
                                                      sure I
                                                           I

9
9       understood
        understood your answer, because
                   your answer, because it
                                        it was a little
                                           was a little
10
10      long.
        long.

11
11            A.
              A.        All right.
                        All right.

12
12            Q.
              Q.        My question
                        My question was:
                                    was:       Going forward, if
                                               Going forward, if
13
13      individuals today
        individuals today in
                          in Cabell
                             Cabell County/Huntington,
                                    County/Huntington, they
                                                       they
14
14      do
        do not
           not have opioid use
               have opioid use disorder, they do
                               disorder, they do not
                                                 not have
                                                     have

15
15      substance use
        substance     disorder, they
                  use disorder, they are
                                     are not
                                         not using
                                             using

16
16      prescription opioids, you
        prescription opioids,     agree with
                              you agree with me that those
                                             me that those
17
17      individuals --
        individuals -- there
                       there are
                             are individuals
                                 individuals with those
                                             with those

18
18      facts who
        facts who may at some
                  may at some point in the
                              point in the future
                                           future develop
                                                  develop

19
19      opioid use
        opioid     disorder who
               use disorder who would
                                would be beneficiaries of
                                      be beneficiaries of

20
20      your
        your 15-year
             15-year plan
                     plan should it be
                          should it be put
                                       put in
                                           in place.
                                              place.
21
21            A.
              A.        Yes, there
                        Yes, there are,
                                   are, and
                                        and I believe they
                                            I believe they should
                                                           should
22
22      be included
        be included in
                    in my
                       my plan for reasons
                          plan for         that I've
                                   reasons that I've

23
23      articulated.
        articulated.

24
24            Q.
              Q.        Okay.
                        Okay.   And this
                                And this would also --
                                         would also -- just
                                                       just to
                                                            to be
                                                               be



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1
1       clear, Doctor
        clear,        Alexander.
               Doctor Alexander.             I think you
                                             I think     answered
                                                     you answered

2
2       this, but
        this, but I
                  I want to make
                    want to make sure
                                 sure I
                                      I understand it.
                                        understand it.

3
3       This
        This would include individuals
             would include individuals who
                                       who never touched a
                                           never touched a

4
4       prescription opioid, and
        prescription opioid, and in
                                 in the
                                    the future,
                                        future, they
                                                they may
                                                     may
5
5       start using
        start using heroin or fentanyl
                    heroin or fentanyl or
                                       or carfentanil
                                          carfentanil and
                                                      and
6
6       develop opioid use
        develop opioid     disorders.
                       use disorders.

7
7                           Those individuals would
                            Those individuals       also be
                                              would also be

8
8       beneficiaries of
        beneficiaries of your
                         your 15-year
                              15-year abatement
                                      abatement plan should
                                                plan should

9
9       that be
        that be put in place,
                put in        correct?
                       place, correct?

10
10            A.
              A.        Yes, they
                        Yes, they would
                                  would be beneficiaries, and
                                        be beneficiaries, and I
                                                              I

11
11      believe they
        believe they should
                     should be included in
                            be included in my plan for
                                           my plan for
12
12      reasons that I've
        reasons that I've already explained.
                          already explained.

13
13            Q.
              Q.        By the
                        By the way,
                               way, I forgot to
                                    I forgot to ask
                                                ask you this --
                                                    you this -- we
                                                                we

14
14      will
        will get to it
             get to it later,
                       later, but
                              but in
                                  in terms
                                     terms of the component
                                           of the component

15
15      parts -- but
        parts -- but we've been talking
                     we've been talking about
                                        about your
                                              your plan a
                                                   plan a

16
16      lot.
        lot.       Are you
                   Are     aware and
                       you aware and familiar
                                     familiar with the estimate,
                                              with the estimate,
17
17      the cost
        the cost estimate,
                 estimate, to
                           to implement
                              implement all
                                        all of
                                            of the
                                               the
18
18      interventions and
        interventions and programs that you're
                          programs that you're proposing in
                                               proposing in

19
19      your
        your plan over a
             plan over a 15-year time period?
                         15-year time period?

20
20            A.
              A.        Yes, at
                        Yes, at a
                                a high level, I
                                  high level,   am.
                                              I am.

21
21            Q.
              Q.        Okay.
                        Okay.   How much?
                                How much?

22
22            A.
              A.        I believe it
                        I believe it was between 2.6
                                     was between 2.6 and
                                                     and 2.7
                                                         2.7

23
23      billion, with
        billion,      a B.
                 with a B.
24
24            Q.
              Q.        And that's
                        And that's just
                                   just for
                                        for Cabell
                                            Cabell County/
                                                   County/



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1
1       Huntington, correct?
        Huntington, correct?
2
2             A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
3
3             Q.
              Q.        Now, going
                        Now, going back
                                   back briefly to The
                                        briefly to The City of
                                                       City of

4
4       Solutions document
        Solutions          that we
                  document that we were
                                   were discussing
                                        discussing

5
5       together, that
        together, that document - if
                       document - if you flip a
                                     you flip a little
                                                little bit
                                                       bit

6
6       forward to
        forward to page
                   page 31
                        31 with me -
                           with me - that
                                     that talks
                                          talks about a
                                                about a

7
7       program that the
        program that the community
                         community has
                                   has had in place
                                       had in place called
                                                    called

8
8       WEAR,
        WEAR, W-E-A-R, all caps,
              W-E-A-R, all caps, and it's within
                                 and it's        a section
                                          within a section
9
9       talking about
        talking about the
                      the Drug
                          Drug Court in general.
                               Court in general.

10
10                          And do
                            And do you
                                   you know
                                       know what
                                            what WEAR stands for,
                                                 WEAR stands for,
11
11      Doctor Alexander?
        Doctor Alexander?

12
12            A.
              A.        I don't, but
                        I don't, but I'm quite familiar
                                     I'm quite familiar with the
                                                        with the

13
13      Drug
        Drug Court itself.
             Court itself.           But I
                                     But   don't know
                                         I don't know what the
                                                      what the

14
14      acronym stands
        acronym stands for.
                       for.
15
15            Q.
              Q.        Okay.
                        Okay.   Well, there's Drug
                                Well, there's Drug Court,
                                                   Court, and then
                                                          and then

16
16      there's a
        there's   separate program
                a separate program for
                                   for women titled WEAR,
                                       women titled WEAR,

17
17      W-E-A-R.
        W-E-A-R.         Are you
                         Are     familiar with
                             you familiar      that program?
                                          with that program?

18
18            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

19
19            Q.
              Q.        And is
                        And is --
                               -- is
                                  is there
                                     there also
                                           also a
                                                a separate juvenile
                                                  separate juvenile

20
20      Drug
        Drug Court?
             Court?

21
21            A.
              A.        I believe so,
                        I believe so, but
                                      but I'm
                                          I'm not
                                              not positive.
                                                  positive.      I can
                                                                 I can

22
22      certainly say
        certainly say that
                      that having reviewed drug
                           having reviewed drug courts
                                                courts and
                                                       and

23
23      their performance,
        their performance, I -- I
                           I --   think it's
                                I think it's an important
                                             an important

24
24      part of --
        part of -- of
                   of abatement
                      abatement for
                                for this
                                    this community.
                                         community.


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1
1             Q.
              Q.        And I
                        And   assume, based
                            I assume,       on your
                                      based on your prior answer,
                                                    prior answer,

2
2       you did not
        you did     investigate or
                not investigate or research
                                   research who
                                            who provides
                                                provides

3
3       the funding
        the funding for
                    for the
                        the Drug
                            Drug Court, the juvenile
                                 Court, the juvenile Drug
                                                     Drug

4
4       Court, and WEAR;
        Court, and       is that
                   WEAR; is that correct?
                                 correct?

5
5             A.
              A.        Yeah, I
                        Yeah, I was not asked
                                was not asked to
                                              to examine
                                                 examine the
                                                         the
6
6       sources of
        sources of funding
                   funding for
                           for currently-existing
                               currently-existing programs.
                                                  programs.

7
7             Q.
              Q.        Okay.
                        Okay.   Why
                                Why don't
                                    don't you
                                          you go
                                              go with me, please,
                                                 with me,         to
                                                          please, to

8
8       page
        page 33 of The
             33 of The City of Solutions
                       City of           document.
                               Solutions document.                  And
                                                                    And

9
9       there it
        there it talks
                 talks about
                       about CCSAPP.
                             CCSAPP.                What
                                                    What does that stand
                                                         does that stand
10
10      for, if
        for, if you
                you know?
                    know?

11
11            A.
              A.        Well, it's provided
                        Well, it's provided here on the
                                            here on the document
                                                        document

12
12      itself.
        itself.         But it's
                        But it's the
                                 the Cabell
                                     Cabell County Substance Abuse
                                            County Substance Abuse
13
13      Prevention Partnership.
        Prevention Partnership.
14
14            Q.
              Q.        Okay.
                        Okay.   And would
                                And would you
                                          you agree
                                              agree with me that's
                                                    with me that's
15
15      an example
        an example of
                   of an
                      an excellent
                         excellent comprehensive
                                   comprehensive

16
16      collaborative approach
        collaborative approach to
                               to the
                                  the problem in Cabell
                                      problem in Cabell

17
17      County?
        County?

18
18                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

19
19            A.
              A.        I mean, those
                        I mean, those are
                                      are your
                                          your words.
                                               words.           I
                                                                I wouldn't
                                                                  wouldn't

20
20      -- I
        -- I wouldn't
             wouldn't want to characterize.
                      want to characterize.                  Again, I
                                                             Again, I

21
21      wasn't asked to
        wasn't asked to perform
                        perform a
                                a comprehensive
                                  comprehensive review
                                                review or
                                                       or

22
22      evaluation or
        evaluation or sort
                      sort of
                           of give a grade
                              give a       to any
                                     grade to any specific
                                                  specific

23
23      program.
        program.

24
24            Q.
              Q.        Well,
                        Well, you talk a
                              you talk a lot
                                         lot about the importance
                                             about the importance


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1
1       of community
        of community coalitions in your
                     coalitions in      own plan,
                                   your own plan, don't
                                                  don't

2
2       you?
        you?

3
3              A.
               A.       I do.
                        I do.   I think they
                                I think they are
                                             are important.
                                                 important.    You
                                                               You

4
4       know, the fabric
        know, the fabric of
                         of this
                            this community
                                 community has
                                           has been
                                               been

5
5       shredded in
        shredded in some
                    some ways,
                         ways, so
                               so I think that
                                  I think that these
                                               these types
                                                     types
6
6       of coalitions
        of            do play
           coalitions do      an important
                         play an important role
                                           role in
                                                in

7
7       communities such
        communities such as
                         as this.
                            this.
8
8              Q.
               Q.       Okay.
                        Okay.   And this
                                And this is
                                         is an
                                            an example
                                               example of
                                                       of one
                                                          one of
                                                              of
9
9       those coalitions
        those            that you
              coalitions that     suggest in
                              you suggest in your
                                             your plan,
                                                  plan,

10
10      true?
        true?

11
11             A.
               A.       Yes, it
                        Yes, it is.
                                is.
12
12             Q.
               Q.       Okay.
                        Okay.   And what
                                And what does -- what
                                         does --      does the
                                                 what does the
13
13      Cabell
        Cabell County Substance Abuse
               County Substance Abuse Prevention
                                      Prevention
14
14      Partnership do?
        Partnership do?

15
15             A.
               A.       I
                        I would
                          would want to look
                                want to look at this in
                                             at this in more
                                                        more
16
16      detail.
        detail.         If that's
                        If that's helpful, I'm happy
                                  helpful, I'm       to do
                                               happy to do so
                                                           so with
                                                              with

17
17      you.
        you.

18
18             Q.
               Q.       I just wanted
                        I just        to know
                               wanted to      if you
                                         know if     could tell
                                                 you could tell me
                                                                me

19
19      sitting here
        sitting here as
                     as we talk about
                        we talk about CCSAPP?
                                      CCSAPP?

20
20             A.
               A.       Well,
                        Well, generally these type
                              generally these type of
                                                   of community
                                                      community

21
21      coalitions are
        coalitions are important
                       important because they help
                                 because they      to
                                              help to

22
22      support primary
        support         prevention within
                primary prevention        communities, and
                                   within communities, and

23
23      so if
        so if we look, for
              we look, for example,
                           example, at
                                    at my
                                       my report and the
                                          report and the
24
24      reasons that I
        reasons that   argue that
                     I argue that community
                                  community coalitions
                                            coalitions are
                                                       are



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1
1       important, it's
        important, it's because
                        because they
                                they represent an important
                                     represent an important
2
2       stakeholder and
        stakeholder and they
                        they can
                             can provide opportunities for
                                 provide opportunities for
3
3       youth that may
        youth that may otherwise
                       otherwise be
                                 be hanging out and
                                    hanging out and be
                                                    be more
                                                       more

4
4       likely to
        likely to use products nonmedically
                  use products              or to
                               nonmedically or to get into
                                                  get into

5
5       trouble.
        trouble.

6
6                           They
                            They provide, oftentimes, community
                                 provide, oftentimes, community

7
7       meeting spaces.
        meeting spaces.         They
                                They can serve as
                                     can serve as a
                                                  a venue for the
                                                    venue for the
8
8       conduct of
        conduct of media
                   media campaigns
                         campaigns and
                                   and social
                                       social marketing
                                              marketing
9
9       campaigns.
        campaigns.         They
                           They provide linkages, essentially,
                                provide linkages, essentially,
10
10      between different
        between           organizations and
                different organizations and so
                                            so --
                                               --
11
11            Q.
              Q.        And so
                        And    -- I'm
                            so -- I'm sorry.
                                      sorry          Were
                                                     Were you finished.
                                                          you finished.

12
12            A.
              A.        Well -- and
                        Well -- and so
                                    so --
                                       -- I
                                          I was just going
                                            was just going to
                                                           to say
                                                              say

13
13      in closing
        in         that they
           closing that they help to --
                             help to -- they
                                        they help to weave
                                             help to weave

14
14      a fabric
        a fabric that
                 that can
                      can help
                          help build
                               build resiliency
                                     resiliency within
                                                within

15
15      different communities.
        different communities.

16
16            Q.
              Q.        Now, I
                        Now,   actually didn't
                             I actually didn't want to talk
                                               want to talk about
                                                            about
17
17      these programs
        these          or coalitions
              programs or            in general;
                          coalitions in general; I
                                                 I wanted
                                                   wanted

18
18      to ask
        to ask you
               you what
                   what you
                        you could tell me
                            could tell me about
                                          about this
                                                this
19
19      particular Cabell County
        particular Cabell County coalition
                                 coalition and
                                           and what they
                                               what they

20
20      did or what
        did or      they provide.
               what they provide.

21
21            A.
              A.        Yeah, well,
                        Yeah, well, I think that
                                    I think that they
                                                 they provide
                                                      provide --

22
22      again, it's
        again, it's been
                    been a
                         a while
                           while since
                                 since I've looked at
                                       I've looked at this
                                                      this
23
23      document and considered
        document and            this particular
                     considered this particular coalition,
                                                coalition,

24
24      but my
        but my guess
               guess is
                     is that
                        that they
                             they provide
                                  provide some
                                          some of
                                               of the
                                                  the types
                                                      types


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1
1       of services
        of services and
                    and opportunities
                        opportunities that
                                      that I've just
                                           I've just

2
2       discussed.
        discussed.

3
3             Q.
              Q.        And are
                        And are you aware that
                                you aware that they
                                               they are funded
                                                    are funded

4
4       through Federal
        through         funding, SAMHSA
                Federal funding, SAMHSA and
                                        and otherwise?
                                            otherwise?
5
5             A.
              A.        Again, I
                        Again, I was
                                 was not asked to
                                     not asked to examine
                                                  examine the
                                                          the
6
6       funding of
        funding of different
                   different organizations.
                             organizations.
7
7             Q.
              Q.        And other
                        And other than
                                  than providing those top-level
                                       providing those top-level
8
8       generalities, can you
        generalities, can you give
                              give me
                                   me any specifics about
                                      any specifics about
9
9       what the Cabell
        what the Cabell County
                        County Substance Abuse Prevention
                               Substance Abuse Prevention
10
10      Partnership does
        Partnership      for the
                    does for the community?
                                 community?

11
11                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.    Outside the
                                                             Outside the
12
12      scope.
        scope.

13
13            A.
              A.        Yeah, I
                        Yeah,   think I've
                              I think I've hopefully given you
                                           hopefully given     a
                                                           you a

14
14      sense of
        sense of the
                 the role that I
                     role that   think these
                               I think these organizations
                                             organizations
15
15      play and the
        play and the --
                     -- the
                        the importance
                            importance that
                                       that they
                                            they can
                                                 can serve
                                                     serve
16
16      in helping
        in         to promote
           helping to promote primary
                              primary prevention and reduce
                                      prevention and reduce
17
17      the likelihood
        the likelihood that
                       that people
                            people develop
                                   develop substance
                                           substance use
                                                     use

18
18      disorders.
        disorders.

19
19            Q.
              Q.        Doctor Alexander, what
                        Doctor Alexander, what can
                                               can you tell me
                                                   you tell me
20
20      about the
        about the LEAD
                  LEAD program?
                       program?

21
21            A.
              A.        Very --
                        Very --
22
22            Q.
              Q.        In
                        In Cabell
                           Cabell County.
                                  County.        Not in
                                                 Not in --
                                                        -- and
                                                           and again,
                                                               again, I
                                                                      I

23
23      would like you
        would like     to be
                   you to    specific about
                          be specific       the LEAD
                                      about the LEAD

24
24      program in Cabell
        program in Cabell County/Huntington if you
                          County/Huntington if     can do
                                               you can do



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1
1       that.
        that.

2
2             A.
              A.        Sure.
                        Sure.   And are
                                And are you referring to
                                        you referring to a
                                                         a
3
3       particular place in
        particular place in this
                            this report?
                                 report?                     Or no?
                                                             Or no?

4
4             Q.
              Q.        I'm just
                        I'm just asking
                                 asking you
                                        you generally if you
                                            generally if you can
                                                             can

5
5       tell me
        tell me what
                what you
                     you know about what
                         know about      the LEAD
                                    what the LEAD program
                                                  program

6
6       provides for the
        provides for the community
                         community in
                                   in Cabell
                                      Cabell County.
                                             County.

7
7             A.
              A.        Sure, sure.
                        Sure, sure.    So LEAD
                                       So LEAD stands for Law
                                               stands for Law

8
8       Enforcement Assisted
        Enforcement Assisted Diversion, and this
                             Diversion, and this is
                                                 is a -- an
                                                    a -- an

9
9       important means
        important       of diverting
                  means of diverting nonviolent
                                     nonviolent offenders
                                                offenders

10
10      from the
        from the criminal
                 criminal justice
                          justice system.
                                  system.
11
11                          So individuals that
                            So individuals that have opioid use
                                                have opioid use

12
12      disorder or other
        disorder or other substance
                          substance use
                                    use disorders that may
                                        disorders that may

13
13      engage in
        engage in nonviolent crimes, property
                  nonviolent crimes,          theft, for
                                     property theft, for
14
14      example, the
        example, the LEAD
                     LEAD program provides an
                          program provides    opportunity
                                           an opportunity

15
15      for these
        for these individuals
                  individuals to
                              to enter
                                 enter treatment
                                       treatment rather
                                                 rather

16
16      than go
        than    to jail.
             go to jail.
17
17                          And it's
                            And it's a
                                     a brilliant
                                       brilliant --
                                                 -- I
                                                    I mean, it's
                                                      mean, it's

18
18      an important
        an important program that is,
                     program that is, unfortunately,
                                      unfortunately,

19
19      underutilized in some
        underutilized in some parts of the
                              parts of the country, and it
                                           country, and it
20
20      gives
        gives people
              people a second chance.
                     a second chance.                 And it
                                                      And it recognizes
                                                             recognizes
21
21      that no
        that    one chooses
             no one chooses to
                            to have addiction any
                               have addiction any more
                                                  more so
                                                       so

22
22      than they
        than they choose
                  choose to
                         to have
                            have colon cancer or
                                 colon cancer or multiple
                                                 multiple
23
23      sclerosis.
        sclerosis.

24
24                          So it gives
                            So it gives people that second
                                        people that second chance
                                                           chance



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1
1       by allowing
        by allowing them
                    them to
                         to be
                            be processed through the
                               processed through the
2
2       treatment system
        treatment system rather than the
                         rather than the criminal
                                         criminal justice
                                                  justice
3
3       system.
        system.

4
4             Q.
              Q.        How successful
                        How successful has the LEAD
                                       has the LEAD program been in
                                                    program been in
5
5       Cabell
        Cabell County?
               County?

6
6                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

7
7             A.
              A.        Again, I
                        Again, I wasn't asked to
                                 wasn't asked to provide
                                                 provide -- you
                                                            you

8
8       know,
        know, I
              I wasn't asked to
                wasn't asked to provide
                                provide a -- I
                                        a -- I wasn't asked
                                               wasn't asked

9
9       to provide
        to         an estimate
           provide an estimate or an evaluation
                               or an evaluation of -- of
                                                of -- of
10
10      any specific
        any specific program regarding their
                     program regarding their --
                                             -- their
                                                their
11
11      success, but
        success, but I
                     I did
                       did review,
                           review, you
                                   you know,
                                       know, dozens or
                                             dozens or

12
12      hundreds of documents,
        hundreds of documents, and some of
                               and some of them
                                           them included
                                                included
13
13      information on
        information on the
                       the performance
                           performance of
                                       of these
                                          these different
                                                different

14
14      programs.
        programs.

15
15            Q.
              Q.        But sitting
                        But sitting here today, you
                                    here today, you are
                                                    are unable to
                                                        unable to

16
16      tell me
        tell me any
                any specifics
                    specifics about
                              about the
                                    the success
                                        success of the LEAD
                                                of the LEAD

17
17      program in Cabell
        program in Cabell County?
                          County?

18
18                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

19
19            A.
              A.        What -- what
                        What -- what would
                                     would you -- are
                                           you -- are you looking
                                                      you looking

20
20      for a
        for a certain number?
              certain number?          Or
                                       Or what
                                          what would
                                               would you -- what
                                                     you -- what

21
21      measure are
        measure are you asking about
                    you asking       and looking
                               about and looking for
                                                 for when
                                                     when

22
22      you ask how
        you ask     successful do
                how successful do I think the
                                  I think the program
                                              program is?
                                                      is?
23
23            Q.
              Q.        I'm just
                        I'm just --
                                 -- I'm
                                    I'm asking
                                        asking you if you
                                               you if     can
                                                      you can

24
24      provide to me
        provide to me any
                      any --
                          -- any
                             any specifics
                                 specifics about the LEAD
                                           about the LEAD


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1
1       program in Cabell
        program in Cabell County.
                          County.             Obviously there's
                                              Obviously there's LEAD
                                                                LEAD
2
2       programs throughout the
        programs throughout the United States, correct?
                                United States, correct?

3
3             A.
              A.        Yes, there
                        Yes, there are.
                                   are.
4
4             Q.
              Q.        And they
                        And they all
                                 all generally
                                     generally have the same
                                               have the same goals
                                                             goals

5
5       and they
        and they generally
                 generally do
                           do the
                              the same
                                  same things,
                                       things, and
                                               and so
                                                   so while
                                                      while

6
6       I appreciate the
        I appreciate the answer
                         answer you provided me,
                                you provided me, I
                                                 I wanted
                                                   wanted

7
7       to know
        to      if you
           know if you could tell me
                       could tell me anything
                                     anything specifically
                                              specifically
8
8       about the
        about the achievements
                  achievements of the LEAD
                               of the LEAD program in --
                                           program in -- in
                                                         in
9
9       Cabell
        Cabell County.
               County.

10
10                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

11
11            A.
              A.        I think it's
                        I think it's been
                                     been an
                                          an important
                                             important program,
                                                       program, and
                                                                and

12
12      my sense
        my sense is
                 is that
                    that it's
                         it's served
                              served a
                                     a very
                                       very important
                                            important role
                                                      role

13
13      in Cabell
        in Cabell County in helping
                  County in         to allow
                            helping to allow for
                                             for people to
                                                 people to

14
14      avoid getting
        avoid         channeled into
              getting channeled into the
                                     the criminal
                                         criminal justice
                                                  justice
15
15      system, which
        system,       is not
                which is not where
                             where people
                                   people with addiction
                                          with addiction

16
16      should be.
        should be.
17
17                          So
                            So I
                               I don't
                                 don't have a top-of-mind
                                       have a top-of-mind number
                                                          number

18
18      or --
        or -- I
              I don't
                don't have a top-of-mind
                      have a top-of-mind number
                                         number for
                                                for the
                                                    the
19
19      number of people,
        number of         for example,
                  people, for example, that
                                       that were
                                            were processed
                                                 processed

20
20      in 2018
        in 2018 through
                through the
                        the LEAD
                            LEAD program but for
                                 program but for the
                                                 the
21
21      presence of the
        presence of the program
                        program would otherwise have
                                would otherwise      ended
                                                have ended

22
22      up in jail.
        up in jail.
23
23                          You
                            You know,
                                know, I
                                      I reviewed -- I've
                                        reviewed -- I've already
                                                         already

24
24      noted the number
        noted the        of --
                  number of -- of data sources
                               of data sources and
                                               and


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1
1       information points
        information        and data
                    points and      points that
                               data points that I've
                                                I've

2
2       reviewed in the
        reviewed in the course
                        course of preparing my
                               of preparing my report.
                                               report.                    And
                                                                          And

3
3       I'd be happy
        I'd be       to look
               happy to look at
                             at information
                                information with
                                            with you that
                                                 you that

4
4       I'm sure that
        I'm sure that I cite in
                      I cite in my
                                my report or in
                                   report or in my
                                                my redress
                                                   redress

5
5       models that
        models that does
                    does provide
                         provide some of that
                                 some of that context
                                              context that
                                                      that
6
6       you may be
        you may    looking for.
                be looking for.
7
7             Q.
              Q.        Now --
                        Now --
8
8             A.
              A.        May I
                        May   -- I'm
                            I --     sorry to
                                 I'm sorry to interrupt,
                                              interrupt, but
                                                         but I'd be
                                                             I'd be

9
9       happy
        happy within the next
              within the      ten or
                         next ten or fifteen
                                     fifteen minutes for a
                                             minutes for a

10
10      break.
        break.

11
11                          MR. BURNETT:
                            MR. BURNETT:         Yeah, same.
                                                 Yeah, same.

12
12            Q.
              Q.        I
                        I was
                          was going to move
                              going to move on
                                            on to
                                               to treatment
                                                  treatment
13
13      briefly.
        briefly.         So it's
                         So it's a
                                 a great time to
                                   great time to take
                                                 take a
                                                      a break.
                                                        break.
14
14      Why don't we
        Why don't we come
                     come back
                          back at 4:00.
                               at 4:00.

15
15                          And Justin,
                            And Justin, would
                                        would you
                                              you mind -- can
                                                  mind -- can I
                                                              I

16
16      have the time
        have the time on
                      on the
                         the record,
                             record, please?
                                     please?

17
17                          VIDEO OPERATOR:
                            VIDEO OPERATOR:           Yeah,
                                                      Yeah, give me one
                                                            give me one
18
18      moment.
        moment.         The time is
                        The time is 3:48.
                                    3:48.          We are going
                                                   We are       off the
                                                          going off the
19
19      record.
        record.

20
20                          (A recess was
                            (A recess     taken after
                                      was taken after which the
                                                      which the

21
21                          proceedings
                            proceedings continued
                                        continued as follows:)
                                                  as follows:)

22
22                          VIDEO OPERATOR:
                            VIDEO OPERATOR:           The time is
                                                      The time is
23
23      4:00 o'clock.
        4:00 o'clock.            We
                                 We are
                                    are now back on
                                        now back on the
                                                    the record.
                                                        record.
24
24      BY MS.
        BY MS. GEIST:
               GEIST:



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1
1             Q.
              Q.        Doctor Alexander, let's
                        Doctor Alexander, let's turn
                                                turn now
                                                     now to
                                                         to
2
2       treatment, if
        treatment, if we could, please,
                      we could,         and the
                                please, and the discussion
                                                discussion

3
3       of the
        of the treatment
               treatment programs available in
                         programs available in Cabell
                                               Cabell

4
4       County/Huntington
        County/Huntington begin on page
                          begin on page 38
                                        38 of
                                           of The
                                              The City
                                                  City of
                                                       of

5
5       Solutions guidebook,
        Solutions            if you
                  guidebook, if you want to go
                                    want to    there.
                                            go there.

6
6             A.
              A.        Okay.
                        Okay.

7
7             Q.
              Q.        Are you
                        Are     there with
                            you there      me?
                                      with me?

8
8             A.
              A.        Yeah.
                        Yeah.

9
9             Q.
              Q.        Okay.
                        Okay.   The first program
                                The first program that's
                                                  that's discussed
                                                         discussed

10
10      is Project
        is Project Hope
                   Hope for
                        for Women and Children.
                            Women and Children.              Do
                                                             Do you see
                                                                you see

11
11      that?
        that?

12
12            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

13
13            Q.
              Q.        Okay.
                        Okay.   What does Project
                                What does Project Hope
                                                  Hope for
                                                       for Women
                                                           Women and
                                                                 and

14
14      Children do?
        Children do?         Or provide,
                             Or          rather.
                                provide, rather.

15
15            A.
              A.        I believe it
                        I believe it provides
                                     provides housing and other
                                              housing and other
16
16      services for
        services for --
                     -- for
                        for women that have
                            women that      been impacted
                                       have been impacted
17
17      by the
        by the opioid
               opioid epidemic
                      epidemic and their children.
                               and their children.              So it
                                                                So it
18
18      -- it
           it gives
              gives people a chance
                    people a chance to
                                    to get
                                       get back
                                           back up on their
                                                up on their
19
19      feet and
        feet and has
                 has services that are
                     services that are discussed
                                       discussed here in
                                                 here in

20
20      the materials
        the materials that
                      that you're showing as
                           you're showing as well
                                             well as the
                                                  as the

21
21      subsequent pages
        subsequent pages regarding
                         regarding counseling and therapy
                                   counseling and therapy
22
22      groups and peer
        groups and peer coaches
                        coaches and
                                and program
                                    program assistance
                                            assistance and
                                                       and

23
23      the like.
        the like.
24
24            Q.
              Q.        Does it also
                        Does it also address
                                     address women
                                             women who
                                                   who have
                                                       have



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1
1       co-occurring mental
        co-occurring mental health or mental
                            health or mental health
                                             health

2
2       disorders?
        disorders?

3
3             A.
              A.        Yes, I
                        Yes,   believe that
                             I believe that it
                                            it does.
                                               does.

4
4             Q.
              Q.        And does
                        And      it also
                            does it also provide
                                         provide housing for women
                                                 housing for women

5
5       and children?
        and children?
6
6             A.
              A.        It does.
                        It does.   As with
                                   As      all of
                                      with all of these
                                                  these programs
                                                        programs

7
7       we're
        we're considering,
              considering, you
                           you know, the level
                               know, the level of
                                               of support,
                                                  support,

8
8       the sources
        the sources of
                    of support,
                       support, the
                                the ability
                                    ability to
                                            to scale
                                               scale this
                                                     this
9
9       to meet
        to meet continued
                continued unmet
                          unmet need is -- is
                                need is    is important
                                              important to
                                                        to
10
10      consider.
        consider.

11
11                          So
                            So I think those
                               I think those are important, you
                                             are important, you

12
12      know,
        know, dimensions of this.
              dimensions of this.               But yes,
                                                But      it does
                                                    yes, it does provide
                                                                 provide

13
13      those services.
        those services.

14
14            Q.
              Q.        And then
                        And then who's the main
                                 who's the main partner
                                                partner with
                                                        with Cabell
                                                             Cabell

15
15      County/Huntington in connection
        County/Huntington in connection with Project Hope?
                                        with Project Hope?
16
16            A.
              A.        Well,
                        Well, I think Marshall
                              I think Marshall University or
                                               University or

17
17      Marshall Health
        Marshall Health has -- has
                        has -- has played a very
                                   played a      important
                                            very important

18
18      role.
        role.      I believe that
                   I believe that this
                                  this program
                                       program previously
                                               previously was
                                                          was

19
19      City Mission and
        City Mission     that the
                     and that the --
                                  -- the
                                     the residences
                                         residences or
                                                    or the
                                                       the
20
20      facilities and
        facilities and the
                       the infrastructure
                           infrastructure and
                                          and support
                                              support was
                                                      was

21
21      subsequently taken
        subsequently taken over
                           over by
                                by Marshall
                                   Marshall --
                                            -- Marshall
                                               Marshall
22
22      Health, I
        Health,   believe.
                I believe.

23
23            Q.
              Q.        In
                        In your
                           your research and review
                                research and        of materials
                                             review of materials

24
24      for this
        for this case,
                 case, any
                       any indication
                           indication that
                                      that there
                                           there was any
                                                 was any



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1
1       sort of
        sort of capacity issue with
                capacity issue      respect to
                               with respect to the
                                               the
2
2       apartment housing
        apartment housing provided
                          provided by Project Hope?
                                   by Project Hope?
3
3             A.
              A.        Well,
                        Well, I carefully considered
                              I carefully            existing
                                          considered existing

4
4       programs and services
        programs and services within the community
                              within the community as
                                                   as I
                                                      I

5
5       developed
        developed my
                  my recommendations,
                     recommendations, but
                                      but I
                                          I did
                                            did not
                                                not do -- I
                                                    do -- I

6
6       was not asked
        was not asked to
                      to perform
                         perform a
                                 a needs assessment per
                                   needs assessment     se,
                                                    per se,

7
7       so I
        so I not attempt in
             not attempt in my
                            my abatement plan to
                               abatement plan to net out
                                                 net out

8
8       current levels
        current levels of
                       of care
                          care and only propose
                               and only         the margin,
                                        propose the margin,

9
9       essentially only
        essentially only propose
                         propose what
                                 what I thought --
                                      I thought -- what
                                                   what

10
10      additional should
        additional should be provided.
                          be provided.

11
11            Q.
              Q.        Well, let me
                        Well, let me ask
                                     ask you this:
                                         you this:               Generally
                                                                 Generally would
                                                                           would

12
12      you agree with
        you agree with me that virtually
                       me that           every aspect
                               virtually every aspect of
                                                      of
13
13      your
        your proposed abatement plan,
             proposed abatement       the programs
                                plan, the          and
                                          programs and

14
14      interventions you
        interventions you have in the
                          have in the plan, there is
                                      plan, there is some
                                                     some
15
15      aspect of
        aspect of that
                  that already
                       already in
                               in place
                                  place in
                                        in Cabell
                                           Cabell County/
                                                  County/

16
16      Huntington?
        Huntington?            That's true, isn't
                               That's true, isn't it?
                                                  it?
17
17            A.
              A.        Yes.
                        Yes.     To
                                 To varying -- to
                                    varying -- to markedly
                                                  markedly varying
                                                           varying

18
18      degrees.
        degrees.         But yes,
                         But yes, I believe that's
                                  I believe that's the
                                                   the case.
                                                       case.

19
19            Q.
              Q.        And for
                        And for the
                                the most
                                    most part,
                                         part, from
                                               from my
                                                    my review
                                                       review of
                                                              of

20
20      your
        your plan,
             plan, you acknowledge that
                   you acknowledge that these
                                        these
21
21      implementations or
        implementations or interventions
                           interventions or
                                         or programs
                                            programs have
                                                     have

22
22      been put
        been     in place,
             put in        but more
                    place, but      times than
                               more times than not,
                                               not, your
                                                    your

23
23      proposal
        proposal was to add
                 was to add on
                            on or expand.
                               or expand.                      Is that a
                                                               Is that a fair
                                                                         fair
24
24      characterization?
        characterization?



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1
1             A.
              A.        Again, my
                        Again, my program
                                  program builds on what's
                                          builds on what's been
                                                           been

2
2       deployed in the
        deployed in the community,
                        community, but
                                   but I didn't try
                                       I didn't try to
                                                    to
3
3       identify some
        identify some level
                      level of
                            of provision of services
                               provision of services which
                                                     which

4
4       my program
        my program would add to.
                   would add to.
5
5             Q.
              Q.        So sitting
                        So sitting here today, you
                                   here today,     can't tell
                                               you can't tell me
                                                              me

6
6       whether or not
        whether or not there's
                       there's been issues with
                               been issues with a
                                                a waiting
                                                  waiting

7
7       list at
        list at Project
                Project Hope,
                        Hope, for
                              for example
                                  example or
                                          or whether that
                                             whether that

8
8       the housing
        the         services provided
            housing services provided by Project Hope
                                      by Project Hope have
                                                      have

9
9       been insufficient
        been insufficient to
                          to address
                             address the
                                     the needs
                                         needs of
                                               of the
                                                  the
10
10      women
        women and children for
              and children for whom those programs
                               whom those          are
                                          programs are

11
11      intended.
        intended.

12
12                          Is that correct?
                            Is that correct?
13
13            A.
              A.        No, I
                        No, I believe that's incorrect.
                              believe that's incorrect.
14
14            Q.
              Q.        Well, then I'll
                        Well, then I'll go back to
                                        go back to my
                                                   my question
                                                      question I
                                                               I

15
15      had asked you:
        had asked you:          Is there
                                Is there any
                                         any issue
                                             issue with the
                                                   with the

16
16      apartment housing
        apartment housing provided to women
                          provided to       through a
                                      women through a

17
17      partnership
        partnership with Marshall Health
                    with Marshall Health and
                                         and Project
                                             Project Hope
                                                     Hope
18
18      -- is
        -- is there
              there any
                    any issue
                        issue with
                              with capacity or not
                                   capacity or not having
                                                   having

19
19      enough apartments,
        enough apartments, essentially?
                           essentially?
20
20            A.
              A.        Yeah.
                        Yeah.   So thank
                                So thank you for that
                                         you for that question.
                                                      question.      You
                                                                     You

21
21      know, the vast
        know, the vast majority of people
                       majority of people with opioid use
                                          with opioid use

22
22      disorder are not
        disorder are     in treatment
                     not in treatment currently.
                                      currently.             And that
                                                             And that
23
23      -- that's
        -- that's the
                  the case
                      case in
                           in Cabell
                              Cabell County and the
                                     County and the City of
                                                    City of

24
24      Huntington just
        Huntington just as
                        as it
                           it is
                              is elsewhere
                                 elsewhere in
                                           in the
                                              the country.
                                                  country.



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1
1                           And so
                            And so I
                                   I would never want
                                     would never      to look
                                                 want to look at a
                                                              at a

2
2       certain level
        certain level of
                      of services
                         services or
                                  or sort
                                     sort of
                                          of whether or not
                                             whether or not

3
3       Lily's Place
        Lily's Place or
                     or Project
                        Project Hope
                                Hope or,
                                     or, you
                                         you know, some
                                             know, some

4
4       other organization
        other organization --
                           -- I
                              I would
                                would never
                                      never want to look
                                            want to look at
                                                         at
5
5       the current
        the current level
                    level of
                          of --
                             -- of
                                of services
                                   services provided and
                                            provided and

6
6       say, "Well,
        say, "Well, because
                    because Project
                            Project Hope
                                    Hope on
                                         on average
                                            average has two
                                                    has two

7
7       beds open
        beds open on
                  on a
                     a given night, we
                       given night,    don't need
                                    we don't      to invest
                                             need to invest
8
8       further in
        further in providing
                   providing housing for women
                             housing for       and children
                                         women and children
9
9       that may
        that may be
                 be impacted
                    impacted by
                             by the
                                the opioid
                                    opioid epidemic
                                           epidemic in
                                                    in the
                                                       the
10
10      community."
        community."

11
11                          So my point
                            So my point is
                                        is that
                                           that there's
                                                there's large,
                                                        large,
12
12      large amounts
        large         of unmet
              amounts of unmet need and that
                               need and that we
                                             we have
                                                have

13
13      identified and
        identified and successfully
                       successfully reached
                                    reached out
                                            out to
                                                to only
                                                   only a
                                                        a
14
14      minority of
        minority of those
                    those individuals.
                          individuals.
15
15                          So
                            So I think that
                               I think that many
                                            many of
                                                 of these
                                                    these programs
                                                          programs

16
16      can be
        can be substantially
               substantially scaled,
                             scaled, and
                                     and in
                                         in fact,
                                            fact, my plan
                                                  my plan

17
17      proposes to do
        proposes to do so over 15
                       so over 15 years.
                                  years.

18
18            Q.
              Q.        But in
                        But in other
                               other words,
                                     words, Doctor Alexander, you
                                            Doctor Alexander, you

19
19      agree with
        agree      me that
              with me that with
                           with respect to a
                                respect to a program like
                                             program like

20
20      Project Hope,
        Project       for example
                Hope, for example -
                                  - and
                                    and you also mentioned
                                        you also mentioned
21
21      Lily's Place
        Lily's Place -
                     - you can't tell
                       you can't tell me today that,
                                      me today that,
22
22      through your
        through your research and review,
                     research and review, you determined
                                          you determined

23
23      that they
        that they didn't
                  didn't have enough beds,
                         have enough beds, they
                                           they didn't
                                                didn't have
                                                       have

24
24      enough apartments,
        enough apartments, they
                           they didn't
                                didn't have enough places,
                                       have enough places,


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1
1       they couldn't
        they couldn't handle the capacity.
                      handle the capacity.

2
2                           You can't tell
                            You can't tell me
                                           me any
                                              any of that.
                                                  of that.       Is
                                                                 Is

3
3       that true?
        that true?
4
4                           MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
5
5       answered.
        answered.

6
6             A.
              A.        I considered the
                        I considered the current
                                         current volume of care
                                                 volume of      in
                                                           care in

7
7       these programs
        these          as I
              programs as   -- as
                          I -- as I reviewed them.
                                  I reviewed them.              But my
                                                                But my
8
8       point is that
        point is that there's
                      there's large
                              large amounts
                                    amounts of
                                            of unmet need
                                               unmet need

9
9       within the community,
        within the community, and
                              and so
                                  so even
                                     even though
                                          though they
                                                 they may
                                                      may

10
10      or may
        or may not be at
               not be at capacity
                         capacity now,
                                  now, I don't think
                                       I don't think that
                                                     that
11
11      that --
        that -- that
                that there's
                     there's a
                             a large
                               large amount
                                     amount of
                                            of unmet need.
                                               unmet need.

12
12                          And again,
                            And again, I
                                       I wasn't asked to
                                         wasn't asked to do a
                                                         do a

13
13      needs
        needs assessment of specifically
              assessment of specifically how
                                         how many
                                             many beds
                                                  beds are
                                                       are

14
14      currently occupied
        currently occupied or
                           or how many people
                              how many        are currently
                                       people are currently

15
15      in treatment
        in treatment that
                     that are being paid
                          are being paid for
                                         for by the City
                                             by the      or
                                                    City or

16
16      State or
        State    County and
              or County and how many additional
                            how many additional people
                                                people

17
17      should be
        should be treated.
                  treated.
18
18                          My abatement
                            My abatement plan
                                         plan just
                                              just looks
                                                   looks at the
                                                         at the

19
19      total populations
        total             that I
              populations that I believe are going
                                 believe are       to need
                                             going to need

20
20      services.
        services.

21
21            Q.
              Q.        I see.
                        I see.   So for
                                 So for --
                                        -- for
                                           for all
                                               all of the different
                                                   of the different

22
22      programs
        programs here
                 here under the heading
                      under the         of Treatment
                                heading of           in The
                                           Treatment in The

23
23      City of Solutions
        City of Solutions guide,
                          guide, we
                                 we have
                                    have -- we
                                            we have Project
                                               have Project

24
24      Hope; we
        Hope; we have Lily's Place;
                 have Lily's Place; we
                                    we have Recovery
                                       have Recovery



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1
1       Support; Healthy
        Support; Healthy Connections,
                         Connections, a
                                      a variety
                                        variety of
                                                of

2
2       different
        different programs.
                  programs.

3
3                           You
                            You don't
                                don't have any information,
                                      have any information, based
                                                            based
4
4       on your
        on your review, that any
                review, that any of
                                 of these
                                    these programs are at
                                          programs are at

5
5       capacity now
        capacity now or
                     or have
                        have had
                             had a
                                 a waiting list.
                                   waiting list.

6
6                           Is that correct?
                            Is that correct?
7
7                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

8
8             A.
              A.        I didn't try
                        I didn't try to
                                     to quantify -- if
                                        quantify -- if you're
                                                       you're

9
9       asking whether
        asking whether I tried to
                       I tried to quantify
                                  quantify sort
                                           sort of current
                                                of current

10
10      levels of
        levels of staffing
                  staffing or
                           or provision of care
                              provision of care and
                                                and

11
11      incorporate these
        incorporate these quantitatively into my
                          quantitatively into my abatement
                                                 abatement
12
12      program, the answer
        program, the answer is
                            is no, that I
                               no, that I did not do
                                          did not    so.
                                                  do so.

13
13            Q.
              Q.        Okay.
                        Okay.   So the
                                So the answer to my
                                       answer to my question is:
                                                    question is:

14
14      You can't tell
        You can't tell me that any
                       me that     of these
                               any of these programs are at
                                            programs are at
15
15      capacity.
        capacity.         True?
                          True?

16
16                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

17
17            A.
              A.        Well,
                        Well, I mean, if
                              I mean, if you take something
                                         you take           like
                                                  something like

18
18      the LEAD
        the LEAD program
                 program or
                         or like
                            like Quick
                                 Quick Response
                                       Response Teams or
                                                Teams or

19
19      the Drug
        the      Courts, they
            Drug Courts, they may be at
                              may be at capacity,
                                        capacity, but there
                                                  but there

20
20      may be
        may be a
               a --
                 -- huge opportunities to
                    huge opportunities to expand
                                          expand them
                                                 them
21
21      further.
        further.

22
22                          So again, I
                            So again,   think the
                                      I think the issue
                                                  issue of
                                                        of
23
23      capacity is
        capacity is relative and the
                    relative and the question is capacity
                                     question is capacity
24
24      at what
        at what point in time
                point in time and
                              and with
                                  with what level of
                                       what level of


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1
1       outreach and
        outreach and what level of
                     what level of initiative
                                   initiative and
                                              and
2
2       investment to
        investment to identify
                      identify those
                               those that
                                     that could
                                          could benefit
                                                benefit

3
3       from the
        from the program.
                 program.
4
4                          And so
                           And so I'm -- but
                                  I'm -- but I did not
                                             I did     look and
                                                   not look and
5
5       try to
        try to quantify
               quantify or
                        or evaluate
                           evaluate the
                                    the specific
                                        specific current
                                                 current
6
6       levels of
        levels of staffing
                  staffing or
                           or provision of care
                              provision of care in any
                                                in any

7
7       given
        given program.
              program.          That's
                                That's correct.
                                       correct.

8
8             Q.
              Q.        Okay.
                        Okay.   So you
                                So you went back to
                                       went back to prevention
                                                    prevention a
                                                               a

9
9       little bit,
        little bit, so
                    so I
                       I do
                         do want to ask
                            want to ask it
                                        it again.
                                           again.                I'm
                                                                 I'm

10
10      talking about
        talking about treatment
                      treatment now.
                                now.                We're
                                                    We're under the
                                                          under the

11
11      heading of "Treatment,"
        heading of "Treatment," talking
                                talking about
                                        about Project
                                              Project Hope,
                                                      Hope,
12
12      Lily's Place
        Lily's Place and similar treatment
                     and similar treatment programs
                                           programs

13
13      available in
        available in Cabell
                     Cabell County.
                            County.

14
14                          Just
                            Just so I'm clear,
                                 so I'm        in forming
                                        clear, in forming your
                                                          your

15
15      abatement plan,
        abatement plan, you
                        you did
                            did not look to
                                not look to determine
                                            determine

16
16      whether or not
        whether or not any
                       any of
                           of these
                              these treatment
                                    treatment programs
                                              programs were
                                                       were

17
17      at capacity,
        at capacity, whether there was
                     whether there     a wait
                                   was a      list or
                                         wait list or
18
18      people
        people waiting to get
               waiting to     in.
                          get in.              You did not
                                               You did not do that in
                                                           do that in
19
19      forming your
        forming      opinions in
                your opinions in the
                                 the case.
                                     case. Is that correct?
                                           Is that correct?
20
20                         MR.BURNETT: Objection,
                           MR.BURNETT: Objection, asked
                                                  asked and
                                                        and

21
21      answered several
        answered several times.
                         times.
22
22            A.
              A.        It is
                        It is correct, but I
                              correct, but I would like to
                                             would like to just
                                                           just
23
23      call out
        call out that
                 that this
                      this is
                           is part of a
                              part of a broader
                                        broader discussion
                                                discussion

24
24      in a
        in a number of other
             number of other points
                             points that
                                    that I've
                                         I've already
                                              already made.
                                                      made.



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1
1             Q.
              Q.        Okay.
                        Okay.   Doctor
                                Doctor Alexander,
                                       Alexander, can
                                                  can we
                                                      we go
                                                         go back to
                                                            back to

2
2       your expert report
        your expert        in the
                    report in the case,
                                  case, please,
                                        please, which is
                                                which is

3
3       Exhibit 4?
        Exhibit 4?

4
4             A.
              A.        Okay.
                        Okay.

5
5             Q.
              Q.        I
                        I will like to
                          will like to run through some
                                       run through some of
                                                        of the
                                                           the
6
6       proposals that you
        proposals that you have in your
                           have in your plan in our
                                        plan in     time
                                                our time

7
7       left.
        left.      But first
                   But first I do want
                             I do      to ask
                                  want to ask you a couple
                                              you a couple

8
8       questions about page
        questions about page 13
                             13 of
                                of your
                                   your report
                                        report where
                                               where you
                                                     you

9
9       talk about
        talk about "PRINCIPLES
                   "PRINCIPLES GOVERNING EFFECTIVE
                               GOVERNING EFFECTIVE

10
10      RESPONSE" --
        RESPONSE" --
11
11            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
12
12            Q.
              Q.        Okay.
                        Okay.   Here in
                                Here in this
                                        this page of your
                                             page of your report,
                                                          report,

13
13      Doctor Alexander, you
        Doctor Alexander,     talk about
                          you talk about certain
                                         certain
14
14      misconceptions.
        misconceptions.          Do
                                 Do you see that?
                                    you see that?
15
15            A.
              A.        Yes.
                        Yes.

16
16            Q.
              Q.        Okay.
                        Okay.   And your
                                And      Misconception #2,
                                    your Misconception #2, I think
                                                           I think

17
17      you've said many
        you've said many times
                         times today,
                               today, that
                                      that "addiction,
                                           "addiction,
18
18      rather an abuse,
        rather an abuse, is
                         is the
                            the primary
                                primary cause of
                                        cause of

19
19      opioid-related morbidity
        opioid-related morbidity and mortality."
                                 and mortality."             Is that
                                                             Is that

20
20      correct?
        correct?

21
21            A.
              A.        Yes.
                        Yes.

22
22            Q.
              Q.        And then
                        And then with
                                 with respect to Misconception
                                      respect to Misconception #3,
                                                               #3,
23
23      you talk about
        you talk about the
                       the misconception
                           misconception that
                                         that "The
                                              "The epidemic
                                                   epidemic
24
24      is largely
        is largely driven
                   driven by" "rogue physicians"
                          by" "rogue physicians" with
                                                 with



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1
1       "'doctor shoppers'"
        "'doctor shoppers'" and
                            and in
                                in response,
                                   response, you say, "And
                                             you say, "And
2
2       for example,
        for example, "Rogue
                     "Rogue physicians," "while" "important
                            physicians," "while" "important
3
3       to identify
        to identify and
                    and manage,
                        manage, account
                                account for
                                        for a
                                            a small
                                              small
4
4       proportion of opioid-related
        proportion of opioid-related harms."
                                     harms."

5
5                              Is that correct?
                               Is that correct?
6
6             A.
              A.        Yes.
                        Yes.

7
7             Q.
              Q.        Okay.
                        Okay.    So in
                                 So in other
                                       other words, it would
                                             words, it would be the
                                                             be the

8
8       wrong focus to
        wrong focus to be looking at
                       be looking at a
                                     a group
                                       group of
                                             of physicians
                                                physicians

9
9       who might be
        who might be determined to be
                     determined to be rogue
                                      rogue physicians.
                                            physicians.

10
10      They
        They have
             have very little impact,
                  very little impact, in
                                      in your opinion, on
                                         your opinion, on

11
11      opioid-related harms.
        opioid-related harms.             Is that right?
                                          Is that right?

12
12                             MR. BURNETT:
                               MR. BURNETT:      Objection, misconstrues
                                                 Objection, misconstrues
13
13      his testimony.
        his testimony.

14
14            A.
              A.        Yeah, it's
                        Yeah, it's not -- not
                                   not --     correct.
                                          not correct.             Because it
                                                                   Because it
15
15      -- because
        --         -- I'm
           because -- I'm sorry, it's not
                          sorry, it's     correct because
                                      not correct because

16
16      there's not
        there's     one singular
                not one singular focus.
                                 focus.                    I
                                                           I mean,
                                                             mean, we -- we
                                                                   we -- we

17
17      can't have
        can't      one focus
              have one focus if
                             if we're
                                we're going to make
                                      going to make headway
                                                    headway

18
18      on this
        on this problem.
                problem.

19
19                             And so
                               And so I
                                      I would never want
                                        would never      to suggest
                                                    want to suggest

20
20      that these
        that these individuals
                   individuals aren't important to
                               aren't important to
21
21      identify.
        identify.         I'm merely
                          I'm merely making the point
                                     making the point here that
                                                      here that

22
22      while they are
        while they are very important to
                       very important to identify
                                         identify and
                                                  and

23
23      manage, they
        manage, they account
                     account for
                             for a small proportion
                                 a small proportion of
                                                    of
24
24      opioid-related harms.
        opioid-related harms.



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1
1             Q.
              Q.        Understood.
                        Understood.      And I
                                         And I wasn't
                                               wasn't suggesting
                                                      suggesting

2
2       otherwise.
        otherwise.

3
3                           But while
                            But while you
                                      you might
                                          might want to focus
                                                want to focus on a
                                                              on a

4
4       list of
        list of particular physicians -
                particular physicians - and
                                        and in
                                            in your
                                               your

5
5       opinion, it's
        opinion, it's important
                      important to
                                to identify
                                   identify these
                                            these
6
6       physicians - that
        physicians - that list
                          list or that group
                               or that group of
                                             of physicians,
                                                physicians,

7
7       in your
        in      opinion, only
           your opinion, only accounts
                              accounts for
                                       for a
                                           a small
                                             small

8
8       proportion of opioid-related
        proportion of opioid-related harms.
                                     harms.

9
9                              Is that correct?
                               Is that correct?
10
10            A.
              A.        I -- in
                        I -- in --
                                -- what
                                   what I'm trying to
                                        I'm trying to do
                                                      do here is to
                                                         here is to
11
11      draw attention to
        draw attention to the
                          the fact
                              fact that
                                   that I think we
                                        I think we have --
                                                   have --

12
12      historically, many individuals
        historically, many individuals have erroneously
                                       have erroneously

13
13      overemphasized the
        overemphasized the importance
                           importance of
                                      of devious
                                         devious
14
14      individuals, as
        individuals, as I
                        I say, "such as
                          say, "such as rogue physicians
                                        rogue physicians

15
15      and patients
        and patients who are 'doctor
                     who are 'doctor shoppers'"
                                     shoppers'" at the
                                                at the

16
16      expense of
        expense of broader
                   broader efforts
                           efforts to
                                   to improve
                                      improve the
                                              the quality
                                                  quality

17
17      and scientific
        and scientific basis for opioid
                       basis for opioid prescribing.
                                        prescribing.

18
18            Q.
              Q.        So in
                        So in other
                              other words,
                                    words, you're
                                           you're saying from your
                                                  saying from your

19
19      perspective and your
        perspective and      opinion, we
                        your opinion,    shouldn't be
                                      we shouldn't be just
                                                      just
20
20      focusing on
        focusing on a
                    a list
                      list of
                           of devious
                              devious doctors or rogue
                                      doctors or rogue

21
21      physicians; there are
        physicians; there     larger issues
                          are larger issues impacting
                                            impacting
22
22      opioid-related harm.
        opioid-related harm.             True?
                                         True?

23
23            A.
              A.        Yes.
                        Yes.     We
                                 We should
                                    should not focus only
                                           not focus      -- and
                                                     only -- and
24
24      frankly, it's
        frankly, it's not
                      not just
                          just physicians,
                               physicians, right?
                                           right?              Because
                                                               Because



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1
1       you
        you know,
            know, up to a
                  up to a fifth
                          fifth of
                                of prescription
                                   prescription medicines
                                                medicines

2
2       are prescribed
        are prescribed by
                       by nonphysicians, including opioids,
                          nonphysicians, including opioids,
3
3       although I
        although I wouldn't
                   wouldn't want to go
                            want to go on
                                       on the
                                          the record
                                              record

4
4       regarding a specific
        regarding a specific number.
                             number.
5
5                           But the
                            But the point
                                    point here is that,
                                          here is that, yes,
                                                        yes, I
                                                             I did
                                                               did

6
6       not believe that
        not believe that we should focus
                         we should focus exclusively
                                         exclusively on
                                                     on
7
7       rogue
        rogue prescribers.
              prescribers.

8
8             Q.
              Q.        And that
                        And that is
                                 is because,
                                    because, in
                                             in your opinion, they
                                                your opinion, they
9
9       would only account
        would only account for
                           for a
                               a small proportion of
                                 small proportion of
10
10      opioid-related harms.
        opioid-related harms.          True?
                                       True?

11
11            A.
              A.        I believe that
                        I believe that that's
                                       that's the
                                              the case,
                                                  case, yes.
                                                        yes.

12
12            Q.
              Q.        Okay.
                        Okay.

13
13            A.
              A.        But --
                        But -- I
                               I mean, "small" is
                                 mean, "small" is -- you
                                                     you know,
                                                         know, we
                                                               we

14
14      would
        would have to quantify
              have to quantify that,
                               that, and
                                     and that's
                                         that's part of a
                                                part of a
15
15      longer conversation.
        longer conversation.
16
16                          But yes,
                            But yes, I believe that
                                     I believe that rogue
                                                    rogue

17
17      prescribers are very
        prescribers are very important
                             important and
                                       and they
                                           they have
                                                have

18
18      contributed enormous
        contributed enormous harms.
                             harms.              But relative
                                                 But relative to
                                                              to all
                                                                 all
19
19      opioids prescribed
        opioids            and oversupplied,
                prescribed and oversupplied, I
                                             I believe that
                                               believe that

20
20      rogue
        rogue physicians are not
              physicians are not the
                                 the primary
                                     primary driver of
                                             driver of

21
21      those behaviors.
        those behaviors.

22
22            Q.
              Q.        Now, on
                        Now, on 15 of your
                                15 of      report, page
                                      your report, page 15, this is
                                                        15, this is
23
23      sort of
        sort of a
                a nice summary, the
                  nice summary, the categories
                                    categories of
                                               of your
                                                  your

24
24      abatement plan.
        abatement plan.         Correct?
                                Correct?



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1
1             A.
              A.        Yes.
                        Yes.

2
2             Q.
              Q.        Okay.
                        Okay.   And Category
                                And Category 1,
                                             1, generally
                                                generally as
                                                          as we've
                                                             we've

3
3       discussed a few
        discussed a few times
                        times today,
                              today, focuses
                                     focuses on
                                             on Prevention,
                                                Prevention,
4
4       correct.
        correct.

5
5             A.
              A.        Yes.
                        Yes.    And it
                                And it would
                                       would helpful, if it's
                                             helpful, if it's okay
                                                              okay
6
6       with the videographer,
        with the videographer, if
                               if you
                                  you could just display
                                      could just display

7
7       whatever
        whatever we're speaking to.
                 we're speaking to.
8
8                          But I
                           But   do have
                               I do      it in
                                    have it in front
                                               front of
                                                     of me, and
                                                        me, and

9
9       yes,
        yes, Category
             Category 1 is Prevention.
                      1 is Prevention.
10
10            Q.
              Q.        Sure.
                        Sure.   So why
                                So why don't
                                       don't we
                                             we go to -
                                                go to - for
                                                        for the
                                                            the
11
11      record - Exhibit
        record - Exhibit 4,
                         4, let's
                            let's go
                                  go to
                                     to page
                                        page 16.
                                             16.              And here
                                                              And here

12
12      you
        you write,
            write, Doctor Alexander, that
                   Doctor Alexander, that the
                                          the goal
                                              goal of
                                                   of this
                                                      this
13
13      part of your
        part of your plan is to
                     plan is to reduce
                                reduce what
                                       what you
                                            you say is a
                                                say is a

14
14      "widespread oversupply
        "widespread oversupply of prescription opioids."
                               of prescription opioids."
15
15      Correct?
        Correct?

16
16            A.
              A.        Yes.
                        Yes.

17
17            Q.
              Q.        Okay.
                        Okay.    Is there
                                 Is there a
                                          a current
                                            current oversupply of
                                                    oversupply of

18
18      prescription opioids in
        prescription opioids in Cabell
                                Cabell County/Huntington?
                                       County/Huntington?

19
19            A.
              A.        Well,
                        Well, I believe the
                              I believe the County is about
                                            County is about twice
                                                            twice
20
20      the national
        the national average,
                     average, so,
                              so, you
                                  you know,
                                      know, I don't want
                                            I don't      to
                                                    want to

21
21      draw conclusions about
        draw conclusions about any
                               any particular patients'
                                   particular patients'

22
22      care, but
        care, but I certainly still
                  I certainly still have concerns that
                                    have concerns that --
                                                       --
23
23      that many
        that many patients may be
                  patients may    receiving these
                               be receiving these medicines
                                                  medicines

24
24      that --
        that -- where there's an
                where there's an unfavorable
                                 unfavorable risk/benefit
                                             risk/benefit



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1
1       balance, yes.
        balance, yes.

2
2             Q.
              Q.        Well,
                        Well, so -- again,
                              so -- again, I'll
                                           I'll try
                                                try my
                                                    my question
                                                       question

3
3       again.
        again.      Do -- is
                    Do -- is it
                             it your opinion that
                                your opinion that there
                                                  there is
                                                        is a
                                                           a

4
4       current opioid
        current opioid prescription --
                       prescription --

5
5                           MS. GEIST:
                            MS. GEIST:      Strike that.
                                            Strike that.
6
6             Q.
              Q.        Is it
                        Is it your opinion that
                              your opinion that there
                                                there is
                                                      is a
                                                         a current
                                                           current

7
7       prescription opioid oversupply
        prescription opioid oversupply in
                                       in Cabell
                                          Cabell County?
                                                 County?

8
8             A.
              A.        Yes, I
                        Yes,   think we
                             I think we still
                                        still have a ways
                                              have a      to go
                                                     ways to    in
                                                             go in

9
9       reducing the volume
        reducing the        of opioids
                     volume of         supplied in
                               opioids supplied    the
                                                in the

10
10      community.
        community.

11
11            Q.
              Q.        Okay.
                        Okay.   So can
                                So can you tell me
                                       you tell me how
                                                   how much,
                                                       much, what
                                                             what

12
12      percentage?
        percentage?

13
13            A.
              A.        It's --
                        It's -- it's
                                it's a
                                     a great
                                       great question,
                                             question, and it's one
                                                       and it's one
14
14      I've been asked
        I've been asked before.
                        before.             You
                                            You know,
                                                know, what
                                                      what I
                                                           I can say
                                                             can say

15
15      is that
        is that many
                many patients -- is
                     patients -- is that
                                    that we both have
                                         we both have

16
16      underestimated the risks
        underestimated the       of opioids
                           risks of opioids and
                                            and we've
                                                we've

17
17      overestimated their
        overestimated their benefits,
                            benefits, and that many,
                                      and that       many
                                               many, many

18
18      patients receive opioids
        patients receive opioids who
                                 who would -- who
                                     would -- who would
                                                  would do
                                                        do

19
19      better with
        better      other products.
               with other products.

20
20                          There's also a
                            There's also a substantial
                                           substantial population
                                                       population

21
21      of individuals
        of individuals -
                       - and
                         and I'm
                             I'm speaking
                                 speaking generally
                                          generally here -
                                                    here -

22
22      that are
        that are on
                 on chronic
                    chronic opioids
                            opioids that
                                    that should
                                         should be tapered
                                                be tapered

23
23      off of
        off of them.
               them.        And I
                            And I don't
                                  don't know
                                        know whether other
                                             whether other

24
24      experts have
        experts have spoken in much
                     spoken in      more detail
                               much more detail about these
                                                about these



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1
1       matters.
        matters.         I
                         I did
                           did not
                               not do a detailed
                                   do a          analysis of
                                        detailed analysis of
2
2       individual patient
        individual patient record data from
                           record data from Cabell
                                            Cabell County
                                                   County

3
3       or the
        or the City
               City of
                    of Huntington
                       Huntington to
                                  to estimate
                                     estimate the
                                              the quantity
                                                  quantity
4
4       of oversupply,
        of oversupply, and
                       and that's
                           that's why
                                  why I'm saying that
                                      I'm saying that --
                                                      --
5
5       that's why
        that's why I'm inclined not
                   I'm inclined     to provide
                                not to provide an exact
                                               an exact

6
6       number.
        number.

7
7                          One way
                           One     to think
                               way to think of
                                            of it
                                               it is
                                                  is that
                                                     that if
                                                          if you
                                                             you

8
8       think about
        think about pre-epidemic levels --
                    pre-epidemic levels -- setting
                                           setting aside
                                                   aside
9
9       for a
        for a minute exactly when
              minute exactly      the epidemic
                             when the epidemic began,
                                               began, but
                                                      but

10
10      let's say
        let's say for
                  for --
                      -- for
                         for the
                             the purposes
                                 purposes here, that the
                                          here, that the
11
11      epidemic began
        epidemic       in the
                 began in the mid to --
                              mid to -- mid
                                        mid to
                                            to late
                                               late 1990s.
                                                    1990s.

12
12                          If you
                            If     think about
                               you think about the
                                               the levels
                                                   levels at
                                                          at that
                                                             that
13
13      time, I
        time,   think that
              I think that would
                           would provide one --
                                 provide one -- one
                                                one
14
14      potential measure for
        potential measure for what -- for
                              what -- for what
                                          what reasonable
                                               reasonable

15
15      levels at
        levels at a
                  a population level might
                    population level might look
                                           look like.
                                                like.
16
16            Q.
              Q.        But you
                        But you can't tell me
                                can't tell me sitting
                                              sitting here today
                                                      here today

17
17      what percentage of
        what percentage of the
                           the current
                               current supply of
                                       supply of

18
18      prescription opioids in
        prescription opioids in Cabell
                                Cabell County
                                       County would
                                              would be
                                                    be a
                                                       a

19
19      correct or
        correct or an
                   an appropriate
                      appropriate percentage.
                                  percentage.                Or
                                                             Or what
                                                                what

20
20      percentage is too
        percentage is too much.
                          much.             Is that correct?
                                            Is that correct?

21
21            A.
              A.        I
                        I would --
                          would --

22
22                         MR. BURNETT:
                           MR. BURNETT:         Objection.
                                                Objection.

23
23            A.
              A.        I
                        I was not asked
                          was not asked to
                                        to develop that estimate.
                                           develop that estimate.
24
24      I believe with
        I believe      time and
                  with time     the appropriate
                            and the appropriate data,
                                                data, I
                                                      I



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1
1       could probably
        could probably do
                       do so.
                          so.          But I
                                       But I was not asked
                                             was not asked to
                                                           to do
                                                              do so
                                                                 so

2
2       for this
        for this case.
                 case.
3
3             Q.
              Q.        Well, to do
                        Well, to    so, Doctor
                                 do so,        Alexander, wouldn't
                                        Doctor Alexander, wouldn't

4
4       you need to
        you need to look
                    look at
                         at every
                            every single
                                  single individual
                                         individual
5
5       patient's
        patient's records
                  records and all of
                          and all of the
                                     the aspects
                                         aspects of
                                                 of that
                                                    that
6
6       individual patient
        individual patient to
                           to determine
                              determine whether
                                        whether or
                                                or not the
                                                   not the

7
7       prescribing
        prescribing doctor appropriately prescribed
                    doctor appropriately prescribed the
                                                    the
8
8       medication?
        medication?

9
9             A.
              A.        Well,
                        Well, what
                              what I --
                                   I --

10
10            Q.
              Q.        You -- you
                        You -- you -- how
                                      how can
                                          can you -- can
                                              you -- can you
                                                         you make a
                                                             make a

11
11      decision as to
        decision as to what is an
                       what is    appropriate number
                               an appropriate number or
                                                     or
12
12      percentage of opioids
        percentage of opioids without
                              without knowing everything
                                      knowing everything

13
13      about the
        about the individual
                  individual patients
                             patients for
                                      for whom these are
                                          whom these are
14
14      prescribed?
        prescribed?

15
15            A.
              A.        Well,
                        Well, I'm trained as
                              I'm trained as a
                                             a pharmaco-
                                               pharmaco-

16
16      epidemiologist, and
        epidemiologist, and my
                            my profession is exactly
                               profession is exactly this,
                                                     this,
17
17      which is the
        which is the study
                     study of
                           of the
                              the use, safety and
                                  use, safety and
18
18      prescription of medicines
        prescription of medicines in
                                  in large
                                     large populations.
                                           populations.

19
19                          We never have
                            We never      the entirety
                                     have the entirety of
                                                       of

20
20      information about
        information about an individual.
                          an individual.                    There is always
                                                            There is always
21
21      more information
        more information that
                         that we
                              we would like than
                                 would like than we
                                                 we have in
                                                    have in

22
22      the databases
        the databases that
                      that I
                           I use.
                             use.

23
23                          No study is
                            No study is -- is
                                           is perfect
                                              perfect in
                                                      in every
                                                         every
24
24      single way.
        single way.         And yet
                            And yet we are able
                                    we are able to
                                                to use
                                                   use



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1
1       quantitative
        quantitative data from populations
                     data from             in order
                               populations in order to
                                                    to
2
2       derive estimates such
        derive estimates such as
                              as the
                                 the one
                                     one that
                                         that you're
                                              you're

3
3       inquiring about.
        inquiring about.
4
4             Q.
              Q.        Now, did
                        Now, did you speak with
                                 you speak      any physicians
                                           with any            in
                                                    physicians in

5
5       Cabell
        Cabell County/Huntington
               County/Huntington who
                                 who prescribe
                                     prescribe prescription
                                               prescription

6
6       opioids and
        opioids and talk
                    talk to
                         to them
                            them about
                                 about why they're
                                       why they're

7
7       prescribing and who
        prescribing and     their patients
                        who their patients are?
                                           are?

8
8             A.
              A.        There
                        There may
                              may have been --
                                  have been -- I believe Doctor
                                               I believe Doctor

9
9       Kilkenny's a
        Kilkenny's a medically-trained physician, and
                     medically-trained physician,     there
                                                  and there

10
10      may well
        may well have been other
                 have been other clinicians that were
                                 clinicians that      on
                                                 were on

11
11      one or
        one or more
               more of
                    of the
                       the calls
                           calls that
                                 that I
                                      I participated in.
                                        participated in.

12
12                         But I
                           But   did not
                               I did not conduct
                                         conduct a study, if
                                                 a study, if you
                                                             you

13
13      will,
        will, or sort of
              or sort of a
                         a --
                           -- I didn't perform
                              I didn't perform what
                                               what we
                                                    we

14
14      would
        would call in --
              call in -- professionally at Johns
                         professionally at       Hopkins,
                                           Johns Hopkins,

15
15      key informant interviews.
        key informant interviews.
16
16                          I
                            I didn't
                              didn't do that sort
                                     do that sort of exploratory
                                                  of exploratory

17
17      research
        research with -- with
                 with --      clinicians in
                         with clinicians in Cabell
                                            Cabell County
                                                   County

18
18      and the
        and the City of Huntington.
                City of Huntington.               No,
                                                  No, I
                                                      I did
                                                        did not.
                                                            not.

19
19            Q.
              Q.        Did
                        Did you
                            you -- well,
                                   well, you
                                         you mentioned
                                             mentioned Doctor
                                                       Doctor

20
20      Kilkenny.
        Kilkenny.         Did
                          Did you speak with
                              you speak with Doctor Kilkenny about
                                             Doctor Kilkenny about
21
21      his prescriptions --
        his prescriptions -- about
                             about his prescribing patterns
                                   his prescribing patterns

22
22      for prescription
        for prescription opioids?
                         opioids?
23
23            A.
              A.        I don't recall
                        I don't        the details
                                recall the details of
                                                   of the
                                                      the
24
24      conversation at
        conversation at that
                        that level.
                             level.              But I
                                                 But   -- but
                                                     I -- but one
                                                              one --


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1
1       one question
        one question that
                     that invariably
                          invariably I ask people
                                     I ask people when
                                                  when I'm
                                                       I'm

2
2       speaking about
        speaking about local
                       local experts
                             experts is
                                     is what their sense
                                        what their sense of
                                                         of
3
3       the contours
        the contours of
                     of the
                        the epidemic
                            epidemic are,
                                     are, and
                                          and --
                                              -- and
                                                 and what
                                                     what

4
4       they think
        they think should
                   should be done and
                          be done and what they think
                                      what they think is
                                                      is
5
5       most effective
        most effective and
                       and what they think
                           what they think is
                                           is less
                                              less
6
6       effective and
        effective and so
                      so on
                         on and
                            and so
                                so forth.
                                   forth.
7
7                           So -- but
                            So -- but I
                                      I don't
                                        don't recall the details
                                              recall the details

8
8       of my
        of my conversation
              conversation with
                           with Doctor Kilkenny.
                                Doctor Kilkenny.

9
9             Q.
              Q.        Okay.
                        Okay.   And you
                                And     cannot identify
                                    you cannot identify for
                                                        for me,
                                                            me,

10
10      sitting here
        sitting      today, any
                here today, any other
                                other physicians
                                      physicians who
                                                 who you
                                                     you

11
11      spoke with
        spoke      in Cabell
              with in        County about
                      Cabell County about their
                                          their prescribing
                                                prescribing

12
12      decisions
        decisions with
                  with respect to opioids.
                       respect to opioids.                   Is that true?
                                                             Is that true?
13
13            A.
              A.        I believe that's
                        I believe that's true,
                                         true, that
                                               that I
                                                    I did
                                                      did not
                                                          not have
                                                              have

14
14      those conversations.
        those conversations.           I think that
                                       I think that some
                                                    some of these
                                                         of these

15
15      matters may
        matters may have been broached
                    have been broached in
                                       in some
                                          some of
                                               of the
                                                  the
16
16      materials that
        materials that I
                       I reviewed, and if
                         reviewed, and if so,
                                          so, those
                                              those are
                                                    are
17
17      materials that
        materials that have
                       have been
                            been produced for the
                                 produced for the case.
                                                  case.

18
18            Q.
              Q.        And sitting
                        And sitting here today in
                                    here today in terms
                                                  terms of
                                                        of the
                                                           the
19
19      oversupply, you
        oversupply,     do not
                    you do not have an opinion
                               have an opinion as
                                               as to
                                                  to
20
20      whether it's an
        whether it's    oversupply by
                     an oversupply    5 percent,
                                   by 5 percent, 10
                                                 10

21
21      percent, 20 percent,
        percent, 20          any specific
                    percent, any specific percentage; is
                                          percentage; is

22
22      that correct?
        that correct?
23
23                          MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
24
24      answered.
        answered.



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1
1             Q.
              Q.        You just think
                        You just think it's
                                       it's just
                                            just --
                                                 -- it's
                                                    it's just
                                                         just too
                                                              too
2
2       much.
        much.      Is that fair?
                   Is that fair?
3
3             A.
              A.        Well,
                        Well, I can do
                              I can do a
                                       a little
                                         little better
                                                better than
                                                       than that,
                                                            that, I
                                                                  I

4
4       think, in
        think, in terms
                  terms of,
                        of, again,
                            again, trying
                                   trying to
                                          to address
                                             address the
                                                     the
5
5       spirit of
        spirit of your
                  your question.
                       question.

6
6                           And I
                            And   already mentioned
                                I already mentioned considering
                                                    considering

7
7       pre-epidemic levels as
        pre-epidemic levels as one
                               one benchmark.
                                   benchmark.

8
8                           I also highlighted
                            I also             that I
                                   highlighted that I believe that
                                                      believe that

9
9       prescribing
        prescribing rates - while
                    rates -       they have
                            while they have declined - in
                                            declined - in
10
10      the County
        the County and
                   and the
                       the City of Huntington
                           City of            - they're
                                   Huntington - they're
11
11      still off
        still off the
                  the charts
                      charts relative
                             relative to
                                      to national
                                         national averages,
                                                  averages,

12
12      so I
        so   think that's
           I think that's a second perspective.
                          a second perspective.

13
13                          A third
                            A third is
                                    is a
                                       a reminder
                                         reminder -
                                                  - and
                                                    and I
                                                        I have
                                                          have

14
14      noted this previously,
        noted this previously, but
                               but I think it's
                                   I think it's important
                                                important
15
15      to emphasize
        to emphasize -
                     - that
                       that no
                            no single
                               single measure suffices to
                                      measure suffices to
16
16      understand and project
        understand and         the epidemic,
                       project the epidemic, no
                                             no single
                                                single

17
17      measure in
        measure in and
                   and of
                       of itself.
                          itself.
18
18                          And you
                            And     recall the
                                you recall the example
                                               example with lung
                                                       with lung

19
19      cancer where
        cancer       if 100
               where if 100 people start smoking
                            people start smoking today,
                                                 today,
20
20      they're not
        they're not going to start
                    going to start dying from lung
                                   dying from lung cancer
                                                   cancer
21
21      until
        until many
              many years out.
                   years out.          So
                                       So I
                                          I have a little
                                            have a little bit of
                                                          bit of

22
22      concern about
        concern about using
                      using current levels of
                            current levels    supply to
                                           of supply to
23
23      draw broad assessments
        draw broad assessments regarding the --
                               regarding the -- the
                                                the nature
                                                    nature

24
24      of the
        of the epidemic.
               epidemic.


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1
1                           But I
                            But   think that
                                I think that we can reduce
                                             we can        opioid
                                                    reduce opioid

2
2       prescribing further within
        prescribing further        the County
                            within the        and the
                                       County and the City
                                                      City

3
3       and do
        and do so
               so safely
                  safely and
                         and in
                             in a
                                a way that's concordant
                                  way that's concordant

4
4       with evidence-based medicine,
        with evidence-based medicine, and should it
                                      and should it be
                                                    be

5
5       helpful for you
        helpful for     or for
                    you or for plaintiffs or for
                               plaintiffs or for the
                                                 the
6
6       courts, I'm
        courts, I'm happy to further
                    happy to further opine
                                     opine on these
                                           on these

7
7       matters.
        matters.

8
8                           But it
                            But it probably
                                   probably would take a
                                            would take   further
                                                       a further

9
9       investigation of
        investigation of --
                         -- of
                            of data as well.
                               data as well.

10
10            Q.
              Q.        Now, but
                        Now, but in
                                 in --
                                    -- in
                                       in connection
                                          connection with
                                                     with your
                                                          your

11
11      opinions, I
        opinions,   assume you
                  I assume you didn't
                               didn't speak to any
                                      speak to any patients
                                                   patients

12
12      who are currently
        who are currently being
                          being prescribed
                                prescribed opioids by their
                                           opioids by their
13
13      physicians in Cabell
        physicians in        County.
                      Cabell County.                 Correct?
                                                     Correct?

14
14            A.
              A.        That's correct, although
                        That's correct, although I've spoken with
                                                 I've spoken with

15
15      many, many
        many,      patients, and
              many patients, and many, many family
                                 many, many family members,
                                                   members,
16
16      and many,
        and many, many
                  many people
                       people who are bereaved
                              who are bereaved because
                                               because

17
17      their moms
        their      and dads,
              moms and       brothers and
                       dads, brothers     sisters and
                                      and sisters     sons
                                                  and sons

18
18      and daughters
        and daughters have died.
                      have died.              So --
                                              So -- and
                                                    and I also treat
                                                        I also treat
19
19      patients --
        patients --

20
20            Q.
              Q.        Let's --
                        Let's --
21
21            A.
              A.        -- so
                        -- so while --
                              while --

22
22            Q.
              Q.        Let's go
                        Let's go back to my
                                 back to my question.
                                            question.

23
23                          MR. BURNETT:
                            MR. BURNETT:        Counsel, again, I
                                                Counsel, again, I

24
24      believe Doctor
        believe        Alexander was
                Doctor Alexander was not finished with
                                     not finished with his
                                                       his



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1
1       answer.
        answer.

2
2                           MS. GEIST:
                            MS. GEIST:     We're in the
                                           We're in the last
                                                        last hour and
                                                             hour and

3
3       a half.
        a half.         My question
                        My          -- we
                           question -- we went through this
                                          went through this
4
4       before, Counsel.
        before, Counsel.

5
5                           My question
                            My question was simple.
                                        was simple.          Did
                                                             Did you speak
                                                                 you speak

6
6       to any
        to any patients in Cabell
               patients in Cabell County/Huntington
                                  County/Huntington who are
                                                    who are

7
7       prescribed opioids by
        prescribed opioids by their
                              their physicians?
                                    physicians?
8
8                           MR. BURNETT:
                            MR. BURNETT:      And Counsel,
                                              And Counsel, you're
                                                           you're not
                                                                  not

9
9       entitled to
        entitled to interrupt
                    interrupt the
                              the witness just because
                                  witness just because he
                                                       he

10
10      hasn't answered the
        hasn't answered the question the way
                            question the way you
                                             you want.
                                                 want.                 I
                                                                       I

11
11      would
        would ask
              ask you to allow
                  you to allow him to give
                               him to give a full answer,
                                           a full answer,

12
12      and then
        and then you
                 you can ask follow-up.
                     can ask follow-up.
13
13                          MS. GEIST:
                            MS. GEIST:     He can answer
                                           He can answer "yes"
                                                         "yes" or
                                                               or
14
14      "no" and
        "no" and then
                 then if
                      if he
                         he wants to expand
                            wants to expand on
                                            on it
                                               it --
                                                  --
15
15            Q.
              Q.        But it's
                        But it's a
                                 a yes or no.
                                   yes or no.          Did
                                                       Did you
                                                           you speak
                                                               speak with
                                                                     with

16
16      any patients
        any patients in
                     in Cabell
                        Cabell County of City
                               County of City of
                                              of Huntington
                                                 Huntington
17
17      who are currently
        who are currently being
                          being prescribed
                                prescribed opioids by their
                                           opioids by their
18
18      physician or health
        physician or health care
                            care provider?
                                 provider?

19
19                          MR. BURNETT:
                            MR. BURNETT:      And Counsel,
                                              And Counsel, he
                                                           he was in
                                                              was in

20
20      the process
        the process of
                    of answering
                       answering the
                                 the question, so you're
                                     question, so you're

21
21      not being fair
        not being fair to
                       to the
                          the witness.
                              witness.

22
22            A.
              A.        My concern
                        My concern about
                                   about simply
                                         simply saying
                                                saying "no"
                                                       "no" is
                                                            is I
                                                               I

23
23      wouldn't
        wouldn't want to misconstrue
                 want to misconstrue my
                                     my knowledge of the
                                        knowledge of the
24
24      clinical dimensions
        clinical dimensions of
                            of opioid
                               opioid prescribing, and so
                                      prescribing, and so I
                                                          I



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1
1       think it's
        think it's important
                   important to
                             to highlight that while
                                highlight that while I
                                                     I did
                                                       did

2
2       not -- the
        not -- the answer
                   answer is
                          is no,
                             no, I
                                 I did
                                   did not
                                       not speak
                                           speak with any
                                                 with any

3
3       patients that I
        patients that   can recall
                      I can        from Cabell
                            recall from Cabell County or
                                               County or

4
4       the City
        the City of
                 of Huntington
                    Huntington that
                               that are
                                    are --
                                        -- are
                                           are receiving or
                                               receiving or

5
5       on long-term
        on long-term opioids,
                     opioids, that
                              that I've spoken with
                                   I've spoken with many,
                                                    many,

6
6       many patients
        many          and many,
             patients and       many family
                          many, many family members,
                                            members, and
                                                     and
7
7       I've -- treat
        I've -- treat patients
                      patients that
                               that have been on
                                    have been on long-term
                                                 long-term
8
8       opioids.
        opioids.

9
9                           So
                            So I just want
                               I just      to put
                                      want to put on the record
                                                  on the record

10
10      that I
        that I have experience in
               have experience in this
                                  this matter,
                                       matter, even
                                               even though
                                                    though
11
11      I may not
        I may not have spoken with
                  have spoken with patients in Cabell
                                   patients in Cabell

12
12      County and the
        County and the City of Huntington.
                       City of Huntington.

13
13            Q.
              Q.        Okay.
                        Okay.   So just
                                So just so
                                        so I'm clear, you
                                           I'm clear, you didn't
                                                          didn't

14
14      speak to
        speak to any
                 any patients in Cabell
                     patients in Cabell County/City of
                                        County/City of

15
15      Huntington who
        Huntington     are currently
                   who are currently being
                                     being prescribed
                                           prescribed

16
16      opioids, and
        opioids, and you
                     you didn't speak to
                         didn't speak to any
                                         any physicians in
                                             physicians in

17
17      Cabell
        Cabell County/Huntington about their
               County/Huntington about their prescribing
                                             prescribing

18
18      habits
        habits with
               with respect to opioids.
                    respect to opioids.                  That's true,
                                                         That's true,

19
19      correct?
        correct?

20
20                         MR. BURNETT:
                           MR. BURNETT:        Objection.
                                               Objection.     Asked and
                                                              Asked and
21
21      answered.
        answered.

22
22            A.
              A.        I mentioned that
                        I mentioned that I
                                         I have spoken with
                                           have spoken with Doctor
                                                            Doctor

23
23      Kilkenny, and
        Kilkenny, and I
                      I would just point
                        would just       to my
                                   point to my previous
                                               previous

24
24      answers to
        answers to your previous questions
                   your previous           for further
                                 questions for further


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1
1       information regarding
        information           this matter.
                    regarding this matter.

2
2             Q.
              Q.        That
                        That was it, Doctor
                             was it,        Kilkenny.
                                     Doctor Kilkenny.       But you
                                                            But you

3
3       don't
        don't recall
              recall sitting
                     sitting here today if
                             here today if you spoke with
                                           you spoke with

4
4       him about his
        him about     prescription patterns
                  his prescription          for opioids,
                                   patterns for opioids,

5
5       correct?
        correct?

6
6                           MR. BURNETT:
                            MR. BURNETT:      Objection, asked
                                              Objection, asked and
                                                               and
7
7       answered.
        answered.

8
8             A.
              A.        This
                        This was
                             was a
                                 a conversation that took
                                   conversation that took place
                                                          place

9
9       perhaps
        perhaps six or nine
                six or nine months ago, and
                            months ago, and we spoke about
                                            we spoke about
10
10      many different
        many different matters, and I
                       matters, and I don't
                                      don't recall the
                                            recall the

11
11      details of the
        details of the conversation at that
                       conversation at that level.
                                            level.
12
12            Q.
              Q.        Now, do
                        Now, do you agree with
                                you agree with me,
                                               me, Doctor
                                                   Doctor

13
13      Alexander, as
        Alexander, as a
                      a physician,
                        physician, that
                                   that the
                                        the ultimate
                                            ultimate

14
14      decision to prescribe
        decision to           is based
                    prescribe is       on risk/benefit
                                 based on risk/benefit

15
15      analysis and
        analysis and the
                     the individual
                         individual patient
                                    patient factors
                                            factors that
                                                    that a
                                                         a

16
16      doctor or health
        doctor or        care provider
                  health care          is considering?
                              provider is considering?
17
17      True?
        True?

18
18            A.
              A.        Well,
                        Well, I believe --
                              I believe -- I
                                           I mean, this is
                                             mean, this is similar
                                                           similar
19
19      to questions
        to           that I
           questions that I believe I've been
                            believe I've been asked
                                              asked
20
20      previously in a
        previously in a prior
                        prior deposition, but -- but
                              deposition, but    but --
                                                     -- and
                                                        and
21
21      I think my
        I think    answer then
                my answer then is
                               is the
                                  the same
                                      same as my answer
                                           as my answer
22
22      today, which
        today,       is that
               which is that ultimately, physicians or
                             ultimately, physicians or
23
23      other licensed
        other licensed prescribers
                       prescribers may make decisions
                                   may make           about
                                            decisions about

24
24      the use
        the     of a
            use of a medicine,
                     medicine, hopefully
                               hopefully with patients, but
                                         with patients, but


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1
1       they, in
        they, in turn,
                 turn, are
                       are informed
                           informed by
                                    by a
                                       a great
                                         great number of
                                               number of

2
2       other factors.
        other factors.
3
3                           And so
                            And so it's
                                   it's not so --
                                        not so -- so it's not
                                                  so it's not so
                                                              so

4
4       simple.
        simple.

5
5             Q.
              Q.        Do
                        Do you
                           you have any information
                               have any information in
                                                    in connection
                                                       connection

6
6       with
        with your opinion that
             your opinion that there's
                               there's an
                                       an oversupply
                                          oversupply of
                                                     of
7
7       prescription opioids today
        prescription opioids today --
                                   -- do
                                      do you
                                         you have
                                             have any
                                                  any

8
8       information about
        information about what
                          what percentage of the
                               percentage of the
9
9       prescription opioids being
        prescription opioids being dispensed in Cabell
                                   dispensed in Cabell

10
10      County/Huntington
        County/Huntington are for patients
                          are for patients dealing
                                           dealing with
                                                   with

11
11      cancer-related pain?
        cancer-related pain?

12
12            A.
              A.        I
                        I wasn't
                          wasn't asked to evaluate
                                 asked to evaluate that.
                                                   that.
13
13            Q.
              Q.        Do
                        Do you
                           you have any information
                               have any information as to what
                                                    as to what

14
14      percentage of prescription
        percentage of prescription opioids
                                   opioids being
                                           being dispensed
                                                 dispensed

15
15      in Cabell
        in Cabell County/Huntington to patients
                  County/Huntington to patients are to
                                                are to

16
16      treat arthritis
        treat           or rheumatoid
              arthritis or rheumatoid arthritis?
                                      arthritis?

17
17                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

18
18            A.
              A.        Which -- which
                        Which --       one?
                                 which one?        Or both?
                                                   Or both?   Arthritis --
                                                              Arthritis --

19
19            Q.
              Q.        I'll say
                        I'll say --
                                 -- well,
                                    well, do
                                          do you
                                             you have any
                                                 have any

20
20      information whatsoever
        information whatsoever about
                               about what
                                     what percentage of
                                          percentage of

21
21      prescription opioids that
        prescription opioids that are
                                  are being
                                      being dispensed in
                                            dispensed in

22
22      Cabell
        Cabell County/Huntington today are
               County/Huntington today are to
                                           to treat
                                              treat
23
23      patients
        patients with rheumatoid arthritis?
                 with rheumatoid arthritis?
24
24                         MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.



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1
1             A.
              A.        I
                        I wasn't
                          wasn't asked to evaluate
                                 asked to evaluate that,
                                                   that, nor
                                                         nor did
                                                             did I
                                                                 I

2
2       have
        have data to do
             data to    so.
                     do so.

3
3             Q.
              Q.        Did
                        Did you
                            you have any information
                                have any information as
                                                     as to
                                                        to what
                                                           what

4
4       percentage of prescription
        percentage of prescription opioids
                                   opioids being
                                           being dispensed
                                                 dispensed

5
5       in Cabell
        in Cabell County/Huntington today are
                  County/Huntington today are for
                                              for patients
                                                  patients

6
6       with arthritis?
        with arthritis?

7
7                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

8
8             A.
              A.        And do
                        And do you
                               you mean
                                   mean degenerative joint disease
                                        degenerative joint disease

9
9       or what
        or what we call wear
                we call      and tear
                        wear and tear arthritis,
                                      arthritis, which is a
                                                 which is a
10
10      different
        different disease than rheumatoid
                  disease than            arthritis?
                               rheumatoid arthritis?

11
11            Q.
              Q.        I just said
                        I just said "arthritis"
                                    "arthritis" so
                                                so --
                                                   --
12
12            A.
              A.        Well,
                        Well, which type of
                              which type of arthritis
                                            arthritis are
                                                      are you
                                                          you

13
13      referring to?
        referring to?

14
14            Q.
              Q.        Let's say
                        Let's say degenerative.
                                  degenerative.
15
15            A.
              A.        So opioids
                        So opioids --
                                   -- there
                                      there are
                                            are many
                                                many patients
                                                     patients that
                                                              that
16
16      are receiving
        are receiving opioids
                      opioids for
                              for arthritis
                                  arthritis who
                                            who would
                                                would do
                                                      do

17
17      better with
        better      alternative treatments
               with alternative treatments that
                                           that are safer
                                                are safer

18
18      and more
        and more --
                 --
19
19            Q.
              Q.        That
                        That wasn't my --
                             wasn't my -- that
                                          that wasn't
                                               wasn't my
                                                      my question.
                                                         question.

20
20      My question
        My          is:
           question is:         Do
                                Do you
                                   you know
                                       know how many or
                                            how many or what
                                                        what

21
21      percentage of patients
        percentage of patients in
                               in Cabell County/Huntington
                                  Cabell County/Huntington

22
22      are being
        are being dispensed, prescribed opioids
                  dispensed, prescribed opioids for
                                                for the
                                                    the
23
23      treatment of
        treatment of arthritis,
                     arthritis, degenerative arthritis?
                                degenerative arthritis?

24
24                          MR. BURNETT:
                            MR. BURNETT:      And I
                                              And I will note again
                                                    will note again


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1
1       that you
        that     interrupted the
             you interrupted the witness.
                                 witness.

2
2             A.
              A.        I
                        I wasn't
                          wasn't asked to provide
                                 asked to provide such
                                                  such an estimate.
                                                       an estimate.

3
3             Q.
              Q.        Do
                        Do you
                           you have any idea
                               have any idea how
                                             how many or what
                                                 many or what

4
4       percentage of patients
        percentage of patients in
                               in Cabell County/Huntington
                                  Cabell County/Huntington

5
5       are being
        are being dispensed
                  dispensed prescription opioids to
                            prescription opioids to treat
                                                    treat
6
6       musculoskeletal conditions?
        musculoskeletal conditions?
7
7                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

8
8             A.
              A.        Yeah, this
                        Yeah, this wasn't
                                   wasn't -- this
                                             this wasn't
                                                  wasn't part
                                                         part of my
                                                              of my

9
9       report.
        report.         My report
                        My        focused on
                           report focused on evidence-based
                                             evidence-based
10
10      methods to
        methods to abate
                   abate the
                         the epidemic.
                             epidemic.
11
11            Q.
              Q .       Now, in
                        Now, in terms
                                terms of
                                      of your opinion with
                                         your opinion with respect
                                                           respect

12
12      to reducing
        to reducing what
                    what you
                         you have determined is
                             have determined is an
                                                an

13
13      oversupply of
        oversupply of prescription
                      prescription opioids
                                   opioids in
                                           in Cabell
                                              Cabell

14
14      County/Huntington,
        County/Huntington, you
                           you are
                               are not offering any
                                   not offering     opinion
                                                any opinion

15
15      that the
        that the distributors
                 distributors who are the
                              who are the defendants in
                                          defendants in

16
16      this case
        this case need to change
                  need to        or modify
                          change or modify their
                                           their business
                                                 business
17
17      practices.
        practices.         Is that correct?
                           Is that correct?

18
18            A.
              A.        I
                        I wasn't
                          wasn't asked to opine
                                 asked to opine on
                                                on the
                                                   the role of --
                                                       role of

19
19      of a
        of a specific
             specific party
                      party such
                            such as distributors.
                                 as distributors.

20
20            Q.
              Q.        Do
                        Do you
                           you know
                               know who the parties
                                    who the         or the
                                            parties or the
21
21      defendants are in
        defendants are in this
                          this case?
                               case?

22
22            A.
              A.        I believe I
                        I believe I know the big
                                    know the     three, at
                                             big three, at least.
                                                           least.
23
23      I don't know
        I don't      if there
                know if there are
                              are more.
                                  more.
24
24            Q.
              Q.        And just
                        And just to
                                 to confirm,
                                    confirm, Doctor Alexander, you
                                             Doctor Alexander, you



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1
1       will
        will not at the
             not at the trial
                        trial in
                              in this
                                 this case
                                      case be offering any
                                           be offering any

2
2       opinions specific
        opinions specific to
                          to any
                             any of
                                 of the
                                    the three
                                        three distributors
                                              distributors
3
3       who are defendants
        who are defendants here,
                           here, namely AmerisourceBergen
                                 namely AmerisourceBergen

4
4       Drug
        Drug Corporation, McKesson and
             Corporation, McKesson and Cardinal
                                       Cardinal Health?
                                                Health?

5
5             A.
              A.        Not unless
                        Not        -- not
                            unless -- not unless
                                          unless I
                                                 I was
                                                   was asked to do
                                                       asked to do

6
6       so by
        so    the judge
           by the judge or,
                        or, you
                            you know, the parties
                                know, the parties agreed
                                                  agreed

7
7       that I
        that   should do
             I should do so.
                         so.           But that's
                                       But that's not
                                                  not my
                                                      my current
                                                         current

8
8       understanding of the
        understanding of the role
                             role that
                                  that I
                                       I would
                                         would play.
                                               play.

9
9             Q.
              Q.        Okay.
                        Okay.   And you
                                And you don't
                                        don't have
                                              have any opinions of
                                                   any opinions of
10
10      that nature
        that        in your
             nature in      expert report
                       your expert        that we've
                                   report that       been
                                               we've been

11
11      talking about
        talking about today,
                      today, correct?
                             correct?
12
12            A.
              A.        Well, again, there's
                        Well, again, there's --
                                             -- there's
                                                there's sort
                                                        sort of
                                                             of the
                                                                the
13
13      technical term
        technical term of
                       of art "legal opinion"
                          art "legal opinion" and
                                              and then
                                                  then
14
14      there's opinions.
        there's opinions.         But in
                                  But in my
                                         my report,
                                            report, I
                                                    I do
                                                      do discuss
                                                         discuss

15
15      oversupply, but
        oversupply, but I think that's
                        I think that's as
                                       as close
                                          close as
                                                as I get to
                                                   I get to
16
16      discussing the role
        discussing the      of --
                       role of -- of
                                  of potentially arguably
                                     potentially arguably

17
17      the role
        the role of
                 of distributors.
                    distributors.

18
18            Q.
              Q.        Now, you
                        Now, you also
                                 also state that harm
                                      state that      from
                                                 harm from

19
19      oversupply arises
        oversupply arises from
                          from diversion,
                               diversion, diversion
                                          diversion

20
20      throughout the
        throughout the supply
                       supply chain.
                              chain.                Is that correct?
                                                    Is that correct?
21
21            A.
              A.        Yes, it
                        Yes, it is,
                                is, although
                                    although if
                                             if we're
                                                we're going to go
                                                      going to go

22
22      in detail
        in detail here, it would
                  here, it would be
                                 be helpful for me
                                    helpful for    if you
                                                me if you

23
23      could project
        could         the page
              project the page at
                               at which
                                  which we
                                        we are
                                           are discussing.
                                               discussing

24
24            Q.
              Q.        Well,
                        Well, I thought I
                              I thought I was looking at
                                          was looking at it,
                                                         it, and
                                                             and


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1
1       I'm
        I'm right.
            right.         So it's right
                           So it's right here,
                                         here, Doctor, on the
                                               Doctor, on the
2
2       screen, page
        screen,      16 --
                page 16

3
3             A.
              A.        Okay.
                        Okay.

4
4             Q.
              Q.        -- first
                        -- first paragraph,
                                 paragraph, you say, "Harm
                                            you say, "Harm from
                                                           from
5
5       this oversupply
        this oversupply arises
                        arises from
                               from many
                                    many points in the
                                         points in the
6
6       continuum of
        continuum of care,
                     care, ranging from how
                           ranging from how clinicians
                                            clinicians

7
7       treat pain
        treat      to the
              pain to the diversion
                          diversion of
                                    of opioids
                                       opioids throughout
                                               throughout
8
8       the supply
        the supply chain."
                   chain."
9
9                           Do
                            Do you
                               you see that?
                                   see that?

10
10            A.
              A.        Yes,
                        Yes, I do.
                             I do.

11
11            Q.
              Q.        Okay.
                        Okay.   That's
                                That's what
                                       what I'm
                                            I'm referring to.
                                                referring to.          If
                                                                       If

12
12      there is
        there is diversion of prescription
                 diversion of              opioids
                              prescription opioids

13
13      throughout the
        throughout the supply
                       supply chain,
                              chain, who is doing
                                     who is       the
                                            doing the

14
14      diverting?
        diverting?

15
15            A.
              A.        Well, many --
                        Well, many --
16
16                          MR. BURNETT:
                            MR. BURNETT:         Objection.
                                                 Objection.

17
17            A.
              A.        I
                        I mean,
                          mean, I
                                I wasn't asked to
                                  wasn't asked to opine
                                                  opine on
                                                        on --
                                                           -- on
                                                              on

18
18      the nature
        the        of drug
            nature of drug diversion.
                           diversion.                  What
                                                       What I
                                                            I can tell you
                                                              can tell you

19
19      - and
        - and what
              what we
                   we discussed briefly previously
                      discussed briefly            - is
                                        previously - is
20
20      that if
        that if you look at
                you look at a
                            a population level at
                              population level at where
                                                  where

21
21      people say that
        people say that they're
                        they're getting
                                getting their
                                        their opioids
                                              opioids who
                                                      who

22
22      are using
        are       them nonmedically,
            using them nonmedically, the
                                     the vast
                                         vast majority
                                              majority say
                                                       say

23
23      either that
        either that they
                    they got them from
                         got them from a friend or
                                       a friend or family
                                                   family
24
24      member who,
        member      in turn,
               who, in turn, got
                             got them
                                 them from
                                      from a
                                           a licensed
                                             licensed


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1
1       prescriber, or that
        prescriber, or that they
                            they got them from
                                 got them from a
                                               a licensed
                                                 licensed
2
2       prescriber themselves.
        prescriber themselves.

3
3                           But the
                            But the broader
                                    broader point
                                            point here is that
                                                  here is that
4
4       there is
        there is at
                 at least
                    least some level of
                          some level of diversion
                                        diversion all the
                                                  all the

5
5       way through the
        way through the supply
                        supply chain,
                               chain, so
                                      so you
                                         you can talk all
                                             can talk all
6
6       the way
        the     from drug
            way from drug warehouses to end
                          warehouses to end users, and
                                            users, and

7
7       there is
        there is some
                 some degree
                      degree of
                             of diversion throughout the
                                diversion throughout the
8
8       supply chain.
        supply chain.
9
9             Q.
              Q.        And you're
                        And you're not offering any
                                   not offering any expert
                                                    expert opinions
                                                           opinions
10
10      with
        with respect to diversion
             respect to diversion or
                                  or the
                                     the procedures
                                         procedures in
                                                    in
11
11      place to prevent
        place to prevent diversion,
                         diversion, I
                                    I assume.
                                      assume.                Correct?
                                                             Correct?

12
12            A.
              A.        Well, obliquely I
                        Well, obliquely   speak to
                                        I speak to some
                                                   some of
                                                        of those
                                                           those
13
13      matters, for
        matters, for example,
                     example, with the implementation
                              with the implementation of
                                                      of
14
14      safe storage
        safe storage and take-back programs.
                     and take-back programs.                But I
                                                            But I don't
                                                                  don't

15
15      directly speak to
        directly speak to the
                          the role of distributors
                              role of              or
                                      distributors or

16
16      pharmacies or, you
        pharmacies or, you know,
                           know, methods
                                 methods -- redesigning
                                            redesigning

17
17      work flow processes
        work flow           that could
                  processes that       be used
                                 could be used by those
                                               by those

18
18      parties
        parties so as to
                so as to improve
                         improve the
                                 the safe
                                     safe distribution
                                          distribution of
                                                       of

19
19      opioids.
        opioids.

20
20            Q.
              Q.        But certainly
                        But certainly as
                                      as you just acknowledged,
                                         you just acknowledged,

21
21      you're
        you're well aware that
               well aware that there
                               there is
                                     is diversion of
                                        diversion of

22
22      prescription opioids by
        prescription opioids by individuals
                                individuals who -- who
                                            who -- who

23
23      either steal
        either steal them
                     them or get them
                          or get them from
                                      from a friend or
                                           a friend or
24
24      family member,
        family member, take
                       take them
                            them out
                                 out of
                                     of the
                                        the medicine
                                            medicine


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1
1       cabinet and
        cabinet and use them in
                    use them in a
                                a nonmedical
                                  nonmedical way.
                                             way.                    Correct?
                                                                     Correct?

2
2             A.
              A.        Yes.
                        Yes.

3
3             Q.
              Q.        Now, we
                        Now,    talked a
                             we talked a little
                                         little bit
                                                bit about
                                                    about the
                                                          the
4
4       programs and interventions
        programs and interventions already
                                   already in
                                           in Cabell
                                              Cabell

5
5       County/Huntington to address
        County/Huntington to address prevention, so I'm
                                     prevention, so I'm not
                                                        not

6
6       going to rehash
        going to rehash a
                        a lot
                          lot of
                              of that.
                                 that.                    Although just
                                                          Although just to
                                                                        to
7
7       ask you
        ask you quickly, are you
                quickly, are     familiar with
                             you familiar      the State
                                          with the State
8
8       Prevention First
        Prevention First program that's already
                         program that's already in
                                                in

9
9       existence in
        existence in West
                     West Virginia?
                          Virginia?

10
10            A.
              A.        The -- it's
                        The -- it's the
                                    the State
                                        State level
                                              level primary
                                                    primary

11
11      prevention program?
        prevention program?

12
12            Q.
              Q.        Yeah, it's
                        Yeah, it's called Prevention First.
                                   called Prevention First.             It's a
                                                                        It's a

13
13      -- literally,
        -- literally, it's
                      it's called
                           called Prevention
                                  Prevention First program
                                             First program

14
14      and it's
        and it's in
                 in existence
                    existence in
                              in West
                                 West Virginia.
                                      Virginia.

15
15            A.
              A.        Yeah, I
                        Yeah,   --
                              I --

16
16            Q.
              Q.        Are you
                        Are     familiar with
                            you familiar      that program?
                                         with that program?

17
17            A.
              A.        I believe that
                        I believe that I considered or
                                       I considered or reviewed
                                                       reviewed

18
18      information about
        information about it,
                          it, but
                              but --
                                  -- but
                                     but I
                                         I can't
                                           can't provide
                                                 provide a
                                                         a

19
19      lot of
        lot of additional
               additional detail about it.
                          detail about it.
20
20            Q.
              Q.        Can
                        Can you tell me
                            you tell    anything about
                                     me anything about what
                                                       what

21
21      Prevention First
        Prevention First does and whether
                         does and         or not
                                  whether or     it's
                                             not it's

22
22      available to
        available to Cabell
                     Cabell County?
                            County?

23
23            A.
              A.        Well, there are
                        Well, there are literally
                                        literally --
                                                  --
24
24                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.



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1
1             A.
              A.        There are literally
                        There are literally dozens or hundreds
                                            dozens or          of
                                                      hundreds of

2
2       different
        different programs that have
                  programs that      been deployed
                                have been          over
                                          deployed over

3
3       time in
        time in the
                the City of Huntington
                    City of            and Cabell
                            Huntington and Cabell County
                                                  County

4
4       and in
        and in the
               the State,
                   State, and so you
                          and so you know,
                                     know, again,
                                           again, I -- I
                                                  I -- I --

5
5       if this
        if this report is featured
                report is featured --
                                   -- I'm sorry, if
                                      I'm sorry, if this
                                                    this
6
6       program is featured
        program is featured in
                            in the
                               the materials that I've
                                   materials that I've

7
7       provided, then I
        provided, then I reviewed it at
                         reviewed it at some
                                        some level
                                             level of
                                                   of
8
8       detail.
        detail.

9
9                          But no,
                           But no, I
                                   I can't speak to
                                     can't speak to the
                                                    the way that
                                                        way that

10
10      it may
        it     be currently
           may be currently deployed in the
                            deployed in the County.
                                            County.

11
11            Q.
              Q.        Do
                        Do you
                           you know -- do
                               know -- do you
                                          you know to whom
                                              know to      the
                                                      whom the

12
12      prevention or promotional
        prevention or promotional campaign
                                  campaign messages are
                                           messages are

13
13      directed to by
        directed to by the
                       the Prevention
                           Prevention First
                                      First program?
                                            program?

14
14            A.
              A.        Well,
                        Well, I'm aware that
                              I'm aware that there
                                             there have been
                                                   have been

15
15      important social
        important social marketing
                         marketing campaigns
                                   campaigns and media
                                             and media

16
16      outreach that's
        outreach that's been
                        been deployed
                             deployed in
                                      in an
                                         an effort
                                            effort to
                                                   to help
                                                      help

17
17      educate the
        educate the general
                    general public
                            public regarding,
                                   regarding, you
                                              you know, the
                                                  know, the

18
18      safe use
        safe     and storage
             use and         of opioids
                     storage of opioids and
                                        and principles
                                            principles of
                                                       of

19
19      sound pain
        sound      management.
              pain management.

20
20                          So
                            So I
                               I don't
                                 don't know if this
                                       know if this is
                                                    is the
                                                       the program
                                                           program

21
21      that you're
        that you're referring to, but
                    referring to, but --
22
22            Q.
              Q.        No, this
                        No, this program is actually
                                 program is actually directed
                                                     directed
23
23      towards physicians.
        towards physicians.

24
24            A.
              A.        Okay.
                        Okay.



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1
1             Q.
              Q.        Let's move
                        Let's      on, though,
                              move on, though, and
                                               and talk
                                                   talk about
                                                        about pre
                                                              pre

2
2       -- physicians
        --            -- you
           physicians -- you have a header,
                             have a         a specific
                                    header, a specific
3
3       header,
        header, under Prevention where
                under Prevention where you talk about
                                       you talk about

4
4       Health Professional
        Health Professional Education.
                            Education.                  And so
                                                        And so the
                                                               the goal
                                                                   goal
5
5       here is "to
        here is "to train
                    train health
                          health care
                                 care providers, including"
                                      providers, including"

6
6       doctors "and other
        doctors "and other authorized
                           authorized health
                                      health care"
                                             care"

7
7       providers
        providers who can write
                  who can write prescriptions for opioids.
                                prescriptions for opioids.
8
8       Correct?
        Correct?

9
9             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
10
10            Q.
              Q.        And just
                        And just by
                                 by way of general
                                    way of general purpose, through
                                                   purpose, through

11
11      this part
        this      of your
             part of your plan,
                          plan, you're focusing on
                                you're focusing on raising
                                                   raising

12
12      awareness and
        awareness and disseminating
                      disseminating information
                                    information to
                                                to the
                                                   the
13
13      medical community.
        medical community.            Is that a
                                      Is that a fair
                                                fair
14
14      characterization?
        characterization?

15
15            A.
              A.        Yes.
                        Yes.

16
16            Q.
              Q.        Okay.
                        Okay.   And this,
                                And this, obviously
                                          obviously --
                                                    -- when
                                                       when we're
                                                            we're

17
17      talking about
        talking about the
                      the medical community, we're
                          medical community,       talking
                                             we're talking

18
18      about Cabell
        about Cabell County/City of Huntington,
                     County/City of Huntington, true?
                                                true?
19
19            A.
              A.        Yes.
                        Yes.

20
20            Q.
              Q.        Okay.
                        Okay.   Sitting here
                                Sitting      today, on
                                        here today, on September
                                                       September
21
21      18th,
        18th, 2020,
              2020, who in the
                    who in the medical community of
                               medical community of Cabell
                                                    Cabell

22
22      County/City of Huntington
        County/City of            do you
                       Huntington do     think does
                                     you think does not
                                                    not

23
23      already know
        already      about the
                know about the opioid epidemic?
                               opioid epidemic?

24
24            A.
              A.        Well --
                        Well --



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1
1                          MR. BURNETT:
                           MR. BURNETT:       Objection.
                                              Objection.

2
2             A.
              A.        I mean, everybody
                        I mean, everybody has -- my
                                          has -- my sense is, is
                                                    sense is, is
3
3       that everybody
        that everybody knows somebody that's
                       knows somebody that's been impacted.
                                             been impacted.

4
4       But it's
        But it's one
                 one thing
                     thing to
                           to know that the
                              know that the house is on
                                            house is on
5
5       fire, and
        fire,     it's another
              and it's another thing
                               thing to
                                     to know
                                        know how to put
                                             how to     it
                                                    put it

6
6       out.
        out.

7
7                           And so
                            And so I think that
                                   I think that there's
                                                there's enormous
                                                        enormous
8
8       headway that can
        headway that     be made
                     can be      in training
                            made in training individuals
                                             individuals
9
9       and ensuring
        and ensuring that
                     that they're
                          they're up to date
                                  up to date with the
                                             with the

10
10      latest science
        latest science regarding
                       regarding prevention, treatment and
                                 prevention, treatment and

11
11      recovery.
        recovery.

12
12                          So
                            So I think that
                               I think that virtually all
                                            virtually all

13
13      providers
        providers can benefit from
                  can benefit from additional
                                   additional opportunities
                                              opportunities
14
14      for training.
        for training.         There may --
                              There may -- it
                                           it may
                                              may be that it
                                                  be that it
15
15      shouldn't be
        shouldn't    one size
                  be one size fits
                              fits all
                                   all and
                                       and that
                                           that some
                                                some

16
16      providers
        providers need a different
                  need a           type of
                         different type of training
                                           training than
                                                    than
17
17      others, but
        others, but I think that
                    I think that the
                                 the vast
                                     vast majority of
                                          majority of

18
18      providers in the
        providers in the community
                         community can benefit from
                                   can benefit from an
                                                    an

19
19      opportunity to
        opportunity to --
                       -- to
                          to learn
                             learn more and to
                                   more and to reflect
                                               reflect and
                                                       and

20
20      to learn
        to learn about
                 about programs and services
                       programs and services that
                                             that are
                                                  are

21
21      constantly changing
        constantly changing and
                            and where there's sort
                                where there's sort of
                                                   of a
                                                      a
22
22      dynamic nature
        dynamic        of that.
                nature of that.
23
23                          There's an ever-evolving
                            There's an ever-evolving evidence
                                                     evidence base
                                                              base

24
24      around treatments,
        around treatments, and
                           and so
                               so I think there's
                                  I think there's lots
                                                  lots --
                                                       --


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1
1       you
        you know, there's lots
            know, there's lots of providers, I
                               of providers,   think, can
                                             I think, can

2
2       benefit.
        benefit.

3
3             Q.
              Q.        And is
                        And is it
                               it your opinion that
                                  your opinion that today
                                                    today doctors
                                                          doctors
4
4       and health
        and        care providers
            health care providers in
                                  in Cabell
                                     Cabell County/
                                            County/

5
5       Huntington are
        Huntington are not already aware
                       not already aware of
                                         of the
                                            the opioid
                                                opioid

6
6       epidemic and
        epidemic and the
                     the risk/benefit
                         risk/benefit calculus that needs
                                      calculus that needs

7
7       to be
        to be undertaken in prescribing
              undertaken in             opioids, just
                            prescribing opioids, just like
                                                      like
8
8       with any other
        with any other medication?
                       medication?

9
9             A.
              A.        I
                        I was
                          was not asked to
                              not asked to perform
                                           perform a
                                                   a comprehensive
                                                     comprehensive
10
10      needs
        needs assessment.
              assessment.         But again,
                                  But        it's one
                                      again, it's     thing to
                                                  one thing to be
                                                               be
11
11      aware at
        aware    a high
              at a      level; and
                   high level;     it's another
                               and it's another thing
                                                thing to
                                                      to
12
12      really
        really know state of
               know state of the
                             the art
                                 art evidence-based
                                     evidence-based methods
                                                    methods

13
13      of managing
        of managing pain, to feel
                    pain, to feel empowered,
                                  empowered, and to be
                                             and to be

14
14      appropriately linked
        appropriately linked and
                             and to
                                 to know
                                    know how to utilize
                                         how to         the
                                                utilize the

15
15      types of
        types of services
                 services and
                          and programs that we've
                              programs that we've discussed
                                                  discussed

16
16      together today.
        together today.
17
17                          I
                            I mean, this --
                              mean, this -- this
                                            this abatement
                                                 abatement plan
                                                           plan

18
18      won't
        won't work if there's
              work if there's not some training.
                              not some training.            And I'm
                                                            And I'm

19
19      not naive enough
        not naive enough to
                         to think
                            think that
                                  that many
                                       many of
                                            of these
                                               these
20
20      providers
        providers don't
                  don't have a broad
                        have a broad understanding of the
                                     understanding of the
21
21      epidemic, but
        epidemic, but I think that
                      I think that the
                                   the vast
                                       vast majority
                                            majority can
                                                     can
22
22      benefit extensively
        benefit extensively from
                            from opportunities
                                 opportunities for
                                               for
23
23      additional training.
        additional training.
24
24            Q.
              Q.        Well,
                        Well, your
                              your goal of this
                                   goal of this aspect
                                                aspect of
                                                       of your
                                                          your



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1
1       abatement plan
        abatement      is to
                  plan is to reduce
                             reduce oversupply
                                    oversupply through
                                               through
2
2       reducing prescriptions.
        reducing prescriptions.            Isn't that your
                                           Isn't that your -- the
                                                              the
3
3       goal of your
        goal of your plan?
                     plan?

4
4             A.
              A.        I mean, it's
                        I mean, it's more than that.
                                     more than that.        I mean,
                                                            I mean,

5
5       that's important.
        that's important.        But I'm
                                 But     sure that
                                     I'm sure that I
                                                   I discuss in
                                                     discuss in

6
6       here - and
        here - and I
                   I know elsewhere in
                     know elsewhere in the
                                       the report,
                                           report, I
                                                   I

7
7       discuss - that
        discuss - that it's
                       it's not just about
                            not just about reducing
                                           reducing

8
8       oversupply.
        oversupply.         I
                            I mean, that's very
                              mean, that's very important.
                                                important.       But we
                                                                 But we

9
9       need to do
        need to    it --
                do it -- but
                         but you
                             you can't just ratchet
                                 can't just ratchet down
                                                    down

10
10      opioids.
        opioids.

11
11                          You
                            You have to understand
                                have to            evidence-based
                                        understand evidence-based

12
12      pain treatment.
        pain treatment.         You can't just
                                You can't just focus
                                               focus on
                                                     on pain
                                                        pain

13
13      treatment.
        treatment.         You
                           You have to identify
                               have to identify opioid
                                                opioid use
                                                       use

14
14      disorder.
        disorder.        You can't
                         You       just identify
                             can't just identify opioid
                                                 opioid use
                                                        use

15
15      disorder;
        disorder; you
                  you have to be
                      have to be able to screen
                                 able to screen in a
                                                in a

16
16      sensitive matter
        sensitive        -- manner
                  matter --        for things
                            manner for things like
                                              like intimate
                                                   intimate
17
17      partner
        partner violence and posttraumatic
                violence and posttraumatic stress
                                           stress disorder.
                                                  disorder.

18
18                          So it's not
                            So it's not --
                                        -- so
                                           so it's
                                              it's not -- my
                                                   not -- my point
                                                             point

19
19      is it's
        is it's not just about
                not just about training
                               training docs
                                        docs and other
                                             and other

20
20      prescribers to ratchet
        prescribers to ratchet down the opioids.
                               down the opioids.
21
21            Q.
              Q.        Now, as
                        Now, as part of your
                                part of your plan,
                                             plan, you
                                                   you suggest that
                                                       suggest that

22
22      the focus
        the focus should
                  should be
                         be on
                            on top
                               top prescribers,
                                   prescribers, whether
                                                whether

23
23      those are
        those are physicians,
                  physicians, dentists,
                              dentists, nurse practitioners
                                        nurse practitioners

24
24      or P.A.'s,
        or P.A.'s, correct?
                   correct?


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1
1             A.
              A.        Yes.
                        Yes.

2
2             Q.
              Q.        And that
                        And that these
                                 these academic
                                       academic detailers,
                                                detailers, as
                                                           as I
                                                              I

3
3       think you
        think you refer to them,
                  refer to them, should
                                 should meet
                                        meet with these top
                                             with these top
4
4       prescribers four times
        prescribers four times a
                               a year.
                                 year.                    Is that right?
                                                          Is that right?

5
5             A.
              A.        Yes.
                        Yes.

6
6             Q.
              Q.        And this
                        And this assumes, of course,
                                 assumes, of         that these
                                             course, that these top
                                                                top
7
7       prescribers are not
        prescribers are not already
                            already fully
                                    fully aware
                                          aware of the
                                                of the

8
8       opioid epidemic
        opioid epidemic and
                        and the
                            the risk/benefit
                                risk/benefit profile of
                                             profile of

9
9       prescription opioids.
        prescription opioids.             Correct?
                                          Correct?

10
10            A.
              A.        To -- may
                        To -- may I --
                                  I --

11
11                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

12
12            A.
              A.        -- ask
                        -- ask to
                               to pause for one
                                  pause for one minute,
                                                minute, please?
                                                        please?

13
13            Q.
              Q.        Yes.
                        Yes.     Do
                                 Do you
                                    you need to take
                                        need to take a
                                                     a call
                                                       call or
                                                            or

14
14      something?
        something?

15
15            A.
              A.        No, no,
                        No,     thank you.
                            no, thank you.           I just would
                                                     I just       like to
                                                            would like to
16
16      review.
        review.         Because in
                        Because in this
                                   this section,
                                        section, I believe that
                                                 I believe that
17
17      there is
        there is more
                 more content
                      content regarding the --
                              regarding the -- the
                                               the --
                                                   -- sort
                                                      sort
18
18      of the
        of the comprehensive
               comprehensive nature
                             nature of
                                    of the
                                       the training
                                           training that
                                                    that I
                                                         I

19
19      propose, and so
        propose, and so I just wondered
                        I just          -- I
                               wondered -- I mean, so for
                                             mean, so for
20
20      example, in
        example, in Paragraph
                    Paragraph 51,
                              51, I talk about
                                  I talk about "hospitals,
                                               "hospitals,
21
21      health systems, integrated
        health systems, integrated delivery
                                   delivery networks,"
                                            networks,"

22
22      "should work
        "should work diligently to incorporate
                     diligently to incorporate programming
                                               programming

23
23      and professional
        and professional development to raise
                         development to       awareness and
                                        raise awareness and
24
24      knowledge
        knowledge regarding
                  regarding drivers of the
                            drivers of the epidemic."
                                           epidemic."


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1
1             Q.
              Q.        Right.
                        Right.    But I'm
                                  But I'm --
                                          -- I
                                             I understand that,
                                               understand that,

2
2       Doctor Alexander, and
        Doctor Alexander,     there's a
                          and there's   lot of
                                      a lot of paragraphs
                                               paragraphs

3
3       here in this
        here in this section of your
                     section of your plan.
                                     plan.

4
4             A.
              A.        I
                        I know.
                          know.

5
5             Q.
              Q.        But what
                        But what I'm asking you
                                 I'm asking     about specifically
                                            you about specifically
6
6       is about
        is about the
                 the academic
                     academic detailers that you
                              detailers that     are
                                             you are

7
7       suggesting --
        suggesting --
8
8             A.
              A.        Yeah.
                        Yeah.

9
9             Q.
              Q.        -- be
                        -- be deployed to speak
                              deployed to speak to
                                                to top
                                                   top prescribers
                                                       prescribers

10
10      four times
        four times a
                   a year.
                     year.

11
11            A.
              A.        Right, right.
                        Right, right.      That's fine.
                                           That's fine.       That's fine.
                                                              That's fine.

12
12      That's fine.
        That's fine.         I just wanted
                             I just        to call
                                    wanted to call out
                                                   out that
                                                       that in
                                                            in
13
13      Paragraph 40,
        Paragraph 40, I discuss that
                      I discuss that efforts
                                     efforts to
                                             to reduce
                                                reduce

14
14      oversupply should
        oversupply should be coupled with
                          be coupled      information
                                     with information

15
15      regarding the principles
        regarding the principles of
                                 of sound
                                    sound pain
                                          pain management,
                                               management,

16
16      comprehensive assessments
        comprehensive assessments and
                                  and so on and
                                      so on and so forth.
                                                so forth.

17
17                          I'm sorry, but
                            I'm sorry, but I just wanted
                                           I just        to be
                                                  wanted to be
18
18      sure that
        sure that I made clear
                  I made clear that
                               that it's
                                    it's not
                                         not just
                                             just about
                                                  about

19
19      ratcheting down prescribing.
        ratcheting down prescribing.
20
20                          So
                            So yes, academic detailing
                               yes, academic           is a
                                             detailing is a
21
21      program that I
        program that I propose
                       propose and
                               and I believe should
                                   I believe should be
                                                    be

22
22      targeted to
        targeted to the
                    the highest
                        highest volume prescribers with
                                volume prescribers with

23
23      outreach four
        outreach four times
                      times a
                            a year.
                              year.

24
24            Q.
              Q.        So is
                        So is it
                              it possible that the
                                 possible that the highest
                                                   highest



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1
1       prescribers in the
        prescribers in the region are fully
                           region are fully informed
                                            informed and
                                                     and
2
2       are already
        are already aware
                    aware of
                          of the
                             the risk/benefit profile of
                                 risk/benefit profile of
3
3       prescription opioids and
        prescription opioids and of
                                 of alternative
                                    alternative treatments
                                                treatments
4
4       to patients
        to patients with
                    with pain?
                         pain?

5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

6
6             A.
              A.        That's something that
                        That's something that the
                                              the academic
                                                  academic

7
7       detailers
        detailers could -- could
                  could -- could --
                                 -- could
                                    could evaluate
                                          evaluate and
                                                   and
8
8       could discuss
        could discuss with the prescribers.
                      with the prescribers.

9
9             Q.
              Q.        Now, in
                        Now, in terms
                                terms of
                                      of your population to
                                         your population to which
                                                            which

10
10      the academic
        the academic detailing
                     detailing would be focused
                               would be focused and the
                                                and the

11
11      cost, it
        cost, it looks
                 looks to
                       to me from reviewing
                          me from reviewing your - sorry
                                            your - sorry -
                                                         -
12
12      redress
        redress model for health
                model for health professional education,
                                 professional education,

13
13      you don't have
        you don't      a cost
                  have a cost estimate.
                              estimate.                 Is that
                                                        Is that right?
                                                                right?

14
14            A.
              A.        I
                        I would like to
                          would like to look
                                        look at the redress
                                             at the         model.
                                                    redress model.

15
15            Q.
              Q.        Yeah, you
                        Yeah,     can.
                              you can.     We marked it.
                                           We marked it.       It's Exhibit
                                                               It's Exhibit

16
16      7.
        7.

17
17                          MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, I don't think
                                                       I don't think
18
18      we
        we did mark it.
           did mark it.        Exhibit 7
                               Exhibit   is just
                                       7 is just Appendix
                                                 Appendix C.
                                                          C.

19
19      It's a one
        It's a one -- you
                      you know, a front
                          know, a front and
                                        and a
                                            a back
                                              back of
                                                   of one
                                                      one
20
20      document.
        document.        It's just
                         It's just --
                                   --
21
21                          MS. GEIST:
                            MS. GEIST:     There is --
                                           There is -- I'm sorry,
                                                       I'm sorry,

22
22      Counsel, or Doctor
        Counsel, or        Alexander.
                    Doctor Alexander.

23
23                          Is there a
                            Is there a tab
                                       tab like
                                           like 7.1
                                                7.1 or
                                                    or something
                                                       something

24
24      like that?
        like that?


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1
1             A.
              A.        Yes, there
                        Yes, there is.
                                   is.
2
2             Q.
              Q.        Okay, that's
                        Okay, that's where it is.
                                     where it is.             I apologize.
                                                              I apologize.

3
3                  ALEXANDER DEPOSITION
                   ALEXANDER            EXHIBIT NO.
                             DEPOSITION EXHIBIT NO. 7.1
                                                    7.1

4
4                           (Alexander Appendix D
                            (Alexander Appendix   - Redress
                                                D - Redress Model
                                                            Model
5
5                           FINAL
                            FINAL was
                                  was marked for identification
                                      marked for identification
6
6                           purposes as Alexander
                            purposes as Alexander Deposition
                                                  Deposition

7
7                          Exhibit No.
                           Exhibit No. 7.1.)
                                       7.1.)

8
8                           VIDEO
                            VIDEO TECH:
                                  TECH:       Exhibit 7.1
                                              Exhibit 7.1 has
                                                          has been
                                                              been

9
9       marked on
        marked on Exhibit
                  Exhibit Share.
                          Share.
10
10                          MS. GEIST:
                            MS. GEIST:       Thank
                                             Thank you,
                                                   you, John.
                                                        John.

11
11            A.
              A.        Okay, I
                        Okay, I have
                                have Tab
                                     Tab 1A available from
                                         1A available from Exhibit
                                                           Exhibit
12
12      7.1.
        7.1.

13
13            Q.
              Q.        Great.
                        Great.    Okay.
                                  Okay.    So just
                                           So just for
                                                   for the
                                                       the record,
                                                           record,

14
14      Doctor Alexander, this
        Doctor Alexander, this is
                               is Exhibit
                                  Exhibit 7.1.
                                          7.1.                   It is your
                                                                 It is your

15
15      redress
        redress model,
                model, with the population
                       with the            inputs that
                                population inputs that you
                                                       you

16
16      had included with
        had included with your expert report.
                          your expert report.                   Does this
                                                                Does this

17
17      look --
        look -- is
                is this
                   this familiar
                        familiar to
                                 to you?
                                    you?

18
18            A.
              A.        Yes, although
                        Yes, although I
                                      I believe an errata
                                        believe an errata or
                                                          or
19
19      addendum was
        addendum was provided,
                     provided, but
                               but I
                                   I don't think it's
                                     don't think it's
20
20      germane to the
        germane to the matter at hand,
                       matter at       professional
                                 hand, professional

21
21      education.
        education.

22
22            Q.
              Q.        Okay.
                        Okay.    And yes,
                                 And yes, we do have
                                          we do have your errata,
                                                     your errata,

23
23      thank you.
        thank you.        But I
                          But I didn't
                                didn't mark it for
                                       mark it for purposes of
                                                   purposes of

24
24      these questions.
        these questions.



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1
1                           So in terms
                            So in terms of
                                        of the
                                           the academic
                                               academic detailing
                                                        detailing

2
2       that you're
        that you're proposing,
                    proposing, you
                               you have
                                   have a certain number
                                        a certain        of
                                                  number of

3
3       prescribers?
        prescribers?

4
4             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
5
5             Q.
              Q.        Okay.
                        Okay.   And it
                                And it indicates
                                       indicates to
                                                 to me
                                                    me -
                                                       - looking
                                                         looking at
                                                                 at
6
6       this section
        this section of
                     of the
                        the redress model -
                            redress model - that
                                            that you are
                                                 you are

7
7       assuming an
        assuming an increase
                    increase in
                             in the
                                the number
                                    number of prescribers
                                           of prescribers

8
8       every year
        every      from 2021
              year from 2021 through
                             through 20
                                     20 --
                                        -- well, from 2021
                                           well, from 2021
9
9       through 2035.
        through 2035.
10
10            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
11
11            Q.
              Q.        And for
                        And for this
                                this population estimate, did
                                     population estimate, did you
                                                              you

12
12      utilize any data
        utilize any      specific to
                    data specific to Cabell
                                     Cabell County/
                                            County/

13
13      Huntington, or
        Huntington, or is
                       is this
                          this West Virginia statewide
                               West Virginia statewide

14
14      data?
        data?

15
15            A.
              A.        Well, the source
                        Well, the source of
                                         of the
                                            the information
                                                information is
                                                            is from
                                                               from
16
16      -- is
           is provided on Line
              provided on Line 20, and so
                               20, and so this
                                          this was 2017
                                               was 2017

17
17      data from HRSA,
        data from HRSA, essentially.
                        essentially.
18
18                          And I
                            And   believe that
                                I believe that it's
                                               it's county-
                                                    county-

19
19      specific.
        specific.

20
20            Q.
              Q.        Okay.
                        Okay.   You can
                                You can put this aside.
                                        put this aside.       The
                                                              The

21
21      academic detailing
        academic detailing that
                           that you are suggesting
                                you are suggesting to
                                                   to
22
22      prescribers,
        prescribers, you indicate again
                     you indicate again that
                                        that that
                                             that is
                                                  is to
                                                     to
23
23      educate them
        educate them and train them
                     and train them on
                                    on the
                                       the appropriate
                                           appropriate use
                                                       use

24
24      of opioids
        of opioids in
                   in their
                      their clinical
                            clinical practice.
                                     practice.               True?
                                                             True?



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1
1             A.
              A.        Yes.
                        Yes.

2
2             Q.
              Q.        So it
                        So it assumes,
                              assumes, does it not,
                                       does it      that the
                                               not, that the top
                                                             top
3
3       prescribers that you
        prescribers that     indicate should
                         you indicate should be targeted
                                             be targeted

4
4       for this
        for this detailing
                 detailing four
                           four times
                                times a
                                      a year
                                        year do
                                             do not
                                                not

5
5       understand the appropriate
        understand the appropriate use of opioids
                                   use of opioids in
                                                  in their
                                                     their
6
6       practice.
        practice.         It assumes
                          It assumes that,
                                     that, does
                                           does it
                                                it not?
                                                   not?         It
                                                                It

7
7       assumes they
        assumes they need to be
                     need to be educated
                                educated and
                                         and they
                                             they don't
                                                  don't

8
8       understand
        understand how to appropriately
                   how to appropriately prescribe opioids.
                                        prescribe opioids.

9
9       True?
        True?

10
10                             MR. BURNETT:
                               MR. BURNETT:      Objection, asked
                                                 Objection, asked and
                                                                  and
11
11      answered.
        answered.

12
12            A.
              A.        I mean, it
                        I mean, it provides -- it's
                                   provides -- it's a
                                                    a reasonable
                                                      reasonable

13
13      place -- if
        place -- if you're gonna --
                    you're gonna -- if
                                    if you're gonna reach
                                       you're gonna reach

14
14      out and
        out and try
                try to
                    to identify
                       identify the
                                the potential
                                    potential oversupply,
                                              oversupply,
15
15      continuing oversupply,
        continuing oversupply, of opioids, it's
                               of opioids, it's a
                                                a

16
16      reasonable approach, I
        reasonable approach, I believe, in my
                               believe, in    professional
                                           my professional

17
17      experience, to
        experience, to target
                       target individuals
                              individuals for
                                          for that
                                              that outreach
                                                   outreach
18
18      that are
        that are at
                 at the
                    the top
                        top of
                            of the
                               the pyramid.
                                   pyramid.

19
19                             And some
                               And some of
                                        of them
                                           them may be prescribing
                                                may be             --
                                                       prescribing --

20
20      I mean, some
        I mean,      of them
                some of them may
                             may be prescribing more
                                 be prescribing more

21
21      appropriately than
        appropriately than others;
                           others; and
                                   and -- and
                                          and resources
                                              resources
22
22      notwithstanding, one could
        notwithstanding, one could use local data
                                   use local      to design
                                             data to design
23
23      a different
        a different approach.
                    approach.             In other words,
                                          In other        it might
                                                   words, it       be
                                                             might be

24
24      that one
        that one of
                 of these
                    these doctors is a
                          doctors is a hospice
                                       hospice doctor.
                                               doctor.



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1
1                           Now, it just
                            Now, it just so
                                         so happens that opioids
                                            happens that opioids
2
2       are actually
        are actually overprescribed,
                     overprescribed, many
                                     many would
                                          would argue - and
                                                argue - and
3
3       some studies
        some studies suggest
                     suggest -
                             - even
                               even in
                                    in hospice,
                                       hospice, but say if
                                                but say if
4
4       one of
        one of the
               the doctors
                   doctors was
                           was a
                               a hospice doctor, you
                                 hospice doctor,     could
                                                 you could

5
5       decide
        decide not to reach
               not to       out to
                      reach out to her, or you
                                   her, or you could derive
                                               could derive

6
6       another approach.
        another approach.
7
7                           But I
                            But   think this
                                I think this is
                                             is a
                                                a reasonable
                                                  reasonable

8
8       approach.
        approach.        But I'm
                         But I'm not
                                 not suggesting that all
                                     suggesting that all of
                                                         of these
                                                            these
9
9       doctors that would
        doctors that       be targeted
                     would be targeted for
                                       for outreach are
                                           outreach are

10
10      doing
        doing something
              something wrong or should
                        wrong or should necessarily
                                        necessarily change
                                                    change

11
11      their behavior.
        their behavior.

12
12            Q.
              Q.        Okay.
                        Okay.   Well, then you
                                Well, then     agree with
                                           you agree with me that in
                                                          me that in
13
13      fact it
        fact it could be the
                could be the case
                             case that
                                  that every
                                       every single one of
                                             single one of
14
14      these top
        these top prescribers that you
                  prescribers that you would target for
                                       would target for
15
15      academic detailing
        academic detailing may
                           may be fully informed
                               be fully informed as
                                                 as to
                                                    to the
                                                       the
16
16      risk/benefit
        risk/benefit calculus involved in
                     calculus involved in any
                                          any prescription
                                              prescription
17
17      of opioids
        of opioids for
                   for their
                       their patients,
                             patients, especially
                                       especially sitting
                                                  sitting

18
18      here in September
        here in September of
                          of 2020,
                             2020, you
                                   you would agree with
                                       would agree      me
                                                   with me

19
19      that that
        that that is
                  is certainly
                     certainly a
                               a possibility.
                                 possibility.

20
20                          Correct,
                            Correct, Doctor?
                                     Doctor?

21
21            A.
              A.        I think it
                        I think it would be highly
                                   would be highly unlikely in my
                                                   unlikely in my
22
22      professional judgment.
        professional judgment.

23
23            Q.
              Q.        But you
                        But you don't
                                don't know, sitting here,
                                      know, sitting       either
                                                    here, either

24
24      way.
        way.       True?
                   True?



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1
1                              MR. BURNETT:
                               MR. BURNETT:      Objection, asked
                                                 Objection, asked and
                                                                  and
2
2       answered.
        answered.

3
3             A.
              A.        Yeah, I
                        Yeah, I wasn't asked to
                                wasn't asked to perform
                                                perform a
                                                        a quality
                                                          quality
4
4       evaluation of
        evaluation of the
                      the current prescribing patterns
                          current prescribing patterns of
                                                       of

5
5       -- of
        -- of prescribers in Cabell
              prescribers in Cabell County
                                    County and the City
                                           and the      of
                                                   City of

6
6       Huntington.
        Huntington.

7
7             Q.
              Q.        You
                        You know,
                            know, Doctor, that we
                                  Doctor, that we are,
                                                  are, I think,
                                                       I think,

8
8       four years
        four       now past
             years now      the CDC's
                       past the CDC's guidelines
                                      guidelines with
                                                 with

9
9       respect to the
        respect to the prescription of opioids.
                       prescription of opioids.                Correct?
                                                               Correct?

10
10            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
11
11            Q.
              Q.        You're very
                        You're very familiar
                                    familiar with those guidelines,
                                             with those guidelines,

12
12      true?
        true?

13
13            A.
              A.        I
                        I have
                          have working experience with
                               working experience      them, yes.
                                                  with them, yes.

14
14            Q.
              Q.        Okay.
                        Okay.    And West
                                 And West Virginia,
                                          Virginia, as a state,
                                                    as a state, has
                                                                has

15
15      put forward different
        put forward different guidelines to the
                              guidelines to the physician
                                                physician

16
16      community through
        community through the
                          the State
                              State Medical
                                    Medical Board.
                                            Board.                True?
                                                                  True?

17
17            A.
              A.        Yes, I
                        Yes,   believe that's
                             I believe that's the
                                              the case.
                                                  case.

18
18            Q.
              Q.        And you're
                        And        familiar with
                            you're familiar      all of
                                            with all of that,
                                                        that,
19
19      right?
        right?

20
20            A.
              A.        Yes.
                        Yes.    Again, with
                                Again, with varying levels of
                                            varying levels of
21
21      familiarity.
        familiarity.           But I
                               But   think virtually
                                   I think virtually every
                                                     every state in
                                                           state in

22
22      the country
        the country has
                    has worked to try
                        worked to try to
                                      to institute
                                         institute
23
23      guidelines to promote
        guidelines to promote more evidence-based opioid
                              more evidence-based opioid
24
24      use.
        use.



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1
1             Q.
              Q.        What -- and
                        What -- and of
                                    of course,
                                       course, I'm sure you're
                                               I'm sure you're

2
2       familiar because
        familiar because you
                         you have it in
                             have it in your
                                        your report, the
                                             report, the

3
3       PDMP program
        PDMP         in West
             program in      Virginia, I
                        West Virginia,   think it's
                                       I think it's --
                                                    -- the
                                                       the
4
4       specific acronym
        specific acronym is
                         is the
                            the CSMP,
                                CSMP, and that's the
                                      and that's the Board
                                                     Board
5
5       of Pharmacy's
        of Pharmacy's Controlled Substance Monitoring
                      Controlled Substance Monitoring
6
6       Program.
        Program.         That
                         That has been in
                              has been in place and required
                                          place and          to be
                                                    required to be

7
7       used
        used now by physicians
             now by physicians and
                               and pharmacists for some
                                   pharmacists for some
8
8       time.
        time.      True?
                   True?

9
9             A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
10
10            Q.
              Q.        What can you
                        What can     tell me
                                 you tell me about the
                                             about the

11
11      physician education that
        physician education that has
                                 has gone on in
                                     gone on in the
                                                the state
                                                    state
12
12      of West
        of West Virginia and in
                Virginia and in Cabell
                                Cabell County specifically
                                       County specifically

13
13      with
        with respect to the
             respect to the appropriate
                            appropriate prescribing of
                                        prescribing of

14
14      opioids for
        opioids for their
                    their patients?
                          patients?

15
15                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

16
16            Q.
              Q.        Other than
                        Other than what
                                   what I just listed.
                                        I just listed.
17
17            A.
              A.        Again, I
                        Again, I did
                                 did not perform a
                                     not perform a comprehensive
                                                   comprehensive
18
18      evaluation of
        evaluation of programs
                      programs to
                               to date,
                                  date, but
                                        but what
                                            what I
                                                 I would
                                                   would

19
19      say is
        say is that
               that in
                    in virtually every part
                       virtually every part of
                                            of the
                                               the country,
                                                   country,
20
20      there is
        there is value
                 value in
                       in further
                          further investments
                                  investments being
                                              being made in
                                                    made in

21
21      educating clinicians
        educating clinicians regarding
                             regarding not just the
                                       not just the
22
22      appropriate use
        appropriate     of opioids
                    use of opioids -
                                   - although
                                     although that's
                                              that's
23
23      important -
        important - but
                    but also
                        also the
                             the principles of sound
                                 principles of sound pain
                                                     pain
24
24      management and
        management and also
                       also the
                            the identification
                                identification and
                                               and


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1
1       treatment of
        treatment of people
                     people with opioid addiction.
                            with opioid addiction.
2
2                           I
                            I mean,
                              mean, keep in mind,
                                    keep in mind, you
                                                  you know,
                                                      know,

3
3       anywhere from
        anywhere from 8
                      8 to
                        to 10
                           10 percent
                              percent or 8 to
                                      or 8 to 9
                                              9 percent of
                                                percent of

4
4       the County
        the County is
                   is estimated
                      estimated to
                                to have opioid use
                                   have opioid use

5
5       disorder.
        disorder.

6
6                           So this isn't
                            So this isn't just
                                          just about
                                               about --
                                                     -- this
                                                        this isn't
                                                             isn't
7
7       just about
        just about improving
                   improving the
                             the treatment
                                 treatment of people with
                                           of people with

8
8       pain; it's also
        pain; it's also about
                        about better
                              better identifying
                                     identifying and
                                                 and
9
9       treating those
        treating those with opioid use
                       with opioid     disorder.
                                   use disorder.

10
10            Q.
              Q.        Now, you
                        Now, you agree
                                 agree with me, I
                                       with me, I assume,
                                                  assume, Doctor
                                                          Doctor

11
11      Alexander, that
        Alexander, that there
                        there is
                              is already
                                 already courses
                                         courses offered
                                                 offered
12
12      regarding the appropriate
        regarding the appropriate prescription
                                  prescription of
                                               of opioids
                                                  opioids
13
13      from or
        from or through
                through the
                        the West
                            West Virginia Board of
                                 Virginia Board of

14
14      Medicine.
        Medicine.         Correct?
                          Correct?

15
15            A.
              A.        I believe there's
                        I believe there's educational
                                          educational outreach.
                                                      outreach.        I
                                                                       I

16
16      don't
        don't know the details
              know the details of the curricular
                               of the            offerings.
                                      curricular offerings.

17
17            Q.
              Q.        And Marshall
                        And Marshall --
                                     -- so
                                        so you
                                           you don't
                                               don't know
                                                     know what type
                                                          what type

18
18      of CMEs
        of      or other
           CMEs or other educational
                         educational programs the West
                                     programs the West

19
19      Virginia Board
        Virginia Board of
                       of Medicine
                          Medicine has offered and
                                   has offered and is
                                                   is
20
20      offering to
        offering to its
                    its --
                        -- to
                           to its
                              its physician
                                  physician community
                                            community for
                                                      for
21
21      the appropriate
        the appropriate prescription
                        prescription of
                                     of opioids?
                                        opioids?
22
22                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

23
23            A.
              A.        Again, I
                        Again,   -- I
                               I -- I don't
                                      don't know the details
                                            know the details of
                                                             of --
                                                                --
24
24      of sort
        of sort of
                of the
                   the number of hours
                       number of       or the
                                 hours or the --
                                              -- the
                                                 the --
                                                     -- you
                                                        you



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1
1       know, the --
        know, the -- the
                     the core
                         core curriculum
                              curriculum or
                                         or the
                                            the
2
2       competencies and
        competencies     the like.
                     and the like.              But I
                                                But   am aware
                                                    I am aware that
                                                               that
3
3       there is
        there is educational
                 educational outreach
                             outreach such
                                      such as online
                                           as online

4
4       courses that
        courses that clinicians can take
                     clinicians can take in
                                         in order
                                            order to
                                                  to better
                                                     better
5
5       stay abreast
        stay abreast of
                     of the
                        the principles of sound
                            principles of sound pain
                                                pain

6
6       management and
        management and opioid
                       opioid use.
                              use.

7
7             Q.
              Q.        Are you
                        Are     aware that
                            you aware that Project
                                           Project Engage
                                                   Engage also
                                                          also has
                                                               has

8
8       a component
        a component of
                    of that
                       that program that is
                            program that is designed to
                                            designed to

9
9       educate the
        educate the physician and prescribing
                    physician and prescribing community
                                              community as
                                                        as
10
10      to the
        to the appropriate
               appropriate way to prescribe
                           way to prescribe opioids?
                                            opioids?
11
11            A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
12
12            Q.
              Q.        And there's
                        And there's also
                                    also grand
                                         grand rounds available at
                                               rounds available at
13
13      Marshall University
        Marshall            on these
                 University on these topics,
                                     topics, correct?
                                             correct?

14
14            A.
              A.        Yeah, that
                        Yeah, that --
                                   -- that
                                      that may
                                           may be the case.
                                               be the case.      I
                                                                 I

15
15      mean, grand
        mean, grand rounds is, you
                    rounds is, you know, not likely
                                   know, not likely to
                                                    to sort
                                                       sort

16
16      of change
        of        everyone's behavior,
           change everyone's behavior, but
                                       but it's
                                           it's one
                                                one

17
17      important piece
        important       of the
                  piece of the puzzle.
                               puzzle.

18
18            Q.
              Q.        Are you
                        Are     familiar with
                            you familiar      any information
                                         with any information that
                                                              that
19
19      has come out
        has come out of
                     of the
                        the West
                            West Virginia Office of
                                 Virginia Office of
20
20      Attorney General
        Attorney General designed for physicians?
                         designed for physicians?

21
21                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

22
22            A.
              A.        You're asking
                        You're asking whether
                                      whether I'm
                                              I'm aware of
                                                  aware of

23
23      programming for clinicians
        programming for clinicians that
                                   that has been produced
                                        has been produced

24
24      by the
        by the Attorneys
               Attorneys General of West
                         General of      Virginia?
                                    West Virginia?



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1
1             Q.
              Q.        Yeah, I'm
                        Yeah,     asking you
                              I'm asking     -- I
                                         you -- I mean,
                                                  mean, we're
                                                        we're

2
2       talking about
        talking about your program that
                      your program that you
                                        you were
                                            were

3
3       proposing --
        proposing --

4
4             A.
              A.        Right.
                        Right.

5
5             Q.
              Q.        -- to
                        -- to address
                              address health
                                      health care
                                             care provider
                                                  provider

6
6       education --
        education

7
7             A.
              A.        Yeah.
                        Yeah.

8
8             Q.
              Q.        -- and
                        -- and I'm
                               I'm asking
                                   asking you, are you
                                          you, are you aware if
                                                       aware if

9
9       there is
        there is any
                 any communication tools or
                     communication tools or information
                                            information
10
10      tools that
        tools that have come out
                   have come out of
                                 of the
                                    the West
                                        West Virginia
                                             Virginia

11
11      office of
        office of The Attorney General
                  The Attorney         --
                               General --

12
12            A.
              A.        Right.
                        Right.

13
13            Q.
              Q.        -- to
                        -- to physicians.
                              physicians.

14
14            A.
              A.        Right.
                        Right.   I'm not aware
                                 I'm not aware of
                                               of that.
                                                  that.       And it
                                                              And it may
                                                                     may
15
15      well be that
        well be that there
                     there are
                           are such programs.
                               such programs.                I think one
                                                             I think one

16
16      of the
        of the important
               important things
                         things that
                                that I suggest in
                                     I suggest in my plan
                                                  my plan

17
17      is --
        is -- is
              is to
                 to use evidence-based outreach;
                    use evidence-based outreach; in
                                                 in other
                                                    other
18
18      words, to use
        words, to     opioid prescribing
                  use opioid prescribing as
                                         as a
                                            a means
                                              means to
                                                    to
19
19      identify and
        identify and target
                     target specific
                            specific prescribers.
                                     prescribers.

20
20                          And another
                            And another thing
                                        thing that
                                              that I'll
                                                   I'll note is
                                                        note is

21
21      that a
        that a lot
               lot of
                   of this
                      this conversation
                           conversation has been about
                                        has been about
22
22      physicians, but physicians
        physicians, but physicians are
                                   are just
                                       just one
                                            one type
                                                type of
                                                     of
23
23      health care personnel
        health care personnel who is so
                              who is so important
                                        important to
                                                  to reach
                                                     reach
24
24      in educational
        in educational outreach.
                       outreach.


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1
1                           So
                            So I think, you
                               I think, you know, it's also
                                            know, it's also

2
2       important to
        important to be considering EMTs,
                     be considering EMTs, nurses,
                                          nurses,

3
3       physician's assistants, dentists,
        physician's assistants, dentists, allied
                                          allied healthcare
                                                 healthcare

4
4       professionals and the
        professionals and the like.
                              like.
5
5             Q.
              Q.        What about the
                        What about the Mayor's
                                       Mayor's Office
                                               Office of
                                                      of Drug
                                                         Drug

6
6       Control Policy?
        Control Policy?         Have they
                                Have they also
                                          also been involved in
                                               been involved in
7
7       providing education and
        providing education and other
                                other materials to
                                      materials to

8
8       prescribers in Cabell
        prescribers in Cabell County?
                              County?

9
9             A.
              A.        I think that
                        I think that they
                                     they have.
                                          have.             Again, I
                                                            Again, I would
                                                                     would

10
10      want to review
        want to review materials
                       materials more
                                 more carefully
                                      carefully with
                                                with you in
                                                     you in

11
11      order to
        order to go
                 go into
                    into detail.
                         detail.            But you
                                            But you know,
                                                    know, one of the
                                                          one of the
12
12      things that
        things that we
                    we haven't
                       haven't discussed today and
                               discussed today and that
                                                   that I
                                                        I

13
13      think is
        think is important
                 important to
                           to consider
                              consider is
                                       is the
                                          the ways that
                                              ways that

14
14      programs are assessed
        programs are assessed and
                              and quantitatively
                                  quantitatively evaluated
                                                 evaluated
15
15      over time.
        over time.
16
16                          And you've
                            And        asked me
                                you've asked    about how
                                             me about     -- what
                                                      how -- what

17
17      I thought about
        I thought about City
                        City of
                             of Solutions
                                Solutions and
                                          and what
                                              what I think
                                                   I think

18
18      about various
        about         programs.
              various programs.            I've
                                           I've spoken to that.
                                                spoken to that.          But
                                                                         But

19
19      the idea
        the idea behind
                 behind academic
                        academic detailing - which
                                 detailing -       is one
                                             which is one
20
20      of the
        of the core
               core components
                    components of this Category
                               of this Category 1A - the
                                                1A - the
21
21      idea is
        idea is that
                that we actually use
                     we actually use data to have
                                     data to have a
                                                  a

22
22      data-informed outreach to
        data-informed outreach to specific
                                  specific prescribers.
                                           prescribers.

23
23            Q.
              Q.        Now, one
                        Now, one of
                                 of the
                                    the things
                                        things you suggest as
                                               you suggest as part
                                                              part

24
24      of your
        of your plan is --
                plan is -- or
                           or you
                              you raise the National
                                  raise the National



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1
1       Resource Center
        Resource        for Academic
                 Center for Academic Detailing.
                                     Detailing.                   I
                                                                  I guess
                                                                    guess

2
2       it's NRCAD,
        it's NRCAD, and that's at
                    and that's at Paragraph
                                  Paragraph 47 --
                                            47 --

3
3             A.
              A.        Yes.
                        Yes.

4
4             Q.
              Q.        -- of
                        -- of your
                              your report.
                                   report.

5
5             A.
              A.        Yes.
                        Yes.

6
6             Q.
              Q.        And that
                        And that --
                                 -- that
                                    that academic
                                         academic detailing group
                                                  detailing group

7
7       has already partnered
        has already           in West
                    partnered in West Virginia
                                      Virginia and
                                               and

8
8       specifically in
        specifically in --
                        -- in
                           in the
                              the region;
                                  region; isn't
                                          isn't that
                                                that true?
                                                     true?
9
9             A.
              A.        Yes.
                        Yes.

10
10            Q.
              Q.        Okay.
                        Okay.   Now,
                                Now, with respect to
                                     with respect to the
                                                     the --
                                                         -- the
                                                            the
11
11      CSMP, that is
        CSMP, that is the
                      the database
                          database that
                                   that is
                                        is now
                                           now required to
                                               required to

12
12      be accessed
        be accessed by both physicians
                    by both physicians and
                                       and pharmacists
                                           pharmacists

13
13      before prescribing
        before prescribing medication to ensure
                           medication to ensure that
                                                that
14
14      there's not
        there's not doctor shopping and
                    doctor shopping     things of
                                    and things    that
                                               of that

15
15      nature, and you're
        nature, and        aware of
                    you're aware of that,
                                    that, right,
                                          right, Doctor
                                                 Doctor

16
16      Alexander?
        Alexander?

17
17            A.
              A.        Yeah.
                        Yeah.   I mean, I
                                I mean,   -- I
                                        I --   think there
                                             I think there are
                                                           are
18
18      contexts in
        contexts in which it's to
                    which it's to be
                                  be used.
                                     used.                   I'm
                                                             I'm not
                                                                 not sure
                                                                     sure

19
19      it's to
        it's to be
                be used in every
                   used in every single
                                 single instance,
                                        instance, but
                                                  but I am
                                                      I am

20
20      aware of
        aware of the
                 the general
                     general role
                             role of
                                  of PDMPs,
                                     PDMPs, including
                                            including West
                                                      West

21
21      Virginia's PDMP
        Virginia's PDMP and
                        and the
                            the efforts
                                efforts to
                                        to use that to
                                           use that to try
                                                       try
22
22      to promote
        to         safer opioid
           promote safer opioid use.
                                use.

23
23            Q.
              Q.        Now,
                        Now, do
                             do you agree --
                                you agree -- well,
                                             well, do
                                                   do you agree
                                                      you agree

24
24      with me or
        with me or do
                   do you
                      you know
                          know whether the CSMP
                               whether the      is
                                           CSMP is



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1
1       accessible to
        accessible to distributors?
                      distributors?
2
2             A.
              A.        I'm not
                        I'm     aware of
                            not aware of whether or not
                                         whether or not

3
3       distributors
        distributors use this resource.
                     use this resource.

4
4             Q.
              Q.        Okay.
                        Okay.    And do
                                 And do you agree with
                                        you agree      me if
                                                  with me if a
                                                             a

5
5       pharmacist checks this
        pharmacist checks this database source, the
                               database source, the CSMP,
                                                    CSMP,

6
6       and has
        and has a
                a concern
                  concern on the pharmacist's
                          on the              part about
                                 pharmacist's part about
7
7       the prescription,
        the prescription, prior to dispensing
                          prior to            to that
                                   dispensing to that
8
8       patient, the pharmacist
        patient, the            should raise
                     pharmacist should       the concern
                                       raise the concern
9
9       with the doctor.
        with the doctor.            True?
                                    True?

10
10            A.
              A.        Well,
                        Well, I
                              I wasn't asked to
                                wasn't asked to opine
                                                opine on
                                                      on the
                                                         the use of
                                                             use of

11
11      the PDMP
        the PDMP by
                 by pharmacists
                    pharmacists per se, but
                                per se, but I think that
                                            I think that
12
12      pharmacists
        pharmacists play an important
                    play an important role in addressing
                                      role in addressing
13
13      the --
        the -- the
               the opioid
                   opioid epidemic.
                          epidemic.
14
14                             I'm sorry, if
                               I'm sorry, if you can ask
                                             you can     the question
                                                     ask the question
15
15      again, I
        again,   can try
               I can try to
                         to answer
                            answer more
                                   more directly.
                                        directly.

16
16            Q.
              Q.        Sure.
                        Sure.     You have
                                  You      -- you
                                      have -- you have
                                                  have some
                                                       some

17
17      information in
        information in your
                       your report about the
                            report about the PDMP
                                             PDMP in
                                                  in West
                                                     West

18
18      Virginia, which
        Virginia,       is the
                  which is the CSMP, correct?
                               CSMP, correct?

19
19            A.
              A.        Yes.
                        Yes.

20
20                             THE
                               THE DEPONENT:
                                   DEPONENT:       Although it
                                                   Although it would be
                                                               would be

21
21      helpful,
        helpful, Jonathan, if you
                 Jonathan, if     can show
                              you can      the paragraph
                                      show the paragraph

22
22      that we're
        that       discussing.
             we're discussing.

23
23                             MS. GEIST:
                               MS. GEIST:     It's Paragraph 43.
                                              It's Paragraph 43.

24
24            A.
              A.        Okay, thank
                        Okay, thank you.
                                    you.



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1
1             Q.
              Q.        And here
                        And here you
                                 you write, "Since academic
                                     write, "Since academic
2
2       detailing should target
        detailing should target vie volume prescribers
                                vie volume             in
                                           prescribers in

3
3       the Community,
        the Community, it
                       it must
                          must be based on
                               be based on information
                                           information
4
4       regarding specific individuals'
        regarding specific individuals' prescribing
                                        prescribing

5
5       behaviors."
        behaviors."         And "One
                            And "One source
                                     source of
                                            of such information"
                                               such information"

6
6       is the
        is the "(CSMP)."
               "(CSMP)."
7
7             A.
              A.        Right, thank
                        Right, thank you.
                                     you.

8
8             Q.
              Q.        Did
                        Did you
                            you review and research
                                review and research and ensure that
                                                    and ensure that
9
9       you
        you understood the CSMP
            understood the CSMP when
                                when you included this
                                     you included this in
                                                       in
10
10      your
        your report?
             report?

11
11            A.
              A.        Absolutely, of
                        Absolutely, of course.
                                       course.           I
                                                         I mean, the
                                                           mean, the

12
12      reference -- I
        reference --   think Reference
                     I think Reference 152, in particular,
                                       152, in particular,

13
13      would
        would be the first
              be the first that
                           that I
                                I would
                                  would point to if
                                        point to if we
                                                    we were
                                                       were

14
14      to explore
        to explore this
                   this further.
                        further.
15
15            Q.
              Q.        Okay.
                        Okay.   And then
                                And then so
                                         so you
                                            you would agree with
                                                would agree with me,
                                                                 me,

16
16      I assume, from
        I assume, from your
                       your research and review
                            research and review that
                                                that the
                                                     the
17
17      CSMP, the database
        CSMP, the          of information,
                  database of information, is
                                           is not
                                              not available
                                                  available

18
18      to distributors.
        to distributors.          True?
                                  True?

19
19            A.
              A.        Again, I
                        Again,   think you
                               I think     asked me
                                       you asked    that question,
                                                 me that question,

20
20      but I
        but I wasn't -- I'm
              wasn't -- I'm not familiar with
                            not familiar with whether or
                                              whether or

21
21      not distributors use
        not distributors     or access
                         use or access the
                                       the CSMP.
                                           CSMP.

22
22            Q.
              Q.        Okay.
                        Okay.   Fair enough.
                                Fair enough.        Question, though, with
                                                    Question, though, with

23
23      respect to the
        respect to the role of pharmacists
                       role of pharmacists here, because
                                           here, because

24
24      you did say
        you did say pharmacists
                    pharmacists play an important
                                play an important role.
                                                  role.                    Is
                                                                           Is



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1
1       that correct?
        that correct?
2
2             A.
              A.        Yes, among
                        Yes, among many other stakeholders,
                                   many other stakeholders,
3
3       absolutely.
        absolutely.

4
4             Q.
              Q.        Okay.
                        Okay.   But I
                                But   assume you
                                    I assume you would agree with
                                                 would agree      me
                                                             with me

5
5       as a
        as a practicing physician, that
             practicing physician, that the
                                        the decision
                                            decision

6
6       whether to prescribe
        whether to prescribe prescription
                             prescription opioids
                                          opioids in
                                                  in the
                                                     the
7
7       first instance,
        first instance, that
                        that decision
                             decision is
                                      is solely
                                         solely within the
                                                within the

8
8       discretion of the
        discretion of the doctor or health
                          doctor or health care
                                           care provider
                                                provider

9
9       who is authorized
        who is authorized to
                          to prescribe
                             prescribe such
                                       such medication.
                                            medication.
10
10      True?
        True?

11
11                          MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
12
12      answered.
        answered.

13
13            A.
              A.        Yeah, I
                        Yeah,   believe we
                              I believe    discussed that
                                        we discussed that before.
                                                          before.
14
14                          But it's
                            But it's the
                                     the provider
                                         provider or the
                                                  or the

15
15      prescriber - as
        prescriber - as I
                        I said
                          said before - hopefully,
                               before -            and in
                                        hopefully, and in
16
16      many cases,
        many cases, the
                    the patient,
                        patient, reaching shared decisions,
                                 reaching shared decisions,

17
17      and they,
        and they, in
                  in turn,
                     turn, are
                           are influenced
                               influenced by
                                          by any
                                             any number of
                                                 number of

18
18      other factors.
        other factors.
19
19            Q.
              Q.        So let
                        So let me
                               me try
                                  try my question again,
                                      my question again, because
                                                         because I
                                                                 I

20
20      don't think I
        don't think   asked you
                    I asked     and I
                            you and I don't think you
                                      don't think you

21
21      answered it.
        answered it.
22
22            A.
              A.        Okay.
                        Okay.

23
23            Q.
              Q.        In terms of
                        In terms of the
                                    the role of the
                                        role of the pharmacist, the
                                                    pharmacist, the

24
24      pharmacist does not
        pharmacist does not play
                            play a
                                 a role in deciding
                                   role in deciding whether
                                                    whether



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1
1       or not
        or     a prescription
           not a prescription opioid
                              opioid should
                                     should be
                                            be prescribed
                                               prescribed

2
2       in the
        in the first
               first instance.
                     instance.             That is solely
                                           That is solely within the
                                                          within the

3
3       responsibilities of the
        responsibilities of the physician or other
                                physician or other health
                                                   health

4
4       care provider
        care provider who
                      who has authority and
                          has authority and license
                                            license to
                                                    to
5
5       prescribe.
        prescribe.         True?
                           True?

6
6             A.
              A.        And my
                        And    response was
                            my response     that it's
                                        was that it's the
                                                      the
7
7       prescriber and the
        prescriber and the patient,
                           patient, so
                                    so I don't think
                                       I don't think it's
                                                     it's
8
8       just the
        just the prescriber.
                 prescriber.            I think the
                                        I think the patient, in many
                                                    patient, in many

9
9       cases, shares
        cases, shares a
                      a decision
                        decision and
                                 and I just wanted
                                     I just        to be
                                            wanted to be
10
10      sure that
        sure that I'm clear that
                  I'm clear that they,
                                 they, in
                                       in turn,
                                          turn, can
                                                can be
                                                    be

11
11      influenced by
        influenced by a
                      a number
                        number of other factors.
                               of other factors.
12
12                          But yes,
                            But      the pharmacist
                                yes, the pharmacist does
                                                    does not -- is
                                                         not -- is
13
13      not involved in
        not involved in that
                        that initial
                             initial decision.
                                     decision.                I
                                                              I would
                                                                would

14
14      agree with
        agree      that.
              with that.

15
15            Q.
              Q.        Now, you
                        Now, you reference
                                 reference here,
                                           here, I think on
                                                 I think    this
                                                         on this

16
16      same page,
        same page, Doctor Alexander, page
                   Doctor Alexander, page 18, the CDC
                                          18, the CDC

17
17      guidelines that we
        guidelines that    discussed earlier
                        we discussed earlier from
                                             from 2016, the
                                                  2016, the

18
18      "Guideline for
        "Guideline for Prescribing
                       Prescribing Opioids
                                   Opioids For
                                           For Chronic
                                               Chronic

19
19      Pain."
        Pain."      Do
                    Do you see that?
                       you see that?
20
20            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
21
21            Q.
              Q.        Okay.
                        Okay.   And you
                                And you have that as
                                        have that as a footnote.
                                                     a footnote.

22
22      Are you
        Are     -- and
            you -- and you
                       you write
                           write here - if
                                 here - if I
                                           I can find it.
                                             can find it.
23
23      There it is,
        There it is, I apologize.
                     I apologize.               Paragraph 44,
                                                Paragraph 44, you note
                                                              you note

24
24      that the
        that the CDC
                 CDC guidelines from 2016
                     guidelines from 2016 referring to
                                          referring to



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1
1       prescribing opioids for
        prescribing opioids for chronic
                                chronic pain, that these
                                        pain, that these
2
2       guidelines
        guidelines have received widespread
                   have received            endorsement.
                                 widespread endorsement.

3
3                              Do
                               Do you
                                  you see that in
                                      see that in the
                                                  the middle
                                                      middle of
                                                             of the
                                                                the
4
4       paragraph there?
        paragraph there?

5
5             A.
              A.        Yes.
                        Yes.

6
6             Q.
              Q.        And then
                        And then your
                                 your recommendation is that
                                      recommendation is that the
                                                             the
7
7       "Guideline" should
        "Guideline" should "be
                           "be cross-referenced
                               cross-referenced with other
                                                with other

8
8       guidelines and sources
        guidelines and sources used by established
                               used by established provider
                                                   provider
9
9       education programs
        education          already underway
                  programs already          on opioids."
                                   underway on opioids."
10
10                              Did
                                Did I
                                    I read that correctly?
                                      read that correctly?

11
11            A.
              A.        Yes, and
                        Yes, and then
                                 then I
                                      I would just draw
                                        would just draw your
                                                        your

12
12      attention to
        attention to Footnote
                     Footnote N
                              N where
                                where I
                                      I qualify the use
                                        qualify the     of
                                                    use of

13
13      the guidelines.
        the guidelines.
14
14            Q.
              Q.        Correct.
                        Correct.     You
                                     You say at the
                                         say at the bottom,
                                                    bottom, the
                                                            the
15
15      guideline "is" "comprehensive,
        guideline "is" "comprehensive, authoritative"
                                       authoritative" and
                                                      and
16
16      "widely cited,"
        "widely         and "any"
                cited," and "any" "detailing
                                  "detailing program as
                                             program as

17
17      part of an
        part of    abatement remedy
                an abatement remedy should
                                    should be based on
                                           be based on an
                                                       an

18
18      assessment of
        assessment of the
                      the current and suitable
                          current and          sources of
                                      suitable sources of

19
19      information for
        information for such
                        such a
                             a program."
                               program."                       Correct?
                                                               Correct?

20
20            A.
              A.        Yes.
                        Yes.

21
21            Q.
              Q.        Okay.
                        Okay.     Well,
                                  Well, my
                                        my question is:
                                           question is:             You
                                                                    You note that
                                                                        note that

22
22      the guidelines
        the guidelines from
                       from the
                            the CDC obtained widespread
                                CDC obtained widespread

23
23      endorsement.
        endorsement.           Are you
                               Are     aware that
                                   you aware that the
                                                  the American
                                                      American
24
24      Medical Association
        Medical Association came out in
                            came out in response to the
                                        response to the


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1
1       guidelines,
        guidelines, raising issues relating
                    raising issues          to patient
                                   relating to patient harm
                                                       harm

2
2       -- unintentional
        -- unintentional patient
                         patient harm
                                 harm as a result
                                      as a        of the
                                           result of the
3
3       guidelines that were
        guidelines that      put in
                        were put in place
                                    place by
                                          by the
                                             the CDC in
                                                 CDC in

4
4       2016?
        2016?

5
5             A.
              A.        I'm not
                        I'm     aware that
                            not aware that the
                                           the AMA
                                               AMA did; but I
                                                   did; but I know
                                                              know

6
6       that there
        that there has
                   has been
                       been pushback against the
                            pushback against the
7
7       guidelines, and in
        guidelines, and in fact,
                           fact, I've
                                 I've done
                                      done some empiric
                                           some empiric

8
8       work looking at
        work looking at that.
                        that.
9
9             Q.
              Q.        Okay.
                        Okay.   So you
                                So you are aware that
                                       are aware that there
                                                      there is
                                                            is at
                                                               at

10
10      least some
        least      aspect of
              some aspect of the
                             the medical community that
                                 medical community that did
                                                        did

11
11      not - and
        not - and has not -
                  has not - widely endorsed the
                            widely endorsed the CDC
                                                CDC

12
12      guidelines from 2016,
        guidelines from 2016, correct?
                              correct?
13
13            A.
              A.        I
                        I would characterize it
                          would characterize it slightly
                                                slightly
14
14      differently.
        differently.         I think the
                             I think the majority
                                         majority of concern has
                                                  of concern has

15
15      been around
        been around how the guidelines
                    how the guidelines have been
                                       have been

16
16      interpreted or
        interpreted or implemented
                       implemented rather than the
                                   rather than the science
                                                   science
17
17      of the
        of the guidelines
               guidelines themselves.
                          themselves.
18
18                          I'm
                            I'm not aware of
                                not aware of authoritative
                                             authoritative

19
19      substantive widespread
        substantive widespread concern about the
                               concern about the substance
                                                 substance
20
20      of the
        of the guidelines.
               guidelines.
21
21            Q.
              Q.        But you're
                        But you're not aware of
                                   not aware of --
                                                -- and
                                                   and you
                                                       you did
                                                           did not
                                                               not

22
22      read,
        read, I assume, the
              I assume, the letter
                            letter that
                                   that was
                                        was put
                                            put out
                                                out by the
                                                    by the

23
23      American Medical
        American Medical Association
                         Association in
                                     in response to the
                                        response to the
24
24      guidelines.
        guidelines.         Is that correct?
                            Is that correct?


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1
1             A.
              A.        I don't recall
                        I don't        if I
                                recall if I read that letter
                                            read that letter or
                                                             or
2
2       not.
        not.     But what
                 But what I can tell
                          I can tell you is that
                                     you is that there
                                                 there was
                                                       was

3
3       enormous pushback
        enormous pushback to
                          to these
                             these guidelines, and in
                                   guidelines, and in fact,
                                                      fact,
4
4       we
        we published
           published a
                     a paper examining the
                       paper examining the sources of such
                                           sources of such
5
5       pushback, and I
        pushback, and   believe I
                      I believe   referenced that
                                I referenced that as one of
                                                  as one of
6
6       the publications
        the publications in
                         in this
                            this report.
                                 report.

7
7                           So
                            So I
                               I don't
                                 don't want to go
                                       want to go back
                                                  back a
                                                       a rabbit
                                                         rabbit

8
8       hole,
        hole, but
              but I'll just say
                  I'll just say that
                                that --
                                     -- that,
                                        that, you
                                              you know, the
                                                  know, the

9
9       guidelines came out
        guidelines came out at
                            at a time when
                               a time      there was
                                      when there     a lot
                                                 was a lot
10
10      of misconceptions
        of misconceptions around the role
                          around the      that opioids
                                     role that opioids
11
11      should play
        should play in
                    in the
                       the treatment
                           treatment of
                                     of chronic
                                        chronic noncancer
                                                noncancer

12
12      pain,
        pain, and
              and unfortunately,
                  unfortunately, some of those
                                 some of those
13
13      misconceptions persist.
        misconceptions persist.

14
14                          Again, I
                            Again,   think the
                                   I think the majority of the
                                               majority of the
15
15      opposition to
        opposition to the
                      the guidelines
                          guidelines has been based
                                     has been based on
                                                    on how
                                                       how

16
16      they've been
        they've      implemented, not
                been implemented, not --
                                      -- not
                                         not sort
                                             sort of
                                                  of
17
17      concern about
        concern about the
                      the guidelines themselves.
                          guidelines themselves.

18
18            Q.
              Q.        Do
                        Do you agree that
                           you agree that as
                                          as a
                                             a results
                                               results of the
                                                       of the

19
19      guidelines or the
        guidelines or the implementation
                          implementation of
                                         of the
                                            the guidelines
                                                guidelines

20
20      that there
        that there has
                   has been - and
                       been - and perhaps
                                  perhaps inadvertently
                                          inadvertently so
                                                        so
21
21      - harm
        -      to certain
          harm to certain patients?
                          patients?

22
22            A.
              A.        I
                        I have
                          have yet to see
                               yet to see very
                                          very well
                                               well done
                                                    done rigorous
                                                         rigorous

23
23      evaluations quantifying
        evaluations             the unintended
                    quantifying the            effects of
                                    unintended effects of

24
24      these guidelines.
        these guidelines.        And I
                                 And I can tell you
                                       can tell     that I
                                                you that I have
                                                           have



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1
1       -- you
        -- you know,
               know, I
                     I have seen anecdotes
                       have seen anecdotes of people, for
                                           of people, for
2
2       example, committing
        example, committing suicide
                            suicide -
                                    - which
                                      which would
                                            would be a
                                                  be a

3
3       horrific consequence -
        horrific consequence - but
                               but I've
                                   I've not seen
                                        not seen

4
4       substantive scholarship
        substantive scholarship that
                                that has carefully
                                     has carefully

5
5       enumerated the
        enumerated the unintended consequences of
                       unintended consequences of these
                                                  these
6
6       guidelines.
        guidelines.

7
7                           I think the
                            I think the very important clinical
                                        very important clinical

8
8       matter and
        matter and very
                   very important
                        important public
                                  public health
                                         health matter, but
                                                matter, but

9
9       again, I
        again,   think the
               I think the majority
                           majority of
                                    of the
                                       the concern around
                                           concern around

10
10      the guidelines
        the guidelines has been -
                       has been - just
                                  just to
                                       to be
                                          be more
                                             more concrete
                                                  concrete

11
11      and put
        and put a sharper point
                a sharper       on this
                          point on this -
                                        - the
                                          the issue,
                                              issue, for
                                                     for
12
12      example, of
        example, of opioid
                    opioid tapering
                           tapering and
                                    and discontinuation,
                                        discontinuation,

13
13      and I
        and I speak to that
              speak to that in
                            in my report, and
                               my report, and there
                                              there is
                                                    is an
                                                       an

14
14      art and
        art and a science to
                a science to that.
                             that.
15
15                          And there
                            And there are evidence-based
                                      are evidence-based

16
16      strategies that
        strategies that we can use
                        we can     to reduce
                               use to        the oversupply
                                      reduce the oversupply
17
17      of opioids
        of opioids and
                   and the
                       the continued
                           continued overreliance
                                     overreliance on
                                                  on

18
18      opioids and,
        opioids and, simultaneously,
                     simultaneously, improve
                                     improve quality of
                                             quality of

19
19      care for
        care for those
                 those with
                       with pain.
                            pain.

20
20                          There's no contest
                            There's no contest here.
                                               here.

21
21            Q.
              Q.        Sorry --
                        Sorry --
22
22            A.
              A.        There's
                        There's no
                                no --

23
23            Q.
              Q.        Sorry, I
                        Sorry,   thought you
                               I thought you were
                                             were done.
                                                  done.

24
24            A.
              A.        I could be
                        I could be done.
                                   done.        I'm done.
                                                I'm done.



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1
1             Q.
              Q.        Okay.
                        Okay.   I just wanted
                                I just        to ask
                                       wanted to ask you a couple
                                                     you a couple
2
2       quick follow-ups.
        quick follow-ups.

3
3             A.
              A.        Okay.
                        Okay.

4
4             Q.
              Q.        You agree with
                        You agree      me that
                                  with me that not every patient
                                               not every patient

5
5       who is using
        who is using prescription opioids needs
                     prescription opioids       to be
                                          needs to be
6
6       tapered off.
        tapered off.         True?
                             True?

7
7             A.
              A.        I agree that
                        I agree that there
                                     there are
                                           are some
                                               some patients that
                                                    patients that

8
8       can be
        can be maintained
               maintained safely
                          safely and
                                 and with clinical benefit
                                     with clinical benefit
9
9       on --
        on -- on long-term opioids.
              on long-term opioids.               But it
                                                  But it depends.
                                                         depends.

10
10            Q.
              Q.        But they
                        But they are
                                 are not -- you
                                     not --     are not
                                            you are     suggesting
                                                    not suggesting

11
11      or opining
        or opining that
                   that prescription
                        prescription opioids
                                     opioids be
                                             be removed
                                                removed

12
12      from the
        from the market
                 market or
                        or that
                           that they
                                they do
                                     do not
                                        not have an
                                            have an

13
13      appropriate place
        appropriate       in terms
                    place in terms of
                                   of options
                                      options for
                                              for
14
14      physicians to use
        physicians to use with their patients
                          with their patients with pain.
                                              with pain.

15
15      You're
        You're not suggesting any
               not suggesting any of
                                  of that.
                                     that.                   True?
                                                             True?

16
16            A.
              A.        I'm not
                        I'm     suggesting that
                            not suggesting that they
                                                they should
                                                     should be
                                                            be
17
17      removed from the
        removed from the market.
                         market.             And I
                                             And   think I
                                                 I think I may
                                                           may have
                                                               have

18
18      used this example
        used this example previously,
                          previously, but
                                      but prescription
                                          prescription

19
19      drugs
        drugs aren't inherently good
              aren't inherently      or bad
                                good or     any more
                                        bad any      so
                                                more so

20
20      than a
        than a role of duct
               role of      tape or
                       duct tape or a
                                    a hammer or a
                                      hammer or a razor
                                                  razor

21
21      blade is
        blade is good
                 good or
                      or bad.
                         bad.
22
22                          The
                            The value
                                value of a drug
                                      of a drug depends
                                                depends upon
                                                        upon how
                                                             how

23
23      it's used.
        it's used.         And the
                           And the concern
                                   concern with opioids is
                                           with opioids is that
                                                           that
24
24      they've been
        they've been vastly oversupplied in
                     vastly oversupplied in many
                                            many contexts,
                                                 contexts,


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1
1       and we're
        and we're paying the price
                  paying the price many
                                   many years later.
                                        years later.

2
2             Q.
              Q.        I think a
                        I think a few
                                  few years ago, there
                                      years ago, there was
                                                       was a
                                                           a rally
                                                             rally

3
3       in Washington,
        in Washington, D.C. - was
                       D.C. -     it called
                              was it called Fed
                                            Fed Up - and
                                                Up - and
4
4       you spoke at
        you spoke at that
                     that rally,
                          rally, didn't
                                 didn't you,
                                        you, Doctor
                                             Doctor

5
5       Alexander?
        Alexander?

6
6             A.
              A.        I did.
                        I did.

7
7             Q.
              Q.        And I
                        And I watched the YouTube
                              watched the YouTube video,
                                                  video, with
                                                         with

8
8       interest, but
        interest, but one
                      one of
                          of the
                             the things
                                 things that
                                        that struck
                                             struck me is
                                                    me is

9
9       part of your
        part of your speech
                     speech really
                            really was a criticism
                                   was a criticism of
                                                   of the
                                                      the
10
10      -- of
        -- of the
              the health care system
                  health care system generally and the
                                     generally and the
11
11      coverage provided
        coverage provided for
                          for alternative
                              alternative pain
                                          pain medications.
                                               medications.

12
12      Is that correct
        Is that         -- al
                correct -- al pain -- alternative
                              pain -- alternative pain
                                                  pain

13
13      modalities or
        modalities or treatments.
                      treatments.
14
14                          Is that correct?
                            Is that correct?
15
15            A.
              A.        I don't recall
                        I don't        the details
                                recall the details of
                                                   of the
                                                      the --
                                                          -- of
                                                             of my
                                                                my

16
16      comments.
        comments.         It was
                          It was many
                                 many years ago.
                                      years ago.

17
17            Q.
              Q.        Well, today, sitting
                        Well, today, sitting here today, do
                                             here today, do you
                                                            you

18
18      agree that
        agree that there
                   there should
                         should be
                                be changes,
                                   changes, revisions to
                                            revisions to

19
19      the health
        the        care system
            health care system to
                               to allow
                                  allow for
                                        for insurance
                                            insurance
20
20      coverage for
        coverage for nonmedication-related
                     nonmedication-related pain
                                           pain modalities?
                                                modalities?

21
21            A.
              A.        I believe I
                        I believe   addressed this
                                  I addressed this in
                                                   in my
                                                      my report,
                                                         report,

22
22      and I
        and I say that this
              say that this is
                            is out
                               out of
                                   of scope.
                                      scope.                In other
                                                            In other

23
23      words,
        words, I don't consider
               I don't          coverage and
                       consider coverage and reimbursement
                                             reimbursement

24
24      considerations, but
        considerations, but I think it
                            I think it --
                                       -- it
                                          it should
                                             should be
                                                    be part
                                                       part



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1
1       of a
        of a broader
             broader conversation.
                     conversation.

2
2             Q.
              Q.        Now, you
                        Now, you said earlier when
                                 said earlier when we
                                                   we were talking
                                                      were talking

3
3       about unintentional
        about unintentional harm to patients
                            harm to patients as
                                             as a
                                                a result of
                                                  result of

4
4       the implementation
        the implementation of
                           of the
                              the CDC
                                  CDC guidelines,
                                      guidelines, you
                                                  you --

5
5       there has
        there has not been -
                  not been - from
                             from your perspective -
                                  your perspective - a
                                                     a
6
6       well-designed robust study
        well-designed robust study looking
                                   looking at that in
                                           at that in the
                                                      the
7
7       literature.
        literature.

8
8                              Is that what
                               Is that what you
                                            you said
                                                said more
                                                     more or less?
                                                          or less?

9
9             A.
              A.        More or
                        More or less.
                                less.         I'm not aware
                                              I'm not aware --
                                                            -- I'm not
                                                               I'm not

10
10      aware of
        aware of --
                 -- of
                    of well
                       well done, carefully designed
                            done, carefully designed

11
11      scientific studies
        scientific studies quantifying
                           quantifying the
                                       the unintended
                                           unintended

12
12      consequences of
        consequences of the
                        the CDC's guidelines.
                            CDC's guidelines.

13
13            Q.
              Q.        But you
                        But     -- so
                            you --    there's not
                                   so there's not scientific
                                                  scientific well
                                                             well

14
14      designed studies quantifying
        designed studies             the harm
                         quantifying the      to patients,
                                         harm to patients,

15
15      but based
        but based on
                  on your
                     your reference,
                          reference, you
                                     you know - and
                                         know - and have
                                                    have

16
16      heard, as a
        heard, as a physician - that
                    physician - that patients
                                     patients have in fact
                                              have in fact
17
17      been harmed.
        been harmed.

18
18                             And I
                               And   think you
                                   I think     even mentioned
                                           you even           that
                                                    mentioned that

19
19      some patients
        some patients have committed suicide
                      have committed suicide after
                                             after their
                                                   their
20
20      prescription opioids were
        prescription opioids      removed.
                             were removed.                       Is that right?
                                                                 Is that right?

21
21            A.
              A.        No.
                        No.     No.
                                No.   That
                                      That was a lot,
                                           was a lot, and
                                                      and I'd like to
                                                          I'd like to
22
22      unpack it.
        unpack it.            But you
                              But     -- first
                                  you -- first of
                                               of all,
                                                  all, you
                                                       you used the
                                                           used the

23
23      word "reference."
        word "reference."             Which
                                      Which reference
                                            reference are
                                                      are you
                                                          you

24
24      referring to?
        referring to?



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1
1             Q.
              Q.        I'm not
                        I'm     sure which
                            not sure       reference you're
                                     which reference you're

2
2       referring to.
        referring to.           So let
                                So let me start again.
                                       me start again.          Before you
                                                                Before you

3
3       mentioned that
        mentioned that you
                       you had
                           had heard anecdotally that
                               heard anecdotally that there
                                                      there
4
4       were cases of
        were cases of suicide
                      suicide by
                              by patients suffering
                                 patients suffering

5
5       enduring pain
        enduring pain who
                      who had their prescription
                          had their prescription opioids
                                                 opioids
6
6       removed from them
        removed from them as a result
                          as a        of the
                               result of the implementation
                                             implementation
7
7       of the
        of the CDC guidelines.
               CDC guidelines.               True?
                                             True?

8
8                             MR. BURNETT:
                              MR. BURNETT:        Objection.
                                                  Objection.

9
9             A.
              A.        No.
                        No.    No.
                               No.   I
                                     I have no idea
                                       have no idea --
                                                    -- I -- this
                                                       I -- this is
                                                                 is --
                                                                    --
10
10      so this
        so this is
                is anecdote.
                   anecdote.              I
                                          I don't
                                            don't know if it's
                                                  know if it's
11
11      pertaining or related
        pertaining or related to
                              to the
                                 the CDC guidelines.
                                     CDC guidelines.                   And
                                                                       And

12
12      speaking of
        speaking of information
                    information about
                                about --
                                      -- speaking
                                         speaking of
                                                  of
13
13      clinical information
        clinical information about
                             about individual
                                   individual cases,
                                              cases, I
                                                     I have
                                                       have

14
14      no
        no clinical information about
           clinical information about this
                                      this particular
                                           particular

15
15      instance.
        instance.

16
16                            And so
                              And so you
                                     you know, in --
                                         know, in -- I mean, there
                                                     I mean, there
17
17      are so
        are so many
               many different
                    different levels
                              levels at
                                     at which
                                        which you
                                              you could
                                                  could

18
18      raise
        raise concern about drawing
              concern about         causal inference
                            drawing causal inference from
                                                     from
19
19      that type
        that type of
                  of anecdote,
                     anecdote, and -- and
                               and --     sort of
                                      and sort of reaching
                                                  reaching

20
20      some attribution
        some attribution or
                         or conclusion about a
                            conclusion about a guideline
                                               guideline

21
21      based on
        based    that.
              on that.

22
22                            So
                              So I just --
                                 I just -- it's
                                           it's --
                                                -- it's
                                                   it's --
                                                        -- I
                                                           I would
                                                             would

23
23      not
        not want to misconstrue
            want to misconstrue what
                                what I said.
                                     I said.                    What
                                                                What I said -
                                                                     I said -
24
24      or what
        or what I intended to
                I intended to say
                              say -
                                  - was that I'm
                                    was that     aware that
                                             I'm aware that


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1
1       there has
        there     been pushback
              has been          against the
                       pushback against the CDC
                                            CDC guidelines;
                                                guidelines;

2
2       that I
        that   believe the
             I believe the majority
                           majority of
                                    of the
                                       the pushback is
                                           pushback is

3
3       focused on
        focused on its
                   its implementation
                       implementation rather than the
                                      rather than the
4
4       science that
        science that it
                     it contains;
                        contains; and
                                  and that
                                      that I've
                                           I've not seen
                                                not seen

5
5       rigorous scholarship that
        rigorous scholarship that has evaluated --
                                  has evaluated --
6
6                           I'm
                            I'm not aware of
                                not aware of rigorous scholarship
                                             rigorous scholarship

7
7       that's evaluated
        that's evaluated unintended consequences of
                         unintended consequences of the
                                                    the
8
8       guidelines, although such
        guidelines, although such scholarship
                                  scholarship may
                                              may exist.
                                                  exist.
9
9                           And lastly,
                            And lastly, that
                                        that --
                                             -- that
                                                that I've
                                                     I've heard of
                                                          heard of

10
10      anecdote of
        anecdote of individual
                    individual --
                               -- of
                                  of an
                                     an individual
                                        individual or
                                                   or
11
11      individuals that
        individuals that have committed suicide
                         have committed suicide because
                                                because

12
12      they were
        they were un -- because
                  un -- because of
                                of their
                                   their poor
                                         poor pain
                                              pain control.
                                                   control.
13
13                          But I
                            But I know
                                  know nothing about, you
                                       nothing about, you know,
                                                          know,

14
14      the --
        the -- the
               the clinical
                   clinical context,
                            context, whether it was
                                     whether it was an
                                                    an

15
15      accidental death
        accidental death or
                         or not, the degree
                            not, the        to which
                                     degree to       the
                                               which the

16
16      patient
        patient had
                had depression
                    depression or mental illness,
                               or mental illness, the
                                                  the
17
17      degree to which
        degree to       opioids were
                  which opioids      or were
                                were or were not an
                                             not an

18
18      important feature
        important feature of
                          of the
                             the suicide,
                                 suicide, and
                                          and so
                                              so on
                                                 on and
                                                    and so
                                                        so
19
19      forth.
        forth.

20
20                          So
                            So I just think
                               I just think that's
                                            that's important
                                                   important to
                                                             to
21
21      clarify.
        clarify.

22
22            Q.
              Q.        So let's
                        So let's move
                                 move on to Patient
                                      on to Patient and Public
                                                    and Public

23
23      Education, talking
        Education, talking about
                           about --
                                 --
24
24                          MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, yeah,
                                                       yeah, before
                                                             before we
                                                                    we



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1
1       do that, we've
        do that, we've been
                       been going an hour
                            going an      and 15,
                                     hour and 15, and
                                                  and we
                                                      we

2
2       have less than
        have less than an
                       an hour
                          hour of testimony left.
                               of testimony left.               Can
                                                                Can we
                                                                    we

3
3       take a
        take a break?
               break?
4
4                           MS. GEIST:
                            MS. GEIST:     Yeah, absolutely.
                                           Yeah, absolutely.

5
5                           VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 5:16.
                                                               5:16.     We
                                                                         We

6
6       are now
        are now going off the
                going off the record.
                              record.

7
7                           (A recess was
                            (A recess     taken after
                                      was taken after which the
                                                      which the

8
8                           proceedings
                            proceedings continued
                                        continued as follows:)
                                                  as follows:)

9
9                           VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 5:32,
                                                               5:32, we
                                                                     we

10
10      are now
        are now back on the
                back on the record.
                            record.

11
11      BY MS.
        BY MS. GEIST:
               GEIST:

12
12            Q.
              Q.        Doctor Alexander, we
                        Doctor Alexander, we are
                                             are now going to
                                                 now going to move
                                                              move

13
13      to the
        to the section
               section of
                       of your
                          your report that addresses
                               report that addresses

14
14      Patient and
        Patient and Public
                    Public Education,
                           Education, and that starts
                                      and that starts on
                                                      on
15
15      page 22 of
        page 22 of your report.
                   your report.

16
16            A.
              A.        Yes, ma'am.
                        Yes, ma'am.
17
17            Q.
              Q.        And here,
                        And       it appears
                            here, it appears --
                                             --
18
18                          MS. GEIST:
                            MS. GEIST:     Thank
                                           Thank you.
                                                 you.

19
19            Q.
              Q.        Here, it
                        Here, it appears that you
                                 appears that you are suggesting -
                                                  are suggesting

20
20      among other
        among other interventions
                    interventions and
                                  and programs - that
                                      programs - that there
                                                      there
21
21      be a
        be a mass
             mass media campaign directed
                  media campaign          towards patient
                                 directed towards patient

22
22      and public
        and public education;
                   education; and
                              and in
                                  in particular,
                                     particular, younger
                                                 younger

23
23      individuals.
        individuals.         Is that a
                             Is that a fair
                                       fair summary?
                                            summary?
24
24            A.
              A.        Yes, I
                        Yes,   mean, this
                             I mean, this is
                                          is focused
                                             focused on
                                                     on all
                                                        all


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1
1       individuals, not
        individuals,     just younger
                     not just         ones.
                              younger ones.                  But yes.
                                                             But yes.     And
                                                                          And

2
2       if --
        if --
3
3                          MS. GEIST:
                           MS. GEIST:       We need to
                                            We need to go to page
                                                       go to page 22.
                                                                  22.

4
4             A.
              A.        Yeah, that's
                        Yeah, that's right.
                                     right.

5
5                          MS. GEIST:
                           MS. GEIST:       Sorry, that's
                                            Sorry, that's my
                                                          my bad.
                                                             bad.

6
6       Page 22,
        Page 22, John.
                 John.          I'm sorry.
                                I'm sorry.
7
7             Q.
              Q.        Okay.
                        Okay.   So again,
                                So again, though,
                                          though, Doctor Alexander,
                                                  Doctor Alexander,

8
8       we're
        we're sitting
              sitting here in September
                      here in September 2020.
                                        2020.                  You are
                                                               You are

9
9       proposing this as
        proposing this as a future intervention
                          a future intervention or future
                                                or future

10
10      programs.
        programs.         This assumes that
                          This assumes that individuals
                                            individuals in
                                                        in Cabell
                                                           Cabell

11
11      County/Huntington - because
        County/Huntington -         that is
                            because that is what
                                            what we're
                                                 we're

12
12      talking about
        talking about -
                      - are
                        are not aware of
                            not aware of the
                                         the potential
                                             potential

13
13      risks of using
        risks of       opioids, whether
                 using opioids,         they're
                                whether they're

14
14      prescription or illicit.
        prescription or illicit.
15
15                         MR. BURNETT:
                           MR. BURNETT:        Objection.
                                               Objection.

16
16            Q.
              Q.        I mean, is
                        I mean, is it
                                   it your opinion that
                                      your opinion that the
                                                        the people
                                                            people
17
17      of Cabell
        of Cabell County/Huntington are not
                  County/Huntington are     aware that
                                        not aware that
18
18      there are
        there are risks associated with
                  risks associated      the use
                                   with the use of
                                                of

19
19      prescription opioids and
        prescription opioids and illicit
                                 illicit opioids?
                                         opioids?
20
20            A.
              A.        Well,
                        Well, I
                              I didn't
                                didn't perform any comprehensive
                                       perform any comprehensive
21
21      needs
        needs assessment or, you
              assessment or, you know, survey or
                                 know, survey or anything
                                                 anything
22
22      else of
        else of --
                -- of
                   of the
                      the County's
                          County's residents or the
                                   residents or the City's
                                                    City's

23
23      residents, but I
        residents, but   think you
                       I think you have to include
                                   have to include some
                                                   some --
                                                        --
24
24      some measure
        some measure of
                     of patient
                        patient and
                                and public
                                    public education
                                           education if
                                                     if an
                                                        an


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1
1       abatement program
        abatement         is going
                  program is going to
                                   to be successful.
                                      be successful.

2
2                           And what
                            And what I've
                                     I've proposed builds upon
                                          proposed builds      --
                                                          upon --

3
3       and I
        and I call out examples
              call out examples of
                                of other
                                   other programs
                                         programs -
                                                  - for
                                                    for
4
4       example, in
        example, in Paragraph
                    Paragraph 55
                              55 here - as
                                 here - as I -- as
                                           I -- as I
                                                   I

5
5       suggest the
        suggest the importance
                    importance of these interventions.
                               of these interventions.
6
6             Q.
              Q.        You
                        You would agree with
                            would agree with me that as
                                             me that as part of the
                                                        part of the
7
7       CDC 2016 guidelines,
        CDC 2016 guidelines, that
                             that is
                                  is a
                                     a reiteration, if you
                                       reiteration, if you

8
8       will, that doctors
        will, that doctors need to speak
                           need to speak with their
                                         with their

9
9       patients about the
        patients about the risk/benefit
                           risk/benefit profile
                                        profile of
                                                of

10
10      prescription opioids.
        prescription opioids.           That's in the
                                        That's in the guidelines,
                                                      guidelines,

11
11      correct?
        correct?

12
12            A.
              A.        Yes, I
                        Yes,   believe it
                             I believe it is.
                                          is.
13
13            Q.
              Q.        And are
                        And are you aware that
                                you aware that in
                                               in 2017, the CDC
                                                  2017, the CDC
14
14      conducted a
        conducted a mass
                    mass media
                         media campaign
                               campaign -- campaign itself,
                                           campaign itself,

15
15      and it
        and it was specifically implemented
               was specifically implemented in
                                            in the
                                               the state
                                                   state of
                                                         of
16
16      West Virginia?
        West Virginia?

17
17            A.
              A.        Yes, I
                        Yes,   am.
                             I am.

18
18            Q.
              Q.        And that
                        And that was specific as
                                 was specific as to
                                                 to opioids.
                                                    opioids.
19
19      Correct?
        Correct?

20
20            A.
              A.        I believe so.
                        I believe so.    I don't recall
                                         I don't        for sure,
                                                 recall for sure, but
                                                                  but

21
21      I believe so.
        I believe so.
22
22            Q.
              Q.        And are
                        And are you also aware
                                you also aware that
                                               that there
                                                    there are
                                                          are other
                                                              other

23
23      programs such as
        programs such as Hope
                         Hope and
                              and Hope
                                  Hope West Virginia,
                                       West Virginia,

24
24      Stigma Free
        Stigma Free West Virginia and
                    West Virginia and a
                                      a media campaign
                                        media campaign



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1
1       through Healthy
        through         Connections, all
                Healthy Connections, all towards
                                         towards the
                                                 the goal
                                                     goal
2
2       of creating
        of          information and
           creating information and education
                                    education about
                                              about
3
3       addiction generally
        addiction           and hoping
                  generally and        to reduce
                                hoping to        the stigma
                                          reduce the stigma
4
4       of individuals
        of individuals who may want
                       who may want help for their
                                    help for their
5
5       addiction?
        addiction?

6
6             A.
              A.        I am.
                        I am.   And these
                                And these programs
                                          programs are important,
                                                   are important,

7
7       but it's
        but it's worth
                 worth noting that over
                       noting that over the
                                        the past 20 years,
                                            past 20 years,

8
8       if you
        if     view the
           you view the epidemic
                        epidemic and sort of
                                 and sort of take
                                             take a
                                                  a 36,000
                                                    36,000

9
9       foot view,
        foot       there have
             view, there      been many
                         have been many different
                                        different programs
                                                  programs

10
10      that have
        that      been deployed
             have been          at different
                       deployed at           stages, and
                                   different stages, and --
                                                         --
11
11      you
        you know, and yet
            know, and     things have
                      yet things have gotten
                                      gotten worse
                                             worse rather
                                                   rather

12
12      than better.
        than better.
13
13                          So
                            So I -- what
                               I --      -- and
                                    what -- and that's
                                                that's the
                                                       the basis
                                                           basis

14
14      for the
        for the comprehensive
                comprehensive program that I
                              program that I propose.
                                             propose.            So
                                                                 So

15
15      it's certainly
        it's certainly the
                       the case
                           case that
                                that there
                                     there are -- in
                                           are -- in this
                                                     this
16
16      instance, that
        instance, that there
                       there are
                             are other
                                 other public
                                       public and
                                              and --
                                                  --
17
17      patient and public
        patient and        education campaigns
                    public education campaigns that
                                               that have
                                                    have

18
18      been conducted
        been conducted thus
                       thus far.
                            far.
19
19                          And what
                            And what I
                                     I propose to do
                                       propose to    is to
                                                  do is to build
                                                           build

20
20      upon those and
        upon those and to
                       to make
                          make sure that it's
                               sure that it's well
                                              well

21
21      integrated with
        integrated      other interventions
                   with other interventions that
                                            that I
                                                 I

22
22      describe.
        describe.

23
23            Q.
              Q.        So in
                        So in other
                              other words,
                                    words, you agree with
                                           you agree      me, all
                                                     with me, all

24
24      of this
        of this public and patient
                public and patient information,
                                   information,


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1
1       communication, education,
        communication, education, it's
                                  it's all
                                       all in
                                           in place;
                                              place; it's
                                                     it's
2
2       all been
        all been done.
                 done.        But you
                              But     think there
                                  you think there essentially
                                                  essentially
3
3       needs to be
        needs to be more
                    more to
                         to do.
                            do.            Is that fair?
                                           Is that fair?
4
4             A.
              A.        Well,
                        Well, I think --
                              I think --
5
5                           MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    Objection,
                                                            Objection,

6
6       mischaracterizes the
        mischaracterizes the testimony.
                             testimony.
7
7             A.
              A.        I mean, I
                        I mean,   think --
                                I think -- as
                                           as I've -- as
                                              I've -- as I've
                                                         I've

8
8       commented regarding
        commented           other programs,
                  regarding other programs, it's
                                            it's not as
                                                 not as

9
9       simple as
        simple as just
                  just saying,
                       saying, "Well,
                               "Well, we've
                                      we've got
                                            got a
                                                a program
                                                  program

10
10      to address
        to address that"
                   that" or
                         or "I've
                            "I've got
                                  got a
                                      a policy for that."
                                        policy for that."
11
11                          So
                            So we can ask
                               we can ask questions.
                                          questions.        If it's
                                                            If it's

12
12      about public
        about public and
                     and patient education, we
                         patient education, we can ask
                                               can ask

13
13      questions like --
        questions like -- so it's --
                          so it's -- take
                                     take a
                                          a tool
                                            tool kit, okay?
                                                 kit, okay?

14
14      A tool
        A tool kit sounds great.
               kit sounds great.            Let's design
                                            Let's        a tool
                                                  design a tool kit.
                                                                kit.

15
15      Who's
        Who's using the tool
              using the tool kit?
                             kit?             How many people
                                              How many people have
                                                              have

16
16      been reached
        been reached with it?
                     with it?          How extensive was
                                       How extensive     the
                                                     was the

17
17      outreach?
        outreach?

18
18                          Was it followed
                            Was it followed up over time?
                                            up over time?        How
                                                                 How

19
19      well
        well were the messages
             were the messages that
                               that were incorporated into
                                    were incorporated into
20
20      the tool
        the tool kit
                 kit designed?
                     designed?           Did they use
                                         Did they use principles of
                                                      principles of

21
21      good social market?
        good social market?         And so
                                    And    on and
                                        so on and so forth.
                                                  so forth.

22
22                          So it's not
                            So it's not just
                                        just as simple as,
                                             as simple as, you
                                                           you

23
23      know, "We've got
        know, "We've     -- we've
                     got --       got a
                            we've got a campaign and so
                                        campaign and so
24
24      we're
        we're done" and "We've
              done" and "We've got a kid
                               got a     -- a
                                     kid -- a place
                                              place for
                                                    for


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1
1       children that
        children that are
                      are orphaned
                          orphaned and
                                   and we're
                                       we're done
                                             done with that
                                                  with that

2
2       one too."
        one too."
3
3                           There's nuance to
                            There's nuance to this,
                                              this, and these
                                                    and these

4
4       programs need resources
        programs need resources and
                                and they
                                    they need
                                         need --
                                              -- they
                                                 they need
                                                      need

5
5       scientific foundations,
        scientific foundations, and
                                and they
                                    they need
                                         need investments
                                              investments
6
6       over time,
        over time, and
                   and they
                       they need leadership, among
                            need leadership, among other
                                                   other
7
7       things.
        things.

8
8             Q.
              Q.        Now, in
                        Now, in terms
                                terms of
                                      of your
                                         your -- your
                                                 your cost estimate
                                                      cost estimate

9
9       for the
        for the mass
                mass media campaign that
                     media campaign that you're
                                         you're proposing,
                                                proposing,

10
10      if we
        if    look at
           we look at this
                      this section
                           section of
                                   of your
                                      your redress
                                           redress plan
                                                   plan --

11
11      or your
        or your redress model -
                redress model - I apologize -
                                I apologize - it
                                              it appear
                                                 appear --
12
12                          I'll
                            I'll wait for you
                                 wait for     to get
                                          you to     there, Doctor
                                                 get there, Doctor

13
13      Alexander.
        Alexander.

14
14            A.
              A.        Well,
                        Well, I'm looking at
                              I'm looking at Tab
                                             Tab 1B of Tab
                                                 1B of Tab 7.1 --
                                                           7.1 --

15
15            Q.
              Q.        Okay.
                        Okay.

16
16            A.
              A.        I'm looking
                        I'm looking at
                                    at the
                                       the Excel
                                           Excel sheet.
                                                 sheet.           But maybe
                                                                  But maybe

17
17      that's not
        that's     the right
               not the       place to
                       right place to look.
                                      look.                  But that
                                                             But that does
                                                                      does

18
18      include information
        include information on
                            on --
                               -- so
                                  so it's
                                     it's Tab 1B.
                                          Tab 1B.                  That's
                                                                   That's

19
19      where,
        where, I believe, we're
               I believe,       talking about
                          we're talking about here.
                                              here.

20
20            Q.
              Q.        Okay.
                        Okay.   And your
                                And your cost estimate for
                                         cost estimate for the
                                                           the mass
                                                               mass

21
21      media campaign
        media          that you
              campaign that     are suggesting
                            you are suggesting be
                                               be

22
22      implemented in
        implemented in Cabell
                       Cabell County and the
                              County and the City of
                                             City of

23
23      Huntington is
        Huntington is based
                      based on
                            on The Real Cost
                               The Real Cost campaign; is
                                             campaign; is

24
24      that correct?
        that correct?


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1
1             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
2
2             Q.
              Q.        And that
                        And that is
                                 is a
                                    a national
                                      national -- or
                                                  or was
                                                     was a
                                                         a national
                                                           national

3
3       tobacco education
        tobacco education plan
                          plan designed to prevent
                               designed to prevent

4
4       teenagers, essentially,
        teenagers, essentially, from
                                from beginning
                                     beginning cigarette
                                               cigarette

5
5       smoking.
        smoking.         Correct?
                         Correct?

6
6             A.
              A.        Yeah, it
                        Yeah, it is.
                                 is.
7
7             Q.
              Q.        Okay.
                        Okay.    Well,
                                 Well, what -- it
                                       what -- it appears
                                                  appears that
                                                          that you
                                                               you

8
8       looked at
        looked at annual
                  annual costs
                         costs of this national
                               of this national program
                                                program

9
9       that was
        that     put in
             was put in place
                        place some
                              some years ago and
                                   years ago and you've
                                                 you've

10
10      also looked
        also looked at
                    at average
                       average costs
                               costs per month?
                                     per month?                      Is that
                                                                     Is that

11
11      correct?
        correct?

12
12            A.
              A.        Yes.
                        Yes.

13
13            Q.
              Q.        Okay.
                        Okay.    Well,
                                 Well, what -- what
                                       what -- what adjustments
                                                    adjustments did
                                                                did

14
14      you make to
        you make to account
                    account for
                            for the
                                the fact
                                    fact that
                                         that this
                                              this is
                                                   is --
                                                      --
15
15      this is
        this is not a national
                not a national program that you
                               program that you would be
                                                would be

16
16      suggesting; it
        suggesting; it would be a
                       would be a program
                                  program targeted
                                          targeted at
                                                   at the
                                                      the
17
17      public and patients
        public and patients in
                            in Cabell
                               Cabell County,
                                      County, West
                                              West

18
18      Virginia.
        Virginia.

19
19            A.
              A.        That's a great
                        That's a great question.
                                       question.               So one thing
                                                               So one thing I
                                                                            I

20
20      want to note
        want to      about my
                note about my cost
                              cost estimates,
                                   estimates, is
                                              is that
                                                 that --
                                                      --
21
21      well, there's --
        well, there's -- there's
                         there's a
                                 a reason that we
                                   reason that we chose --
                                                  chose --

22
22      and that
        and that I used this
                 I used this campaign
                             campaign as a means
                                      as a       to cost
                                           means to cost

23
23      out this
        out this program.
                 program.
24
24                             So I'm happy
                               So I'm       to come
                                      happy to come to
                                                    to that,
                                                       that, if
                                                             if


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1
1       that's helpful.
        that's helpful.         But you
                                But     asked specifically
                                    you asked specifically --
                                                           -- you
                                                              you

2
2       pointed out that
        pointed out that this
                         this is
                              is a
                                 a national campaign, and
                                   national campaign, and
3
3       yet
        yet we're talking about
            we're talking about Cabell
                                Cabell County and the
                                       County and the City
                                                      City

4
4       of Huntington,
        of Huntington, West
                       West Virginia.
                            Virginia.

5
5                           And what
                            And what we
                                     we do
                                        do here is:
                                           here is:             We look at
                                                                We look at
6
6       the cost
        the cost essentially
                 essentially per
                             per capita.
                                 capita.                    And so
                                                            And so if
                                                                   if you --
                                                                      you --

7
7                           THE
                            THE DEPONENT:
                                DEPONENT:       Jonathan, if you
                                                Jonathan, if     can
                                                             you can

8
8       scroll up
        scroll    so that
               up so that we can review
                          we can        the top
                                 review the top of the
                                                of the

9
9       spreadsheet as
        spreadsheet as well -- maybe
                       well --       at the
                               maybe at the same
                                            same time
                                                 time --
                                                      --
10
10      maybe it's
        maybe it's not
                   not possible.
                       possible.

11
11            A.
              A.        But in
                        But in any
                               any case,
                                   case, we look at
                                         we look at the
                                                    the cost
                                                        cost per
                                                             per

12
12      capita, and
        capita, and so
                    so the
                       the ultimate cost per
                           ultimate cost per capita is 38
                                             capita is 38

13
13      cents per
        cents per month per the
                  month per the target
                                target population,
                                       population, and
                                                   and I
                                                       I

14
14      multiply that
        multiply that out
                      out by 12 months.
                          by 12 months.                 So that's
                                                        So that's how
                                                                  how we
                                                                      we

15
15      derive an estimate
        derive an estimate that's
                           that's customized
                                  customized for
                                             for the
                                                 the target
                                                     target
16
16      population
        population here,
                   here, which is the
                         which is the number of individuals
                                      number of individuals
17
17      in Cabell
        in Cabell County age 12
                  County age 12 years
                                years or older, or
                                      or older,    about
                                                or about

18
18      89,600 individuals.
        89,600 individuals.
19
19            Q.
              Q.        Now, the
                        Now, the national
                                 national campaign, though, of
                                          campaign, though, of
20
20      course, appeared
        course, appeared on
                         on national television, national
                            national television, national

21
21      television channels,
        television channels, correct?
                             correct?
22
22            A.
              A.        I believe it
                        I believe it did.
                                     did.

23
23            Q.
              Q.        I'm looking
                        I'm looking at
                                    at your
                                       your -- at
                                               at the
                                                  the bottom there
                                                      bottom there

24
24      under Suggested Costs?
        under Suggested Costs?


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1
1             A.
              A.        Right.
                        Right.

2
2             Q.
              Q.        This program would
                        This program       not need
                                     would not      to be
                                               need to    put on
                                                       be put on

3
3       national television programs.
        national television programs.                  True?
                                                       True?

4
4             A.
              A.        Yes, that's
                        Yes, that's true.
                                    true.
5
5             Q.
              Q.        And there's
                        And there's no
                                    no magazines
                                       magazines specific
                                                 specific to
                                                          to Cabell
                                                             Cabell

6
6       County/Huntington,
        County/Huntington, I assume, correct?
                           I assume, correct?
7
7             A.
              A.        Well, there may
                        Well, there may well
                                        well be periodicals or
                                             be periodicals or
8
8       local circulars.
        local circulars.           I
                                   I don't
                                     don't know.
                                           know.

9
9             Q.
              Q.        Do
                        Do you
                           you know
                               know how
                                    how many
                                        many movie theaters are
                                             movie theaters are in
                                                                in
10
10      Cabell
        Cabell County/City of Huntington?
               County/City of Huntington?
11
11            A.
              A.        I don't.
                        I don't.   But these
                                   But these estimates,
                                             estimates, I'd like to
                                                        I'd like to
12
12      add, are
        add, are based
                 based on
                       on a
                          a careful and comprehensive
                            careful and comprehensive

13
13      review of a
        review of a number of different
                    number of           sources for
                              different sources for any
                                                    any
14
14      estimate that's
        estimate that's included
                        included in
                                 in my
                                    my redress
                                       redress models,
                                               models, and
                                                       and

15
15      so I
        so   just want
           I just      to use
                  want to     this point
                          use this       -- or
                                   point -- or this
                                               this
16
16      opportunity to
        opportunity to make
                       make clear that in
                            clear that in all
                                          all cases,
                                              cases, I
                                                     I

17
17      carefully considered
        carefully considered a
                             a number of different
                               number of different sources
                                                   sources
18
18      of information.
        of information.
19
19                          I tried to
                            I tried to use local sources
                                       use local sources whenever
                                                         whenever

20
20      they were
        they      available, and
             were available, and when they were
                                 when they were not
                                                not

21
21      available or
        available or when
                     when I
                          I had concerns about
                            had concerns about the
                                               the
22
22      scientific validity
        scientific validity of
                            of a local source,
                               a local source, I
                                               I would
                                                 would use
                                                       use

23
23      a regional
        a regional or
                   or national
                      national source.
                               source.

24
24                          There
                            There were some instances
                                  were some instances where there
                                                      where there



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1
1       were multiple estimates,
        were multiple estimates, and in those
                                 and in those cases,
                                              cases, I
                                                     I

2
2       either took
        either took an
                    an average
                       average or
                               or I conservatively took
                                  I conservatively took the
                                                        the
3
3       lower number
        lower        of two
              number of two or
                            or more estimates that
                               more estimates that might
                                                   might be
                                                         be

4
4       available, so
        available, so I just want
                      I just      to say
                             want to say that
                                         that there
                                              there was a
                                                    was a

5
5       rationale for my
        rationale for my approach
                         approach to
                                  to costing
                                     costing out
                                             out different
                                                 different

6
6       components of
        components of the
                      the abatement plan.
                          abatement plan.

7
7             Q.
              Q.        Understood.
                        Understood.   And as
                                      And as we
                                             we discussed, there
                                                discussed, there

8
8       have been a
        have been a number of media
                    number of       campaigns, and
                              media campaigns, and
9
9       specifically in
        specifically in West Virginia, with
                        West Virginia, with respect to
                                            respect to

10
10      opioid and
        opioid and drug
                   drug education.
                        education.
11
11                          Did
                            Did you do any
                                you do any research
                                           research or
                                                    or analysis or
                                                       analysis or

12
12      speak to
        speak to anyone
                 anyone in
                        in Cabell
                           Cabell County/Huntington and ask
                                  County/Huntington and ask
13
13      them if
        them if they
                they were, in fact,
                     were, in fact, unaware of the
                                    unaware of the dangers
                                                   dangers
14
14      of using
        of       illicit opioids
           using illicit opioids and the potential
                                 and the potential risk of
                                                   risk of

15
15      using
        using prescription opioids?
              prescription opioids?

16
16            A.
              A.        I --
                        I --

17
17                         MR. BURNETT:
                           MR. BURNETT:       Objection, asked
                                              Objection, asked and
                                                               and
18
18      answered.
        answered.

19
19            A.
              A.        Yeah, I
                        Yeah,   --
                              I --

20
20            Q.
              Q.        I mean, this
                        I mean, this all
                                     all --
                                         -- this
                                            this assumes,
                                                 assumes, Doctor
                                                          Doctor

21
21      Alexander, that
        Alexander, that the
                        the people in Cabell
                            people in Cabell

22
22      County/Huntington
        County/Huntington are
                          are not aware of
                              not aware of the
                                           the risks of use
                                               risks of use

23
23      of opioids,
        of opioids, whether they're illicit
                    whether they're illicit or
                                            or prescribed
                                               prescribed

24
24      by a
        by a doctor?
             doctor?



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1
1                          MR. BURNETT:
                           MR. BURNETT:       Objection, asked
                                              Objection, asked and
                                                               and
2
2       answered.
        answered.

3
3             A.
              A.        When
                        When you
                             you have the damage
                                 have the        and the
                                          damage and the harms at
                                                         harms at

4
4       the level
        the level that
                  that has occurred within
                       has occurred        these
                                    within these

5
5       communities, I
        communities,   think that
                     I think that some
                                  some measure
                                       measure of
                                               of
6
6       investment should
        investment should be made in
                          be made in public and patient
                                     public and patient

7
7       education.
        education.

8
8                          I simply think
                           I simply think -
                                          - based on my
                                            based on my

9
9       professional experience -
        professional experience - that
                                  that it
                                       it would
                                          would not
                                                not be
                                                    be

10
10      smart to
        smart to plan
                 plan an
                      an abatement
                         abatement program that doesn't
                                   program that doesn't

11
11      further invest
        further invest in
                       in this.
                          this.            And you
                                           And you know, it's one
                                                   know, it's one
12
12      thing to
        thing to say
                 say that
                     that people
                          people know
                                 know about the epidemic.
                                      about the epidemic.
13
13      I mean, I'm
        I mean, I'm not naive enough
                    not naive enough to
                                     to think
                                        think --
                                              --
14
14                         As I've
                           As I've said,
                                   said, I imagine that
                                         I imagine that every
                                                        every
15
15      person in the
        person in the County
                      County knows somebody that's
                             knows somebody that's been
                                                   been
16
16      impacted or
        impacted or they
                    they themselves
                         themselves have been impacted.
                                    have been impacted.              So
                                                                     So

17
17      I'm not suggesting
        I'm not suggesting that
                           that people
                                people have their head
                                       have their      in
                                                  head in

18
18      the sand.
        the sand.
19
19                         But the
                           But the bottom
                                   bottom line
                                          line is
                                               is that
                                                  that this
                                                       this is
                                                            is a
                                                               a

20
20      complex epidemic;
        complex epidemic; it
                          it has
                             has unfolded
                                 unfolded despite
                                          despite what
                                                  what we
                                                       we

21
21      might call
        might      sort of
              call sort of global
                           global awareness
                                  awareness for
                                            for years,
                                                years, and
                                                       and

22
22      this type
        this type of
                  of --
                     -- and
                        and this
                            this education
                                 education just
                                           just isn't
                                                isn't just
                                                      just
23
23      about --
        about -- it's
                 it's not
                      not as if there's
                          as if there's one
                                        one message,
                                            message, like
                                                     like
24
24      "Opioids can
        "Opioids can hurt
                     hurt you;
                          you; be careful that
                               be careful that you
                                               you need
                                                   need



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1
1       them if
        them if you take them."
                you take them."
2
2                           So
                            So I think that
                               I think that it
                                            it is
                                               is very important
                                                  very important

3
3       that any
        that any intervention,
                 intervention, any abatement program,
                               any abatement program,

4
4       includes further
        includes further investment
                         investment in
                                    in this
                                       this domain.
                                            domain.
5
5             Q.
              Q.        And I
                        And I guess my question
                              guess my          in response
                                       question in          to
                                                   response to

6
6       that, Doctor
        that,        Alexander, is:
              Doctor Alexander, is:               Isn't it a
                                                  Isn't it a good idea
                                                             good idea

7
7       when
        when you're formulating and
             you're formulating and proposing
                                    proposing an
                                              an abatement
                                                 abatement
8
8       plan to see
        plan to see whether or not
                    whether or     there's an
                               not there's an unmet
                                              unmet need in
                                                    need in

9
9       that particular
        that            community?
             particular community?

10
10                          And you
                            And you haven't
                                    haven't done that here.
                                            done that here.        Isn't
                                                                   Isn't

11
11      that true?
        that true?
12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    Outside the
                                                            Outside the
13
13      scope.
        scope.

14
14            A.
              A.        Yeah, I
                        Yeah, I did not perform
                                did not         a comprehensive
                                        perform a comprehensive

15
15      needs
        needs assessment that included
              assessment that included collecting
                                       collecting primary
                                                  primary

16
16      data from individuals
        data from individuals residing
                              residing within the County.
                                       within the County.

17
17      And frankly,
        And frankly, if
                     if it's
                        it's helpful for the
                             helpful for the courts to do
                                             courts to do

18
18      so and
        so and if
               if the
                  the attorneys
                      attorneys would like me
                                would like    to, I'm
                                           me to, I'm happy
                                                      happy

19
19      to.
        to.

20
20                          But I
                            But   can assure
                                I can assure you that there
                                             you that there is
                                                            is
21
21      still stigma.
        still stigma.         I can assure
                              I can assure you that there
                                           you that there is
                                                          is still
                                                             still
22
22      -- I
        --   mean, I
           I mean, I recall
                     recall a conversation with
                            a conversation with -- that
                                                   that
23
23      took place
        took place with a family
                   with a family of
                                 of --
                                    -- a
                                       a father
                                         father who
                                                who had
                                                    had

24
24      lost his
        lost     son who
             his son     blamed the
                     who blamed the son
                                    son and
                                        and said
                                            said it
                                                 it was all
                                                    was all



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1
1       his fault.
        his fault.

2
2             Q.
              Q.        Let's --
                        Let's --
3
3             A.
              A.        And that
                        And that --
                                 --
4
4                           MR. BURNETT:
                            MR. BURNETT:        Counsel,
                                                Counsel, please,
                                                         please, don't
                                                                 don't

5
5       interrupt the
        interrupt the witness,
                      witness, please.
                               please.

6
6                           MS. GEIST:
                            MS. GEIST:       I'm
                                             I'm running out of
                                                 running out of time,
                                                                time,
7
7       though, Counsel,
        though,          so I'm
                Counsel, so     trying to
                            I'm trying to --
                                          -- let's
                                             let's get
                                                   get to
                                                       to
8
8       --
9
9                           MR. BURNETT:
                            MR. BURNETT:        That's -- he's
                                                That's -- he's answering
                                                               answering

10
10      your
        your question.
             question.         You can't
                               You       cut him
                                   can't cut     off when
                                             him off when he's
                                                          he's

11
11      answering your
        answering your question.
                       question.

12
12            A.
              A.        And so
                        And    this father
                            so this father was
                                           was blaming the son
                                               blaming the     from
                                                           son from

13
13      having died from
        having died from opioids,
                         opioids, and
                                  and if
                                      if that's
                                         that's not stigma,
                                                not stigma,

14
14      I don't know
        I don't know what is, thinking
                     what is, thinking that
                                       that this
                                            this is
                                                 is bad
                                                    bad

15
15      choices, that
        choices, that "My
                      "My son just made
                          son just made a bunch of
                                        a bunch    bad
                                                of bad

16
16      choices, that
        choices, that he should have
                      he should have known
                                     known better."
                                           better."

17
17                          So
                            So I just --
                               I just -- I feel passionately
                                         I feel passionately about
                                                             about
18
18      this, that
        this, that there
                   there have to be
                         have to    investments made
                                 be investments      in --
                                                made in --
19
19      in correcting
        in            misconceptions and
           correcting misconceptions and in
                                         in improving
                                            improving
20
20      general awareness and
        general awareness and knowledge among patients
                              knowledge among patients in
                                                       in
21
21      the general
        the general public about the
                    public about the contours
                                     contours of
                                              of the
                                                 the
22
22      epidemic.
        epidemic.

23
23                          And --
                            And -- but again, I
                                   but again, I was
                                                was not asked to
                                                    not asked to
24
24      do a specific
        do a specific comprehensive
                      comprehensive evaluation
                                    evaluation of
                                               of attitudes
                                                  attitudes



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1
1       or beliefs
        or         on the
           beliefs on the ground.
                          ground.

2
2             Q.
              Q.        Right.
                        Right.    You
                                  You weren't -- you
                                      weren't --     didn't do
                                                 you didn't do --
                                                               -- you
                                                                  you

3
3       weren't asked to,
        weren't asked to, but
                          but you didn't make
                              you didn't make the
                                              the
4
4       assessment of:
        assessment of:           What are the
                                 What are the actual
                                              actual unmet
                                                     unmet needs in
                                                           needs in

5
5       this community
        this community that
                       that would need to
                            would need to be
                                          be addressed
                                             addressed
6
6       through your
        through your plan that have
                     plan that      not already
                               have not already been
                                                been

7
7       addressed by
        addressed by the
                     the numerous interventions and
                         numerous interventions and

8
8       programs that Cabell
        programs that        County/Huntington has
                      Cabell County/Huntington     put in
                                               has put in
9
9       place
        place since at least
              since at least 2015.
                             2015.                Correct?
                                                  Correct?

10
10                          MR. BURNETT:
                            MR. BURNETT:        Objection, asked
                                                Objection, asked and
                                                                 and
11
11      answered.
        answered.

12
12            A.
              A.        So my
                        So my plan
                              plan was
                                   was not to --
                                       not to -- to
                                                 to add on the
                                                    add on the
13
13      margin.
        margin.         I
                        I was
                          was not asked to
                              not asked to -- no one asked
                                              no one asked me to
                                                           me to

14
14      come in
        come in and
                and figure
                    figure out
                           out what exactly is
                               what exactly is being done
                                               being done

15
15      and then
        and then to
                 to add
                    add on
                        on exactly
                           exactly what
                                   what I thought was
                                        I thought was

16
16      necessary to reach
        necessary to       an adequate
                     reach an adequate program.
                                       program.
17
17                          I
                            I wasn't asked to
                              wasn't asked to figure
                                              figure out
                                                     out where
                                                         where

18
18      that line
        that line lies
                  lies for
                       for each
                           each of
                                of these
                                   these categories,
                                         categories, and
                                                     and so
                                                         so

19
19      it may
        it may well be that
               well be that there
                            there is
                                  is widespread investment
                                     widespread investment

20
20      in --
        in -- in
              in education
                 education that's
                           that's already
                                  already been
                                          been made.
                                               made.               I
                                                                   I

21
21      would
        would have lots of
              have lots of questions
                           questions that
                                     that I
                                          I would
                                            would want to
                                                  want to

22
22      answer in
        answer in order
                  order to
                        to understand
                           understand whether
                                      whether I think those
                                              I think those
23
23      are adequate.
        are adequate.
24
24                          But even
                            But even if
                                     if they
                                        they are adequate, it's
                                             are adequate, it's --
                                                                --


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1
1       I
        I wasn't asked to
          wasn't asked to figure
                          figure out
                                 out if
                                     if they're
                                        they're adequate
                                                adequate

2
2       and then
        and then add
                 add on
                     on a
                        a little
                          little bit more.
                                 bit more.                     I
                                                               I was
                                                                 was asked
                                                                     asked

3
3       what
        what I think constitutes
             I think constitutes a
                                 a comprehensive abatement
                                   comprehensive abatement

4
4       program.
        program.

5
5             Q.
              Q.        We can move
                        We can move on
                                    on to
                                       to Safe
                                          Safe Storage
                                               Storage and
                                                       and Drug
                                                           Drug

6
6       Disposal,
        Disposal, please.
                  please.           And that's
                                    And that's page
                                               page 24 of your
                                                    24 of your

7
7       expert report,
        expert report, Doctor Alexander.
                       Doctor Alexander.

8
8             A.
              A.        Sure.
                        Sure.

9
9                              MS. GEIST:
                               MS. GEIST:     Okay, thank
                                              Okay, thank you
                                                          you very
                                                              very much,
                                                                   much,

10
10      John.
        John.

11
11                             So
                               So here,
                                  here, Doctor Alexander, you
                                        Doctor Alexander,     state
                                                          you state

12
12      that one
        that one of
                 of the
                    the things
                        things that
                               that needs
                                    needs to
                                          to be
                                             be done as
                                                done as

13
13      part of this
        part of this intervention
                     intervention is
                                  is to
                                     to address
                                        address the,
                                                the, quote,
                                                     quote,
14
14      "enormous stockpiles
        "enormous stockpiles of
                             of opioids
                                opioids in
                                        in homes
                                           homes within the
                                                 within the

15
15      Community," meaning Cabell
        Community," meaning Cabell County/Huntington.
                                   County/Huntington.                        Do
                                                                             Do

16
16      you see where
        you see       I'm reading?
                where I'm reading?

17
17            A.
              A.        Yes.
                        Yes.

18
18            Q.
              Q.        What evidence do
                        What evidence do you
                                         you have that today
                                             have that today there
                                                             there
19
19      are enormous
        are enormous stockpiles of opioids
                     stockpiles of opioids in
                                           in homes in
                                              homes in

20
20      Cabell
        Cabell County/Huntington?
               County/Huntington?

21
21            A.
              A.        Well,
                        Well, when
                              when you
                                   you have millions of
                                       have millions of
22
22      prescriptions being provided
        prescriptions being          into a
                            provided into a community,
                                            community,
23
23      these prescriptions
        these prescriptions don't all end
                            don't all end up -- they're
                                          up -- they're not
                                                        not

24
24      all used.
        all used.



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1
1                           I
                            I mean,
                              mean, we can all
                                    we can all think
                                               think about
                                                     about our
                                                           our own
                                                               own
2
2       homes
        homes and our own
              and our own bathroom
                          bathroom cabinets or bedroom
                                   cabinets or bedroom

3
3       nightstands and I
        nightstands and I would bet dollars
                          would bet dollars to
                                            to doughnuts
                                               doughnuts

4
4       that all
        that all of
                 of us
                    us have
                       have unused
                            unused prescriptions somewhere
                                   prescriptions somewhere

5
5       in our
        in our house, or many
               house, or many of
                              of us.
                                 us.

6
6                           And so
                            And so again,
                                   again, I
                                          I didn't
                                            didn't perform
                                                   perform a
                                                           a

7
7       comprehensive review
        comprehensive        of the
                      review of the -- I didn't do
                                       I didn't    a
                                                do a

8
8       household survey or
        household survey or some
                            some other
                                 other assessment
                                       assessment door to
                                                  door to

9
9       door of the
        door of the numbers of families
                    numbers of families that
                                        that have
                                             have unused
                                                  unused

10
10      opioids, but
        opioids, but in
                     in my
                        my professional
                           professional judgment,
                                        judgment, there
                                                  there are
                                                        are
11
11      large numbers
        large         of unused
              numbers of        opioids that
                         unused opioids that are sitting in
                                             are sitting in
12
12      kitchen
        kitchen cabinets and bedroom
                cabinets and bedroom nightstands across
                                     nightstands across

13
13      this and
        this and other
                 other communities in West
                       communities in West Virginia.
                                           Virginia.

14
14            Q.
              Q.        Well,
                        Well, with
                              with respect to unused
                                   respect to        opioids,
                                              unused opioids,

15
15      Doctor,
        Doctor, a couple questions.
                a couple questions.               One, there
                                                  One, there have been a
                                                             have been a
16
16      number of national
        number of national DEA take-back days
                           DEA take-back days to
                                              to address
                                                 address
17
17      this problem.
        this problem.         Is that true?
                              Is that true?
18
18            A.
              A.        Yes, it
                        Yes, it is.
                                is.
19
19            Q.
              Q.        And there
                        And there is
                                  is -
                                     - as
                                       as I'm sure you
                                          I'm sure you know -
                                                       know -

20
20      another one
        another one scheduled
                    scheduled for
                              for October
                                  October of
                                          of this
                                             this year.
                                                  year.

21
21      Are you
        Are     aware of
            you aware of that?
                         that?
22
22            A.
              A.        I
                        I wasn't
                          wasn't aware of the
                                 aware of the particular
                                              particular
23
23      scheduling, but
        scheduling, but I'm
                        I'm pleased to hear
                            pleased to      that there
                                       hear that there will
                                                       will

24
24      be one.
        be one.


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1
1             Q.
              Q.        Yeah, there'll
                        Yeah, there'll be
                                       be another
                                          another DEA
                                                  DEA national
                                                      national

2
2       take-back day
        take-back     in October
                  day in October of
                                 of this
                                    this year.
                                         year.              And
                                                            And Cabell
                                                                Cabell

3
3       County
        County has two permanent
               has two permanent collection sites for
                                 collection sites for
4
4       unused prescription medications
        unused prescription medications now,
                                        now, correct?
                                             correct?

5
5             A.
              A.        I believe so.
                        I believe so.
6
6             Q.
              Q.        Now --
                        Now -- but
                               but my
                                   my question is, Doctor
                                      question is, Doctor

7
7       Alexander, if
        Alexander, if a
                      a patient
                        patient ends
                                ends up
                                     up with leftover
                                        with leftover

8
8       pills, more pills
        pills, more       than he
                    pills than    or she
                               he or she needed
                                         needed for
                                                for
9
9       whatever the condition
        whatever the condition was that they
                               was that they received the
                                             received the

10
10      prescription in the
        prescription in the first
                            first instance,
                                  instance, why
                                            why did they
                                                did they

11
11      get more than
        get more than they
                      they needed?
                           needed?

12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection, calls
                                              Objection, calls for
                                                               for
13
13      speculation.
        speculation.

14
14            A.
              A.        It's a
                        It's a great
                               great question, and opioids
                                     question, and opioids have
                                                           have

15
15      been oversupplied,
        been oversupplied, and
                           and in
                               in some
                                  some instances,
                                       instances, it's
                                                  it's
16
16      prescriptions that shouldn't
        prescriptions that shouldn't have been originated
                                     have been originated
17
17      in the
        in the first
               first place; and in
                     place; and in other
                                   other instances,
                                         instances, it's
                                                    it's
18
18      the dose
        the dose or
                 or the
                    the --
                        -- the
                           the duration.
                               duration.

19
19                          And --
                            And -- and
                                   and frankly,
                                       frankly, you
                                                you know, like
                                                    know, like

20
20      many medicines
        many medicines that
                       that are
                            are used to treat
                                used to treat conditions
                                              conditions
21
21      such as
        such as pain, pain can
                pain, pain can resolve, and it's
                               resolve, and it's an
                                                 an
22
22      imperfect science
        imperfect science to
                          to know the exact
                             know the exact number of pills
                                            number of pills

23
23      that someone
        that someone needs.
                     needs.

24
24            Q.
              Q.        Who
                        Who determines
                            determines how many pills
                                       how many pills are
                                                      are


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1
1       prescribed to that
        prescribed to that patient?
                           patient?
2
2             A.
              A.        Another great
                        Another great question, and we're
                                      question, and       back to
                                                    we're back to
3
3       my --
        my -- my earlier reply,
              my earlier        that we
                         reply, that we have
                                        have prescribers;
                                             prescribers;

4
4       we
        we have
           have patients;
                patients; and then we
                          and then we have the factors
                                      have the factors that
                                                       that
5
5       drive their behaviors.
        drive their behaviors.           And so
                                         And so most
                                                most immediately,
                                                     immediately,
6
6       you
        you have prescribers, and
            have prescribers, and in
                                  in many
                                     many cases
                                          cases patients,
                                                patients,

7
7       that in
        that in more
                more cases than not,
                     cases than not, I
                                     I hope,
                                       hope, are
                                             are reaching
                                                 reaching

8
8       shared decisions
        shared decisions about
                         about how to manage
                               how to manage pain in this
                                             pain in this
9
9       instance.
        instance.

10
10                          And then
                            And then you
                                     you have all the
                                         have all the --
                                                      -- all the
                                                         all the

11
11      potential influencers of
        potential influencers of prescribers
                                 prescribers and
                                             and patients.
                                                 patients.

12
12            Q.
              Q.        So the
                        So the answer
                               answer to
                                      to my
                                         my question
                                            question was -- I
                                                     was -- I asked
                                                              asked

13
13      you,
        you, who is the
             who is the one
                        one who
                            who prescribed the medication
                                prescribed the medication

14
14      in the
        in the first
               first instance?
                     instance?           Who is the
                                         Who is the one
                                                    one who decides
                                                        who decides

15
15      whether it's 10
        whether it's    pills, 30
                     10 pills,    pills or
                               30 pills or 90 pills?
                                           90 pills?                  Who
                                                                      Who

16
16      decides
        decides how many times
                how many times a
                               a day the patient
                                 day the patient should
                                                 should be
                                                        be
17
17      using that medication?
        using that medication?           Who makes that
                                         Who makes that decision?
                                                        decision?

18
18            A.
              A.        Yeah, and
                        Yeah, and I'm
                                  I'm sorry,
                                      sorry, I --
                                             I --

19
19                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.    Objection,
                                                            Objection,

20
20      asked and
        asked     answered.
              and answered.

21
21            A.
              A.        I'm sorry
                        I'm sorry I can't give
                                  I can't give you a kind
                                               you a      of
                                                     kind of

22
22      one-word answer,
        one-word answer, but
                         but I
                             I would say it's
                               would say it's the
                                              the
23
23      prescriber; it's the
        prescriber; it's the patient.
                             patient.                And they
                                                     And they exist
                                                              exist
24
24      within a number
        within a number --
                        -- they
                           they exist
                                exist within
                                      within a sphere --
                                             a sphere



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1
1       there's sort
        there's sort of
                     of a
                        a sphere of influence,
                          sphere of influence, and
                                               and they're
                                                   they're
2
2       drivers of their
        drivers of their behavior.
                         behavior.
3
3             Q.
              Q.        So it's
                        So it's the
                                the doctor
                                    doctor and
                                           and the
                                               the patient.
                                                   patient.

4
4             A.
              A.        And the
                        And the factors
                                factors that
                                        that influence
                                             influence their
                                                       their
5
5       behaviors.
        behaviors.

6
6             Q.
              Q.        Now, you
                        Now, you also
                                 also state that diversion
                                      state that diversion -- we've
                                                              we've

7
7       talked a
        talked a little
                 little bit
                        bit about
                            about this
                                  this before.
                                       before.              Diversion
                                                            Diversion

8
8       of prescription
        of              opioids occurred
           prescription opioids occurred because
                                         because of
                                                 of the
                                                    the
9
9       failure to
        failure to safely
                   safely store and dispose
                          store and dispose of
                                            of the
                                               the unused
                                                   unused

10
10      opioids.
        opioids.         So if
                         So if somebody
                               somebody has leftover pills,
                                        has leftover pills,
11
11      there's a
        there's   failure to
                a failure to store
                             store it
                                   it and there's a
                                      and there's   failure
                                                  a failure

12
12      to dispose
        to         of it.
           dispose of it.
13
13                          And whose
                            And       failure is
                                whose failure is that?
                                                 that?       Who is the
                                                             Who is the
14
14      one who
        one who doesn't dispose of
                doesn't dispose of or
                                   or store
                                      store unused opioids?
                                            unused opioids?

15
15                          MR. BURNETT:
                            MR. BURNETT:      Objection.
                                              Objection.

16
16            A.
              A.        Well,
                        Well, I mean, ultimately
                              I mean,            the -- in
                                      ultimately the    in these
                                                           these
17
17      instances where
        instances where we're talking about
                        we're talking       the potential
                                      about the potential

18
18      for diversion
        for diversion or
                      or for
                         for nonmedical
                             nonmedical use,
                                        use, we're
                                             we're

19
19      considering patients
        considering          or --
                    patients or -- that
                                   that have
                                        have received
                                             received

20
20      prescriptions and so
        prescriptions and    --
                          so --

21
21                          I suppose in
                            I suppose in some
                                         some narrow sense, you
                                              narrow sense, you

22
22      could say
        could     that patients
              say that          are on
                       patients are on the
                                       the hook.
                                           hook.              But
                                                              But

23
23      again, patients
        again,          are --
               patients are -- you
                               you know, patients need
                                   know, patients      to
                                                  need to

24
24      be empowered
        be empowered and equipped with
                     and equipped      appropriate
                                  with appropriate



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1
1       knowledge, and if
        knowledge, and if patients
                          patients believe that opioids
                                   believe that         are
                                                opioids are

2
2       no
        no big deal, that
           big deal, that they
                          they work great, that
                               work great, that they're
                                                they're not
                                                        not

3
3       addictive, that
        addictive, that as
                        as long
                           long as
                                as you
                                   you have organic pain,
                                       have organic pain,

4
4       you
        you won't -- need
            won't -- need not
                          not worry about addiction
                              worry about addiction -
                                                    - which
                                                      which

5
5       is something
        is something that
                     that I
                          I was taught as
                            was taught as a
                                          a resident and as
                                            resident and as

6
6       a young
        a young physician - if
                physician - if that's
                               that's what
                                      what I'm
                                           I'm

7
7       communicating to
        communicating to my
                         my patients, then my
                            patients, then    patients are
                                           my patients are

8
8       totally misinformed
        totally             about how
                misinformed about     they should
                                  how they should be
                                                  be

9
9       storing and
        storing and --
                    -- and
                       and disposing
                           disposing of
                                     of these
                                        these products.
                                              products.
10
10            Q.
              Q.        Quickly moving
                        Quickly moving on
                                       on to
                                          to Harm Reduction, page
                                             Harm Reduction, page

11
11      68 of your
        68 of      report.
              your report.

12
12            A.
              A.        Sure.
                        Sure.

13
13                          MR. BURNETT:
                            MR. BURNETT:      Which -- I'm
                                              Which -- I'm sorry,
                                                           sorry,

14
14      which
        which page?
              page?

15
15                          MS. GEIST:
                            MS. GEIST:     68.
                                           68.

16
16            A.
              A.        Okay.
                        Okay.

17
17            Q.
              Q.        Oh, I'm
                        Oh,     sorry, I'm
                            I'm sorry,     sorry.
                                       I'm sorry.           I'm looking at
                                                            I'm looking at a
                                                                           a
18
18      different number.
        different number.         28.
                                  28.

19
19                          MS. GEIST:
                            MS. GEIST:     I apologize to
                                           I apologize to everyone
                                                          everyone
20
20      and to
        and to John.
               John.         It's the
                             It's the end
                                      end of
                                          of a long day.
                                             a long day.

21
21            Q.
              Q.        Page 28.
                        Page 28. I apologize, Doctor.
                                 I apologize, Doctor.           Harm
                                                                Harm

22
22      Reduction.
        Reduction.         So here
                           So      at page
                              here at      28, one
                                      page 28, one of
                                                   of the
                                                      the things
                                                          things
23
23      you are suggest
        you are suggest is
                        is the
                           the addition of a
                               addition of a syringe
                                             syringe

24
24      services program
        services program or
                         or an
                            an SSP; is that
                               SSP; is that correct?
                                            correct?


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1
1             A.
              A.        Yes, although
                        Yes, although I think we've
                                      I think       already
                                              we've already

2
2       discussed that I
        discussed that   think Cabell
                       I think Cabell County
                                      County and the City
                                             and the City
3
3       of Huntington
        of Huntington have done a
                      have done a laudable
                                  laudable job
                                           job in
                                               in
4
4       developing a syringe
        developing a         program.
                     syringe program.

5
5             Q.
              Q.        They
                        They were the first
                             were the first in
                                            in West
                                               West Virginia to
                                                    Virginia to

6
6       implement an
        implement an SSP
                     SSP or
                         or a safe needle,
                            a safe needle, clean
                                           clean needle
                                                 needle

7
7       exchange program;
        exchange program; is
                          is that
                             that right?
                                  right?
8
8             A.
              A.        Yes, I
                        Yes,   believe so.
                             I believe so.
9
9             Q.
              Q.        And just
                        And just to
                                 to be
                                    be clear,
                                       clear, this
                                              this program -- 100
                                                   program -- 100

10
10      percent of the
        percent of the services
                       services of
                                of this
                                   this program is provided
                                        program is provided
11
11      to people
        to people who inject drugs.
                  who inject drugs.                  True?
                                                     True?

12
12            A.
              A.        As opposed
                        As opposed to
                                   to --
                                      -- who else would
                                         who else       they --
                                                  would they -- as
                                                                as

13
13      opposed to
        opposed to who else?
                   who else?

14
14            Q.
              Q.        I'm just
                        I'm just asking
                                 asking you to confirm.
                                        you to confirm.        The only
                                                               The only

15
15      individuals who
        individuals who would be serviced
                        would be          by the
                                 serviced by the Syringe
                                                 Syringe
16
16      Services Program
        Services Program or
                         or the
                            the needle exchange program
                                needle exchange         are
                                                program are

17
17      people
        people who inject drugs,
               who inject drugs, meaning people who
                                 meaning people who use
                                                    use

18
18      drugs illegally.
        drugs illegally.            Correct?
                                    Correct?

19
19            A.
              A.        Yeah, I
                        Yeah,   --
                              I --

20
20                          MR. BURNETT:
                            MR. BURNETT:         Object.
                                                 Object.

21
21            A.
              A.        Yes, yes.
                        Yes, yes.     I
                                      I mean,
                                        mean, I
                                              I suppose theoretically
                                                suppose theoretically

22
22      they might,
        they might, you
                    you know, be willing
                        know, be         to engage
                                 willing to engage with
                                                   with

23
23      someone that
        someone that has addiction if
                     has addiction if they're
                                      they're not
                                              not --
                                                  -- if
                                                     if
24
24      they're doing,
        they're        for example,
                doing, for example, Hepatitis
                                    Hepatitis C
                                              C screening
                                                screening



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1
1       and they
        and they have a mobile
                 have a mobile van,
                               van, I
                                    I don't think they
                                      don't think they
2
2       would turn you
        would turn you down if you
                       down if     say, "Hey,
                               you say, "Hey, can
                                              can I
                                                  I get
                                                    get

3
3       screened?
        screened?        But I'm
                         But I'm not
                                 not currently
                                     currently using
                                               using needles."
                                                     needles."

4
4                          But yes,
                           But      they're designed
                               yes, they're          to focus
                                            designed to focus on
                                                              on
5
5       people
        people with intravenous drug
               with intravenous drug use.
                                     use.

6
6             Q.
              Q.        Now, in
                        Now, in terms
                                terms of
                                      of your proposal here,
                                         your proposal       in
                                                       here, in

7
7       connection with
        connection with your recommendations, did
                        your recommendations, did you
                                                  you

8
8       research the history
        research the         of needle
                     history of        exchange programs
                                needle exchange          or
                                                programs or

9
9       SSPs in
        SSPs in West
                West Virginia and Cabell
                     Virginia and        County?
                                  Cabell County?

10
10                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

11
11            A.
              A.        To the degree
                        To the degree that
                                      that it's
                                           it's discussed
                                                discussed in
                                                          in my
                                                             my

12
12      report or referenced
        report or            in my
                  referenced in my report,
                                   report, yes,
                                           yes, I
                                                I did.
                                                  did.

13
13            Q.
              Q.        Okay.
                        Okay.   So you
                                So you are aware that
                                       are aware that as
                                                      as of
                                                         of the
                                                            the end
                                                                end
14
14      of last
        of last year, there were
                year, there were 18 syringe services
                                 18 syringe services
15
15      programs in West
        programs in      Virginia, but
                    West Virginia,     two programs
                                   but two programs had
                                                    had

16
16      been closed
        been closed by
                    by local
                       local government,
                             government, including
                                         including the
                                                   the one
                                                       one

17
17      in the
        in the City of Charleston.
               City of Charleston.               You're aware
                                                 You're       of that?
                                                        aware of that?
18
18                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

19
19            A.
              A.        I
                        I was
                          was not aware of
                              not aware of the
                                           the exact
                                               exact number
                                                     number of
                                                            of
20
20      programs opening and
        programs opening and closing,
                             closing, no.
                                      no.

21
21            Q.
              Q.        Okay.
                        Okay.   Do
                                Do you
                                   you know
                                       know why the SSP
                                            why the SSP in the City
                                                        in the City

22
22      of Charleston
        of Charleston was
                      was closed
                          closed down
                                 down by the local
                                      by the local
23
23      government?
        government?

24
24            A.
              A.        No, I
                        No, I do
                              do not.
                                 not.



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1
1             Q.
              Q         I
                        I want to quickly
                          want to quickly --
                                          --
2
2                              MS. GEIST:
                               MS. GEIST:     Actually, let
                                              Actually, let me
                                                            me ask the
                                                               ask the

3
3       videographer
        videographer how many minutes
                     how many minutes I
                                      I have left, only
                                        have left, only
4
4       because I
        because I need to be
                  need to    considerate of
                          be considerate of counsel
                                            counsel for
                                                    for the
                                                        the
5
5       other defendants
        other defendants who might be
                         who might be on the call
                                      on the call or on the
                                                  or on the
6
6       video
        video and
              and would like to
                  would like to ask
                                ask a
                                    a question.
                                      question.

7
7                              VIDEO OPERATOR:
                               VIDEO OPERATOR:        Hold for one
                                                      Hold for one moment
                                                                   moment
8
8       so I
        so   can add
           I can add it
                     it all
                        all up.
                            up.               The time is
                                              The time is 5:58.
                                                          5:58.     We
                                                                    We are
                                                                       are

9
9       now going off
        now going off the
                      the record.
                          record.

10
10                             (A discussion was
                               (A discussion was had
                                                 had off the record
                                                     off the record

11
11                             after which
                               after       the proceedings
                                     which the             continued
                                               proceedings continued

12
12                             as follows:)
                               as follows:)

13
13                             VIDEO OPERATOR:
                               VIDEO OPERATOR:        The time is
                                                      The time is 5:59,
                                                                  5:59, we
                                                                        we

14
14      are now
        are now back on the
                back on the record.
                            record.

15
15      BY MS.
        BY MS. GEIST:
               GEIST:

16
16            Q.
              Q.        Doctor Alexander, in
                        Doctor Alexander, in terms
                                             terms of
                                                   of your
                                                      your cost
                                                           cost

17
17      estimate for
        estimate for your
                     your Safe
                          Safe Storage and Drug
                               Storage and Drug Disposal
                                                Disposal

18
18      recommended
        recommended programs --
                    programs --

19
19            A.
              A.        Yes.
                        Yes.

20
20            Q.
              Q.        -- I'm
                        --     looking at
                           I'm looking at your
                                          your redress
                                               redress model, if
                                                       model, if

21
21      you
        you have that in
            have that in front
                         front of
                               of you.
                                  you.

22
22            A.
              A.        Yes, I
                        Yes,   do.
                             I do.     So I
                                       So   think that's
                                          I think that's Tab
                                                         Tab 1C.
                                                             1C.

23
23            Q.
              Q.        It is.
                        It is.     Thank
                                   Thank you.
                                         you.        And it
                                                     And it appears
                                                            appears that
                                                                    that you
                                                                         you

24
24      have based a
        have based a cost estimate on
                     cost estimate on this
                                      this particular
                                           particular



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1
1       intervention on
        intervention on --
                        -- on
                           on a
                              a program that was
                                program that     in King
                                             was in King
2
2       County,
        County, Washington and a
                Washington and a program that was
                                 program that     in
                                              was in

3
3       Alameda County
        Alameda        in California.
                County in California.

4
4                           Is that correct?
                            Is that correct?
5
5             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
6
6             Q.
              Q.        And were
                        And were both
                                 both of these programs
                                      of these          SSPs?
                                               programs SSPs?

7
7             A.
              A.        I believe these
                        I believe these are safe storage
                                        are safe storage and
                                                         and drug
                                                             drug

8
8       disposal programs.
        disposal programs.

9
9             Q.
              Q.        Okay.
                        Okay.   Any reason
                                Any reason why
                                           why you
                                               you didn't
                                                   didn't base
                                                          base your
                                                               your

10
10      cost estimate
        cost estimate on
                      on the
                         the local
                             local jurisdiction
                                   jurisdiction in
                                                in West
                                                   West

11
11      Virginia, given
        Virginia,       the fact
                  given the fact that
                                 that there
                                      there have been 18
                                            have been 18

12
12      SSPs in
        SSPs in the
                the state
                    state to
                          to date?
                             date?
13
13            A.
              A.        Again, here,
                        Again,       this is
                               here, this is a
                                             a different
                                               different abatement
                                                         abatement

14
14      category than
        category than syringe
                      syringe service
                              service programs.
                                      programs.              Syringe
                                                             Syringe

15
15      service programs
        service          are focused
                programs are focused on
                                     on providing
                                        providing services
                                                  services

16
16      for people
        for people using
                   using drugs intravenously, and
                         drugs intravenously, and this
                                                  this
17
17      category is
        category is focused
                    focused on
                            on trying
                               trying to
                                      to improve
                                         improve the
                                                 the safe
                                                     safe
18
18      storage and
        storage and drug
                    drug disposal processes and
                         disposal processes and programs in
                                                programs in

19
19      the County
        the County and
                   and the
                       the City of Huntington.
                           City of Huntington.
20
20            Q.
              Q.        But again,
                        But again, there
                                   there have been safe
                                         have been safe storage
                                                        storage and
                                                                and

21
21      drug
        drug disposal programs in
             disposal programs in the
                                  the City
                                      City of Huntington
                                           of Huntington

22
22      and in
        and in Cabell
               Cabell County, correct?
                      County, correct?

23
23            A.
              A.        Pretty modest.
                        Pretty modest.      I
                                            I mean,
                                              mean, I think you
                                                    I think you

24
24      mentioned that
        mentioned that there
                       there have been two,
                             have been two, and
                                            and frankly,
                                                frankly, it
                                                         it


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1
1       should be
        should be no
                  no more
                     more difficult to get
                          difficult to get rid of an
                                           rid of an unused
                                                     unused

2
2       opioid than
        opioid than it
                    it is
                       is to
                          to get
                             get the
                                 the prescription in the
                                     prescription in the
3
3       first place.
        first place.

4
4                         And so,
                          And so, you
                                  you know, these --
                                      know, these -- these
                                                     these boxes
                                                           boxes
5
5       and these
        and these storage
                  storage facilities
                          facilities should
                                     should be
                                            be --
                                               -- or
                                                  or

6
6       storage containers
        storage            and disposal
                containers and disposal containers - really
                                        containers - really
7
7       is what
        is what we're talking about
                we're talking about here - these
                                    here - these should
                                                 should be
                                                        be
8
8       available in
        available in pharmacies and clinics,
                     pharmacies and clinics, doctors'
                                             doctors'

9
9       offices.
        offices.

10
10                        You
                          You know,
                              know, you
                                    you can't just put
                                        can't just put them
                                                       them in
                                                            in
11
11      one or
        one or two
               two sheriffs'
                   sheriffs' departments
                             departments or,
                                         or, you
                                             you know, the
                                                 know, the

12
12      police department of
        police department of Milton
                             Milton and
                                    and expect
                                        expect that
                                               that you're
                                                    you're

13
13      gonna take care
        gonna take care of
                        of the
                           the oversupply in the
                               oversupply in the County.
                                                 County.

14
14                        So my point
                          So my point is
                                      is that
                                         that they
                                              they should
                                                   should be
                                                          be
15
15      scaled up.
        scaled up.      And in
                        And in direct
                               direct response to your
                                      response to      question
                                                  your question

16
16      regarding the sources
        regarding the sources of
                              of costs,
                                 costs, I
                                        I would just
                                          would just

17
17      highlight the point
        highlight the point that
                            that I
                                 I made earlier about
                                   made earlier       the
                                                about the

18
18      step-wise approach
        step-wise approach that
                           that we
                                we used.
                                   used.                  We
                                                          We used local
                                                             used local

19
19      costs whenever
        costs whenever possible and triangulated
                       possible and triangulated these
                                                 these
20
20      costs with
        costs      experts that
              with experts that we spoke with.
                                we spoke with.

21
21                        When local costs
                          When local costs weren't available, we
                                           weren't available, we

22
22      used
        used regional or national
             regional or          costs.
                         national costs.                  And this
                                                          And this is
                                                                   is also
                                                                      also
23
23      a nice
        a nice example
               example where
                       where we took the
                             we took the average
                                         average of
                                                 of two
                                                    two
24
24      programs.
        programs.       It just
                        It just so
                                so happens that they
                                   happens that they yield
                                                     yield



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1
1       fairly similar
        fairly similar estimates
                       estimates of
                                 of the
                                    the costs of drug
                                        costs of drug

2
2       storage and
        storage and disposal programs.
                    disposal programs.                  But we
                                                        But we did look
                                                               did look

3
3       carefully and
        carefully and thoroughly
                      thoroughly at
                                 at different
                                    different potential
                                              potential
4
4       sources of
        sources of this
                   this information.
                        information.
5
5             Q.
              Q.        Are you
                        Are     -- thank
                            you -- thank you for that.
                                         you for that.           You
                                                                 You had
                                                                     had

6
6       mentioned the
        mentioned the two
                      two DEA-based take-back programs
                          DEA-based take-back programs that
                                                       that
7
7       I
        I had
          had mentioned.
              mentioned.          Are you
                                  Are     aware that
                                      you aware that funding
                                                     funding from
                                                             from
8
8       the substance
        the substance abuse
                      abuse prevention and treatment
                            prevention and treatment block
                                                     block
9
9       also granted
        also         take-back activities
             granted take-back            specifically in
                               activities specifically in
10
10      the state
        the state of
                  of West
                     West Virginia?
                          Virginia?

11
11            A.
              A.        I'm not
                        I'm     aware of
                            not aware    the details
                                      of the         of that,
                                             details of that, but
                                                              but

12
12      my sense
        my sense -
                 - and
                   and again,
                       again, I'd
                              I'd want to look
                                  want to look at
                                               at the
                                                  the
13
13      source materials
        source materials for,
                         for, you
                              you know,
                                  know, more
                                        more particular
                                             particular

14
14      information, but
        information,     my sense
                     but my sense is
                                  is that
                                     that there
                                          there are
                                                are

15
15      opportunities to
        opportunities to scale
                         scale up take-back programs
                               up take-back          and
                                            programs and

16
16      safe storage
        safe storage programs
                     programs within the community.
                              within the community.
17
17            Q.
              Q.        Are you
                        Are     aware of
                            you aware    any information
                                      of any information that
                                                         that the
                                                              the
18
18      national and state-based
        national and             take-back programs
                     state-based take-back programs

19
19      implemented in
        implemented in West
                       West Virginia
                            Virginia have been inadequate
                                     have been inadequate
20
20      to address
        to address the
                   the needs of the
                       needs of the community?
                                    community?
21
21            A.
              A.        Well --
                        Well --

22
22                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

23
23            A.
              A.        -- globally
                        -- globally --
                                    -- again,
                                       again, I
                                              I wasn't
                                                wasn't asked to add
                                                       asked to add

24
24      only the
        only the margin,
                 margin, so
                         so none of my
                            none of my efforts
                                       efforts are
                                               are based
                                                   based on
                                                         on


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1
1       some assessment
        some assessment and
                        and conclusion about sort
                            conclusion about sort of
                                                  of the
                                                     the
2
2       marginal need
        marginal need for
                      for additional effort, but
                          additional effort, but I -- I
                                                 I -- I

3
3       would
        would be amazed --
              be amazed -- I mean, I
                           I mean,   simply would
                                   I simply would be very
                                                  be very

4
4       surprised in
        surprised in my professional judgment
                     my professional judgment if
                                              if --
                                                 -- if
                                                    if
5
5       there are
        there are not opportunities to
                  not opportunities to further
                                       further improve
                                               improve the
                                                       the
6
6       safe storage
        safe storage and
                     and disposal of prescription
                         disposal of              opioids
                                     prescription opioids

7
7       in Cabell
        in Cabell County and the
                  County and the City of Huntington.
                                 City of Huntington.
8
8             Q.
              Q.        Let's talk
                        Let's talk about
                                   about your suggestion to
                                         your suggestion to put
                                                            put in
                                                                in
9
9       place
        place an opioid abatement
              an opioid abatement coordinating
                                  coordinating unit.
                                               unit.

10
10            A.
              A.        Sure.
                        Sure.

11
11            Q.
              Q.        And that
                        And that appears to be
                                 appears to be a separately-named
                                               a separately-named

12
12      unit that would
        unit that would have a director,
                        have a           two data
                               director, two data analysts
                                                  analysts

13
13      and 0.5
        and 0.5 staff
                staff assistants.
                      assistants.             I'm
                                              I'm not
                                                  not sure
                                                      sure what that
                                                           what that

14
14      means.
        means.

15
15            A.
              A.        Just
                        Just half of somebody.
                             half of somebody.
16
16                          MR. BURNETT:
                            MR. BURNETT:      Counsel,
                                              Counsel, where
                                                       where are
                                                             are you
                                                                 you

17
17      getting that information
        getting that information from?
                                 from?
18
18                          MS. GEIST:
                            MS. GEIST:     That's
                                           That's under the 1F
                                                  under the 1F

19
19      section, Surveillance,
        section, Surveillance, Evaluation
                               Evaluation and
                                          and Leadership.
                                              Leadership.
20
20            Q.
              Q.        And that
                        And that is
                                 is your suggestion, Doctor
                                    your suggestion, Doctor

21
21      Alexander, that
        Alexander, that there
                        there be
                              be something
                                 something called
                                           called an Opioid
                                                  an Opioid

22
22      Coordinating Abatement Unit?
        Coordinating Abatement Unit?

23
23            A.
              A.        Well, let's see.
                        Well, let's see.      So the
                                              So the tab
                                                     tab I'm
                                                         I'm looking
                                                             looking at
                                                                     at
24
24      is Surveillance,
        is Surveillance, Evaluation
                         Evaluation and
                                    and Leadership.
                                        Leadership.              I
                                                                 I see.
                                                                   see.



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1
1       Yeah,
        Yeah, I
              I don't think that
                don't think that it's
                                 it's so important what
                                      so important what

2
2       it's called,
        it's called, but the point
                     but the point is
                                   is that
                                      that I think that
                                           I think that
3
3       there is
        there is --
                 -- that
                    that this
                         this type
                              type of
                                   of program
                                      program has to have
                                              has to have

4
4       coordination and
        coordination     leadership and
                     and leadership and evaluation,
                                        evaluation, and
                                                    and
5
5       that I
        that I have built in
               have built in some
                             some of
                                  of those
                                     those costs
                                           costs

6
6       conservatively into
        conservatively into my
                            my program.
                               program.

7
7             Q.
              Q.        You
                        You have
                            have been involved in
                                 been involved in a
                                                  a -- in the
                                                       in the

8
8       review and research
        review and research of
                            of a
                               a number of different
                                 number of different

9
9       interventions and
        interventions and programs,
                          programs, I imagine, throughout
                                    I imagine, throughout
10
10      the United
        the        States to
            United States to address
                             address the
                                     the substance
                                         substance use
                                                   use

11
11      crisis in
        crisis in the
                  the U.S.
                      U.S.           True?
                                     True?

12
12            A.
              A.        Well, they focused
                        Well, they focused on
                                           on the
                                              the opioid epidemic,
                                                  opioid epidemic,

13
13      but yes,
        but yes, I
                 I have.
                   have.

14
14            Q.
              Q.        All right.
                        All right.    Can
                                      Can you -- can
                                          you -- can you
                                                     you name for me
                                                         name for me

15
15      any area
        any area in
                 in the
                    the country
                        country that
                                that has not had
                                     has not     as much
                                             had as much

16
16      leadership, coordination
        leadership, coordination and surveillance as
                                 and surveillance as we
                                                     we

17
17      have seen in
        have seen in Cabell
                     Cabell County/Huntington?
                            County/Huntington?

18
18            A.
              A.        I
                        I was
                          was confused by the
                              confused by the construction
                                              construction of
                                                           of the
                                                              the
19
19      question.
        question.         Can you
                          Can     ask again,
                              you ask again, please?
                                             please?

20
20            Q.
              Q.        Sure.
                        Sure.   I
                                I assume
                                  assume you
                                         you would
                                             would agree
                                                   agree with
                                                         with me
                                                              me

21
21      that there
        that there has
                   has been extensive coordination
                       been extensive              and
                                      coordination and

22
22      leadership in
        leadership in Cabell County with
                      Cabell County      respect to
                                    with respect to the
                                                    the
23
23      communication of
        communication of information,
                         information, as
                                      as you -- you
                                         you -- you discuss
                                                    discuss

24
24      here in this
        here in this section of your
                     section of your report.
                                     report.



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1
1             A.
              A.        I think there's
                        I think there's been
                                        been a tremendous
                                             a tremendous

2
2       mobilization, yes.
        mobilization, yes.

3
3             Q.
              Q.        And you
                        And     talk about
                            you talk about this.
                                           this.             Paragraph 86,
                                                             Paragraph 86, you
                                                                           you

4
4       say, "Fortunately,
        say, "Fortunately, the
                           the City of Huntington,
                               City of Huntington, through
                                                   through
5
5       the early
        the early initiatives
                  initiatives of
                              of the
                                 the Mayor
                                     Mayor Williams' Office
                                           Williams' Office

6
6       of Drug
        of Drug Control Policy," "recognized
                Control Policy," "recognized the
                                             the need for
                                                 need for

7
7       timely and
        timely and comprehensive
                   comprehensive data from the
                                 data from the community to
                                               community to

8
8       guide early measures
        guide early measures and
                             and initiatives,
                                 initiatives, including:"
                                              including:"
9
9       "(LEAD);" "Cabell
        "(LEAD);" "Cabell Drug
                          Drug Court;
                               Court; Lily's Place;"
                                      Lily's Place;"

10
10      "Recovery Point;
        "Recovery Point; Huntington
                         Huntington Quick
                                    Quick Response
                                          Response Team;"
                                                   Team;"

11
11      "and the
        "and the Harm
                 Harm Reduction
                      Reduction Program
                                Program at"
                                        at" Cabell
                                            Cabell

12
12      Huntington Health
        Huntington Health Department.
                          Department.

13
13                          Do
                            Do you
                               you see
                                   see where
                                       where I am?
                                             I am?

14
14            A.
              A.        Yes, I
                        Yes,   do.
                             I do.

15
15            Q.
              Q.        So my
                        So my question
                              question was:
                                       was:         It doesn't get
                                                    It doesn't     much
                                                               get much

16
16      better than
        better than this
                    this in
                         in terms
                            terms of
                                  of coordination.
                                     coordination.                    Would
                                                                      Would

17
17      you agree with
        you agree with me
                       me on that?
                          on that?

18
18            A.
              A.        Well --
                        Well --

19
19                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

20
20            A.
              A.        Again, I
                        Again, I wasn't asked to
                                 wasn't asked to perform
                                                 perform a
                                                         a

21
21      comprehensive evaluation
        comprehensive evaluation of
                                 of what's
                                    what's been
                                           been done to
                                                done to

22
22      date,
        date, and
              and nor is --
                  nor is -- nor is my
                            nor is my abatement
                                      abatement program
                                                program

23
23      based on
        based    some margin
              on some margin that
                             that needs
                                  needs to
                                        to be added on
                                           be added on to
                                                       to
24
24      that.
        that.



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1
1                           So
                            So you
                               you know, this type
                                   know, this type of
                                                   of program
                                                      program

2
2       could well
        could      sit within
              well sit        the mayor's
                       within the mayor's office.
                                          office.               I don't
                                                                I don't

3
3       have an -- I
        have an    I wasn't asked, or
                     wasn't asked, or I
                                      I didn't
                                        didn't provide
                                               provide an
                                                       an

4
4       opinion about
        opinion about where this should
                      where this        sit.
                                 should sit.                I'm merely
                                                            I'm merely

5
5       stating that
        stating that I think that
                     I think that any
                                  any abatement
                                      abatement program
                                                program -

6
6       if it's
        if it's going to be
                going to be effective
                            effective -
                                      - needs to have
                                        needs to      some
                                                 have some

7
7       resources
        resources devoted to the
                  devoted to the types
                                 types of
                                       of functions
                                          functions that
                                                    that I
                                                         I

8
8       articulate in
        articulate in paragraphs
                      paragraphs eighty
                                 eighty --
                                        -- 85 to 92.
                                           85 to 92.               85 to
                                                                   85 to
9
9       92.
        92.

10
10                          So
                            So I talk about
                               I talk about data integration; data
                                            data integration; data

11
11      harmonization;
        harmonization; I talk about
                       I talk about needs
                                    needs assessments;
                                          assessments; you
                                                       you

12
12      know,
        know, data linkages.
              data linkages.          You
                                      You know, there's lots
                                          know, there's lots of
                                                             of --
                                                                --
13
13      so I
        so   think that
           I think that there's
                        there's more
                                more good
                                     good work to be
                                          work to    done,
                                                  be done,

14
14      but I
        but I don't
              don't want to diminish
                    want to          the laudable
                            diminish the laudable efforts
                                                  efforts
15
15      that have
        that      been done
             have been done under enormous constraints
                            under enormous             thus
                                           constraints thus

16
16      far in
        far in the
               the community.
                   community.
17
17            Q.
              Q.        Well, and they
                        Well, and they already
                                       already have - in
                                               have - in addition
                                                         addition

18
18      to the
        to the programs
               programs we already mentioned
                        we already mentioned and
                                             and discussed
                                                 discussed

19
19      - they
        - they already
               already have -- as
                       have -- as you
                                  you do acknowledge in
                                      do acknowledge in
20
20      your
        your report, there is
             report, there is the
                              the ability
                                  ability to
                                          to monitor fatal
                                             monitor fatal

21
21      and nonfatal
        and nonfatal overdoses
                     overdoses in
                               in realtime
                                  realtime using the
                                           using the

22
22      overdose detection
        overdose detection mapping
                           mapping system,
                                   system, and there's also
                                           and there's also

23
23      Marshall University
        Marshall University Data
                            Data Dashboard, and the
                                 Dashboard, and the West
                                                    West

24
24      Virginia Office
        Virginia Office of
                        of Drug
                           Drug Control Policy apparently
                                Control Policy apparently


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1
1       recently launched an
        recently launched an interactive
                             interactive opioid
                                         opioid Data
                                                Data

2
2       Dashboard and has
        Dashboard and     monthly transfer
                      has monthly transfer EMS
                                           EMS calls, some
                                               calls, some

3
3       of which
        of which we
                 we discussed earlier.
                    discussed earlier.

4
4                           That's all in
                            That's all in place already, correct?
                                          place already, correct?
5
5                          MR. BURNETT:
                           MR. BURNETT:         Objection.
                                                Objection.

6
6             A.
              A.        Some of
                        Some of that
                                that is
                                     is in
                                        in place.
                                           place.           I think in
                                                            I think in
7
7       Paragraph 91,
        Paragraph 91, I articulate my
                      I articulate my vision for the
                                      vision for the role
                                                     role
8
8       of this
        of this group,
                group, and
                       and I
                           I would submit while
                             would submit while I
                                                I was --
                                                  was --

9
9       while
        while I
              I was
                was not asked to
                    not asked to perform
                                 perform a comprehensive
                                         a comprehensive

10
10      evaluation of
        evaluation of the
                      the services
                          services to
                                   to date,
                                      date, I
                                            I would submit
                                              would submit

11
11      that in
        that in Paragraph
                Paragraph 91, these areas
                          91, these areas that
                                          that I
                                               I call out,
                                                 call out,

12
12      one --
        one -- four
               four different
                    different points,
                              points, I think that
                                      I think that there
                                                   there
13
13      are opportunities
        are opportunities to
                          to further
                             further strengthen
                                     strengthen the
                                                the
14
14      performance of the
        performance of the leaders
                           leaders within the mayor's
                                   within the mayor's

15
15      office and
        office and elsewhere
                   elsewhere within the community
                             within the community that
                                                  that are
                                                       are

16
16      fulfilling these
        fulfilling these functions.
                         functions.
17
17            Q.
              Q.        Well, and you
                        Well, and     note --
                                  you note -- following
                                              following on
                                                        on your
                                                           your

18
18      Paragraph 91,
        Paragraph 91, you note that
                      you note that "the
                                    "the Community"
                                         Community" -

19
19      meaning Cabell
        meaning        County/Huntington -
                Cabell County/Huntington - has in fact
                                           has in fact "an
                                                       "an
20
20      excellent function
        excellent function for
                           for data
                               data collection
                                    collection and
                                               and

21
21      surveillance."
        surveillance."

22
22                         My original
                           My original question to you
                                       question to you was, as
                                                       was, as

23
23      somebody with
        somebody      experience in
                 with experience in this
                                    this area,
                                         area, can
                                               can you
                                                   you

24
24      identify for
        identify for us any other
                     us any other jurisdiction
                                  jurisdiction in
                                               in the
                                                  the


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1
1       entire United
        entire        States that
               United States that has
                                  has a
                                      a better -- that
                                        better -- that has
                                                       has

2
2       better data
        better data collection
                    collection and surveillance available
                               and surveillance available

3
3       to it
        to it other
              other than
                    than Cabell
                         Cabell County/Huntington?
                                County/Huntington?

4
4                           MR. BURNETT:
                            MR. BURNETT:       Objection, asked
                                               Objection, asked and
                                                                and
5
5       answered.
        answered.

6
6             A.
              A.        I mean, it's
                        I mean, it's an
                                     an interesting
                                        interesting --
                                                    -- it's
                                                       it's an
                                                            an
7
7       interesting question.
        interesting question.           I've not looked
                                        I've not looked at
                                                        at every
                                                           every
8
8       community nationwide.
        community nationwide.           Some of the
                                        Some of the communities that
                                                    communities that

9
9       I've examined, I've
        I've examined, I've not been disclosed,
                            not been disclosed, and
                                                and I
                                                    I don't
                                                      don't

10
10      think I'm
        think     sort of,
              I'm sort of, you
                           you know,
                               know, privy to speak
                                     privy to speak about.
                                                    about.
11
11                          I think that
                            I think that Cabell County has
                                         Cabell County has -- and
                                                              and

12
12      the City
        the City of
                 of Huntington
                    Huntington have,
                               have, you
                                     you know,
                                         know, made
                                               made very
                                                    very

13
13      laudable efforts,
        laudable efforts, but
                          but I'm not comfortable,
                              I'm not comfortable, you
                                                   you

14
14      know, opining on
        know, opining on the
                         the sort
                             sort of
                                  of --
                                     -- the
                                        the merits
                                            merits or
                                                   or the
                                                      the
15
15      magnitude of
        magnitude of their
                     their efforts
                           efforts relative to other
                                   relative to other
16
16      communities.
        communities.

17
17            Q.
              Q.        Okay.
                        Okay.   But on
                                But on top
                                       top of
                                           of all these laudable
                                              all these laudable
18
18      efforts -
        efforts - to
                  to use
                     use your own words
                         your own       - you
                                  words - you would like to
                                              would like to
19
19      add a
        add a Opioid Abatement Coordinating
              Opioid Abatement Coordinating Unit,
                                            Unit, and
                                                  and you
                                                      you

20
20      would leave the
        would leave the costs
                        costs of
                              of that,
                                 that, it
                                       it looks
                                          looks like,
                                                like, to
                                                      to
21
21      Mr. Barrett.
        Mr. Barrett.         Is that correct?
                             Is that correct?
22
22                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

23
23      Mischaracterizes the
        Mischaracterizes the report.
                             report.
24
24            A.
              A.        Yeah, I'm
                        Yeah, I'm not
                                  not suggesting an addition
                                      suggesting an addition of
                                                             of --
                                                                --


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1
1       of --
        of -- again,
              again, I
                     I wasn't asked to
                       wasn't asked to figure
                                       figure out
                                              out what
                                                  what

2
2       needs to be
        needs to be added
                    added to
                          to what is currently
                             what is currently taking
                                               taking
3
3       place.
        place.      I
                    I was asked to
                      was asked to develop a longitudinal
                                   develop a longitudinal and
                                                          and
4
4       comprehensive program
        comprehensive program to
                              to substantially
                                 substantially reduce
                                               reduce

5
5       opioid-related harms
        opioid-related       over the
                       harms over the next
                                      next 15
                                           15 years, and
                                              years, and

6
6       that's what
        that's what I've
                    I've done.
                         done.

7
7             Q.
              Q.        You
                        You are suggesting that
                            are suggesting that there
                                                there be
                                                      be put in
                                                         put in

8
8       place
        place an Opioid Abatement
              an Opioid Abatement Coordinating
                                  Coordinating Unit that
                                               Unit that

9
9       would
        would be comprised of
              be comprised of at
                              at least
                                 least one
                                       one director, two
                                           director, two

10
10      data analysts, and
        data analysts, and a
                           a staff
                             staff assistant.
                                   assistant.               True?
                                                            True?

11
11            A.
              A.        Well,
                        Well, I
                              I don't think the
                                don't think the name
                                                name is
                                                     is as
                                                        as
12
12      important as
        important as the
                     the functions
                         functions that
                                   that they
                                        they serve.
                                             serve.                 So I
                                                                    So I

13
13      -- it
        -- it doesn't matter to
              doesn't matter to me
                                me --
                                   -- I
                                      I mean, first of
                                        mean, first of all,
                                                       all f

14
14      ultimately, the decisions
        ultimately, the decisions will
                                  will rest
                                       rest with the
                                            with the

15
15      community itself,
        community itself, right?
                          right?            So --
                                            So -- but this is
                                                  but this is merely
                                                              merely

16
16      my professional
        my              judgment.
           professional judgment.

17
17                          Secondly, it
                            Secondly, it doesn't
                                         doesn't matter to me
                                                 matter to me what
                                                              what

18
18      it's called.
        it's called.         The
                             The point is that
                                 point is that there
                                               there are
                                                     are functions
                                                         functions
19
19      that I
        that   think need
             I think      to be
                     need to be fulfilled
                                fulfilled if
                                          if the
                                             the abatement
                                                 abatement
20
20      program is to
        program is to be
                      be successful,
                         successful, and
                                     and I'd
                                         I'd like
                                             like to
                                                  to just
                                                     just
21
21      briefly call
        briefly      out again
                call out again Paragraph
                               Paragraph 91
                                         91 where
                                            where I
                                                  I

22
22      articulate the
        articulate the types
                       types of
                             of roles that this
                                roles that this type
                                                type of
                                                     of
23
23      unit, for lack
        unit, for lack of
                       of a
                          a better
                            better word, the roles
                                   word, the       that
                                             roles that

24
24      this unit
        this unit could serve.
                  could serve.



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1
1             Q.
              Q         Why
                        Why would -- Doctor
                            would --        Alexander, you've
                                     Doctor Alexander, you've said
                                                              said

2
2       --
3
3                          MR. BURNETT:
                           MR. BURNETT:       Hold on, he
                                              Hold on, he wasn't
                                                          wasn't

4
4       finished with
        finished with his
                      his answer.
                          answer.

5
5                          MS. GEIST:
                           MS. GEIST:      This --
                                           This --

6
6             Q.
              Q.        I am using
                        I am using your language.
                                   your language.            You
                                                             You have termed
                                                                 have termed

7
7       this new
        this     group that
             new group that you think should
                            you think should be
                                             be

8
8       implemented, the
        implemented, the quote, "Opioid Abatement
                         quote, "Opioid Abatement
9
9       Coordinating
        Coordinating Unit," end quote.
                     Unit," end quote.                 That's
                                                       That's what
                                                              what you
                                                                   you

10
10      call it,
        call it, correct?
                 correct?
11
11            A.
              A.        That's -- again,
                        That's -- again, it
                                         it doesn't
                                            doesn't matter to me
                                                    matter to me

12
12      what it's called.
        what it's called.        But what
                                 But what I
                                          I was
                                            was going to say
                                                going to say in
                                                             in
13
13      response to your
        response to      last query
                    your last query was:
                                    was:                    I
                                                            I would
                                                              would wager if
                                                                    wager if

14
14      we asked Mayor
        we asked Mayor Williams,
                       Williams, you
                                 you know,
                                     know, his
                                           his beliefs
                                               beliefs

15
15      about sort
        about      of would
              sort of       it be
                      would it be helpful to have
                                  helpful to have

16
16      additional resources
        additional resources to
                             to fulfill
                                fulfill the
                                        the functions
                                            functions that
                                                      that
17
17      I've articulated in
        I've articulated in Paragraph
                            Paragraph 91,
                                      91, I
                                          I would
                                            would be
                                                  be

18
18      surprised if
        surprised if he said "No."
                     he said "No."
19
19                         Maybe he
                           Maybe he would.
                                    would.         But the
                                                   But the point
                                                           point is
                                                                 is that
                                                                    that
20
20      it doesn't
        it         matter to
           doesn't matter to me
                             me what it's called;
                                what it's called; the
                                                  the
21
21      functions that
        functions that I'm talking about
                       I'm talking about are
                                         are improving
                                             improving the
                                                       the
22
22      timeliness, quality,
        timeliness, quality, coordination
                             coordination and
                                          and integration
                                              integration
23
23      of existing
        of existing data streams.
                    data streams.

24
24                          I think that's
                            I think that's very
                                           very important.
                                                important.


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1
1       Conducting opioid-specific surveillance
        Conducting opioid-specific surveillance activities.
                                                activities.

2
2       Enhancing the
        Enhancing the accessibility,
                      accessibility, visibility
                                     visibility and
                                                and

3
3       shareability of
        shareability of data.
                        data.          And
                                       And performing comprehensive
                                           performing comprehensive

4
4       evaluations of
        evaluations of interventions.
                       interventions.                And proposing
                                                     And proposing

5
5       evidence-based recommendations.
        evidence-based recommendations.

6
6                           I'm
                            I'm not aware that
                                not aware that all
                                               all of
                                                   of that
                                                      that is
                                                           is
7
7       being done
        being      currently, no.
              done currently, no.

8
8             Q.
              Q.        Now, did
                        Now, did you attempt to
                                 you attempt to calculate
                                                calculate what
                                                          what

9
9       would
        would be the incremental
              be the incremental increased
                                 increased benefit if the
                                           benefit if the
10
10      Opioid Abatement
        Opioid Abatement Coordinating
                         Coordinating Unit
                                      Unit was established
                                           was established

11
11      in Cabell
        in Cabell County/Huntington?
                  County/Huntington?

12
12                          MR. BURNETT:
                            MR. BURNETT:      Objection, outside
                                              Objection, outside the
                                                                 the
13
13      scope.
        scope.

14
14            A.
              A.        I
                        I was
                          was not asked to
                              not asked to evaluate
                                           evaluate the
                                                    the incremental
                                                        incremental
15
15      impact of
        impact of the
                  the particular
                      particular components that I
                                 components that I

16
16      proposed, although all
        proposed, although all of them have
                               of them      scientific and
                                       have scientific and

17
17      public
        public health evidence base
               health evidence      to support
                               base to support them.
                                               them.
18
18            Q.
              Q.        Where are the
                        Where are the additional syringe services
                                      additional syringe services

19
19      programs or the
        programs or the SSPs
                        SSPs --
                             -- where
                                where do
                                      do you
                                         you propose that
                                             propose that

20
20      they be
        they be located
                located in
                        in --
                           -- in
                              in the
                                 the community?
                                     community?
21
21            A.
              A.        Again, I'm
                        Again, I'm not sure if
                                   not sure if you're
                                               you're referring to
                                                      referring to

22
22      syringe programs
        syringe          or take-back-
                programs or take-back-
23
23            Q.
              Q.        Syringe services
                        Syringe services programs
                                         programs --
24
24            A.
              A.        -- programs.
                        -- programs.   Syringe services programs.
                                       Syringe services programs.



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1
1       So --
        So --
2
2             Q.
              Q.        Yeah.
                        Yeah.   You would
                                You       like to
                                    would like to have
                                                  have more SSPs in
                                                       more SSPs in
3
3       the community,
        the community, correct?
                       correct?

4
4             A.
              A.        I
                        I would like continued
                          would like continued investment
                                               investment in
                                                          in Harm
                                                             Harm
5
5       Reduction, and
        Reduction, and one
                       one important
                           important component
                                     component of
                                               of Harm
                                                  Harm

6
6       Reduction are
        Reduction are syringe
                      syringe service
                              service programs.
                                      programs.

7
7             Q.
              Q.        And so
                        And so how
                               how many
                                   many more
                                        more syringe services
                                             syringe services

8
8       programs are you
        programs are you proposing
                         proposing be
                                   be put into the
                                      put into the
9
9       community?
        community?

10
10            A.
              A.        Well, it's not
                        Well, it's     the number
                                   not the number of programs that
                                                  of programs that
11
11      matters; it's
        matters; it's the
                      the number of people
                          number of people that
                                           that are
                                                are

12
12      reached.
        reached.         And if
                         And if we look at
                                we look at my
                                           my redress
                                              redress models,
                                                      models, I
                                                              I

13
13      articulate target
        articulate target populations
                          populations year
                                      year over
                                           over year for
                                                year for

14
14      this and
        this and every
                 every other
                       other --
                             -- every
                                every other
                                      other abatement
                                            abatement
15
15      category.
        category.

16
16                          So it's not
                            So it's not --
                                        -- I'm
                                           I'm not suggesting we
                                               not suggesting we

17
17      need four more
        need four more programs.
                       programs.             The
                                             The point is, we
                                                 point is, we need to
                                                              need to

18
18      scale up
        scale    and reach
              up and       more people
                     reach more        that are
                                people that are currently
                                                currently

19
19      walking around using
        walking around       intravenous drugs
                       using intravenous drugs who may have
                                               who may have

20
20      Hepatitis C
        Hepatitis   or HIV
                  C or     or may
                       HIV or     be transmitting
                              may be transmitting it
                                                  it to
                                                     to
21
21      others or
        others or may need to
                  may need to get into treatment
                              get into treatment for
                                                 for opioid
                                                     opioid
22
22      addiction.
        addiction.

23
23                          We need to
                            We need to reach those people.
                                       reach those people.

24
24            Q.
              Q         Are you
                        Are     aware that
                            you aware that --
                                           -- that
                                              that at
                                                   at the
                                                      the present
                                                          present


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1
1       time, the
        time, the SSP
                  SSP or
                      or syringe
                         syringe services
                                 services program, in the
                                          program, in the
2
2       City of Huntington
        City of            or in
                Huntington or in Cabell
                                 Cabell County is limited
                                        County is limited
3
3       to its
        to its own
               own citizens?
                   citizens?           That
                                       That was --
                                            was --

4
4                           MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

5
5             Q.
              Q.        -- a
                        -- a decision
                             decision and
                                      and modification that the
                                          modification that the
6
6       community determined
        community            it needed
                  determined it        to make,
                                needed to make, because
                                                because

7
7       they had
        they     all different
             had all different IV
                               IV users
                                  users coming into their
                                        coming into their
8
8       community and
        community and they
                      they didn't
                           didn't want that.
                                  want that.                 Are you
                                                             Are     aware
                                                                 you aware

9
9       of that?
        of that?
10
10                          MR. BURNETT:
                            MR. BURNETT:       Objection.
                                               Objection.

11
11            A.
              A.        That just reflects
                        That just          -- I
                                  reflects --   mean, that
                                              I mean, that reflects
                                                           reflects

12
12      the magnitude
        the magnitude of
                      of unmet
                         unmet need and the
                               need and the resource
                                            resource

13
13      constraints.
        constraints.         I mean, that's
                             I mean, that's too
                                            too bad
                                                bad --
                                                    -- I
                                                       I believe
                                                         believe I
                                                                 I

14
14      had
        had heard that, and
            heard that, and that's
                            that's too
                                   too bad
                                       bad to
                                           to hear,
                                              hear, because
                                                    because

15
15      you
        you know, the last
            know, the last thing
                           thing I think we
                                 I think we want is for
                                            want is for
16
16      people
        people who
               who have opioid addiction
                   have opioid           to be
                               addiction to be turned
                                               turned away
                                                      away
17
17      from treatment
        from treatment or
                       or from
                          from --
                               -- from
                                  from harm
                                       harm reduction
                                            reduction

18
18      services.
        services.

19
19            Q.
              Q.        In terms of
                        In terms of treatment,
                                    treatment, I think we
                                               I think we had
                                                          had

20
20      talked about
        talked about that
                     that extensively
                          extensively before.
                                      before.                 I
                                                              I had a
                                                                had a

21
21      couple more
        couple more follow-up
                    follow-up questions for you
                              questions for you in terms of
                                                in terms of
22
22      the help
        the      lines.
            help lines.         And I'm
                                And I'm at
                                        at page
                                           page 42
                                                42 of
                                                   of your
                                                      your report,
                                                           report,

23
23      Doctor Alexander.
        Doctor Alexander.

24
24            A.
              A.        Okay.
                        Okay.   What -- what
                                What -- what paragraph?
                                             paragraph?



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1
1             Q.
              Q.        I'm sorry,
                        I'm sorry, wait
                                   wait a
                                        a minutes.
                                          minutes.          Yes,
                                                            Yes, page
                                                                 page 42 of
                                                                      42 of

2
2       your
        your report,
             report, I
                     I was
                       was right.
                           right.

3
3             A.
              A.        What paragraph, please?
                        What paragraph, please?

4
4             Q.
              Q.        Hold on,
                        Hold on, I'm looking.
                                 I'm looking.          I apologize.
                                                       I apologize.   I'm
                                                                      I'm

5
5       back a
        back a couple
               couple pages.
                      pages.          Sorry about
                                      Sorry about that.
                                                  that.
6
6                           Page 34,
                            Page 34, please.
                                     please.         And this
                                                     And this relates to
                                                              relates to

7
7       Connecting Individuals to
        Connecting Individuals to Care,
                                  Care, Doctor Alexander.
                                        Doctor Alexander.

8
8             A.
              A.        Yes, ma'am.
                        Yes, ma'am.
9
9             Q.
              Q.        And you
                        And you have in here
                                have in here a
                                             a discussion on help
                                               discussion on help

10
10      lines?
        lines?

11
11            A.
              A.        Yes.
                        Yes.

12
12            Q.
              Q.        And that
                        And that you think help
                                 you think      lines should
                                           help lines should
13
13      essentially be
        essentially be expanded?
                       expanded?            Is that right?
                                            Is that right?

14
14            A.
              A.        As with
                        As      the prior
                           with the prior queries,
                                          queries, I
                                                   I was
                                                     was not asked
                                                         not asked

15
15      to decide
        to        or to
           decide or to evaluate
                        evaluate or
                                 or make
                                    make recommendations
                                         recommendations on
                                                         on
16
16      the margins,
        the margins, so
                     so what
                        what I
                             I am proposing is
                               am proposing is that
                                               that any
                                                    any
17
17      abatement plan
        abatement      that's going
                  plan that's       to work
                              going to work needs to link
                                            needs to link
18
18      people to care
        people to      and one
                  care and one of the mechanisms
                               of the            to do
                                      mechanisms to do so
                                                       so

19
19      is a
        is a help line.
             help line.

20
20            Q.
              Q.        Now, people
                        Now, people in
                                    in Cabell
                                       Cabell County are able
                                              County are      to
                                                         able to

21
21      call in
        call in to
                to and
                   and get assistance through
                       get assistance through the
                                              the help for
                                                  help for

22
22      Virginia --
        Virginia -- or
                    or HELP4WV,
                       HELP4WV, meaning
                                meaning help for West
                                        help for West

23
23      Virginia, help
        Virginia,      line.
                  help line.          Correct?
                                      Correct?

24
24            A.
              A.        I believe that's
                        I believe that's the
                                         the case,
                                             case, yes.
                                                   yes.



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1
1             Q.
              Q.        And you
                        And you note specifically here
                                note specifically      that there
                                                  here that there
2
2       have been a
        have been a certain
                    certain percentage of individuals
                            percentage of individuals from
                                                      from
3
3       Cabell
        Cabell County
               County who
                      who have in fact
                          have in fact utilized that
                                       utilized that

4
4       state-based help
        state-based      line.
                    help line.             True?
                                           True?

5
5             A.
              A.        Yes.
                        Yes.

6
6             Q.
              Q.        Okay.
                        Okay.    And you
                                 And     also note
                                     you also      that overall,
                                              note that overall, it
                                                                 it
7
7       appears there
        appears there have been 41,000
                      have been 41,000 individuals
                                       individuals who
                                                   who have
                                                       have

8
8       used that help
        used that      line to
                  help line to get
                               get connected to treatment
                                   connected to treatment
9
9       options.
        options.         True?
                         True?

10
10            A.
              A.        Yes.
                        Yes.

11
11            Q.
              Q.        And it
                        And it appears
                               appears that
                                       that 40
                                            40 percent
                                               percent of the users
                                                       of the users

12
12      of the
        of the hotline or the
               hotline or the callers to the
                              callers to the hotline
                                             hotline had
                                                     had

13
13      reported
        reported using opioids.
                 using opioids.              Is that right?
                                             Is that right?
14
14            A.
              A.        Yeah, that
                        Yeah, that was the most
                                   was the most commonly-used
                                                commonly-used
15
15      substance among
        substance among the
                        the help line callers.
                            help line callers.

16
16            Q.
              Q.        And of
                        And of course,
                               course, 40
                                       40 percent
                                          percent of opioid users
                                                  of opioid users

17
17      doesn't tell
        doesn't tell us
                     us whether they were
                        whether they were using illicit
                                          using illicit

18
18      opioids like
        opioids like heroin or fentanyl
                     heroin or fentanyl or
                                        or carfentanil,
                                           carfentanil,

19
19      true?
        true?

20
20            A.
              A.        Correct.
                        Correct.

21
21            Q.
              Q.        We
                        We don't
                           don't have
                                 have any indication or
                                      any indication or any
                                                        any
22
22      information that
        information that anyone
                         anyone calling
                                calling that
                                        that hotline
                                             hotline was
                                                     was

23
23      using
        using prescription opioids as
              prescription opioids as -- as
                                         as provided by a
                                            provided by a
24
24      physician.
        physician.         True?
                           True?



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1
1             A.
              A.        I'm not
                        I'm     aware of
                            not aware    that --
                                      of that -- that
                                                 that that
                                                      that
2
2       information exists,
        information exists, correct.
                            correct.

3
3             Q.
              Q.        And I
                        And   assume you
                            I assume you will agree with
                                         will agree with me - doing
                                                         me - doing

4
4       this simple
        this simple math
                    math -
                         - if
                           if 40
                              40 percent of the
                                 percent of the callers are
                                                callers are

5
5       calling because
        calling         of their
                because of their use of opioids
                                 use of opioids and
                                                and 60
                                                    60

6
6       percent of the
        percent of the callers
                       callers are
                               are calling
                                   calling about some other
                                           about some other
7
7       type of
        type of drug for which
                drug for       they are
                         which they are seeking
                                        seeking treatment
                                                treatment
8
8       such as
        such as methamphetamine or cocaine
                methamphetamine or         -- true?
                                   cocaine -- true?
9
9                              MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

10
10            A.
              A.        Or --
                        Or -- or
                              or alcohol or marijuana
                                 alcohol or marijuana or
                                                      or --
                                                         -- could
                                                            could
11
11      be, yeah.
        be, yeah.

12
12            Q.
              Q.        In other words,
                        In other        the vast
                                 words, the vast majority of the
                                                 majority of the
13
13      individuals calling
        individuals calling the
                            the help line, HELP4WV,
                                help line, HELP4WV, were
                                                    were

14
14      calling about
        calling about some
                      some other
                           other substance
                                 substance other than
                                           other than

15
15      opioids.
        opioids.         That's just mathematically
                         That's just mathematically correct.
                                                    correct.

16
16      Right?
        Right?

17
17                             MR. BURNETT:
                               MR. BURNETT:      Objection.
                                                 Objection.

18
18            A.
              A.        Well, those are
                        Well, those are your
                                        your words,
                                             words, not mine.
                                                    not mine.       I
                                                                    I

19
19      would
        would characterize it as
              characterize it as two
                                 two out
                                     out of
                                         of five
                                            five were
                                                 were

20
20      calling pertaining
        calling            to opioids
                pertaining to opioids and three out
                                      and three     of five
                                                out of five
21
21      were
        were not.
             not.

22
22            Q.
              Q.        Now, in
                        Now, in terms
                                terms of -- you
                                      of -- you have a program
                                                have a program

23
23      designed to address
        designed to address job
                            job training?
                                training?
24
24            A.
              A.        Yes.
                        Yes.



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1
1             Q.
              Q         Is that
                        Is that right,
                                right, Doctor?
                                       Doctor?

2
2                           MR. BURNETT:
                            MR. BURNETT:      Let me just
                                              Let me just interrupt.
                                                          interrupt.
3
3       It's been seven
        It's been seven hours,
                        hours, so
                               so I
                                  I would say, you
                                    would say, you know,
                                                   know,

4
4       ask your
        ask      last question
            your last question and then we
                               and then we should
                                           should wrap
                                                  wrap up
                                                       up

5
5       here.
        here.

6
6             Q.
              Q.        Is it
                        Is it your opinion, Doctor
                              your opinion,        Alexander, that
                                            Doctor Alexander, that
7
7       job training
        job training is
                     is going
                        going to
                              to result in employment
                                 result in employment for
                                                      for
8
8       individuals with
        individuals      opioid use
                    with opioid     disorder or
                                use disorder or substance
                                                substance

9
9       use disorder?
        use disorder?

10
10            A.
              A.        I think it
                        I think it can
                                   can help to address
                                       help to address one of the
                                                       one of the
11
11      -- you
        -- you know, one important
               know, one important contributor to the
                                   contributor to the
12
12      epidemic, which
        epidemic, which has
                        has been,
                            been, you
                                  you know, a lack
                                      know, a lack of
                                                   of --
13
13      lack of
        lack of gainful employment opportunities.
                gainful employment opportunities.
14
14                          But as
                            But as I
                                   I noted at the
                                     noted at the outset, the
                                                  outset, the

15
15      epidemic isn't
        epidemic isn't just
                       just about
                            about biology
                                  biology or
                                          or environment;
                                             environment;
16
16      it's also
        it's also about
                  about access
                        access and supply.
                               and supply.

17
17            Q.
              Q.        And individuals
                        And individuals who are in
                                        who are in need of job
                                                   need of job
18
18      training, I
        training,   assume you
                  I assume you will agree with
                               will agree with me, many
                                               me, many

19
19      need that job
        need that job training
                      training because of issues
                               because of issues unrelated
                                                 unrelated

20
20      to opioid
        to opioid use disorder such
                  use disorder      as mental
                               such as mental health
                                              health

21
21      problems, lack of
        problems, lack of education,
                          education, lack
                                     lack of
                                          of a
                                             a high school
                                               high school

22
22      degree, or
        degree, or issues
                   issues relating to substance
                          relating to           -- mental
                                      substance -- mental
23
23      health disorders.
        health disorders.         True?
                                  True?

24
24            A.
              A.        Yeah, there
                        Yeah, there could
                                    could be
                                          be complex determinants
                                             complex determinants



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1
1       of joblessness,
        of joblessness, but
                        but I think in
                            I think in order
                                       order to
                                             to make
                                                make

2
2       success in
        success in addressing
                   addressing opioid
                              opioid addiction,
                                     addiction, one
                                                one needs
                                                    needs

3
3       to work
        to      to expand
           work to expand employment
                          employment opportunities.
                                     opportunities.
4
4                           People need
                            People      jobs.
                                   need jobs.          People need
                                                       People need

5
5       livelihoods.
        livelihoods.         And it's
                             And it's only reasonable to
                                      only reasonable to expect
                                                         expect
6
6       that a
        that a successful
               successful program is going
                          program is       to help
                                     going to      provide
                                              help provide

7
7       those.
        those.

8
8             Q.
              Q.        And do
                        And do you
                               you have any idea
                                   have any idea that
                                                 that if
                                                      if these
                                                         these job
                                                               job
9
9       training programs
        training programs are implemented, as
                          are implemented, as you're
                                              you're

10
10      suggesting, that
        suggesting, that there
                         there are
                               are businesses in Cabell
                                   businesses in Cabell

11
11      County that have
        County that      job openings
                    have job openings for
                                      for these
                                          these
12
12      individuals?
        individuals?

13
13            A.
              A.        Well, it's a
                        Well, it's a great question, and
                                     great question, and it
                                                         it speaks
                                                            speaks
14
14      to the
        to the broader
               broader economic
                       economic opportunity
                                opportunity --
                                            -- the
                                               the
15
15      important dimension
        important           that economic
                  dimension that economic opportunity
                                          opportunity plays
                                                      plays

16
16      in helping
        in         to create
           helping to create a
                             a better future for
                               better future for this
                                                 this
17
17      community.
        community.

18
18                          So
                            So I
                               I don't
                                 don't know specifically --
                                       know specifically -- I
                                                            I was
                                                              was

19
19      not asked to
        not asked to do a specific
                     do a          estimate of
                          specific estimate of the
                                               the number
                                                   number

20
20      of employment
        of employment opportunities
                      opportunities in
                                    in the
                                       the County
                                           County or the
                                                  or the

21
21      City of Huntington.
        City of Huntington.

22
22            Q.
              Q.        But you
                        But you know from The
                                know from The City of Solutions
                                              City of Solutions
23
23      document that we
        document that we went through together
                         went through together that
                                               that the
                                                    the
24
24      community itself
        community itself acknowledges
                         acknowledges that
                                      that because of the
                                           because of the


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1
1       economic --
        economic -- socioeconomic
                    socioeconomic challenges
                                  challenges and issues in
                                             and issues in
2
2       the region,
        the region, that
                    that there
                         there are
                               are bigger issues
                                   bigger issues

3
3       challenging that
        challenging that area
                         area in
                              in terms
                                 terms of
                                       of job
                                          job employment
                                              employment
4
4       and things
        and things of
                   of that
                      that nature.
                           nature.

5
5             A.
              A.        Well,
                        Well, The
                              The City of Solutions
                                  City of Solutions document is one
                                                    document is one
6
6       of hundreds
        of          of documents
           hundreds of           that I
                       documents that I reviewed,
                                        reviewed, and it
                                                  and it

7
7       was performed at
        was performed at one
                         one point
                             point in
                                   in time.
                                      time.                 But I
                                                            But I

8
8       certainly can
        certainly     agree with
                  can agree with you that --
                                 you that -- that
                                             that
9
9       joblessness and
        joblessness and absence
                        absence of
                                of economic
                                   economic opportunity
                                            opportunity is
                                                        is
10
10      -- is
        -- is one
              one of
                  of many important facets
                     many important facets of the opioid
                                           of the opioid
11
11      epidemic and
        epidemic and the
                     the way that it's
                         way that it's uniquely
                                       uniquely affected
                                                affected

12
12      this rural
        this       Appalachian community.
             rural Appalachian community.

13
13                         MR. BURNETT:
                           MR. BURNETT:       Counsel,
                                              Counsel, we've
                                                       we've now
                                                             now gone
                                                                 gone

14
14      over seven
        over seven hours.
                   hours.         We
                                  We need to stop
                                     need to      for the
                                             stop for the day.
                                                          day.
15
15                         MS. GEIST:
                           MS. GEIST:      That's fine.
                                           That's fine.       I'm done.
                                                              I'm done.

16
16      Thank
        Thank you for your
              you for      time, Doctor
                      your time,        Alexander.
                                 Doctor Alexander.

17
17                          THE
                            THE DEPONENT:
                                DEPONENT:       Thank
                                                Thank you.
                                                      you.

18
18                          VIDEO OPERATOR:
                            VIDEO OPERATOR:        The time is
                                                   The time is 6:25.
                                                               6:25.       We
                                                                           We

19
19      are now
        are now going off the
                going off the record.
                              record.                This concludes the
                                                     This concludes the
20
20      deposition.
        deposition.

21
21                          (Having indicated he
                            (Having indicated he would like to
                                                 would like to
22
22                          read
                            read his
                                 his deposition before filing,
                                     deposition before filing,
23
23                         further this
                           further this deponent
                                        deponent saith
                                                 saith not.)
                                                       not.)

24
24                                  --oOo--
                                    --o0o--



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1
1       STATE OF
        STATE  OF WEST
                  WEST VIRGINIA,
                       VIRGINIA,
2
2       COUNTY OF
        COUNTY  OF JACKSON,
                   JACKSON, to
                            to wit;
                               wit;
3
3
4
4                 I, Teresa
                  I, Teresa S.  Evans, a
                             S. Evans,  a Notary
                                          Notary Public
                                                  Public within
                                                          within
        and for
        and  for the
                 the County
                     County and
                             and State
                                 State aforesaid,
                                        aforesaid, duly
                                                    duly
 5      commissioned and
        commissioned  and qualified,
                           qualified, do
                                       do hereby
                                          hereby certify
                                                  certify that
                                                           that
        the foregoing
        the  foregoing deposition
                        deposition of
                                    of DR.
                                       DR. G.
                                           G. CALEB
                                              CALEB ALEXANDER
                                                     ALEXANDER
6
6       was duly
        was  duly taken
                  taken by
                         by me
                            me and
                               and before
                                    before me
                                           me at
                                              at the
                                                  the time
                                                       time and
                                                            and
        place and
        place  and for
                   for the
                        the purpose
                            purpose specified
                                     specified in
                                                in the
                                                   the caption
                                                        caption
7
7       hereof, the
        hereof,  the said
                     said witness
                           witness having
                                    having been
                                           been by
                                                 by me
                                                    me first
                                                        first
        duly sworn.
        duly  sworn.
8
8
                 I do
                 I do further
                      further certify
                               certify that
                                        that the
                                             the said
                                                  said
 9      deposition was
        deposition was correctly
                        correctly taken
                                   taken by
                                         by me
                                            me in
                                               in shorthand
                                                   shorthand
        notes, and
        notes, and that
                   that the
                         the same
                             same were
                                   were accurately
                                        accurately written
                                                    written
10
10      out in
        out in full
               full and
                    and reduced
                         reduced to
                                  to typewriting
                                     typewriting and
                                                  and that
                                                       that the
                                                            the
        witness did
        witness did request
                    request to
                             to read
                                read his
                                      his transcript.
                                          transcript.
11
11
                  I further
                  I  further certify
                               certify that
                                         that I
                                              I am
                                                 am neither
                                                    neither
12
12      attorney or
        attorney  or counsel
                      counsel for,
                                for, nor
                                      nor related
                                           related to
                                                    to or
                                                        or employed
                                                           employed
        by, any
        by,  any of
                 of the
                     the parties
                         parties toto the
                                        the action
                                            action in
                                                    in which
                                                        which this
                                                               this
13
13      deposition is
        deposition   is taken,
                        taken, and
                                 and further
                                      further that
                                                that I
                                                     I am
                                                        am not
                                                           not aa
        relative or
        relative  or employee
                      employee ofof any
                                     any attorney
                                          attorney or
                                                    or counsel
                                                        counsel
14
14      employed by
        employed  by the
                      the parties
                          parties or or financially
                                         financially interested
                                                       interested
        in the
        in the action
                action and
                        and that
                             that the
                                   the attached
                                         attached transcript
                                                   transcript
15
15      meets the
        meets  the requirements
                    requirements set
                                   set forth
                                         forth within
                                                within article
                                                        article
        twenty-seven, chapter
        twenty-seven,   chapter forty-seven
                                  forty-seven of of the
                                                    the West
                                                         West
16
16      Virginia Code.
        Virginia  Code.
17
17                My commission
                  My  commission expires
                                   expires October
                                             October 25,
                                                       25, 2020.
                                                           2020.
        Given under
        Given         my hand
               under my  hand this
                                this 22nd
                                      22nd day
                                            day of
                                                 of September,
                                                    September,
18
18         V
        2020. 11 U11U. 1 /t)tty   11cLl

19
19
        <%10538,Signature%>
20
20      Teresa S.
        Teresa S. Evans
                  Evans
        RMR, CRR,
        RMR, CRR, RPR,
                  RPR, WV-CCR
                        WV-CCR
21
21
22
22
23
23
24
24

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1
1
        STATE OF
        STATE OF WEST
                 WEST VIRGINIA
                      VIRGINIA
2
2
        COUNTY OF
        COUNTY OF KANAWHA,
                  KANAWHA, to
                           to wit;
                              wit;
3
3
               I, Teresa
               I, Teresa Evans,
                         Evans, owner
                                owner of
                                      of Realtime
                                         Realtime Reporters,
                                                  Reporters,
4
4
        LLC, do
        LLC, do hereby
                hereby certify
                       certify that
                               that the
                                    the attached
                                        attached deposition
                                                 deposition
5
5
        transcript of
        transcript of DR.
                      DR. G. CALEB ALEXANDER
                          G. CALEB ALEXANDER meets
                                             meets the
                                                   the
6
6
        requirements set
        requirements set forth
                         forth within
                               within article
                                      article twenty-seven,
                                              twenty-seven,
7
7
        chapter forty-seven
        chapter forty-seven of
                            of the
                               the West
                                   West Virginia
                                        Virginia Code
                                                 Code to
                                                      to
8
8
        the best
        the best of
                 of my
                    my ability.
                       ability.
 9
 9
10
10
               Given under
               Given       my hand
                     under my hand this
                                   this 22nd
                                        22nd day
                                             day of
                                                 of September,
                                                    September,
11
11
        2020.
        2020.
12
12
13
13
14
14
15
15                                 k...7 .1 V   11   Ull<A   _L   ty   11c1.1

16
16
                                  <%10538,Signature%>
17
17                                Registered Professional
                                  Registered Professional
                           Reporter/Certified Realtime
                           Reporter/Certified Realtime Reporter
                                                       Reporter
18
18
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19
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24

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                                    Cleveland, Ohio 44114
                                                    44114
3
3                                    Phone: 216-523-1313
                                     Phone: 216-523-1313
4
4
        September 23,
        September 23, 2020
                      2020
5
5
        To:
        To: David
            David D. Burnett, Esquire
                  D. Burnett, Esquire
6
6
        Case Name:
        Case Name: City of Huntington
                   City of Huntington v.
                                      v. Amerisourcebergen
                                         Amerisourcebergen Drug
                                                           Drug Corporation
                                                                Corporation
7
7
        Veritext Reference
        Veritext Reference Number:
                           Number: 4241658
                                   4241658
8
8
        Witness:
        Witness:     Dr.
                     Dr. G.
                         G. Caleb Alexander
                            Caleb Alexander           Deposition
                                                      Deposition Date:
                                                                 Date:    9/18/2020
                                                                          9/18/2020
9
9
10
10      Dear Sir/Madam:
        Dear Sir/Madam:
11
11
        Enclosed please
        Enclosed please find
                        find a
                             a deposition
                               deposition transcript.
                                          transcript.          Please have
                                                               Please have the
                                                                           the witness
                                                                               witness
12
12
        review the transcript
        review the            and note
                   transcript and      any changes
                                  note any         or corrections
                                           changes or corrections on
                                                                  on the
                                                                     the
13
13
        included errata
        included errata sheet, indicating the
                        sheet, indicating     page, line
                                          the page, line number,
                                                         number, change, and
                                                                 change, and
14
14
        the reason
        the reason for
                   for the
                       the change.
                           change.     Have
                                       Have the
                                            the witness’
                                                witness' signature
                                                         signature notarized and
                                                                   notarized and
15
15
        forward the
        forward the completed page(s) back
                    completed page(s) back to
                                           to us at the
                                              us at     Production address
                                                    the Production address
16
16      shown
        shown
17
17      above, or
        above, or email
                  email to production-midwest@veritext.com.
                        to production-midwest@veritext.com.
18
18
        If the
        If the errata
               errata is
                      is not
                         not returned
                             returned within
                                      within thirty days of
                                             thirty days of your
                                                            your receipt of
                                                                 receipt of
19
19
        this letter,
        this letter, the
                     the reading and signing
                         reading and signing will be deemed
                                             will be deemed waived.
                                                            waived.
20
20
21
21      Sincerely,
        Sincerely,
22
22      Production Department
        Production Department
23
23
24
24      NO NOTARY
        NO NOTARY REQUIRED
                  REQUIRED IN
                           IN CA
                              CA


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 1
 1                            DEPOSITION
                              DEPOSITION REVIEW
                                         REVIEW
                           CERTIFICATION OF
                           CERTIFICATION    WITNESS
                                         OF WITNESS
2
2
                   ASSIGNMENT REFERENCE
                   ASSIGNMENT REFERENCE NO:
                                        NO: 4241658
                                            4241658
3
3                CASE NAME:
                 CASE         City of
                       NAME: City      Huntington v.
                                    of Huntington      Amerisourcebergen Drug
                                                   v. Amerisourcebergen  Drug
        Corporation,  et al.
        Corporation, et al.
                 DATE
                 DATE OF
                       OF DEPOSITION:
                          DEPOSITION: 9/18/2020
                                        9/18/2020
4
4                WITNESS' NAME:
                 WITNESS'  NAME: Dr.
                                  Dr. G.  Caleb Alexander
                                       G. Caleb  Alexander
5
5                In
                 In accordance
                     accordance with   the Rules
                                 with the  Rules of  Civil
                                                  of Civil
           Procedure,
           Procedure, II have  read the
                         have read   the entire
                                         entire transcript
                                                 transcript of
                                                             of
6
6          my testimony or
           my testimony      it has
                         or it  has been
                                     been read
                                          read to  me.
                                                to me.
7
7                I  have made
                 I have  made no  changes to
                               no changes  to the
                                               the testimony
                                                   testimony
           as transcribed by
           as transcribed      the court
                           by the   court reporter.
                                          reporter.
8
8
              10/08/2020
              10/08/2020                 G. Caleb
                                         4.       Alexander
                                            caleb Alvan/v:1er
           _______________           ________________________
 9
 9         Date
           Date                      Dr.  G. Caleb
                                     Dr. G.  Caleb Alexander
                                                    Alexander
10
10                Sworn to and
                  Sworn to      subscribed before
                            and subscribed   before me,
                                                     me, aa
           Notary  Public in
           Notary Public   in and  for the
                              and for  the State
                                            State and  County,
                                                   and County,
11
11         the referenced
           the  referenced witness   did personally
                            witness did   personally appear
                                                      appear
           and
           and acknowledge   that:
                acknowledge that:
12
12
                   They
                   They have  read the
                         have read  the transcript;
                                        transcript;
13
13                 They  signed the
                   They signed  the foregoing
                                     foregoing Sworn
                                                Sworn
                          Statement;
                          Statement; and
                                      and
14
14                 Their  execution of
                   Their execution      this Statement
                                     of this            is of
                                              Statement is of
                          their free
                          their free act  and  deed.
                                      act and deed.
15
15
                   I have affixed
                   I have         my name
                          affixed my      and official
                                     name and official seal
                                                       seal
16
16
           this ______ day
           this        day of
                           of_____________________, 20____.
                                                  , 20
17
17
                           ___________________________________
18
18                         Notary Public
                           Notary Public
19
19                         ___________________________________
                           Commission Expiration
                           Commission Expiration Date
                                                 Date
20
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 1
 1                         DEPOSITION
                           DEPOSITION REVIEW
                                      REVIEW
                        CERTIFICATION OF
                        CERTIFICATION    WITNESS
                                      OF WITNESS
2
2
                   ASSIGNMENT REFERENCE
                   ASSIGNMENT REFERENCE NO:
                                        NO: 4241658
                                            4241658
3
3                  CASE NAME:
                   CASE       City of
                        NAME: City    Huntington v.
                                   of Huntington    Amerisourcebergen Drug
                                                 v. Amerisourcebergen Drug
        Corporation, et
        Corporation, et al.
                        al.
                  DATE
                  DATE OF
                        OF DEPOSITION:
                            DEPOSITION: 9/18/2020
                                         9/18/2020
 4
 4                WITNESS' NAME:
                  WITNESS'   NAME: Dr.
                                   Dr. G.  Caleb Alexander
                                        G. Caleb  Alexander
5
5                 In
                  In accordance
                      accordance with   the Rules
                                  with the   Rules of Civil
                                                   of Civil
           Procedure,
           Procedure, I I have  read the
                          have read   the entire
                                          entire transcript
                                                  transcript of
                                                              of
6
6          my testimony or
           my testimony       it has
                          or it  has been
                                      been read
                                           read to  me.
                                                 to me.
7
7                 I  have listed
                  I have  listed my   changes on
                                  my changes      the attached
                                               on the attached
           Errata Sheet,
           Errata   Sheet, listing
                            listing page  and line
                                     page and  line numbers
                                                    numbers as
                                                            as
8
8          well as the
           well as   the reason(s)
                         reason(s) for
                                     for the
                                         the change(s).
                                              change(s).
 9
 9                I  request that
                  I request   that these
                                   these changes
                                          changes be  entered
                                                   be entered
           as part of
           as part      the record
                     of the  record of  my testimony.
                                     of my testimony.
10
10
                 I have executed
                 I have  executed the
                                  the Errata
                                       Errata Sheet,  as well
                                              Sheet, as  well
11
11         as this Certificate,
           as this Certificate, and   request and
                                 and request  and authorize
                                                   authorize
           that both
           that both be
                     be appended  to the
                         appended to  the transcript
                                          transcript of
                                                      of my
                                                         my
12
12         testimony and
           testimony      be incorporated
                     and be  incorporated therein.
                                           therein.
13
13         _______________         ________________________
           Date
           Date                    Dr.  G. Caleb
                                   Dr. G.  Caleb Alexander
                                                  Alexander
14
14
                  Sworn  to and
                  Sworn to       subscribed before
                             and subscribed   before me,
                                                      me, aa
15
15         Notary   Public in
           Notary Public    in and  for the
                               and for  the State
                                             State and  County,
                                                   and County,
           the referenced
           the  referenced witness    did personally
                             witness did  personally appear
                                                       appear
16
16         and
           and acknowledge    that:
                acknowledge that:
17
17                They
                  They have   read the
                        have read   the transcript;
                                        transcript;
                  They
                  They have   listed all
                        have listed       of their
                                      all of  their corrections
                                                    corrections
18
18                       in the
                         in  the appended   Errata Sheet;
                                 appended Errata   Sheet;
                  They  signed the
                  They signed   the foregoing
                                     foregoing Sworn
                                                Sworn
19
19                       Statement;
                         Statement; and
                                      and
                  Their  execution of
                  Their execution       this Statement
                                     of this  Statement isis of
                                                              of
20
20                       their free
                         their  free act  and deed.
                                      act and  deed.
21
21                I  have affixed
                  I have  affixed mymy name  and official
                                       name and  official seal
                                                             seal
22
22         this
           this  ______  day
                         day  of_____________________,
                              of                        ,  20____.
                                                           20
23
23                       ___________________________________
                         Notary  Public
                         Notary Public
24
24
                        ___________________________________
25
25                      Commission Expiration
                        Commission Expiration Date
                                              Date


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1                               ERRATA SHEET
                                ERRATA SHEET

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                                      NO: 4241658

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3          PAGE/LINE(S) /
           PAGE/LINE(S) /              CHANGE
                                       CHANGE              /REASON
                                                           /REASON

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4          ___________________________________________________
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5          ___________________________________________________
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8          ___________________________________________________
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11         ___________________________________________________
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12         ___________________________________________________
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13         ___________________________________________________
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14         ___________________________________________________
15
15         ___________________________________________________
16
16         ___________________________________________________
17
17         ___________________________________________________
18
18         ___________________________________________________
19
19

           _______________               ________________________
20
20         Date
           Date                          Dr.
                                         Dr. G.
                                             G. Caleb Alexander
                                                Caleb Alexander

21
21         SUBSCRIBED AND
           SUBSCRIBED AND SWORN
                          SWORN TO BEFORE ME
                                TO BEFORE ME THIS
                                             THIS            ________
22
22         DAY OF ________________________,
           DAY OF                           20______ .
                                          , 20       .
23
23                         ___________________________________
                           Notary Public
                           Notary Public

24
24

                           ___________________________________
25
25                         Commission Expiration Date
                           Commission Expiration Date


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          Federal Rules
          Federal Rules of
                        of Civil
                           Civil Procedure
                                 Procedure

                       Rule 30
                       Rule 30



(e) Review
(e)        By the
    Review By the Witness;
                  Witness; Changes.
                           Changes.

(1) Review;
(1) Review; Statement
            Statement of
                      of Changes.
                         Changes. On
                                  On request by the
                                     request by the

deponent or
deponent or a
            a party before the
              party before the deposition
                               deposition is
                                          is

completed, the
completed, the deponent
               deponent must
                        must be allowed 30
                             be allowed 30 days
                                           days

after being
after being notified by the
            notified by the officer
                            officer that
                                    that the
                                         the

transcript or
transcript or recording is available
              recording is available in
                                     in which:
                                        which:

(A) to
(A) to review
       review the
              the transcript
                  transcript or
                             or recording; and
                                recording; and

(B) if
(B) if there
       there are
             are changes
                 changes in
                         in form
                            form or
                                 or substance,
                                    substance, to
                                               to

sign a
sign   statement listing
     a statement listing the
                         the changes
                             changes and the
                                     and the

reasons for making
reasons for making them.
                   them.

(2) Changes
(2)         Indicated in
    Changes Indicated in the
                         the Officer's
                             Officer's Certificate.
                                       Certificate.

The
The officer must note
    officer must      in the
                 note in the certificate
                             certificate prescribed
                                         prescribed

by Rule
by Rule 30(f)(1)
        30(f)(1) whether a review
                 whether a review was
                                  was requested
                                      requested

and, if
and, if so,
        so, must
            must attach
                 attach any
                        any changes
                            changes the
                                    the deponent
                                        deponent

makes during
makes during the
             the 30-day
                 30-day period.
                        period.




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DISCLAIMER:   THE FOREGOING FEDERAL
              THE FOREGOING FEDERAL PROCEDURE
                                    PROCEDURE RULES
                                              RULES

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                    CURRENT AS OF APRIL
                                  APRIL 1,
                                        1,

2019.
2019.   PLEASE REFER
        PLEASE REFER TO
                     TO THE APPLICABLE FEDERAL
                        THE APPLICABLE FEDERAL RULES
                                               RULES

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                    colloquies, questions
                                  questions and
                                             and answers
                                                  answers
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                                             complete
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           as submitted   by the
                              the court
                                  court reporter   and/or
                                        reporter and/or
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attorneys in  relation toto this
                             this deposition  and that
                                  deposition and   that
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the  documents were
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                                          Accountability
Act (HIPAA),
Act            as amended
     (HIPAA), as  amended with
                           with respect   to protected
                                 respect to   protected
health  information and
health information   and the
                          the Gramm-Leach-Bliley
                              Gramm-Leach-Bliley Act,Act, asas
amended,
amended, with
          with respect   to Personally
                respect to  Personally Identifiable
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Information
Information (PII).   Physical transcripts
              (PII). Physical  transcripts and    exhibits
                                              and exhibits
are
are managed
     managed under
              under strict  facility and
                    strict facility   and personnel    access
                                           personnel access
controls.   Electronic files
controls. Electronic    files of
                              of documents
                                  documents are
                                              are stored
                                                   stored
in encrypted
in  encrypted form
               form and
                    and are  transmitted in
                         are transmitted   in an
                                               an encrypted
                                                  encrypted
fashion  to  authenticated  parties  who  are  permitted
fashion to authenticated parties who are permitted to       to
access  the material.
access the   material. Our
                        Our data  is hosted
                            data is  hosted inin a
                                                 a Tier
                                                    Tier 44
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SSAE 16
      16 certified  facility.
         certified facility.

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                                          provision of
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court reporting
      reporting services,
                  services, and
                             and maintains  its neutrality
                                 maintains its  neutrality
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and independence               of relationship
                   regardless of                or the
                                  relationship or  the
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financial           of any
           outcome of  any litigation.
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             contractor agreements.

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